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12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,               Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                   DECLARATION OF JASON R.
19 vs.                                            FLANDERS IN SUPPORT OF
                                                  PLAINTIFF'S MOTION FOR INTERIM
20 COSUMNES CORPORATION dba                       AWARD OF FEES AND COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                  Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                  Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee                Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated         Hon. Sean Riordan
   February 6, 2002,
24

25
                           Defendants.
26

27

28
                                               1
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1          I, Jason R. Flanders, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California. I am a partner

 5   with Aqua Terra Aeris (“ATA”) Law Group, representing California Coastkeeper Alliance

 6   (“Plaintiff”) in the above referenced action.

 7          3.       I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

 8   Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

 9   unless otherwise stated; if called to testify as a witness, I could and would competently testify

10   thereto under oath.

11      I. AUTHENTICATION OF EXHIBITS

12          4.       Attached hereto as Exhibit 1 is a true and correct spreadsheet setting forth the time
13   spent by each attorney on this case employed by ATA, recorded in increments of no greater than a
14   tenth of an hour, with a description of what work was done.
15          5.
16      II. BIOGRAPHICAL INFORMATION
17          6.       I am a 2005 graduate of the University of Oregon School of Law.
18          7.       I was admitted to practice law in the state of California in November 2005. I have
19   also been admitted to practice before the U.S. Supreme Court, the Ninth Circuit Court of Appeals,
20   the U.S. District Court for the Eastern District of California, the U.S. District Court for the Central
21   District of California, and the U.S. District Court for the Northern District of California.
22          8.       I am a founding partner of ATA. Prior to that, I was employed at San Francisco
23   Baykeeper, beginning in 2009, first as Staff Attorney, then Program Director, and finally Acting
24   Executive Director. Prior to working at San Francisco Baykeeper, I joined the Law Office of J.
25   William Yeates in August of 2005, which became Keyon Yeates, LLP, in 2008, handling petitioner
26   and plaintiff environmental matters under a variety of state laws, primarily pursuant to the
27   California Environmental Quality Act (“CEQA”), state Planning and Zoning Law, Cal. Gov. Code
28
                                               2
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1   § 65000 et seq., California Endangered Species Act, Cal. Fish and Game Code § 2050 et seq., and

 2   other applicable state and federal laws.

 3           9.    I have continuously and exclusively practiced public interest environmental law

 4   since November 2005. I work on a variety of issues in both state and federal jurisdictions,

 5   including but not limited to the federal Clean Water Act (“CWA”), Endangered Species Act

 6   (“ESA”), National Environmental Policy Act (“NEPA”), and the Resource Conservation and

 7   Recovery Act (“RCRA”). I also have significant experience in California State Court, practicing

 8   under CEQA and Proposition 65, the Public Trust Doctrine, as well as other State environmental

 9   laws.

10           10.   In my capacity as a partner at ATA, I personally represent national, state, regional,

11   and local nonprofit organizations as well as numerous unincorporated associations of concerned

12   citizens and individuals in federal and state litigation and administrative proceedings. I also

13   authorize, manage, and supervise an active docket of cases prosecuted by other attorneys at ATA.

14   My litigation experience encompasses all aspects of environmental litigation practice, including

15   client and case development, motion practice, discovery, mediation, trial, and appeals.

16           11.   A non-exclusive list of my ATA case work includes:

17                    a. Wai Ola All. v. United States Dept. of Navy, No. 22-00272 LEK-RT, 2025
                         U.S. Dist. LEXIS 11108, at *26 (D. Haw. Jan. 22, 2025)(denying defendant’s
18                       motion to dismiss CWA and RCRA claims for contamination of Pearl Harbor)
19                    b. Ecological Rights Found. v. Hot Line Constr., Inc., 2024 U.S.Dist.LEXIS
20                       129282, at *13 (C.D. Cal. July 19, 2024) (compelling contaminated site
                         cleanup and court-ordered award of “$2,471,076.44 in attorneys’ fees and
21                       $101,843.24 in costs” for RCRA citizen suit)

22                    c. S.F. Baykeeper v. City of Sunnyvale, 2024 U.S. Dist. LEXIS 53151, at *18
                         (N.D. Cal. Mar. 25, 2024) (awarding plaintiff interim attorney fees under
23                       CWA)
24                    d. Orindans for Safe Emergency Evacuation v. City of Orinda, Contra Costa
25                       County Superior Court Case No. N23-0579 (2024) (finding violations of
                         CEQA for Plan Orinda wildfire evacuation planning)
26
                      e. San Francisco Baykeeper v. Allied Engineering & Production Corp., 3:20-cv-
27                       07123-JD (N.D. Cal. 2023) (RCRA and nuisance claims compelling cleanup
                         of illegal shoreline dumping)
28
                                               3
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1                 f. Gutierrez v. Amplify Energy Corp., 2023 U.S.Dist. LEXIS 72861, at *32-33
                      (C.D. Cal. Apr. 24, 2023) (oil spill class action damages, fees, and costs)
 2
                   g. Liapes v. Facebook, Inc., 95 Cal.App.5th 910, 931 (2023) (reversing dismissal
 3                    of Unruh Act claims for discrimination in ad services)
 4
                   h. San Luis Obispo Coastkeeper v. Santa Maria Valley Water Conservation
 5                    Dist., 49 F.4th 1242, 1250 (9th Cir. 2022) (reversing dismissal and holding
                      federal ESA applies to dam authorized by Public Law in 1954)
 6
                   i. S.F. Baykeeper v. City of Sunnyvale, 627 F. Supp. 3d 1102, 1129 (N.D. Cal.
 7                    2022) (obtaining partial summary judgment for contaminated stormwater
                      discharges from municipal storm sewer system under CWA)
 8
                   j. Ecological Rights Found et al. v. Federal Emergency Management Agency,
 9
                      384 F.Supp.3d 1111 (N.D. Cal. 2019) (establishing Endangered Species Act
10                    violation of National Flood Insurance Program)

11                 k. Onuoha et al. v. Facebook, Inc. (N.D. Cal. 2019) 5:16-cv-06440-EJD (class
                      action settlement to reform discriminatory Facebook housing, credit, and
12                    employment ad tools)
13                 l. Clean Water Fund et al. v. Valley Water Management Company, (2019) Kern
14                    County Superior Court Case No. BCV-19-101750 (enjoining facility from
                      dumping oil and gas wastewater into unlined pits)
15
                   m. AquAlliance et al. v. U.S. Bureau of Reclamation, et al., 312 F.Supp.3d 878
16                    (E.D. Cal. 2018) (establishing noncompliance with CEQA, NEPA, and the
                      Endangered Species Act, for 10-year statewide water transfer program)
17
                   n. Takhar v. People ex rel. Feather River Air Quality Management Dist., 27
18                    Cal.App.5th 15 (2018) (establishing anti-SLAPP liability for cross-complaint
19                    against Air District)

20                 o. North Coast Rivers Alliance et al. v. Cal. Dept of Food and Agriculture,
                      Sacramento County Superior Court, Case No. 34-2015-80002005 (2018)
21                    (invalidating pesticide program EIR for noncompliance with CEQA, awarding
                      fees and costs)
22
                   p. Ecological Rights Foundation v. Pacific Gas & Electric Co., 874 F.3d 1083
23                    (9th Cir. 2017) (establishing RCRA cause of action for Pacific Gas & Electric
24                    stormwater discharges)

25                 q. Washoe Meadows Community v. California Dept. of Parks, 17 Cal.5th 277
                      (2017) (vacating CEQA environmental impact report for inadequate project
26                    description)
27                 r. S.F. Baykeeper v. Levin Enterprises, 12 F. Supp. 3d 1208 (N.D. Cal. 2013)
                      (industrial stormwater pollution under CWA)
28
                                               4
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1                    s. San Francisco Baykeeper v. City of South San Francisco, (N.D. Cal. 2013)
                         Case No. 10-00921 SBA (abating sewer overflows under CWA)
 2
                      t. San Francisco Baykeeper v. West Bay Sanitary Dist., 791 F.Supp.2d 719
 3                       (N.D. Cal. 2011) (establishing liability for sewage overflows under the
 4                       CWA)

 5                    u. San Francisco Baykeeper v. West Bay Sanitary Dist., 2011 U.S. Dist. LEXIS
                         138093 (N.D. Cal. 2011) (award of interim fees under CWA)
 6
                      v. Epic v. Cal. State Bd. of Forestry & Fire Prot., 2010 Cal. Super. LEXIS
 7                       10925, *1 (invalidating CalFire regulations for inconsistency with CEQA)
 8                    w. Neighbors in Support of Appropriate Land Use v. County of Tuolumne, 157
                         Cal.App.4th 997 (2007) (approved land use determined noncompliant with
 9
                         Planning and Zoning Law)
10
                      x. Tuolumne County Citizens for Responsible Growth v. City of Sonora, 155
11                       Cal.App.4th 1214 (2007) (CEQA review illegally piecemealed whole of
                         project)
12
                      y. California Native Plant Society v. County of El Dorado, 170 Cal.App.4th
13                       1026 (2009) (county failure to assess mitigation plan under CEQA)
14
                      z. Cal. Forestry Ass'n v. Cal. Fish & Game Comm'n, 156 Cal. App. 4th 1535,
15                       1555 (2007) (representing intervenor California Trout in upholding listing of
                         coho salmon as endangered under California ESA).
16
           12.     Having represented citizen plaintiffs and private attorneys general throughout my
17
     career, I am familiar with the laws governing attorneys’ fee awards under both state and federal
18
     law. I have obtained my knowledge of the prevailing market rates through my own experience of
19
     practicing law in the Sacramento area, as well as my discussions with other attorneys, including
20
     attorneys who have successfully brought motions for attorneys’ fees. I have also brought successful
21
     motions for attorneys’ fees, as documented above.
22
        III. RATES REQUESTED IN THIS CASE
23
           13.     As part of my role as partner at ATA, I annually review market rates for attorneys
24
     and paralegals of similar skill and experience as that of ATA’s attorneys and paralegals, in districts
25
     and jurisdiction throughout California. Thereafter, in consultation with ATA’s partners, I annually
26
     adjust all ATA attorneys’ and paralegals’ market rates for each federal judicial district in
27

28
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 1   California. My 2025 rate for attorney work in the Eastern District of California is $640 per hour.

 2   Given my experience, skill, and reputation, my rates requested herein are reasonable.

 3          14.    I am directly familiar with the commercial market rates charged, and the

 4   competencies and expertise exhibited, by the attorneys and paralegals at ATA who worked on this

 5   case and believe that the hourly rates charged by ATA are reasonable and within the range of

 6   commercial market rates charged by attorneys and paralegals of comparable experience and skill in

 7   the Eastern District of California.

 8          15.    In setting my hourly rates, I reviewed market data and recent attorney fee awards in

 9   cases involving complex civil litigation in the U.S. District Court for the Eastern District of

10   California. 1 My $640.00 per hour rate is substantially less than the rates awarded to several lawyers

11   with comparable experience in recent cases and is close to the average of such awarded rates.

12   Accordingly, in my opinion, this is a reasonable market-based rate for my work in this case.

13          16.    I have also reviewed the rates of my-counsel in this action and believe that their

14   hourly rates are reasonable and within the range of commercial market rates charged by attorneys

15   of comparable experience and skill in the Eastern District of California. I have had a longstanding

16   working relationship with co-counsel Drevet Hunt (see, San Francisco Baykeeper v. West Bay

17

18   1
    See Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 452-53 (E.D. Cal. 2013) (awarding
19 $400/hour to attorney with 5 years of experience; $560/hour to attorney with 8 years of experience;
   $720/hour to attorney with 21 years of experience); Garcia v. Gordon Trucking, Inc., 2012 U.S.
20 Dist. LEXIS 160052, at *9 (E.D. Cal. 2012) (finding that prevailing hourly rates in the Fresno
   division of the Eastern District of California are in the $400 range, with rates of up to $650 to $675
21
   approved for partners and senior associates with significant years of experience); Bond v. Ferguson
22 Enters., 2011 U.S. Dist. LEXIS 70390, 2011 WL 2648879, at *9 (E.D. Cal. 2011) (holding that
   $675/hour was an appropriate rate for a partner with more than 20 years of experience and
23 $261/hour was an appropriate rate for an associate with 2 years of experience); Doe v. Cty. of
   Sacramento, No. 2:21-cv-01438-MCE-CKD, 2024 U.S. Dist. LEXIS 83141 at *7, (E.D. Cal.
24 2024) (stating that “the hourly rate of $425.00 requested by plaintiffs' attorney is reflective of the
   prevailing market rate within the Eastern District of California, Sacramento Division, for similar
25
   services by lawyers of reasonably comparable skill” for attorney admitted to the bar in 2020);
26 Firstsource Sols. USA, LLC v. Tulare Reg’l Med. Ctr., 2019 WL 2725336, at *8 (E.D. Cal. June 28,
   2019) (approving a rate of $450.00 per hour for partners with at least 20 years of experience); Price
27 Simms Holdings v. Candle3, 2021 WL 1884995, at *5 (approving a rate of $450.00 per hour for
   partners); Deerpoint Grp., Inc. v. Agrigenix, LLC., 2022 U.S. Dist. LEXIS 197646, at *59 (E.D.
28 Cal. 2022) (collecting cases).
                                               6
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1   Sanitary Dist., 791 F.Supp.2d 719 (N.D. Cal. 2011)) and can further attest to the reasonableness of

 2   his E.D. Cal. market rate of $640 per hour.

 3         17.       For the Court’s ease of reference, the rates requested by Plaintiff’s counsel herein are

 4   as follows:

 5                 Attorney                     Years of Experience                      Rate
 6   Matthew Maclear                     25                                  $670.00
 7   Jason Flanders                      20                                  $640.00
 8   Drevet Hunt                         20                                  $640.00
 9   Erin Clancy                         18                                  $620.00
10   Erica Maharg                        14                                  $590.00
11   Christopher Hudak                   13                                  $580.00
12   Austin Sutta                        11                                  $580.00
13   J. Thomas Brett                     8                                   $550.00
14   Lauren Marshall                     7                                   $520.00
15   Harrison Beck                       4                                   $345.00
16   Kenya Rothstein                     4                                   $345.00
17
     Carson Capps                        3                                   $345.00
18
     Theresa Trillo (Attorney)           2                                   $345.00
19
     Theresa Trillo (Paralegal)          2.5                                 $218.00
20
     Esmeralda Bustos (Paralegal)        > 10                                $218.00
21
     Attorney Paralegal Time                                                 $218.00
22

23
           18.       In July 2024, the Central District of California, in Ecological Rights Foundation v.
24
     Hot Line Construction, Inc., awarded attorneys on this case the following rates:
25

26                         Timekeeper             Year Admitted       Rate Awarded

27                         Matthew Maclear        2000                $950

28
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 1
                              Jason Flanders          2005              $910
 2
                              J. Thomas Brett         2017              $660
 3
                              Harrison Beck           2021              $525
 4
                              Kenya Rothstein         2021              $525
 5

 6                            Theresa Trillo          2023              $455

 7                            Esmeralda Bustos        N/A (paralegal)   $350
 8
               19.     As of 2024 (the last year for which the U.S. Bureau of Labor Statistics has data), the
 9
         mean salary for attorneys in the Central District of California and Sacramento, California was
10
         $270,610 and $202,000, respectively. 2 On average, therefore, Sacramento attorneys earn
11
         approximately 25.4 percent less than attorneys in the Los Angeles area (the Central District of
12
         California). Discounting the rates awarded by the Central District of California in the
13
         aforementioned Hot Line Construction, Inc. case by 25.4 percent yields rates commensurate with
14
         those claimed by Plaintiff’s counsel here. Below is a comparison of the discounted Hot Line
15
         Construction, Inc. rates with rates claimed by counsel for Plaintiff here.
16
                         Attorney              Years of        Adjusted Hot       Rate Requested
17                                             Practice            Line
                                                               Construction,
18                                                              Inc. Rates
19                     M. Maclear                25               $708.7              $670.00

20                      J. Flanders              20               $678.86              $640.00

21                       T. Brett                 8               $492.36              $550.00

22                     K. Rothstein               4               $391.65              $345.00

23                       T. Trillo                2               $339.43              $345.00

24                       H. Beck                  4               $391.65              $345.00

25                       E. Bustos               N/A              $299.25              $218.00

26

27

28   2
      Compare https://data.bls.gov/oes/#/area/0031080; with https://data.bls.gov/oes/#/area/0040900.
                                                               8
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1          20.     In September 2018, the Sacramento County Superior Court awarded the following

 2   rates to ATA attorneys and co-counsel in North Coast Rivers Alliance et al. v. Cal. Dept of Food

 3   and Agriculture, Sacramento County Superior Court, Case No. 34-2015-80002005, Sept. 4, 2018.

 4                      Years of                                    2018 Rate - Adjusted
                                           2018 Rate Awarded
                       Experience                                      for Inflation 3
 5
                           44                       $650                    $812
 6                         38                       $650                    $812
                           18                       $525                    $656
 7
                           13                       $450                    $562
 8                         11                       $425                    $531
                            8                       $375                    $468
 9                          3                       $325                    $406
10                      Paralegal                   $175                    $219

11          21.     If the rates above were to be applied to the counsel in this case considering their

12   experience and inflation increases, the following would be each attorney’s likely rate, compared to

13   the rate requested in this case.

14                 Attorney             Years of Practice         Adjusted           Rate
                                                                 North Coast       Requested
15                                                               Rivers Rate
16                J. Flanders                  20                   $695            $640.00

17                J. Flanders                  20                   $695            $640.00

18                Erin Clancy                  18                   $656              $620

19                E. Maharg                    14                   $600            $590.00

20                 C. Hudak                    13                   $562            $580.00

21                  A. Sutta                   11                   $531            $580.00

22                  T. Brett                   8                    $468            $550.00

23                  H. Beck                    4                    $406            $345.00

24                K. Rothstein                 4                    $406            $345.00
25                  C. Capps                   3                    $406            $345.00
26

27
   3
     To calculate the inflation increase from September 2018 to September 2024, I used Bureau of
28 Labor Statics CPI inflation Calculator, available at: https://data.bls.gov/cgi-bin/cpicalc.pl.
                                               9
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1                     T. Trillo             2                          $406            $345.00
 2                    Paralegal                                         $219               $218
 3                       Rate
 4
               22.     Comparison to the rates reflected in the Laffey Matrix is also illustrative. The Laffey
 5
         Matrix is a United States Department of Justice tool that provides billing rates for attorneys at
 6
         various experience levels in the Washington, D.C., area and can be adjusted to establish
 7
         comparable billing rates in other areas using data from the United States Bureau of Labor Statistics.
 8
         As of 2024 (the last year for which the U.S. Bureau of Labor Statistics has data), the mean salary
 9
         for attorneys in Washington D.C. and Sacramento, California was $219,400 and $202,000,
10
         respectively. 4 On average, therefore, Sacramento attorneys earn approximately 8 percent less than
11
         attorneys in Washington D.C. Discounting the Laffey rates by 8 percent yields rates commensurate
12
         with those claimed by Plaintiff here. Below is a comparison of the discounted Laffey Rates with
13
         rates claimed by counsel for Plaintiff here.
14

15                          Attorney                         Years of           Adjusted            Rate
                                                            Practice per       Laffey Rate        Requested
16                                                            Laffey
17                                                            Matrix
                           M. Maclear                           20+             $1,049.72          $640.00
18
                           J. Flanders                           20+            $1,049.72          $640.00
19
                             D. Hunt                             20+            $1,049.72          $640.00
20
                            E. Clancy                           11-19           $872.16            $590.00
21
                           E. Maharg                            11-19           $872.16            $590.00
22
                             A. Sutta                           11-19           $872.16            $590.00
23
                            C. Hudak                            11-19           $872.16            $590.00
24
                             T. Brett                            8-10            $771.8            $550.00
25
                           L. Marshall                           4-7            $534.526           $345.00
26

27

28   4
      Compare https://data.bls.gov/oes/#/area/0047900; with https://data.bls.gov/oes/#/area/0040900.
                                                              10
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 1                    K. Rothstein                            4-7           $534.526          $345.00
 2                       H. Beck                              4-7           $534.526          $345.00
 3                       T. Trillo                            1-3            $435.16          $345.00
 4                      C. Capps                              1-3            $435.16          $345.00
 5                      Paralegal                             1-3            $258.00          $218.00
 6
           23.     Even when compared to the relatively lower rates more common in the Eastern
 7
     District of California, therefore, the rates provided here are low and thus reflect the reasonableness
 8
     of the hourly rates provided for ATA staff herein.
 9
           24.     Given the above rates and the number of hours worked by Plaintiff’s counsel herein
10
     (as described in detail in Exhibit 1 hereto), the total fee award requested is $1,715,853.60, after
11
     reducing the total time kept by 13.45% and fees sought by 11.19% after exercising billing
12
     judgment. This accounts for 490.5 hours of attorney time on this matter to date. And it further
13
     accounts for Plaintiff’s counsel’s billing judgment reductions (which are described below).
14
      IV. TASKS PERFORMED AND HOURS INCURRED IN CASE
15
           25.     As a general note, with this Court’s approval, the parties agreed to divide the case
16
     into two phases. Phase 1 covered issues regarding Plaintiff’s standing under Article III of the U.S.
17
     Constitution, whether the unnamed stream into which Defendant Cosumnes Corporation d/b/a
18
     Murieta Equestrian Center’s (“Defendant” or “MEC”) discharges is covered under the CWA, and
19
     whether Defendant discharges pollutions into that unnamed stream. Phase 2 covered issues related
20
     to whether Defendant’s facility constitutes a Concentrated Animal Feeding Operation (“CAFO”)
21
     under controlling regulations, whether Defendant has a valid permit to operate that facility, and the
22
     remedies appropriate in this case. Negotiating this phased approach took a considerable amount of
23
     time and effort and was necessary in large part because Defendant opposed Plaintiff’s prosecution
24
     vehemently (and often in obvious contravention of controlling law and precedent) at every turn.
25
           26.     I have managed my firm’s prosecution of this case since its inception, through both
26
     phases of the litigation described above. Included herewith is a complete account of the time I’ve
27

28
                                               11
     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1   spent on this matter. And below is a detailed, but non-exhaustive description of my work on this

 2   matter to date.

 3          27.    In early 2020, I helped to oversee my firm’s evaluation of this matter. In June 2020,

 4   we finalized and sent the notice-of-intent-to-sue letter we to Defendant, and responded to calls

 5   from Defendant’s principal explaining why their legal defenses were meritless.

 6          28.    In September 2020, I helped to oversee my firm’s preparation and service of

 7   Plaintiff’s Complaint. Service of the Complaint proved difficult, and I had to spend extra time

 8   ensuring that Defendant was properly served in October and November of that year.

 9          29.    In November 2020, I reviewed Defendant’s Answer and prepared and sent a letter to

10   Defendant asking to meet-and-confer about the affirmative defenses alleged in the Answer. I

11   prepared for and attended a call with opposing counsel about the alleged affirmative defenses in

12   December. We agreed to extend the deadline by which Plaintiff had to file a motion to strike these

13   allegations, and Defendant ultimately agreed to remove many of its meritless affirmative defenses

14   (Dkt. 13).

15          30.    Starting in early 2021, I began overseeing the Phase 1 discovery process. Towards

16   this end, I helped to draft, review, and finalize all of Plaintiff’s discovery requests and helped

17   Plaintiff to respond to all of Defendant’s discovery requests. (As discussed below, I also helped to

18   draft, review, and finalize all of Plaintiff’s Phase 2 discovery requests and helped Plaintiff to

19   respond to all of Defendant’s Phase 2 discovery requests.) I also helped and supervised review,

20   analysis, organization, and coding of documents obtained from Defendant pursuant to these

21   requests. I worked with opposing counsel, ATA staff, and co-counsel to manage the discovery

22   schedule. I also helped to draft, edited, supervised, and directed meet-and-confer letters regarding

23   discovery related issues, including depositions under Federal Rule of Civil Procedure 30(b)(6), and

24   preparing for and attending meetings with opposing counsel regarding discovery-related issues. I

25   helped Plaintiff to prepare for depositions undertaken by Defendant and attended such depositions

26   on behalf of Plaintiff. This included the deposition of Sean Bothwell, Plaintiff’s executive director,

27   and the depositions of Plaintiff’s experts Ian Wren. (Mr. Wren was actually deposed four times by

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 1   Defendants.) This also included preparing for—in conjunction with co-counsel Drevet Hunt—and

 2   conducting the depositions of MEC’s 30(b)(6) witness Jeff Pearson, MEC’s water quality expert

 3   Susan Paulsen, and the Rancho Murieta Community Service’s District executive director. I also

 4   helped to prepare third-party subpoenas to the U.S. Army Corps of Engineers, State Water Quality

 5   Control Board, and Carol Anderson Ward, among others, regarding this matter. (Notably,

 6   Defendant made it quite difficult to serve Ward a deposition notice and to depose her in general.

 7   This required extra work for Plaintiff.) Such discovery was necessary for Plaintiff to prevail on its

 8   Phase 1 motion for summary judgment, proving that MEC discharges pollutants to waters of the

 9   United States (including the Unnamed Stream and the Cosumnes River), that the Unnamed Stream

10   is the functional equivalent of a point source discharge, and that MEC’s pollutants travel at least 19

11   miles downstream where the impaired Plaintiff’s members use and enjoyment of the Cosumnes

12   River Preserve.

13          31.    I helped to manage Plaintiff’s additional factual investigation to inform its

14   prosecution of this case. Towards this end, I helped to review California Public Records Act

15   requests my firm sent out related to this matter and also helped to manage and oversee Plaintiff’s

16   hired experts. For example, in March 2021, I worked with Ian Wren, one of Plaintiff’s experts, to

17   coordinate a wet weather inspection of the site. This required drafting and sending a meet-and-

18   confer letter to Defendants requesting the inspection under Federal Rule of Civil Procedure 34 and

19   then preparing for and attending a meeting with counsel for Defendants regarding the site

20   inspection. This was necessary because Defendant refused to permit this inspection, despite the

21   clear language of the federal rules. Ultimately, to get the site inspection permitted, we had to

22   participate in informal dispute resolution with Judge Barnes. I also attended the extensive wet

23   weather site inspection and sampling at MEC. I reviewed the sampling results that came out of the

24   site inspection and strategized for how to leverage those results to prosecute this matter. (All told,

25   we conducted three site inspections throughout this litigation, including two wet weather site

26   inspections and a dry weather site inspection.) I also managed our experts to prepare their reports

27   and rebuttal reports. All told, I oversaw the preparation of three expert reports, including Mr.

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 1   Wren’s reports, and also the expert reports of Timothy Simpson (regarding anticipated cost of

 2   compliance for MEC should a permit be obtained) and Jonathan Shefftz (regarding the economic

 3   benefit to MEC of non-compliance and the monies saved by MEC through years of non-

 4   compliance). These expert reports were necessary to establish Defendant’s liability in this matter,

 5   particularly because Defendant refused to admit that they discharged pollutants, discharged

 6   pollutants into the Unnamed Stream or the Cosumnes River, that the facility qualifies as a CAFO

 7   under controlling regulations, or that Plaintiff had standing to raise its CWA claims. These reports

 8   were further necessary to support Plaintiff’s claims for penalties, which are mandatory following a

 9   finding of liability, where penalty factors were within the scope of Phase II discovery.

10          32.    Starting in November 2021, I helped to manage settlement negotiations with

11   Defendants. I helped to oversee the preparation of a mediation brief and the drafting of a consent

12   decree and then met with opposing counsel about the proposed consent decree. And I attended

13   mediation on behalf of Plaintiff in an attempt to timely and efficiently settle this matter. In

14   September 2022, I helped Plaintiff to participate in a second attempt at mediation. I also helped to

15   draft, review, and finalize Plaintiff’s mediation brief for this second attempt at mediation, and

16   helped to review and transmit to Defendants another draft Consent Decree. Ultimately, this second

17   attempt at settlement also failed.

18          33.    Starting in January 2022, I helped to draft Plaintiff’s Motion for Leave to Amend and

19   then, subsequently, Plaintiff’s Second Amended Complaint to allege additional standing claims

20   following Defendant’s concerns, and following new Ninth Circuit precedent for informational

21   injury. This was necessary because Defendants refused to stipulate to this amendment.

22          34.    In July 2022, anticipating the close of the first phase of discovery, I began preparing

23   Plaintiff’s Phase 1 Motion for Summary Judgment. This work continued into December 2022,

24   when we filed that motion. I then helped Plaintiff prepare its opposition to Defendants’ Phase 1

25   cross Motion for Summary Judgment and to prepare its reply in response to Defendants’ opposition

26   to Plaintiff’s Motion. In June 2023, I helped to prepare, edit, and finalize a supplemental brief

27   regarding the import of the Supreme Court’s holding in Sackett on the cross motions for summary

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 1   judgment. I also prepared for and participated in oral argument for this Motion. This work lasted

 2   until August 2023. Ultimately, the Court found that Plaintiff had adequately pled standing and that

 3   Defendants had discharged into jurisdictional waters (under the CWA). And the Court denied

 4   Defendants’ motion entirely.

 5          35.    I then began preparing Plaintiff’s Phase 2 Motion for Summary Judgment. Work on

 6   the Phase 2 Motion for Summary Judgment occurred mostly in March and April 2024, when the

 7   motion was filed. I also helped to prepare, edit, and finalize Plaintiff’s reply to Defendant’s

 8   opposition to this motion. In August 2024, I also helped to prepare a supplemental brief regarding

 9   the import of the U.S. Supreme Court’s decision in Loper Bright on this motion (and this litigation

10   in general). I extensively prepared for and participated in oral argument for this motion.

11          36.    During this time, I also helped to prepare a Motion in Limine to exclude testimony

12   from Defendants’ expert Tim Swickard. And I helped to prepare, edit, and finalize Plaintiff’s reply

13   to Defendants’ opposition to this motion.

14          37.    Starting in November 2023, I also managed Plaintiff’s Phase 2 discovery process,

15   including the drafting of Requests for Production, Interrogatories, Requests for Admission, and

16   deposition requests. I helped to respond to Defendant’s corresponding discovery requests. This

17   work continued through March 2024. This discovery dealt largely with information that informed

18   Plaintiff’s demand for penalties and injunctive relief, including the corporate structure of

19   Defendant. This was necessary since once liability is established, penalties are mandatory, and the

20   Phase 2 discovery period was the court-ordered time to develop this evidence.

21          38.    I also helped to plan and execute a dry weather site inspection that occurred in early

22   November 2023.

23          39.    Beginning in May 2024 and lasting through much of that summer, we began a

24   second attempt at settlement.

25          40.    In the fall of 2024, we also sought leave to amend our Complaint again and to file a

26   Third Amended Complaint to include Carol Anderson Ward. I oversaw that process as well.

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 1   Plaintiff’s Third Amended Complaint was filed in December 2024. Defendants refused to stipulate

 2   to this amendment.

 3          41.      All told, ten contentious (opposed) motions have been filed in this litigation, and

 4   Plaintiff has prevailed in each of these circumstances except for its Motion in Limine to Exclude

 5   the Expert Testimony of Timothy Swickard – which was denied without prejudice as premature.

 6   This reflects the skilled work I and my co-counsel have put into the prosecution of this case and the

 7   worthiness of our efforts for an interim fee award. As is self-evident from the above descriptions,

 8   this litigation has been contentious and hard fought. My firm has actively litigated this matter on a

 9   fully contingency fee basis since early 2020. An interim fee award is appropriate.

10     V.   EXERCISE OF BILLING JUDGMENT

11          42.      The practice of all attorneys and support staff at ATA is to record our time when we
12   incur it. We use timekeeping software, and all timekeepers record their time in a maximum of six-
13   minute or one-tenth-of-an-hour increments. Timekeepers can use the timers available through our
14   timekeeping software and record the exact time spent on each task.
15          43.      I personally reviewed all the time entries from all attorneys and staff on this matter.
16 In reviewing the time records, I reduced timekeepers’ rates and/or time spent as appropriate, and

17 made those adjustments clear in Exhibit 1.

18          44.      All told, Plaintiff’s counsel cut 13.45% percent of all attorney’s billing time,
19 accounting for a total billing reduction of $216,212. As a result, the remaining time recorded for

20 which Plaintiff’s counsel seek recovery is focused on the tasks necessary to the effective litigation

21 of this case, is not duplicative, and was reasonably incurred.

22          45.     MEC refused to settle the present action over the course of three mediation sessions
23 (in 2021, 2022, and 2024 [multiple days]) even after the complex issues related to WOTUS and

24 standing were resolved by the court.

25          46.     For Theresa Trillo and Kenya Rothstein, and in the exercise of billing judgment, I
26 applied the paralegal rate of $218.00 for work conducted by them prior to their admission to the

27 California Bar.

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     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1

 2         I declare, under penalty of perjury under the laws of the State of California that the

 3 foregoing is true and correct. Executed on the fifteenth of April 2025 Oakland, California.

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 5                                                       /s/ Jason R. Flanders
                                                         Jason R. Flanders
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     DECLARATION OF JASON R. FLANDERS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                 Create rain chart and call with E. Bustos re: same.
  6/18/2020 CCKA   Center     A. Barnes                                                                                            0.2    $710.00              $0.00          $142.00               0.2
                   Murieta
                   Equestrian                 Emails with co-counsel re: service of notice letter and next steps; locate
  8/25/2020 CCKA   Center     A. Barnes       and circulate return receipt.                                                        0.2    $710.00              $0.00          $142.00               0.2
                   Murieta
                   Equestrian                 Call with J. Flanders re: case strategy in response to defendant's
  12/9/2020 CCKA   Center     A. Barnes       pleading.                                                                            0.3    $710.00              $0.00          $213.00               0.3

                   Murieta                    Communicate with T. Brett re: insurance certificate requested by
                   Equestrian                 defendants for site inspection.
   3/4/2021 CCKA   Center     A. Barnes                                                                                            0.1    $710.00              $0.00           $71.00               0.1

                   Murieta                    Research on Murieta Equestrian Center compliance with Clean Water
                   Equestrian                 Act for development of Clean Water Act case; analyze Water Board
  11/7/2018 CCKA   Center       C. Hudak      permits/orders regarding same.                                                       1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Draft Public Records Act request pertaining to Murieta Equestrian
  1/29/2019 CCKA   Center       C. Hudak      Center for development of possible Clean Water Act claims.                           0.9    $580.00            $522.00            $0.00                0
                   Murieta
                   Equestrian                 Revise Public Records Act request to Murieta Equestrian Center, send
   1/7/2020 CCKA   Center       C. Hudak      to E. Bustos for service.                                                            0.5    $580.00            $290.00            $0.00                0
                   Murieta
                   Equestrian                 Locate and forward draft Public Records Act request re: Murrieta
   1/7/2020 CCKA   Center       C. Hudak      Equestrian Center to J. Flanders and L. Wood.                                        0.2    $580.00            $116.00            $0.00                0

                   Murieta                    Review Public Records Act response from Water Board and email from
                   Equestrian                 J. Flanders re: same and follow up research project for E. Lautanen.
  1/21/2020 CCKA   Center       C. Hudak                                                                                           0.1    $580.00              $0.00           $58.00               0.1
                   Murieta
                   Equestrian                 Strategize re: amending complaint for Resource Conservation and
   9/1/2020 CCKA   Center       C. Hudak      Recovery Act; review complaint.                                                      0.2    $580.00            $116.00            $0.00                0
                   Murieta
                   Equestrian                 Revise complaint to include Resource Conservation and Recovery Act
   9/2/2020 CCKA   Center       C. Hudak      allegations.                                                                         1.4    $580.00            $812.00            $0.00                0
                   Murieta
                   Equestrian                 Add Resource Conservation and Recovery Act claims to complaint.
   9/8/2020 CCKA   Center       C. Hudak                                                                                           1.4    $580.00              $0.00          $812.00               1.4

                   Murieta                    Draft Public Records Act request to Rancho Murieta Community
                   Equestrian                 Services District; strategize with J. Flanders and E. Maharg re: same.
 10/13/2020 CCKA   Center     C. Hudak                                                                                             0.4    $580.00              $0.00          $232.00               0.4
                   Murieta
                   Equestrian                 Draft Public Records Act to Rancho Murieta Community Services
 10/14/2020 CCKA   Center     C. Hudak        District regarding Murieta Equestrian Center.                                        1.8    $580.00           $1,044.00           $0.00                0




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                                                                                                                                                                    Reduction       Time
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                   Murieta
                   Equestrian
 10/14/2020 CCKA   Center     C. Hudak        Research on General Permit in support of Public Records Act request to             1.4    $580.00           $812.00           $0.00                0

                   Murieta                    Legal research in support of Public Records Act extension; email with
                   Equestrian                 CSD re: extension; strategize with E. Maharg re: same; review
 10/27/2020 CCKA   Center     C. Hudak        response emails; calendar due date.                                                1.2    $580.00             $0.00         $696.00               1.2
                   Murieta
                   Equestrian
 10/28/2020 CCKA   Center     C. Hudak        Email to Rancho Murieta Community Services District re: costs of Public            1.4    $580.00           $812.00           $0.00                0
                   Murieta
                   Equestrian                 Review and save Public Records Act responses to files.
  11/6/2020 CCKA   Center     C. Hudak                                                                                           0.2    $580.00             $0.00         $116.00               0.2

                                              Analyze production of Public Records Act to Rancho Murieta
                   Murieta                    Community Services District and organize files to shared drive; email to
                   Equestrian                 Rancho Murieta Community Services District seeking confirmation that
 11/10/2020 CCKA   Center       C. Hudak      production is complete                                                             0.7    $580.00           $406.00           $0.00                0
                   Murieta
                   Equestrian                 Respond to email from Rancho Murieta Community Services District re:
 11/11/2020 CCKA   Center       C. Hudak      Public Records Act request.                                                        0.1    $580.00             $0.00          $58.00               0.1
                   Murieta
                   Equestrian                 Compile initial disclosures.
   2/2/2021 CCKA   Center       C. Hudak                                                                                         0.9    $580.00           $522.00           $0.00                0
                   Murieta
                   Equestrian                 Discussion with J. Flanders re: responses to Requests for Production
   2/9/2021 CCKA   Center       C. Hudak      set one.                                                                           0.1    $580.00            $58.00           $0.00                0
                   Murieta
                   Equestrian                 Initial disclosures review and emails with J. Flanders / E. Bustos re:
  2/10/2021 CCKA   Center       C. Hudak      same.                                                                              0.3    $580.00             $0.00         $174.00               0.3
                   Murieta
                   Equestrian                 Review Requests for Production from defendants in support of drafting
  2/10/2021 CCKA   Center       C. Hudak      response; review documents in support of same.                                     1.6    $580.00           $928.00           $0.00                0
                   Murieta
                   Equestrian                 Legal research in support of Requests for Production Set 1 response.
  2/10/2021 CCKA   Center       C. Hudak                                                                                         0.8    $580.00           $464.00           $0.00                0
                   Murieta
                   Equestrian                 Further review of potentially responsive documents to requests for
  2/10/2021 CCKA   Center       C. Hudak      production.                                                                        0.6    $580.00           $348.00           $0.00                0

                   Murieta                    Coordinate finalizing initial disclosure production with J. Flanders, E.
                   Equestrian                 Bustos, EB; privilege review of documents.
  2/11/2021 CCKA   Center     C. Hudak                                                                                           1.6    $580.00             $0.00         $928.00               1.6
                   Murieta
                   Equestrian                 Further drafting of Requests for Production responses.
  2/11/2021 CCKA   Center     C. Hudak                                                                                           1.3    $580.00           $754.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                 Further legal research in support of drafting Requests for Production
  2/11/2021 CCKA   Center       C. Hudak      responses.                                                                        1.0    $580.00            $580.00            $0.00                0
                   Murieta
                   Equestrian                 Draft responses to Requests for Production.
  2/17/2021 CCKA   Center       C. Hudak                                                                                        1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Further drafting of objections to Requests for Production Set 1.
  2/17/2021 CCKA   Center       C. Hudak                                                                                        1.3    $580.00            $754.00            $0.00                0
                   Murieta
                   Equestrian                 Further drafting of objections to Requests for Production Set One.
  2/18/2021 CCKA   Center       C. Hudak                                                                                        0.9    $580.00              $0.00          $522.00               0.9
                   Murieta
                   Equestrian                 Select documents to provide to expert in support of wet weather
  2/18/2021 CCKA   Center       C. Hudak      inspection.                                                                       1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Add Bates number citations from file to Requests for Production Set
  2/23/2021 CCKA   Center       C. Hudak      One response.                                                                     1.8    $218.00              $0.00          $392.40               1.8
                   Murieta
                   Equestrian                 Further Bates number citations from file to Requests for Production Set
  2/23/2021 CCKA   Center       C. Hudak      One response.                                                                     1.6    $218.00              $0.00          $348.80               1.6
                   Murieta
                   Equestrian                 Further addition of Bates citations to Requests for Production
  2/23/2021 CCKA   Center       C. Hudak      responses.                                                                        1.5    $218.00              $0.00          $327.00               1.5
                   Murieta
                   Equestrian                 Finish Bates number citations from file to Requests for Production Set
  2/23/2021 CCKA   Center       C. Hudak      One response and email draft to J. Flanders.                                      1.3    $218.00              $0.00          $283.40               1.3
                   Murieta
                   Equestrian                 Review meet and confer letter re: Plaintiff's Requests for Production ;
   4/1/2021 CCKA   Center       C. Hudak      review Plaintiff's objections in support of response.                             0.5    $580.00            $290.00            $0.00                0
                   Murieta
                   Equestrian                 Drafting of meet and confer letter re: Plaintiff's responses to
   4/6/2021 CCKA   Center       C. Hudak      Defendant's requests for production.                                              0.2    $580.00            $116.00            $0.00                0
                   Murieta
                   Equestrian                 Review and respond to email from J. Flanders re: drafting meet and
   6/2/2021 CCKA   Center       C. Hudak      confer re: discovery responses.                                                   0.1    $580.00              $0.00           $58.00               0.1
                   Murieta
                   Equestrian                 Review interrogatory discovery responses in support of drafting meet
   6/3/2021 CCKA   Center       C. Hudak      and confer; outline meet and confer letter.                                       1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Draft responses section of meet and confer re: Defendant's responses
   6/3/2021 CCKA   Center       C. Hudak      to Plaintiff's interrogatories Set 1.                                             1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Draft responses section of meet and confer letter re: Defendant's
   6/3/2021 CCKA   Center       C. Hudak      Requests for Production responses.                                                1.6    $580.00            $928.00            $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                 Further drafting of interrogatory section of meet and confer letter re:
   6/8/2021 CCKA   Center       C. Hudak      Defendant's extensive deficient responses.                                            1.4    $580.00              $0.00          $812.00               1.4
                   Murieta
                   Equestrian                 Edits to meet and confer letter interrogatory section re: Defendant's
   6/8/2021 CCKA   Center       C. Hudak      response to Set 1 discovery.                                                          0.8    $580.00              $0.00          $464.00               0.8
                   Murieta
                   Equestrian                 Further drafting of interrogatory section of meet and confer letter re:
   6/8/2021 CCKA   Center       C. Hudak      Defendant's response to Set 1 discovery.                                              1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Further drafting of Requests for Production section of meet and confer
   6/9/2021 CCKA   Center       C. Hudak      letter.                                                                               1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analysis of Requests for Production documents provided in support of
   6/9/2021 CCKA   Center       C. Hudak      drafting meet and confer letter.                                                      1.2    $580.00            $696.00            $0.00                0
                   Murieta
                   Equestrian                 Draft interrogatory section of meet and confer letter re: Set 1
   6/9/2021 CCKA   Center       C. Hudak      responses.                                                                            1.0    $580.00            $580.00            $0.00                0
                   Murieta
                   Equestrian                 Further drafting of interrogatory section of meet and confer letter re: Set
   6/9/2021 CCKA   Center       C. Hudak      1 responses.                                                                          1.0    $580.00            $580.00            $0.00                0
                   Murieta
                   Equestrian                 Draft requests for production section of meet and confer letter re: Set
   6/9/2021 CCKA   Center       C. Hudak      One responses to discovery.                                                           0.3    $580.00            $174.00            $0.00                0
                   Murieta
                   Equestrian                 Review documents in file in support of assessing documentation of
  6/10/2021 CCKA   Center       C. Hudak      number of horses at facility.                                                         0.4    $580.00            $232.00            $0.00                0
                   Murieta
                   Equestrian                 Draft 30(b)(6) notice and Attachment A (topics/categories).
  6/15/2021 CCKA   Center       C. Hudak                                                                                            1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Further drafting of Deposition Notice / Attachment A.
  6/15/2021 CCKA   Center       C. Hudak                                                                                            1.3    $580.00            $754.00            $0.00                0
                   Murieta
                   Equestrian                 Begin drafting deposition outline.
  6/15/2021 CCKA   Center       C. Hudak                                                                                            0.5    $580.00            $290.00            $0.00                0
                   Murieta
                   Equestrian                 Draft deposition outline re: Cosumnes Corp.
  6/16/2021 CCKA   Center       C. Hudak                                                                                            0.3    $580.00            $174.00            $0.00                0
                   Murieta
                   Equestrian                 Emails with E. Maharg re: 30(b)(6) deposition notice.
  6/22/2021 CCKA   Center       C. Hudak                                                                                            0.5    $580.00              $0.00          $290.00               0.5
                   Murieta
                   Equestrian                 Review email from E. Maharg re: deposition notice and next steps.
   7/1/2021 CCKA   Center       C. Hudak                                                                                            0.1    $580.00              $0.00           $58.00               0.1




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                 Review email from J. Flanders re: document review task in support of
   8/9/2021 CCKA   Center     C. Hudak        developing deposition outline.                                                   0.1    $580.00              $0.00           $58.00               0.1
                   Murieta
                   Equestrian                 Production upload to Everlaw and upload issues.
  8/10/2021 CCKA   Center     C. Hudak                                                                                         1.1    $218.00              $0.00          $239.80               1.1

                                              Strategize with J. Flanders (0.2) re: review of large document
                   Murieta                    production; strategize with E. Maharg (0.6) re: document review; begin
                   Equestrian                 document review of Defendant's production in support of developing
  8/10/2021 CCKA   Center       C. Hudak      Clean Water Act claims.                                                          1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Further analysis of documents produced by Defendants in support of
  8/10/2021 CCKA   Center       C. Hudak      developing Clean Water Act claims.                                               0.3    $580.00            $174.00            $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders re: Murieta Equestrian Center document
  8/11/2021 CCKA   Center       C. Hudak      production.                                                                      0.2    $580.00              $0.00          $116.00               0.2
                   Murieta
                   Equestrian                 Review documents from first production in support of developing Clean
  8/11/2021 CCKA   Center       C. Hudak      Water Act claims against Murieta Equestrian Center.                              1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Review document production in support of developing claims against
  8/11/2021 CCKA   Center       C. Hudak      Murieta Equestrian Center.                                                       1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Review document production in support of developing Clean Water Act
  8/12/2021 CCKA   Center       C. Hudak      claims against RMC.                                                              1.7    $580.00              $0.00          $986.00               1.7
                   Murieta
                   Equestrian                 Further document review of first production in support of developing
  8/12/2021 CCKA   Center       C. Hudak      Clean Water Act claims.                                                          1.3    $580.00            $754.00            $0.00                0
                   Murieta
                   Equestrian                 Further analysis of documents produced in discovery in support of
  8/17/2021 CCKA   Center       C. Hudak      developing Clean Water Act claims.                                               1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Review documents 1183-1664 in support of developing Clean Water
  8/17/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Review documents 1683-1943 in support of developing Clean Water
  8/17/2021 CCKA   Center       C. Hudak      Act claims.                                                                      0.4    $580.00            $232.00            $0.00                0
                   Murieta
                   Equestrian                 Review documents 3672- 3692 in support of developing Clean Water
  8/18/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian
  8/18/2021 CCKA   Center       C. Hudak      Review documents 1961-2575 in support of developing Clean Water Ac               1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian
  8/18/2021 CCKA   Center       C. Hudak      Review documents 2576-3217 in support of developing Clean Water Ac               1.8    $580.00           $1,044.00           $0.00                0



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                                                                                                                                                                 Judgment Fee    Judgment
                                                                                                                                                                 Reduction       Time
                                                                                                                                                                                 Reduction
                   Murieta
                   Equestrian                 Analyze documents 3218 -3671 in support of developing Clean Water
  8/18/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.5    $580.00            $870.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 3787-3907 in support of developing Clean Water
  8/19/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 3693-3786 in support of developing Clean Water
  8/19/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.5    $580.00            $870.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 3908-3954 in support of developing Clean Water
  8/19/2021 CCKA   Center       C. Hudak      Act claims.                                                                   0.7    $580.00            $406.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 4188-4330 in support of developing Clean Water
  8/24/2021 CCKA   Center       C. Hudak      Act claims.                                                                   2.0    $580.00           $1,160.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 4063- 4187 in support of developing Clean Water
  8/24/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian
  8/24/2021 CCKA   Center       C. Hudak      Review documents 3956 to 4062 in support of developing Clean Water            1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 4331- 4531 in support of developing Clean Water
  8/24/2021 CCKA   Center       C. Hudak      Act claims.                                                                   0.9    $580.00            $522.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 4673- 4862 in support of developing Clean Water
  8/25/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 4532-4672 in support of developing Clean Water
  8/25/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 4863- 5089 in support of developing Clean Water
  8/25/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Upload produced documents to document review software, and review
  8/26/2021 CCKA   Center       C. Hudak      produced documents.                                                           1.1    $580.00              $0.00          $638.00               1.1
                   Murieta
                   Equestrian                 Analyze documents 5090-5335 in support of developing Clean Water
  8/26/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 6323 to 6469 in support of developing Clean Water
  8/30/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 6469 -6710 in support of developing Clean Water
  8/30/2021 CCKA   Center       C. Hudak      Act claims.                                                                   1.8    $580.00           $1,044.00           $0.00                0




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                                                                                                                                                                      Judgment Fee     Judgment
                                                                                                                                                                      Reduction        Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                 Analyze documents 5336- in support of developing Clean Water Act
  8/30/2021 CCKA   Center     C. Hudak        claims.                                                                            1.0    $580.00            $580.00            $0.00                 0

                   Murieta
                   Equestrian
  8/25/2021 CCKA   Center       C. Hudak                                                                                         1.1    $580.00              $0.00          $638.00                1.1
                   Murieta
                   Equestrian                 Review documents 7054 - 7398 in support of developing Clean Water
  8/31/2021 CCKA   Center       C. Hudak      Act claims.                                                                        2.0    $580.00           $1,160.00           $0.00                 0
                   Murieta
                   Equestrian                 Analyze documents 6711- 7053 in support of developing Clean Water
  8/31/2021 CCKA   Center       C. Hudak      Act claims.                                                                        1.9    $580.00           $1,102.00           $0.00                 0
                   Murieta
                   Equestrian                 Analyze documents 7398 to 7510 in support of developing Clean Water
  8/31/2021 CCKA   Center       C. Hudak      Act claims.                                                                        1.9    $580.00           $1,102.00           $0.00                 0
                   Murieta
                   Equestrian                 Analysis of documents 7510 to 7513 in support of developing Clean
  8/31/2021 CCKA   Center       C. Hudak      Water Act claims.                                                                  0.4    $580.00            $232.00            $0.00                 0
                   Murieta
                   Equestrian                 Call with J. Flanders re: review of document production.
   9/1/2021 CCKA   Center       C. Hudak                                                                                         0.2    $580.00              $0.00          $116.00                0.2

                   Murieta                    Analysis of horse numbers at Murieta Equestrian Center and dates,
                   Equestrian                 based on documents produced, in support of drafting subpoenas to
   9/1/2021 CCKA   Center     C. Hudak        develop Clean Water Act claims.                                                    1.9    $580.00              $0.00         $1,102.00               1.9
                   Murieta
                   Equestrian                 Emails with D. Hunt re: call; set up call; share documents with D. Hunt.
   9/1/2021 CCKA   Center     C. Hudak                                                                                           0.1    $580.00              $0.00           $58.00                0.1
                   Murieta
                   Equestrian                 Analyze documents 5473-5502 in support of developing Clean Water
   9/1/2021 CCKA   Center     C. Hudak        Act claims.                                                                        1.8    $580.00           $1,044.00           $0.00                 0

                   Murieta                    Further analysis of documents produced and make binders of hot
                   Equestrian                 documents; email to D. Hunt at California Coastkeeper Alliance re: call
   9/1/2021 CCKA   Center     C. Hudak        to discuss document review.                                                        1.7    $580.00            $986.00            $0.00                 0

                   Murieta                    Further analysis of horse numbers at Murieta Equestrian Center and
                   Equestrian                 dates, based on documents produced, in support of developing
   9/1/2021 CCKA   Center     C. Hudak        subpoenas for Clean Water Act claims.                                              0.4    $580.00            $232.00            $0.00                 0
                   Murieta
                   Equestrian                 Telephone call with D. Hunt and C. Capps re: document review.
   9/2/2021 CCKA   Center     C. Hudak                                                                                           1.0    $580.00            $580.00            $0.00                 0
                   Murieta
                   Equestrian                 Analyze documents 5503 to 5638 in support of developing Clean Water
   9/2/2021 CCKA   Center     C. Hudak        Act claims.                                                                        1.9    $580.00           $1,102.00           $0.00                 0




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Date      Client   Matter       Staff         Description                                                              Hours         Rate       Total               Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                 Analysis of documents for horse number on specific dates in support of
   9/2/2021 CCKA   Center     C. Hudak        developing subpoenas.                                                            1.8    $580.00           $1,044.00           $0.00                0

                                              Email to D. Hunt and co-counsel regarding document review protocols;
                   Murieta                    draft document review key; sort out uploads on document review
                   Equestrian                 software, in support of developing Clean Water Act claims.
   9/2/2021 CCKA   Center       C. Hudak                                                                                       1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Upload production documents 21323-26265 to document review
   9/7/2021 CCKA   Center       C. Hudak      software.                                                                        0.1    $218.00              $0.00           $21.80               0.1
                   Murieta
                   Equestrian                 Analyze documents 5748-5898 in support of developing Clean Water
   9/7/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 5899- 6136 in support of developing Clean Water
   9/7/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 5639 - 5747 SO developing Clean Water Act
   9/7/2021 CCKA   Center       C. Hudak      claims.                                                                          1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 6137 - 6205 in support of developing Clean Water
   9/7/2021 CCKA   Center       C. Hudak      Act claims.                                                                      0.5    $580.00            $290.00            $0.00                0
                   Murieta
                   Equestrian                 Add documents 21323-26265 to project review software subfolder.
   9/8/2021 CCKA   Center       C. Hudak                                                                                       0.1    $218.00              $0.00           $21.80               0.1
                   Murieta
                   Equestrian                 Analyze documents 6206-6322 in support of developing Clean Water
   9/8/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 7513-7727 in support of developing Clean Water
   9/9/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 7728 - 8019 in support of developing Clean Water
   9/9/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 8019 - 8211 in support of developing Clean Water
  9/10/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.8    $580.00           $1,044.00           $0.00                0

                   Murieta                    Email with co-counsel at California Coastkeeper Alliance re: document
                   Equestrian                 review question; analyze documents 8212 - 8457 in support of
  9/14/2021 CCKA   Center     C. Hudak        developing Clean Water Act claims.                                               1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 8741- 9180 in support of developing Clean Water
  9/14/2021 CCKA   Center     C. Hudak        Act claims.                                                                      1.8    $580.00           $1,044.00           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                 Analyze documents 8458 - 8741 in support of developing Clean Water
  9/14/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 9181- 9277 in support of developing Clean Water
  9/14/2021 CCKA   Center       C. Hudak      Act claims.                                                                      0.8    $580.00            $464.00            $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders re: document review and mediation brief.
  9/15/2021 CCKA   Center       C. Hudak                                                                                       0.2    $580.00            $116.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 9504-9718 in support of developing Clean Water
  9/15/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 9277- 9503 in support of developing Clean Water
  9/15/2021 CCKA   Center       C. Hudak      Act claims; email to co-counsel re: meet and confer letter.                      1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 9718 - 10086 in support of developing Clean Water
  9/15/2021 CCKA   Center       C. Hudak      Act claims.                                                                      1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 10087- 10285 in support of developing Clean
  9/15/2021 CCKA   Center       C. Hudak      Water Act claims.                                                                1.3    $580.00            $754.00            $0.00                0

                   Murieta                    Further analysis of DOC000001 in support of developing evidence that
                   Equestrian                 the Facility qualifies as a Concentrated Animal Feeding Operation.
  9/16/2021 CCKA   Center     C. Hudak                                                                                         1.9    $580.00           $1,102.00           $0.00                0

                   Murieta                    Analyze spreadsheet of DOC000001 in support of developing evidence
                   Equestrian                 that Facility qualifies as a Concentrated Animal Feeding Operation.
  9/16/2021 CCKA   Center       C. Hudak                                                                                       1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 10286 to 10560 in support of developing Clean
  9/16/2021 CCKA   Center       C. Hudak      Water Act claims.                                                                1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze 10562- 10960 in support of developing Clean Water Act
  9/20/2021 CCKA   Center       C. Hudak      claims.                                                                          1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Draft shell of settlement conference brief.
  9/20/2021 CCKA   Center       C. Hudak                                                                                       0.1    $580.00             $58.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 10961- 11322 in support of developing Clean
  9/21/2021 CCKA   Center       C. Hudak      Water Act claims.                                                                1.5    $580.00            $870.00            $0.00                0
                   Murieta
                   Equestrian                 Further analysis of projected horse numbers at Facility in support of
  9/22/2021 CCKA   Center       C. Hudak      developing claims.                                                               1.3    $580.00              $0.00          $754.00               1.3
                   Murieta
                   Equestrian                 Draft settlement conference statement facts, legal background, outline
  9/22/2021 CCKA   Center       C. Hudak      strength of claims.                                                              0.9    $580.00              $0.00          $522.00               0.9



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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                 Further drafting of settlement conference statement - legal claims
  9/22/2021 CCKA   Center       C. Hudak      sections, edits to Concentrated Animal Feeding Operation section.                1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Further analysis of DOC000001, in support of developing projected
  9/22/2021 CCKA   Center       C. Hudak      horse numbers at facility.                                                       1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Draft settlement conference statement - strength of Clean Water Act
  9/22/2021 CCKA   Center       C. Hudak      claims argument.                                                                 1.1    $580.00            $638.00            $0.00                0
                   Murieta
                   Equestrian                 Further drafting of settlement conference statement Concentrated
  9/23/2021 CCKA   Center       C. Hudak      Animal Feeding Operation section and general edits.                              1.2    $580.00            $696.00            $0.00                0
                   Murieta
                   Equestrian                 Further analysis of projected horse numbers in DOC00001 in support
  9/28/2021 CCKA   Center       C. Hudak      of developing Clean Water Act claims.                                            0.8    $580.00              $0.00          $464.00               0.8
                   Murieta
                   Equestrian                 Further analysis of insurance related documents received in discovery;
  9/28/2021 CCKA   Center       C. Hudak      draft Requests for Production 2.                                                 1.0    $580.00            $580.00            $0.00                0
                   Murieta
                   Equestrian                 Revise settlement conference statement.
  9/28/2021 CCKA   Center       C. Hudak                                                                                       1.0    $580.00            $580.00            $0.00                0
                   Murieta
                   Equestrian                 Download and begin review of documents.
  10/5/2021 CCKA   Center       C. Hudak                                                                                       1.0    $580.00              $0.00          $580.00                1
                   Murieta
                   Equestrian                 Legal research regarding standing witness disclosure.
  10/6/2021 CCKA   Center       C. Hudak                                                                                       1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Further legal research re: standing witnesses.
  10/6/2021 CCKA   Center       C. Hudak                                                                                       1.5    $580.00            $870.00            $0.00                0
                   Murieta
                   Equestrian                 Strategize with J. Flanders re: review of supplemental document
  10/7/2021 CCKA   Center       C. Hudak      production by Defendant's and review documents.                                  0.4    $580.00              $0.00          $232.00               0.4
                   Murieta
                   Equestrian                 Analysis of supplemental document production in support of
 10/12/2021 CCKA   Center       C. Hudak      determining whether it was sufficient.                                           1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Further analysis of supplemental production of documents.
 10/13/2021 CCKA   Center       C. Hudak                                                                                       1.5    $580.00              $0.00          $870.00               1.5
                   Murieta
                   Equestrian                 Further analysis of deficiencies in supplemental Requests for
 10/13/2021 CCKA   Center       C. Hudak      Production .                                                                     1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Further analysis of supplemental production in support of developing
 10/13/2021 CCKA   Center       C. Hudak      claims.                                                                          1.0    $580.00            $580.00            $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                 Transfer production to online review software.
 10/14/2021 CCKA   Center       C. Hudak                                                                                        0.7    $218.00              $0.00          $152.60               0.7
                   Murieta
                   Equestrian                 Further analysis of supplemental production in support of developing
 10/14/2021 CCKA   Center       C. Hudak      claims.                                                                           0.4    $580.00              $0.00          $232.00               0.4
                   Murieta
                   Equestrian                 Further analysis of supplemental production.
 10/19/2021 CCKA   Center       C. Hudak                                                                                        1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Analyze supplemental production in support of developing Clean Water
 10/19/2021 CCKA   Center       C. Hudak      Act claims.                                                                       1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Further analysis of supplemental production documents.
 10/19/2021 CCKA   Center       C. Hudak                                                                                        1.4    $580.00            $812.00            $0.00                0
                   Murieta
                   Equestrian                 Further analysis of supplemental Requests for Production documents
 10/20/2021 CCKA   Center       C. Hudak      in support of developing Clean Water Act claims.                                  1.0    $580.00              $0.00          $580.00                1
                   Murieta
                   Equestrian                 Analyze supplemental production in support of developing Clean Water
 10/21/2021 CCKA   Center       C. Hudak      Act claims.                                                                       1.0    $580.00              $0.00          $580.00                1
                   Murieta
                   Equestrian                 Draft objections to deposition notice by Defendants.
 10/21/2021 CCKA   Center       C. Hudak                                                                                        1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Further analysis of supplemental documents produced by Defendants
 10/21/2021 CCKA   Center       C. Hudak      in support of developing Clean Water Act claims.                                  1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Further analysis of document production; email to J. Flanders re: same.
 10/25/2021 CCKA   Center       C. Hudak                                                                                        0.5    $580.00            $290.00            $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders to strategize re: meet and confer, review of
 10/25/2021 CCKA   Center       C. Hudak      supplemental documents, and possible Motion to Compel.                            0.4    $580.00            $232.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 14036 - 14696 in support of developing Clean
 10/28/2021 CCKA   Center       C. Hudak      Water Act claims.                                                                 1.9    $580.00           $1,102.00           $0.00                0

                   Murieta                    Analyze SUPDDOC13680 to 14035 in support of developing Clean
                   Equestrian                 Water Act claims; research on Murieta Gardens marketplace and
 10/28/2021 CCKA   Center     C. Hudak        associated developments in support of document review.                            1.6    $580.00            $928.00            $0.00                0

                   Murieta                    Review and respond to email from Clients re: document review;
                   Equestrian                 research on relevancy of subtypes of documents produced to aid
 10/28/2021 CCKA   Center     C. Hudak        detailed review.                                                                  1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Analyze documents 14697- 15274 in support of developing Clean
 10/29/2021 CCKA   Center     C. Hudak        Water Act claims.                                                                 0.9    $580.00            $522.00            $0.00                0



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                                                                                                                                                                      Judgment Fee     Judgment
                                                                                                                                                                      Reduction        Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                 Analyze SUPDOC 15275 - 15302 in support of developing Clean Water
 10/29/2021 CCKA   Center     C. Hudak        Act claims.                                                                        0.2    $580.00            $116.00            $0.00                 0

                   Murieta                    Review documents 15303-16408; strategize with J. Flanders re: same;
                   Equestrian                 select documents pertaining to Best Management Practices for expert.
  11/2/2021 CCKA   Center       C. Hudak                                                                                         1.6    $580.00            $928.00            $0.00                 0
                   Murieta
                   Equestrian                 Further selection of documents relating to Best Management Practices
  11/2/2021 CCKA   Center       C. Hudak      for expert.                                                                        1.3    $580.00            $754.00            $0.00                 0
                   Murieta
                   Equestrian                 Analyze documents ___ to 18766 in support of developing Clean Water
  11/3/2021 CCKA   Center       C. Hudak      Act claims.                                                                        2.0    $580.00              $0.00         $1,160.00                2
                   Murieta
                   Equestrian                 Sort documents for expert review.
  11/3/2021 CCKA   Center       C. Hudak                                                                                         2.3    $580.00           $1,334.00           $0.00                 0
                   Murieta
                   Equestrian                 Review 18767 - 19166 in support of developing Clean Water Act
  11/3/2021 CCKA   Center       C. Hudak      claims.                                                                            0.7    $580.00            $406.00            $0.00                 0
                   Murieta
                   Equestrian                 Call with Carson Capps re: meet and confer; analyze documents in
  11/4/2021 CCKA   Center       C. Hudak      support of same.                                                                   0.5    $580.00              $0.00          $290.00                0.5
                   Murieta
                   Equestrian                 Analyze documents 19167 - 20783 in support of developing Clean
  11/4/2021 CCKA   Center       C. Hudak      Water Act claims.                                                                  1.8    $580.00           $1,044.00           $0.00                 0
                   Murieta
                   Equestrian                 Analyze documents 20784 - 26372 in support of developing Clean
  11/4/2021 CCKA   Center       C. Hudak      Water Act claims.                                                                  1.7    $580.00            $986.00            $0.00                 0
                   Murieta
                   Equestrian                 Analyze documents 26373-31216 in support of developing Clean Water
  11/4/2021 CCKA   Center       C. Hudak      Act claims.                                                                        0.7    $580.00            $406.00            $0.00                 0
                   Murieta
                   Equestrian                 Further analysis of response to Requests for Production 2 to asses
  11/9/2021 CCKA   Center       C. Hudak      compliance with request; draft meet and confer re: same.                           1.8    $580.00              $0.00         $1,044.00               1.8
                   Murieta
                   Equestrian                 Analyze documents 48752-50385 to assess compliance with Requests
  11/9/2021 CCKA   Center       C. Hudak      for Production 2.                                                                  1.7    $580.00            $986.00            $0.00                 0
                   Murieta
                   Equestrian                 Further drafting of meet and confer letter re: responses to Requests for
  11/9/2021 CCKA   Center       C. Hudak      Production Set 2, and send to J. Flanders.                                         1.3    $580.00            $754.00            $0.00                 0

                   Murieta                    Locate and send pertinent documents/analysis of Murieta Equestrian
                   Equestrian                 Center's status as Concentrated Animal Feeding Operation to T. Brett.
 11/10/2021 CCKA   Center     C. Hudak                                                                                           0.5    $580.00            $290.00            $0.00                 0




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                                                                                                                                                                       Judgment Fee     Judgment
                                                                                                                                                                       Reduction        Time
                                                                                                                                                                                        Reduction


                   Murieta                    Review email from opposing counsel and subsequent email from co-
                   Equestrian                 counsel re: discovery production; legal research re: Clean Water Act in
 11/30/2021 CCKA   Center       C. Hudak      support of settlement conference.                                                   2.1    $580.00              $0.00         $1,218.00               2.1
                   Murieta
                   Equestrian                 Strategize with TB re: question on discovery responses by defendants.
 12/21/2021 CCKA   Center       C. Hudak                                                                                          0.1    $580.00              $0.00           $58.00                0.1
                   Murieta
                   Equestrian                 Assess DOC000001 production date and email to TB re: same
  1/18/2022 CCKA   Center       C. Hudak                                                                                          0.4    $580.00              $0.00          $232.00                0.4
                   Murieta
                   Equestrian                 Assess DOC000001 production date and email to TB re: same
  1/18/2022 CCKA   Center       C. Hudak                                                                                          0.4    $580.00            $232.00            $0.00                 0
                   Murieta
                   Equestrian
   2/3/2022 CCKA   Center       C. Hudak      Call with J. Flanders re: subpoenas to U.S. Army Corps of Engineers an              0.3    $580.00            $174.00            $0.00                 0
                   Murieta
                   Equestrian
   2/4/2022 CCKA   Center       C. Hudak      Further drafting of ACOE subpoena documents                                         1.8    $580.00              $0.00         $1,044.00               1.8
                   Murieta
                   Equestrian                 Draft subpoena to ACOE
   2/4/2022 CCKA   Center       C. Hudak                                                                                          1.9    $580.00           $1,102.00           $0.00                 0
                   Murieta
                   Equestrian                 Edits to U.S. Army Corps of Engineers subpoena documents
   2/4/2022 CCKA   Center       C. Hudak                                                                                          1.5    $580.00            $870.00            $0.00                 0

                   Murieta                    Update U.S. Army Corps of Engineers subpoena per J. Flanders
                   Equestrian                 request.
   2/8/2022 CCKA   Center       C. Hudak                                                                                          1.8    $580.00           $1,044.00           $0.00                 0
                   Murieta
                   Equestrian                 Draft Subpoena to Regional Water Board
   2/8/2022 CCKA   Center       C. Hudak                                                                                          1.5    $580.00            $870.00            $0.00                 0
                   Murieta
                   Equestrian                 Further revisions to U.S. Army Corps of Engineers subpoena per J.
   2/8/2022 CCKA   Center       C. Hudak      Flanders request.                                                                   0.9    $580.00            $522.00            $0.00                 0
                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center       C. Hudak      Draft subpoena to DFW                                                               0.6    $580.00            $348.00            $0.00                 0
                   Murieta
                   Equestrian                 Call with J. Flanders re: 303(d) listing, email to client re: same
   2/9/2022 CCKA   Center       C. Hudak                                                                                          0.1    $580.00             $58.00            $0.00                 0

                                              Strategize with J. Flanders re: water board subpoena re: information on
                   Murieta                    bacteria listing for Cosumnes river; online search of relevant materials;
                   Equestrian                 revise subpoena materials
   2/9/2022 CCKA   Center     C. Hudak                                                                                            2.5    $580.00           $1,450.00           $0.00                 0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                 Strategize with J. Flanders re: next steps
  4/14/2022 CCKA   Center     C. Hudak                                                                                           0.1    $580.00             $0.00          $58.00               0.1

                   Murieta                    Research on water testing laboratories in support of testing at Facility
                   Equestrian
  4/20/2022 CCKA   Center     C. Hudak                                                                                           1.3    $580.00             $0.00         $754.00               1.3
                   Murieta
                   Equestrian                 Strategize with J. Flanders re: lab sampling
  4/20/2022 CCKA   Center     C. Hudak                                                                                           0.1    $580.00             $0.00          $58.00               0.1

                   Murieta                    Strategize with E. Bustos re: document management (.4); call with
                   Equestrian                 Everlaw re: same (.7)
  4/21/2022 CCKA   Center       C. Hudak                                                                                         1.1    $580.00             $0.00         $638.00               1.1
                   Murieta
                   Equestrian                 Further calls re: Everlaw document management; analysis of
  4/21/2022 CCKA   Center       C. Hudak      documents re: same                                                                 0.7    $580.00             $0.00         $406.00               0.7
                   Murieta
                   Equestrian                 Call from lab re: speed of turnaround time
  4/21/2022 CCKA   Center       C. Hudak                                                                                         0.1    $580.00             $0.00          $58.00               0.1
                   Murieta
                   Equestrian                 Strategize with J. Flanders re: Def's discovery productions
  4/23/2022 CCKA   Center       C. Hudak                                                                                         0.2    $580.00           $116.00           $0.00                0
                   Murieta
                   Equestrian                 Strategize with J. Flanders re: next steps
  4/27/2022 CCKA   Center       C. Hudak                                                                                         0.1    $580.00            $58.00           $0.00                0

                   Murieta                    Assess discovery production compliance and centralize document
                   Equestrian                 productions
  4/28/2022 CCKA   Center     C. Hudak                                                                                           1.0    $580.00           $580.00           $0.00                0
                   Murieta
                   Equestrian                 Call with E. Bustos re: document production management
   5/4/2022 CCKA   Center     C. Hudak                                                                                           0.2    $580.00             $0.00         $116.00               0.2
                   Murieta
                   Equestrian                 Strategize with J. Flanders re: discovery responses
  5/12/2022 CCKA   Center     C. Hudak                                                                                           0.1    $580.00             $0.00          $58.00               0.1

                   Murieta                    Review/analyze Defendant's interrogatories; prepare of shell of
                   Equestrian                 response
  5/16/2022 CCKA   Center     C. Hudak                                                                                           0.9    $580.00             $0.00         $522.00               0.9

                                              Review Defendant's Requests for Production 2 request; strategize with
                   Murieta                    J. Flanders re: same; draft shell of response; outline responses
                   Equestrian
  5/16/2022 CCKA   Center     C. Hudak                                                                                           1.5    $580.00           $870.00           $0.00                0




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                                                                                                                                                                    Judgment Fee     Judgment
                                                                                                                                                                    Reduction        Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                 Further development of responses to Requests for Production requests
  5/17/2022 CCKA   Center     C. Hudak                                                                                         0.2    $580.00              $0.00          $116.00                0.2
                   Murieta
                   Equestrian                 Assess completeness of document productions to date
  5/17/2022 CCKA   Center     C. Hudak                                                                                         1.9    $580.00           $1,102.00           $0.00                 0

                   Murieta                    Further assessment of completeness of document productions to date
                   Equestrian
  5/17/2022 CCKA   Center     C. Hudak                                                                                         1.1    $580.00            $638.00            $0.00                 0
                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     C. Hudak        Strategize with E. Bustos re: Murieta Equestrian Center document produ           1.9    $580.00              $0.00         $1,102.00               1.9

                   Murieta                    Assess document productions to date for completeness; organize and
                   Equestrian                 centralize; strategize with E. Bustos in support of same
  5/18/2022 CCKA   Center     C. Hudak                                                                                         1.8    $580.00              $0.00         $1,044.00               1.8

                   Murieta                    Analyze document requests including overlaps to set 1 in support of
                   Equestrian                 developing responses
  5/18/2022 CCKA   Center     C. Hudak                                                                                         1.3    $580.00            $754.00            $0.00                 0

                   Murieta                    Further analysis of Requests for Production to Plaintiff in support of
                   Equestrian                 developing responses
  5/18/2022 CCKA   Center     C. Hudak                                                                                         0.5    $580.00            $290.00            $0.00                 0

                   Murieta                    Strategize with J. Flanders and D. Hunt re: Requests for Production 2
                   Equestrian                 response
  5/19/2022 CCKA   Center     C. Hudak                                                                                         1.3    $580.00            $754.00            $0.00                 0

                   Murieta                    Draft RFPD 2 responses (1.6); strategize with J. Flanders re: same
                   Equestrian                 (.2); strategize with TB re: documents re: same (.1)
  5/24/2022 CCKA   Center       C. Hudak                                                                                       1.9    $580.00           $1,102.00           $0.00                 0
                   Murieta
                   Equestrian                 Draft interrogatory 1 to Plaintiff responses
  5/24/2022 CCKA   Center       C. Hudak                                                                                       1.8    $580.00           $1,044.00           $0.00                 0
                   Murieta
                   Equestrian                 Draft response to Requests for Production 2 requests
  5/24/2022 CCKA   Center       C. Hudak                                                                                       1.7    $580.00            $986.00            $0.00                 0
                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center       C. Hudak      Further drafting of Plaintiff's Requests for Production 2 responses              1.3    $580.00            $754.00            $0.00                 0
                   Murieta
                   Equestrian                 Further drafting of Requests for Production response
  5/25/2022 CCKA   Center       C. Hudak                                                                                       1.5    $580.00              $0.00          $870.00                1.5




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                 Draft interrogatory 1 responses
  5/25/2022 CCKA   Center       C. Hudak                                                                                         0.8    $580.00              $0.00          $464.00               0.8
                   Murieta
                   Equestrian                 Further drafting of Requests for Production 2 responses
  5/25/2022 CCKA   Center       C. Hudak                                                                                         1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Draft Requests for Production 2 responses
  5/25/2022 CCKA   Center       C. Hudak                                                                                         1.7    $580.00            $986.00            $0.00                0
                   Murieta
                   Equestrian                 Further drafting of Requests for Production 2 response
  5/26/2022 CCKA   Center       C. Hudak                                                                                         1.3    $580.00              $0.00          $754.00               1.3
                   Murieta
                   Equestrian                 Draft Requests for Production 2 responses
  5/26/2022 CCKA   Center       C. Hudak                                                                                         1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Additional drafting of Requests for Production 2 responses
  5/26/2022 CCKA   Center       C. Hudak                                                                                         1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Further drafting of Requests for Production response
  5/26/2022 CCKA   Center       C. Hudak                                                                                         1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Draft interrogatory responses
  5/26/2022 CCKA   Center       C. Hudak                                                                                         1.4    $580.00            $812.00            $0.00                0
                   Murieta
                   Equestrian                 Edits to Requests for Production 2 responses
  5/31/2022 CCKA   Center       C. Hudak                                                                                         1.2    $580.00              $0.00          $696.00               1.2

                   Murieta                    Additional drafting and edits of responses to Requests for Production 2.
                   Equestrian
  5/31/2022 CCKA   Center     C. Hudak                                                                                           1.5    $580.00            $870.00            $0.00                0

                   Murieta                    Strategize with J. Flanders re: interrogatory responses (.1); draft
                   Equestrian                 interrogatory responses (.9)
  5/31/2022 CCKA   Center       C. Hudak                                                                                         1.0    $580.00            $580.00            $0.00                0
                   Murieta
                   Equestrian                 Edits to interrogatory responses
  5/31/2022 CCKA   Center       C. Hudak                                                                                         0.9    $580.00            $522.00            $0.00                0
                   Murieta
                   Equestrian                 Draft interrogatory responses
  5/31/2022 CCKA   Center       C. Hudak                                                                                         0.9    $580.00            $522.00            $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders re: document production
   6/1/2022 CCKA   Center       C. Hudak                                                                                         0.1    $580.00              $0.00           $58.00               0.1
                   Murieta
                   Equestrian                 Additional drafting of interrogatory responses
   6/1/2022 CCKA   Center       C. Hudak                                                                                         1.2    $580.00              $0.00          $696.00               1.2



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                                                                                                                                                                   Judgment Fee     Judgment
                                                                                                                                                                   Reduction        Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian               Further drafting of interrogatory responses
   6/1/2022 CCKA   Center     C. Hudak                                                                                        1.9    $580.00           $1,102.00           $0.00                 0
                   Murieta
                   Equestrian               Legal research in support of interrogatory responses; edits to draft
   6/1/2022 CCKA   Center     C. Hudak                                                                                        1.8    $580.00           $1,044.00           $0.00                 0

                   Murieta                  Further document centralization and organization in support of review
                   Equestrian               and production [Overtime per J. Flanders]
   6/2/2022 CCKA   Center     C. Hudak                                                                                        1.2    $580.00              $0.00          $696.00                1.2

                                            Additional document centralization and organization in support of
                   Murieta                  review and production; strategize with D. Hunt re: same
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                        1.9    $218.00            $414.20            $0.00                 0

                   Murieta                  Further document centralization and organization in support of review
                   Equestrian               and production [OT per J. Flanders]
   6/2/2022 CCKA   Center     C. Hudak                                                                                        1.8    $218.00            $392.40            $0.00                 0
                   Murieta
                   Equestrian               Revise interrogatory responses per J. Flanders edits
   6/2/2022 CCKA   Center     C. Hudak                                                                                        1.8    $218.00            $392.40            $0.00                 0

                   Murieta                  Further document centralization and organization in support of review
                   Equestrian               and production
   6/2/2022 CCKA   Center     C. Hudak                                                                                        1.7    $218.00            $370.60            $0.00                 0

                   Murieta                  Document centralization and organization in support of review and
                   Equestrian               production.
   6/2/2022 CCKA   Center     C. Hudak                                                                                        1.4    $218.00            $305.20            $0.00                 0

                   Murieta                  Further additions to draft interrogatory response per J. Flanders edits
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                        1.2    $218.00            $261.60            $0.00                 0

                   Murieta                  Additional document centralization and organization in support of
                   Equestrian               review and production [OT per J. Flanders]
   6/2/2022 CCKA   Center     C. Hudak                                                                                        0.8    $218.00            $174.40            $0.00                 0

                                            Strategize with D. Hunt/TB/CC re: documents in support of 30 b 6
                                            depo; call Everlaw to address uploading documents to California
                   Murieta                  Coastkeeper Alliance account; emails to group re: RFPD production;
                   Equestrian               further uploads of documents on ATA server
   6/3/2022 CCKA   Center     C. Hudak                                                                                        1.9    $580.00              $0.00         $1,102.00               1.9




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                                                                                                                                                                Judgment Fee    Judgment
                                                                                                                                                                Reduction       Time
                                                                                                                                                                                Reduction


                   Murieta                  Additional assessment of documents productions and file management
                   Equestrian               in support of document review and production
   6/3/2022 CCKA   Center     C. Hudak                                                                                       1.9    $218.00           $414.20           $0.00               0
                   Murieta
                   Equestrian               Further assessment of documents productions and file management in
   6/3/2022 CCKA   Center     C. Hudak      support of document review and production                                        1.8    $218.00           $392.40           $0.00               0

                                            Assess document productions and organize files in support of
                   Murieta                  document review and production; strategize with D. Hunt and J.
                   Equestrian               Flanders re: same
   6/3/2022 CCKA   Center     C. Hudak                                                                                       1.2    $218.00           $261.60           $0.00               0

                   Murieta                  Finalize file management in support of document review and
                   Equestrian               production; email to co-counsel re: same.
   6/3/2022 CCKA   Center     C. Hudak                                                                                       1.1    $218.00           $239.80           $0.00               0

                                            Strategize with J. Flanders re: documents to be used for Motion for
                   Murieta                  Summary Judgment; strategize with E. Bustos and D. Hunt re: meeting
                   Equestrian               on same; review status of documents in support of same
  7/19/2022 CCKA   Center     C. Hudak                                                                                       0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian               Further indexing of file in support of Motion for Summary Judgment
  7/20/2022 CCKA   Center     C. Hudak                                                                                       1.9    $218.00           $414.20           $0.00               0

                                            Call Everlaw re: sharing files between ATA and California Coastkeeper
                   Murieta                  Alliance; further indexing of documents in support of Motion for
                   Equestrian               Summary Judgment
  7/20/2022 CCKA   Center     C. Hudak                                                                                       1.6    $218.00           $348.80           $0.00               0

                                            Strategize with J. Flanders, C. Capps, E. Bustos, D. Hunt re:
                   Murieta                  documents for Motion for Summary Judgment (.5); index documents in
                   Equestrian               support of same (.3); strategize with E. Bustos re: indexing documents
  7/20/2022 CCKA   Center     C. Hudak      (.7)                                                                             1.5    $218.00           $327.00           $0.00               0
                   Murieta
                   Equestrian               Further indexing of documents in support of Motion for Summary
  7/20/2022 CCKA   Center     C. Hudak      Judgment                                                                         0.9    $218.00           $196.20           $0.00               0

                   Murieta                  Additional indexing of documents in support of Motion for Summary
                   Equestrian               Judgment
  7/21/2022 CCKA   Center     C. Hudak                                                                                       2.2    $218.00           $479.60           $0.00               0

                   Murieta                  Further indexing of documents in support of Motion for Summary
                   Equestrian               Judgment
  7/21/2022 CCKA   Center     C. Hudak                                                                                       2.1    $218.00           $457.80           $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                 Further indexing of documents in support of Motion for Summary
  7/21/2022 CCKA   Center     C. Hudak        Judgment                                                                            1.9    $218.00           $414.20           $0.00               0

                   Murieta                    Edits to index of complete file in support of Motion for Summary
                   Equestrian                 Judgment
  7/21/2022 CCKA   Center       C. Hudak                                                                                          1.4    $218.00           $305.20           $0.00               0
                   Murieta
                   Equestrian                 Teleconference with E. Bustos re: discovery spreadsheet.
  7/22/2022 CCKA   Center       C. Hudak                                                                                          0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                 Follow up teleconference with C. Hudak re: defendant document
  7/22/2022 CCKA   Center       C. Hudak      productions.                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                 Edits to index of file, in support of Motion for Summary Judgment
  7/26/2022 CCKA   Center       C. Hudak                                                                                          0.2    $218.00            $43.60           $0.00               0

                   Murieta                    Strategize with E. Bustos re: document index of file in support of Motion
                   Equestrian                 for Summary Judgment
  7/27/2022 CCKA   Center     C. Hudak                                                                                            0.4    $218.00            $87.20           $0.00               0

                   Murieta                    Strategize with J. Flanders re: index of file in support of Motion for
                   Equestrian                 Summary Judgment.
  7/27/2022 CCKA   Center     C. Hudak                                                                                            0.3    $218.00            $65.40           $0.00               0

                   Murieta                    Strategize with J. Flanders re: spreadsheet of documents in file to date
                   Equestrian                 in support of Motion for Summary Judgment; update same
  8/10/2022 CCKA   Center     C. Hudak                                                                                            0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian                 Further analysis of document productions
  8/23/2022 CCKA   Center     C. Hudak                                                                                            1.8    $218.00           $392.40           $0.00               0

                                              Analyze master document tracking spreadsheet in support of call with
                   Murieta                    J. Flanders to discuss (.8); strategize with J. Flanders re: same (.8)
                   Equestrian
  8/23/2022 CCKA   Center     C. Hudak                                                                                            1.6    $580.00           $928.00           $0.00               0
                   Murieta
                   Equestrian                 Additional assessment of completeness of documents in file to date
  8/23/2022 CCKA   Center     C. Hudak                                                                                            0.8    $580.00           $464.00           $0.00               0

                   Murieta                    Further refinement of master spreadsheet of all documents produced
                   Equestrian
  8/24/2022 CCKA   Center     C. Hudak                                                                                            1.2    $218.00           $261.60           $0.00               0

                   Murieta                    Further analysis of Defendant's confusing document productions in
                   Equestrian                 support of Motion for Summary Judgment
  8/24/2022 CCKA   Center     C. Hudak                                                                                            0.7    $580.00           $406.00           $0.00               0



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                                                                                                                                                                  Judgment Fee     Judgment
                                                                                                                                                                  Reduction        Time
                                                                                                                                                                                   Reduction


                   Murieta                  Further analysis of file documents/edits to master sheet in support of
                   Equestrian               Motion for Summary Judgment
  8/25/2022 CCKA   Center     C. Hudak                                                                                       1.8    $218.00            $392.40            $0.00                 0
                   Murieta
                   Equestrian               Further resolution of Ds document productions on master sheet
  8/26/2022 CCKA   Center     C. Hudak                                                                                       0.6    $218.00            $130.80            $0.00                 0

                                            Further analysis of produced documents for master tracking
                                            spreadsheet, in support of Motion for Summary Judgment; strategize
                   Murieta                  with co-counsel re: document review in support of Motion for Summary
                   Equestrian               Judgment
  8/31/2022 CCKA   Center     C. Hudak                                                                                       1.8    $218.00            $392.40            $0.00                 0

                   Murieta                  Everlaw storybuilder tutorial in support of preparing Motion for
                   Equestrian               Summary Judgment
  8/31/2022 CCKA   Center     C. Hudak                                                                                       0.8    $218.00            $174.40            $0.00                 0

                   Murieta                  Review draft SUF; emails re: review assignments; review updated tag
                   Equestrian               tree; begin document review
   9/6/2022 CCKA   Center     C. Hudak                                                                                       0.6    $580.00            $348.00            $0.00                 0

                   Murieta                  Further document review in support of Motion for Summary Judgment
                   Equestrian
   9/7/2022 CCKA   Center     C. Hudak                                                                                       1.3    $580.00              $0.00          $754.00                1.3

                   Murieta                  Additional document review in support of Motion for Summary
                   Equestrian               Judgment
   9/7/2022 CCKA   Center     C. Hudak                                                                                       0.7    $580.00              $0.00          $406.00                0.7
                   Murieta
                   Equestrian               Document review in support of Motion for Summary Judgment
   9/7/2022 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00           $0.00                 0
                   Murieta
                   Equestrian               Document review in support of Motion for Summary Judgment
   9/7/2022 CCKA   Center     C. Hudak                                                                                       1.5    $580.00            $870.00            $0.00                 0

                   Murieta                  Resolve Everlaw document review issue in support of document review
                   Equestrian               for Motion for Summary Judgment
   9/7/2022 CCKA   Center     C. Hudak                                                                                       1.4    $218.00            $305.20            $0.00                 0
                   Murieta
                   Equestrian               Doc review in support of Motion for Summary Judgment
   9/8/2022 CCKA   Center     C. Hudak                                                                                       1.9    $580.00              $0.00         $1,102.00               1.9

                   Murieta                  Additional document review in support of Motion for Summary
                   Equestrian               Judgment
   9/8/2022 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00           $0.00                 0




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                                                                                                                                                                   Judgment Fee     Judgment
                                                                                                                                                                   Reduction        Time
                                                                                                                                                                                    Reduction


                   Murieta                    Further document review in support of Motion for Summary Judgment
                   Equestrian
   9/8/2022 CCKA   Center     C. Hudak                                                                                        1.8    $580.00           $1,044.00           $0.00                 0

                   Murieta                    Continued document review in support of Motion for Summary
                   Equestrian                 Judgment
   9/8/2022 CCKA   Center     C. Hudak                                                                                        1.7    $580.00            $986.00            $0.00                 0

                   Murieta                    Further document review in support of Motion for Summary Judgment
                   Equestrian
   9/9/2022 CCKA   Center     C. Hudak                                                                                        1.6    $580.00            $928.00            $0.00                 0
                   Murieta
                   Equestrian                 Review documents in support of Motion for Summary Judgment
  9/13/2022 CCKA   Center     C. Hudak                                                                                        1.5    $580.00              $0.00          $870.00                1.5

                   Murieta                    Continued document review in support of Motion for Summary
                   Equestrian                 Judgment
  9/13/2022 CCKA   Center     C. Hudak                                                                                        0.5    $580.00              $0.00          $290.00                0.5

                   Murieta                    Further document review in support of Motion for Summary Judgment
                   Equestrian
  9/13/2022 CCKA   Center     C. Hudak                                                                                        1.9    $580.00           $1,102.00           $0.00                 0

                   Murieta                    Additional document review in support of Motion for Summary
                   Equestrian                 Judgment
  9/13/2022 CCKA   Center     C. Hudak                                                                                        1.7    $580.00            $986.00            $0.00                 0

                   Murieta                    Review email from D. Hunt re: applicability of case interpreting Maui
                   Equestrian                 factors in support of developing claims against Murieta Equestrian
  9/14/2022 CCKA   Center       C. Hudak      Center                                                                          0.2    $580.00            $116.00            $0.00                 0
                   Murieta
                   Equestrian                 Further document review in support of SUF
  9/20/2022 CCKA   Center       C. Hudak                                                                                      1.4    $580.00            $812.00            $0.00                 0
                   Murieta
                   Equestrian                 Doc review in support of SUF draft.
  9/20/2022 CCKA   Center       C. Hudak                                                                                      0.3    $580.00            $174.00            $0.00                 0
                   Murieta
                   Equestrian                 Review emails re: document review
  9/21/2022 CCKA   Center       C. Hudak                                                                                      0.1    $580.00             $58.00            $0.00                 0
                   Murieta
                   Equestrian                 Further analysis of documents to add to SUF
  9/22/2022 CCKA   Center       C. Hudak                                                                                      1.8    $580.00              $0.00         $1,044.00               1.8
                   Murieta
                   Equestrian                 Analyze documents for inclusion in SUF
  9/22/2022 CCKA   Center       C. Hudak                                                                                      1.9    $580.00           $1,102.00           $0.00                 0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                    Strategize with E. Bustos re: document management (.2); analysis of
                   Equestrian                 documents in support of inclusion into SUF(.3)
  9/22/2022 CCKA   Center       C. Hudak                                                                                         0.5    $580.00            $290.00            $0.00                0
                   Murieta
                   Equestrian
  10/4/2022 CCKA   Center       C. Hudak      Everlaw account document synchronization between ATA and California                1.0    $218.00            $218.00            $0.00                0
                   Murieta
                   Equestrian
  10/5/2022 CCKA   Center       C. Hudak                                                                                         0.4    $580.00              $0.00          $232.00               0.4
                   Murieta
                   Equestrian                 Doc management of files on Everlaw
  10/5/2022 CCKA   Center       C. Hudak                                                                                         0.5    $218.00            $109.00            $0.00                0
                   Murieta
                   Equestrian                 Strategize with J. Flanders re: document backup.
 10/18/2022 CCKA   Center       C. Hudak                                                                                         0.1    $218.00             $21.80            $0.00                0

                   Murieta                    Procure backup external hard drive; back up all case Everlaw files; mail
                   Equestrian                 to office
 10/19/2022 CCKA   Center     C. Hudak                                                                                           2.5    $218.00            $545.00            $0.00                0
                   Murieta
                   Equestrian                 Delete documents from Everlaw after backing them up
 10/20/2022 CCKA   Center     C. Hudak                                                                                           0.2    $218.00             $43.60            $0.00                0
                   Murieta
                   Equestrian                 Mailing of back up drive of documents to office
 10/21/2022 CCKA   Center     C. Hudak                                                                                           0.5    $218.00            $109.00            $0.00                0

                   Murieta                    Strategize with J. Flanders re: document management; call Everlaw re:
                   Equestrian                 same
  11/3/2022 CCKA   Center     C. Hudak                                                                                           0.3    $218.00             $65.40            $0.00                0

                   Murieta                    Strategize with co-counsel/EM re: documents management on Everlaw
                   Equestrian
 11/15/2022 CCKA   Center     C. Hudak                                                                                           0.6    $218.00              $0.00          $130.80               0.6
                   Murieta
                   Equestrian
  12/5/2022 CCKA   Center     C. Hudak        Legal research regarding authentication of exhibits in support of Motion           1.9    $580.00           $1,102.00           $0.00                0

                   Murieta                    Strategize with J. Flanders/TB: re: Motion for Summary Judgment SUF;
                   Equestrian                 organize deposition highlight for inclusion in SUF
  12/6/2022 CCKA   Center     C. Hudak                                                                                           2.0    $218.00            $218.00          $218.00                1
                   Murieta
                   Equestrian                 Organize photos for inclusion as exhibits to Motion for Summary
  12/6/2022 CCKA   Center     C. Hudak        Judgment                                                                           1.8    $218.00            $392.40            $0.00                0
                   Murieta
                   Equestrian                 Further organization of deposition highlights for inclusion in SUF
  12/6/2022 CCKA   Center     C. Hudak                                                                                           1.8    $218.00            $392.40            $0.00                0



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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                    Legal research re: authentication of Motion for Summary Judgment
                   Equestrian                 exhibits; draft decs in support of same
  12/6/2022 CCKA   Center     C. Hudak                                                                                          1.4    $580.00            $812.00            $0.00                0

                   Murieta                    Additional development of Motion for Summary Judgment exhibit re:
                   Equestrian                 photos
  12/6/2022 CCKA   Center       C. Hudak                                                                                        0.4    $218.00             $87.20            $0.00                0
                   Murieta
                   Equestrian                 Call with T. Brett re: revisions to SUF
  12/9/2022 CCKA   Center       C. Hudak                                                                                        0.1    $580.00             $58.00            $0.00                0
                   Murieta
                   Equestrian
  8/31/2021 CCKA   Center       C. Hudak                                                                                        0.3    $580.00              $0.00          $174.00               0.3
                   Murieta
                   Equestrian                 Call with T. Brett re: adding sample data to SUF
  12/9/2022 CCKA   Center       C. Hudak                                                                                        0.1    $580.00             $58.00            $0.00                0
                   Murieta
                   Equestrian                 Call with T. Brett re: SUF revisions.
  12/9/2022 CCKA   Center       C. Hudak                                                                                        0.1    $580.00             $58.00            $0.00                0

                   Murieta                    Additional research for and drafting of SUF to Motion for Summary
                   Equestrian                 Judgment
  12/9/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00           $0.00                0

                                              Strategize with co-counsel re: Motion for Summary Judgment exhibits;
                   Murieta                    prepare exhibits of lab results/associated sections of SUF
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                          1.9    $218.00            $414.20            $0.00                0
                   Murieta
                   Equestrian                 Further development of SUF of Motion for Summary Judgment
  12/9/2022 CCKA   Center     C. Hudak                                                                                          1.7    $580.00            $986.00            $0.00                0

                   Murieta                    Continue to develop and draft SUF to Motion for Summary Judgment
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                          1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Develop photo exhibits to Motion for Summary Judgment
 12/12/2022 CCKA   Center     C. Hudak                                                                                          1.8    $218.00            $392.40            $0.00                0

                   Murieta                    Additional development of photo exhibits to Motion for Summary
                   Equestrian                 Judgment
 12/12/2022 CCKA   Center     C. Hudak                                                                                          1.5    $218.00            $327.00            $0.00                0

                   Murieta                    Develop sheet in support of SUF of all days evidence of water in
                   Equestrian                 unnamed stream
 12/12/2022 CCKA   Center     C. Hudak                                                                                          1.3    $580.00            $754.00            $0.00                0



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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                 Call with T. Brett re: SUF / Motion for Summary Judgment revisions
 12/13/2022 CCKA   Center     C. Hudak        and ID'ing photos taken by Wren.                                                 0.1    $580.00             $58.00            $0.00                0

                   Murieta                    Further development of SUF section of Motion for Summary Judgment
                   Equestrian                 re: evidence of all days with water in unnamed stream
 12/13/2022 CCKA   Center     C. Hudak                                                                                         2.0    $580.00           $1,160.00           $0.00                0
                   Murieta
                   Equestrian                 Further development of evidence of days water in unnamed stream
 12/13/2022 CCKA   Center     C. Hudak                                                                                         1.8    $580.00           $1,044.00           $0.00                0
                   Murieta
                   Equestrian                 Prepare exhibits to SUF
 12/13/2022 CCKA   Center     C. Hudak                                                                                         1.8    $218.00            $392.40            $0.00                0

                   Murieta                    Further preparation of SUF: all days with evidence of water in unnamed
                   Equestrian                 stream
 12/13/2022 CCKA   Center       C. Hudak                                                                                       1.6    $580.00            $928.00            $0.00                0
                   Murieta
                   Equestrian                 Prepare exhibits to Motion for Summary Judgment re: Rainfall
 12/13/2022 CCKA   Center       C. Hudak                                                                                       0.8    $218.00            $174.40            $0.00                0
                   Murieta
                   Equestrian
  9/23/2021 CCKA   Center       C. Hudak                                                                                       0.7    $580.00            $406.00            $0.00                0
                   Murieta
                   Equestrian                 Teleconference with E. Bustos re: exhibit list task.
 12/14/2022 CCKA   Center       C. Hudak                                                                                       0.1    $580.00              $0.00           $58.00               0.1
                   Murieta
                   Equestrian                 Teleconference with E. Bustos re: additional exhibit tasks.
 12/14/2022 CCKA   Center       C. Hudak                                                                                       0.1    $580.00              $0.00           $58.00               0.1
                   Murieta
                   Equestrian                 Further development of rainfall data for SUF; prepare exhibit list
 12/14/2022 CCKA   Center       C. Hudak                                                                                       2.2    $218.00            $479.60            $0.00                0
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       C. Hudak      Additional development of Motion for Summary Judgment exhibits re: wa            1.9    $580.00           $1,102.00           $0.00                0
                   Murieta
                   Equestrian                 Further preparation of exhibit list to Motion for Summary Judgment
 12/14/2022 CCKA   Center       C. Hudak                                                                                       1.9    $218.00            $414.20            $0.00                0

                   Murieta                    Additional development of exhibits in support of Motion for Summary
                   Equestrian                 Judgment
 12/14/2022 CCKA   Center     C. Hudak                                                                                         1.7    $218.00            $370.60            $0.00                0
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak        Additional development of exhibits to Motion for Summary Judgment; Re            1.7    $218.00            $370.60            $0.00                0




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                                                                                                                                                                            Judgment Fee     Judgment
                                                                                                                                                                            Reduction        Time
                                                                                                                                                                                             Reduction
                   Murieta
                   Equestrian                 Further development of exhibits to Motion for Summary Judgment
 12/14/2022 CCKA   Center       C. Hudak                                                                                               1.5    $218.00            $327.00            $0.00                0
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       C. Hudak      Further development of exhibits for Motion for Summary Judgment inclu                    0.7    $218.00            $152.60            $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       C. Hudak      Edits to figure citations in Wren Dec in support of Motion for Summary J                 2.4    $218.00            $523.20            $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       C. Hudak      Fix formatting/consistency of cites in Wren Dec to Motion for Summary                    2.2    $218.00            $479.60            $0.00                0

                   Murieta                    Development of Exhibit re: days water in Unnamed Stream in support
                   Equestrian                 of Motion for Summary Judgment
 12/15/2022 CCKA   Center     C. Hudak                                                                                                 2.0    $218.00            $436.00            $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak        Further development of exhibit re: water in unnamed stream in support o                  2.0    $218.00            $436.00            $0.00                0
                   Murieta
                   Equestrian                 Prepare Exhibit list to Motion for Summary Judgment
 12/15/2022 CCKA   Center     C. Hudak                                                                                                 1.9    $218.00            $414.20            $0.00                0

                   Murieta                    Further development of Exhibit List in support of Motion for Summary
                   Equestrian                 Judgment
 12/15/2022 CCKA   Center       C. Hudak                                                                                               1.7    $218.00            $370.60            $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       C. Hudak      Further edits to SUF citations for clarity and consistency in support of Mo              2.0    $580.00              $0.00         $1,160.00               2
                   Murieta
                   Equestrian                 Call with T. Brett re: next steps for revisions to SUF.
 12/16/2022 CCKA   Center       C. Hudak                                                                                               0.1    $218.00             $21.80            $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       C. Hudak      Further edit and supplement citations in SUF in support of Motion for Su                 2.2    $580.00           $1,276.00           $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       C. Hudak      Additional edits to SUF citations for clarity and consistency in support of              2.2    $580.00           $1,276.00           $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       C. Hudak      Edit and supplement citations in SUF in support of Motion for Summary                    2.1    $580.00           $1,218.00           $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       C. Hudak      Further edits/revisions to exhibit list titles in support of Motion for Summa            1.9    $218.00            $414.20            $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       C. Hudak      Additional edits/revisions to exhibit list titles in support of Motion for Sum           1.8    $218.00            $392.40            $0.00                0



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                                                                                                                                                                        Judgment Fee     Judgment
                                                                                                                                                                        Reduction        Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     C. Hudak        Research in support of evidentiary objections for Motion for Summary J               2.5    $580.00           $1,450.00           $0.00                 0
                   Murieta
                   Equestrian                 Call and text with T. Brett and J. Flanders re: authenticating Paulsen
   2/9/2023 CCKA   Center     C. Hudak        photos                                                                               0.2    $580.00            $116.00            $0.00                 0

                   Murieta                    Additional research on exhibits in support of Motion for Summary
                   Equestrian                 Judgment Reply
  2/10/2023 CCKA   Center     C. Hudak                                                                                             1.9    $580.00              $0.00         $1,102.00               1.9
                   Murieta
                   Equestrian                 Call with T. Brett re: authenticating certain photos cited in SUF
  2/10/2023 CCKA   Center     C. Hudak                                                                                             0.1    $580.00                              $58.00                0.1
                   Murieta
                   Equestrian                 Call with T. Brett re: authentication of photos
  2/10/2023 CCKA   Center     C. Hudak                                                                                             0.1    $580.00             $58.00            $0.00                 0

                   Murieta                    Research on exhibits in support of Motion for Summary Judgment
                   Equestrian                 Reply
  2/10/2023 CCKA   Center       C. Hudak                                                                                           1.8    $580.00           $1,044.00           $0.00                 0
                   Murieta
                   Equestrian                 Continued research on exhibits in support of Motion for Summary
  2/10/2023 CCKA   Center       C. Hudak      Judgment Reply                                                                       0.7    $580.00            $406.00            $0.00                 0
                   Murieta
                   Equestrian                 Prepare exhibits to Motion for Summary Judgment Reply
  2/14/2023 CCKA   Center       C. Hudak                                                                                           1.2    $218.00            $261.60            $0.00                 0
                   Murieta
                   Equestrian                 Strategize with TM re: Reply SUF; research in support of same.
  2/15/2023 CCKA   Center       C. Hudak                                                                                           0.6    $580.00              $0.00          $348.00                0.6
                   Murieta
                   Equestrian                 Research on photo exhibits in support of Reply SUF
  2/16/2023 CCKA   Center       C. Hudak                                                                                           1.7    $580.00              $0.00          $986.00                1.7
                   Murieta
                   Equestrian                 Call with T. Brett re: locating meta data to authenticate certain exhibits
  2/16/2023 CCKA   Center       C. Hudak      cited in SUF                                                                         0.1    $580.00             $58.00            $0.00                 0

                   Murieta                    Additional research re: exhibit photos in support of developing Reply
                   Equestrian                 SUF
  2/16/2023 CCKA   Center     C. Hudak                                                                                             1.9    $580.00           $1,102.00           $0.00                 0
                   Murieta
                   Equestrian                 Further research re: photo exhibits in support of Reply SUF
  2/16/2023 CCKA   Center     C. Hudak                                                                                             1.0    $580.00            $580.00            $0.00                 0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                             0.1    $580.00             $58.00            $0.00                 0




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                                                                                                                                                                 Judgment Fee     Judgment
                                                                                                                                                                 Reduction        Time
                                                                                                                                                                                  Reduction
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       C. Hudak                                                                                       0.2    $580.00            $0.00         $116.00                0.2
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       C. Hudak                                                                                       0.1    $218.00           $21.80           $0.00                 0
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW CALL WITH D. Hunt
                   Equestrian                     AND C. Hudak.
   9/2/2021 CCKA   Center       Carson Capps                                                                                   1.0    $218.00            $0.00         $218.00                 1
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/2/2021 CCKA   Center       Carson Capps                                                                                   4.7    $218.00            $0.00        $1,024.60               4.7
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/3/2021 CCKA   Center       Carson Capps                                                                                   2.4    $218.00            $0.00         $523.20                2.4
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/7/2021 CCKA   Center       Carson Capps                                                                                   8.6    $218.00            $0.00        $1,874.80               8.6
                   Murieta                        Meet with D. Hunt and J. Flanders re: document review
                   Equestrian
   9/7/2021 CCKA   Center       Carson Capps                                                                                   0.8    $218.00            $0.00         $174.40                0.8
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/8/2021 CCKA   Center       Carson Capps                                                                                   5.0    $218.00            $0.00        $1,090.00                5
                   Murieta                        CALL WITH D. Hunt AND J. RE: Murieta Equestrian Center
                   Equestrian                     DOCUMENT REVIEW.
   9/8/2021 CCKA   Center       Carson Capps                                                                                   0.8    $218.00            $0.00         $174.40                0.8
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/8/2021 CCKA   Center       Carson Capps                                                                                   1.1    $218.00            $0.00         $239.80                1.1
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/9/2021 CCKA   Center       Carson Capps                                                                                   6.3    $218.00            $0.00        $1,373.40               6.3
                   Murieta                        Murieta Equestrian Center SECOND MEET AND CONFER DRAFT.
                   Equestrian
  9/10/2021 CCKA   Center       Carson Capps                                                                                   4.7    $218.00            $0.00        $1,024.60               4.7
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
  9/10/2021 CCKA   Center       Carson Capps                                                                                   2.5    $218.00            $0.00         $545.00                2.5
                   Murieta                        UPDATING Murieta Equestrian Center SECOND MEET AND CONFER
                   Equestrian                     DRAFT.
  9/13/2021 CCKA   Center       Carson Capps                                                                                   4.9    $218.00            $0.00        $1,068.20               4.9
                   Murieta                        Murieta Equestrian Center SECOND MEET AND CONFER DRAFT.
                   Equestrian
  9/13/2021 CCKA   Center       Carson Capps                                                                                   0.8    $218.00            $0.00         $174.40                0.8




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                                                                                                                                                             Reduction        Time
                                                                                                                                                                              Reduction
                   Murieta                        MEETING WITH D. Hunt RE: MEET AND CONFER DRAFT.
                   Equestrian
  9/13/2021 CCKA   Center       Carson Capps                                                                                0.6    $218.00           $0.00         $130.80                0.6
                   Murieta                        CORRESPONDENCE WITH C. Hudak RE: Murieta Equestrian Center
                   Equestrian                     DOCUMENT REVIEW FINDINGS.
  9/14/2021 CCKA   Center       Carson Capps                                                                                0.3    $218.00           $0.00          $65.40                0.3
                   Murieta                        UPDATING Murieta Equestrian Center SECOND MEET AND CONFER
                   Equestrian                     DRAFT.
  9/14/2021 CCKA   Center       Carson Capps                                                                                2.3    $218.00           $0.00         $501.40                2.3
                   Murieta                        REVISING Murieta Equestrian Center MEET AND CONFER LETTER.
                   Equestrian
  9/15/2021 CCKA   Center       Carson Capps                                                                                1.0    $218.00           $0.00         $218.00                 1
                   Murieta                        CALL WITH D. Hunt.
                   Equestrian
  9/16/2021 CCKA   Center       Carson Capps                                                                                0.1    $218.00           $0.00          $21.80                0.1
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
  9/16/2021 CCKA   Center       Carson Capps                                                                                1.0    $218.00           $0.00         $218.00                 1
                   Murieta                        Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
  9/17/2021 CCKA   Center       Carson Capps                                                                                5.3    $218.00           $0.00        $1,155.40               5.3
                   Murieta                        UPDATING DRAFT Murieta Equestrian Center MEET AND CONFER.
                   Equestrian
  9/17/2021 CCKA   Center       Carson Capps                                                                                1.0    $218.00           $0.00         $218.00                 1
                   Murieta                        UPDATING D. Hunt, J. Flanders, AND C. Hudak ON Murieta
                   Equestrian                     Equestrian Center DOCUMENT REVIEW.
  9/17/2021 CCKA   Center       Carson Capps                                                                                0.3    $218.00           $0.00          $65.40                0.3
                   Murieta                        Murieta Equestrian Center MEET AND CONFER PREPARATION
                   Equestrian                     MEETING WITH D. Hunt.
  9/23/2021 CCKA   Center       Carson Capps                                                                                0.3    $218.00           $0.00          $65.40                0.3
                   Murieta                        Murieta Equestrian Center SECOND MEET AND CONFER.
                   Equestrian
  9/23/2021 CCKA   Center       Carson Capps                                                                                0.9    $218.00           $0.00         $196.20                0.9
                   Murieta                        Murieta Equestrian Center MEET AND CONFER FOLLOW-UP CALL
                   Equestrian                     WITH D. Hunt AND J. Flanders.
  9/23/2021 CCKA   Center       Carson Capps                                                                                0.4    $218.00           $0.00          $87.20                0.4
                   Murieta                        MEETING RE: STANDING WITNESS DECLARATION.
                   Equestrian
  9/29/2021 CCKA   Center       Carson Capps                                                                                1.1    $218.00           $0.00         $239.80                1.1
                   Murieta                        DRAFTING STANDING WITNESS DECLARATION.
                   Equestrian
  9/29/2021 CCKA   Center       Carson Capps                                                                                5.9    $218.00           $0.00        $1,286.20               5.9
                   Murieta                        DRAFTING STANDING WITNESS DECLARATION.
                   Equestrian
  9/30/2021 CCKA   Center       Carson Capps                                                                                1.5    $218.00           $0.00         $327.00                1.5




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                                                                                                                                                              Judgment Fee     Judgment
                                                                                                                                                              Reduction        Time
                                                                                                                                                                               Reduction
                   Murieta                        Murieta Equestrian Center STANDING MEETING FOR SEAN WITH D.
                   Equestrian                     Hunt AND J. Flanders.
 10/12/2021 CCKA   Center       Carson Capps                                                                                 1.0    $218.00           $0.00         $218.00                 1
                   Murieta                        READING PLAINTIFF'S OPPOSITION TO COSUMNES'S
                   Equestrian                     DEPOSITION NOTICE.
 10/27/2021 CCKA   Center       Carson Capps                                                                                 0.1    $218.00           $0.00          $21.80                0.1
                   Murieta                        BEGINNING SUPPLEMENTARY DOCUMENT REVIEW FOR Murieta
                   Equestrian                     Equestrian Center.
 10/29/2021 CCKA   Center       Carson Capps                                                                                 3.0    $218.00           $0.00         $654.00                 3
                   Murieta                        CONTINUING SUPPLEMENTARY document REVIEW FOR Murieta
                   Equestrian                     Equestrian Center.
  11/1/2021 CCKA   Center       Carson Capps                                                                                 8.0    $218.00           $0.00        $1,744.00                8
                   Murieta                        CONTINUING SUPPLEMENTARY DOCUMENT REVIEW FOR
                   Equestrian                     Murieta Equestrian Center.
  11/2/2021 CCKA   Center       Carson Capps                                                                                 2.0    $218.00           $0.00         $436.00                 2
                   Murieta                        SENDING REVIEW OF supplemental DOCUMENT REVIEW
                   Equestrian                     FINDINGS TO C. Hudak, J. Flanders, AND D. Hunt.
  11/2/2021 CCKA   Center       Carson Capps                                                                                 0.3    $218.00           $0.00          $65.40                0.3
                   Murieta                        PREPARING FOR MEETING WITH C. Hudak RE: MEET AND
                   Equestrian                     CONFER FOLLOW-UP.
  11/4/2021 CCKA   Center       Carson Capps                                                                                 1.1    $218.00           $0.00         $239.80                1.1
                   Murieta                        MEETING WITH C. Hudak RE: MEET AND CONFER FOLLOW-UP.
                   Equestrian
  11/4/2021 CCKA   Center       Carson Capps                                                                                 0.2    $218.00           $0.00          $43.60                0.2
                   Murieta                        DRAFTING MEET AND CONFER FOLLOW-UP.
                   Equestrian
  11/4/2021 CCKA   Center       Carson Capps                                                                                 3.5    $218.00           $0.00         $763.00                3.5
                   Murieta                        DRAFTING MEET AND CONFER FOLLOW-UP.
                   Equestrian
  11/5/2021 CCKA   Center       Carson Capps                                                                                 3.0    $218.00           $0.00         $654.00                 3
                   Murieta                        MEETING WITH D. Hunt, J. Flanders, AND S. Bothwell.
                   Equestrian
  11/8/2021 CCKA   Center       Carson Capps                                                                                 1.1    $218.00           $0.00         $239.80                1.1
                   Murieta                        DRAFTING STANDING WITNESS DECLARATION.
                   Equestrian
 11/10/2021 CCKA   Center       Carson Capps                                                                                 4.2    $218.00           $0.00         $915.60                4.2
                   Murieta                        MURIETA MEDIATION.
                   Equestrian
  12/1/2021 CCKA   Center       Carson Capps                                                                                 6.0    $218.00           $0.00        $1,308.00                6
                   Murieta                        MURIETA MEDIATION DEBRIEF.
                   Equestrian
  12/1/2021 CCKA   Center       Carson Capps                                                                                 0.7    $218.00           $0.00         $152.60                0.7
                   Murieta                        MAKING RAINFALL CHART FOR Murieta Equestrian Center FROM
                   Equestrian                     JANUARY 2015 - MARCH 2022.
  3/21/2022 CCKA   Center       Carson Capps                                                                                 4.0    $218.00           $0.00         $872.00                 4




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                                                                                                                                                            Judgment Fee     Judgment
                                                                                                                                                            Reduction        Time
                                                                                                                                                                             Reduction
                   Murieta                        CHECKING RAINFALL DATA CHART AGAINST CHART WE
                   Equestrian                     ATTACHED TO THE NOTICE LETTER.
  3/22/2022 CCKA   Center       Carson Capps                                                                               0.5    $218.00           $0.00         $109.00                0.5
                   Murieta                        DRAFTING PARAGRAPH EXPLAINING THE PROCESS FOR
                   Equestrian                     CREATING THE RAINFALL CHARTS.
  3/22/2022 CCKA   Center       Carson Capps                                                                               0.2    $218.00           $0.00          $43.60                0.2
                   Murieta                        REVIEWING PREVIOUS DOCUMENT REVIEW PROCESS.
                   Equestrian
   6/3/2022 CCKA   Center       Carson Capps                                                                               0.3    $218.00           $0.00          $65.40                0.3
                   Murieta                        MEETING WITH D. Hunt, J. Flanders, AND ERICA.
                   Equestrian
   6/3/2022 CCKA   Center       Carson Capps                                                                               1.0    $218.00           $0.00         $218.00                 1
                   Murieta                        MEETING WITH D. Hunt, C. Hudak, AND TOM RE: SECOND
                   Equestrian                     ROUND OF document REVIEW.
   6/3/2022 CCKA   Center       Carson Capps                                                                               1.2    $218.00           $0.00         $261.60                1.2
                   Murieta                        MEETING WITH E. AND TOM RE: EVERLAW TRAINING AND
                   Equestrian                     BACKGROUND.
   6/3/2022 CCKA   Center       Carson Capps                                                                               0.3    $218.00           $0.00          $65.40                0.3
                   Murieta                        REVIEWING DEFENDANT'S PRODUCTIONS.
                   Equestrian
   6/3/2022 CCKA   Center       Carson Capps                                                                               6.1    $218.00           $0.00        $1,329.80               6.1
                   Murieta                        REVIEWING DEFENDANT'S PRODUCTIONS.
                   Equestrian
   6/4/2022 CCKA   Center       Carson Capps                                                                               6.5    $218.00           $0.00        $1,417.00               6.5
                   Murieta                        REVIEWING DEFENDANT'S PRODUCTIONS.
                   Equestrian
   6/5/2022 CCKA   Center       Carson Capps                                                                               5.5    $218.00           $0.00        $1,199.00               5.5
                   Murieta                        PREPARING EXHIBITS FOR DEPOSITION.
                   Equestrian
   6/7/2022 CCKA   Center       Carson Capps                                                                               4.0    $218.00           $0.00         $872.00                 4
                   Murieta                        MEETING RE: document REVIEW FOR MEDIATION.
                   Equestrian
  7/18/2022 CCKA   Center       Carson Capps                                                                               1.0    $218.00           $0.00         $218.00                 1
                   Murieta                        CALL RE: document REVIEW FOR MEDIATION.
                   Equestrian
  7/20/2022 CCKA   Center       Carson Capps                                                                               1.0    $218.00           $0.00         $218.00                 1
                   Murieta                        CALL RE: MOVING DOCUMENTS TO California Coastkeeper Alliance
                   Equestrian                     EVERLAW.
  8/10/2022 CCKA   Center       Carson Capps                                                                               1.0    $345.00           $0.00         $345.00                 1
                   Murieta                        CALL RE: SUF PROGRESS, document REVIEW.
                   Equestrian
  8/18/2022 CCKA   Center       Carson Capps                                                                               1.0    $345.00           $0.00         $345.00                 1
                   Murieta                        DOWNLOADING DOCUMENTS FROM ATA EVERLAW AND
                   Equestrian                     MOVING TO California Coastkeeper Alliance EVERLAW.
  8/19/2022 CCKA   Center       Carson Capps                                                                               5.1    $345.00           $0.00        $1,759.50               5.1




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                                                                                                                                                                       Judgment Fee     Judgment
                                                                                                                                                                       Reduction        Time
                                                                                                                                                                                        Reduction
                   Murieta                        Meet with D. Hunt and J. Flanders re: organizing discovery evidence for
                   Equestrian                     Motion for Summary Judgment
  8/25/2022 CCKA   Center       Carson Capps                                                                                        1.3    $345.00             $0.00         $448.50                1.3
                   Murieta                        CALL RE: MEDIATION REVIEW TAG TREE.
                   Equestrian
  8/25/2022 CCKA   Center       Carson Capps                                                                                        0.9    $345.00             $0.00         $310.50                0.9
                   Murieta                        LOCATING REMAINING DOCUMENTS ON ATA SHAREPOINT AND
                   Equestrian                     UPLOADING TO California Coastkeeper Alliance EVERLAW.
  8/25/2022 CCKA   Center       Carson Capps                                                                                    10.6       $345.00             $0.00        $3,657.00           10.6
                   Murieta                        CALL RE: document REVIEW FOR MEDIATION.
                   Equestrian
  8/26/2022 CCKA   Center       Carson Capps                                                                                        1.0    $345.00             $0.00         $345.00                 1
                   Murieta                        call with D Hunt and J. Flanders re: documents to support SUF
                   Equestrian
  8/26/2022 CCKA   Center       Carson Capps                                                                                        1.0    $345.00             $0.00         $345.00                 1
                   Murieta                        CALL RE: REVIEWING NEW TAG TREE FOR document REVIEW.
                   Equestrian
  8/31/2022 CCKA   Center       Carson Capps                                                                                        1.0    $345.00             $0.00         $345.00                 1
                   Murieta                        CALL WITH D. Hunt RE: REMAINING DOCUMENTS TO LOCATE OR
                   Equestrian                     DELETE FROM DATABASE.
   9/1/2022 CCKA   Center       Carson Capps                                                                                        0.6    $345.00             $0.00         $207.00                0.6
                   Murieta                        CREATING ASSIGNMENTS FOR MEDIATION document REVIEW.
                   Equestrian
   9/6/2022 CCKA   Center       Carson Capps                                                                                        1.4    $345.00             $0.00         $483.00                1.4
                   Murieta                        REVIEWING Murieta Equestrian Center DOCUMENTS FOR
                   Equestrian                     MEDIATION.
   9/8/2022 CCKA   Center       Carson Capps                                                                                        8.3    $345.00             $0.00        $2,863.50               8.3
                   Murieta
                   Equestrian
  11/1/2021 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00           $512.00           $0.00                 0
                   Murieta
                   Equestrian                     Call with J. Flanders re: discovery needs, case strategy, scheduling
   7/7/2021 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00           $128.00           $0.00                 0
                   Murieta                        Review working waters of the United States memo from J. Flanders.
                   Equestrian
   7/9/2021 CCKA   Center       DREVET HUNT                                                                                         0.9    $640.00           $576.00           $0.00                 0
                   Murieta                        Correspond with co-counsel re: case status and needs.
                   Equestrian
   7/9/2021 CCKA   Center       DREVET HUNT                                                                                         0.3    $640.00           $192.00           $0.00                 0
                   Murieta                        Meet with co-counsel re: draft meet and confer letter.
                   Equestrian
  7/13/2021 CCKA   Center       DREVET HUNT                                                                                         0.6    $640.00             $0.00         $384.00                0.6
                   Murieta                        Call with J. Flanders re: case issues, strategy, management and
                   Equestrian                     status.
  7/16/2021 CCKA   Center       DREVET HUNT                                                                                         1.5    $640.00           $960.00           $0.00                 0




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                                                                                                                                                                       Reduction        Time
                                                                                                                                                                                        Reduction
                   Murieta                    Review case file and key documents.
                   Equestrian
  7/22/2021 CCKA   Center       DREVET HUNT                                                                                       2.2    $640.00              $0.00         $1,408.00               2.2
                   Murieta                    Call with J. Flanders re: case issues, strategy, management and
                   Equestrian                 status.
  7/23/2021 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00            $512.00            $0.00                 0
                   Murieta                    Comments on notice letter.
                   Equestrian
  8/10/2021 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00            $512.00            $0.00                 0
                   Murieta                    Review documents produced by Murieta Equestrian Center.
                   Equestrian
  8/13/2021 CCKA   Center       DREVET HUNT                                                                                       2.2    $640.00           $1,408.00           $0.00                 0
                   Murieta                    Call with J. Flanders re: waters of the United States, discovery to date
                   Equestrian                 and needed, experts.
  8/13/2021 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00            $448.00           $64.00                0.1
                   Murieta                    Document review re: developing Clean Water Act claims.
                   Equestrian
  8/17/2021 CCKA   Center       DREVET HUNT                                                                                       1.8    $640.00           $1,152.00           $0.00                 0
                   Murieta                    Document review re: developing Clean Water Act claims.
                   Equestrian
  8/18/2021 CCKA   Center       DREVET HUNT                                                                                       1.6    $640.00           $1,024.00           $0.00                 0
                   Murieta                    Document review re: developing Clean Water Act claims.
                   Equestrian
  8/20/2021 CCKA   Center       DREVET HUNT                                                                                       1.3    $640.00            $832.00            $0.00                 0
                   Murieta
                   Equestrian
  8/25/2021 CCKA   Center       DREVET HUNT   Emails with J. Flanders re: insurance coverage.                                     0.1    $640.00             $64.00            $0.00                 0
                   Murieta                    Review documents and information and prepare for site visit with I.
                   Equestrian                 Wren.
  8/30/2021 CCKA   Center       DREVET HUNT                                                                                       1.5    $640.00            $960.00            $0.00                 0
                   Murieta                    Site visit and investigation with I. Wren (includes travel 4 hours).
                   Equestrian
  8/31/2021 CCKA   Center       DREVET HUNT                                                                                       6.3    $640.00           $2,016.00        $2,016.00           3.15
                   Murieta                    Call with J. Flanders and I. Wren re: site visit.
                   Equestrian
  8/31/2021 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00              $0.00          $192.00                0.3
                   Murieta                    Call with J. Flanders following site visit with I. Wren.
                   Equestrian
  8/31/2021 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00            $320.00           $64.00                0.1
                   Murieta                    Email with J. Flanders re: document review.
                   Equestrian
   9/1/2021 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                 0
                   Murieta                    Email with C. Hudak re: document review.
                   Equestrian
   9/1/2021 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                 0




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                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    Meet with C Hudak and C. Capps re: document review.
                   Equestrian
   9/2/2021 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00               0
                   Murieta                    Review correspondence from opposing counsel re: case status and
                   Equestrian                 settlement prospects.
   9/2/2021 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta                    Further document review to support Clean Water Act claims.
                   Equestrian
   9/2/2021 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00               0
                   Murieta                    Review Murieta Equestrian Center document production; code and
                   Equestrian                 categorize.
   9/6/2021 CCKA   Center       DREVET HUNT                                                                                     3.6    $640.00           $2,304.00           $0.00               0
                   Murieta                    Meet with J. Flanders re: response to Defendant's correspondence on
                   Equestrian                 settlement, waters of the United States, case management.
   9/7/2021 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta                    Meet with J. Flanders and co-counsel re: document review.
                   Equestrian
   9/7/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00               0
                   Murieta                    Meet with J. Flanders and co-counsel re: document review and meet
                   Equestrian                 and confer.
   9/8/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00               0
                   Murieta                    Review Murieta Equestrian Center document production; code and
                   Equestrian                 categorize.
   9/8/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00               0
                   Murieta                    Meet with co-counsel re: draft meet and confer letter.
                   Equestrian
  9/13/2021 CCKA   Center       DREVET HUNT                                                                                     0.6    $640.00            $384.00            $0.00               0
                   Murieta                    Review and edit draft meet and confer letter.
                   Equestrian
  9/13/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00               0
                   Murieta                    Review Murieta Equestrian Center document production; code and
                   Equestrian                 categorize.
  9/14/2021 CCKA   Center       DREVET HUNT                                                                                     2.1    $640.00           $1,344.00           $0.00               0
                   Murieta                    Call with co-counsel re: tasks to complete.
                   Equestrian
  9/16/2021 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta                    Correspondence with co-counsel re: meet and confer on document
                   Equestrian                 production.
  9/16/2021 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta                    Correspondence with co-counsel re: standing declarants.
                   Equestrian
  9/16/2021 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta                    Review key documents produced by defendant.
                   Equestrian
  9/16/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    Review correspondence from co-counsel re: meet and confer issues.
                   Equestrian
  9/17/2021 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta                    Review and edit meet and confer letter.
                   Equestrian
  9/17/2021 CCKA   Center       DREVET HUNT                                                                                     0.6    $640.00            $384.00            $0.00               0
                   Murieta                    Discovery (requests for production) meet and confer preparation with
                   Equestrian                 C. Capps.
  9/23/2021 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta                    Discovery meet and confer re: requests for production with defendant
                   Equestrian                 counsel.
  9/23/2021 CCKA   Center       DREVET HUNT                                                                                     0.9    $640.00            $576.00            $0.00               0
                   Murieta                    Discovery meet and confer re: requests for production debrief with co-
                   Equestrian                 counsel.
  9/23/2021 CCKA   Center       DREVET HUNT                                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta                    Meet with potential standing witness.
                   Equestrian
  9/29/2021 CCKA   Center       DREVET HUNT                                                                                     1.1    $640.00            $704.00            $0.00               0
                   Murieta                    Call with J. Flanders re: standing witness.
                   Equestrian
  9/29/2021 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta                    Emails with J. Flanders re: standing witness.
                   Equestrian
  9/30/2021 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta                    Review email from J. Flanders re: litigation needs, mediation, standing
                   Equestrian                 witness deposition, and insurance.
  10/6/2021 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta                    Meet with J. Flanders and I. Wren re: needs for case (waters of the
                   Equestrian                 United States and Best Management Practices).
  10/7/2021 CCKA   Center       DREVET HUNT                                                                                     0.9    $640.00            $576.00            $0.00               0
                   Murieta                    Meet with potential standing witness.
                   Equestrian
 10/12/2021 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00               0
                   Murieta                    Outreach with potential standing witnesses (several calls).
                   Equestrian
 10/18/2021 CCKA   Center       DREVET HUNT                                                                                     1.8    $640.00           $1,152.00           $0.00               0
                   Murieta                    Review and read case law in E Maharg standing memo.
                   Equestrian
 10/18/2021 CCKA   Center       DREVET HUNT                                                                                     0.9    $640.00            $576.00            $0.00               0
                   Murieta                    Meet with J. Flanders re: standing witness.
                   Equestrian
 10/19/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00               0
                   Murieta                    Site visit with standing witness.
                   Equestrian
 10/22/2021 CCKA   Center       DREVET HUNT                                                                                     1.7    $640.00           $1,088.00           $0.00               0




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Date      Client   Matter       Staff         Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    Call with J. Flanders re: Defendant's standing deposition notice.
                   Equestrian
 10/25/2021 CCKA   Center       DREVET HUNT                                                                                     0.4    $640.00            $256.00            $0.00                0
                   Murieta                    Review and analyze Defendant's standing deposition notice.
                   Equestrian
 10/25/2021 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                0
                   Murieta                    Review draft objections to 30(b)(6) deposition notice; provide
                   Equestrian                 comments.
 10/25/2021 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta                    Meet with J. Flanders and S. Bothwell re: case status, strategy, tasks.
                   Equestrian
 10/26/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $448.00           $64.00               0.1
                   Murieta                    Correspondence with co-counsel re: recent document production and
                   Equestrian                 whether resolves issues with production.
 10/28/2021 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta                    Review documents in supplemental document production.
                   Equestrian
 10/28/2021 CCKA   Center       DREVET HUNT                                                                                     1.1    $640.00            $704.00            $0.00                0
                   Murieta                    Review summary of document review from C. Capps.
                   Equestrian
  11/2/2021 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta                    Meet with J. Flanders re: November workplan for case.
                   Equestrian
  11/4/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00                0
                   Murieta                    Review supplemental document production; code and categorize.
                   Equestrian
  11/4/2021 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00                0
                   Murieta                    Review and edit requests for production meet and confer letter.
                   Equestrian
  11/5/2021 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00                0
                   Murieta                    Review supplemental document production; code and categorize.
                   Equestrian
  11/5/2021 CCKA   Center       DREVET HUNT                                                                                     1.1    $640.00            $704.00            $0.00                0
                   Murieta                    Meet with S. Bothwell, C. Capps, J. Flanders re: case strategy and
                   Equestrian                 tasks.
  11/8/2021 CCKA   Center       DREVET HUNT                                                                                     1.1    $640.00            $704.00            $0.00                0
                   Murieta                    depo prep meeting with standing witness and J. Flanders
                   Equestrian
  11/8/2021 CCKA   Center       DREVET HUNT                                                                                     1.1    $640.00            $704.00            $0.00                0
                   Murieta                    Deposition prep meeting with standing witness and J. Flanders.
                   Equestrian
  11/9/2021 CCKA   Center       DREVET HUNT                                                                                     0.9    $640.00            $576.00            $0.00                0
                   Murieta                    Review draft settlement conference statement; provide edits
                   Equestrian
  11/9/2021 CCKA   Center       DREVET HUNT                                                                                     1.7    $640.00           $1,088.00           $0.00                0




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Date      Client   Matter       Staff         Description                                                              Hours         Rate       Total               Billing          Billing
                                                                                                                                                                    Judgment Fee     Judgment
                                                                                                                                                                    Reduction        Time
                                                                                                                                                                                     Reduction
                   Murieta                    Review objections to deposition notices; send comments to team.
                   Equestrian
  11/9/2021 CCKA   Center       DREVET HUNT                                                                                    0.4    $640.00            $256.00            $0.00                 0
                   Murieta                    Review draft standing declaration from C. Capps.
                   Equestrian
 11/11/2021 CCKA   Center       DREVET HUNT                                                                                    0.5    $640.00            $320.00            $0.00                 0
                   Murieta                    Review supplemental document production and key documents related
                   Equestrian                 to waters of the United States claims.
 11/12/2021 CCKA   Center       DREVET HUNT                                                                                    2.5    $640.00              $0.00         $1,600.00               2.5
                   Murieta                    Two deposition preparation meetings with standing witnesses and J.
                   Equestrian                 Flanders.
 11/12/2021 CCKA   Center       DREVET HUNT                                                                                    2.3    $640.00           $1,472.00           $0.00                 0
                   Murieta                    Review Second Amended Complaint and stipulation; provide
                   Equestrian                 comments to J. Flanders.
 11/12/2021 CCKA   Center       DREVET HUNT                                                                                    0.4    $640.00            $256.00            $0.00                 0
                   Murieta                    Call with J. Flanders following deposition of S. Bothwell.
                   Equestrian
 11/15/2021 CCKA   Center       DREVET HUNT                                                                                    0.4    $640.00            $256.00            $0.00                 0
                   Murieta                    Review waters of the United States memo from consultant; provide
                   Equestrian                 comments
 11/16/2021 CCKA   Center       DREVET HUNT                                                                                    0.8    $640.00            $512.00            $0.00                 0
                   Murieta                    Review best management practices memo from consultant; develop
                   Equestrian                 comments
 11/16/2021 CCKA   Center       DREVET HUNT                                                                                    0.5    $640.00            $320.00            $0.00                 0
                   Murieta                    Draft proposed consent decree.
                   Equestrian
 11/17/2021 CCKA   Center       DREVET HUNT                                                                                    1.1    $640.00            $704.00            $0.00                 0
                   Murieta                    Research California Concentrated Animal Feeding Operation
                   Equestrian                 requirements and draft proposed consent decree.
 11/18/2021 CCKA   Center       DREVET HUNT                                                                                    1.8    $640.00           $1,152.00           $0.00                 0
                   Murieta                    Review mediation brief; provide comments to J. Flanders.
                   Equestrian
 11/18/2021 CCKA   Center       DREVET HUNT                                                                                    0.7    $640.00            $448.00            $0.00                 0
                   Murieta                    Research Concentrated Animal Feeding Operation requirements and dr
                   Equestrian
 11/19/2021 CCKA   Center       DREVET HUNT                                                                                    3.5    $640.00           $2,240.00           $0.00                 0
                   Murieta                    Review and edit mediation brief.
                   Equestrian
 11/22/2021 CCKA   Center       DREVET HUNT                                                                                    2.8    $640.00           $1,792.00           $0.00                 0
                   Murieta
                   Equestrian                 Zoom with J. Flanders re: draft consent decree.
 11/22/2021 CCKA   Center       DREVET HUNT                                                                                    1.0    $640.00            $640.00            $0.00                 0
                   Murieta                    Meet with J. Flanders and S. Bothwell re: draft settlement proposal.
                   Equestrian
 11/23/2021 CCKA   Center       DREVET HUNT                                                                                    1.0    $640.00            $640.00            $0.00                 0




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Date      Client   Matter       Staff         Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta                    Meet with J. Flanders re: edits to mediation brief and proposed
                   Equestrian                 Consent Decree
 11/23/2021 CCKA   Center       DREVET HUNT                                                                                        0.7    $640.00            $256.00          $192.00               0.3
                   Murieta                    Review and edit proposed Consent Decree.
                   Equestrian
 11/23/2021 CCKA   Center       DREVET HUNT                                                                                        0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian
 11/24/2021 CCKA   Center       DREVET HUNT   Review and edit proposed Consent Decree.                                             0.5    $640.00              $0.00          $320.00               0.5
                   Murieta
                   Equestrian
 11/24/2021 CCKA   Center       DREVET HUNT   review and edit mediation brief.                                                     1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian
 11/24/2021 CCKA   Center       DREVET HUNT   Correspond with co-counsel re: final revisions to materials to submit for            0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian
 11/24/2021 CCKA   Center       DREVET HUNT   Correspond with S. Bothwell regarding settlement positions.                          0.4    $640.00            $256.00            $0.00                0
                   Murieta                    Call with J. Flanders re: mediation (2 calls).
                   Equestrian
 11/29/2021 CCKA   Center       DREVET HUNT                                                                                        1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian
 11/29/2021 CCKA   Center       DREVET HUNT   Review correspondence from J. Flanders regarding comms with Magistr                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
 11/30/2021 CCKA   Center       DREVET HUNT   Call with T. Brett, J. Flanders, S. Bothwell re: settlement conference pre           0.5    $640.00            $320.00            $0.00                0
                   Murieta                    Mediation with Judge Newman
                   Equestrian
  12/1/2021 CCKA   Center       DREVET HUNT                                                                                        6.0    $640.00           $3,840.00           $0.00                0
                   Murieta                    debrief with team following mediation with Judge Newman
                   Equestrian
  12/1/2021 CCKA   Center       DREVET HUNT                                                                                        0.7    $640.00            $448.00            $0.00                0
                   Murieta                    debrief with SB following mediation
                   Equestrian
  12/1/2021 CCKA   Center       DREVET HUNT                                                                                        0.3    $640.00            $192.00            $0.00                0
                   Murieta                    meet with T. Brett J. Flanders and I. Wren re: waters of the United
                   Equestrian                 States analysis
  12/3/2021 CCKA   Center       DREVET HUNT                                                                                        1.0    $640.00            $640.00            $0.00                0
                   Murieta                    meet with T. Brett SB re: standing
                   Equestrian
  12/3/2021 CCKA   Center       DREVET HUNT                                                                                        0.9    $640.00            $576.00            $0.00                0
                   Murieta                    call with J. Flanders re: Motion for Summary Judgment prep and
                   Equestrian                 coordination
  12/8/2021 CCKA   Center       DREVET HUNT                                                                                        1.4    $640.00            $896.00            $0.00                0




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Date      Client   Matter       Staff         Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta                    emails with J. Flanders re: Motion for Summary Judgment prep and
                   Equestrian                 planning
  12/8/2021 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta                    review stipulated facts; provide comments
                   Equestrian
  12/8/2021 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta                    review and provide comments on clawback letter
                   Equestrian
  12/9/2021 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta                    email with T. Brett re: information on property ownership
                   Equestrian
 12/13/2021 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with J. Flanders in preparation for call with opposing counsel
                   Equestrian
 12/15/2021 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00           $384.00           $0.00                0
                   Murieta                    review J. Flanders stip facts and outline of cross Motion for Summary
                   Equestrian                 Judgment issues and streamlined discovery; provide comments
 12/15/2021 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta                    Call with opposing counsel re: streamlining discovery and motion
                   Equestrian                 practice, follow up call with J. Flanders re: same
 12/15/2021 CCKA   Center       DREVET HUNT                                                                                      1.2    $640.00           $768.00           $0.00                0
                   Murieta                    follow up with J. Flanders; call with team re: discovery and motion
                   Equestrian                 planning
 12/28/2021 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with opposing counsel re: discovery and motion planning
                   Equestrian
 12/28/2021 CCKA   Center       DREVET HUNT                                                                                      0.9    $640.00           $576.00           $0.00                0
                   Murieta                    call with J. Flanders to prep for meeting with opposing counsel re:
                   Equestrian                 discovery and motion planning
 12/28/2021 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00           $384.00           $0.00                0
                   Murieta                    call with J. Flanders and I. Wren re: receiving waters and prep for site
                   Equestrian                 visit re: same
   1/4/2022 CCKA   Center       DREVET HUNT                                                                                      1.3    $640.00           $832.00           $0.00                0
                   Murieta                    call with J. Flanders regarding Def's proposed schedule for phase 1
                   Equestrian
   1/4/2022 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta                    call with J. Flanders and E. Maharg re: standing arguments
                   Equestrian
   1/5/2022 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00             $0.00         $512.00               0.8
                   Murieta                    research informational standing
                   Equestrian
   1/6/2022 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian
 11/10/2021 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00           $512.00           $0.00                0




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Date      Client   Matter       Staff         Description                                                                    Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta                    Call with J. Flanders re: investigations related to standing and waters of
                   Equestrian                 the United States
   1/7/2022 CCKA   Center       DREVET HUNT                                                                                          0.7    $640.00           $448.00           $0.00                0
                   Murieta                    review and respond to emails regarding case schedule with opposing
                   Equestrian                 counsel and co-counsel
  1/12/2022 CCKA   Center       DREVET HUNT                                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta                    call with J. Flanders re: joint scheduling stip and stipulated facts
                   Equestrian
  1/13/2022 CCKA   Center       DREVET HUNT                                                                                          0.7    $640.00           $448.00           $0.00                0
                   Murieta                    review joint stip facts; comments to J. Flanders re: same
                   Equestrian
  1/13/2022 CCKA   Center       DREVET HUNT                                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta                    Calls with J. Flanders re: stip facts, corr with magistrate, scheduling stip
                   Equestrian
  1/14/2022 CCKA   Center       DREVET HUNT                                                                                          0.4    $640.00           $256.00           $0.00                0
                   Murieta                    review Bothwell deposition transcript
                   Equestrian
  1/14/2022 CCKA   Center       DREVET HUNT                                                                                          0.7    $640.00           $448.00           $0.00                0
                   Murieta                    review and confer with J. Flanders re: email form opposing counsel on
                   Equestrian                 case management
  1/18/2022 CCKA   Center       DREVET HUNT                                                                                          0.3    $640.00           $192.00           $0.00                0
                   Murieta                    review J. Flanders email and proposal regarding standing issues;
                   Equestrian                 respond
  1/19/2022 CCKA   Center       DREVET HUNT                                                                                          0.3    $640.00           $192.00           $0.00                0
                   Murieta                    review J. Flanders email and proposal regarding amending complaint;
                   Equestrian                 respond
  1/19/2022 CCKA   Center       DREVET HUNT                                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with team to discuss informational standing and other standing
                   Equestrian                 issues
  1/20/2022 CCKA   Center       DREVET HUNT                                                                                          0.7    $640.00           $384.00          $64.00               0.1
                   Murieta                    meet and confer with opposing counsel re: modifying scheduling order
                   Equestrian
  1/20/2022 CCKA   Center       DREVET HUNT                                                                                          1.0    $640.00           $640.00           $0.00                0
                   Murieta                    call with J. Flanders in advance of meet and confer with opposing
                   Equestrian                 counsel re: modifying scheduling order
  1/20/2022 CCKA   Center       DREVET HUNT                                                                                          0.5    $640.00           $320.00           $0.00                0
                   Murieta                    call with J. Flanders follow up to meet and confer with opposing
                   Equestrian                 counsel re: modifying scheduling order
  1/20/2022 CCKA   Center       DREVET HUNT                                                                                          0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with J. Flanders re: Second Amended Complaint draft
                   Equestrian
  1/25/2022 CCKA   Center       DREVET HUNT                                                                                          0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian
  1/25/2022 CCKA   Center       DREVET HUNT   review Second Amended Complaint draft for new language                                 0.2    $640.00           $128.00           $0.00                0




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Date      Client   Matter       Staff         Description                                                                     Hours         Rate       Total             Billing          Billing
                                                                                                                                                                         Judgment Fee     Judgment
                                                                                                                                                                         Reduction        Time
                                                                                                                                                                                          Reduction
                   Murieta                    call with J. Flanders re: defendant's proposed discovery and briefing
                   Equestrian                 procedure and schedule
  1/28/2022 CCKA   Center       DREVET HUNT                                                                                           0.8    $640.00           $448.00          $64.00                0.1
                   Murieta                    second call with J. Flanders re: defendant's proposed discovery and
                   Equestrian                 briefing procedure and schedule
  1/28/2022 CCKA   Center       DREVET HUNT                                                                                           0.2    $640.00           $128.00           $0.00                 0
                   Murieta                    review corr re: Def proposed discovery schedule and motion schedule
                   Equestrian
  1/28/2022 CCKA   Center       DREVET HUNT                                                                                           0.1    $640.00            $64.00           $0.00                 0
                   Murieta                    additional call with J. Flanders re: proposed discovery schedule and
                   Equestrian                 motion schedule
  1/28/2022 CCKA   Center       DREVET HUNT                                                                                           0.2    $640.00           $128.00           $0.00                 0
                   Murieta
                   Equestrian
  1/28/2022 CCKA   Center       DREVET HUNT   review Cosumnes river gauge information and weather forecasts to plan                   0.3    $640.00           $192.00           $0.00                 0
                   Murieta
                   Equestrian
  1/28/2022 CCKA   Center       DREVET HUNT   review photos and get report from [redacted] re: Cosumnes river canoe                   1.1    $640.00           $704.00           $0.00                 0
                   Murieta                    Review and revisions to draft joint scheduling stipulation; calls and
                   Equestrian                 email with J. Flanders re: same
   2/1/2022 CCKA   Center       DREVET HUNT                                                                                           0.4    $640.00           $256.00           $0.00                 0
                   Murieta
                   Equestrian
   2/3/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: joint scheduling stipulation, stipulated facts, and           0.2    $640.00           $128.00           $0.00                 0
                   Murieta                    call with J. Flanders and T. Brett regarding waters of the United States
                   Equestrian                 issues and research
   2/7/2022 CCKA   Center       DREVET HUNT                                                                                           1.2    $640.00           $704.00          $64.00                0.1
                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center       DREVET HUNT   review fact chart and other materials in advance of call with J. Flanders               0.4    $640.00           $256.00           $0.00                 0
                   Murieta                    review and comment on motion for leave to amend
                   Equestrian
   2/8/2022 CCKA   Center       DREVET HUNT                                                                                           1.7    $640.00             $0.00        $1,088.00               1.7
                   Murieta                    corr with co-counsel re: subpoenas related to information on waters of
                   Equestrian                 the United States from agencies
   2/8/2022 CCKA   Center       DREVET HUNT                                                                                           0.2    $640.00           $128.00           $0.00                 0
                   Murieta                    revisions to declarations to file with Motion to Amend; send to EM
                   Equestrian
   2/9/2022 CCKA   Center       DREVET HUNT                                                                                           0.6    $640.00             $0.00         $384.00                0.6
                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center       DREVET HUNT   review Second set RFAs; provide comments                                                0.5    $640.00           $320.00           $0.00                 0
                   Murieta                    call with J. Flanders re: re subpoenas, motion to amend, witnesses
                   Equestrian
   2/9/2022 CCKA   Center       DREVET HUNT                                                                                           1.1    $640.00           $704.00           $0.00                 0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    emails with J. Flanders re: witness disclosures
                   Equestrian
   2/9/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center       DREVET HUNT   calls with E. Maharg and J. Flanders re: motion for leave to amend                0.4    $640.00              $0.00          $256.00               0.4
                   Murieta                    emails with J. Flanders re: discovery
                   Equestrian
  2/10/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00              $0.00           $64.00               0.1
                   Murieta                    comments on Carol Anderson Ward trust subpoena; research re: same
                   Equestrian
  2/10/2022 CCKA   Center       DREVET HUNT                                                                                     0.4    $640.00            $256.00            $0.00                0
                   Murieta                    calls with J. Flanders re: 3d party subpoenas
                   Equestrian
  2/10/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta                    emails with J. Flanders re: motion for leave to amend
                   Equestrian
  2/10/2022 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                0
                   Murieta                    emails with J. Flanders re: discovery
                   Equestrian
  2/10/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta                    review and draft Hunt dec in support of MTA
                   Equestrian
  2/10/2022 CCKA   Center       DREVET HUNT                                                                                     0.4    $640.00            $256.00            $0.00                0
                   Murieta                    call with J. Flanders re: evidence collection and expert report
                   Equestrian                 development
  2/15/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: Carol Anderson Ward subpoenas
                   Equestrian
  2/15/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta                    review Rancho Murieta Community Services District operations and
                   Equestrian                 data on LJ spill
  2/15/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: evidence gathering and document review to
                   Equestrian                 support IW
  2/16/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $256.00           $64.00               0.1
                   Murieta                    doc review to support IW; provide documents
                   Equestrian
  2/16/2022 CCKA   Center       DREVET HUNT                                                                                     1.8    $640.00           $1,152.00           $0.00                0
                   Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes River
                   Equestrian
  2/16/2022 CCKA   Center       DREVET HUNT                                                                                     6.8    $640.00           $4,352.00           $0.00                0
                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center       DREVET HUNT   meet with I. Wren regarding site visits and evidence gathering                    0.8    $640.00            $512.00            $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta                    call with J. Flanders re: evidence development
                   Equestrian
  2/17/2022 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with J. Flanders re: outstanding discovery and ongoing and further
                   Equestrian                 investigations
  2/23/2022 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00            $320.00           $64.00               0.1
                   Murieta                    review I. Wren waters of the United States memo with updates from
                   Equestrian                 investigations
  2/28/2022 CCKA   Center       DREVET HUNT                                                                                       0.7    $640.00            $448.00            $0.00                0
                   Murieta                     Call with J. Flanders and T. Brett (for part) re: next steps for I. Wren
                   Equestrian                 expert memo, ongoing fact investigation, subpoena response from
   3/1/2022 CCKA   Center       DREVET HUNT   Rancho Murieta Community Services District                                          2.1    $640.00           $1,344.00           $0.00                0
                   Murieta                    review Murieta Equestrian Center opp to MTA
                   Equestrian
   3/1/2022 CCKA   Center       DREVET HUNT                                                                                       0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: Rancho Murieta Community Services District
                   Equestrian                 subpoena and investigations
   3/2/2022 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center       DREVET HUNT   email w co-counsel re: outline of I. Wren expert report                             0.1    $640.00             $64.00            $0.00                0
                   Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes River
                   Equestrian
   3/4/2022 CCKA   Center       DREVET HUNT                                                                                       9.5    $640.00           $6,080.00           $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders and I. Wren re: site investigation
   3/4/2022 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                 Calls with J. Flanders and E. Maharg re: court's order vacating hearing
   3/4/2022 CCKA   Center       DREVET HUNT   before reply brief was filed                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta                    meet with J. Flanders T. Brett I. Wren re: expert report
                   Equestrian
   3/7/2022 CCKA   Center       DREVET HUNT                                                                                       0.9    $640.00            $576.00            $0.00                0
                   Murieta                    email with J. Flanders re: state water board documents
                   Equestrian
   3/8/2022 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center       DREVET HUNT   review J. Flanders draft email to opp Counsel re: settlement; comment               0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with J. Flanders and SB re: settlement and deposition
                   Equestrian
   3/9/2022 CCKA   Center       DREVET HUNT                                                                                       0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: expert file management
                   Equestrian
  3/10/2022 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta                    corr with T. Brett re: site investigations and facts
                   Equestrian
  3/14/2022 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00            $256.00            $0.00                0
                   Murieta                    call with I. Wren and J. Flanders re: site inspection
                   Equestrian
  3/14/2022 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00            $256.00            $0.00                0
                   Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes River
                   Equestrian
  3/15/2022 CCKA   Center       DREVET HUNT                                                                                       6.3    $640.00           $4,032.00           $0.00                0
                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: expert report and supplemental disclosures and            1.2    $640.00            $768.00            $0.00                0
                   Murieta                    call with J. Flanders re: responsive documents from subpoena
                   Equestrian
  3/17/2022 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with J. Flanders T. Brett and I. Wren re: completing expert report
                   Equestrian
  3/18/2022 CCKA   Center       DREVET HUNT                                                                                       0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with I. Wren and J. Flanders re: expert report
                   Equestrian
  3/21/2022 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00            $384.00            $0.00                0
                   Murieta                    call with J. Flanders re: expert report
                   Equestrian
  3/21/2022 CCKA   Center       DREVET HUNT                                                                                       0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: rain data and expert report
                   Equestrian
  3/22/2022 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
  3/23/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: outstanding discovery and ongoing and further in          0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian
  3/24/2022 CCKA   Center       DREVET HUNT   call with team regarding plan and next steps on case                                1.1    $640.00              $0.00          $704.00               1.1
                   Murieta
                   Equestrian
  3/27/2022 CCKA   Center       DREVET HUNT   Review I. Wren final expert report and email team re: need for errata on            0.4    $640.00            $256.00            $0.00                0
                   Murieta                    review I. Wren expert report errata
                   Equestrian
  3/29/2022 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                 Call with I. Wren and J. Flanders re: expert report errata, deposition
  3/29/2022 CCKA   Center       DREVET HUNT   schedule, further fact gathering needs                                              0.5    $640.00            $320.00            $0.00                0
                   Murieta                    meeting with J. Flanders and T. Brett re: case tasks and to-do; discuss
                   Equestrian                 strategies and outstanding issues
  3/30/2022 CCKA   Center       DREVET HUNT                                                                                       0.9    $640.00            $576.00            $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta                    Provide comments on draft meet and confer letter on requests for
                   Equestrian                 production
   4/1/2022 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00            $256.00            $0.00                0
                   Murieta                    provide comments on draft meet and confer letter on RFAs
                   Equestrian
   4/4/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta                    review documents production in response to 3rd requests for
                   Equestrian                 production
   4/4/2022 CCKA   Center       DREVET HUNT                                                                                      2.5    $640.00           $1,600.00           $0.00                0
                   Murieta                    respond to J. Flanders corr re: requests for admission and requests for
                   Equestrian                 production meet and confer letters
   4/4/2022 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta                    prep (review documents and corr) for call with J. Flanders re: I. Wren
                   Equestrian                 deposition, and defendant's defective discovery responses, strategies
   4/5/2022 CCKA   Center       DREVET HUNT   moving forward                                                                     1.4    $640.00              $0.00          $896.00               1.4
                   Murieta                    Call with J. Flanders re: I. Wren deposition, and defendant's defective
                   Equestrian                 discovery responses, strategies moving forward
   4/5/2022 CCKA   Center       DREVET HUNT                                                                                      1.4    $640.00            $896.00            $0.00                0
                   Murieta                    I. Wren deposition prep with J. Flanders and IW
                   Equestrian
   4/6/2022 CCKA   Center       DREVET HUNT                                                                                      1.6    $640.00           $1,024.00           $0.00                0
                   Murieta                    review J. Flanders email to opposing counsel re: WW inspection;
                   Equestrian                 provide comment
   4/6/2022 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with J. Flanders re: wet weather inspection
                   Equestrian
   4/6/2022 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: discovery meet and confer
                   Equestrian
   4/7/2022 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta                    IW deposition prep with J. Flanders and IW
                   Equestrian
   4/8/2022 CCKA   Center       DREVET HUNT                                                                                      3.5    $640.00           $2,240.00           $0.00                0
                   Murieta                    meet and confer with opposing counsel re: wet weather inspection
                   Equestrian
   4/8/2022 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $384.00            $0.00                0
                   Murieta                    prep with J. Flanders for meet and confer with opposing counsel re: wet
                   Equestrian                 weather inspection; review relevant documents
   4/8/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $128.00           $64.00               0.1
                   Murieta
                   Equestrian
   4/8/2022 CCKA   Center       DREVET HUNT   follow up with J. Flanders after meet and confer with opposing counsel r           0.3    $640.00            $192.00            $0.00                0
                   Murieta                    review J. Flanders draft stip/mot to compel wet weather inspection
                   Equestrian
  4/11/2022 CCKA   Center       DREVET HUNT                                                                                      1.7    $640.00           $1,088.00           $0.00                0




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                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta                    meet with T. Brett J. Flanders and I. Wren re: deposition prep and
                   Equestrian                 responses to discovery production
  4/11/2022 CCKA   Center       DREVET HUNT                                                                                           1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center       DREVET HUNT   meet and confer with opposing counsel re: objections to wet weather ins                 0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center       DREVET HUNT   review objections to deposition notice; provide comments re: same                       0.4    $640.00            $256.00            $0.00                0
                   Murieta                    call with J. Flanders re: joint stipulation on Rule 34 site inspection
                   Equestrian
  4/11/2022 CCKA   Center       DREVET HUNT                                                                                           0.2    $640.00            $128.00            $0.00                0
                   Murieta                    review J. Flanders draft letter brief re: informal discovery dispute Rule
                   Equestrian                 34; corr with J. Flanders re: same
  4/11/2022 CCKA   Center       DREVET HUNT                                                                                           0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center       DREVET HUNT   revise and further edits to draft letter brief re: informal discovery dispute           0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian
  4/12/2022 CCKA   Center       DREVET HUNT   revise and further edits to draft letter brief re: informal discovery dispute           0.8    $640.00            $512.00            $0.00                0
                   Murieta                    call with J. Flanders re: realignment of stream/ditch and documents re:
                   Equestrian                 same
  4/15/2022 CCKA   Center       DREVET HUNT                                                                                           0.4    $640.00            $256.00            $0.00                0
                   Murieta                    document review and investigation related to realignment of
                   Equestrian                 stream/ditch
  4/15/2022 CCKA   Center       DREVET HUNT                                                                                           1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center       DREVET HUNT   review J. Flanders memo on wet weather inspection and expert disclosu                   0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center       DREVET HUNT   research need to supplement expert report; provide conclusions to team                  0.8    $640.00            $512.00            $0.00                0
                   Murieta                    call with J. Flanders to prep for discovery meeting with Court
                   Equestrian
  4/18/2022 CCKA   Center       DREVET HUNT                                                                                           0.2    $640.00            $128.00            $0.00                0
                   Murieta                    debrief with J. Flanders to following discovery meeting with Court
                   Equestrian
  4/18/2022 CCKA   Center       DREVET HUNT                                                                                           0.6    $640.00            $384.00            $0.00                0
                   Murieta                    meet and confer with opposing counsel re: wet weather inspection
                   Equestrian
  4/18/2022 CCKA   Center       DREVET HUNT                                                                                           0.5    $640.00            $320.00            $0.00                0
                   Murieta                    follow up with J. Flanders after meet and confer with opposing counsel
                   Equestrian                 re: wet weather inspection
  4/18/2022 CCKA   Center       DREVET HUNT                                                                                           0.4    $640.00            $192.00           $64.00               0.1




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                                              call with J. Flanders re: all outstanding items, including extensive
                   Murieta                    evaluation of defendant's request to amend the scheduling order for
                   Equestrian                 new expert report and deposition deadlines; and review of all other
  4/19/2022 CCKA   Center       DREVET HUNT   needed discovery for the case                                                         1.8    $640.00           $1,088.00          $64.00               0.1
                   Murieta                    review draft email form J. Flanders to opposing counsel re: request to
                   Equestrian                 adjust case scheduling order; provide comments on same
  4/19/2022 CCKA   Center       DREVET HUNT                                                                                         0.3    $640.00            $192.00            $0.00                0
                   Murieta                    call with J. Flanders re: defendant request to adjust case scheduling
                   Equestrian                 order
  4/19/2022 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta                    email and calls with J. Flanders re: opp counsel proposals re:
                   Equestrian                 supplemental expert disclosures and schedule, brief call and
  4/20/2022 CCKA   Center       DREVET HUNT   correspondence with J. Flanders re: same                                              0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center       DREVET HUNT   Review Interrogatories drafted by T Brett; provide comments re: same                  0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian
  4/22/2022 CCKA   Center       DREVET HUNT   call with J. Flanders follow up from wet weather inspection                           0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
  4/25/2022 CCKA   Center       DREVET HUNT   review draft 30b6 deposition notice; comment re: same                                 0.3    $640.00            $192.00            $0.00                0
                   Murieta                    call with J. Flanders re: Interrogatories, site inspections, depositions
                   Equestrian                 needed, litigation strategies
  4/26/2022 CCKA   Center       DREVET HUNT                                                                                         1.6    $640.00           $1,024.00           $0.00                0
                   Murieta                    review and respond re: corr regarding scheduling case from opposing
                   Equestrian                 counsel
  4/26/2022 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: scheduling order and sampling results                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center       DREVET HUNT   corr with co-counsel re: Carol Anderson Ward subpoena service attemp                  0.2    $640.00            $128.00            $0.00                0
                   Murieta                    review and provide edits to interrogatories set two
                   Equestrian
  4/27/2022 CCKA   Center       DREVET HUNT                                                                                         0.7    $640.00            $448.00            $0.00                0
                   Murieta                    corr with co-counsel re: revisions to interrogatories set two
                   Equestrian
  4/28/2022 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta                    review and analyze I. Wren supplemental expert report needs
                   Equestrian
  4/28/2022 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center       DREVET HUNT   call with co-counsel re: strategize and questions to ask in interrogatories           0.9    $640.00            $576.00            $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta                    call with I. Wren re: supplemental expert report
                   Equestrian
  4/28/2022 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center       DREVET HUNT   review and provide comments on I. Wren supplemental expert report                     1.7    $640.00           $1,088.00           $0.00               0
                   Murieta                    call with J. Flanders re: I. Wren supplemental expert report and ROGs
                   Equestrian
  4/29/2022 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00            $320.00            $0.00               0
                   Murieta                    call with J. Flanders and I. Wren re: I. Wren supplemental expert report
                   Equestrian
   5/2/2022 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00            $320.00            $0.00               0
                   Murieta                    call with J. Flanders re: I. Wren supplemental expert report
                   Equestrian
   5/2/2022 CCKA   Center       DREVET HUNT                                                                                         0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center       DREVET HUNT   review documents produced in discovery responses; code and categoriz                  1.4    $640.00            $896.00            $0.00               0
                   Murieta                    call with J. Flanders re: discovery needs, litigation planning, I. Wren for
                   Equestrian                 part on dry weather inspection tests
   5/3/2022 CCKA   Center       DREVET HUNT                                                                                         1.0    $640.00            $640.00            $0.00               0
                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center       DREVET HUNT   review revised 30b6 deposition notice and Rule 34 request; provide com                0.3    $640.00            $192.00            $0.00               0
                   Murieta                    corr with co-counsel re: comments on 30b6 deposition notice and Rule
                   Equestrian                 34 request
   5/5/2022 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00            $128.00            $0.00               0
                   Murieta                    meet and confer with opposing counsel re: numerous discovery
                   Equestrian                 responses
   5/6/2022 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00            $512.00            $0.00               0
                   Murieta                    follow up with J. Flanders and T. Brett to meet and confer with
                   Equestrian                 opposing counsel re: numerous discovery responses
   5/6/2022 CCKA   Center       DREVET HUNT                                                                                         1.4    $640.00            $896.00            $0.00               0
                   Murieta                    prep for meet and confer with opposing counsel re: numerous
                   Equestrian                 discovery responses (dry weather inspection, requests for production
   5/6/2022 CCKA   Center       DREVET HUNT   responses, subpoena for creek inspection)                                             0.3    $640.00            $192.00            $0.00               0
                   Murieta                    review T. Brett research on motion to compel requests for admission
                   Equestrian                 responses
   5/9/2022 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00            $320.00            $0.00               0
                   Murieta                    research service of subpoena by alternate means
                   Equestrian
   5/9/2022 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center       DREVET HUNT   review scheduling proposals from Def; corr with co-counsel re: same                   0.2    $640.00            $128.00            $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: review scheduling proposals from Def; suppleme           0.3    $640.00           $192.00           $0.00                0
                   Murieta                    meet with SB re: information for Bothwell declaration
                   Equestrian
   5/9/2022 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00           $320.00           $0.00                0
                   Murieta                    provide edits to motion for service of subpoena by alternate means
                   Equestrian
  5/10/2022 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00             $0.00         $448.00               0.7
                   Murieta                    dry weather inspection request review and revisions; circulate to team
                   Equestrian
  5/10/2022 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta                    call with J. Flanders re: all scheduling issues and discovery
                   Equestrian
  5/10/2022 CCKA   Center       DREVET HUNT                                                                                      1.2    $640.00           $768.00           $0.00                0
                   Murieta                    attend I. Wren supplemental deposition (only able to attend part)
                   Equestrian
  5/10/2022 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00           $640.00           $0.00                0
                   Murieta                    call with T. Brett and J. Flanders re: motion for leave to serve Federal
                   Equestrian                 Rule of Civil Procedure 45 by alternative means
  5/11/2022 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian
  5/13/2022 CCKA   Center       DREVET HUNT   corr with co-counsel reopposing counsel response to motion to serve su             0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with J. Flanders re: motions re: service of Anderson Trust
                   Equestrian                 subpoena
  5/13/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with E. Maharg and SB re: document production and Bothwell
                   Equestrian                 declaration
  5/13/2022 CCKA   Center       DREVET HUNT                                                                                      1.5    $640.00           $960.00           $0.00                0
                   Murieta
                   Equestrian
  5/17/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: open discovery items and upcoming depositions            0.9    $640.00           $576.00           $0.00                0
                   Murieta                    call with J. Flanders and CH re: Requests for Production responses
                   Equestrian                 and objections
  5/19/2022 CCKA   Center       DREVET HUNT                                                                                      1.4    $640.00           $832.00          $64.00               0.1
                   Murieta                    call with J. Flanders re: requests for production responses
                   Equestrian
  5/20/2022 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta                    review defendant's expert report
                   Equestrian
  5/23/2022 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00           $384.00           $0.00                0
                   Murieta                    collect documents to respond to Def's discovery
                   Equestrian
  5/23/2022 CCKA   Center       DREVET HUNT                                                                                      1.5    $640.00           $960.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta                    collect documents to respond to Def's discovery
                   Equestrian
  5/24/2022 CCKA   Center       DREVET HUNT                                                                                      1.5    $640.00            $960.00            $0.00                0
                   Murieta                    corr with team re: requests for production set four
                   Equestrian
  5/24/2022 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with J. Flanders re: Def expert report and multiple related
                   Equestrian                 outstanding discovery devices and disputes
  5/24/2022 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $320.00           $64.00               0.1
                   Murieta                    full review of Paulsen expert report
                   Equestrian
  5/24/2022 CCKA   Center       DREVET HUNT                                                                                      1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center       DREVET HUNT   review draft response to interrogatory responses; provide comments to              0.8    $640.00            $512.00            $0.00                0
                   Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes River
                   Equestrian
  5/25/2022 CCKA   Center       DREVET HUNT                                                                                      2.5    $640.00           $1,600.00           $0.00                0
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center       DREVET HUNT   numerous email with co-counsel re: outstanding discovery responses an              0.3    $640.00            $192.00            $0.00                0
                   Murieta                    prep for meet and confer with opposing counsel re: document
                   Equestrian                 production
  5/25/2022 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta                    meet and confer with opposing counsel re: document production
                   Equestrian
  5/25/2022 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center       DREVET HUNT   follow-up with J. Flanders re: meet and confer with opposing counsel re:           0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center       DREVET HUNT   review Def response to motion for alternate service of subpoena; corr w            0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center       DREVET HUNT   corr with T. Brett re: subpoena to Thunder Mountain; review subpoena               0.3    $640.00            $192.00            $0.00                0
                   Murieta                    call with J. Flanders re: re expert report and deposition prep
                   Equestrian
  5/26/2022 CCKA   Center       DREVET HUNT                                                                                      1.4    $640.00            $896.00            $0.00                0
                   Murieta
                   Equestrian
  5/27/2022 CCKA   Center       DREVET HUNT   call with J. Flanders and I. Wren re: rebuttal expert report                       1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center       DREVET HUNT   corr with E. Maharg and CH re: discovery responses.                                0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                     Judgment Fee     Judgment
                                                                                                                                                                     Reduction        Time
                                                                                                                                                                                      Reduction
                   Murieta                    call with T. Brett and J. Flanders re: remaining discovery and strategy
                   Equestrian                 moving forward
   6/1/2022 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00                 0
                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center       DREVET HUNT   review def latest document production; identify key documents                     1.2    $640.00            $768.00            $0.00                 0
                   Murieta                    corr with co-counsel re: 30b6 deposition prep; document identification
                   Equestrian
   6/2/2022 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    call with J. Flanders re: document production search and process, I.
                   Equestrian                 Wren rebuttal report, 30(b)(6) deposition prep
   6/2/2022 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                 0
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center       DREVET HUNT   review interrogatory responses and provide edits and comments                     0.3    $640.00            $192.00            $0.00                 0
                   Murieta                    call with E. Maharg re: document production and documents to produce
                   Equestrian
   6/2/2022 CCKA   Center       DREVET HUNT                                                                                     1.7    $640.00           $1,088.00           $0.00                 0
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center       DREVET HUNT   review Paulsen report and cited documents to assist J. Flanders deposit           1.6    $640.00              $0.00         $1,024.00               1.6
                   Murieta                    doc review to prep for 30b6 deposition
                   Equestrian
   6/3/2022 CCKA   Center       DREVET HUNT                                                                                     2.1    $640.00           $1,344.00           $0.00                 0
                   Murieta                    call with J. Flanders re: documents for depositions and document
                   Equestrian                 production
   6/3/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                 0
                   Murieta                    draft 30b6 outline deposition
                   Equestrian
   6/3/2022 CCKA   Center       DREVET HUNT                                                                                     1.8    $640.00           $1,152.00           $0.00                 0
                   Murieta                    meet with C Capps, J Flanders and E Maharg re: document review and
                   Equestrian                 research
   6/3/2022 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00                 0
                   Murieta                    meet with C Capps, C Hudak and T Brett re: document review and
                   Equestrian                 research
   6/3/2022 CCKA   Center       DREVET HUNT                                                                                     1.2    $640.00            $768.00            $0.00                 0
                   Murieta
                   Equestrian
   6/5/2022 CCKA   Center       DREVET HUNT   review documents to prep for 30b6 deposition; identify key documents a            3.5    $640.00           $2,240.00           $0.00                 0
                   Murieta                    call with T. Brett and J. Flanders re: deposition prep 30b6
                   Equestrian
   6/6/2022 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $448.00           $64.00                0.1
                   Murieta                    call with T. Brett re: documents for deposition prep 30b6
                   Equestrian
   6/6/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                 0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta                    continue 30b6 deposition prep; collect documents; prepare questions
                   Equestrian
   6/7/2022 CCKA   Center       DREVET HUNT                                                                                      2.5    $640.00           $1,600.00           $0.00               0
                   Murieta                    continue Paulsen deposition prep; collect documents; prepare
                   Equestrian                 questions
   6/7/2022 CCKA   Center       DREVET HUNT                                                                                      1.5    $640.00            $960.00            $0.00               0
                   Murieta                    call with J. Flanders to walk through 30b6 and Paulsen deposition
                   Equestrian                 questions and follow up
   6/7/2022 CCKA   Center       DREVET HUNT                                                                                      1.5    $640.00            $960.00            $0.00               0
                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center       DREVET HUNT   review supplemental disclosure by Def day prior to Paulsen deposition; d           0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian
   6/8/2022 CCKA   Center       DREVET HUNT   travel to expert and 30b6 deposition                                               2.0    $640.00            $640.00          $640.00               1
                   Murieta                    appear and assist at Paulsen Deposition
                   Equestrian
   6/8/2022 CCKA   Center       DREVET HUNT                                                                                      7.5    $640.00           $4,800.00           $0.00               0
                   Murieta
                   Equestrian
   6/8/2022 CCKA   Center       DREVET HUNT   review 30b6 deposition outline and walk through with J. Flanders                   2.0    $640.00           $1,280.00           $0.00               0
                   Murieta                    prep documents and binders for 30b6 deposition to assist J. Flanders
                   Equestrian
   6/8/2022 CCKA   Center       DREVET HUNT                                                                                      1.8    $218.00            $392.40            $0.00               0
                   Murieta                    call with J. Flanders re: Paulsen deposition prep
                   Equestrian
   6/8/2022 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00            $256.00            $0.00               0
                   Murieta                    prep with J. Flanders for 30b6 deposition
                   Equestrian
   6/9/2022 CCKA   Center       DREVET HUNT                                                                                      1.5    $640.00            $960.00            $0.00               0
                   Murieta                    attend and assist at 30b6 deposition
                   Equestrian
   6/9/2022 CCKA   Center       DREVET HUNT                                                                                      5.5    $640.00           $3,520.00           $0.00               0
                   Murieta                    meet with J. Flanders re: case strategy and analysis following
                   Equestrian                 deposition of defendant 30(b)(6)
   6/9/2022 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00               0
                   Murieta                    call with J. Flanders re: creek and facility dry weather inspections,
                   Equestrian                 following depositions
   6/9/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta                    call with J. Flanders re: call from opposing counsel re: expert schedule
                   Equestrian                 and mediation
  6/10/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta                    call with J. Flanders re: mediation and related issues following
                   Equestrian                 depositions
  6/10/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00               0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta                    call with J. Flanders opposing counsel request for multiple revisions to
                   Equestrian                 scheduling order, outstanding document needs from Defendant
  6/15/2022 CCKA   Center       DREVET HUNT                                                                                        1.1    $640.00            $704.00            $0.00               0
                   Murieta
                   Equestrian
  6/20/2022 CCKA   Center       DREVET HUNT   scheduling and case strategy emails with co-counsel                                  0.2    $640.00            $128.00            $0.00               0
                   Murieta                     call with J. Flanders re: SUF, Rancho Murieta Community Services
                   Equestrian                 District deposition,
  6/21/2022 CCKA   Center       DREVET HUNT                                                                                        1.0    $640.00            $640.00            $0.00               0
                   Murieta                    preliminary review of Paulsen deposition transcript; call with J. Flanders
                   Equestrian                 re: same
  6/21/2022 CCKA   Center       DREVET HUNT                                                                                        0.6    $640.00            $384.00            $0.00               0
                   Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes River
                   Equestrian
  6/28/2022 CCKA   Center       DREVET HUNT                                                                                        8.5    $640.00           $5,440.00           $0.00               0
                   Murieta                    call with J. Flanders re: Rancho Murieta Community Services District
                   Equestrian                 deposition, Rancho Murieta Community Services District documents,
  6/29/2022 CCKA   Center       DREVET HUNT   Wren rebuttal, related considerations                                                0.8    $640.00            $512.00            $0.00               0
                   Murieta                    call with J. Flanders and I. Wren re: rebuttal report
                   Equestrian
  6/30/2022 CCKA   Center       DREVET HUNT                                                                                        1.4    $640.00            $896.00            $0.00               0
                   Murieta                    call with J. Flanders re: subpoena for Rancho Murieta Community
                   Equestrian                 Services District and purpose
  6/30/2022 CCKA   Center       DREVET HUNT                                                                                        0.7    $640.00            $448.00            $0.00               0
                   Murieta                    call with J. Flanders re: Rancho Murieta Community Services District
                   Equestrian                 depo, Wren rebuttal
   7/5/2022 CCKA   Center       DREVET HUNT                                                                                        0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                 Call with J. Flanders re: mediation
   7/6/2022 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
  7/12/2022 CCKA   Center       DREVET HUNT   review Rancho Murieta Community Services District documents and ope                  1.8    $640.00           $1,152.00           $0.00               0
                   Murieta                    call with J. Flanders to prep for Rancho Murieta Community Services
                   Equestrian                 District deposition
  7/14/2022 CCKA   Center       DREVET HUNT                                                                                        1.7    $640.00           $1,088.00           $0.00               0
                   Murieta                    call with J. Flanders re: wren deposition prep
                   Equestrian
  7/14/2022 CCKA   Center       DREVET HUNT                                                                                        0.3    $640.00            $192.00            $0.00               0
                   Murieta                    Rancho Murieta Community Services District deposition (assist J.
                   Equestrian                 Flanders)
  7/15/2022 CCKA   Center       DREVET HUNT                                                                                        2.3    $640.00           $1,472.00           $0.00               0
                   Murieta                    corr with J. Flanders re: amended Wren deposition notice
                   Equestrian
  7/15/2022 CCKA   Center       DREVET HUNT                                                                                        0.1    $640.00             $64.00            $0.00               0




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Date      Client   Matter       Staff         Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    call with J. Flanders re: Wren deposition and mediation scheduling
                   Equestrian
  7/18/2022 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with team re: plan for and delegation of responsibilities for coding
                   Equestrian                 facts for SUF re: Motion for Summary Judgment
  7/18/2022 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00           $512.00           $0.00                0
                   Murieta                    meet with C Capps and J Flanders re: document review for mediation
                   Equestrian
  7/18/2022 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00                0
                   Murieta                    call with J. Flanders re: case schedule and mediation
                   Equestrian
  7/19/2022 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta                    call with co-counsel re: document organization and identifying
                   Equestrian                 documents for Motion for Summary Judgment preparations
  7/20/2022 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00           $320.00         $192.00               0.3
                   Murieta                    call with J. Flanders re: settlement strategy
                   Equestrian
  7/20/2022 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta                    meet with C Capps and J Flanders re: document review for mediation
                   Equestrian
  7/20/2022 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00                0
                   Murieta                    meeting with J. Flanders and SB re: settlement
                   Equestrian
  7/21/2022 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders re: settlement
  7/21/2022 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta                    call with J. Flanders re: marshalling and organizing evidence for Motion
                   Equestrian                 for Summary Judgment opening brief and settlement statement;
   8/2/2022 CCKA   Center       DREVET HUNT   settlement evaluation                                                               0.5    $640.00           $320.00           $0.00                0
                   Murieta                    call with J. Flanders and co-counsel re: discovery document
                   Equestrian                 organization and management for Motion for Summary Judgment;
  8/10/2022 CCKA   Center       DREVET HUNT   identifying documents to support claims                                             1.3    $640.00           $832.00           $0.00                0
                   Murieta                    meet with C Capps re: SUF progress
                   Equestrian
  8/18/2022 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00                0
                   Murieta                    meet with C Capps re: SUF progress
                   Equestrian
  8/25/2022 CCKA   Center       DREVET HUNT                                                                                       0.9    $640.00           $576.00           $0.00                0
                   Murieta                    Meet with J. Flanders and C. Capps re: organizing discovery evidence
                   Equestrian                 for Motion for Summary Judgment
  8/25/2022 CCKA   Center       DREVET HUNT                                                                                       1.3    $640.00           $832.00           $0.00                0
                   Murieta                    call with J. Flanders and co-counsel re: documents to support SUF
                   Equestrian
  8/26/2022 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00                0




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Date      Client   Matter       Staff         Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta                    meet with C Capps re: document review and findings
                   Equestrian
  8/26/2022 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00            $640.00            $0.00               0
                   Murieta                    meet with team re: document review and findings and additional coding
                   Equestrian
  8/31/2022 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00            $640.00            $0.00               0
                   Murieta                    meet with C Capps re: documents to be located and duplicates to be
                   Equestrian                 deleted from database
   9/1/2022 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00              $0.00          $640.00               1
                   Murieta                    conference with J. Flanders re: mediation statement and Motion for
                   Equestrian                 Summary Judgment
  9/13/2022 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00            $640.00            $0.00               0
                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center       DREVET HUNT   review draft mediation brief; provide comments                                     0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center       DREVET HUNT   meet with J. Flanders re: mediation                                                1.2    $640.00            $768.00            $0.00               0
                   Murieta                    prepare draft Consent Decree in advance of mediation
                   Equestrian
  9/20/2022 CCKA   Center       DREVET HUNT                                                                                      1.7    $640.00           $1,088.00           $0.00               0
                   Murieta                    call re: draft mediation brief with J. Flanders
                   Equestrian
  9/22/2022 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $384.00            $0.00               0
                   Murieta                    review and revise mediation brief; provide edits to co-counsel
                   Equestrian
  9/22/2022 CCKA   Center       DREVET HUNT                                                                                      1.9    $640.00           $1,216.00           $0.00               0
                   Murieta                    attend mediation
                   Equestrian
  9/30/2022 CCKA   Center       DREVET HUNT                                                                                      4.0    $640.00           $2,560.00           $0.00               0
                   Murieta                    follow up mediation call for mediation
                   Equestrian
  9/30/2022 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta                    call with J. Flanders re: settlement comms from Def counsel
                   Equestrian
 10/17/2022 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta                    call with J. Flanders re: sett conf with magistrate
                   Equestrian
 10/18/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta                    review motion to stay due to Sackett v U.S. Environmental Protection
                   Equestrian                 Agency
 10/18/2022 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00               0
                   Murieta                    Call with J. Flanders re: opposition to stay waters of the United States
                   Equestrian                 briefing
 10/19/2022 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00               0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta                    corr with J. Flanders re: opposing counsel motion to stay waters of the
                   Equestrian                 United States claims
 10/20/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta                    review motion to stay due to Sackett v U.S. Environmental Protection
                   Equestrian                 Agency
 10/20/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00           $320.00           $0.00                0
                   Murieta                    call with J. Flanders re: motion to stay due to Sackett v U.S.
                   Equestrian                 Environmental Protection Agency
 10/24/2022 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta                    revisions to opp to stay waters of the United States
                   Equestrian
 10/25/2022 CCKA   Center       DREVET HUNT                                                                                     0.6    $640.00           $384.00           $0.00                0
                   Murieta                    call with J. Flanders re: Motion for Summary Judgment prep
                   Equestrian
 10/26/2022 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00           $128.00          $64.00               0.1
                   Murieta                    call with J. Flanders re: settlement process; follow up corr re: same
                   Equestrian
  11/1/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian
  11/2/2022 CCKA   Center       DREVET HUNT   zoom with Mag Newman and counsel re: settlement                                   0.9    $640.00           $576.00           $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders in preparation for mediation Zoom with Magistrate
  11/2/2022 CCKA   Center       DREVET HUNT   Newman                                                                            0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian
  11/3/2022 CCKA   Center       DREVET HUNT   zoom with J. Flanders to review evidence and discuss and coordinate M             1.3    $640.00           $832.00           $0.00                0
                   Murieta                    meet with E. Maharg re: Bothwell declaration
                   Equestrian
  11/4/2022 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00           $128.00           $0.00                0
                   Murieta                    call with T. Brett re: SUF and document review
                   Equestrian
  11/7/2022 CCKA   Center       DREVET HUNT                                                                                     0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian
  11/9/2022 CCKA   Center       DREVET HUNT   review and respond to J. Flanders email following discussion with oppos           0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with team re: opp to motion to stay
                   Equestrian
 11/10/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
 11/14/2022 CCKA   Center       DREVET HUNT   review arguments and law in Def motion to stay                                    0.7    $640.00           $448.00           $0.00                0
                   Murieta                    call with T. Brett re: opp to Motion to Stay
                   Equestrian
 11/16/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00            $64.00           $0.00                0




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Date      Client   Matter       Staff         Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center       DREVET HUNT   review respond to email from co-counsel re: Motion for Summary Judgm              0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
 11/18/2022 CCKA   Center       DREVET HUNT   review respond to email from co-counsel re: Motion for Summary Judgm              0.1    $640.00              $0.00           $64.00               0.1
                   Murieta                    review draft opp to motion to stay; provide revisions
                   Equestrian
 11/18/2022 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00                0
                   Murieta                    call with T. Brett and I. Wren re: evidence for Motion for Summary
                   Equestrian                 Judgment
 11/21/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: waters of the United States argument strategy
                   Equestrian
 11/21/2022 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta                    revisions to opp to motion to stay; send to T Brett
                   Equestrian
 11/21/2022 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00                0
                   Murieta                    corr with co-counsel re: revisions to opp to motion to stay
                   Equestrian
 11/21/2022 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta                    further revisions to opp to motion to stay; send to team
                   Equestrian
 11/22/2022 CCKA   Center       DREVET HUNT                                                                                     0.6    $640.00              $0.00          $384.00               0.6
                   Murieta                    meet with J. Flanders re: Motion for Summary Judgment exhibits and
                   Equestrian                 factual support for SUF
 11/30/2022 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00                0
                   Murieta                    meet with T. Brett re: Motion for Summary Judgment exhibits and
                   Equestrian                 factual support for SUF
  12/1/2022 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $640.00            $0.00                0
                   Murieta                    meet with J. Flanders re: SUF and factual support
                   Equestrian
  12/1/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta                    Call with J. Flanders re: SUF
                   Equestrian
  12/5/2022 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta                    revisions to Motion for Summary Judgment; provide to J. Flanders for
                   Equestrian                 consideration and incorporation
  12/6/2022 CCKA   Center       DREVET HUNT                                                                                     1.9    $640.00           $1,216.00           $0.00                0
                   Murieta                    meet with J. Flanders and T. Brett re: Wren declaration Motion for
                   Equestrian                 Summary Judgment exhibits
  12/8/2022 CCKA   Center       DREVET HUNT                                                                                     1.0    $640.00            $576.00           $64.00               0.1
                   Murieta                    corr with E. Maharg re: Bothwell Dec
                   Equestrian
  12/8/2022 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta                    review draft Motion for Summary Judgment and propose edits; send to
                   Equestrian                 J. Flanders
 12/12/2022 CCKA   Center       DREVET HUNT                                                                                    1.7    $640.00           $1,088.00           $0.00                0
                   Murieta                    call with J. Flanders re: revisions to Motion for Summary Judgment
                   Equestrian
 12/12/2022 CCKA   Center       DREVET HUNT                                                                                    0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center       DREVET HUNT   coordinate and select exhibits for Motion for Summary Judgment suppor            0.8    $640.00            $512.00            $0.00                0
                   Murieta                    further calls with J. Flanders re: key exhibits for SUF/MSJ
                   Equestrian
 12/13/2022 CCKA   Center       DREVET HUNT                                                                                    0.7    $640.00              $0.00          $448.00               0.7
                   Murieta                    call with T. Brett re: selecting exhibits for SUF/MSJ
                   Equestrian
 12/13/2022 CCKA   Center       DREVET HUNT                                                                                    1.2    $640.00            $768.00            $0.00                0
                   Murieta                    call with T. Brett re: numbering exhibits for SUF/MSJ
                   Equestrian
 12/13/2022 CCKA   Center       DREVET HUNT                                                                                    0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center       DREVET HUNT   corr (several emails) with T. Brett re: numbering exhibits for SUF/MSJ           0.2    $640.00            $128.00            $0.00                0
                   Murieta                    further calls with T. Brett re: numbering exhibits for SUF/MSJ
                   Equestrian
 12/13/2022 CCKA   Center       DREVET HUNT                                                                                    0.3    $640.00            $192.00            $0.00                0
                   Murieta                    review fristschi deposition for info for Motion for Summary Judgment
                   Equestrian
 12/13/2022 CCKA   Center       DREVET HUNT                                                                                    1.0    $640.00            $640.00            $0.00                0
                   Murieta                    email with E. Bustos re: drone footage lodging with Motion for
                   Equestrian                 Summary Judgment
 12/13/2022 CCKA   Center       DREVET HUNT                                                                                    0.3    $640.00            $192.00            $0.00                0
                   Murieta                    emails with T. Brett re: days and dates of violation and evidence
                   Equestrian                 development
 12/14/2022 CCKA   Center       DREVET HUNT                                                                                    0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with J. Flanders re: days and dates of violation and evidence
                   Equestrian
 12/14/2022 CCKA   Center       DREVET HUNT                                                                                    0.8    $640.00            $512.00            $0.00                0
                   Murieta                    calls and email with E. Bustos re: Pearson deposition transcript
                   Equestrian                 excerpts for Motion for Summary Judgment
 12/14/2022 CCKA   Center       DREVET HUNT                                                                                    0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                 Call with TB re: discharge to waters of the United States spreadsheet.
 12/14/2022 CCKA   Center       DREVET HUNT                                                                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta                    revisions to Motion for Summary Judgment; provide to J. Flanders for
                   Equestrian                 consideration and incorporation
 12/15/2022 CCKA   Center       DREVET HUNT                                                                                    2.3    $640.00           $1,472.00           $0.00                0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta                    call with J. Flanders re: facts evidence and needs for Motion for
                   Equestrian                 Summary Judgment
 12/15/2022 CCKA   Center       DREVET HUNT                                                                                   0.3    $640.00            $128.00           $64.00               0.1
                   Murieta                    final review of Motion for Summary Judgment; last edits
                   Equestrian
 12/16/2022 CCKA   Center       DREVET HUNT                                                                                   0.5    $640.00              $0.00          $320.00               0.5
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       DREVET HUNT   review and cite check SUF to evidence                                           1.5    $218.00            $327.00            $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       DREVET HUNT   corr with team re: proposed edits to I. Wren declaration                        0.4    $640.00            $256.00            $0.00                0
                   Murieta                    review Def's Motion for Summary Judgment re: standing and case law
                   Equestrian                 cited
 12/20/2022 CCKA   Center       DREVET HUNT                                                                                   1.3    $640.00            $832.00            $0.00                0
                   Murieta                    corr with E. Bustos re: lodging drone footage
                   Equestrian
   1/6/2023 CCKA   Center       DREVET HUNT                                                                                   0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center       DREVET HUNT   further review and comment on Def's Motion for Summary Judgment; cir            1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian
  1/10/2023 CCKA   Center       DREVET HUNT   review Def SUF; provide comments to team                                        1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian
  1/12/2023 CCKA   Center       DREVET HUNT   draft Bothwell Dec (2nd)                                                        1.2    $640.00            $768.00            $0.00                0
                   Murieta                    review draft opp to defendant's Motion for Summary Judgment; provide
                   Equestrian                 edits to team
  1/15/2023 CCKA   Center       DREVET HUNT                                                                                   2.8    $640.00           $1,792.00           $0.00                0
                   Murieta                    corr with T. Brett re: draft second Bothwell dec
                   Equestrian
  1/18/2023 CCKA   Center       DREVET HUNT                                                                                   0.3    $640.00            $192.00            $0.00                0
                   Murieta                    review defendants opp to Motion for Summary Judgment; outline
                   Equestrian                 responses
  1/19/2023 CCKA   Center       DREVET HUNT                                                                                   1.3    $640.00            $832.00            $0.00                0
                   Murieta                    call with J. Flanders re: Motion for Summary Judgment reply
                   Equestrian
  1/20/2023 CCKA   Center       DREVET HUNT                                                                                   0.8    $640.00            $512.00            $0.00                0
                   Murieta                    review Paulsen dec opp to Motion for Summary Judgment
                   Equestrian
  1/20/2023 CCKA   Center       DREVET HUNT                                                                                   0.8    $640.00            $512.00            $0.00                0
                   Murieta                    call with J. Flanders re: tasks for reply to Motion for Summary
                   Equestrian                 Judgment
  1/31/2023 CCKA   Center       DREVET HUNT                                                                                   1.0    $640.00            $448.00          $192.00               0.3




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Date      Client   Matter       Staff         Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta                    develop objections to evidence for reply on Motion for Summary
                   Equestrian                 Judgment
  1/31/2023 CCKA   Center       DREVET HUNT                                                                                      1.3    $640.00            $832.00            $0.00                0
                   Murieta                    evaluate defendant argument on Concentrated Animal Feeding
                   Equestrian                 Operation regulations and applicability to Murieta Equestrian Center
   2/1/2023 CCKA   Center       DREVET HUNT   operations; ag stormwater arguments                                                1.9    $640.00           $1,216.00           $0.00                0
                   Murieta                    emails with J. Flanders re: summary of claims
                   Equestrian
   2/2/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta                    call and corr with team re: coordinating tasks and tasks need to reply
                   Equestrian                 on Motion for Summary Judgment
   2/6/2023 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center       DREVET HUNT   provide revisions to sections f draft Motion for Summary Judgment provi            1.5    $640.00            $960.00            $0.00                0
                   Murieta                    draft reply to Motion for Summary Judgment (ag stormwater)
                   Equestrian
   2/7/2023 CCKA   Center       DREVET HUNT                                                                                      1.3    $640.00            $832.00            $0.00                0
                   Murieta                    corr with co-counsel re: status of tasks for reply
                   Equestrian
   2/7/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    research responses to evidentiary objections
                   Equestrian
   2/8/2023 CCKA   Center       DREVET HUNT                                                                                      1.5    $640.00            $960.00            $0.00                0
                   Murieta                    call with J. Flanders and intern re: objections to evidence
                   Equestrian
   2/9/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00              $0.00          $192.00               0.3
                   Murieta                    call with J. Flanders re: Motion for Summary Judgment reply research
                   Equestrian                 and issues
   2/9/2023 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00            $384.00           $64.00               0.1
                   Murieta                    corr with T. Brett re: evid objections
                   Equestrian
  2/10/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    draft reply SUF
                   Equestrian
  2/10/2023 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center       DREVET HUNT   comprehensive review of reply Motion for Summary Judgment; provide e               2.2    $640.00           $1,408.00           $0.00                0
                   Murieta                    further review of reply Motion for Summary Judgment; provide edits to
                   Equestrian                 J. Flanders for incorporation and consideration
  2/13/2023 CCKA   Center       DREVET HUNT                                                                                      1.6    $640.00           $1,024.00           $0.00                0
                   Murieta                    call with J. Flanders re: informational standing arguments
                   Equestrian
  2/14/2023 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $384.00            $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
 12/10/2021 CCKA   Center       DREVET HUNT                                                                                        0.6    $640.00           $384.00           $0.00                0
                   Murieta                    review reply SUF; consider evidentiary citations; provide revisions and
                   Equestrian                 edits
  2/15/2023 CCKA   Center       DREVET HUNT                                                                                        1.4    $640.00           $896.00           $0.00                0
                   Murieta                    call with T. Brett re: reply SUF
                   Equestrian
  2/15/2023 CCKA   Center       DREVET HUNT                                                                                        0.8    $640.00           $448.00          $64.00               0.1
                   Murieta                    call with J. Flanders re: revisions to Motion for Summary Judgment
                   Equestrian                 reply
  2/15/2023 CCKA   Center       DREVET HUNT                                                                                        0.7    $640.00           $448.00           $0.00                0
                   Murieta                    call with T. Brett re: authenticating exhibits for reply Motion for
                   Equestrian                 Summary Judgment
  2/16/2023 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $64.00          $64.00               0.1
                   Murieta                    corr with T. Brett re: reply SUF outstanding issues
                   Equestrian
  2/16/2023 CCKA   Center       DREVET HUNT                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta                    review and edit to reply Motion for Summary Judgment brief; send to
                   Equestrian                 team
  2/16/2023 CCKA   Center       DREVET HUNT                                                                                        1.1    $640.00           $704.00           $0.00                0
                   Murieta                    call with T. Brett re: reply brief
                   Equestrian
  2/17/2023 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00             $0.00         $128.00               0.2
                   Murieta                    call with T. Brett re: reply SUF
                   Equestrian
  2/17/2023 CCKA   Center       DREVET HUNT                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center       DREVET HUNT   review and revise T. Brett declaration in support of reply Motion for Sum            0.6    $640.00           $384.00           $0.00                0
                   Murieta                    review defendant's reply on standing Motion for Summary Judgment
                   Equestrian
  2/20/2023 CCKA   Center       DREVET HUNT                                                                                        0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center       DREVET HUNT   review and respond to corr from T. Brett re: Sur reply to Def Motion for S           0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
  5/25/2023 CCKA   Center       DREVET HUNT   review notice of supplemental authority and review Sackett v U.S. Enviro             1.3    $640.00           $832.00           $0.00                0
                   Murieta                    call with J. Flanders re: response to notice of supplemental authority
                   Equestrian                 and review Sackett v U.S. Environmental Protection Agency decision
  5/25/2023 CCKA   Center       DREVET HUNT                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta                    review draft response to notice of supplementary authority prepared by
                   Equestrian                 J. Flanders
  5/25/2023 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00           $128.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  5/31/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: supplemental Sackett v U.S. Environmental Prot           0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
   6/1/2023 CCKA   Center       DREVET HUNT   review and respond to J. Flanders outline of supplemental Sackett v U.S            0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian
   6/7/2023 CCKA   Center       DREVET HUNT   research Sackett v U.S. Environmental Protection Agency and cases ci               2.3    $640.00           $1,472.00           $0.00                0
                   Murieta                    review J. Flanders draft Sackett v U.S. Environmental Protection
                   Equestrian                 Agency brief; provide edits and comments
  6/16/2023 CCKA   Center       DREVET HUNT                                                                                      2.1    $640.00           $1,344.00           $0.00                0
                   Murieta                    call with J. Flanders re: draft Sackett v U.S. Environmental Protection
                   Equestrian                 Agency brief
  6/16/2023 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta                    further review of Sackett v U.S. Environmental Protection Agency brief;
                   Equestrian                 send to J. Flanders
  6/19/2023 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00              $0.00          $512.00               0.8
                   Murieta                    email corr with T. Brett re: Sackett v U.S. Environmental Protection
                   Equestrian                 Agency brief revisions
  6/22/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with T. Brett re: Sackett v U.S. Environmental Protection Agency
                   Equestrian                 brief revisions
  6/23/2023 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center       DREVET HUNT   final revisions to Sackett v U.S. Environmental Protection Agency brief;           1.2    $218.00            $261.60            $0.00                0
                   Murieta                    review Defendant's supplemental Sackett briefing
                   Equestrian
  6/26/2023 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta                    call with J. Flanders re: review Def supp Sackett briefing
                   Equestrian
  6/27/2023 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00            $256.00            $0.00                0
                   Murieta                    review Def request for oral argument; corr with J. Flanders
                   Equestrian
   7/6/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    email with J. Flanders re: response to Def request for oral argument
                   Equestrian
  7/10/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with J. Flanders re: call with Magistrate Newman
                   Equestrian
  7/11/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta                    review Court order granting Motion for Summary Judgment
                   Equestrian
  8/16/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00              $0.00          $192.00               0.3




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    call with J. Flanders re: Court order granting Motion for Summary
                   Equestrian                 Judgment
  8/16/2023 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00           $256.00           $0.00               0
                   Murieta                    call with J. Flanders re: phase II scheduling and strategy
                   Equestrian
  8/16/2023 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00               0
                   Murieta                    emails with J. Flanders re: settlement prospects
                   Equestrian
  8/18/2023 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta                    review J. Flanders proposed email to opposing counsel re: phase II
                   Equestrian                 schedule; respond
  8/18/2023 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta                    Call with J. Flanders re: phase II scheduling and strategy
                   Equestrian
  8/18/2023 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00               0
                   Murieta                    corr with J. Flanders re: S Fried discussion re: settlement
                   Equestrian
  8/21/2023 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
  8/24/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: settlement                                                0.1    $640.00            $64.00           $0.00               0
                   Murieta                    call with J. Flanders re: phase II schedule and tasks
                   Equestrian
  8/25/2023 CCKA   Center       DREVET HUNT                                                                                       0.7    $640.00           $448.00           $0.00               0
                   Murieta                    further call with J. Flanders re: phase II schedule and tasks
                   Equestrian
  8/25/2023 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta                    call with J. Flanders re: status statement; review draft
                   Equestrian
  8/28/2023 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian
  8/28/2023 CCKA   Center       DREVET HUNT   corr with all counsel re: phase II scheduling                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta                    review joint statement re: phase II; call with J. Flanders
                   Equestrian
  8/29/2023 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian
  8/29/2023 CCKA   Center       DREVET HUNT   further call with J. Flanders re: joint statement re: phase II                      0.3    $640.00           $192.00           $0.00               0
                   Murieta                    review Def's statement re: phase II
                   Equestrian
  8/30/2023 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta                    review and revise rule 34 inspection demand; send to co-counsel
                   Equestrian
  8/31/2023 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00           $256.00           $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian
   9/5/2023 CCKA   Center       DREVET HUNT   review Court's phase II schedule; corr with co-counsel re: same                    0.2    $640.00           $128.00           $0.00                0
                   Murieta                    call with T. Brett and J. Flanders re: phase II discovery plan
                   Equestrian
  9/12/2023 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00           $640.00           $0.00                0
                   Murieta                    call with T. Brett and J. Flanders re: phase II discovery plan and next
                   Equestrian                 steps; need to meet and confer re: phase I discovery
  9/19/2023 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center       DREVET HUNT   review and respond to J. Flanders direction re: phase II discovery needs           0.3    $640.00           $192.00           $0.00                0
                   Murieta                    review and revise letter re: meet and confer on phase 1 discovery
                   Equestrian                 responses
  9/21/2023 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta                    review and revise requests for production set 6
                   Equestrian
  9/25/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with J. Flanders re: dry weather inspection
                   Equestrian
  9/26/2023 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00           $384.00          $64.00               0.1
                   Murieta                    call with opposing counsel re: dry weather inspection
                   Equestrian
  9/26/2023 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta                    meet and confer with opposing counsel re: dry weather inspection
                   Equestrian
  9/28/2023 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta                    email with J. Flanders re: meet and confer with opposing counsel re:
                   Equestrian                 dry weather inspection
  9/28/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta                    prep with J. Flanders re: meet and confer with opposing counsel re: dry
                   Equestrian                 weather inspection
  9/28/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta                    review and respond to T. Brett email re: requests for production set 6
                   Equestrian
  10/2/2023 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta                    revisions t requests for production set 6
                   Equestrian
  10/2/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta                    corr re: Def time to respond to discovery requests
                   Equestrian
  10/3/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with J. Flanders re: meet and confer with opposing counsel re: site
                   Equestrian                 inspection
  10/3/2023 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00           $128.00           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian
 10/10/2023 CCKA   Center       DREVET HUNT   review of maps and SWMP to determine limits of dry weather inspection              0.3    $640.00           $192.00           $0.00               0
                   Murieta                    meet and confer re: dry weather inspection
                   Equestrian
 10/11/2023 CCKA   Center       DREVET HUNT                                                                                      1.0    $640.00           $640.00           $0.00               0
                   Murieta                    prep with team re: meet and confer re: dry weather inspection
                   Equestrian
 10/11/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta                    corr with T. Brett re: videographer for dry weather inspection
                   Equestrian
 10/11/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center       DREVET HUNT   corr with team re: discovery available to us                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta                    review J. Flanders phase II SUF; corr re: same
                   Equestrian
 10/13/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00               0
                   Murieta                    review and revise interrogatory set 3 and requests for production set 7
                   Equestrian
 10/16/2023 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00           $384.00           $0.00               0
                   Murieta                    review and provide edits to J. Flanders draft response to meet and
                   Equestrian                 confer re: site inspection
 10/16/2023 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00           $320.00           $0.00               0
                   Murieta                    call with J. Flanders re: site inspection
                   Equestrian
 10/17/2023 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center       DREVET HUNT   corr with J. Flanders re: scheduling for phase II Motion for Summary Jud           0.1    $640.00            $64.00           $0.00               0
                   Murieta                    corr with J. Flanders re: opposing counsel corr re: site inspection
                   Equestrian
 10/18/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                 brief call with J. Flanders re: meet and confer with OC
 10/18/2023 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta                    review and provide comments on subpoena to event organizers
                   Equestrian
 10/19/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00               0
                   Murieta                    call with J. Flanders re: dispute on site inspection
                   Equestrian
 10/20/2023 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center       DREVET HUNT   corr with team re: informal dispute resolution for site inspection                 0.2    $640.00           $128.00           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center       DREVET HUNT   review J. Flanders meet and confer letter re: informal dispute resolution               0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: informal dispute resolution for site inspection               0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
 10/25/2023 CCKA   Center       DREVET HUNT   corr with team re: informal dispute resolution for site inspection                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
 10/25/2023 CCKA   Center       DREVET HUNT   corr with court and parties re: informal dispute resolution for site inspecti           0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
 10/26/2023 CCKA   Center       DREVET HUNT   corr with parties re: informal dispute resolution for site inspection                   0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
 10/27/2023 CCKA   Center       DREVET HUNT   revisions to draft statement to court informal dispute resolution for site in           0.8    $640.00           $512.00           $0.00               0
                   Murieta                    review Court order re: informal dispute resolution and site inspection
                   Equestrian                 demand (.4); call with J. Flanders re: same (.2)
 10/31/2023 CCKA   Center       DREVET HUNT                                                                                           0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian
 10/31/2023 CCKA   Center       DREVET HUNT   review J. Flanders response to court direction re: site inspection demand               0.4    $640.00           $256.00           $0.00               0
                   Murieta                    call with J. Flanders re: inspection
                   Equestrian
  11/1/2023 CCKA   Center       DREVET HUNT                                                                                           0.4    $640.00           $256.00           $0.00               0
                   Murieta                    Draft corr with J. Flanders re: inspection and def corr re: same
                   Equestrian
  11/2/2023 CCKA   Center       DREVET HUNT                                                                                           0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
  11/3/2023 CCKA   Center       DREVET HUNT   call with J. Flanders during site inspection re: observations and efforts to            0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian
  11/6/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: phase II Motion for Summary Judgment strategy                 1.0    $640.00           $640.00           $0.00               0
                   Murieta                    corr with team re: discovery to send; edits to interrogatory and
                   Equestrian                 requests for production;
  11/8/2023 CCKA   Center       DREVET HUNT                                                                                           0.6    $640.00           $384.00           $0.00               0
                   Murieta                    call with J. Flanders re: discovery phase II
                   Equestrian
  11/8/2023 CCKA   Center       DREVET HUNT                                                                                           0.4    $640.00           $256.00           $0.00               0
                   Murieta                    review phase II 30b6 deposition notice
                   Equestrian
  11/9/2023 CCKA   Center       DREVET HUNT                                                                                           0.6    $640.00           $384.00           $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    call with J. Flanders re: interrogatory set 3; revisions re: same
                   Equestrian
  11/9/2023 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00               0
                   Murieta                    call with T. Brett re: amending scheduling order
                   Equestrian
 11/14/2023 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta                    internal corr re: amending scheduling order
                   Equestrian
 11/14/2023 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta                    internal corr re: amending scheduling order; review T. Brett email to
                   Equestrian                 opposing counsel
 11/15/2023 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta                    review requests for production set 8; provide edits
                   Equestrian
 11/15/2023 CCKA   Center       DREVET HUNT                                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta                    corr with T. Brett re: documents for phase II experts
                   Equestrian
 11/17/2023 CCKA   Center       DREVET HUNT                                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta                    corr with T. Brett re: econ expert needs
                   Equestrian
 11/17/2023 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta                    corr with team re: remedies and need for expert testimony
                   Equestrian
 11/21/2023 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta                    email with T. Brett re: documents to provide to econ expert
                   Equestrian
 11/27/2023 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta                    call with J. Flanders following meet and confer with o/c re: scheduling
                   Equestrian                 order and PMQ depo
 11/27/2023 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta                    Research Concentrated Animal Feeding Operation permits and
                   Equestrian                 BMPs/requirements
 11/28/2023 CCKA   Center       DREVET HUNT                                                                                     1.8    $640.00           $1,152.00           $0.00               0
                   Murieta                    review 30b6 notice definitions; provide feedback
                   Equestrian
 11/28/2023 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta                    review finance 30b6 notice; provide feedback
                   Equestrian
 11/29/2023 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
 11/29/2023 CCKA   Center       DREVET HUNT   discuss motion to amend scheduling order with J. Flanders                         0.4    $640.00            $256.00            $0.00               0
                   Murieta                    call with consultant re: cost of compliance memo
                   Equestrian
 11/29/2023 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center       DREVET HUNT   edits to motion to amend scheduling order; provide to J. Flanders                   0.7    $640.00            $448.00            $0.00               0
                   Murieta                    further review of motion to amend scheduling order
                   Equestrian
 11/30/2023 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center       DREVET HUNT   corr with T. Brett re: finance deposition notice                                    0.1    $640.00             $64.00            $0.00               0
                   Murieta                    call with phase II BMP expert
                   Equestrian
  12/1/2023 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian
  12/1/2023 CCKA   Center       DREVET HUNT   follow-up call with J. Flanders re: phase II BMP expert                             0.4    $640.00            $256.00            $0.00               0
                   Murieta                    further call with J. Flanders re: phase II BMP expert and costs
                   Equestrian
  12/1/2023 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta                    corr with T. Brett re: finance deposition notice
                   Equestrian
  12/4/2023 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian
  12/5/2023 CCKA   Center       DREVET HUNT   emails with J. Flanders re: cost of compliance strategies                           0.2    $640.00            $128.00            $0.00               0
                   Murieta                    collect documents relevant to Concentrated Animal Feeding Operation
                   Equestrian                 PMQ depo; provide to J. Flanders
  12/6/2023 CCKA   Center       DREVET HUNT                                                                                       2.1    $640.00           $1,344.00           $0.00               0
                   Murieta
                   Equestrian
  12/8/2023 CCKA   Center       DREVET HUNT   review T. Brett research on whether need expert report and duty to supp             0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian
 12/11/2023 CCKA   Center       DREVET HUNT   CAFO PMQ deposition prep with J. Flanders - review video                            0.8    $640.00            $512.00            $0.00               0
                   Murieta                    depo prep with J. Flanders (CAFO 30b6)
                   Equestrian
 12/12/2023 CCKA   Center       DREVET HUNT                                                                                       1.6    $640.00           $1,024.00           $0.00               0
                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center       DREVET HUNT   review exhibits and other materials prepped for Concentrated Animal Fe              0.8    $218.00            $174.40            $0.00               0
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center       DREVET HUNT   assist J. Flanders with review exhibits and other materials prep for Conc           0.9    $218.00            $196.20            $0.00               0
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center       DREVET HUNT   meet and confer with opposing counsel re: finance 30b6 depo                         0.8    $640.00            $512.00            $0.00               0




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                                                                                                                                                                      Judgment Fee     Judgment
                                                                                                                                                                      Reduction        Time
                                                                                                                                                                                       Reduction
                   Murieta                    CAFO 30b6 depo
                   Equestrian
 12/14/2023 CCKA   Center       DREVET HUNT                                                                                      7.3    $640.00           $4,672.00           $0.00                 0
                   Murieta                    debrief with J. Flanders re: Concentrated Animal Feeding Operation
                   Equestrian                 30b6 depo
 12/14/2023 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    Call with TB re: strategy for review of supplemental production provided
                   Equestrian                 by opposing counsel
 12/14/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00                 0
                   Murieta
                   Equestrian                 Call with TB and J. Flanders re: deposition prep
 12/14/2023 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00                 0
                   Murieta                    research Concentrated Animal Feeding Operation requirements and
                   Equestrian                 BMP requirements to provide to potential expert
 12/18/2023 CCKA   Center       DREVET HUNT                                                                                      1.8    $640.00              $0.00         $1,152.00               1.8
                   Murieta                    revise J. Flanders draft of reply on motion to amend scheduling order
                   Equestrian
 12/19/2023 CCKA   Center       DREVET HUNT                                                                                      0.5    $640.00            $320.00            $0.00                 0
                   Murieta                    review order on motion to amend scheduling order
                   Equestrian
 12/29/2023 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00                 0
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center       DREVET HUNT   review documents for finance 30b6 depo                                             0.5    $640.00            $320.00            $0.00                 0
                   Murieta                    corr with J. Flanders and T. Brett re: prep for finance 30b6
                   Equestrian
   1/2/2024 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    call with TS re: possible expert services
                   Equestrian
   1/2/2024 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00            $256.00            $0.00                 0
                   Murieta                    review interrogatories from Defendant; discuss same with J. Flanders -
                   Equestrian                 over limit
   1/2/2024 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00            $256.00            $0.00                 0
                   Murieta                    call with J. Flanders re: Tim Simpson as expert
                   Equestrian
   1/3/2024 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    call with J. Flanders and T. Brett re: deposition of 30b6 finance
                   Equestrian
   1/4/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                 0
                   Murieta                    call with J. Flanders re: adding Carol Anderson Ward and/or alter ego
                   Equestrian
   1/5/2024 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00            $512.00            $0.00                 0
                   Murieta                    30b6 deposition finance - support T Brett
                   Equestrian
   1/5/2024 CCKA   Center       DREVET HUNT                                                                                      3.0    $640.00           $1,920.00           $0.00                 0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                 Follow up call with T. Brett re: deposition
   1/5/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with T. Simpson re: expert report
                   Equestrian
   1/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.7    $640.00           $448.00           $0.00                0
                   Murieta                    corr with J. Flanders re: Carol Anderson Ward issues and need to add
                   Equestrian                 to case
   1/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with TS and team re: expert report; call with J. Flanders follow-up
                   Equestrian
  1/12/2024 CCKA   Center       DREVET HUNT                                                                                       1.7    $640.00           $896.00         $192.00               0.3
                   Murieta                    Emails with J. Flanders re: project management
                   Equestrian
  1/13/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  1/16/2024 CCKA   Center       DREVET HUNT   corr and research with J. Flanders re: excessive interrogatories and stra           0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with team re: expert report needs and discovery deadlines; strategy
                   Equestrian                 re: remedies
  1/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00           $256.00           $0.00                0
                   Murieta                    call with J. Flanders re: expert reports
                   Equestrian
  1/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00           $128.00          $64.00               0.1
                   Murieta
                   Equestrian
   1/6/2022 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00           $384.00           $0.00                0
                   Murieta                    review draft TS expert; revise(1.0); discuss with J. Flanders(.1)
                   Equestrian
  1/19/2024 CCKA   Center       DREVET HUNT                                                                                       1.1    $640.00           $704.00           $0.00                0
                   Murieta                    call with J. Flanders and T. Brett re: Shefftz report
                   Equestrian
  1/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00           $192.00          $64.00               0.1
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       DREVET HUNT   call with T. Simpson with comments on expert disclosures and report                 1.1    $640.00           $704.00           $0.00                0
                   Murieta                    review Swickard expert report
                   Equestrian
  1/20/2024 CCKA   Center       DREVET HUNT                                                                                       0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian
  1/22/2024 CCKA   Center       DREVET HUNT   review interrogatory and requests for production responses; provide edit            0.4    $640.00           $256.00           $0.00                0
                   Murieta                    call with team re: written responses to Murieta Equestrian Center
                   Equestrian                 discovery requests
  1/22/2024 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $576.00          $64.00               0.1




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center       DREVET HUNT   email with J. Flanders re: conversations with WKA attorneys                       0.1    $640.00            $64.00           $0.00               0
                   Murieta                    call with J. Flanders re: Swickard expert report
                   Equestrian
  1/25/2024 CCKA   Center       DREVET HUNT                                                                                     1.3    $640.00           $832.00           $0.00               0
                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center       DREVET HUNT   review T. Brett corr re: motion to strike Swickard expert report                  0.1    $640.00            $64.00           $0.00               0
                   Murieta                    Call with T. Brett re: defense of shefftz deposition.
                   Equestrian
  1/29/2024 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center       DREVET HUNT   meeting with [redacted] re: Concentrated Animal Feeding Operation litig           1.4    $640.00           $896.00           $0.00               0
                   Murieta
                   Equestrian                 Call with J. Flanders and T. Brett re: strategy for Shefftz and Simpson
   2/2/2024 CCKA   Center       DREVET HUNT   depos                                                                             0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                 Call with T. Brett re: deposition of Mr. Shefftz.
   2/2/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta                    call with T. Brett and J. Flanders re: phase 2 written discovery
                   Equestrian
   2/6/2024 CCKA   Center       DREVET HUNT                                                                                     0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian
   2/7/2024 CCKA   Center       DREVET HUNT   call with TS re: deposition prep                                                  0.3    $640.00           $192.00           $0.00               0
                   Murieta                    call with team re: written discovery and Carol Anderson Ward
                   Equestrian                 subpoena and deposition; other case needs
  2/12/2024 CCKA   Center       DREVET HUNT                                                                                     1.3    $640.00           $832.00           $0.00               0
                   Murieta
                   Equestrian                 Call with T. Brett re: Simpson document production.
  2/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center       DREVET HUNT   corr with Flanders re: Def opposition to deposing CAW                             0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center       DREVET HUNT   corr with Flanders re: Simpson report and deposition prep                         0.1    $640.00            $64.00           $0.00               0
                   Murieta                    prep with TS for deposition
                   Equestrian
  2/15/2024 CCKA   Center       DREVET HUNT                                                                                     1.5    $640.00           $960.00           $0.00               0
                   Murieta
                   Equestrian                 Call with T. Brett re: T. Simpson unit calculations in Ex. E and runoff
  2/15/2024 CCKA   Center       DREVET HUNT   volume calculations.                                                              0.2    $640.00           $128.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center       DREVET HUNT   Tim Simpson depo                                                                   3.5    $640.00           $2,240.00           $0.00                0
                   Murieta
                   Equestrian                 Call with T. Brett re: revisions to expert rebuttal disclosure
  2/16/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with T. Brett and J. Flanders re: meet and confer over Carol
                   Equestrian                 Anderson Ward 30(b)(1) deposition notice.
  2/21/2024 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00            $448.00           $64.00               0.1
                   Murieta                    meet and confer over Carol Anderson Ward 30(b)(1) deposition notice.
                   Equestrian
  2/21/2024 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $384.00            $0.00                0
                   Murieta                    email with co-counsel re: outstanding discovery issues
                   Equestrian
  2/26/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with J. Flanders re: Phase II Motion for Summary Judgment, expert
                   Equestrian                 depos, piercing corporate veil
  2/27/2024 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00            $512.00            $0.00                0
                   Murieta                    review and respond to email from T. Brett re: defendant's need to
                   Equestrian                 supplement discovery
  2/29/2024 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian
   3/1/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: notice of Wren deposition and objections                 0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian
   3/1/2024 CCKA   Center       DREVET HUNT   review email and respond to T. Brett re: Swickard MIL draft                        0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with J. Flanders re: facility observations and factual background
                   Equestrian
   3/4/2024 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta                    review draft objections to Wren deposition notice; edit
                   Equestrian
   3/5/2024 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta                    review and respond to T. Brett emails regarding objections to Wren
                   Equestrian                 deposition notice
   3/5/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
   3/6/2024 CCKA   Center       DREVET HUNT   review and edits to objections to Wren deposition notice                           0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                 review and respond to corr with co-counsel re: meet and confer comms
   3/6/2024 CCKA   Center       DREVET HUNT   to opposing counsel re: motion for protective order (Wren Depo)                    0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                 review and respond to corr with co-counsel re: scheduling meet and
   3/8/2024 CCKA   Center       DREVET HUNT   confer re: motion for protective order (Wren Depo)                                 0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                 Call with T. Brett re: meet and confer with opposing counsel on Wren
  3/11/2024 CCKA   Center       DREVET HUNT   protective order.                                                                 0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with opposing counsel re: objections to Wren depo; debrief with J.
                   Equestrian                 Flanders
  3/11/2024 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $448.00           $64.00               0.1
                   Murieta                    review T. Brett correspond re: Concentrated Animal Feeding Operation
                   Equestrian                 permit and requirements from other Regional Boards; respond; review
  3/11/2024 CCKA   Center       DREVET HUNT   examples for potential use in our case                                            0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian
  3/12/2024 CCKA   Center       DREVET HUNT   emails with J. Flanders and Wren regarding Wren deposition                        0.1    $640.00             $64.00            $0.00                0
                   Murieta                    review J. Flanders email to opposing counsel re: Wren deposition;
                   Equestrian                 provide feedback via call
  3/13/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with T. Brett re: compiling documents to produce to D in response
                   Equestrian                 to Wren Phase II deposition notice and document request.
  3/13/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                0
                   Murieta                    review T. Brett email re: document production in response to Wren
                   Equestrian                 deposition notice; review documents to produce; respond to T Brett
  3/13/2024 CCKA   Center       DREVET HUNT                                                                                     0.7    $640.00            $448.00            $0.00                0
                   Murieta                    Follow up call with T. Brett re: compiling documents to produce to D in
                   Equestrian                 response to Wren Phase II deposition notice and document request.
  3/15/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta                    call with T. Brett re: compiling documents to produce to D in response
                   Equestrian                 to Wren Phase II deposition notice and document request.
  3/15/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $128.00           $64.00               0.1
                   Murieta                    review T. Brett email re: defendant stall charts and horse count facts;
                   Equestrian                 respond
  3/15/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                0
                   Murieta                    meet with Wren to prep for deposition
                   Equestrian
  3/15/2024 CCKA   Center       DREVET HUNT                                                                                     2.0    $640.00           $1,280.00           $0.00                0
                   Murieta                    review T. Brett email re: scope of Wren depo; respond re: same
                   Equestrian
  3/16/2024 CCKA   Center       DREVET HUNT                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta                    multiple calls with J. Flanders regarding Wren Deposition
                   Equestrian
  3/18/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00              $0.00          $192.00               0.3
                   Murieta                    Defend Wren deposition; meet with Wren to prep in advance and
                   Equestrian                 debrief after
  3/18/2024 CCKA   Center       DREVET HUNT                                                                                     2.8    $640.00           $1,792.00           $0.00                0
                   Murieta                    Call with L. Marshall, JT Brett, and J. Flanders re: MIL, further
                   Equestrian                 discovery, and motion for leave to amend strategy
  3/20/2024 CCKA   Center       DREVET HUNT                                                                                     1.3    $640.00            $832.00            $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta                    Review T. Brett email re: Simpson transcript; respond
                   Equestrian
  3/20/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta                    Call with J. Flanders re: supplemental production (.25) and Resource
                   Equestrian                 Conservation and Recovery Act claim (.15)
  3/21/2024 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                 review email from T. Brett re: notice letter to Carol Anderson Ward;
  3/21/2024 CCKA   Center       DREVET HUNT   respond                                                                             0.3    $640.00             $0.00         $192.00               0.3
                   Murieta
                   Equestrian
  3/21/2024 CCKA   Center       DREVET HUNT   review and respond to email from T. Brett re: supplemental production in            0.1    $640.00            $64.00           $0.00                0
                   Murieta                    Call with J. Flanders strategies re: Motion for Summary Judgment,
                   Equestrian                 Swickard MIL, motion to amend
  3/25/2024 CCKA   Center       DREVET HUNT                                                                                       1.4    $640.00             $0.00         $896.00               1.4
                   Murieta                    review draft Phase II Motion for Summary Judgment; edit and provide
                   Equestrian                 edits to J. Flanders
  3/25/2024 CCKA   Center       DREVET HUNT                                                                                       0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center       DREVET HUNT   review and respond to email from J. Flanders re: Motion for Summary Ju              0.2    $640.00           $128.00           $0.00                0
                   Murieta                    review draft motion for leave to amend; edit and provide edits to co-
                   Equestrian                 counsel
  3/27/2024 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center       DREVET HUNT   review and respond to emails from J. Flanders and opposing counsel re               0.1    $640.00            $64.00           $0.00                0
                   Murieta                    review and respond to emails from T. Brett re: rough draft of Shefftz
                   Equestrian                 transcript
  3/27/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta                    review and respond to emails from T. Brett and L Marshall re: law and
                   Equestrian                 fact for TAC
  3/27/2024 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00             $0.00         $192.00               0.3
                   Murieta
                   Equestrian                 Call with J. Flanders following meet and confer with opposing counsel
  3/29/2024 CCKA   Center       DREVET HUNT   re: motion to amend complaint                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta                    Call with J. Flanders in prep for motion to amend meet and confer
                   Equestrian
  3/29/2024 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00           $640.00           $0.00                0
                   Murieta                    further review draft motion for leave to amend; edit and provide edits to
                   Equestrian                 co-counsel
  3/29/2024 CCKA   Center       DREVET HUNT                                                                                       0.7    $640.00           $448.00           $0.00                0
                   Murieta                    Call with co-counsel on Motion for Leave to Amend; discuss
                   Equestrian                 outstanding tasks and research needs for forthcoming Motion Seeking
  3/29/2024 CCKA   Center       DREVET HUNT   Leave to File Third Amended Complaint                                               0.5    $640.00           $320.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta                    meet and confer with opposing counsel on Motion for Leave to Amend
                   Equestrian
  3/29/2024 CCKA   Center       DREVET HUNT                                                                                         0.9    $640.00           $576.00           $0.00                0
                   Murieta                    prep for meet and confer with opposing counsel on Motion for Leave to
                   Equestrian                 Amend
  3/29/2024 CCKA   Center       DREVET HUNT                                                                                         0.3    $640.00           $192.00           $0.00                0
                   Murieta                    Correspond with Attorneys L Marshall, J. Flanders, and T. Brett
                   Equestrian                 regarding bankruptcy concerns.
   4/1/2024 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta                    Review L Marshall research on compulsory versus permissive joinder
                   Equestrian                 as relates to motion for leave to amend; corr with co-counsel re: same
   4/1/2024 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00           $320.00           $0.00                0
                   Murieta                    Call with J. Flanders and T. Brett re: strategy w/r/t parcel south of the
                   Equestrian                 7200 lone pine drive property and liability of trust.
   4/1/2024 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00           $320.00           $0.00                0
                   Murieta                    email with T. Brett re: documents relied on / referenced by D rebuttal
                   Equestrian                 econ expert that we do not have in our possession.
   4/1/2024 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta                    revisions to motion for leave to amend; circulate to co-counsel
                   Equestrian
   4/2/2024 CCKA   Center       DREVET HUNT                                                                                         0.6    $640.00           $384.00           $0.00                0
                   Murieta                    email with co-counsel re: obtaining records from recorder office (Sac
                   Equestrian                 county)
   4/2/2024 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta                    final review and edits to Motion to for Leave to Amend (TAC)
                   Equestrian
   4/3/2024 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00             $0.00         $320.00               0.5
                   Murieta                    emails with J. Flanders re: final draft of motion for leave to amend; final
                   Equestrian                 review of document
   4/3/2024 CCKA   Center       DREVET HUNT                                                                                         0.4    $640.00             $0.00         $256.00               0.4
                   Murieta                    MOTION TO AMEND: discuss brief and strategy with J. Flanders
                   Equestrian
   4/3/2024 CCKA   Center       DREVET HUNT                                                                                         0.3    $640.00           $192.00           $0.00                0
                   Murieta                    discuss Motion for Summary Judgment brief and strategy with J.
                   Equestrian                 Flanders
   4/3/2024 CCKA   Center       DREVET HUNT                                                                                         0.9    $640.00           $576.00           $0.00                0
                   Murieta                    call with J. Flanders re: Phase II Motion for Summary Judgment
                   Equestrian                 comments and strategies
   4/3/2024 CCKA   Center       DREVET HUNT                                                                                         1.0    $640.00           $640.00           $0.00                0
                   Murieta                    email with T. Brett and J. Flanders re: Defendant's expert rebuttal
                   Equestrian                 witness deposition notice.
   4/4/2024 CCKA   Center       DREVET HUNT                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta                    email with T. Brett re: review of Defendant's expert rebuttal report to
                   Equestrian                 determine if he cites / relies on documents not in our possession.
   4/4/2024 CCKA   Center       DREVET HUNT                                                                                         0.1    $640.00            $64.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta                    review draft Phase II Motion for Summary Judgment; provide edits to
                   Equestrian                 co-counsel
   4/4/2024 CCKA   Center       DREVET HUNT                                                                                        2.6    $640.00           $1,664.00           $0.00                0
                   Murieta                    review TAC; provide comments to co-counsel
                   Equestrian
   4/4/2024 CCKA   Center       DREVET HUNT                                                                                        0.9    $640.00              $0.00          $576.00               0.9
                   Murieta                    call with J. Flanders and T. Brett re: additional allegations in motion to
                   Equestrian                 amend, Motion for Summary Judgment waters of the United States
   4/5/2024 CCKA   Center       DREVET HUNT   arguments, rain data for days of violation                                           0.5    $640.00            $320.00            $0.00                0
                   Murieta                    Emails with J. Flanders re: direct and indirect discharges arguments
                   Equestrian
   4/5/2024 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta                    Emails with whether Concentrated Animal Feeding Operation is within
                   Equestrian                 scope of San Diego county MS4 permit ; research re: same
   4/5/2024 CCKA   Center       DREVET HUNT                                                                                        0.4    $640.00            $256.00            $0.00                0
                   Murieta                    Call with J. Flanders re: scope of Phase I and Phase II evidence for
                   Equestrian                 Motion for Summary Judgment
   4/8/2024 CCKA   Center       DREVET HUNT                                                                                        0.5    $640.00            $256.00           $64.00               0.1
                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center       DREVET HUNT   review phase II Motion for Summary Judgment statement of undisputed                  0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center       DREVET HUNT   review phase II Motion for Summary Judgment legal arguments and pro                  1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian
  4/11/2024 CCKA   Center       DREVET HUNT   review phase II Motion for Summary Judgment and provide edits; send t                0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders re: McCurley depo, settlement offer, upcoming
  4/15/2024 CCKA   Center       DREVET HUNT   motion schedule                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta                    email with J. Flanders re: fees and settlement offer to opposing
                   Equestrian                 counsel.
  4/15/2024 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta                    email with T. Brett re: obtaining trust documents (CAW Trust) / grant
                   Equestrian                 deed to Murieta Equestrian Center property
  4/16/2024 CCKA   Center       DREVET HUNT                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta                    Call with J. Flanders re: fee and settlement negotiations
                   Equestrian
  4/18/2024 CCKA   Center       DREVET HUNT                                                                                        0.4    $640.00            $256.00            $0.00                0
                   Murieta                    emails with J. Flanders re: settlement offer to make to Defendant
                   Equestrian
  4/18/2024 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $128.00            $0.00                0

                   Murieta                    Call with T. Brett re: addition to MIL re: Federal Rule of Civil Procedure
                   Equestrian                 26 deficiencies in Swickard report.
  4/19/2024 CCKA   Center     DREVET HUNT                                                                                          0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta                    review and edit MIL (Swickard)
                   Equestrian
  4/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00            $384.00            $0.00                0
                   Murieta                    emails with T. Brett and L Marshall re: draft proposed order for MIL
                   Equestrian
  4/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta                    multiple emails with T. Brett on issues related to MIL
                   Equestrian
  4/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00            $256.00            $0.00                0
                   Murieta                    review Def opposition on motion for leave to amend; send comments to
                   Equestrian                 co-counsel
  4/22/2024 CCKA   Center       DREVET HUNT                                                                                       0.7    $640.00            $448.00            $0.00                0
                   Murieta                    calls with J. Flanders regarding Defendant's requested Motion for
                   Equestrian                 Summary Judgment briefing extensions
  4/23/2024 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta                    review draft reply motion for leave to amend; edit and comment; send
                   Equestrian                 to co-counsel
  4/26/2024 CCKA   Center       DREVET HUNT                                                                                       2.3    $640.00           $1,472.00           $0.00                0
                   Murieta                    final review reply motion for leave to amend
                   Equestrian
  4/29/2024 CCKA   Center       DREVET HUNT                                                                                       0.5    $640.00              $0.00          $320.00               0.5
                   Murieta                    Emails from and to opposing counsel re: Murieta Equestrian Center's
                   Equestrian                 requested extension, correspondence with co-counsel re: same
  4/30/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta                    correspondence with co-counsel re: Def requested extension
                   Equestrian
   5/1/2024 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call with J. Flanders re: reset schedules
                   Equestrian
   5/7/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with J. Flanders re: potential settlement and stay
                   Equestrian
   5/8/2024 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta                    follow up call with J. Flanders re: potential settlement
                   Equestrian
   5/8/2024 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00            $384.00            $0.00                0
                   Murieta                    call with J. Flanders re: mediation
                   Equestrian
   5/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with J. Flanders re: settlement strategy
                   Equestrian
   5/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.6    $640.00            $384.00            $0.00                0
                   Murieta                    call with J. Flanders re: bankruptcy counsel and Murieta Equestrian
                   Equestrian                 Center threats re: bankruptcy
  5/10/2024 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00                0




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                                                                                                                                                                     Judgment Fee     Judgment
                                                                                                                                                                     Reduction        Time
                                                                                                                                                                                      Reduction
                   Murieta                    corr with J Flanders and T Brett re: mediation prep
                   Equestrian
  5/10/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                 0
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center       DREVET HUNT   emails with J. Flanders re: fee demand and bankruptcy                             0.3    $640.00            $192.00            $0.00                 0
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center       DREVET HUNT   review ED Cal case law on fees                                                    0.5    $640.00            $320.00            $0.00                 0
                   Murieta                    corr with co-counsel re: mediation scheduling
                   Equestrian
  5/13/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    email with J. Flanders re: questions for bankruptcy counsel
                   Equestrian
  5/13/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                 0
                   Murieta                    review and edits to fee demand letter
                   Equestrian
  5/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00                 0
                   Murieta                    multiple calls with J. Flanders re: mediation
                   Equestrian
  5/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.4    $640.00            $256.00            $0.00                 0
                   Murieta                    review J. Flanders email and fee demand letter
                   Equestrian
  5/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    review J. Flanders summary of bankruptcy attorney call; respond
                   Equestrian
  5/15/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                 0
                   Murieta                    call with J. Flanders to prep for mediation
                   Equestrian
  5/15/2024 CCKA   Center       DREVET HUNT                                                                                     0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    additional call with J. Flanders to prep for mediation
                   Equestrian
  5/15/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $128.00           $64.00                0.1
                   Murieta                    review J. Flanders letter to Murieta Equestrian Center re: bankruptcy
                   Equestrian                 check case law
  5/16/2024 CCKA   Center       DREVET HUNT                                                                                     0.6    $640.00            $384.00            $0.00                 0
                   Murieta                    mediation with Judge Newman (includes travel time)
                   Equestrian
  5/17/2024 CCKA   Center       DREVET HUNT                                                                                     9.5    $640.00           $3,040.00        $3,040.00           4.75
                   Murieta                    review draft proposed Consent Decree; provide edits
                   Equestrian
  5/22/2024 CCKA   Center       DREVET HUNT                                                                                     0.8    $640.00            $512.00            $0.00                 0
                   Murieta                    call with J. Flanders re: proposed Consent Decree
                   Equestrian
  5/23/2024 CCKA   Center       DREVET HUNT                                                                                     0.3    $640.00            $192.00            $0.00                 0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta                    call with J. Flanders and email with J. Flanders re: conservation
                   Equestrian                 easement
  5/24/2024 CCKA   Center       DREVET HUNT                                                                                        0.3    $640.00            $192.00            $0.00               0
                   Murieta                    call with J. Flanders regarding settlement status and strategy
                   Equestrian
  5/28/2024 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $128.00            $0.00               0
                   Murieta                    call with J Flanders re: proposed stipulation to extend briefing deadlines
                   Equestrian
  5/29/2024 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $128.00            $0.00               0
                   Murieta                    review proposed stipulation to extend briefing deadlines from Def; corr
                   Equestrian                 re: same.
  5/29/2024 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       DREVET HUNT   review coverage denial letter received from GAIC prior to mediation; rev             1.1    $640.00            $704.00            $0.00               0
                   Murieta
                   Equestrian
   1/7/2022 CCKA   Center       DREVET HUNT                                                                                        8.5    $640.00           $5,440.00           $0.00               0
                   Murieta                    mediation prep (including call with J. Flanders)
                   Equestrian
   6/4/2024 CCKA   Center       DREVET HUNT                                                                                        0.4    $640.00            $256.00            $0.00               0
                   Murieta                    attend mediation
                   Equestrian
   6/4/2024 CCKA   Center       DREVET HUNT                                                                                        3.0    $640.00           $1,920.00           $0.00               0
                   Murieta
                   Equestrian
   1/8/2022 CCKA   Center       DREVET HUNT                                                                                        1.1    $640.00            $704.00            $0.00               0
                   Murieta                    call with J. Flanders re: strategy for Motion for Summary Judgment and
                   Equestrian                 MIL In light of mediation fail
   6/6/2024 CCKA   Center       DREVET HUNT                                                                                        0.6    $640.00            $384.00            $0.00               0
                   Murieta                    review and provide edits to response to ex parte application re: MIL
                   Equestrian
  6/11/2024 CCKA   Center       DREVET HUNT                                                                                        0.3    $640.00            $192.00            $0.00               0
                   Murieta                    meeting with Attorneys L Marshall, T. Brett, J. Flanders to strategize
                   Equestrian                 and allocate tasks for Motion for Summary Judgment reply
  6/11/2024 CCKA   Center       DREVET HUNT                                                                                        1.1    $640.00            $704.00            $0.00               0
                   Murieta                    review Murieta Equestrian Center Motion for Summary Judgment
                   Equestrian                 opposition; develop initial thoughts on response
  6/11/2024 CCKA   Center       DREVET HUNT                                                                                        0.8    $640.00            $512.00            $0.00               0
                   Murieta                    review and provide edits to argument re: Motion for Summary
                   Equestrian                 Judgment re: discharge of pollutants to waters of the United States
  6/12/2024 CCKA   Center       DREVET HUNT                                                                                        0.8    $640.00            $512.00            $0.00               0
                   Murieta                    email with J. Flanders re: 6/2 hearing prep
                   Equestrian
  6/12/2024 CCKA   Center       DREVET HUNT                                                                                        0.1    $640.00             $64.00            $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta                    review recent 9th Cir case law on permit interpretation
                   Equestrian
  6/13/2024 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00            $512.00            $0.00               0
                   Murieta                    draft reply to Motion for Summary Judgment (Murieta Equestrian
                   Equestrian                 Center meets Concentrated Animal Feeding Operation elements
  6/13/2024 CCKA   Center       DREVET HUNT   section)                                                                           2.1    $640.00           $1,344.00           $0.00               0
                   Murieta                    research failure to address/contest facts results in waiver/concession
                   Equestrian
  6/13/2024 CCKA   Center       DREVET HUNT                                                                                      2.3    $640.00           $1,472.00           $0.00               0
                   Murieta                    review and revise Response to Statement of Undisputed Facts
                   Equestrian
  6/13/2024 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                 Call with J. Flanders re: Motion for Summary Judgment reply
  6/14/2024 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta                    corr with L Marshall re: MS4 permit interpretation research and
                   Equestrian                 arguments; provide feedback to proposed arguments
  6/14/2024 CCKA   Center       DREVET HUNT                                                                                      0.8    $640.00            $512.00            $0.00               0
                   Murieta                    review draft SUF; further comments
                   Equestrian
  6/14/2024 CCKA   Center       DREVET HUNT                                                                                      0.4    $640.00            $256.00            $0.00               0
                   Murieta                    review draft Motion for Summary Judgment and provide comments
                   Equestrian
  6/14/2024 CCKA   Center       DREVET HUNT                                                                                      1.4    $640.00            $896.00            $0.00               0
                   Murieta                    review draft response to Def objections; provide comments
                   Equestrian
  6/14/2024 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00            $448.00            $0.00               0
                   Murieta                    review complete Motion for Summary Judgment draft; provide edits and
                   Equestrian                 comments to team
  6/14/2024 CCKA   Center       DREVET HUNT                                                                                      1.7    $640.00           $1,088.00           $0.00               0
                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center       DREVET HUNT   review Def response to Swickard MIL; provide comments to team regard               0.8    $640.00            $512.00            $0.00               0
                   Murieta                    Corr with Attorneys L Marshall T. Brett J. Flanders re: Phase II SWMP
                   Equestrian
  6/17/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta                    corr with J. Flanders re: settlement position
                   Equestrian
  6/19/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta                    corr with T. Brett re: Swickard MIL response strategy and briefing
                   Equestrian
  6/21/2024 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta                    research expert qualifications and Swickard arguments
                   Equestrian
  6/21/2024 CCKA   Center       DREVET HUNT                                                                                      0.6    $640.00            $384.00            $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta                    review T. Brett draft MIL reply; provide comments
                   Equestrian
  6/23/2024 CCKA   Center       DREVET HUNT                                                                                    1.7    $640.00           $1,088.00           $0.00                0
                   Murieta                    corr with T. Brett re: comments and questions with Swickard MIL reply
                   Equestrian
  6/24/2024 CCKA   Center       DREVET HUNT                                                                                    0.2    $640.00            $128.00            $0.00                0
                   Murieta                    call (.1) and email (.1) with J. Flanders re: rescheduled hearings and
                   Equestrian                 avenues to resolution moving forward
  6/26/2024 CCKA   Center       DREVET HUNT                                                                                    0.2    $640.00            $128.00            $0.00                0
                   Murieta                    meeting with J. Flanders, L Marshall and SB re: next steps following
                   Equestrian                 reassignment and potential filing complaint against CAW
  6/26/2024 CCKA   Center       DREVET HUNT                                                                                    0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian
  6/27/2024 CCKA   Center       DREVET HUNT   review draft MIL Swickard reply; provide edits                                   0.3    $640.00            $192.00            $0.00                0
                   Murieta                    corr with J. Flanders re: status
                   Equestrian
  7/16/2024 CCKA   Center       DREVET HUNT                                                                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta                    call with J. Flanders re: status and next steps
                   Equestrian
  7/19/2024 CCKA   Center       DREVET HUNT                                                                                    0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian
   8/1/2024 CCKA   Center       DREVET HUNT   prompt co-counsel re: checking with clerk on reassignment                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
   8/2/2024 CCKA   Center       DREVET HUNT   review corr from E. Bustos re: reassignment                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                    review reassignment order; review Judge Riordan requirements and
                   Equestrian                 background
   8/6/2024 CCKA   Center       DREVET HUNT                                                                                    0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders re: Murieta Equestrian Center request for
  8/22/2024 CCKA   Center       DREVET HUNT   supplemental briefing                                                            0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
  8/23/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: supplemental briefing request from Murieta Eque        0.3    $640.00            $192.00            $0.00                0
                   Murieta                    read Loper-Bright; read Corner Post; develop arguments re non-
                   Equestrian                 applicability to this case
  8/23/2024 CCKA   Center       DREVET HUNT                                                                                    1.8    $640.00           $1,152.00           $0.00                0
                   Murieta
                   Equestrian
  8/24/2024 CCKA   Center       DREVET HUNT                                                                                    0.6    $640.00              $0.00          $384.00               0.6
                   Murieta                    email E. Bustos re: documents filed under seal
                   Equestrian
  8/24/2024 CCKA   Center       DREVET HUNT                                                                                    0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta                    call with J. Flanders re: supplemental briefing
                   Equestrian
  8/26/2024 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta                    call with J. Flanders re: arguments in response to req for supplemental
                   Equestrian                 briefing
  8/27/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with J. Flanders re: rescheduled hearing
                   Equestrian
  8/27/2024 CCKA   Center       DREVET HUNT                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta                    call with J. Flanders re: loper-bright arguments
                   Equestrian
  8/28/2024 CCKA   Center       DREVET HUNT                                                                                      0.9    $640.00           $576.00           $0.00                0
                   Murieta
                   Equestrian
  8/29/2024 CCKA   Center       DREVET HUNT   review J. Flanders summary of Loper-Bright brief arguments; respond                0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
  8/30/2024 CCKA   Center       DREVET HUNT   research SOL and APA regulations for challenging statute; prepare for d            0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian
   9/3/2024 CCKA   Center       DREVET HUNT   call with J. Flanders regarding settlement discussion with Newman                  0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
   9/3/2024 CCKA   Center       DREVET HUNT   research Loper-Bright and inapplicability in context of citizen enforcemen         0.8    $640.00           $512.00           $0.00                0
                   Murieta                    review and provide comments on Loper-Bright brief
                   Equestrian
   9/9/2024 CCKA   Center       DREVET HUNT                                                                                      1.3    $640.00           $832.00           $0.00                0
                   Murieta                    call with J. Flanders re: Loper Bright brief
                   Equestrian
  9/10/2024 CCKA   Center       DREVET HUNT                                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta                    email with [redacted] re: loper-bright briefing; set up call
                   Equestrian
  9/10/2024 CCKA   Center       DREVET HUNT                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                 Call with J. Flanders re: call from K. Newman
  9/11/2024 CCKA   Center       DREVET HUNT                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
  9/11/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: Newman and fee settlement proposal                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center       DREVET HUNT   review draft Loper-Bright brief; send comments to team                             0.6    $640.00             $0.00         $384.00               0.6
                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: comments and edits to Loper-Bright brief                 0.7    $640.00           $448.00           $0.00                0




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                                                                                                                                                                       Judgment Fee     Judgment
                                                                                                                                                                       Reduction        Time
                                                                                                                                                                                        Reduction
                   Murieta                    review complete draft Loper-Bright brief; prepare for call with J.
                   Equestrian                 Flanders re: same
  9/15/2024 CCKA   Center       DREVET HUNT                                                                                       0.5    $640.00              $0.00          $320.00                0.5
                   Murieta                    call with J. Flanders to discuss edits and strategy on Loper-Bright brief
                   Equestrian
  9/16/2024 CCKA   Center       DREVET HUNT                                                                                       1.5    $640.00            $960.00            $0.00                 0
                   Murieta                    email with J. Flanders re: Murieta Equestrian Center Loper-Bright brief
                   Equestrian
  9/16/2024 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00            $128.00            $0.00                 0
                   Murieta                    review Murieta Equestrian Center Loper-Bright brief and supplemental
                   Equestrian                 evidence
  9/17/2024 CCKA   Center       DREVET HUNT                                                                                       1.3    $640.00            $832.00            $0.00                 0
                   Murieta                    call with J. Flanders re: response to Murieta Equestrian Center Loper-
                   Equestrian                 Bright brief and supplemental evidence
  9/17/2024 CCKA   Center       DREVET HUNT                                                                                       0.3    $640.00            $192.00            $0.00                 0
                   Murieta                    email with J. Flanders re: response to Murieta Equestrian Center Loper-
                   Equestrian                 Bright brief and supplemental evidence
  9/17/2024 CCKA   Center       DREVET HUNT                                                                                       0.1    $640.00             $64.00            $0.00                 0
                   Murieta                    call with J. Flanders re: strategy and settlement opportunity
                   Equestrian
  9/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00            $256.00            $0.00                 0
                   Murieta                    prep for MIL oral argument (review briefs and case law and Swickard
                   Equestrian                 report)
  10/3/2024 CCKA   Center       DREVET HUNT                                                                                       1.3    $640.00              $0.00          $832.00                1.3
                   Murieta                    meet with J. Flanders to prep for oral argument (argument run through
                   Equestrian                 and discussion on strategy and key points)
  10/3/2024 CCKA   Center       DREVET HUNT                                                                                       2.5    $640.00           $1,600.00           $0.00                 0
                   Murieta                    further prep for MIL oral argument (review briefs and case law and
                   Equestrian                 Swickard report); prepare outline of argument
  10/7/2024 CCKA   Center       DREVET HUNT                                                                                       1.7    $640.00              $0.00         $1,088.00               1.7
                   Murieta                    call with J. Flanders to prep for oral argument (MSJ/MTA/MIL)
                   Equestrian
  10/7/2024 CCKA   Center       DREVET HUNT                                                                                       1.0    $640.00            $640.00            $0.00                 0
                   Murieta                    call with J. Flanders re: requesting injunctive relief
                   Equestrian
  10/7/2024 CCKA   Center       DREVET HUNT                                                                                       0.4    $640.00            $192.00           $64.00                0.1
                   Murieta                    travel to/from Motion for Summary Judgment/MTA/MIL hearing
                   Equestrian
  10/8/2024 CCKA   Center       DREVET HUNT                                                                                       4.0    $640.00           $1,280.00        $1,280.00                2
                   Murieta                    MSJ/MTA/MIL hearing
                   Equestrian
  10/8/2024 CCKA   Center       DREVET HUNT                                                                                       2.0    $640.00           $1,280.00           $0.00                 0
                   Murieta                    call with J. Flanders re: injunctive relief to propose
                   Equestrian
 11/22/2024 CCKA   Center       DREVET HUNT                                                                                       0.2    $640.00             $64.00           $64.00                0.1




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian
 11/22/2024 CCKA   Center       DREVET HUNT   review J. Flanders proposal on injunctive relief; respond with comments               0.3    $640.00           $192.00           $0.00                0
                   Murieta                    call with J. Flanders re: TAC
                   Equestrian
 11/22/2024 CCKA   Center       DREVET HUNT                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta                    meet and confer with opposing counsel re: injunctive relief
                   Equestrian
 11/26/2024 CCKA   Center       DREVET HUNT                                                                                         0.5    $640.00           $320.00           $0.00                0
                   Murieta                    call with J. Flanders re: case strategy, settlement prospects, and next
                   Equestrian                 steps following meet and confer with opposing counsel re: injunctive
 11/26/2024 CCKA   Center       DREVET HUNT   relief                                                                                0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian
  12/4/2024 CCKA   Center       DREVET HUNT   review J. Flanders draft of proposed injunctive relief; provide comments              0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian
  12/5/2024 CCKA   Center       DREVET HUNT   corr with J. Flanders draft of proposed injunctive relief to file                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
  12/5/2024 CCKA   Center       DREVET HUNT   provide edits to injunctive relief document to be filed                               0.3    $640.00           $192.00           $0.00                0
                   Murieta                    review injunctive relief order and corr with team regarding incorrect
                   Equestrian                 document filed on proposed injunctive relief
  12/9/2024 CCKA   Center       DREVET HUNT                                                                                         0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian
 12/10/2024 CCKA   Center       DREVET HUNT   corr with J. Flanders re: pleadings filed (TAC; proposed injunctive relief,           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  1/25/2022 CCKA   Center       DREVET HUNT                                                                                         0.9    $640.00           $576.00           $0.00                0
                   Murieta
                   Equestrian
  3/11/2022 CCKA   Center       DREVET HUNT                                                                                         0.6    $640.00           $320.00          $64.00               0.1
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       DREVET HUNT                                                                                         1.1    $640.00           $704.00           $0.00                0
                   Murieta
                   Equestrian
   5/9/2022 CCKA   Center       DREVET HUNT                                                                                         1.3    $640.00           $832.00           $0.00                0
                   Murieta
                   Equestrian
  6/24/2022 CCKA   Center       DREVET HUNT                                                                                         0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian
   7/1/2022 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00           $512.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  10/6/2022 CCKA   Center       DREVET HUNT                                                                                        0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center       DREVET HUNT                                                                                        1.2    $640.00           $768.00           $0.00               0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       DREVET HUNT                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       DREVET HUNT                                                                                        1.1    $640.00           $704.00           $0.00               0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       DREVET HUNT                                                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       DREVET HUNT                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center       DREVET HUNT                                                                                        1.1    $640.00           $704.00           $0.00               0
                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center       DREVET HUNT                                                                                        0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center       DREVET HUNT                                                                                        1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center       DREVET HUNT                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       DREVET HUNT                                                                                        0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian
   6/4/2024 CCKA   Center       DREVET HUNT                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                   Determine boarding space/events/pathways to waters of the United
  1/21/2020 CCKA   Center       Emma Lautanen   States                                                                             3.0    $100.00             $0.00         $300.00               3
                   Murieta
                   Equestrian                   Research facility and pathways to waters of the United States for future
  1/30/2020 CCKA   Center       Emma Lautanen   memo.                                                                              1.0    $100.00             $0.00         $100.00               1




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                     Research for draft memo.
   2/4/2020 CCKA   Center       Emma Lautanen                                                                                        3.1    $100.00              $0.00          $310.00               3.1
                   Murieta
                   Equestrian                     Research for draft memo.
   2/5/2020 CCKA   Center       Emma Lautanen                                                                                        1.5    $100.00              $0.00          $150.00               1.5
                   Murieta
                   Equestrian                     Find out more info about surrounding waters and topography for memo.
  2/11/2020 CCKA   Center       Emma Lautanen                                                                                        0.5    $100.00              $0.00           $50.00               0.5
                   Murieta
                   Equestrian                     Look more into permits and regulations.
  2/12/2020 CCKA   Center       Emma Lautanen                                                                                        0.2    $100.00              $0.00           $20.00               0.2
                   Murieta
                   Equestrian                     Call with J. Flanders and I. Wren re: Meet and confer with opposing
   3/4/2021 CCKA   Center       Erica Maharg      counsel re: inspection demand                                                      1.0    $590.00            $590.00            $0.00                0
                   Murieta
                   Equestrian                     Call with J. Flanders re: 30(b)(6) deposition notice.
  11/4/2021 CCKA   Center       Erica Maharg                                                                                         0.4    $590.00            $236.00            $0.00                0
                   Murieta
                   Equestrian                     Review memo re: Murieta Equestrian Center; research receiving
   2/6/2020 CCKA   Center       Erica Maharg      waters.                                                                            2.5    $590.00           $1,475.00           $0.00                0
                   Murieta
                   Equestrian                     Investigate factual and legal claims re: Murieta Equestrian Center.
   2/7/2020 CCKA   Center       Erica Maharg                                                                                         2.3    $590.00           $1,357.00           $0.00                0
                   Murieta
                   Equestrian                     Draft legal memo to client.
  2/10/2020 CCKA   Center       Erica Maharg                                                                                         0.7    $590.00            $413.00            $0.00                0
                   Murieta
                   Equestrian                     Review Murieta Equestrian Center memo; discuss Murieta Equestrian
  2/11/2020 CCKA   Center       Erica Maharg      Center investigation with E. Lautanen.                                             0.6    $590.00            $354.00            $0.00                0
                   Murieta
                   Equestrian                     Research defendant's corporate status.
  2/13/2020 CCKA   Center       Erica Maharg                                                                                         0.8    $590.00            $472.00            $0.00                0
                   Murieta
                   Equestrian                     Draft legal memo to client re: claims.
  2/14/2020 CCKA   Center       Erica Maharg                                                                                         2.9    $590.00           $1,711.00           $0.00                0
                   Murieta
                   Equestrian                     Draft memo to client re: claims and evidence.
  2/14/2020 CCKA   Center       Erica Maharg                                                                                         1.2    $590.00            $708.00            $0.00                0
                   Murieta
                   Equestrian                     Strategize re: legal memo.
  2/20/2020 CCKA   Center       Erica Maharg                                                                                         0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Revise case memo re: site observations.
  4/15/2020 CCKA   Center       Erica Maharg                                                                                         1.2    $590.00            $708.00            $0.00                0




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                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                     Travel to/from Murieta Equestrian Center; observe site.
  5/18/2020 CCKA   Center       Erica Maharg                                                                                           2.5    $590.00            $737.50          $737.50           1.25
                   Murieta
                   Equestrian                     Draft notice of intent to sue.
  5/26/2020 CCKA   Center       Erica Maharg                                                                                           3.6    $590.00           $2,124.00           $0.00                0
                   Murieta
                   Equestrian                     Draft notice of intent to sue.
  5/27/2020 CCKA   Center       Erica Maharg                                                                                           1.4    $590.00            $826.00            $0.00                0
                   Murieta
                   Equestrian                     Draft notice letter.
  5/29/2020 CCKA   Center       Erica Maharg                                                                                           2.3    $590.00           $1,357.00           $0.00                0
                   Murieta
                   Equestrian                     Call with J. Flanders re: complaint.
  8/25/2020 CCKA   Center       Erica Maharg                                                                                           0.2    $590.00              $0.00          $118.00               0.2
                   Murieta
                   Equestrian                     Review and finalize complaint.
  8/25/2020 CCKA   Center       Erica Maharg                                                                                           3.1    $590.00           $1,829.00           $0.00                0
                   Murieta
                   Equestrian                     Research Rancho Murieta Community Services District Clean Water
  10/7/2020 CCKA   Center       Erica Maharg      Act permit coverage.                                                                 0.6    $590.00            $354.00            $0.00                0
                   Murieta
                   Equestrian                     Coordinate with J. Flanders re: call with J. Sullivan and research.
  10/7/2020 CCKA   Center       Erica Maharg                                                                                           0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Call with J. Sullivan re: notice letter.
  10/7/2020 CCKA   Center       Erica Maharg                                                                                           0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Research re: forage crops and permit coverage.
  10/8/2020 CCKA   Center       Erica Maharg                                                                                           2.5    $590.00           $1,475.00           $0.00                0
                   Murieta
                   Equestrian                     Call with J. Sullivan re: California Coastkeeper Alliance's claims.
 10/13/2020 CCKA   Center       Erica Maharg                                                                                           0.5    $590.00            $295.00            $0.00                0
                   Murieta
                   Equestrian                     Email J. Flanders re: phone call with J. Sullivan (Murietta Equestrian
 10/13/2020 CCKA   Center       Erica Maharg      Center).                                                                             0.4    $590.00            $236.00            $0.00                0
                   Murieta
                   Equestrian                     Coordinate with J. Flanders and C. Hudack re: Public Records Act to
 10/13/2020 CCKA   Center       Erica Maharg      Rancho Murieta Community Services District.                                          0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Call with J. Sullivan (Murieta Equestrian Center) re: permit.
 10/13/2020 CCKA   Center       Erica Maharg                                                                                           0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Review answer and upcoming deadlines.
 11/20/2020 CCKA   Center       Erica Maharg                                                                                           0.5    $590.00            $295.00            $0.00                0




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Date      Client   Matter       Staff             Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                     Review meet and confer letter re: affirmative defenses; coordinate with
  12/9/2020 CCKA   Center       Erica Maharg      co-counsel re: motion to strike.                                                  0.5    $590.00           $295.00           $0.00                0
                   Murieta
                   Equestrian                     Email with co-counsel re: litigation timing.
 12/11/2020 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00            $59.00           $0.00                0
                   Murieta
                   Equestrian                     Review Public Records Act response from Rancho Murieta Community
   1/6/2021 CCKA   Center       Erica Maharg      Services District.                                                                0.3    $590.00           $177.00           $0.00                0
                   Murieta
                   Equestrian                     Draft requests for production set one.
  1/13/2021 CCKA   Center       Erica Maharg                                                                                        1.3    $590.00           $767.00           $0.00                0
                   Murieta
                   Equestrian                     Review Rancho Murieta Community Services District documents.
  1/13/2021 CCKA   Center       Erica Maharg                                                                                        0.8    $590.00           $472.00           $0.00                0
                   Murieta
                   Equestrian                     Review Rule 34 inspection request.
  1/14/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00            $59.00           $0.00                0
                   Murieta
                   Equestrian                     Email with co-counsel re: affirmative defenses and discovery.
  1/19/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00            $59.00           $0.00                0
                   Murieta
                   Equestrian                     Draft interrogatories.
  1/21/2021 CCKA   Center       Erica Maharg                                                                                        1.2    $590.00           $708.00           $0.00                0
                   Murieta
                   Equestrian                     Prepare interrogatories and requests for admission.
  1/22/2021 CCKA   Center       Erica Maharg                                                                                        1.5    $590.00           $885.00           $0.00                0
                   Murieta
                   Equestrian                     Research references to Murieta Equestrian Center events.
   2/9/2021 CCKA   Center       Erica Maharg                                                                                        1.1    $590.00           $649.00           $0.00                0
                   Murieta
                   Equestrian                     Review initial disclosures.
   2/9/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00            $59.00           $0.00                0
                   Murieta
                   Equestrian                     Coordinate with E. Bustos and J. Flanders re: initial disclosures.
  2/10/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $0.00          $59.00               0.1
                   Murieta
                   Equestrian                     Call with T. Brett re: Rule 34 inspection and sampling.
   3/3/2021 CCKA   Center       Erica Maharg                                                                                        0.5    $590.00           $295.00           $0.00                0
                   Murieta
                   Equestrian                     Revise set one discovery requests.
   3/5/2021 CCKA   Center       Erica Maharg                                                                                        1.1    $590.00           $649.00           $0.00                0
                   Murieta
                   Equestrian                     Revise and finalize written discovery requests to Defendant.
  3/15/2021 CCKA   Center       Erica Maharg                                                                                        1.0    $590.00           $590.00           $0.00                0




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Date      Client   Matter       Staff             Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                     Discuss sampling results and litigation strategy with T. Brett.
  3/29/2021 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Review sample results; coordinate with co-counsel.
  3/31/2021 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Discuss sample results and litigation strategy with J. Flanders.
  3/31/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Review court order re: settlement conference; research new opposing
  4/15/2021 CCKA   Center       Erica Maharg      counsel.                                                                          0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Review and revise draft 30(b)(6) notice.
  6/22/2021 CCKA   Center       Erica Maharg                                                                                        1.8    $590.00           $1,062.00           $0.00                0
                   Murieta
                   Equestrian                     Draft and send meet and confer re: 30(b)(6) deposition date and topics.
  6/23/2021 CCKA   Center       Erica Maharg                                                                                        0.4    $590.00            $236.00            $0.00                0
                   Murieta
                   Equestrian                     Confer with J. Flanders re: 30(b)(6) notice.
  6/23/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Attend meet and confer re: 30(b)(6) deposition.
  6/30/2021 CCKA   Center       Erica Maharg                                                                                        0.6    $218.00              $0.00          $130.80               0.6
                   Murieta
                   Equestrian                     Attend 30(b)(6) meet and confer.
  6/30/2021 CCKA   Center       Erica Maharg                                                                                        0.5    $218.00              $0.00          $109.00               0.5
                   Murieta
                   Equestrian                     Summarize notes and email J. Flander re: 30(b)(6) meet and confer;
  6/30/2021 CCKA   Center       Erica Maharg      revise 30(b)(6) topics.                                                           1.2    $590.00            $708.00            $0.00                0
                   Murieta
                   Equestrian                     Prepare for 30(b)(6) meet and confer.
  6/30/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Schedule meet and confer re: 30(b)(6) deposition.
  6/30/2021 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Review scheduling order; calendar deadlines.
   7/6/2021 CCKA   Center       Erica Maharg                                                                                        0.2    $218.00             $43.60            $0.00                0
                   Murieta
                   Equestrian                     Review edits to 30(b)(6) notice.
   7/6/2021 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Revise 30(b)(6) deposition notice.
   7/7/2021 CCKA   Center       Erica Maharg                                                                                        0.4    $590.00            $236.00            $0.00                0




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Date      Client   Matter       Staff             Description                                                            Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                     Plan document review with J. Flanders.
  7/19/2021 CCKA   Center       Erica Maharg                                                                                     0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Review Murieta Equestrian Center document production.
  7/21/2021 CCKA   Center       Erica Maharg                                                                                     0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Review documents.
  7/22/2021 CCKA   Center       Erica Maharg                                                                                     0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Video conference with C. Hudak re: document review.
  8/10/2021 CCKA   Center       Erica Maharg                                                                                     0.6    $590.00            $354.00            $0.00               0
                   Murieta
                   Equestrian                     Research standing.
 10/12/2021 CCKA   Center       Erica Maharg                                                                                     0.4    $590.00            $236.00            $0.00               0
                   Murieta
                   Equestrian                     Call with J. Flanders re: standing research.
 10/12/2021 CCKA   Center       Erica Maharg                                                                                     0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Research standing requirements.
 10/13/2021 CCKA   Center       Erica Maharg                                                                                     3.1    $590.00           $1,829.00           $0.00               0
                   Murieta
                   Equestrian                     Research standing requirements; draft written summary of standing
 10/14/2021 CCKA   Center       Erica Maharg      cases.                                                                         3.1    $590.00           $1,829.00           $0.00               0
                   Murieta
                   Equestrian                     Review K. Kalua standing declaration.
 10/25/2021 CCKA   Center       Erica Maharg                                                                                     1.6    $590.00            $944.00            $0.00               0
                   Murieta
                   Equestrian                     Review and email J. Flanders re: Notice of California Coastkeeper
  11/3/2021 CCKA   Center       Erica Maharg      Alliance deposition.                                                           0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Draft objections to Murieta Equestrian Center 30(b)(6) deposition
  11/8/2021 CCKA   Center       Erica Maharg      notice.                                                                        3.4    $590.00           $2,006.00           $0.00               0

                   Murieta                        Review parties' arguments re: standing; email J. Flanders re: same.
                   Equestrian
   1/5/2022 CCKA   Center       Erica Maharg                                                                                     0.8    $590.00            $472.00            $0.00               0
                   Murieta
                   Equestrian                     Call with J. Flanders and D. Hunt re: standing.
   1/5/2022 CCKA   Center       Erica Maharg                                                                                     0.8    $590.00            $472.00            $0.00               0
                   Murieta
                   Equestrian                     Review Bothwell deposition.
  1/12/2022 CCKA   Center       Erica Maharg                                                                                     0.3    $590.00            $177.00            $0.00               0
                   Murieta
                   Equestrian                     Review and summarize S. Bothwell Deposition.
  1/14/2022 CCKA   Center       Erica Maharg                                                                                     1.9    $590.00           $1,121.00           $0.00               0




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Date      Client   Matter       Staff             Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                     Call with J. Flanders re: Bothwell standing.
  1/19/2022 CCKA   Center       Erica Maharg                                                                                         0.4    $590.00            $177.00           $59.00               0.1
                   Murieta
                   Equestrian                     Review and summarize Bothwell deposition.
  1/20/2022 CCKA   Center       Erica Maharg                                                                                         1.5    $590.00            $885.00            $0.00                0
                   Murieta
                   Equestrian                     Call with J. Flanders re: standing and amending complaint.
  1/20/2022 CCKA   Center       Erica Maharg                                                                                         0.4    $590.00            $236.00            $0.00                0
                   Murieta
                   Equestrian                     Call with J. Flanders re: Motion for Summary Judgment stipulation.
  1/28/2022 CCKA   Center       Erica Maharg                                                                                         0.8    $590.00            $472.00            $0.00                0
                   Murieta
                   Equestrian                     Call and emails with J. Flanders draft motion for leave to amend
   2/7/2022 CCKA   Center       Erica Maharg                                                                                         0.3    $590.00            $177.00            $0.00                0
                   Murieta
                   Equestrian                     Draft motion for leave to file second amended complaint.
   2/7/2022 CCKA   Center       Erica Maharg                                                                                         2.0    $590.00           $1,180.00           $0.00                0
                   Murieta
                   Equestrian                     Draft motion for leave to file second amended complaint.
   2/8/2022 CCKA   Center       Erica Maharg                                                                                         4.5    $590.00           $2,655.00           $0.00                0

                   Murieta                        Review edits to Motion for Leave to File Second Amended Complaint;
                   Equestrian                     draft Flanders Decl. in support of same.
   2/9/2022 CCKA   Center     Erica Maharg                                                                                           1.1    $590.00            $649.00            $0.00                0
                   Murieta
                   Equestrian                     Finalize and file Second Amended Complaint documents.
  2/10/2022 CCKA   Center     Erica Maharg                                                                                           1.7    $590.00           $1,003.00           $0.00                0

                   Murieta                        Coordinate with Co-counsel, K. Kalua, and T. Trillo re: motion for leave
                   Equestrian                     to file Second Amended Complaint.
  2/10/2022 CCKA   Center       Erica Maharg                                                                                         0.7    $590.00            $413.00            $0.00                0
                   Murieta                        calls with D. Hunt and J. Flanders re: motion for leave to amend
                   Equestrian
  2/10/2022 CCKA   Center       Erica Maharg                                                                                         0.4    $590.00            $236.00            $0.00                0
                   Murieta
                   Equestrian                     Draft Hunt declaration in support of motion for leave.
  2/10/2022 CCKA   Center       Erica Maharg                                                                                         0.4    $590.00            $236.00            $0.00                0
                   Murieta
                   Equestrian                     Discuss next steps with J. Flanders.
  2/17/2022 CCKA   Center       Erica Maharg                                                                                         0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Call with J. Flanders re: standing.
  2/23/2022 CCKA   Center       Erica Maharg                                                                                         0.3    $590.00            $177.00            $0.00                0
                   Murieta
                   Equestrian                     Prepare for call with client re: standing.
  2/25/2022 CCKA   Center       Erica Maharg                                                                                         0.2    $590.00            $118.00            $0.00                0



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Date      Client   Matter       Staff             Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                        Review opposition to motion to amend; draft outline for reply re: same.
                   Equestrian
  2/28/2022 CCKA   Center     Erica Maharg                                                                                          2.7    $590.00           $1,593.00           $0.00               0
                   Murieta
                   Equestrian                     Draft Reply in support of mtn for leave to amend.
   3/1/2022 CCKA   Center     Erica Maharg                                                                                          2.6    $590.00           $1,534.00           $0.00               0

                   Murieta                        Draft reply in support of mtn for leave to file Second Amended
                   Equestrian                     Complaint.
   3/2/2022 CCKA   Center     Erica Maharg                                                                                          1.8    $590.00           $1,062.00           $0.00               0
                   Murieta
                   Equestrian                     Meeting with J. Flanders and T. Brett re: expert report.
   3/2/2022 CCKA   Center     Erica Maharg                                                                                          0.5    $590.00            $295.00            $0.00               0
                   Murieta
                   Equestrian                     Review draft expert report and add in items for SOW.
   3/3/2022 CCKA   Center     Erica Maharg                                                                                          1.3    $590.00            $767.00            $0.00               0

                   Murieta                        Review edits to reply in support of mtn for leave to file Second
                   Equestrian                     Amended Complaint.
   3/3/2022 CCKA   Center       Erica Maharg                                                                                        0.3    $590.00            $177.00            $0.00               0
                   Murieta
                   Equestrian                     Call with J. Flanders re: Reply in support of Mtn for Leave to Amend.
   3/4/2022 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Review questions for expert; email coco re: same.
   3/7/2022 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Email with co-counsel re: strategy for standing proof.
   3/9/2022 CCKA   Center       Erica Maharg                                                                                        0.3    $590.00            $177.00            $0.00               0
                   Murieta
                   Equestrian                     Review court order re: mtn to amend.
   3/9/2022 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Email with co-counsel re: scope of I. Wren opinion.
  3/18/2022 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Confer with co-counsel re: Bothwell declaration, I Wren deposition, and
  3/31/2022 CCKA   Center       Erica Maharg      status.                                                                           0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Call with J. Flanders re: sampling and supplementing report.
  4/19/2022 CCKA   Center       Erica Maharg                                                                                        0.7    $590.00            $413.00            $0.00               0

                   Murieta                        Review correspondence with co-counsel and opposing counsel re:
                   Equestrian                     sampling and supplementing report.
  4/19/2022 CCKA   Center     Erica Maharg                                                                                          0.2    $590.00            $118.00            $0.00               0




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Date      Client   Matter       Staff             Description                                                              Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                     Review emails re: discovery, stipulated facts, and document
  4/21/2022 CCKA   Center       Erica Maharg      management.                                                                      0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Review sampling results; email J. Flanders re: same.
  4/26/2022 CCKA   Center       Erica Maharg                                                                                       0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Discuss litigation next steps (Bothwell Declaration and supplemental
  4/28/2022 CCKA   Center       Erica Maharg      disco) with J. Flanders.                                                         0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Discuss next steps for litigation with co-counsel.
  5/12/2022 CCKA   Center       Erica Maharg                                                                                       0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Schedule check-in meeting re: Bothwell declaration with D. Hunt.
  5/12/2022 CCKA   Center       Erica Maharg                                                                                       0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Call with D. Hunt re: document production and Bothwell declaration.
  5/13/2022 CCKA   Center       Erica Maharg                                                                                       1.5    $590.00            $885.00            $0.00               0
                   Murieta
                   Equestrian                     Review Bothwell declaration.
  5/13/2022 CCKA   Center       Erica Maharg                                                                                       0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Revise S. Bothwell standing declaration.
  5/18/2022 CCKA   Center       Erica Maharg                                                                                       1.6    $590.00            $944.00            $0.00               0
                   Murieta
                   Equestrian                     Confer with E. Bustos re: email searching.
  5/20/2022 CCKA   Center       Erica Maharg                                                                                       0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Call with J. Flanders re: expert reports and depositions.
  5/24/2022 CCKA   Center       Erica Maharg                                                                                       0.3    $590.00            $177.00            $0.00               0
                   Murieta
                   Equestrian                     Email with D. Hunt and C. Hudak re: discovery responses.
  5/31/2022 CCKA   Center       Erica Maharg                                                                                       0.2    $590.00            $118.00            $0.00               0

                                                  Review and revise responses to requests for production; confer with
                   Murieta                        co-counsel re: responses and scope of document production and
                   Equestrian                     privilege review.
   6/1/2022 CCKA   Center       Erica Maharg                                                                                       3.6    $590.00           $2,124.00           $0.00               0
                   Murieta
                   Equestrian                     Call with D. Hunt re: document production.
   6/2/2022 CCKA   Center       Erica Maharg                                                                                       1.7    $590.00           $1,003.00           $0.00               0
                   Murieta
                   Equestrian                     Upload documents to Everlaw.
   6/2/2022 CCKA   Center       Erica Maharg                                                                                       0.6    $590.00            $354.00            $0.00               0
                   Murieta
                   Equestrian                     Draft email re: status of document review/production.
   6/2/2022 CCKA   Center       Erica Maharg                                                                                       0.4    $590.00            $236.00            $0.00               0



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Date      Client   Matter       Staff             Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                        Communicate with co-counsel re: status of document search, review
                   Equestrian                     and production.
   6/3/2022 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Review documents for responsiveness and privilege.
   6/4/2022 CCKA   Center       Erica Maharg                                                                                        2.2    $590.00           $1,298.00           $0.00                0
                   Murieta
                   Equestrian                     Review documents for responsiveness and privilege.
   6/5/2022 CCKA   Center       Erica Maharg                                                                                        4.4    $590.00           $2,596.00           $0.00                0
                   Murieta
                   Equestrian                     Confer with co-counsel re: status of review of Bothwell declaration.
  6/28/2022 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Call with co-counsel re: planning Motion for Summary Judgment.
  7/18/2022 CCKA   Center       Erica Maharg                                                                                        0.9    $590.00            $472.00           $59.00               0.1
                   Murieta
                   Equestrian                     Coordinate with E. Bustos re: supplemental production.
  7/18/2022 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Review email re: upcoming tasks; write J. Flanders re: same.
  8/23/2022 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Discuss marking documents related to standing with J. Flanders.
   9/8/2022 CCKA   Center       Erica Maharg                                                                                        0.5    $590.00            $118.00          $177.00               0.3
                   Murieta
                   Equestrian                     Review documents related to standing.
   9/8/2022 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Check in with J. Flanders re: status of standing declaration and Motion
  11/2/2022 CCKA   Center       Erica Maharg      for Summary Judgment briefing.                                                    0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Discuss ATA declaration re: market rates.
  11/2/2022 CCKA   Center       Erica Maharg                                                                                        0.1    $590.00             $59.00            $0.00                0

                   Murieta                        Review S. Bothwell declaration and J. Flanders' revisions thereto; send
                   Equestrian                     to S. Bothwell for review.
  11/4/2022 CCKA   Center       Erica Maharg                                                                                        0.7    $590.00            $413.00            $0.00                0
                   Murieta
                   Equestrian                     Discuss S. Bothwell declaration with D. Hunt.
  11/4/2022 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Check in with S. Bothwell re: declaration.
  11/7/2022 CCKA   Center       Erica Maharg                                                                                        0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian                     Compare Bothwell declaration to deposition.
 11/21/2022 CCKA   Center       Erica Maharg                                                                                        0.6    $590.00            $354.00            $0.00                0



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Date      Client   Matter       Staff             Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                     Call with J. Flanders re: waters of the United States argument in Motion
  12/6/2022 CCKA   Center     Erica Maharg        for Summary Judgment.                                                              0.3    $590.00            $177.00            $0.00               0
                   Murieta
                   Equestrian                     Email with D. Hunt re: S. Bothwell Decl.
  12/8/2022 CCKA   Center     Erica Maharg                                                                                           0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Revise S. Bothwell declaration in support of Motion for Summary
 12/14/2022 CCKA   Center     Erica Maharg        Judgment.                                                                          0.4    $590.00            $236.00            $0.00               0

                   Murieta                        Finalize citations re: standing in Motion for Summary Judgment and
                   Equestrian                     SUF.
 12/16/2022 CCKA   Center       Erica Maharg                                                                                         1.5    $590.00            $885.00            $0.00               0
                   Murieta
                   Equestrian                     Discuss Oppn to Motion for Summary Judgment with T. Brett.
   1/4/2023 CCKA   Center       Erica Maharg                                                                                         0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Forward T. Brett Bothwell deposition and my summary and thoughts
   1/5/2023 CCKA   Center       Erica Maharg      about Oppn.                                                                        0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Call with T. Brett re: Motion for Summary Judgment Oppn.
   1/6/2023 CCKA   Center       Erica Maharg                                                                                         0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Call with T. Brett re: plans / next steps for revisions to opp to def's
  1/12/2023 CCKA   Center       Erica Maharg      Motion for Summary Judgment                                                        0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Review Dfts' Motion for Summary Judgment and our draft oppn; revise
  1/12/2023 CCKA   Center       Erica Maharg      latter.                                                                            3.1    $590.00           $1,829.00           $0.00               0
                   Murieta
                   Equestrian                     Email with co-counsel re: strategy for Phase II Motion for Summary
 10/16/2023 CCKA   Center       Erica Maharg      Judgment.                                                                          0.1    $590.00             $59.00            $0.00               0
                   Murieta
                   Equestrian                     Call with J. Flanders re: Phase II Motion for Summary Judgment
 10/17/2023 CCKA   Center       Erica Maharg                                                                                         0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Call with J. Flanders re: Tim Simpson
   1/3/2024 CCKA   Center       Erica Maharg                                                                                         0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Call T. Brett re: discovery responses
  1/23/2024 CCKA   Center       Erica Maharg                                                                                         0.1    $590.00             $59.00            $0.00               0

                   Murieta                        Call with J. Flanders re: motion for leave to amend complaint strategy.
                   Equestrian
  3/28/2024 CCKA   Center     Erica Maharg                                                                                           0.2    $590.00            $118.00            $0.00               0
                   Murieta
                   Equestrian                     Review and revise motion for leave to amend complaint.
  3/29/2024 CCKA   Center     Erica Maharg                                                                                           1.3    $590.00            $767.00            $0.00               0



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Date      Client   Matter       Staff             Description                                                                   Hours         Rate       Total               Billing         Billing
                                                                                                                                                                             Judgment Fee    Judgment
                                                                                                                                                                             Reduction       Time
                                                                                                                                                                                             Reduction
                   Murieta
                   Equestrian                     Call with T. Brett re: citations to prior photos in Swickard MIL
  4/19/2024 CCKA   Center       Erica Maharg                                                                                            0.1    $590.00             $59.00            $0.00                0
                   Murieta
                   Equestrian                     Call with T. Brett re: revisions to Swickard MIL
  4/19/2024 CCKA   Center       Erica Maharg                                                                                            0.2    $590.00            $118.00            $0.00                0
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Erica Maharg                                                                                            2.9    $590.00           $1,711.00           $0.00                0
                   Murieta
                   Equestrian
 11/16/2022 CCKA   Center       Erica Maharg                                                                                            0.5    $590.00            $295.00            $0.00                0
                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center       Erica Maharg                                                                                            1.8    $590.00           $1,062.00           $0.00                0
                   Murieta                        Review summary of public documents and analysis of same provided
                   Equestrian                     by co-counsel J. Flanders.
   4/2/2020 CCKA   Center       Erin Clancy                                                                                             0.7    $620.00              $0.00          $434.00               0.7
                                                  Multiple email communications to and from co-counsel J. Flanders
                   Murieta                        regarding strategy for further investigation of this facility and its Clean
                   Equestrian                     Water Act and Resource Conservation and Recovery Act violations.
   4/9/2020 CCKA   Center       Erin Clancy                                                                                             0.4    $620.00              $0.00          $248.00               0.4
                   Murieta                        Draft lawsuit proposal for consideration and acceptance by California
                   Equestrian                     Coastkeeper Alliance Board of Directors.
  4/10/2020 CCKA   Center       Erin Clancy                                                                                             0.6    $620.00              $0.00          $372.00               0.6
                   Murieta                        Review investigatory notes and photographs taken by California
                   Equestrian                     Coastkeeper Alliance staffer Kaitlyn Kalua.
  4/14/2020 CCKA   Center       Erin Clancy                                                                                             0.4    $620.00              $0.00          $248.00               0.4
                   Murieta                        Multiple email communications to and from co-counsel J. Flanders
                   Equestrian                     regarding further investigation of this facility.
  4/15/2020 CCKA   Center       Erin Clancy                                                                                             0.2    $620.00              $0.00          $124.00               0.2
                   Murieta                        Supplement and revise lawsuit proposal for consideration and
                   Equestrian                     acceptance by California Coastkeeper Alliance Board of Directors.
  4/21/2020 CCKA   Center       Erin Clancy                                                                                             0.5    $620.00              $0.00          $310.00               0.5
                   Murieta                        Multiple email communications to and from co-counsel J. Flanders
                   Equestrian                     regarding further investigation of this facility.
  4/21/2020 CCKA   Center       Erin Clancy                                                                                             0.2    $620.00              $0.00          $124.00               0.2
                   Murieta                        Email communication to co-counsel J. Flanders regarding formal
                   Equestrian                     pursuit of this facility.
  5/13/2020 CCKA   Center       Erin Clancy                                                                                             0.1    $620.00              $0.00           $62.00               0.1
                   Murieta                        Email communications to and from co-counsel J. Flanders regarding
                   Equestrian                     formal pursuit of this facility.
  5/19/2020 CCKA   Center       Erin Clancy                                                                                             0.2    $620.00              $0.00          $124.00               0.2
                   Murieta                        Email communication from co-counsel J. Flanders regarding the Notice
                   Equestrian                     of Violation and Intent to File Suit, and strategy regarding the same.
   6/9/2020 CCKA   Center       Erin Clancy                                                                                             0.1    $620.00              $0.00           $62.00               0.1




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Date      Client   Matter       Staff             Description                                                              Hours         Rate       Total             Billing          Billing
                                                                                                                                                                      Judgment Fee     Judgment
                                                                                                                                                                      Reduction        Time
                                                                                                                                                                                       Reduction
                   Murieta                        Email communications from and to co-counsel J. Flanders and E.
                   Equestrian                     Maharg regarding the Notice of Violation and Intent to File Suit, and
  6/10/2020 CCKA   Center       Erin Clancy       strategy regarding the same.                                                     0.2    $620.00             $0.00         $124.00                0.2
                   Murieta                        Supplement and revise 11-page, single-spaced Notice of Violation and
                   Equestrian                     Intent to File Suit Under the Clean Water Act, directed to Cosumnes
  6/11/2020 CCKA   Center       Erin Clancy       Corporation dba Murieta Equestrian Center.                                       2.6    $620.00             $0.00        $1,612.00               2.6
                   Murieta                        Email communications from and to co-counsel J. Flanders and E.
                   Equestrian                     Maharg regarding the updated Notice of Violation and Intent to File
  6/11/2020 CCKA   Center       Erin Clancy       Suit, and strategy regarding the same.                                           0.2    $620.00             $0.00         $124.00                0.2
                   Murieta                        Draft Complaint.
                   Equestrian
  8/12/2020 CCKA   Center       Erin Clancy                                                                                        2.1    $620.00             $0.00        $1,302.00               2.1
                   Murieta                        Supplement and revise draft Complaint to include additional claims
                   Equestrian                     under the Clean Water Act.
  8/17/2020 CCKA   Center       Erin Clancy                                                                                        0.6    $620.00             $0.00         $372.00                0.6
                   Murieta                        Email to co-counsel J. Flanders regarding the draft Complaint.
                   Equestrian
  8/17/2020 CCKA   Center       Erin Clancy                                                                                        0.1    $620.00             $0.00          $62.00                0.1
                   Murieta                        Emails from and to co-counsel E. Maharg regarding the final version of
                   Equestrian                     the Complaint and strategy for the filing of the same.
  8/25/2020 CCKA   Center       Erin Clancy                                                                                        0.2    $620.00             $0.00         $124.00                0.2
                   Murieta                        Review and evaluate Defendant’s First Amended Answer.
                   Equestrian
  1/19/2021 CCKA   Center       Erin Clancy                                                                                        0.5    $620.00             $0.00         $310.00                0.5
                   Murieta                        Prepare draft Joint Statement per Rule 26F.
                   Equestrian
  1/19/2021 CCKA   Center       Erin Clancy                                                                                        0.8    $620.00             $0.00         $496.00                0.8
                   Murieta                        Review file and prepare documents for the initial disclosures per
                   Equestrian                     Federal Rules of Civil Procedure.
   2/5/2021 CCKA   Center       Erin Clancy                                                                                        1.4    $620.00             $0.00         $868.00                1.4
                   Murieta                        Review, revise and supplement the draft requests for admission and
                   Equestrian                     requests for production to propound on Defendant.
  2/24/2021 CCKA   Center       Erin Clancy                                                                                        1.2    $620.00             $0.00         $744.00                1.2
                   Murieta                        Email correspondences with J. Flanders and his team regarding
                   Equestrian                     today’s wet weather inspection.
  3/18/2021 CCKA   Center       Erin Clancy                                                                                        0.3    $620.00             $0.00         $186.00                0.3
                                                  Prepare 11 page, single-spaced memo and draft meet and confer to
                   Murieta                        opposing counsel addressing Defendant’s insufficient affirmative
                   Equestrian                     defenses in its Answer and discussion of Rule 11 motions for
 11/25/2021 CCKA   Center     Erin Clancy         sanctions.                                                                       5.7    $620.00             $0.00        $3,534.00               5.7
                   Murieta
                   Equestrian                  Format Public Records Act request; print and mail same.
   1/7/2020 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00                 0
                   Murieta
                   Equestrian                  Format and edit notice letter; email to J. Flanders for review; begin
  6/17/2020 CCKA   Center     Esmeralda Bustos preparing certified mail envelopes.                                                 0.7    $218.00           $152.60           $0.00                 0




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Date      Client   Matter       Staff               Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                             Judgment Fee    Judgment
                                                                                                                                                                             Reduction       Time
                                                                                                                                                                                             Reduction


                                               Search weather underground and National Oceanic and Atmospheric
                   Murieta                     Administration websites for rain events near Rancho Murieta; emails
                   Equestrian                  with J. Flanders re: drafting of rain chart; telephone call with A. Barnes
  6/18/2020 CCKA   Center     Esmeralda Bustos re: same.                                                                                  1.1    $218.00           $239.80           $0.00               0
                   Murieta
                   Equestrian                  Finalized notice letter and attachment for mailing; print service copies
  6/22/2020 CCKA   Center     Esmeralda Bustos and prepare mailing envelopes.                                                             0.9    $218.00           $196.20           $0.00               0

                   Murieta                       Finalize complaint and prepare accompanying exhibit; review ECF case
                   Equestrian                    initiating instructions for Eastern District of California; file complaint and
  8/25/2020 CCKA   Center       Esmeralda Bustos pay filing fee.                                                                          0.9    $218.00           $196.20           $0.00               0
                   Murieta
                   Equestrian                    Edit complaint, removing co-counsel information; mail Eastern District
  8/26/2020 CCKA   Center       Esmeralda Bustos of California clerk copy of requested revised complaint.                                 0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                    Download and save summons, initial pretrial scheduling order, and
  9/15/2020 CCKA   Center       Esmeralda Bustos magistrate judge related entries.                                                        0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Calculate and calendar first day to file Resource Conservation and
  9/21/2020 CCKA   Center       Esmeralda Bustos Recovery Act complaint.                                                                  0.2    $218.00            $43.60           $0.00               0

                                               File First Amended Complaint via Eastern District of California ECF;
                   Murieta                     download remaining docket record; submit service of process order to
                   Equestrian                  River City for summons, complaint, First Amended Complaint, and all
  10/1/2020 CCKA   Center     Esmeralda Bustos case initiating documents.                                                                 0.6    $218.00           $130.80           $0.00               0
                   Murieta
                   Equestrian                  Edit First Amended Complaint and incorporate exhibit.
  10/1/2020 CCKA   Center     Esmeralda Bustos                                                                                            0.4    $218.00            $87.20           $0.00               0

                   Murieta                       Complete consent to magistrate judge jurisdiction; file completed from
                   Equestrian                    via ECF with Eastern District of California; resend service of summons
  10/1/2020 CCKA   Center       Esmeralda Bustos order to River City with updated documents.                                              0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                       File Proof of Service of summons with Eastern District of California.
  10/7/2020 CCKA   Center       Esmeralda Bustos                                                                                          0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                       Calendar answer deadline.
  10/9/2020 CCKA   Center       Esmeralda Bustos                                                                                          0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                       Telephone call with J. Flanders re: formatting and service of letter.
 10/29/2020 CCKA   Center       Esmeralda Bustos                                                                                          0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Draft Proof of Service; download case docket; email service copies to
  11/5/2020 CCKA   Center       Esmeralda Bustos J. Sullivan.                                                                             0.4    $218.00            $87.20           $0.00               0




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Date      Client   Matter       Staff              Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction


                   Murieta                       Research Federal Rule of Civil Procedure regarding timing of motion to
                   Equestrian                    strike; email J. Flanders re: same; calculate and calendar filing
 11/24/2020 CCKA   Center       Esmeralda Bustos deadline re: same.                                                                    0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                    Incorporate J. Flanders edits to meet and confer letter. Finalize and
  12/2/2020 CCKA   Center       Esmeralda Bustos email to opposing counsel.                                                            0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Format meet and confer letter onto letterhead.
  12/2/2020 CCKA   Center       Esmeralda Bustos                                                                                       0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Draft stipulation and proposed order.
 12/14/2020 CCKA   Center       Esmeralda Bustos                                                                                        1     $218.00           $218.00           $0.00               0
                   Murieta
                   Equestrian                    Edit stipulation and proposed order; email updated versions to J.
 12/17/2020 CCKA   Center       Esmeralda Bustos Flanders for review.                                                                  0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                    Telephone call with J. Flanders re: finalizing stip and order re: Motion to
 12/17/2020 CCKA   Center       Esmeralda Bustos Strike.                                                                               0.1    $218.00            $21.80           $0.00               0

                                               Review local rules re: multiple signatures of counsel on document.
                                               Emails with J. Flanders re: same. Edit stip and add statement to stip
                   Murieta                     per LR 131(e); finalize proposed order and stip for filing; E-file both with
                   Equestrian                  Eastern District of California; email native version of proposed order to
 12/17/2020 CCKA   Center     Esmeralda Bustos Judge Nunley.                                                                           0.7    $218.00           $152.60           $0.00               0
                   Murieta
                   Equestrian                  Download orders and calendar order deadlines.
 12/18/2020 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Upload defendants initial disclosures.
  1/14/2021 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Finalize draft joint 26f report and Case Management Statement; file via
  1/29/2021 CCKA   Center     Esmeralda Bustos ECF with Eastern District of California.                                                0.7    $218.00           $152.60           $0.00               0
                   Murieta
                   Equestrian                  Finalize inspection demand and draft Proof of Service.
  1/29/2021 CCKA   Center     Esmeralda Bustos                                                                                         0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                  Email opposing counsel inspection demand and proof of service.
  1/29/2021 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft initial disclosures pleading.
   2/4/2021 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00            $65.40           $0.00               0

                   Murieta                     Calendar inspection request deadline, initial disclosures, and deadline
                   Equestrian                  to respond to Defendants request for production of documents.
   2/8/2021 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60           $0.00               0



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Date      Client   Matter       Staff              Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Format and add bates numbers to initial disclosures; create bates
  2/11/2021 CCKA   Center       Esmeralda Bustos number log; draft Proof of Service.                                                  1.8    $218.00           $392.40           $0.00               0
                   Murieta
                   Equestrian
  2/11/2021 CCKA   Center       Esmeralda Bustos Draft email with initial disclosures and SharePoint link to opposing couns           0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Emails and telephone calls with C. Hudak re: initial disclosure
  2/11/2021 CCKA   Center       Esmeralda Bustos documents.                                                                           0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Download and save order setting status conference. Calendar order
  2/26/2021 CCKA   Center       Esmeralda Bustos deadlines.                                                                           0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Call with J. Flanders re: draft stipulation and joint statement.
   3/3/2021 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Draft stipulation re: site inspection; email to J. Flanders for review.
   3/3/2021 CCKA   Center       Esmeralda Bustos                                                                                      0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian                      Add edits to draft stipulation.
   3/3/2021 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                       Convert emails to pdf.; add bates number to final Requests for
                   Equestrian                    Production documents; draft Proof of Service; email all to J. Flanders
   3/8/2021 CCKA   Center       Esmeralda Bustos for review.                                                                          1.8    $218.00           $392.40           $0.00               0
                   Murieta
                   Equestrian                    Update Proof of Service and create shareable link to Requests for
   3/8/2021 CCKA   Center       Esmeralda Bustos Production responses; email opposing counsel same.                                   0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Draft status report template.
  3/15/2021 CCKA   Center       Esmeralda Bustos                                                                                      0.9    $218.00           $196.20           $0.00               0
                   Murieta
                   Equestrian                      Edit and format requests for production and interrogatories for service.
  3/15/2021 CCKA   Center       Esmeralda Bustos                                                                                      0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                    Email opposing counsel service copies of requests for production and
  3/15/2021 CCKA   Center       Esmeralda Bustos interrogatories set 1; calendar response deadline.                                   0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Finalize status report and file via ECF; download and save notice of
  3/19/2021 CCKA   Center       Esmeralda Bustos electronic filing.                                                                   0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Email requested native word versions of requests for production and
  3/30/2021 CCKA   Center       Esmeralda Bustos interrogatories to opposing counsel.                                                 0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Download and save minute order; calendar settlement conference
  4/15/2021 CCKA   Center       Esmeralda Bustos deadlines.                                                                           0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter       Staff              Description                                                            Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Email to Magistrate Judge Newman's courtroom deputy to request
  7/19/2021 CCKA   Center       Esmeralda Bustos mediation date availability in mid-October.                                      0.3    $218.00             $65.40            $0.00               0
                   Murieta
                   Equestrian                      Save and update settlement conference calendar deadlines.
   8/2/2021 CCKA   Center       Esmeralda Bustos                                                                                  0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                      Download and save ECF notices.
  10/8/2021 CCKA   Center       Esmeralda Bustos                                                                                  0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                    Download and save NEF docket; update calendar for settlement
 10/11/2021 CCKA   Center       Esmeralda Bustos conference.                                                                      0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                    Telephone call with T. Trillo re: ECF filing of Second Amended
  2/10/2022 CCKA   Center       Esmeralda Bustos Complaint.                                                                       0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                    Consult prior U.S. Army Corps of Engineers subpoena for info re:
  2/10/2022 CCKA   Center       Esmeralda Bustos Touhey letter.                                                                   0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                    Review supreme court rules on paper copies of briefs. Discuss rules
  2/11/2022 CCKA   Center       Esmeralda Bustos with T. Trillo.                                                                  0.5    $218.00            $109.00            $0.00               0
                   Murieta
                   Equestrian                      Download and save files from DoD.
   3/8/2022 CCKA   Center       Esmeralda Bustos                                                                                  0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                      Telephone calls with T. Trillo re: downloading and saving DoD files.
   3/8/2022 CCKA   Center       Esmeralda Bustos                                                                                  0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                      Finalize Second Amended Complaint and exhibit. File both via ECF.
  3/10/2022 CCKA   Center       Esmeralda Bustos                                                                                  0.4    $218.00             $87.20            $0.00               0
                   Murieta
                   Equestrian                      Telephone call with J. Flanders re: Second Amended Complaint filing
  3/10/2022 CCKA   Center       Esmeralda Bustos                                                                                  0.1    $218.00             $21.80            $0.00               0

                                               Download zip files of subpoena production then upload to Everlaw for
                   Murieta                     processing. Begin drafting notice. Email to J. Flanders re: same.
                   Equestrian
  3/29/2022 CCKA   Center     Esmeralda Bustos                                                                                    5.1    $218.00           $1,111.80           $0.00               0
                   Murieta
                   Equestrian                  Upload additional documents for production to Everlaw.
  3/30/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.5    $218.00            $109.00            $0.00               0

                   Murieta                     Telephone call to Everlaw re: status of Rancho Murieta Community
                   Equestrian                  Services District data
  3/30/2022 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00             $21.80            $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Reply to J. Flanders email re: additional documents for production.
  3/30/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Reply to email from Everlaw re: Rancho Murieta Community Services
  3/30/2022 CCKA   Center     Esmeralda Bustos District upload                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download production zip file and upload same to Dropbox
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                     2.2    $218.00           $479.60           $0.00               0

                   Murieta                         Create Everlaw binders and production protocol. Production of
                   Equestrian                      documents.
  3/31/2022 CCKA   Center       Esmeralda Bustos                                                                                   1.6    $218.00           $348.80           $0.00               0
                   Murieta
                   Equestrian                    Telephone call with Everlaw support re: production, document
  3/31/2022 CCKA   Center       Esmeralda Bustos conversion errors, and protocols.                                                 0.9    $218.00           $196.20           $0.00               0
                   Murieta
                   Equestrian                      Revise notice to cite Federal Rule of Civil Procedure rule 26
  3/31/2022 CCKA   Center       Esmeralda Bustos                                                                                   0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                      Provide update on document production during staff meeting
  3/31/2022 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Review final production on Everlaw. Telephone call with T. Trillo re:
                   Equestrian                  accompanying notice. Draft notice and email to J. Flanders for review.
  3/31/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.8    $218.00           $174.40           $0.00               0

                   Murieta                         Second attempt to upload production to Dropbox. Finalize disclosures
                   Equestrian                      notice and Proof of Service.
   4/1/2022 CCKA   Center       Esmeralda Bustos                                                                                   2.6    $218.00           $566.80           $0.00               0
                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center       Esmeralda Bustos Update Proof of Service and test Dropbox link.                                    0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                      Serve opposing counsel supplemental production via email.
   4/1/2022 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Telephone call with J. Flanders re: disclosure notice and POS
   4/1/2022 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Draft proposed order for ex parte application
  4/11/2022 CCKA   Center       Esmeralda Bustos                                                                                   0.6    $218.00           $130.80           $0.00               0

                   Murieta                     Telephone call with J. Flanders re: ex parte application filing (.1).
                   Equestrian                  Research Local Rules re: ex parte filings (.3).
  4/11/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.4    $218.00            $87.20           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                      Format objection to notice of taking of deposition.
  4/12/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.6    $218.00           $130.80           $0.00               0
                   Murieta
                   Equestrian                    Telephone calls with T. Brett re: Proof of Service file name (.1).
  4/12/2022 CCKA   Center       Esmeralda Bustos Rename file and email to opposing counsel (.2).                                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                    Telephone call with T. Brett re: notice of objection of taking of
  4/12/2022 CCKA   Center       Esmeralda Bustos deposition format                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Telephone call with J. Flanders re: email instructing service of notice of
  4/12/2022 CCKA   Center       Esmeralda Bustos objection of taking of deposition                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Serve via email objection to notice of taking deposition on opposing
  4/12/2022 CCKA   Center       Esmeralda Bustos counsel                                                                              0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Telephone call with T. Trillo re: filing non-party subpoenas
  4/20/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Reply email re: Murieta Equestrian Center coding project on Everlaw.
                   Equestrian
  4/21/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Telephone call with C. Hudak re: Murieta Equestrian Center documents
  4/21/2022 CCKA   Center     Esmeralda Bustos on Everlaw.                                                                            0.4    $218.00            $87.20           $0.00               0

                   Murieta                         Review Everlaw Murieta Equestrian Center files. Email J. Flanders re:
                   Equestrian                      same.
  4/26/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                    Download final production from 4/1/22. Several attempts to upload
  4/27/2022 CCKA   Center       Esmeralda Bustos same to client file.                                                                 3.3    $218.00           $719.40           $0.00               0
                   Murieta
                   Equestrian
  4/27/2022 CCKA   Center       Esmeralda Bustos Transmit payment to Veritext for Ian Wren transcript.                                0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Discuss discovery production on Everlaw
  4/28/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Email to C. Hudak re: production audit.
  4/29/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  4/29/2022 CCKA   Center       Esmeralda Bustos Email to J. Flanders re: case expenses.                                              0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter      Staff               Description                                                             Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Audit discovery folder and reorganize documents. Draft table
                   Equestrian                  documenting timeline of discovery served and corresponding
   5/2/2022 CCKA   Center     Esmeralda Bustos responses.                                                                          1.3    $218.00           $283.40           $0.00               0
                   Murieta
                   Equestrian                  Telephone call with C. Hudak re: defendant production audit.
   5/4/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     Esmeralda Bustos Download and save Veritext invoice.                                                 0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Call with T. Brett re: filing motion for alternative service of Carol
                   Equestrian                  Anderson Ward subpoena and ex parte app for OST
  5/12/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft notice and update subpoena forms. Telephone calls with J.
                   Equestrian                  Flanders re: declaration exhibits. Add additional exhibits. Finalize
  5/13/2022 CCKA   Center     Esmeralda Bustos motion and supporting documents for filing.                                         1.9    $218.00           $414.20           $0.00               0

                   Murieta                     Review T. Brett filing instructions and declaration exhibits. Add cover
                   Equestrian                  pages to exhibits.
  5/13/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.7    $218.00           $152.60           $0.00               0

                   Murieta                     File motion and supporting documents with Eastern District of
                   Equestrian                  California. Email magistrate judge proposed order.
  5/13/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.7    $218.00           $152.60           $0.00               0
                   Murieta
                   Equestrian                  Telephone call with J. Flanders re: motion filing logistics.
  5/13/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                                                   Review local rules to determine deadlines for opposition and reply.
                   Murieta                         Calculate all deadlines and calendar. Update case master spreadsheet
                   Equestrian                      deadlines.
  5/16/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.6    $218.00           $130.80           $0.00               0

                   Murieta                     Review RJN declaration and exhibits; review productions on Everlaw to
                   Equestrian                  determine project/production data size.
  5/16/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Create project and binders for production on Everlaw.
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                     1.1    $218.00           $239.80           $0.00               0
                   Murieta
                   Equestrian                  Attempt to create production log for second supplement disclosures.
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.9    $218.00           $196.20           $0.00               0




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Date      Client   Matter       Staff              Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction


                   Murieta                     Communicate with Everlaw re: production log. Create production log.
                   Equestrian
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.4    $218.00            $87.20           $0.00                0
                   Murieta
                   Equestrian                  Telephone call with C. Hudak re: document/project on Everlaw
  5/18/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.4    $218.00            $87.20           $0.00                0

                   Murieta                         Telephone call with C. Hudak re: discovery sent/received and
                   Equestrian                      documents on Everlaw.
  5/18/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                      Edit/recreate production from Everlaw for 2nd supplement production.
  5/19/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.4    $218.00            $87.20           $0.00                0
                   Murieta
                   Equestrian                      Teleconference with J. Flanders re: draft joint stip
  5/20/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Draft joint stip re: motion for leave to serve subp by alternative means.
  5/20/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.7    $218.00           $152.60           $0.00                0
                   Murieta
                   Equestrian                      Conduct research on searches/search folders for Outlook.
  5/20/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.5    $218.00           $109.00           $0.00                0
                   Murieta
                   Equestrian                      Confer with E. Maharg re: email searching.
  5/20/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Incorporate edits to stip; finalize for filing.
  5/24/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                      Scan and save Anderson Ward grant deeds.
  5/24/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                    File stipulation. Email proposed order to magistrate judge. Download
  5/24/2022 CCKA   Center       Esmeralda Bustos and save docket entries.                                                              0.4    $218.00            $87.20           $0.00                0

                   Murieta                     Communicate with J. Flanders re: service of stipulation and motion on
                   Equestrian                  C. Anderson Ward. Print service copies and draft Proof of Service.
  5/25/2022 CCKA   Center     Esmeralda Bustos Prepare FedEx label and envelope.                                                       1.3    $218.00             $0.00         $283.40               1.3
                   Murieta
                   Equestrian                  Format/edit subpoena form and deposition notices. Update Proof of
  5/25/2022 CCKA   Center     Esmeralda Bustos Service.                                                                                1.8    $218.00           $392.40           $0.00                0

                   Murieta                     Format deposition notice for S. Paulsen. Email court reporter for
                   Equestrian                  deposition coverage.
  5/25/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.6    $218.00           $130.80           $0.00                0




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Date      Client   Matter       Staff              Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                      Begin drafting Proof of Service for discovery to be served today.
  5/25/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center       Esmeralda Bustos Email requests for production set 4 and deposition/subpoena to opposin               0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: service of requests for production and deposition
  5/25/2022 CCKA   Center       Esmeralda Bustos notices                                                                              0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Call with T. Brett re: service of discovery devices on defendant today.
  5/25/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                       Download and save docket entry. Update motion for leave to serve
                   Equestrian                    subpoena by alternative means deadlines. Attempt to download
  5/26/2022 CCKA   Center       Esmeralda Bustos defendant document production.                                                       0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                      Review Judge Barnes' info page for motion hearing days.
  5/26/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Reply to court reporter to confirm coverage for 6/8 and 6/9 depositions.
  5/26/2022 CCKA   Center       Esmeralda Bustos Calendar same.                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center       Esmeralda Bustos Add deposition information to case spreadsheet.                                      0.1    $218.00            $21.80           $0.00               0

                                                   Finalize requests for production set 5 and Proof of Service. Draft email
                                                   and serve requests for production and Thunder Mountain subpoena on
                   Murieta                         opposing counsel. Calculate and calendar defendant's response
                   Equestrian                      deadline.
  5/27/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.6    $218.00           $130.80           $0.00               0
                   Murieta
                   Equestrian                  Format subpoena and exhibits for service.
  5/27/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.5    $218.00           $109.00           $0.00               0

                   Murieta                         Submit order to River City for rush service of subpoena on Thunder
                   Equestrian                      Mountain.
  5/27/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                    Draft Proof of Service for requests for production set 5 and Thunder
  5/27/2022 CCKA   Center       Esmeralda Bustos Mountain subpoena.                                                                   0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                    Telephone call with T. Brett re: service of Thunder Mountain subpoena
  5/27/2022 CCKA   Center       Esmeralda Bustos and requests for production set 5.                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Download and save docket entries. Calendar last day to hold ADR
   6/1/2022 CCKA   Center       Esmeralda Bustos session.                                                                             0.2    $218.00            $43.60           $0.00               0



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Date      Client   Matter       Staff              Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                      Email T. Brett updates on Thunder Mountain subpoena service.
   6/1/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Download and save docket entries.
   6/1/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Email River City to request service at agent's office address.
   6/1/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Confer with C. Hudak re: Everlaw Murieta Equestrian Center project.
   6/2/2022 CCKA   Center       Esmeralda Bustos Add D. Hunt as project user.                                                        0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                    Download and save Proof of sub service on Thunder Mountain; email
   6/2/2022 CCKA   Center       Esmeralda Bustos same to J. Flanders and T. Brett.                                                   0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Confer with J. Flanders re: service of interrogatory response.
   6/2/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0

                   Murieta                         Format interrogatory response and finalize for service. Update Proof of
                   Equestrian                      Service.
   6/6/2022 CCKA   Center       Esmeralda Bustos                                                                                     1.0    $218.00           $218.00           $0.00                0
                   Murieta
                   Equestrian                      Call with T. Brett re: arranging for printing documents.
   6/7/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: document printing and production for depositions
   6/7/2022 CCKA   Center       Esmeralda Bustos (Paulsen and 30(b)(6))                                                              0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Call with T. Brett re: document printing
   6/7/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Call with J. Flanders and T. Brett re: exhibit production
   6/7/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.3    $218.00             $0.00          $65.40               0.3
                   Murieta
                   Equestrian                    Email to court reporter K. Gillie re: exhibits and expedited Paulsen
  6/13/2022 CCKA   Center       Esmeralda Bustos transcript.                                                                         0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                    Email to court reporter to request expedited Paulsen deposition
  6/13/2022 CCKA   Center       Esmeralda Bustos transcript.                                                                         0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Reply to email from court reporter D. Scarpelli.
  6/13/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Email J. Flanders re: expert rebuttal deadline.
  6/13/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0




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Date      Client   Matter       Staff              Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Review case docket to determine updated deadlines.
  6/14/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders re: transcript and Pearson
  6/15/2022 CCKA   Center     Esmeralda Bustos deposition exhibit.                                                                  0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Follow up emails to court report re: exhibit 19 of Pearson deposition.
                   Equestrian
  6/16/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Reply to court reporter email re: expedited transcript.
  6/16/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                         Download and save Murieta Equestrian Center spreadsheets re: decay,
                   Equestrian                      hydrology and sample results. Search for initial Paulsen report.
  6/21/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                    Run comparison of initial and revised Paulsen reports. Email report to
  6/21/2022 CCKA   Center       Esmeralda Bustos J. Flanders.                                                                       0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian
  6/21/2022 CCKA   Center       Esmeralda Bustos Create SharePoint link for client to access files.                                 0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Download and save Paulsen deposition transcript; email same to client.
  6/22/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Download and save corrected exhibit 18 to Paulsen deposition.
  6/22/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Submit payment to court reporter for Paulsen deposition transcript.
  6/23/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0

                   Murieta                         Compare defendant's 6-3-22 supplemental production to Pearson
                   Equestrian                      deposition exhibits 34-45.
  6/27/2022 CCKA   Center       Esmeralda Bustos                                                                                    1.7    $218.00           $370.60           $0.00               0
                   Murieta
                   Equestrian                    Download and save Pearson deposition transcripts and defendant's
  6/27/2022 CCKA   Center       Esmeralda Bustos document production from 6-3-22.                                                   0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                      Email to I. Wren with exhibit and bates ranges re: Pearson exhibits.
  6/27/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian
  6/27/2022 CCKA   Center       Esmeralda Bustos Reply to I. Wren email re: SharePoint access to documents.                         0.2    $218.00            $43.60           $0.00               0




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Date      Client   Matter       Staff              Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                  Revise deposition notice subpoena form. Draft Proof of Service. Email
  6/30/2022 CCKA   Center     Esmeralda Bustos to T. Brett for review.                                                                 0.9    $218.00           $196.20           $0.00               0

                   Murieta                         Finalize subpoena notice, form and proof of service. Email A. Ramos
                   Equestrian                      and opposing counsel service copies of same.
  6/30/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.6    $218.00           $130.80           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: final versions of Rancho Murieta Community
  6/30/2022 CCKA   Center       Esmeralda Bustos Services District subpoenas; review the same.                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Teleconference with T. Brett re: subpoena and subsequent service of
   7/6/2022 CCKA   Center       Esmeralda Bustos same.                                                                                 0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Finalize stipulation and proposed order. Efile then email native version
   7/6/2022 CCKA   Center       Esmeralda Bustos to judge.                                                                             0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Add opposing counsel edits to stip.
   7/6/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Pay court reporter invoice for Pearson deposition transcript.
   7/6/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Telephone call with T. Brett re: disclosure statement.
   7/7/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download Ian Wren files and upload to Dropbox for service. Finalize
                   Equestrian                  disclosure statement and Proof of Service.
   7/7/2022 CCKA   Center     Esmeralda Bustos                                                                                         0.8    $218.00           $174.40           $0.00               0

                   Murieta                     Review prior expert report and service thereof. Draft Proof of Service
                   Equestrian                  and accompanying disclosure statement. Reply to Wren email re: link
   7/7/2022 CCKA   Center     Esmeralda Bustos to report.                                                                              0.4    $218.00            $87.20           $0.00               0

                   Murieta                         Draft email and serve opposing counsel expert rebuttal report and file.
                   Equestrian
   7/7/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Email T. Brett re: disclosure statement for expert rebuttal report.
   7/7/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Reply to email from D. Hunt re: link to Wren rebuttal report.
   7/7/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Telephone call with I. Wren re: link to rebuttal report.
   7/7/2022 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter       Staff              Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                      Discuss prep of deposition exhibits with J. Flanders.
  7/11/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
  7/11/2022 CCKA   Center       Esmeralda Bustos Calendar Rancho Murieta Community Services District deposition.                    0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Email court reporter re: deposition exhibits.
  7/12/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
  7/14/2022 CCKA   Center       Esmeralda Bustos Upload deposition exhibits to Dropbox. Create link to share same with op           0.9    $218.00           $196.20           $0.00                0
                   Murieta
                   Equestrian                    Reply to Rancho Murieta Community Services District counsel re: zoom
  7/14/2022 CCKA   Center       Esmeralda Bustos meeting link. Email court reporter deposition exhibits.                            0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                      Teleconference with J. Flanders re: deposition exhibits.
  7/14/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Teleconference with J. Flanders re: Wren deposition transcripts (.1).
  7/15/2022 CCKA   Center       Esmeralda Bustos Teleconference with Veritext re: transcripts (.4)                                  0.5    $218.00           $109.00           $0.00                0

                   Murieta                     Upload added exhibits to Dropbox file for opposing counsel and email
                   Equestrian                  same to court reporter.
  7/15/2022 CCKA   Center     Esmeralda Bustos                                                                                      0.5    $218.00           $109.00           $0.00                0

                                                   Teleconference with E. Maharg re: production of Wren email (.1). Add
                   Murieta                         bates number to document production, draft accompanying Proof of
                   Equestrian                      Service. Email opposing counsel production (.6).
  7/18/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.7    $218.00           $152.60           $0.00                0
                   Murieta
                   Equestrian                      Download and save defendant's production.
  7/18/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian
  7/19/2022 CCKA   Center       Esmeralda Bustos Teleconference with J. Flanders re: meeting Murieta Equestrian Center p            0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Teams meeting to discuss status of production archives.
  7/20/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.7    $218.00           $109.00          $43.60               0.2
                   Murieta
                   Equestrian                      Teleconference with C. Hudak to review/audit discovery files.
  7/20/2022 CCKA   Center       Esmeralda Bustos                                                                                    0.7    $218.00           $152.60           $0.00                0
                   Murieta
                   Equestrian                    Email to Veritext customer service to request deposition transcripts of
  7/20/2022 CCKA   Center       Esmeralda Bustos Ian Wren.                                                                          0.2    $218.00            $43.60           $0.00                0




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Date      Client   Matter       Staff              Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Download and save volumes 1 and 2 of Ian Wren deposition
  7/20/2022 CCKA   Center     Esmeralda Bustos transcripts.                                                                           0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Review Murieta Equestrian Center discovery file and address items in
                   Equestrian                  C. Hudak spreadsheet.
  7/22/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.9    $218.00           $196.20           $0.00               0
                   Murieta
                   Equestrian                  Teleconference with C. Hudak re: discovery spreadsheet.
  7/22/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Follow up teleconference with C. Hudak re: defendant document
  7/22/2022 CCKA   Center     Esmeralda Bustos productions.                                                                           0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with C. Hudak re: document index of file in support of
                   Equestrian                  Motion for Summary Judgment
  7/27/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20           $0.00               0

                                                 Confer with J. Flanders re: stipulation caption page (.1). Finalize same
                   Murieta                       for filing; confirm proposed order emailing procedure (.2). Efile stip and
                   Equestrian                    email native version to Judge (.2). Download and save conformed copy
  7/28/2022 CCKA   Center       Esmeralda Bustos (.1).                                                                                0.6    $218.00           $130.80           $0.00               0
                   Murieta
                   Equestrian                    Email court reporter re: Fritschi deposition transcript. Download and
  7/28/2022 CCKA   Center       Esmeralda Bustos save same.                                                                           0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Calendar deadlines from dockets 64 and 65.
  8/23/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                      Reply to J. Flanders re: details of Wren deposition on 7/18/22.
  8/23/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Email Veritext inquiry re: 7/18/22 Wren deposition transcript.
  8/24/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Reply to Veritext email. Confirm order for 7/18/22 deposition transcript
  8/24/2022 CCKA   Center       Esmeralda Bustos of Ian Wren.                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Reply to J. Flanders email re: Wren deposition transcript.
  8/25/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Pay Veritext invoice for 7/18/22 Ian Wren deposition transcript.
   9/7/2022 CCKA   Center       Esmeralda Bustos Download and save transcript; email same to J. Flanders.                             0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                    Email Veritext to inquire about procedures to make corrections to Wren
  9/13/2022 CCKA   Center       Esmeralda Bustos deposition transcript.                                                               0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter       Staff              Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                      Further email inquiry to Veritext re: transcript corrections.
  9/13/2022 CCKA   Center       Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Email Veritext to inquire about procedures to make corrections to Wren
  9/13/2022 CCKA   Center       Esmeralda Bustos deposition transcript.                                                                 0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Teleconference with C. Hudak re: Everlaw (.2). Email to C. Capps re:
  9/22/2022 CCKA   Center       Esmeralda Bustos same (.2)                                                                              0.4    $218.00            $87.20           $0.00                0
                   Murieta
                   Equestrian                    Download recent ECF notifications. Calendar stipulated Motion for
 10/19/2022 CCKA   Center       Esmeralda Bustos Summary Judgment pleading deadlines.                                                   0.4    $218.00            $87.20           $0.00                0
                   Murieta
                   Equestrian                      Draft reply email to EAM re: processed data remaining on Everlaw.
 11/14/2022 CCKA   Center       Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Search Everlaw ATA umbrella account to determine how to download
                   Equestrian                  documents designated by EAM.(5) Telephone call with C. Hudak re:
 11/15/2022 CCKA   Center     Esmeralda Bustos document cards. (.1)                                                                     0.6    $218.00             $0.00         $130.80               0.6
                   Murieta
                   Equestrian                  Finish downloading and archiving data from Everlaw.
 11/15/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.2    $218.00            $43.60           $0.00                0

                   Murieta                     Further teleconference with C. Hudak re: instructions to download data
                   Equestrian                  from Everlaw.
 11/15/2022 CCKA   Center     Esmeralda Bustos                                                                                          0.1    $218.00             $0.00          $21.80               0.1

                   Murieta                         Begin downloading and saving to external hard drive processed data
                   Equestrian                      from Everlaw.
 11/16/2022 CCKA   Center       Esmeralda Bustos                                                                                        2.5    $218.00           $545.00           $0.00                0
                   Murieta
                   Equestrian                      Teleconference with T. Brett re: opposition filing later in the week.
 11/21/2022 CCKA   Center       Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Call with T. Brett re: filing opp to mtn to stay / defer.
 11/22/2022 CCKA   Center       Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Add tables of authorities and content. Telephone calls with T. Brett re:
 11/23/2022 CCKA   Center       Esmeralda Bustos same. Prepare pdfs of all opposition pleadings for filing.                             2.8    $218.00           $610.40           $0.00                0
                   Murieta
                   Equestrian                    Teleconference with T. Brett re: today's opposition filing. Calendar
 11/23/2022 CCKA   Center       Esmeralda Bustos motion filing deadlines.                                                               0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                    File opposition pleadings. Download and save NEF notifications of
 11/23/2022 CCKA   Center       Esmeralda Bustos same.                                                                                  0.3    $218.00            $65.40           $0.00                0




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Date      Client   Matter       Staff              Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Download and save docket no. 78.
  12/9/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                  Confer with C. Hudak re: exhibit bates numbering.
 12/12/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Motion for Summary Judgment work
 12/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40           $0.00                0

                                               Review Judge Barnes standing order and local rules re: courtesy
                   Murieta                     copies. Telephone call to ECF helpdesk re: pdf file size limitations.
                   Equestrian                  Email to courtroom deputy re: submission of exhibit courtesy copies.
 12/13/2022 CCKA   Center     Esmeralda Bustos                                                                                        0.4    $218.00            $87.20           $0.00                0

                                               Draft notice of lodging. Emails with D. Hunt re: lodging of drone
                   Murieta                     footage. Excerpt Paulsen and Pearson deposition transcripts. Draft
                   Equestrian                  declaration exhibit spreadsheet template. Begin drafting RJN and
 12/13/2022 CCKA   Center     Esmeralda Bustos locating supporting exhibits.                                                          2.3    $218.00           $501.40           $0.00                0

                                                   Draft templates of notice of lodging, proposed order, J. Flanders
                   Murieta                         declaration, and incorporate notice of motion to MPA. Review local
                   Equestrian                      rules on lodging exhibits; review courtroom deputy reply re: same.
 12/13/2022 CCKA   Center       Esmeralda Bustos                                                                                      1.5    $218.00           $327.00           $0.00                0
                   Murieta
                   Equestrian                    Teleconference with J. Flanders re: Motion for Summary Judgment
 12/13/2022 CCKA   Center       Esmeralda Bustos tasks.                                                                               0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                      Begin bates numbering Motion for Summary Judgment exhibits.
 12/14/2022 CCKA   Center       Esmeralda Bustos                                                                                      1.9    $218.00           $414.20           $0.00                0
                   Murieta
                   Equestrian                    Continuing labeling and bates numbering exhibits. Being download
 12/14/2022 CCKA   Center       Esmeralda Bustos drone video footage.                                                                 1.6    $218.00           $348.80           $0.00                0
                   Murieta
                   Equestrian                      Begin incorporating data into exhibit list spreadsheet.
 12/14/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.5    $218.00           $109.00           $0.00                0
                   Murieta
                   Equestrian                    Emails and telephone call with D. Hunt re: Pearson deposition
 12/14/2022 CCKA   Center       Esmeralda Bustos transcript.                                                                          0.4    $218.00            $65.40          $21.80               0.1
                   Murieta
                   Equestrian                    Draft multiple reply emails to D. Hunt re: deposition excerpts, exhibits
 12/14/2022 CCKA   Center       Esmeralda Bustos and drone footage.                                                                   0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                      Teleconference with J. Flanders re: motion tasks.
 12/14/2022 CCKA   Center       Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00                0




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Date      Client   Matter       Staff              Description                                                             Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft reply to D. Hunt re: deposition excerpts.
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Teleconference with C. Hudak re: exhibit list task.
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Teleconference with C. Hudak re: additional exhibit tasks.
 12/14/2022 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Continue drafting declaration and RJN. Add labels and bates numbers
                   Equestrian                  to additional exhibits.
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                     3.6    $218.00           $784.80           $0.00               0
                   Murieta
                   Equestrian                  Continue drafting J. Flanders declaration and RJN.
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                     1.5    $218.00           $327.00           $0.00               0
                   Murieta
                   Equestrian                  Continue drafting J. Flanders declaration.
 12/15/2022 CCKA   Center     Esmeralda Bustos                                                                                     1.4    $218.00           $305.20           $0.00               0

                   Murieta                         Continue adding labels and bates numbers to exhibits. Imbed
                   Equestrian                      hyperlinks to drone footage.
 12/15/2022 CCKA   Center       Esmeralda Bustos                                                                                   1.1    $218.00           $239.80           $0.00               0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Esmeralda Bustos Research how to download MP4 of YouTube videos.                                   0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Review emails for status on Motion for Summary Judgment tasks.
 12/15/2022 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Email to D. Hunt and J. Flanders re: obstacles to downloading drone
 12/15/2022 CCKA   Center       Esmeralda Bustos footage.                                                                          0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Add updated exhibits to J. Flanders declaration. Label and bates
                   Equestrian                  number newly added exhibits. Update notice of lodging and proposed
 12/16/2022 CCKA   Center     Esmeralda Bustos order. Update exhibits as required.                                                 3.5    $218.00           $763.00           $0.00               0

                   Murieta                     Incorporate authenticating language to Wren declaration. Create
                   Equestrian                  captions pages for Burchiel and Bothwell declarations. Create batch
 12/16/2022 CCKA   Center     Esmeralda Bustos pdfs of J. Flanders declaration exhibits.                                           2.9    $218.00           $632.20           $0.00               0
                   Murieta
                   Equestrian                  Finalize remaining motion pleadings. File Motion for Summary
 12/16/2022 CCKA   Center     Esmeralda Bustos Judgment and supporting documents via ECF.                                          1.1    $218.00           $239.80           $0.00               0
                   Murieta
                   Equestrian                  Assist with brief formatting for table of contents. Begin creating filing
 12/16/2022 CCKA   Center     Esmeralda Bustos versions of completed pleadings.                                                    2.4    $218.00           $523.20           $0.00               0




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Date      Client   Matter       Staff              Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Communicate with T. Trillo re: finalizing and filing.
 12/16/2022 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00                0

                                                   Finalize notice of lodging for filing. File same via ECF. Download and
                                                   save conformed copies of Motion for Summary Judgment. Print
                                                   courtesy copies of Motion for Summary Judgment and save J. Flanders
                   Murieta                         declaration exhibits to flash drive. Prepare FedEx shipping label.
                   Equestrian                      Travel/to from FedEx. Email proposed order to MJ Barnes.
 12/19/2022 CCKA   Center     Esmeralda Bustos                                                                                       1.8    $218.00             $0.00         $392.40               1.8
                   Murieta
                   Equestrian                  Download and save notice of acknowledgment re: flash drive with
 12/20/2022 CCKA   Center     Esmeralda Bustos exhibits.                                                                             0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Esmeralda Bustos Research how to download you tube videos. Create mp4s of drone vide                   1.0    $218.00             $0.00         $218.00                1

                   Murieta                     Reply to Ian Wren and email copy of J. Flanders declaration in support
                   Equestrian                  of Motion for Summary Judgment and accompanying exhibits.
   1/6/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian
   1/6/2023 CCKA   Center     Esmeralda Bustos Email D. Hunt and J. Flanders re: plans to lodge drone videos.                        0.1    $218.00            $21.80           $0.00                0

                                                   Finalize notice of lodging and file via ECF. Download and save ECF
                   Murieta                         notification. Print same and prepare FedEx mailing label. Travel
                   Equestrian                      to/from FedEx.
   1/9/2023 CCKA   Center       Esmeralda Bustos                                                                                     0.8    $218.00           $174.40           $0.00                0
                   Murieta
                   Equestrian                      Update notice of lodging. Create FedEx label.
   1/9/2023 CCKA   Center       Esmeralda Bustos                                                                                     0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                      Draft email to J. Flanders and T. Brett re: opposition filing deadline.
  1/10/2023 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett w/r/t uploading Defs Motion for Summary Judgment to
  1/12/2023 CCKA   Center       Esmeralda Bustos shared (plus supporting exhibits)                                                   0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                      Download and save docket no. 80. Forward same to EAM and T Brett.
  1/12/2023 CCKA   Center       Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Draft pleading for response to defendant's SUF.
  1/17/2023 CCKA   Center       Esmeralda Bustos                                                                                     0.9    $218.00           $196.20           $0.00                0
                   Murieta
                   Equestrian                    Save drone videos to flash drive and test. Create FedEx label to ship
  1/17/2023 CCKA   Center       Esmeralda Bustos flash drive to opposing counsel. Travel/to from FedEx.                              0.8    $218.00           $174.40           $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                     Emails with J. Flanders re: lodged drone videos to opposing counsel.
                   Equestrian
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Further emails with J. Flanders re: drone videos to opposing counsel.
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Reply to J. Flanders email re: availability to file reply tomorrow.
  1/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0

                                               Cite check brief; add tables of authorities and table of contents. Format
                   Murieta                     and finalize Bothwell declaration and accompanying exhibits.
                   Equestrian
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                        3.0    $218.00           $654.00           $0.00               0
                   Murieta
                   Equestrian                  Add exhibit letter sheets to Bothwell declaration exhibits.
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  File opposition brief, Bothwell declaration and response to SUF.
  1/18/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0

                   Murieta                         Teleconference with T. Brett re: opposition brief status and next steps.
                   Equestrian
  1/18/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Track FedEx shipment of video footage to opposing counsel.
  1/18/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Download and save filed oppositions.
  1/19/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Research/attempt formatting of converted word table. Emails to J.
  1/23/2023 CCKA   Center       Esmeralda Bustos Flanders re: same.                                                                   0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian                    Download and save second ECF entry of defendant's opposition at
  1/23/2023 CCKA   Center       Esmeralda Bustos docket no. 87.                                                                       0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Call with T. Brett re: formatting pleading paper.
  1/25/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Reply to Wren email re: copy of his declaration.
  1/26/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to opposing counsel to request native word version of
                   Equestrian                  docket 87.
  1/26/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0



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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Further research and attempts at creating a workable template of
                   Equestrian                  defendant's response to plaintiff's SUF
  1/30/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian                  Create scrubbed word version of plaintiff's response to defendants
  1/30/2023 CCKA   Center     Esmeralda Bustos SUF.                                                                              0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Email to J. Flanders re: Murieta Equestrian Center reply deadline.
  1/30/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Email to J. Flanders to inquire if opposing counsel replied to our
                   Equestrian                  request for native of docket no. 87.
  1/30/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Add J. Flanders comments to pleading of Defendant's SUF.
  1/31/2023 CCKA   Center     Esmeralda Bustos                                                                                   1.3    $218.00           $283.40           $0.00               0

                   Murieta                     Teleconference with J. Flanders re: updates and formatting to SUF
                   Equestrian                  template.
  1/31/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center     Esmeralda Bustos Download and save Defendant's SUF; email opposing counsel scrubbed                0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Draft email to J. Flanders with regards to next steps for defendant's
                   Equestrian                  SUF template.
  1/31/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft new SUF reply pleading.
   2/1/2023 CCKA   Center     Esmeralda Bustos                                                                                   1.8    $218.00           $392.40           $0.00               0

                   Murieta                     Audit SUF to find fact numbers where Wren testimony is cited as
                   Equestrian                  unreliable, unscientific, etc. Email findings to J. Flanders.
   2/2/2023 CCKA   Center     Esmeralda Bustos                                                                                   1.2    $218.00           $261.60           $0.00               0

                   Murieta                     Live chats and telephone calls with Lexis customer service to request
                   Equestrian                  cite publication.
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                   1.5    $218.00           $327.00           $0.00               0

                   Murieta                     Reorganize folder with saved docket entries. Email D. Hunt shareable
                   Equestrian                  link to same folder.
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                   0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to Thomson Reuters to submit opinions for publication in
   2/6/2023 CCKA   Center     Esmeralda Bustos National Reporter System.                                                         0.2    $218.00            $43.60           $0.00               0




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                                                                                                                                                                        Judgment Fee     Judgment
                                                                                                                                                                        Reduction        Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Upload modified versions of defendants opposition found at docket 87.
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80           $0.00                 0

                   Murieta                     Teleconference with J. Flanders. Discuss communicating with Lexis to
                   Equestrian                  request publication of two cases.
   2/6/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80           $0.00                 0

                                               Draft reply email to Thomson Reuters for case information for San
                   Murieta                     Francisco Baykeeper v. City of Sunnyvale, 2022 U.S. Dist. LEXIS
                   Equestrian                  164053.
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60           $0.00                 0
                   Murieta
                   Equestrian                  Follow up emails to Thomson Reuters re: cite number assignment.
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00           $43.60           $0.00                 0

                   Murieta                     Email J. Flanders Thomson Reuters reply re: opinion publication
                   Equestrian                  request.
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80           $0.00                 0

                   Murieta                     Forward Thomson Reuters email re: publication of SF Baykeeper
                   Equestrian                  opinions
   2/7/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80           $0.00                 0
                   Murieta
                   Equestrian                  Call with T. Brett re: help compiling exhibits for J Brett declaration.
  2/14/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80           $0.00                 0
                   Murieta
                   Equestrian                  Audit and locate defendant's request for interrogatories and request for
  2/14/2023 CCKA   Center     Esmeralda Bustos production quoted in reply brief. Save copies in exhibit folder.                       0.3    $218.00           $65.40           $0.00                 0

                   Murieta                     Teleconference with T. Brett re: assistance with locating language from
                   Equestrian                  either requests for admission or requests for production propounded by
  2/14/2023 CCKA   Center     Esmeralda Bustos Defendants.                                                                            0.1    $218.00            $0.00          $21.80                0.1

                   Murieta                     Teleconference with T. Brett re: creating copy of deposition transcript
                   Equestrian                  for extraction of pages.
  2/16/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00           $21.80           $0.00                 0

                                                  Cite check reply. Add tables of contents and authorities to same.
                                                  Prepare filing versions of reply and accompanying attachments. Draft
                                                  notice of lodging for chambers copies. Efile reply, attachments and
                                                  notice of lodging. Save filed copies of reply to USB flash drive. Prepare
                   Murieta                        mailing envelope for notice of lodging and flash drive.
                   Equestrian
  2/17/2023 CCKA   Center     Esmeralda Bustos                                                                                        4.8    $218.00            $0.00        $1,046.40               4.8




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                      Teleconference with Tom re: cite check and tables for reply brief.
  2/17/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Teleconference with T. Brett re: work on tables for brief.
  2/17/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Download and save NEF notifications of reply.
  2/17/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                    Telephone to court clerk to confirm docketing of USB flash drive with
  2/23/2023 CCKA   Center       Esmeralda Bustos courtesy copies of reply Motion for Summary Judgment.                                0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Download and save minute order vacating Motion for Summary
  2/27/2023 CCKA   Center       Esmeralda Bustos Judgment hearing on 3/3/23.                                                          0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Label exhibit to notice of supplemental authority. Finalize notice and
  5/25/2023 CCKA   Center       Esmeralda Bustos efile with exhibit.                                                                  0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download and save to file ECF notifications re: notice of supplemental
                   Equestrian                  authority.
  5/26/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Calendar event for deadline to file supplemental brief re: Sackett v U.S.
   6/6/2023 CCKA   Center     Esmeralda Bustos Environmental Protection Agency ruling.                                                0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Call with T. Trillo to coordinate 6/23 filing of supplemental brief re:
  6/21/2023 CCKA   Center     Esmeralda Bustos Sackett v U.S. Environmental Protection Agency ruling.                                 0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Format supplement brief for tables. Cite check; emails and telephone
                   Equestrian                  calls with D. Hunt and T. Brett re: cites, formatting and filing.
  6/23/2023 CCKA   Center     Esmeralda Bustos Incorporate tables. Email final version to D. Hunt for review.                         2.7    $218.00           $588.60           $0.00               0
                   Murieta
                   Equestrian                  Incorporate D. Hunts edits to brief; finalize and file.
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.8    $218.00           $174.40           $0.00               0

                                               Text T. Brett re: Sackett v U.S. Environmental Protection Agency
                   Murieta                     citation format; teleconference with T. Brett re: further brief edits. Draft
                   Equestrian                  reply email to D. Hunt re: same.
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: formatting of docket cites. Draft reply
                   Equestrian                  email to D. Hunt re: brief.
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                     Teleconference with T. Brett re: supplemental brief editing and filing.
                   Equestrian
  6/23/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save conformed copies of supplement brief.
  6/26/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file docket no. 97 request for oral argument.
  7/11/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download and save order for Phase I. Forward order to J. Flanders and
                   Equestrian                  T Brett. Calendar deadline to submit proposed stipulated further
  8/16/2023 CCKA   Center     Esmeralda Bustos schedule.                                                                              0.2    $218.00            $43.60           $0.00               0

                                               Review local rules re: documents requiring signatures of multiple
                                               counsel. Format/edit stipulation incorporation opposing counsel's edit
                   Murieta                     and adding required authorization language as required by local rules.
                   Equestrian                  Efile final version of stipulation; email proposed order to magistrate
  8/30/2023 CCKA   Center     Esmeralda Bustos judge.                                                                                 0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                  Draft reply email to courtroom deputy re: proposed order attachment.
  8/30/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft proof of service. Finalize inspection request. Draft service email to
  8/31/2023 CCKA   Center     Esmeralda Bustos opposing counsel with inspection request.                                              0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                  Download and save order re: phase II brief. Calendar order deadlines.
   9/6/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with T. Brett re: revisions to R. 34 inspection request.
  9/21/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Edit fifth rule 34 inspection request. Draft proof of service. Draft service
  9/21/2023 CCKA   Center     Esmeralda Bustos email to opposing counsel.                                                             0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to T. Brett re: service of R34 inspection request.
  9/21/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file docket no. 102 - 104.
  9/28/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  10/4/2023 CCKA   Center     Esmeralda Bustos Finalize requests for production request six. Draft proof of service. Draft            0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Teams chat with J. Flanders re: subpoena preparation to identified
  10/5/2023 CCKA   Center     Esmeralda Bustos organizations                                                                          0.1    $218.00            $21.80           $0.00               0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Telephone/text to T. Brett re: Murieta Equestrian Center subpoenas
                   Equestrian
  10/6/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Teams chat with J. Flanders re: substance of subpoenas
  10/6/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: Murieta Equestrian Center subpoena
                   Equestrian                  request content.
  10/6/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                         Prepare further subpoena forms for events manager entities. Draft
                   Equestrian                      notice of subpoena template.
 10/11/2023 CCKA   Center       Esmeralda Bustos                                                                                   0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                    Attempt to search Secretary of State bizonline. Draft document
 10/11/2023 CCKA   Center       Esmeralda Bustos subpoena template. Draft email to T. Brett re: attachment A.                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Draft reply email to T. Brett re: document subpoenas
 10/11/2023 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Draft reply email to T. Brett re: notice of subpoena and document
 10/11/2023 CCKA   Center       Esmeralda Bustos subpoena forms.                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Telephone call to Secretary of State re: bizonline.
 10/12/2023 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                         Teleconference with T. Brett re: status of event manager addresses.
                   Equestrian
 10/12/2023 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Teleconference with J. Flanders re: document subpoenas for event
 10/12/2023 CCKA   Center       Esmeralda Bustos managers.                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Draft email to T. Brett re: bizonline status. Online search for other
 10/16/2023 CCKA   Center       Esmeralda Bustos methods to obtain agent for service of process information.                       0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: Federal Rule of Civil Procedure 45
 10/17/2023 CCKA   Center       Esmeralda Bustos subpoenas on event managers.                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Search SoS websites for registered agents. Update subpoena forms
                   Equestrian                  accordingly.
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                     1.1    $218.00           $239.80           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and T. Brett re: findings on registered agents
 10/17/2023 CCKA   Center     Esmeralda Bustos for horse event organizations.                                                      0.4    $218.00            $87.20           $0.00               0



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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Live chat with Lexis support re: search for registered agent. Draft reply
                   Equestrian                  email to J. Flanders re: service addresses needed for organizations.
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Draft proof of service for notice of subpoenas and subpoena forms for
 10/17/2023 CCKA   Center     Esmeralda Bustos event managers.                                                                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Text message to T. Brett re: document subpoena service.
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: updating subpoena forms and add
                   Equestrian                  details to attachment A and plan to serve opposing counsel.
 10/17/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft follow up email to T. Brett and J. Flanders re: service of notice of
                   Equestrian                  subpoenas and subpoenas.
 10/18/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to J. Flanders re: availability to serve document
                   Equestrian                  subpoenas.
 10/18/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                                               Update attachment A. Draft notices of subpoena and revise proof of
                   Murieta                     service. Create pdfs of notice and subpoena for service on opposing
                   Equestrian                  counsel.
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                      1.3    $218.00           $283.40           $0.00               0

                   Murieta                     Draft orders for service of document subpoenas on West Palms Event
                   Equestrian                  Management, West Coast Equine Foundation and FoxFarms.
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and T. Brett updating on progress of
 10/19/2023 CCKA   Center     Esmeralda Bustos document subpoenas.                                                                  0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft service email to opposing counsel with notice and subpoena.
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with J. Flanders to discuss questions re: events
                   Equestrian                  manager addresses and such.
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: moving forward with event organization
                   Equestrian                  subpoenas
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter       Staff              Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                     Review Peggy Frackell skip trace report. Download and save to file.
                   Equestrian
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: edits to attachment A for each event
                   Equestrian                  manager.
 10/19/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                   Murieta                         Draft email to vendor to request skip tracing report on Peggy Frackell,
                   Equestrian                      manager of Let's Show.
 10/19/2023 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Telephone call and correspondence to J. Flanders re: pending
 10/19/2023 CCKA   Center       Esmeralda Bustos subpoena questions.                                                                 0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center       Esmeralda Bustos Draft email to ACE re: routing of order to Sacramento office.                       0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Draft order to ACE for service of Let's Show document subpoena.
 10/20/2023 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
 10/20/2023 CCKA   Center       Esmeralda Bustos Draft service email of requests for production set seven to opposing cou            0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft service email to opposing counsel with Let's Show notice and
                   Equestrian                  subpoena
 10/20/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Update subpoena form and draft notice of subpoena. Draft proof of
 10/20/2023 CCKA   Center     Esmeralda Bustos service. Finalize forms for service on opposing counsel.                              0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                  Draft Proof of Service for requests for production set seven. Draft email
 10/20/2023 CCKA   Center     Esmeralda Bustos to T. Brett re: requests for production requests.                                     0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Search for alternate address to serve Dale Harvey, registered agent for
                   Equestrian                  West Palms Event Management. Draft email to T. Brett and J. Flanders
 10/23/2023 CCKA   Center     Esmeralda Bustos re: subp service next steps.                                                          0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center     Esmeralda Bustos Draft email to ACE with instructions to serve Dale Harvey at Del Mar Hor              0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to ACE re: first attempt to serve West Palms Event
                   Equestrian                  Management.
 10/23/2023 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter       Staff              Description                                                                 Hours         Rate       Total            Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian
 10/23/2023 CCKA   Center       Esmeralda Bustos Draft reply email to J. Flanders re: further service attempt on Dale Harve            0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Create spreadsheet for tracking of subpoenas
 10/26/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Record vendor fees for service of subpoenas.
 10/26/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                    Calendar deadlines from minute order at 106 re: informal telephonic
 10/26/2023 CCKA   Center       Esmeralda Bustos discovery conference.                                                                 0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Draft reply emails to ACE re: attempted service on Peggy Frackell.
 10/26/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Download and save to file docket 106.
 10/26/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0

                   Murieta                         Download and save file proof of service for West Coast Equestrian
                   Equestrian                      Foundation document subpoena.
 10/27/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Draft email to J. Flanders re: filing of joint letter brief on 10/30/23.
 10/27/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                    Download and save to file final joint statement. Create pdf of same and
 10/30/2023 CCKA   Center       Esmeralda Bustos efile. Download and save to file docket no. 107.                                      0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Teleconference with J. Flanders re: filing of joint statement.
 10/30/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0

                   Murieta                         Cancel calendar event for 11/01/23 telephonic discovery conference.
                   Equestrian                      Download and save to file minute order 108 re: same.
 10/31/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Attempt to obtain GCL certificate re: 11/3/23 site visit
  11/1/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Submit request for GCL certificate for 11/3/23 site visit
  11/1/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                    Review status of pending subpoena service on FoxFarms and Peggy
  11/2/2023 CCKA   Center       Esmeralda Bustos Fackrell.                                                                             0.3    $218.00           $65.40           $0.00               0
                   Murieta
                   Equestrian                    Extract page from Motion for Summary Judgment exhibit VV for J.
  11/2/2023 CCKA   Center       Esmeralda Bustos Flanders.                                                                             0.2    $218.00           $43.60           $0.00               0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft reply email to J. Flanders re: current status of document
  11/3/2023 CCKA   Center     Esmeralda Bustos subpoena service                                                                     0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft email to T. Brett and J. Flanders re: next steps to serve document
                   Equestrian                  subpoena on FoxFarms.
  11/6/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft reply email to ACE to maintain service order on FoxFarms open.
  11/7/2023 CCKA   Center     Esmeralda Bustos Follow email to J. Flanders and T. Brett re: same.                                   0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Update tracking spreadsheet adding additional column for production
  11/8/2023 CCKA   Center     Esmeralda Bustos deadline. Draft reply email to T. Brett re: same.                                    0.3    $218.00           $65.40           $0.00               0

                                               Check order summary to confirm service of document subpoena on
                   Murieta                     Let's Show. Draft email to ACE re: proof of service. Text message to T.
                   Equestrian                  Brett re: FoxFarms subpoena.
  11/8/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60           $0.00               0

                   Murieta                         Download and save to file proof of service for Let's Show/Peggy
                   Equestrian                      Fackrell document subpoena. Update tracking spreadsheet.
  11/8/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Draft email to ACE re: subpoena proof of service subject name.
  11/8/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Download and save to file video of 11/3/23 inspection
  11/9/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.3    $218.00           $65.40           $0.00               0
                   Murieta
                   Equestrian                      Continue uploading video files from site inspection.
  11/9/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Proofread requests for production set eight; draft proof of service.
 11/15/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Record costs related to document subpoena service.
 11/15/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian
 11/15/2023 CCKA   Center       Esmeralda Bustos Draft service email with requests for production set 8 to opposing couns           0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft follow up email re: service of document subpoena on FoxFarms.
                   Equestrian
 11/15/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0




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Date      Client   Matter       Staff              Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                         Draft email to J. Flanders and T. Brett re: closing order of subpoena
                   Equestrian                      service on FoxFarms
 11/27/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Email ACE to close subpoena service order on FoxFarms.
 11/27/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Scan and save to file Let's show response and production.
 11/28/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Teleconference with T. Brett re: deposition scheduling on 12/4/23.
 11/28/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Draft reply to court reporter re: zoom link for deposition.
 11/28/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to court reporter to request coverage for 12/14/23 PMK
                   Equestrian                  deposition.
 11/28/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Continue drafting pleading templates for motion
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                        1.1    $218.00           $239.80           $0.00               0
                   Murieta
                   Equestrian                  Edit declaration with details of discovery propounded by Plaintiffs since
 11/29/2023 CCKA   Center     Esmeralda Bustos August 2023.                                                                           0.9    $218.00           $196.20           $0.00               0

                   Murieta                     Further edits to declaration template. Draft proposed order and create
                   Equestrian                  declaration exhibit A.
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                        0.7    $218.00           $152.60           $0.00               0

                                                   Create addition exhibit to motion declaration. Begin reviewing discovery
                   Murieta                         served since 08/2023. Draft email to T. Brett re: discovery re: same.
                   Equestrian
 11/29/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Begin drafting pleading templates for motion
 11/29/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                      Draft reply email to J. Flanders re: additions to motion declaration.
 11/29/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Review local rules for guidance on setting hearing date. Calculate
 11/29/2023 CCKA   Center       Esmeralda Bustos compliance for first available date.                                                 0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Draft email to courtroom deputy re: available dates for motion.
 11/29/2023 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0



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Date      Client   Matter       Staff              Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Draft email to J. Flanders request further instruction on drafting
                   Equestrian                  declaration for motion.
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to J. Flanders re: contacting Judge Barnes' courtroom
                   Equestrian                  deputy for available motion dates.
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Schedule teleconference with T. Brett to discuss discovery propounded
                   Equestrian                  since 08/2023.
 11/29/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Edit J. Flanders declaration per comments from J. Brett
 11/30/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00               0

                   Murieta                     Update calendar event for defendant's deadline to respond to ROGs,
                   Equestrian                  set 3
 11/30/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: discovery summary in J. Flanders
                   Equestrian                  declaration and recommended edits.
 11/30/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                       Finalize motion papers for efiling. Efile motion. Download and save to
                   Equestrian                    file docket entries of same. Calculate and calendar opposition and reply
  12/1/2023 CCKA   Center       Esmeralda Bustos deadlines.                                                                         0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                      Edit declaration and exhibit B.
  12/1/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Draft email to courtroom deputy with native word version of proposed
  12/1/2023 CCKA   Center       Esmeralda Bustos order for motion to amend scheduling order.                                        0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Call with J. Flanders re: PMQ deposition
  12/5/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Draft reply email to Planet Depos re: scheduling.
  12/5/2023 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Cancel court reporter coverage with Scarpelli. Email coverage request
                   Equestrian                  to Planet Depos.
  12/5/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Further culling of deposition exhibit documents
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                      0.9    $218.00           $196.20           $0.00               0




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Date      Client   Matter       Staff              Description                                                                 Hours         Rate       Total            Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Additional search to locate designated documents on Everlaw. Further
  12/6/2023 CCKA   Center     Esmeralda Bustos email to J. Flanders re: same.                                                          0.4    $218.00           $87.20           $0.00               0

                   Murieta                     Begin collating designated deposition exhibit documents in Everlaw.
                   Equestrian
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.4    $218.00           $87.20           $0.00               0
                   Murieta
                   Equestrian                  Continue collating identified deposition exhibit documents
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.3    $218.00           $65.40           $0.00               0

                   Murieta                     Telephone call with Everlaw customer support for troubleshooting with
                   Equestrian                  adding documents to binders.
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft follow up email to Planet deposition with requested scheduling
                   Equestrian                  information.
  12/6/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft email to Planet deposition re: distribution of link for remote
                   Equestrian                  deposition.
  12/8/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80           $0.00               0

                   Murieta                         Draft email to T. Brett and J. Flanders asking if 12/14/23 deposition
                   Equestrian                      would be moving forward.
 12/12/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Upload to Planet Depos deposition exhibits for Cosumnes PMK
 12/13/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.3    $218.00           $65.40           $0.00               0
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center       Esmeralda Bustos Emails with Planet deposition to resolve duplicate exhibit issue with inter           0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                      Revise deposition exhibit of interrogatories set 1.
 12/13/2023 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft email to Planet Depos with regards to sending deposition exhibits
                   Equestrian                  to be used at tomorrow's of Cosumnes PMK deposition.
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft reply email to J. Flanders re: exhibits for Cosumnes PMK
                   Equestrian                  deposition.
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos Teleconference with J. Flanders re: removing code designations from do                  0.1    $218.00           $21.80           $0.00               0




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Date      Client   Matter      Staff              Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Draft email to J. Flanders to alert re: deposition interrogatory response
                   Equestrian                  exhibit that should have been replaced by Planet deposition.
 12/13/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos Upload additional deposition exhibit to Planet deposition ShareFile site.           0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
 12/13/2023 CCKA   Center     Esmeralda Bustos Draft email to Planet Depos for guidance on removing a duplicate exhibi             0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with Planet Depos to resolve issue with interrogatories
                   Equestrian                  response exhibit.
 12/14/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $65.40           $0.00               0

                                               Telephone call and text messages with J. Flanders re: comms with
                   Murieta                     Planet deposition to replace incorrect interrogatories response exhibit.
                   Equestrian
 12/14/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with J. Flanders re: Planet deposition link to deposition
                   Equestrian                  exhibits
 12/14/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Finalize reply to motion to amend scheduling order. Download and
 12/19/2023 CCKA   Center     Esmeralda Bustos save to file docket entry nos. 110 and 111.                                         0.3    $218.00            $65.40           $0.00               0

                   Murieta                     Download and save to file defendant's RFA, SPROGs, and requests for
                   Equestrian                  production requests. Calculate and calendar response deadline. Add
 12/20/2023 CCKA   Center     Esmeralda Bustos same to master calendar.                                                            0.3    $218.00            $65.40           $0.00               0

                   Murieta                     Draft reply email to J. Flanders and T. Brett re: task to download
                   Equestrian                  discovery requests served by defendant on 12/14/23.
 12/20/2023 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Further emails with Planet depos transcript department re: accessing
   1/2/2024 CCKA   Center     Esmeralda Bustos portal. Download PMQ exhibits and save copies to file.                              0.7    $218.00           $152.60           $0.00               0
                   Murieta
                   Equestrian
   1/2/2024 CCKA   Center     Esmeralda Bustos Draft email to Planet Depos requesting coverage for remote deposition o             0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download and save to file docket entry 112, order granting motion to
                   Equestrian                  amend.
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Create calendar event for 1/5/24 30(b)(6) deposition; forward meeting
                   Equestrian                  link to opposing counsel.
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to T. Brett re: scheduling court reporter coverage for
                   Equestrian                  1/5/24 deposition.
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Email Planet Depos transcript department re: help access portal to
                   Equestrian                  download exhibits.
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download and save ACE invoice and record associate fees for
                   Equestrian                  attempts to service document subpoena on FoxFarms, Inc.
   1/2/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Search defendant's production using parameters discussed with T.
                   Equestrian                  Brett; input search data into corollary index/spreadsheet.
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                    2.3    $218.00           $501.40           $0.00               0

                   Murieta                     Teleconference with T. Brett to discuss search task of Defendant's
                   Equestrian                  production.
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0

                                               Draft reply email to Planet Depos confirming 1/5/24 booking and
                   Murieta                     providing requested deposition notice and opposing counsel email
                   Equestrian                  addresses.
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teams chat with J. Flanders re: assisting T. Brett with search of recent
                   Equestrian                  production received from Defendants.
   1/3/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download deposition exhibits for tomorrow's 30(b)(6) deposition then
   1/4/2024 CCKA   Center     Esmeralda Bustos upload to Planet Depos site.                                                       0.5    $218.00           $109.00           $0.00               0

                   Murieta                     Teleconference with T. Brett re: providing Court reporter with exhibits
                   Equestrian                  for tomorrow's deposition.
   1/4/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                                               Emails to T. Brett and J. Flanders re: link to tomorrow's deposition.
                   Murieta                     Upload additional exhibits to Planet Depos repository. Save copies of
                   Equestrian                  same to internal exhibit folder.
   1/4/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.4    $218.00            $87.20           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                     Extract and organize profit and loss statements and balance sheets
                   Equestrian                  from Defendant's production.
   1/8/2024 CCKA   Center     Esmeralda Bustos                                                                                        1.1    $218.00           $239.80           $0.00                0
                   Murieta
                   Equestrian                  Further organize extract P&L statements and balance sheets. Draft
   1/8/2024 CCKA   Center     Esmeralda Bustos email to J. Shefftz with link to documents.                                            0.3    $218.00            $65.40           $0.00                0

                   Murieta                     Review prior order to serve Carol Ward Trust. Draft reply email to J.
                   Equestrian                  Flanders re: new subpoena service order.
   1/9/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Draft email to TT and J. Flanders requesting biographic info on Carol
                   Equestrian                  Anderson.
   1/9/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00                0

                                               Search beenverified for Carol Anderson Ward to obtain DOB info. Draft
                   Murieta                     reply email to ACE with info DOB info obtained from beenverified.
                   Equestrian
  1/10/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00             $0.00          $43.60               0.2

                   Murieta                         Review carol ward skip trace report. Draft email to J. Flanders re: next
                   Equestrian                      steps.
  1/10/2024 CCKA   Center       Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                    Draft email order to ACE to conduct skip trace on Carol Anderson
  1/10/2024 CCKA   Center       Esmeralda Bustos Ward.                                                                                0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Edit stipulation, adding proposed date for scheduling conference.
  1/10/2024 CCKA   Center       Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                      Edit deposition subpoena form. Collate accompanying exhibits.
  1/11/2024 CCKA   Center       Esmeralda Bustos                                                                                      0.4    $218.00            $87.20           $0.00                0
                   Murieta
                   Equestrian                    Teleconference with J. Flanders re: deposition subpoena for Carol
  1/11/2024 CCKA   Center       Esmeralda Bustos Anderson Ward.                                                                       0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Complete and submit scheduling request for court reporter coverage
  1/11/2024 CCKA   Center       Esmeralda Bustos for Carol Ward Anderson deposition on 2/9/24.                                        0.2    $218.00            $43.60           $0.00                0

                   Murieta                     Draft email order and instructions to ACE for service of deposition
                   Equestrian                  subpoena on Carol Anderson Ward
  1/12/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.3    $218.00            $65.40           $0.00                0

                   Murieta                     Draft reply email to J. Flanders re: Federal Rule of Civil Procedure
                   Equestrian                  45(a)(4) requiring notice and copy of subpoena to opposing counsel
  1/12/2024 CCKA   Center     Esmeralda Bustos before service.                                                                        0.1    $218.00            $21.80           $0.00                0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Update Carol Anderson Ward deposition subpoena form adding zoom
  1/12/2024 CCKA   Center     Esmeralda Bustos meeting link.                                                                       0.3    $218.00            $65.40           $0.00               0

                                                  Draft email to J. Flanders re: counsel for Carol Anderson Ward. Draft
                   Murieta                        email to Planet Depos requesting zoom link for 2/9/24 deposition.
                   Equestrian
  1/12/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center     Esmeralda Bustos Draft reply email to ACE confirming witness fees be advanced for Carol              0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to ACE re: status update on Carol Anderson Ward
                   Equestrian                  service order.
  1/16/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to Planet Depos requesting invoices for job numbers
                   Equestrian                  518034 and 520298.
  1/17/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download and save to file Planet deposition invoices re: Maryann
                   Equestrian                  Subbotin deposition. Pay invoices and record costs.
  1/18/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.4    $218.00            $87.20           $0.00               0

                   Murieta                     Draft proof of service. Add attachment label cover page Shefftz report.
                   Equestrian
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.5    $218.00           $109.00           $0.00               0

                   Murieta                     Draft email to ACE to follow up on service attempt of Carol Anderson
                   Equestrian                  Ward.
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: bates numbering task for production
                   Equestrian                  scheduled to be served 1/23/24.
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to T. Brett re: second attempt of service on Carol
                   Equestrian                  Anderson Ward.
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to T. Brett requesting status of Simpson expert report.
                   Equestrian
  1/19/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to T. Brett and J. Flanders re: deposition subpoena service
                   Equestrian                  attempts on Carol Ward Anderson.
  1/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos Format requests for admission set 1, RFP, set 3 and ROG, set 2 respon               1.0    $218.00           $218.00           $0.00                0
                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos Finalize interrogatories set 2, requests for admission set 1 and requests           0.6    $218.00           $130.80           $0.00                0
                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos Revise proof of service and check Dropbox link for production documen               0.3    $218.00            $65.40           $0.00                0

                                               Teleconference with T. Brett re: requests for production response bates
                   Murieta                     number and finalizing SPROGs and requests for admission for service
                   Equestrian
  1/23/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $21.80          $21.80               0.1

                   Murieta                         Further telephone comms with T. Brett re: status of RFA, requests for
                   Equestrian                      production and SPROGs for service.
  1/23/2024 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center       Esmeralda Bustos Draft reply email to JTB re: subpoena service on Carol Anderson Ward S            0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                    Draft email to ACE to submit new order for service on Carol Anderson
  1/24/2024 CCKA   Center       Esmeralda Bustos Ward's Second Amended Complaintramento address.                                   0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                    Download and save to file ACE invoice no. 575643. Record costs for
  1/24/2024 CCKA   Center       Esmeralda Bustos skip trace report on Carol Anderson Ward.                                         0.1    $218.00            $21.80           $0.00                0

                                               Draft reply email to T. Brett re: further attempts of subpoena service on
                   Murieta                     Carol Anderson Ward at her addresses in Sacramento and TX.
                   Equestrian
  1/24/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                  Draft reply email to T. Brett re: costs associate with subpoena service
  1/24/2024 CCKA   Center     Esmeralda Bustos attempts.                                                                           0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Further revising of deposition subpoena for Carol Anderson Ward,
                   Equestrian                  adding exhibit B. Email updated draft to T. Brett for review.
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.6    $218.00           $130.80           $0.00                0

                                               Download and save to file copies of invoices from Planet Depos
                   Murieta                     (638887 and 638888). Pay invoices and record costs. Save copies of
                   Equestrian                  receipts to file.
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Teleconference with T. Brett re: amending Carol Ward Anderson
                   Equestrian                  subpoena to replace the one currently ACE is attempting to serve.
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Continue revising deposition subpoena of Carol Ward Anderson
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0

                                               Forward to J. Flanders and T. Brett email with status update on first
                   Murieta                     attempt to serve deposition subpoena on Carol Ward Anderson at
                   Equestrian                  Carter Rd. address.
  1/25/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Call with T. Brett re: revisions to subpoena to include California
  1/25/2024 CCKA   Center     Esmeralda Bustos Coastkeeper Alliance offices as location for depo                                  0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Incorporate T. Brett edits to amended subpoena. Draft email to ACE
  1/26/2024 CCKA   Center     Esmeralda Bustos with instructions to serve amended version of subpoena.                            0.2    $218.00           $43.60           $0.00               0

                                               Edit Carol Ward Anderson deposition subpoena form, adding court
                   Murieta                     designation. Email Austin Process the updated version of subpoena,
                   Equestrian                  then post prepayment.
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.3    $218.00           $65.40           $0.00               0

                   Murieta                     Draft email order to Austin Process for service of deposition subpoena
                   Equestrian                  on Carol Anderson Ward in Weatherford, TX.
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Draft reply email to Austin Process confirming to advance required
                   Equestrian                  witness fee.
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Draft email to Austin Process for quote on rush service of deposition
                   Equestrian                  subpoena.
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center     Esmeralda Bustos Draft reply email to ACE to close service order for Carol Ward Anderson            0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: attempting deposition subpoena
                   Equestrian                  service on Carol Ward Anderson in TX.
  1/31/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian
   2/2/2024 CCKA   Center     Esmeralda Bustos Teleconference with T. Brett re: task to reserve conference room for exp           0.1    $218.00           $21.80           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                                               Contact Planet Depos to reschedule Carol Ward Anderson deposition
                   Murieta                     from 2/9/24 to 3/8/24; email Planet Depos IT support re: zoom link for
                   Equestrian                  3/8/24.
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0

                                               Phone call to Sheraton Bradley airport hotel to inquire on conference
                   Murieta                     room for about 6 people on 2/13/24 for all day deposition of expert.
                   Equestrian
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Begin editing subpoena form, updating deposition date and deposition
                   Equestrian                  zoom link
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Add new deposition zoom link to subpoena for Carol Anderson Ward.
                   Equestrian                  Email TX process server revised version of subpoena for service.
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Draft email to TX process server requesting hold on further service
                   Equestrian                  attempts on Carol Anderson Ward due to new deposition date.
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft follow up email to process server re: further service attempts on
   2/5/2024 CCKA   Center     Esmeralda Bustos Carol Ward Anderson.                                                                  0.1    $218.00           $21.80           $0.00               0

                                               Correspondence with T. Brett concerning conference room reservation
                   Murieta                     and communicating with TX process server re: further service attempts
                   Equestrian                  on Carol Ward Anderson.
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: reserving conference room, flight and
                   Equestrian                  lodging for 2/13/24 deposition
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Telephone call with Sheraton hotel sales rep re: conference room
                   Equestrian                  reservation for 2/13/24
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: flight and hotel reservations for 2/13/24
                   Equestrian                  deposition.
   2/5/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center     Esmeralda Bustos Teleconference with T. Brett re: app for alternative service, chron history           0.1    $218.00           $21.80           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Call with T. Brett re: drafting deposition notice for Carol Anderson Ward
   2/6/2024 CCKA   Center     Esmeralda Bustos subpoena                                                                            0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft T. Brett declaration template re: alternative service of subpoena
   2/7/2024 CCKA   Center     Esmeralda Bustos on Carol Anderson Ward.                                                             0.9    $218.00           $196.20           $0.00               0

                   Murieta                     Compile and save to file emails from process servers re: deposition
                   Equestrian                  service attempts made on Carol Anderson Ward in Sloughhouse,
   2/7/2024 CCKA   Center     Esmeralda Bustos Sacramento, and Weatherford, TX.                                                    0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                  Further editing of declaration per T. Brett comments.
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.4    $218.00            $87.20           $0.00               0

                                               Draft email order to ACE requesting rush service of Carol Anderson
                   Murieta                     Ward deposition subpoena at Murieta Equestrian Center facility on
                   Equestrian                  7200 Lone Pine Drive.
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Further edits to declaration template; download and save to file email
                   Equestrian                  from Austin Process server re: 2/7/24 service attempt of revised
   2/7/2024 CCKA   Center     Esmeralda Bustos deposition subpoena.                                                                0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download and save to file Notice of Errata re: Finance PMQ deposition.
                   Equestrian
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Save to file further email from Austin Process server re: service attempt
                   Equestrian                  on 2/1/24 (bad address).
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: incorporating further detail to
                   Equestrian                  declaration re: service attempts.
   2/7/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft reply email to T. Brett re: addresses where servers have
   2/7/2024 CCKA   Center     Esmeralda Bustos attempted to serve Carol Anderson Ward.                                             0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Edit declaration per T. Brett text message; incorporate ACE attempt to
                   Equestrian                  serve Carol Anderson Ward today at 7200 Lone Pine address.
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.3    $218.00            $65.40           $0.00               0

                   Murieta                     Draft email to ACE requesting clarification on today's service attempt at
                   Equestrian                  7200 Lone Pine facility re: Carol Anderson Ward subpoena.
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Reply to T. Brett text message request to update declaration in support
                   Equestrian                  of motion for alternative service
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
   2/8/2024 CCKA   Center     Esmeralda Bustos Draft reply to ACE Sacramento service of process unit regarding the atte           0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft follow up email to ACE regarding the service attempt on Carol
                   Equestrian                  Anderson Ward at 7200 Lone Pine address.
   2/8/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Further teleconference with T. Brett re: draft declaration in support of
                   Equestrian                  motion for alternative service.
  2/12/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: service dates of Jan and Feb
                   Equestrian                  subpoenas
  2/12/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft emails to T. Brett re: deposition subpoena service order in CA
                   Equestrian                  and TX for Carol Anderson Ward.
  2/12/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft reply email to ACE instructing no further attempts needed on
  2/12/2024 CCKA   Center     Esmeralda Bustos Carol Ward Anderson at the Lone Pine address.                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Proof and finalize requests for admission set 2, interrogatories set 4,
                   Equestrian                  and requests for production set 9 devices for service. Draft proof of
  2/13/2024 CCKA   Center     Esmeralda Bustos service for same.                                                                  0.5    $218.00           $109.00           $0.00               0

                   Murieta                     Download and save to file email status updates from TX server and
                   Equestrian                  ACE re: Lone Pine address. Draft email to T. Brett re: further service
  2/13/2024 CCKA   Center     Esmeralda Bustos attempts in TX.                                                                    0.2    $218.00            $43.60           $0.00               0

                                               Draft service email to opposing counsel with requests for admission set
                   Murieta                     2, requests for production set 9, and interrogatories set 4 requests.
                   Equestrian                  Calculate and calendar defendant's response due date.
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                                               Draft reply email to TX process server instructing to close order and
                   Murieta                     desist from further attempts at service of the deposition subpoena on
                   Equestrian                  Carol Anderson Ward.
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction


                   Murieta                     Teams comms with J. Flanders re: service of discovery requests to
                   Equestrian                  defendant
  2/13/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80           $0.00               0

                                               Download and save to file invoice from Austin Process Service for
                   Murieta                     attempted service of Carol Anderson Ward deposition subpoena. Pay
                   Equestrian                  associated invoice.
  2/14/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: expert rebuttal deadline on calendar for
  2/14/2024 CCKA   Center     Esmeralda Bustos 2/16/24                                                                           0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft email to T. Brett re: service/filing of Phase II expert rebuttals
  2/16/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Submit cancellation request to Planet Depos for coverage of 3/8/24
                   Equestrian                  Carol Anderson Ward deposition
  2/28/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Download and save to file ACE invoice no. 9008626. Submit payment
                   Equestrian                  to ACE. Service attempts of deposition subpoena on Carol Anderson
   3/4/2024 CCKA   Center     Esmeralda Bustos Ward at 7200 Lone Pine Dr.                                                        0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Teleconference with T. Brett to provide credit card info for payment of
                   Equestrian                  hotel reservation for deposition in CT.
  3/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Review court orders to confirm phase II deadlines. Draft email to T.
  3/21/2024 CCKA   Center     Esmeralda Bustos Brett re: 3/29/24 expert rebuttal deadline.                                       0.4    $218.00           $87.20           $0.00               0

                                               Review email comms between J. Flanders and opposing counsel re:
                   Murieta                     extension of discovery deadlines. Calendar imminent deadlines noted
                   Equestrian                  in the email.
  3/22/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                  Begin preparing certified mailing envelopes for service of NOI
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Continue preparing service envelopes of notice letter to government
                   Equestrian                  entities and Carol Anderson Ward addresses
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.4    $218.00           $87.20           $0.00               0

                   Murieta                     Draft email to T. Brett re: timing of service of Carol Anderson Ward
                   Equestrian                  NOI.
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00           $21.80           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                                               Format and edit notice letter for service. Confirm and update service list
                   Murieta                     contacts. Draft email to T. Brett re: client contact information.
                   Equestrian
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.9    $218.00           $196.20           $0.00               0

                   Murieta                     Review draft Carol Anderson Ward NOI. Draft email to T. Brett re:
                   Equestrian                  notice letter format.
  3/25/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.2    $218.00            $43.60           $0.00               0

                   Murieta                         Teleconference with T. Brett re: client access to Carol Anderson Ward
                   Equestrian                      notice letter and plan to serve same.
  3/25/2024 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Teleconference with T. Brett re: edits to incorporate in to draft NOI
  3/25/2024 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Further edits to Carol Ward Anderson Ward NOI
  3/25/2024 CCKA   Center       Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                      Email calendar invite for first day to file complaint.
  3/26/2024 CCKA   Center       Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  3/26/2024 CCKA   Center       Esmeralda Bustos Print service copies of notice letter and finish prepare mailing envelopes           0.8    $218.00           $174.40           $0.00               0

                   Murieta                     Travel to/from USPS post office to send Carol Anderson Ward notice
                   Equestrian                  letter via certified mail. Scan and save to file USPS receipt and certified
  3/26/2024 CCKA   Center     Esmeralda Bustos mail receipts.                                                                         0.5    $218.00           $109.00           $0.00               0

                   Murieta                     Draft reply to J. Flanders re: schedule to file motion for leave and
                   Equestrian                  motion for summary judgment next week.
  3/27/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to J. Flanders re: status to of Anderson Ward Trust notice
                   Equestrian                  for service today.
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Finalize and print service copies of notice to Carol Anderson Ward
                   Equestrian                  Trust. Prepare mailing envelopes and certified mailing envelopes.
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                        1.2    $218.00           $261.60           $0.00               0

                   Murieta                     Calculate and calendar date to file complaint against Anderson Ward
                   Equestrian                  Trust.
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                        0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter       Staff               Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Scan and save to file USPS receipt and certified mail receipts for Carol
   4/1/2024 CCKA   Center     Esmeralda Bustos Ward Anderson Trust notice of intent                                                  0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Travel to/from USPS to mail certified mailings of notice to Carol
                   Equestrian                  Anderson Ward Trust.
   4/1/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.7    $218.00           $152.60           $0.00               0

                   Murieta                     Draft reply email to T. Trillo re: date calculation for first day to file
                   Equestrian                  complaint against Carol Anderson Ward Trust.
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                                               Review Eastern District of California local rule 141(b) to confirm T.
                   Murieta                     Trillo findings on preparing and serving a Request to Seal Documents.
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40           $0.00               0

                                               Teams comms with T. Trillo re: 3/26/24 and 4/1/24 service of notice of
                   Murieta                     intent to Carol Ward Anderson and Carol Ward Anderson Trust.
                   Equestrian
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                   Murieta                          Teleconference with J. Flanders to for further instructions re: MPA
                   Equestrian                       pleading assignment.
   4/3/2024 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Draft email to J. Flanders summarizing local rule 141(b) on submitting
   4/3/2024 CCKA   Center       Esmeralda Bustos notice and request to seal documents.                                               0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                    Format motion to leave MPA and create separate pleading for notice of
   4/3/2024 CCKA   Center       Esmeralda Bustos motion and motion for leave.                                                        0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                    Teleconference with T. Trillo re: adding language to notice of motion re:
   4/3/2024 CCKA   Center       Esmeralda Bustos documents being filed under seal.                                                   0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Draft reply email T. Trillo re: status of Motion for Summary Judgment
                   Equestrian                  motion papers and tasks needing attention.
   4/3/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                                               Draft reply email to J. Flanders re: preparing notice of deposition for
                   Murieta                     James W. McCurley and procuring court reporter coverage for same.
                   Equestrian
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply to First Legal providing estimate of 4 hours of court reporter
                   Equestrian                  coverage needed.
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0



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Date      Client   Matter      Staff               Description                                                            Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft notice of deposition for James W. McCurley
   4/4/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Format and edit draft deposition notice of James W. McCurley per T.
   4/4/2024 CCKA   Center     Esmeralda Bustos Brett email                                                                        0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Draft email inquiry to Sue Hammer of First Legal to inquire on court
   4/4/2024 CCKA   Center     Esmeralda Bustos reporter availability for 4/12/24 James W. McCurley deposition.                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Follow up Teams communications with T. Trillo re: filing and submitting
                   Equestrian                  motion for leave and request to seal.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.4    $218.00            $87.20           $0.00               0

                                               Teams communications with T. Trillo re: draft service email to opposing
                   Murieta                     counsel for service of Motion for Leave to File Third Amended
                   Equestrian                  Complaint and supporting documents.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Calendar James W. McCurley deposition for 4/12/24 @ 9:30 am.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                                               Download and save to file docket 113, notice of motion and motion for
                   Murieta                     leave to file 3d amended complaint; docket 114, notice of request to
                   Equestrian                  seal documents.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to Magistrate Barnes' submitting request to seal, proposed
                   Equestrian                  order and all documents to be covered by the request.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.3    $218.00            $65.40           $0.00               0

                                               Comms with T. Brett re: Flander's email requesting updated rain charts
                   Murieta                     using stations from exhibit with his Motion for Summary Judgment
                   Equestrian                  declaration.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download data from Rancho Cordova stations for 2019 to present and
   4/5/2024 CCKA   Center     Esmeralda Bustos create rain table; email pdf table to J. Flanders.                                 0.6    $218.00           $130.80           $0.00               0

                   Murieta                     Draft email to J. Flanders outlining all steps taken to submit and file
                   Equestrian                  notice of request to seal documents and the request to seal
   4/5/2024 CCKA   Center     Esmeralda Bustos documents.                                                                         0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Draft service email to opposing counsel with notice of deposition for
                   Equestrian                  James W. McCurley.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                                               Draft test mail to TT to ensure no delivery issues of Request to Seal
                   Murieta                     documents. Draft service email to opposing counsel with request to
                   Equestrian                  seal documents.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.3    $218.00            $65.40           $0.00                0

                   Murieta                     Review J. Flanders email with request to update rain charts previously
                   Equestrian                  submitted as exhibit to Motion for Summary Judgment.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0

                                               Teleconference with T. Brett re: weather station to use for creation of
                   Murieta                     rain table and status of 3d amended complaint for inclusion in request
                   Equestrian                  to seal.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Teleconference with T. Trillo to evaluate correct ECF event for filing
                   Equestrian                  notice of motion for leave to file 3d amended complaint.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                  Begin formatting/editing request to seal and motion for leave papers in
   4/5/2024 CCKA   Center     Esmeralda Bustos preparation for submitting to the court.                                           1.2    $218.00           $261.60           $0.00                0
                   Murieta
                   Equestrian                  Draft reply email to J. Flanders re: weather station to use for creating
   4/5/2024 CCKA   Center     Esmeralda Bustos updated rain table.                                                                0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Teams comms with T. Trillo confirming the documents to be emailed to
                   Equestrian                  the court when submitting the Request to Seal.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $21.80          $21.80               0.1

                   Murieta                     Teleconference with T. Brett re: 3d amended complaint as exhibit to his
                   Equestrian                  declaration and to notice of motion.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Teleconference with T. Brett re: updates to notice of motion and
                   Equestrian                  revised exhibits to his declaration, Q & R.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0

                                               Update exhibits and declaration of T. Brett in support of MPA and in
                   Murieta                     prep for service on opposing counsel and submission of request to seal
                   Equestrian                  to the court.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.8    $218.00           $174.40           $0.00                0
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Esmeralda Bustos Edit McCurly notice of deposition per J. Flanders comments. Draft email            0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                  Draft proof of service for J. McCurley notice of deposition.
   4/5/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00                0



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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Continue extracting exhibits for SUF Phase II Motion for Summary
                   Equestrian                  Judgment.
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Comms with T. Brett re: exhibits of Wren declaration and Wren expert
   4/8/2024 CCKA   Center     Esmeralda Bustos report.                                                                           0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Teleconference with T. Brett to discuss assignment to extract
   4/8/2024 CCKA   Center     Esmeralda Bustos documents related to Phase II SUF.                                                0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Begin extracting exhibits for SUF Phase II Motion for Summary
                   Equestrian                  Judgment.
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                   1.3    $218.00           $283.40           $0.00               0

                   Murieta                     Comms with T. Brett re: further exhibits to extract for Phase II Motion
                   Equestrian                  for Summary Judgment.
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save further exhibits related to Phase II SUF.
   4/8/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Finalize bates numbering of Phase I facts & evidence exhibits.
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Rename exhibit file names for organizing and bates numbering. Add
                   Equestrian                  bates number to identified exhibits.
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian                  Scan and save to file pdf copies of notice letter return receipts
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with J. Flanders re: organizing and bates stamping
                   Equestrian                  Flanders declaration exhibit A.
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Further extract exhibits for Flanders declaration. Draft Flanders
   4/9/2024 CCKA   Center     Esmeralda Bustos declaration template.                                                             1.3    $218.00           $283.40           $0.00               0

                                               Teleconference with T. Brett re: extracting additional exhibit from J.
                   Murieta                     Flanders declaration and drafting new J. Flanders declaration in
                   Equestrian                  support of Phase II Motion for Summary Judgment.
   4/9/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Further extract exhibit for facts and evidence exhibit; add bates
                   Equestrian                  numbers. Combine all facts and evidence exhibits into one pdf exhibit
  4/10/2024 CCKA   Center     Esmeralda Bustos A.                                                                                0.5    $218.00           $109.00           $0.00               0



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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                  Organize and label Flanders declaration exhibits B-R in preparation for
  4/10/2024 CCKA   Center     Esmeralda Bustos Motion for Summary Judgment efiling.                                                    0.9    $218.00           $196.20           $0.00               0

                   Murieta                     Teleconference with T. Brett re: adding further exhibit to facts &
                   Equestrian                  evidence compilation.
  4/10/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center     Esmeralda Bustos Teleconference with T. Brett re: Flanders ask to create pdf of exhibit A co             0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: lodging video exhibits Q & R to
                   Equestrian                  Flanders declaration
  4/10/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Remove embedded hyperlinks from exhibit Q & R placeholder pdfs.
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to Green Copy providing instructions and link to McCurley
                   Equestrian                  exhibits for printing.
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Telephone call to Green Copy to post payment for print job of McCurley
                   Equestrian                  exhibits.
  4/11/2024 CCKA   Center     Esmeralda Bustos                                                                                         0.1    $218.00            $21.80           $0.00               0

                   Murieta                         Telephone call with Green copy to confirm receipt of link with McCurley
                   Equestrian                      exhibits for printing.
  4/11/2024 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Comms with J. Flanders re: status of MPA for tables.
  4/11/2024 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Comms with T. Brett re: placeholder pdfs for video exhibits Q & R.
  4/11/2024 CCKA   Center       Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Draft notice of lodging for video exhibits Q & R to Flanders declaration.
  4/11/2024 CCKA   Center       Esmeralda Bustos                                                                                       0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                      Format/edit MPA; conduct cite checks of same.
  4/11/2024 CCKA   Center       Esmeralda Bustos                                                                                       1.6    $218.00           $348.80           $0.00               0
                   Murieta
                   Equestrian                      Run and add table of contents and authorities.
  4/11/2024 CCKA   Center       Esmeralda Bustos                                                                                       0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                    Evaluate compressed pdf version of Flanders declaration exhibit A for
  4/12/2024 CCKA   Center       Esmeralda Bustos efiling.                                                                              0.3    $218.00            $65.40           $0.00               0



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Date      Client   Matter      Staff              Description                                                            Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Prepare and print FedEx label for shipping of notice of lodging with
  4/12/2024 CCKA   Center     Esmeralda Bustos flash drive containing Flanders declaration exhibits Q & R.                       0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                  Save Flanders declaration video exhibits Q & R to flash drive for
  4/12/2024 CCKA   Center     Esmeralda Bustos lodging with court.                                                               0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                  Teleconference with T. Brett re: compressed pdf of exhibit A and tasks
  4/12/2024 CCKA   Center     Esmeralda Bustos to finish for filing of Motion for Summary Judgment.                              0.2    $218.00            $21.80          $21.80               0.1

                   Murieta                     Compress Flanders declaration exhibit A to conform to ECF file size
                   Equestrian                  guidelines.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Comms with T. Brett testing solutions to reduce file size of Flanders
                   Equestrian                  declaration exhibit A.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.6    $218.00           $130.80           $0.00                0

                   Murieta                     Extract lease agreement from defendant's production and email to J.
                   Equestrian                  Flanders for use in deposition.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Teleconference with J. Flanders re: extracting lease document between
                   Equestrian                  Murieta Equestrian Center and Carol Anderson Ward.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Teleconference with T. Brett re: discussion with J. Flanders to resolve
                   Equestrian                  file size of declaration exhibit A.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00                0

                   Murieta                     Test uploading compress pdf of Flanders declaration exhibit A to ECF.
                   Equestrian                  Telephone call to Eastern district ECF help desk.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                  Travel to/from FedEx to drop off package with docket 117, notice of
  4/12/2024 CCKA   Center     Esmeralda Bustos lodging and USB flash drive with exhibits Q & R.                                  0.7    $218.00           $152.60           $0.00                0

                   Murieta                     Create final filing versions of Motion for summary judgment, Statement
                   Equestrian                  of Undisputed Facts, Flanders declaration and notice of lodging then
  4/12/2024 CCKA   Center     Esmeralda Bustos efile same via ECF.                                                               0.5    $218.00           $109.00           $0.00                0

                   Murieta                     Create pdf version of revised rain data table as exhibit to Flanders
                   Equestrian                  declaration.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                  Further edits to Statement of undisputed facts, implementing updates
  4/12/2024 CCKA   Center     Esmeralda Bustos to citations to Flanders declaration exhibit A.                                   0.2    $218.00            $43.60           $0.00                0



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Date      Client   Matter       Staff              Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Implement formatting updates to declaration, Memorandum of points
                   Equestrian                  and authorities, and Statement of Undisputed face.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      1.2    $218.00           $261.60           $0.00               0

                   Murieta                     Teleconference with T. Brett re: revising cites to Flanders declaration in
                   Equestrian                  Statement of undisputed facts.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: appropriate ECF event to file Flanders
                   Equestrian                  declaration and exhibits.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: replacing Flanders declaration exhibit
                   Equestrian                  S.
  4/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                         Teleconference with T. Brett re: steps/tasks to finalize Motion for
                   Equestrian                      summary judgment in preparation for filing.
  4/12/2024 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                    Download and save to file docket entries 115-117, Motion for Summary
  4/15/2024 CCKA   Center       Esmeralda Bustos Judgment, Flanders declaration and notice of lodging.                              0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Calculate and calendar opposition and reply deadlines for Motion to
  4/15/2024 CCKA   Center       Esmeralda Bustos Seal.                                                                              0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Teleconference with T. Brett re: opposition and reply deadlines for
  4/15/2024 CCKA   Center       Esmeralda Bustos Motion to Seal and Motion for Summary Judgment.                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to Planet Depos re: payment status of invoices 638887 and
                   Equestrian                  638888.
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Evaluate invoices to client and status of invoice payments to Planet
                   Equestrian                  Depos and GSI. Download and save to file GSI invoices.
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.3    $218.00            $65.40           $0.00               0

                   Murieta                     Save to file receipts for payment to Planet Depos for invoices 638887
                   Equestrian                  and 638888. Draft email to J. Flanders re: payment of same.
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0

                                               Research local rules re: motion opposition and reply. Calendar Motion
                   Murieta                     for Summary Judgment and Motion for Leave. Calculate and calendar
                   Equestrian                  opposition and reply deadlines for same.
  4/17/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.6    $218.00           $130.80           $0.00               0




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Date      Client   Matter      Staff              Description                                                            Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Scan and save to file USPS return receipts for Carol Ward Anderson
  4/19/2024 CCKA   Center     Esmeralda Bustos notice of intent.                                                                 0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Teleconference with T. Brett re: Motion in Limine MPA tasks in
                   Equestrian                  preparation for efiling.
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Begin formatting Motion in Limine MPA.
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.3    $218.00            $65.40           $0.00               0

                                               Continue cite checking Motion in Limine MPA; incorporate table of
                   Murieta                     contents and table of authorities. Finalize in MPA and T. Brett
                   Equestrian                  declaration in preparation for efiling.
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   1.4    $218.00           $305.20           $0.00               0
                   Murieta
                   Equestrian                  Continue formatting. Begin cite checking Motion in Limine MPA.
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   1.3    $218.00           $283.40           $0.00               0

                   Murieta                     Draft email to supervising courtroom deputy to resolve date issue re:
                   Equestrian                  motion in limine hearing.
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email and teams comms with T. Brett re: Motion in Limine
                   Equestrian                  MPA tables of contents and authorities.
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Efile Motion in Limine. Draft email to Judge Barnes courtroom deputy to
  4/19/2024 CCKA   Center     Esmeralda Bustos resolve incorrect hearing date selected during ECF filing.                        0.3    $218.00            $65.40           $0.00               0

                   Murieta                     Teleconference with T. Brett re: inclusion of case cite in Motion in
                   Equestrian                  Limine MPA.
  4/19/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Call with T. Brett re: supplemental production to Defendant's Requests
  4/22/2024 CCKA   Center     Esmeralda Bustos for Production set 3                                                              0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download and save to file docket entries 118 (motion of limine) and
                   Equestrian                  119 (defendant's opposition to Motion for Leave).
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Create version of Statement of Undisputed Facts without metadata for
                   Equestrian                  sharing with opposing counsel.
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                   0.2    $218.00            $43.60           $0.00               0




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Date      Client   Matter      Staff              Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Draft email to opposing counsel with copy of requested native version
                   Equestrian                  of statement of undisputed facts.
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                                               Further comms with T. Brett summarizing details of telephone call with
                   Murieta                     CA Eastern District clerk re: resolving Motion Limine hearing date error.
                   Equestrian
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teams comms with T. Brett re: Judge Barnes' email instructing to file a
                   Equestrian                  notice to reschedule Motion for MIL hearing to 5/24/24/.
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: task assignments. Email opposing
                   Equestrian                  counsel native word version of statement of undisputed facts and
  4/22/2024 CCKA   Center     Esmeralda Bustos finalizing supplemental production in prep for service. production                  0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Telephone call with CA Eastern District clerk re: motion in limine
                   Equestrian                  hearing date error.
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0

                                               Calculate and calendar motion in limine hearing opposition and reply
                   Murieta                     deadlines. Add motion for summary judgment and motion for leave
                   Equestrian                  deadlines to master case list.
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.4    $218.00            $87.20           $0.00               0

                   Murieta                     Add bates number to requests for production set 3
                   Equestrian                  responses/production
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.6    $218.00           $130.80           $0.00               0
                   Murieta
                   Equestrian                  Copy and rename videos designated for requests for production set 2
  4/22/2024 CCKA   Center     Esmeralda Bustos supplemental production.                                                            1.0    $218.00           $218.00           $0.00               0

                   Murieta                     Upload requests for production set supplemental production to Dropbox
                   Equestrian                  in preparation for service on opposing counsel.
  4/22/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.9    $218.00           $196.20           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with T. Brett re: service of supplemental document
  4/23/2024 CCKA   Center     Esmeralda Bustos production in response to Request for Production Set 2 and 3                        0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with T. Brett re: service of supplemental requests for
                   Equestrian                  production set 2 and set 3 production.
  4/23/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Esmeralda Bustos Create view only Dropbox link to share with opposing counsel for supple             0.3    $218.00            $65.40           $0.00               0



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Date      Client   Matter       Staff              Description                                                             Hours         Rate       Total            Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft service email to opposing counsel with supplemental productions
  4/23/2024 CCKA   Center     Esmeralda Bustos to requests for production set two and set three.                                   0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Download and save to file docket entry 120, stipulation to extend Phase
                   Equestrian                  II motion opposition and reply deadlines.
  4/26/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file McCurley deposition transcript and exhibits.
  4/29/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Download and save to file docket entry acknowledging receipt of USB
                   Equestrian                  flash drive with exhibits Q & R of Flanders declaration at docket entry
  4/30/2024 CCKA   Center     Esmeralda Bustos 116.                                                                                0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Download and save to file docket entries 121 and 122. Calendar
                   Equestrian                  extended deadlines from order at docket 122 re: motion for summary
  4/30/2024 CCKA   Center     Esmeralda Bustos judgment.                                                                           0.2    $218.00           $43.60           $0.00               0

                   Murieta                         Draft email to S. Her, courtroom deputy, re: procedure for requesting
                   Equestrian                      remote appearance by zoom for 5/10/24 motion for leave hearing.
   5/1/2024 CCKA   Center       Esmeralda Bustos                                                                                   0.3    $218.00           $65.40           $0.00               0
                   Murieta
                   Equestrian                      Draft request for remote appearance.
   5/1/2024 CCKA   Center       Esmeralda Bustos                                                                                   0.4    $218.00           $87.20           $0.00               0
                   Murieta
                   Equestrian                    Download and save to file docket entry 123, Request for remote
   5/2/2024 CCKA   Center       Esmeralda Bustos appearance.                                                                       0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Efile request for remote appearance.
   5/2/2024 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Finalize request for remote appearance in preparation for efiling.
   5/2/2024 CCKA   Center       Esmeralda Bustos                                                                                   0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                    Download and save to file docket 125, order granting stipulation re:
   5/6/2024 CCKA   Center       Esmeralda Bustos Phase II briefing deadlines.                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Download and save to file docket entry 126, order continued motion to
                   Equestrian                  amend hearing to 5/24/24l
   5/6/2024 CCKA   Center     Esmeralda Bustos                                                                                     0.2    $218.00           $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft email to courtroom deputy S. Her re: hearing date discrepancies
   5/6/2024 CCKA   Center     Esmeralda Bustos in ECF orders at 125 and 126.                                                       0.4    $218.00           $87.20           $0.00               0




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Date      Client   Matter      Staff               Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                                               Draft email to J. Flanders re: conflict in orders with regarding to Motion
                   Murieta                     for Summary Judgment, MIL and Motion to Amend hearing dates.
                   Equestrian
   5/6/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Update calendar to set Motion for Summary Judgment, motion to
                   Equestrian                  amend and motion in limine hearing for 5/31/24.
   5/7/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file docket entry 127, minute order. Update
   5/8/2024 CCKA   Center     Esmeralda Bustos calendar events for MIL deadlines.                                                   0.4    $218.00            $87.20           $0.00               0

                                               Download and save to file First Legal Depositions Invoice #108606.
                   Murieta                     Download and complete credit card payment form and email to First
                   Equestrian                  Legal.
   5/8/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.4    $218.00            $87.20           $0.00               0

                   Murieta                     Download and save to file docket entries 128 and 129, stipulation and
                   Equestrian                  order to extend briefing deadlines and hearing.
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Audit case costs. Locate and save to file invoices that had not been
                   Equestrian                  uploaded.
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                      1.7    $218.00           $370.60           $0.00               0
                   Murieta
                   Equestrian                  Calendar extended briefing deadlines for MIL and Motion for Summary
  5/13/2024 CCKA   Center     Esmeralda Bustos Judgment from order 129.                                                             0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file pdf docket from ECF of all case docket
  5/13/2024 CCKA   Center     Esmeralda Bustos entries.                                                                             0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to J. Flanders re: prior invoices from Ian Wren for
                   Equestrian                  previously rendered technical services.
  5/13/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Calendar deadline to submit mediation briefs; calendar event for
  5/14/2024 CCKA   Center     Esmeralda Bustos 5/17/24 mediation.                                                                   0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Begin organizing folders and papers re: motion in limine, motion for
                   Equestrian                  leave and phase II Motion for Summary Judgment documents for
  5/14/2024 CCKA   Center     Esmeralda Bustos hearing binder.                                                                      0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                  Post payment to Judicate West for 5/17/24 mediation services.
  5/14/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter      Staff              Description                                                             Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Teams comms with J. Flanders confirming 5/17/24 mediation still on
                   Equestrian                  calendar as planned.
  5/15/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download and save to file further invoices from Judicate West re:
                   Equestrian                  mediation conduction on 5/17/24. Post payment to same, save
  5/23/2024 CCKA   Center     Esmeralda Bustos payment receipts, and record costs.                                                0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                  Review Shefftz invoices to determine status of payment.
  5/23/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download and save to file docket entry 131, joint stipulation to extend
                   Equestrian                  briefing deadlines.
  5/30/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft reply email to T. Brett re: payment of Judicate West invoices.
  5/31/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file docket entry 132, order re: modifying briefing
   6/3/2024 CCKA   Center     Esmeralda Bustos schedule. Calendar updated deadlines.                                              0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download defendant's Statement of Undisputed Facts filed at docket
                   Equestrian                  133. Draft email to opposing counsel to request native word version of
  6/10/2024 CCKA   Center     Esmeralda Bustos same.                                                                              0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft reply email to J. Flanders re: draft reply templates for motion in
  6/10/2024 CCKA   Center     Esmeralda Bustos limine and Motion for Summary Judgment.                                            0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply templates for motion in limine and Motion for Summary
                   Equestrian                  Judgment
  6/10/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.7    $218.00           $152.60           $0.00               0

                   Murieta                     Download and save to file docket entries 133 to 135, defendants
                   Equestrian                  opposition to Motion for Summary Judgment and motion in limine.
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download and save to file defendant's native word version of statement
                   Equestrian                  of undisputed facts.
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Efile response to defendant's ex parte application to extend motion in
                   Equestrian                  limine briefing schedule.
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter      Staff               Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                     Finalize response to ex parte application to extend motion in limine
                   Equestrian                  briefing schedule in preparation for efiling.
  6/11/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Calendar internal reminder for early August to contact court to request
                   Equestrian                  MIL hearing date.
  6/12/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                                                   Download and save to file docket 138, minute order re: ex parte.
                                                   Calendar extended briefing deadlines for motion in limine. Teams
                   Murieta                         comms with T. Brett re: Motion for Summary Judgment hearing
                   Equestrian                      remaining on 6/28/24.
  6/12/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20           $0.00               0

                   Murieta                     Continue archiving motion to amend and motion for summary judgment
                   Equestrian                  papers in preparation for hearing.
  6/13/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.7    $218.00           $152.60           $0.00               0

                   Murieta                     Draft reply email to J. Flanders re: status of motion papers for printing
                   Equestrian                  in preparing for 6/28/24 hearing.
  6/13/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Begin cite checking reply brief in support of Motion for Summary
                   Equestrian                  Judgment.
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                       1.1    $218.00           $239.80           $0.00               0

                   Murieta                     Begin formatting reply brief in preparation for adding table of authorities
                   Equestrian                  and table of contents.
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20           $0.00               0

                                               Efile reply brief in support of Phase II motion for summary judgment
                   Murieta                     and response and objections to defendant's statement of undisputed
                   Equestrian                  facts.
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Finalize reply brief table of contents and table of authorities and SUF
                   Equestrian                  response in preparation for efiling.
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                  Further edits to reply brief table of contents and table of authorities.
  6/17/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Telephone call with T. Trillo re: preparation of hearing binder.
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                     Telephone call with Green Copy to pay for motion for summary
                   Equestrian                  judgment hearing on 6/28/24. Download, save to file and record copies
  6/18/2024 CCKA   Center     Esmeralda Bustos costs.                                                                                0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Draft email order to Green Copy with documents for 6/28/24 hearing
  6/18/2024 CCKA   Center     Esmeralda Bustos binder.                                                                               0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Implement changes identified by J. Flanders to documents for 6/28/24
                   Equestrian                  hearing binder.
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.8    $218.00           $174.40           $0.00               0

                   Murieta                     Upload hearing binder documents to Dropbox and create folder to
                   Equestrian                  share with Green Copy.
  6/18/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file docket entry 141, minute order vacating
  6/24/2024 CCKA   Center     Esmeralda Bustos 6/28/24 motion for summary judgment hearing                                           0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft email to J. Flanders re: reply to motion in limine with have exhibits
                   Equestrian                  and require tables.
  6/25/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                                               Telephone call to courtroom deputy Shelly Her; left voicemail to request
                   Murieta                     scheduling new hearing date for motion in limine, motion to amend and
                   Equestrian                  motion for summary judgment.
  6/26/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download and save to file docket 142, reply in support of motion in
                   Equestrian                  limine.
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                                                   Draft email to J. Flanders summarizing call with Shelly Her re: new
                                                   judge and contacting the court in August to reschedule vacated
                   Murieta                         hearings for motion for summary judgment, motion to amend, and
                   Equestrian                      motion in limine.
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0

                                               Check Judge Barnes daily court calendar to determine when to place
                   Murieta                     follow up call to courtroom deputy. Telephone call to courtroom deputy,
                   Equestrian                  no answer. Will make further attempts.
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Teams comms with T. Brett to check in on status of reply for efiling
                   Equestrian                  today.
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                                               Teleconference with Shelly Her re: rescheduling vacated motion
                   Murieta                     hearings and new judge being assigned to take over Judge Barnes'
                   Equestrian                  department and docket.
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Efile reply in support of motion in limine
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Finalize reply in support of motion in limine in preparation from efiling.
                   Equestrian
  6/27/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                                                   Check Eastern District website to determine identify of judge that
                                                   replaced Magistrate Judge Barnes. Review minute order, docket 141
                                                   for information on the person to contact for scheduling. Draft reply
                   Murieta                         email to D. Hunt re: calling clerk's office for further information.
                   Equestrian
   8/1/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Draft reply email to D. Hunt re: contacting court to inquire on available
                   Equestrian                  dates to reschedule motion hearings.
   8/1/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft email to D. Hunt summarizing call with Eastern District court clerk
                   Equestrian                  re: reassignment of Judge Barnes' cases.
   8/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Telephone call to Eastern District court clerk re: newly assigned judge
                   Equestrian                  to Magistrate Barnes' former docket.
   8/2/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Download and save to file docket entry 143, order reassigning case to
                   Equestrian                  Magistrate Judge Sean Riordon.
   8/6/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Draft email to D. Hunt re: case reassignment to Magistrate Judge Sean
                   Equestrian                  C Riordon.
   8/6/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file docket 144, notice to reschedule motion
   8/7/2024 CCKA   Center     Esmeralda Bustos hearing. Calendar hearing date.                                                      0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Teleconference with S. Her re: available motion dates.
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                      Efile notice to reschedule hearing.
   8/7/2024 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Draft email to J. Flanders summarizing call with S. Her re: available
   8/7/2024 CCKA   Center       Esmeralda Bustos motion dates and steps to re-notice.                                               0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                      Finalize notice to reschedule motions in preparation for efiling.
   8/7/2024 CCKA   Center       Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                    Search for example notice to reschedule motions. Draft notice template
   8/7/2024 CCKA   Center       Esmeralda Bustos and email to J. Flanders for review.                                               1.2    $218.00           $261.60           $0.00               0

                                               Telephone call to S. Her, courtroom deputy. Left voicemail requesting
                   Murieta                     to reset motion to amend, motion for summary judgment and motion in
                   Equestrian                  limine hearings.
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to J. Flanders re: telephone call to S. Her to
                   Equestrian                  reschedule motion hearings.
   8/7/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Draft reply email to client re: if payment was received for invoice 009
                   Equestrian                  dated April 17, 2024.
  8/15/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders and T. Brett re: following up with court regarding
  8/22/2024 CCKA   Center     Esmeralda Bustos provision of documents requested to be filed under seal.                             0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Forward email to T. Brett from courtroom deputy re: lodging documents
                   Equestrian                  related to motion to seal.
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     purchase USB flash drives to send sealed documents to Eastern
                   Equestrian                  District of California.
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Teleconference with T. Brett to confirm the appropriate sealed
                   Equestrian                  document to provide the clerk.
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                                               Draft email to Ms. Her acknowledging we'll follow up with the clerk's
                   Murieta                     office to provide the documents covered by the motion to seal.
                   Equestrian
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Further telephone call with Eastern District of California clerk re:
                   Equestrian                  submitting sealed documents via email along with copy of order.
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teams comms with T. Brett re: order at docket no. 126 with footnote
                   Equestrian                  instructing to submit documents that were sealed.
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teleconference with Eastern District court clerk re: procedures to
                   Equestrian                  submit motion to seal documents.
  8/22/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Draft email to CA Eastern District clerk's office with order granting
  8/23/2024 CCKA   Center     Esmeralda Bustos motion to seal and documents to be sealed.                                         0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Draft reply email to D. Hunt re: docket entry 146, documents from
                   Equestrian                  motion to seal.
  8/26/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Download and save to file docket entry 145, defendants request for
  8/27/2024 CCKA   Center     Esmeralda Bustos supplement briefing.                                                               0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download and save to file minute order re: additional briefing. Calendar
                   Equestrian                  brief deadline and new hearing date for motion for summary judgment.
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Locate service email sent 4/5/24 with request for motion to seal and
  8/27/2024 CCKA   Center     Esmeralda Bustos forward to J. Flanders.                                                            0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Begin drafting response to defendant's request for additional briefing
                   Equestrian                  and proposed order.
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.5    $218.00           $109.00           $0.00               0

                   Murieta                     Teams chat with J. Flanders re: creating pleadings for request
                   Equestrian                  supplemental brief; review email with outline re: same.
  8/27/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Check Judge Riordan's calendar for 9/12/24 to confirm motion to
                   Equestrian                  amend and motion in limine hearing remain calendared. Draft reply
  8/27/2024 CCKA   Center     Esmeralda Bustos email to J. Flanders re: same. Update calendar events for same.                    0.2    $218.00            $43.60           $0.00               0

                   Murieta                     Download and save to file docket entry 148, defendant's motion to
                   Equestrian                  continue motion for summary judgment hearing.
  8/30/2024 CCKA   Center     Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Download and save to file docket entry 149, order granting motion to
                   Equestrian                  continue motion for summary judgment hearing. Calendar new hearing
  8/30/2024 CCKA   Center     Esmeralda Bustos date.                                                                                0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders with draft Loper Bright brief template
  8/30/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Prepare draft supplemental brief template.
  8/30/2024 CCKA   Center     Esmeralda Bustos                                                                                      1.0    $218.00           $218.00           $0.00               0

                   Murieta                     Download and save to file docket entry 150, minute order continuing
                   Equestrian                  motion to amend and motion in limine hearing to 10/8/24.
   9/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Download and save to file docket entry 153, plaintiff's objections to
                   Equestrian                  defendant's supplemental brief re: Loper Bright.
  9/18/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0

                                               Draft weekly priorities for this matter including, finalizing and filing
                   Murieta                     Evidentiary objections to Defendant's Loper Bright supplemental brief
                   Equestrian
  9/18/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                  Efile objections to defendant's supplemental brief.
  9/18/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0

                   Murieta                         Download and save to file docket entries 151 and 152, supplemental
                   Equestrian                      briefs re: Loper Bright.
  9/19/2024 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  10/3/2024 CCKA   Center       Esmeralda Bustos Research local rules for guidance on demonstrative exhibits and PowerP             0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  10/3/2024 CCKA   Center       Esmeralda Bustos Review Judge Riordan's standing civil order and court's website for guid           0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
  10/3/2024 CCKA   Center       Esmeralda Bustos Teams comms with J. Flanders re: contact Judge Riordan's courtroom d               0.1    $218.00            $21.80           $0.00               0

                   Murieta                     Teams comms with J. Flanders re: equipment needed to use laptop in
                   Equestrian                  Eastern District of California courtroom for motion hearing
  10/3/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos Draft email to J. Flanders re: edits/formatting changes added to PowerP              0.1    $218.00            $21.80           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos Format and re-design PowerPoint                                                      0.4    $218.00           $87.20           $0.00               0
                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos Further style revisions to PowerPoint; print copy to ensure greyscale prin           0.4    $218.00           $87.20           $0.00               0
                   Murieta
                   Equestrian
  10/7/2024 CCKA   Center     Esmeralda Bustos Print copies of PowerPoint presentation for tomorrow's hearing                       0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Download and save to file ECF docket entry 154, defendants response
                   Equestrian                  to objections.
  10/8/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                         Download and save to file native version of proposed order to joint
                   Equestrian                      statement re: injunctive relief.
  12/5/2024 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                      Draft joint statement re: injunctive relief template
  12/5/2024 CCKA   Center       Esmeralda Bustos                                                                                    0.3    $218.00           $65.40           $0.00               0
                   Murieta
                   Equestrian                      Draft reply email to J. Flanders with joint statement template.
  12/5/2024 CCKA   Center       Esmeralda Bustos                                                                                    0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                    Efile joint statement and proposed order. Email chambers native word
  12/5/2024 CCKA   Center       Esmeralda Bustos version of proposed order.                                                         0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Download and save to file ECF docket entry 165, joint statement re:
                   Equestrian                  injunctive relief and proposed order.
  12/6/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Telephone call with J. Flanders re: lodging of erroneous proposed
                   Equestrian                  order at ECF docket 165.
  12/9/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0

                   Murieta                     Create redlined version of erroneously filed proposed order and correct
                   Equestrian                  final version of same.
  12/9/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60           $0.00               0

                   Murieta                     Download and save to file ECF docket entry 168, joint supplemental
                   Equestrian                  statement.
 12/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.1    $218.00           $21.80           $0.00               0
                   Murieta
                   Equestrian                  Draft email to chambers with native version of final proposed order.
 12/12/2024 CCKA   Center     Esmeralda Bustos                                                                                      0.2    $218.00           $43.60           $0.00               0




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Date      Client   Matter       Staff              Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Efile supplemental joint statement re: injunctive relief
 12/12/2024 CCKA   Center     Esmeralda Bustos                                                                                       0.1    $218.00            $21.80           $0.00                0

                   Murieta                         Finalize supplemental joint statement and accompanying exhibit in
                   Equestrian                      preparation for efiling.
 12/12/2024 CCKA   Center       Esmeralda Bustos                                                                                     0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center       Esmeralda Bustos                                                                                     0.3    $218.00            $43.60          $21.80               0.1
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Esmeralda Bustos                                                                                     1.3    $218.00           $283.40           $0.00                0
                   Murieta
                   Equestrian
  8/13/2024 CCKA   Center       Esmeralda Bustos                                                                                     0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center       Harrison Beck      Researching contact info for various events and preparing email to J. Fla         1.0    $345.00             $0.00         $345.00                1
                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center       Harrison Beck      Finding third-party subpoenas on shared files.                                    0.9    $345.00             $0.00         $310.50               0.9
                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center       Harrison Beck      Prepping email to J. Flanders w/ third-party subpoenas                            0.3    $345.00           $103.50           $0.00                0
                   Murieta
                   Equestrian                      Reviewing J. Flanders email and preparing notes template
  9/25/2023 CCKA   Center       Harrison Beck                                                                                        0.1    $345.00            $34.50           $0.00                0
                   Murieta
                   Equestrian                      Researching pleading requirements for alter ego liability in California
   1/5/2024 CCKA   Center       Harrison Beck                                                                                        1.8    $345.00           $621.00           $0.00                0

                   Murieta                         Researching procedural requirements for pleading alter ego liability in
                   Equestrian                      California
   1/8/2024 CCKA   Center     Harrison Beck                                                                                          2.7    $345.00           $931.50           $0.00                0
                   Murieta
                   Equestrian                      Researching need for joinder; researching need for separate notice;
   1/8/2024 CCKA   Center     Harrison Beck        researching pleading requirements for piercing corporate veil                     2.7    $345.00           $931.50           $0.00                0
                   Murieta
                   Equestrian                      Drafting email to J. Flanders explaining findings re: research on
   1/8/2024 CCKA   Center     Harrison Beck        procedural requirements for pleading alter ego liability in California            0.9    $345.00           $310.50           $0.00                0

                   Murieta                         Drafting memo re: need for joinder, need for separate notice, piercing
                   Equestrian                      corporate veil procedure, pleading requirements for piercing corporate
   1/8/2024 CCKA   Center     Harrison Beck        veil; sending to J. Flanders; uploading to file                                   0.9    $345.00           $310.50           $0.00                0




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Date      Client   Matter       Staff              Description                                                             Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                      Call w/ J. Flanders re: scope of research for piercing corporate veil
   1/8/2024 CCKA   Center       Harrison Beck      memo                                                                            0.3    $345.00           $103.50           $0.00                0
                   Murieta
                   Equestrian                      Drafting Carol Anderson Ward deposition subpoena
   1/9/2024 CCKA   Center       Harrison Beck                                                                                      0.5    $345.00           $172.50           $0.00                0
                   Murieta
                   Equestrian                      Editing veil piercing memo
   1/9/2024 CCKA   Center       Harrison Beck                                                                                      0.3    $345.00           $103.50           $0.00                0
                   Murieta
                   Equestrian                      Editing Carol Anderson Ward subpoena (to include date and time);
  1/10/2024 CCKA   Center       Harrison Beck      preparing attachment A thereto.                                                 0.9    $345.00           $310.50           $0.00                0
                   Murieta
                   Equestrian                      Call w/ TB about piercing corporate veil, need for expert analysis;
  1/24/2024 CCKA   Center       Harrison Beck      sending TB memo                                                                 0.1    $345.00             $0.00          $34.50               0.1

                   Murieta                         Preparing set two of requests for admission re: Carol Anderson Ward
                   Equestrian
   2/9/2024 CCKA   Center       Harrison Beck                                                                                      1.1    $345.00           $379.50           $0.00                0
                   Murieta
                   Equestrian                      Updating requests for admission set 2 per call w/ J. Flanders
   2/9/2024 CCKA   Center       Harrison Beck                                                                                      0.3    $345.00           $103.50           $0.00                0
                   Murieta
                   Equestrian                      Call w/ J. Flanders re: requests for admission set 2
   2/9/2024 CCKA   Center       Harrison Beck                                                                                      0.1    $345.00            $34.50           $0.00                0
                   Murieta
                   Equestrian                      Email to J. Flanders to ask if more is needed on my end re: the
  2/13/2024 CCKA   Center       Harrison Beck      requests for admission                                                          0.1    $345.00            $34.50           $0.00                0

                   Murieta                         Calls w. J Flanders re: assignment to amend bates numbering citations
                   Equestrian
   4/9/2024 CCKA   Center     Harrison Beck                                                                                        0.1    $345.00             $0.00          $34.50               0.1

                   Murieta                         Amend citations in Motion for Summary Judgment to bates numbered
                   Equestrian                      citations and cite-check cites.
   4/9/2024 CCKA   Center       Harrison Beck                                                                                      2.0    $218.00           $436.00           $0.00                0
                   Murieta
                   Equestrian                      Call w/ J. Flanders re: amending citations
  4/10/2024 CCKA   Center       Harrison Beck                                                                                      0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center       Harrison Beck      Amend citations in Motion for Summary Judgment to account for Bates n           1.9    $218.00           $414.20           $0.00                0
                   Murieta
                   Equestrian
   6/8/2021 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian
  8/25/2021 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  11/1/2021 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00             $0.00         $192.00               0.3
                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
 11/10/2021 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center       Jason Flanders                                                                                       1.3    $640.00           $832.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with E. Maharg and E. Lautanen re: investigation next steps.
  2/10/2020 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Review and analysis of litigation memo; email to S. Bothwell re: same
  2/19/2020 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of investigation memo to prep for client meeting.
  2/21/2020 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Review and comment on client board memo.
  4/17/2020 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with E. Clancy re: site inspection and follow-up questions.
  4/17/2020 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and revisions to 60 notice letter; emailed same to client.
   6/9/2020 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Emails with client re: notice letter; review of client edits and comments
                   Equestrian                    re: same; instructions to E. Bustos re: finalizing and mailing same.
  6/15/2020 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Final additions and edits to notice letter; instructions to E. Bustos to
  6/19/2020 CCKA   Center     Jason Flanders     send.                                                                               0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review of deadlines and email to client re: same.
   8/4/2020 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Call with E. Maharg re: finalizing and filing complaint.
  8/24/2020 CCKA   Center     Jason Flanders                                                                                         0.4    $640.00             $0.00         $256.00               0.4
                   Murieta
                   Equestrian                    Emails with client and staff re: finalizing and filing complaint.
  8/24/2020 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00             $0.00          $64.00               0.1

                   Murieta                       Research into Judge Nunley, consenting to magistrate in the Eastern
                   Equestrian                    District of California; emails with client and T. Barnes re: same.
  9/15/2020 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and revisions to draft first amended complaint, email to client
  9/22/2020 CCKA   Center       Jason Flanders   re: same.                                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to First Amended Complaint, email instructions to E. Bustos
  9/30/2020 CCKA   Center       Jason Flanders   for filing and serving same.                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with E. Maharg and client re: initial response from and to
  10/8/2020 CCKA   Center       Jason Flanders   defendant.                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with E. Maharg re: update from site manager.
 10/13/2020 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with E. Maharg and C. Hudak re: Public Records Act to Rancho
 10/13/2020 CCKA   Center       Jason Flanders   Murieta Community Services District.                                                0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and revision to Public Records Act request.
 10/13/2020 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    PRA research re: Rancho Murietta Community Services District claims
 10/28/2020 CCKA   Center       Jason Flanders   for costs, email to C. Hudak re: same.                                              0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with client re: Public Records Act and case status.
 10/28/2020 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Research regarding entry of default judgment, draft letter to defendant
 10/29/2020 CCKA   Center       Jason Flanders   re: same, emails with client re: same.                                              0.9    $640.00           $576.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to letter re: default judgment, email to client re: same.
 10/29/2020 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00           $256.00           $0.00                0

                   Murieta                       Research for position of J. Sullivan with Murieta Equestrian Center; call
                   Equestrian                    for instructions to E. Bustos re: formatting and sending letter to same.
 10/29/2020 CCKA   Center     Jason Flanders                                                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: research into effectiveness of serviced of
  11/4/2020 CCKA   Center     Jason Flanders     summons.                                                                            0.2    $640.00           $128.00           $0.00                0



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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                       Research into effectiveness of service of summons in response to
                   Equestrian                    defendant claims service was insufficient; instructions to T. Brett re:
  11/4/2020 CCKA   Center       Jason Flanders   same.                                                                             0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with J. Sullivan re: service and response to complaint.
  11/4/2020 CCKA   Center       Jason Flanders                                                                                     0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Review of materials in preparation for call with defendant.
  11/4/2020 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Calls with River City re: service of summons.
  11/5/2020 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails from and to opposing counsel re: service and extension for
  11/6/2020 CCKA   Center       Jason Flanders   responsive pleading.                                                              0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Research into foraging area exception for Concentrated Animal
  11/6/2020 CCKA   Center       Jason Flanders   Feeding Operations.                                                               0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of opposing counsel and firm biographies.
  11/6/2020 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with client and I. Wren re: case consulting.
 11/10/2020 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and approval of stipulation to extend time to answer, emails
 11/13/2020 CCKA   Center       Jason Flanders   with opposing counsel re: same.                                                   0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of sample motion to strike, evaluation of strategy for motion
 11/19/2020 CCKA   Center       Jason Flanders   and other case issues, emails with client re: same.                               0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Brief review of answer; email to client and co-counsel re: same.
 11/19/2020 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: answer and schedule.
 11/19/2020 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft meet and confer re: affirmative defenses.
 11/27/2020 CCKA   Center       Jason Flanders                                                                                     1.4    $640.00             $0.00         $896.00               1.4
                   Murieta
                   Equestrian                    Draft meet and confer re: affirmative defenses.
 11/27/2020 CCKA   Center       Jason Flanders                                                                                     1.4    $640.00           $896.00           $0.00                0
                   Murieta
                   Equestrian                    Finalized meet and confer letter re: affirmative defenses.
 11/27/2020 CCKA   Center       Jason Flanders                                                                                     1.1    $640.00           $704.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Review and edits to E. Clancy memo re: defendant's frivolous and
 11/27/2020 CCKA   Center       Jason Flanders   meritless affirmative defenses.                                                     0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Email to J. Knowlton re: settlement.
  12/4/2020 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Barnes re: case strategy in response to defendant's
  12/9/2020 CCKA   Center       Jason Flanders   pleading.                                                                           0.3    $640.00             $0.00         $192.00               0.3
                   Murieta
                   Equestrian                    Email to opposing counsel re: meet and confer on motion to strike
  12/9/2020 CCKA   Center       Jason Flanders   affirmative defenses.                                                               0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email to client re: motion to strike affirmative defenses.
  12/9/2020 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with opposing counsel re: affirmative defenses, brief prep for
 12/11/2020 CCKA   Center       Jason Flanders   same, follow up email to client re: same.                                           0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Draft and revisions to stipulation to extend Motion to Strike deadline,
 12/14/2020 CCKA   Center       Jason Flanders   email to opposing counsel re: same.                                                 0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Instructions to E. Bustos re: stipulation and order for Motion to Compel,
 12/14/2020 CCKA   Center       Jason Flanders   email to client re: same.                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and comment on revised stip, email to opposing counsel re:
 12/16/2020 CCKA   Center       Jason Flanders   same, email instructions to E. Bustos re: same.                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call and emails with E. Bustos finalizing stip and order re: Motion to
 12/17/2020 CCKA   Center       Jason Flanders   Strike.                                                                             0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: answer and Rule 26f, email to client
   1/4/2021 CCKA   Center       Jason Flanders   re: same.                                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email to client re: amended answer and Rule 26 meet and confer.
  1/13/2021 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: affirmative defenses and Rule 26f meet
  1/13/2021 CCKA   Center       Jason Flanders   and confer.                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Preliminary review of first amended answer; email to client re: same.
  1/19/2021 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and revisions to draft Judicial Case Management Statement;
  1/20/2021 CCKA   Center       Jason Flanders   email transmitting same to opposing counsel.                                        0.5    $640.00           $320.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Rule 26(f) meet and confer call with opposing counsel; brief prep for
  1/21/2021 CCKA   Center       Jason Flanders   same.                                                                             0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to draft Judicial Case Management Statement;
  1/25/2021 CCKA   Center       Jason Flanders   email to client re: same.                                                         0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with M. Maclear re: expert discovery vis-a-vis fact discovery
  1/26/2021 CCKA   Center       Jason Flanders   closing dates for scheduling order.                                               0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to Rule 34 land inspection demand, emails with
  1/26/2021 CCKA   Center       Jason Flanders   client re: same.                                                                  0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Review and revisions to Judicial Case Management Statement; call
                   Equestrian                    with client re: same; review of scheduling order re: same; email to
  1/27/2021 CCKA   Center       Jason Flanders   opposing counsel re: same.                                                        0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with opposing counsel and E. Bustos re: Judicial Case
  1/29/2021 CCKA   Center       Jason Flanders   Management Statement; review of Defendant revisions to same.                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to E. Bustos to finalize and serve request for wet weather
  1/29/2021 CCKA   Center       Jason Flanders   inspection.                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of documents for initial disclosures; emails with C. Hudak re:
   2/2/2021 CCKA   Center       Jason Flanders   same.                                                                             0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email client proposed initial disclosure documents; brief review of
   2/4/2021 CCKA   Center       Jason Flanders   same; instructions to client and staff re: same.                                  0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Preliminary review of Defendant Requests for Production set one, email
   2/8/2021 CCKA   Center       Jason Flanders   to client re: same.                                                               0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Further review of draft initial disclosure documents.
   2/8/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to draft disclosure statement; email to client re: same.
   2/9/2021 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Discussion with C. Hudak re: responses to Requests for Production set
   2/9/2021 CCKA   Center       Jason Flanders   one; email to opposing counsel re: same.                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: wet weather inspection.
  2/10/2021 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to client re: wet weather inspection.
  2/10/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Review of additional documents for initial disclosures.
  2/10/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of documents for initial disclosures, emails with C. Hudak and
  2/11/2021 CCKA   Center       Jason Flanders   E. Bustos re: same.                                                                  0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Final review of initial disclosures.
  2/11/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with C. Hudak re: response to request for production of
  2/11/2021 CCKA   Center       Jason Flanders   documents.                                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of materials for consultant review prior to wet weather
  2/18/2021 CCKA   Center       Jason Flanders   inspection; email to same.                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with client re: document production and wet weather inspection.
  2/22/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of materials in preparation for site inspection; email instructions
  2/25/2021 CCKA   Center       Jason Flanders   to T. Brett re: same.                                                                0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with client and T. Brett re: wet weather inspection.
  2/25/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of status statement order, email instructions to E. Bustos re:
  2/25/2021 CCKA   Center       Jason Flanders   same.                                                                                0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren and T. Brett re: site inspection; follow-up call with T.
  2/26/2021 CCKA   Center       Jason Flanders   Brett re: same.                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Review and annotate Defendants' objections to site inspection; email
   3/1/2021 CCKA   Center       Jason Flanders   instructions to T. Brett re: same.                                                   0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Defendants' initial disclosures.
   3/1/2021 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Misc. emails with opposing counsel re: discovery and with E. Maharg
   3/1/2021 CCKA   Center       Jason Flanders   re: amicus.                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: draft meet and confer in response to Defendant's
   3/2/2021 CCKA   Center       Jason Flanders   wet weather inspection response and objections.                                      0.3    $218.00             $0.00          $65.40               0.3
                   Murieta
                   Equestrian                    Revisions to Rule 34 meet and confer letter; email same to opposing
   3/2/2021 CCKA   Center       Jason Flanders   counsel.                                                                             0.9    $640.00           $576.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                    Hours         Rate       Total             Billing         Billing
                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Email to opposing counsel re: meet and confer on wet weather
   3/2/2021 CCKA   Center       Jason Flanders   inspection.                                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with T. Brett and I. Wren re: weather forecast and site
   3/2/2021 CCKA   Center       Jason Flanders   inspection.                                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of local rules re: discovery dispute resolution; voicemail to
   3/3/2021 CCKA   Center       Jason Flanders   courtroom clerk re: scheduling same                                                    0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to T. Brett letter re: Mag. Barnes dispute
   3/3/2021 CCKA   Center       Jason Flanders   resolution; instructions to T. Brett re: same                                          0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Bustos re: draft stipulation and joint statement; follow up
   3/3/2021 CCKA   Center       Jason Flanders   email instructions re: same                                                            0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of local rules re: motion to compel and shorten time; emails
   3/3/2021 CCKA   Center       Jason Flanders   with T. Brett and E. Bustos re: same.                                                  0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to draft stipulation for site inspection; further
   3/3/2021 CCKA   Center       Jason Flanders   instructions to E. Bustos re: same.                                                    0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Discuss with T. Brett timing / location / logistics of site visit to Murieta
   3/4/2021 CCKA   Center       Jason Flanders   Equestrian Center.                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: inspection demand; call with
   3/4/2021 CCKA   Center       Jason Flanders   clerk re: same; call with E. Maharg and I. Wren re: same.                              1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Review of basin plan for sampling plan, messages with T. Brett and I.
   3/4/2021 CCKA   Center       Jason Flanders   Wren re: same.                                                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of letter from Murieta Equestrian Center re: site inspection,
   3/5/2021 CCKA   Center       Jason Flanders   response email to same; consult with I. Wren re: same.                                 0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revise responses to Requests for Production set one;
   3/7/2021 CCKA   Center       Jason Flanders   instructions to E. Bustos re: same.                                                    1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Review of weather forecast; correspondence with I. Wren re: same.
   3/7/2021 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Calls and emails with client and consultant and opposing counsel
   3/8/2021 CCKA   Center       Jason Flanders   rescheduling wet weather inspection.                                                   0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edit to interrogatories and Requests for Production set
  3/12/2021 CCKA   Center       Jason Flanders   one; email to E. Maharg re: same.                                                      0.4    $640.00           $256.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Correspondence with consultant and opposing counsel re: scheduling
  3/15/2021 CCKA   Center       Jason Flanders   wet weather inspection; review of forecasts re: same.                             0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of revised interrogatories and requests for productions.
  3/15/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call and email with I. Wren re: forecast; email to opposing counsel re:
  3/16/2021 CCKA   Center       Jason Flanders   same.                                                                             0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and finalization of plaintiff's status report.
  3/19/2021 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Review of defendant status statement.
  3/25/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: post-inspection follow up.
  3/31/2021 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Preliminary review of defendant meet and confer letter for discovery
  3/31/2021 CCKA   Center       Jason Flanders   responses; internal email to co-counsel and client re: same.                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of draft protective order, emails with counsel re: same
  3/31/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Maharg re: discovery responses due and litigation strategy
  3/31/2021 CCKA   Center       Jason Flanders   re: same; site inspection results.                                                0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of defendant meet and confer letter regarding financial
   4/1/2021 CCKA   Center       Jason Flanders   disclosures; email response to same.                                              0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Appearance at video status conference with Magistrate Barnes.
   4/2/2021 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of status statements and pleadings in advance of status
   4/2/2021 CCKA   Center       Jason Flanders   conference.                                                                       0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Call with T. Brett to discuss issue of opposing counsel's refusal to
                   Equestrian                    produce photos and video of site inspection in preparation for meet and
   4/6/2021 CCKA   Center     Jason Flanders     confer with opposing counsel.                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Multiple correspondence with opposing counsel regarding discovery
   4/6/2021 CCKA   Center     Jason Flanders     and mediation.                                                                    0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of industry sample data and related relevant permits in the
  4/12/2021 CCKA   Center     Jason Flanders     Central Valley.                                                                   0.2    $640.00           $128.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                                    Hours         Rate       Total             Billing         Billing
                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Review of minute order from court re: mediation; email to client re:
  4/13/2021 CCKA   Center       Jason Flanders   same.                                                                                  0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with clerk and client re: scheduling mediation.
  4/14/2021 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with counsel re: substitution of counsel.
  4/16/2021 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Voicemail and email with opposing counsel re: discovery production
  4/27/2021 CCKA   Center       Jason Flanders   extension.                                                                             0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email to J. Salazar re: production of financial documents.
   5/6/2021 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren re: discharges to waters; follow up call with T. Brett re:
  5/10/2021 CCKA   Center       Jason Flanders   same.                                                                                  0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of evidence collected regarding discharges to waters of the
  5/13/2021 CCKA   Center       Jason Flanders   United States.                                                                         0.8    $640.00           $512.00           $0.00                0

                   Murieta                       Discuss with T. Brett re: memo applying navigable waters protection
                   Equestrian                    rule to Murieta Equestrian Center Facility and remaining questions.
  5/24/2021 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Preliminary review of Murieta Equestrian Center responses to
  5/24/2021 CCKA   Center       Jason Flanders   interrogatories and Requests for Production set one.                                   0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with client re: case investigation.
  5/26/2021 CCKA   Center       Jason Flanders                                                                                          1.1    $640.00           $704.00           $0.00                0
                   Murieta
                   Equestrian                    Email instructions to C. Hudak re: discovery meet and confer.
   6/2/2021 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
   3/7/2022 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00             $0.00         $128.00               0.2
                   Murieta
                   Equestrian                    Review and revisions to meet and confer letter; email to client re:
  6/14/2021 CCKA   Center       Jason Flanders   same.                                                                                  0.9    $640.00           $576.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to discovery meet and confer per D. Hunt comments;
  6/14/2021 CCKA   Center       Jason Flanders   transmit same to defendant.                                                            0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and response to draft Murieta Equestrian Center 30(b)(6)
  6/23/2021 CCKA   Center       Jason Flanders   comments and questions in emails with E. Maharg.                                       0.3    $640.00           $192.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                      Hours         Rate       Total             Billing         Billing
                                                                                                                                                                             Judgment Fee    Judgment
                                                                                                                                                                             Reduction       Time
                                                                                                                                                                                             Reduction
                   Murieta
                   Equestrian                    Emails with opposing counsel re: discovery meet and confer.
  6/23/2021 CCKA   Center       Jason Flanders                                                                                            0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Confer with E. Maharg re: 30(b)(6) notice.
  6/23/2021 CCKA   Center       Jason Flanders                                                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and responses to comments on 30(b)(6) notice from E. Maharg
   7/6/2021 CCKA   Center       Jason Flanders   meet and confer.                                                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: discovery needs, case strategy, scheduling.
   7/7/2021 CCKA   Center       Jason Flanders                                                                                            0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Review of Requests for Production and meet and confer letter and
                   Equestrian                    documents produced in preparation for meet and confer with opposing
   7/8/2021 CCKA   Center     Jason Flanders     counsel re: same.                                                                        0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Call with opposing counsel re: settlement, liability, mediation; follow up
   7/9/2021 CCKA   Center     Jason Flanders     email to same.                                                                           0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Prepare for meet and confer call re: discovery.
   7/9/2021 CCKA   Center     Jason Flanders                                                                                              0.4    $640.00           $256.00           $0.00               0

                   Murieta                       Review of internal memo re: waters of the United States; email to
                   Equestrian                    update to client re: meet and confer and further litigation
   7/9/2021 CCKA   Center     Jason Flanders     considerations.                                                                          0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: discovery document production and
  7/13/2021 CCKA   Center     Jason Flanders     meet and confer.                                                                         0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Call with D. Hunt re: case updates and necessary legal and factual
                   Equestrian                    research re: waters of the United States and establishing horses at the
  7/16/2021 CCKA   Center     Jason Flanders     facility per day.                                                                        1.5    $640.00           $960.00           $0.00               0

                   Murieta                       Call with D. Hunt re: discovery, mediation, waters of the US, number of
                   Equestrian                    horses present at the facility, types of shows at the facility, and litigation
  7/23/2021 CCKA   Center       Jason Flanders   timeline                                                                                 0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Call with C. Hudak re: instructions for reviewing massive Murieta
  8/10/2021 CCKA   Center       Jason Flanders   Equestrian Center document production.                                                   0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of D. Hunt comments to draft notice letter; emails with co-
  8/11/2021 CCKA   Center       Jason Flanders   counsel re: same.                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with C. Hudak re: Murieta Equestrian Center document production.
  8/11/2021 CCKA   Center       Jason Flanders                                                                                            0.2    $640.00           $128.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Call with D. Hunt re: waters of the United States, discovery, and expert
  8/13/2021 CCKA   Center       Jason Flanders   consultation.                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian
   3/7/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt.
  8/31/2021 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with C. Hudak re: document review, subpoenas needed, insurance
  8/31/2021 CCKA   Center       Jason Flanders   document requests for production.                                                  0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt and I. Wren re: site inspection.
  8/31/2021 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with California Coastkeeper Alliance staff and call with
   9/1/2021 CCKA   Center       Jason Flanders   C. Hudak re: review of document production.                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta                       Meet with D. Hunt and C. Capps re: document review.
                   Equestrian
   9/7/2021 CCKA   Center       Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt and C. Capps re: discovery disputes, settlement, and
   9/8/2021 CCKA   Center       Jason Flanders   depositions.                                                                       0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Call with C. Hudak re: document review and mediation brief.
  9/15/2021 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and comment on draft meet and confer letter re: requests for
  9/16/2021 CCKA   Center       Jason Flanders   productions.                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email update to D. Hunt re: status of ongoing efforts.
  9/16/2021 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Final review and revision to meet and confer letter on requests for
  9/17/2021 CCKA   Center       Jason Flanders   production; email to all counsel re: same.                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with opposing counsel and California Coastkeeper Alliance re:
  9/23/2021 CCKA   Center       Jason Flanders   discovery production and mediation.                                                0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Call with client in follow up from call with opposing counsel re:
  9/23/2021 CCKA   Center       Jason Flanders   discovery and mediation.                                                           0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with client in preparation for meet and confer with opposing
  9/23/2021 CCKA   Center       Jason Flanders   counsel.                                                                           0.2    $640.00           $128.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Follow up email to opposing counsel regarding meet and confer on
  9/24/2021 CCKA   Center       Jason Flanders   document production, standing, and mediation.                                     0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Call from opposing counsel re: mediation; message to client re: same.
  9/27/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Zoom with California Coastkeeper Alliance standing witness.
  9/29/2021 CCKA   Center       Jason Flanders                                                                                     1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: standing witness.
  9/29/2021 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Preparation for meeting with California Coastkeeper Alliance standing
  9/29/2021 CCKA   Center       Jason Flanders   witness.                                                                          0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of draft stipulation regarding continuance of the mandatory
  9/29/2021 CCKA   Center       Jason Flanders   settlement conference; emails with opposing counsel re: same.                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Further meet and confer with opposing counsel re: mandatory
  9/29/2021 CCKA   Center       Jason Flanders   settlement conference continuance, review of revisions to same.                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: scheduling standing witness deposition.
  9/30/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call from Dunkin Macintosh.
  10/5/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Correspondence with D. Hunt re: several upcoming litigation needs
                   Equestrian                    including association of counsel, mediation, standing witness
  10/6/2021 CCKA   Center       Jason Flanders   deposition, and insurance.                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt and I. Wren re: initial expert findings.
  10/7/2021 CCKA   Center       Jason Flanders                                                                                     0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Review of waters of the United States regulatory changes and status in
  10/7/2021 CCKA   Center       Jason Flanders   preparation for call with I. Wren.                                                0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Failed Zoom with I. Wren and D. Hunt.
  10/7/2021 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: standing witness deposition.
  10/7/2021 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to draft complaint.
  10/8/2021 CCKA   Center       Jason Flanders                                                                                     0.4    $640.00           $256.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Review of Requests for Production Set Two; instructions to T. Trillo re:
  10/8/2021 CCKA   Center       Jason Flanders   service of same.                                                                   0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to complaint; email to co-counsel re: same.
 10/11/2021 CCKA   Center       Jason Flanders                                                                                      1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Zoom with client re: standing.
 10/12/2021 CCKA   Center       Jason Flanders                                                                                      1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Review and comment on draft K. Kalua declaration.
 10/12/2021 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: standing research.
 10/12/2021 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: standing witnesses.
 10/19/2021 CCKA   Center       Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: defendants' deposition notice.
 10/25/2021 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with C. Hudak re: Murieta Equestrian Center supplemental
 10/25/2021 CCKA   Center       Jason Flanders   document production.                                                               0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Review of draft blog post.
 10/26/2021 CCKA   Center       Jason Flanders                                                                                      0.1    $218.00             $0.00          $21.80               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt and S. Bothwell (for part) re: Person Most Qualified
 10/26/2021 CCKA   Center       Jason Flanders   and standing depositions.                                                          0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Draft letter to opposing counsel re: 30(b)(6) deposition notice.
 10/26/2021 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Finalized and sent objections to 30(b)(6) deposition notice.
 10/27/2021 CCKA   Center       Jason Flanders                                                                                      0.1    $218.00             $0.00          $21.80               0.1

                   Murieta                       Review of complaint and defendant insurance documents in response
                   Equestrian                    to email questions from opposing counsel; email to client re: same;
 10/29/2021 CCKA   Center     Jason Flanders     email to opposing counsel re: same.                                                0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with client re: discovery, Resource Conservation and Recovery Act
  11/1/2021 CCKA   Center     Jason Flanders     claim, and Mandatory Settlement Conference.                                        0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Resource Conservation and Recovery Act analysis, draft
  11/1/2021 CCKA   Center     Jason Flanders     mediation brief, in prep for call with client.                                     0.3    $640.00           $192.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Email with client re: Duncan Mcintosh.
  11/2/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft November workplan for multiple litigation needs and staffing.
  11/3/2021 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Reviewed and sent documents to expert for use in mediation proposal.
  11/3/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: November work plan.
  11/4/2021 CCKA   Center       Jason Flanders                                                                                        0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: 30(b)(6) deposition notice.
  11/4/2021 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Email instructions to C. Capps and C. Hudak re: document review and
  11/4/2021 CCKA   Center       Jason Flanders   meet and confer letter.                                                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and revisions to meet and confer letter re: discovery
  11/5/2021 CCKA   Center       Jason Flanders   production; transmitted same.                                                        0.4    $640.00           $256.00           $0.00                0
                   Murieta                       Meeting with D. Hunt, C. Capps, and S. Bothwell.
                   Equestrian
  11/8/2021 CCKA   Center       Jason Flanders                                                                                        1.1    $640.00           $704.00           $0.00                0
                   Murieta
                   Equestrian                    Zoom with S. Bothwell to prep for deposition, brief prep for same
  11/8/2021 CCKA   Center       Jason Flanders                                                                                        1.2    $640.00           $704.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with I. Wren re: Best Management Practices and waters of the
  11/8/2021 CCKA   Center       Jason Flanders   United States.                                                                       0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edits to draft 30(b)(6) objections; email to client re: same.
  11/8/2021 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: drafting consent decree.
  11/9/2021 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Zoom with client re: 30(b)(6) depo; brief prep for same.
  11/9/2021 CCKA   Center       Jason Flanders                                                                                        1.1    $640.00           $704.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation brief.
  11/9/2021 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Review of documents identified by defendants' Requests for Production
  11/9/2021 CCKA   Center       Jason Flanders   2 responses; email instructions to C. Hudak re: same.                                0.2    $640.00           $128.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total               Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Review of waters of the United States regulatory status, research
  11/9/2021 CCKA   Center       Jason Flanders   instructions to K. Rothstein re: same.                                              0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00             $64.00           $64.00               0.1
                   Murieta
                   Equestrian                    Finalized and sent responses and objections to 30(b)(6) deposition
 11/10/2021 CCKA   Center       Jason Flanders   notice.                                                                             1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian                    Calls with D. Hunt re: preparation for 30(b)(6) deposition and amending
 11/10/2021 CCKA   Center       Jason Flanders   complaint.                                                                          0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Initial review of I. Wren best management practices memorandum.
 11/10/2021 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review of files in preparation for 30(b)(6) deposition.
 11/10/2021 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to objections to deposition notice; email to opposing counsel
 11/10/2021 CCKA   Center       Jason Flanders   re: same.                                                                           0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: amended complaint.
 11/10/2021 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Deposition preparation with S. Bothwell and D. Hunt.
 11/12/2021 CCKA   Center       Jason Flanders                                                                                       1.3    $640.00            $832.00            $0.00                0
                   Murieta
                   Equestrian                    Zoom deposition preparation with client and D. Hunt.
 11/12/2021 CCKA   Center       Jason Flanders                                                                                       1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Preparation for meeting with client for deposition.
 11/12/2021 CCKA   Center       Jason Flanders                                                                                       0.7    $640.00            $448.00            $0.00                0

                   Murieta                       Draft revisions to First Amended Complaint for Second Amended
                   Equestrian                    Complaint; draft stipulation re: same; review of rules re: same; email to
 11/12/2021 CCKA   Center       Jason Flanders   client re: same.                                                                    0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Edits to stipulation and client comments re: same, sent to opposing
 11/12/2021 CCKA   Center       Jason Flanders   counsel.                                                                            0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Review of Defendant's proposed waiver and indemnification for
 11/12/2021 CCKA   Center       Jason Flanders   deposition, email to client re: same.                                               0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Travel to deposition of S. Bothwell.
 11/14/2021 CCKA   Center       Jason Flanders                                                                                       1.5    $640.00            $480.00          $480.00           0.75




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Date      Client   Matter       Staff            Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Review of materials and objections in preparation for deposition of S.
 11/14/2021 CCKA   Center       Jason Flanders   Bothwell.                                                                            0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Defense of deposition of S. Bothwell.
 11/15/2021 CCKA   Center       Jason Flanders                                                                                        6.0    $640.00           $3,840.00           $0.00                0
                   Murieta
                   Equestrian                    Calls with T. Brett re: mediation brief.
 11/15/2021 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt following deposition of S. Bothwell.
 11/15/2021 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: settlement statement draft.
 11/16/2021 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation brief.
 11/17/2021 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00              $0.00          $256.00               0.4
                   Murieta
                   Equestrian                    Email to opposing counsel re: missing Requests for Production
 11/17/2021 CCKA   Center       Jason Flanders   responses.                                                                           0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation brief.
 11/17/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to mediation brief.
 11/18/2021 CCKA   Center       Jason Flanders                                                                                        1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian                    Review of draft Consent Decree; email to client same.
 11/19/2021 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Zoom with client re: draft consent decree.
 11/22/2021 CCKA   Center       Jason Flanders                                                                                        1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to mediation brief, responses to D. Hunt comments and edits
 11/22/2021 CCKA   Center       Jason Flanders   re: same                                                                             0.9    $640.00            $576.00            $0.00                0
                   Murieta
                   Equestrian                    Review and revisions to draft Consent Decree, responses to client
 11/22/2021 CCKA   Center       Jason Flanders   comments re: same.                                                                   0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Review and comment on draft consent decree.
 11/22/2021 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with client re: Consent Decree revisions.
 11/23/2021 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00              $0.00          $256.00               0.4




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Date      Client   Matter       Staff            Description                                                              Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Revisions to mediation brief.
 11/23/2021 CCKA   Center       Jason Flanders                                                                                    2.8    $640.00           $1,792.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to draft Consent Decree based on call and comments from
 11/23/2021 CCKA   Center       Jason Flanders   client.                                                                          0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Finalized exchanged and confidential settlement statements, consent
 11/24/2021 CCKA   Center       Jason Flanders   decree, exhibits, and filed same                                                 2.6    $640.00           $1,664.00           $0.00               0
                   Murieta
                   Equestrian
 11/24/2021 CCKA   Center       Jason Flanders   Draft confidential mediation statement; emails with client re: same.             0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: settlement conference prep.
 11/29/2021 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with client re: mediation.
 11/29/2021 CCKA   Center       Jason Flanders                                                                                    0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: mediation.
 11/29/2021 CCKA   Center       Jason Flanders                                                                                    0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian
 11/29/2021 CCKA   Center       Jason Flanders   Call with Magistrate Newman re: settlement.                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
 11/29/2021 CCKA   Center       Jason Flanders   Call with Magistrate Newman.                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
 11/29/2021 CCKA   Center       Jason Flanders   Email update to client re: call with Judge Newman.                               0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Follow up call to Judge Newman re: mediation; email update to client
 11/29/2021 CCKA   Center       Jason Flanders   re: same.                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian
 11/30/2021 CCKA   Center       Jason Flanders   Call with client in preparation for mediation.                                   0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Attended mediation
  12/1/2021 CCKA   Center       Jason Flanders                                                                                    5.4    $640.00           $3,456.00           $0.00               0
                   Murieta
                   Equestrian                    Follow up meeting with client after mediation
  12/1/2021 CCKA   Center       Jason Flanders                                                                                    1.2    $640.00            $768.00            $0.00               0
                   Murieta
                   Equestrian                    Research into standing and orders from Mag. Barnes following
  12/1/2021 CCKA   Center       Jason Flanders   mediation and planning with client and co-counsel                                1.0    $640.00            $640.00            $0.00               0




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Date      Client   Matter       Staff            Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with I. Wren, T. Brett and D. Hunt
  12/3/2021 CCKA   Center       Jason Flanders                                                                                        1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Call with California Coastkeeper Alliance members re: standing
  12/3/2021 CCKA   Center       Jason Flanders                                                                                        0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment and coordination
  12/8/2021 CCKA   Center       Jason Flanders   with opposing counsel call                                                           1.4    $640.00           $896.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren, follow up email to client re: same
  12/8/2021 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Draft stipulated facts for D. Hunt review
  12/8/2021 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: Motion for Summary Judgment planning and
  12/8/2021 CCKA   Center       Jason Flanders   prep for call with opposing counsel                                                  0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to letter objecting to claw back request
 12/10/2021 CCKA   Center       Jason Flanders                                                                                        1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Call with M. Maclear re: trial strategy in advance of meet and confer
 12/10/2021 CCKA   Center       Jason Flanders   with opposing counsel                                                                0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: stipulation of facts, proof of fact chart, property
 12/10/2021 CCKA   Center       Jason Flanders   ownership                                                                            0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to draft stipulation of facts, sent to T. Brett for further
 12/10/2021 CCKA   Center       Jason Flanders   development                                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with opposing counsel re: streamlining discovery and motion
 12/15/2021 CCKA   Center       Jason Flanders   practice, follow up call with D. Hunt re: same                                       1.2    $640.00           $768.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt in preparation for call with opposing counsel
 12/15/2021 CCKA   Center       Jason Flanders                                                                                        0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Draft stipulated facts and outline of cross motions for SJ and
 12/15/2021 CCKA   Center       Jason Flanders   streamlined discovery for D. Hunt review                                             0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to stipulation re: facts discovery and Motion for Summary
 12/16/2021 CCKA   Center       Jason Flanders   Judgment                                                                             0.3    $640.00           $192.00           $0.00               0

                   Murieta                       Call with all counsel re: discovery and motion practice planning, review
                   Equestrian                    of materials in advance prep for same, follow up call with D. Hunt re:
 12/28/2021 CCKA   Center     Jason Flanders     same                                                                                 1.0    $640.00           $640.00           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Call with D. Hunt in preparation for meet and confer with opposing
 12/28/2021 CCKA   Center       Jason Flanders   counsel re: discovery and motion schedule                                          0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with co-counsel and expert re: settlement document review and
 12/28/2021 CCKA   Center       Jason Flanders   timeline                                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt and I. Wren re: ongoing investigations of receiving
   1/4/2022 CCKA   Center       Jason Flanders   waters, brief prep for same                                                        1.3    $640.00           $832.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: scheduling proposal from opposing counsel, email
   1/4/2022 CCKA   Center       Jason Flanders   response to opposing counsel re: same                                              0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: standing analysis of defendant's claims
   1/5/2022 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00             $0.00         $256.00               0.4
                   Murieta
                   Equestrian                    Call with D. Hunt and E. Maharg re: standing
   1/5/2022 CCKA   Center       Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: site inspections and investigations related to
   1/7/2022 CCKA   Center       Jason Flanders   standing and waters of the United States                                           0.6    $640.00             $0.00         $384.00               0.6

                   Murieta                       Emails with opposing counsel re: motion to revise scheduling order,
                   Equestrian                    stipulated facts
  1/12/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: joint scheduling stip and stipulated facts
  1/13/2022 CCKA   Center       Jason Flanders                                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren re: expert report scope and timing
  1/13/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to proposed schedule for o/c, voice mail to I. Wren re: same
  1/13/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email to all counsel re: case scheduling
  1/13/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Draft joint stipulation, voice mail to clerk for Mag Newman re: same,
  1/14/2022 CCKA   Center       Jason Flanders   calls with D. Hunt re: same                                                        1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Further revisions to draft scheduling stipulation, call with D. Hunt re:
  1/14/2022 CCKA   Center       Jason Flanders   same , email to all counsel re: same                                               0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with client re: email from opposing counsel (.3), email response to
  1/18/2022 CCKA   Center       Jason Flanders   same (.2)                                                                          0.5    $640.00           $320.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Email to T. Brett re: needs for standing memo and analysis
  1/18/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: research on information standing requirements
  1/18/2022 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
  1/19/2022 CCKA   Center       Jason Flanders   Further analysis of standing questions, Kaitlyn Kin testimony, amending           1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Research and analysis re: whether to amend complaint, email to D.
  1/19/2022 CCKA   Center       Jason Flanders   Hunt re: same                                                                     0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Review of case law re: informational standing
  1/19/2022 CCKA   Center       Jason Flanders                                                                                     0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: standing
  1/19/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0

                   Murieta                       Call with T. Brett re: research into organizational standing based on
                   Equestrian                    informational injury.
  1/20/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: joint stipulation to modify
  1/20/2022 CCKA   Center       Jason Flanders   scheduling order                                                                  1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Call with S. Bothwell, D. Hunt, and T. Brett re: standing, review of
  1/20/2022 CCKA   Center       Jason Flanders   cases in preparation for same                                                     0.8    $640.00           $384.00         $128.00               0.2
                   Murieta
                   Equestrian                    Call with D. Hunt in preparation for meet and confer with opposing
  1/20/2022 CCKA   Center       Jason Flanders   counsel re: joint stipulation                                                     0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: good cause for amending complaint
  1/20/2022 CCKA   Center       Jason Flanders                                                                                     0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt in follow up to meet and confer with opposing counsel
  1/20/2022 CCKA   Center       Jason Flanders   re: joint scheduling order                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: legal research and write up of informational and
  1/20/2022 CCKA   Center       Jason Flanders   organizational injuries for standing                                              0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: stipulated order for Phase I of
  1/23/2022 CCKA   Center       Jason Flanders   litigation                                                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Draft second amended complaint provisions re: informational and
  1/24/2022 CCKA   Center       Jason Flanders   organizational standing                                                           1.2    $640.00           $768.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Call with A. Sutta with instructions for compiling materials for draft
  1/24/2022 CCKA   Center     Jason Flanders     Second Amended Complaint                                                          0.3    $640.00           $192.00           $0.00               0

                   Murieta                       Finalized draft Second Amended Complaint, further emails and call with
                   Equestrian                    client re: same, cover email and transmitted same to opposing counsel
  1/25/2022 CCKA   Center       Jason Flanders                                                                                     1.2    $640.00           $768.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to allegations for second amended complaint
  1/25/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Second Amended Complaint draft language
  1/25/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Maharg re: defendant's proposal to remove waters of the
  1/28/2022 CCKA   Center       Jason Flanders   United States from cross Motion for Summary Judgments                             0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: defendant's proposed discovery and briefing
  1/28/2022 CCKA   Center       Jason Flanders   procedure and schedule                                                            0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Follow up call with D. Hunt re: defendant's proposed discovery and
  1/28/2022 CCKA   Center       Jason Flanders   briefing procedure and schedule                                                   0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email response to opposing counsel re: defendant's proposed
  1/28/2022 CCKA   Center       Jason Flanders   discovery and motion schedule                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of emails from defendant re: joint scheduling stip and motion to
  1/28/2022 CCKA   Center       Jason Flanders   amend                                                                             0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Review of proposed schedule from defendant, text to client re: same,
                   Equestrian                    email to opposing counsel re: counterproposal for scheduling and cross
  1/31/2022 CCKA   Center       Jason Flanders   Motion for Summary Judgments                                                      0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to draft joint scheduling stipulation, calls and
   2/1/2022 CCKA   Center       Jason Flanders   emails with client re: same                                                       1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: scheduling stipulation, revisions to
   2/2/2022 CCKA   Center       Jason Flanders   same, email to all counsel transmitting same                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with S. Fried re: joint scheduling stipulation and preliminary
   2/3/2022 CCKA   Center       Jason Flanders   stipulated facts                                                                  0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: joint scheduling stip, stipulated fact, standing
   2/3/2022 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: waters of the United States expert report and
   2/3/2022 CCKA   Center       Jason Flanders   discovery                                                                         0.1    $640.00            $64.00           $0.00               0



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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Emails with opposing counsel and T. Trillo re: finalizing and filing
   2/3/2022 CCKA   Center       Jason Flanders   stipulation re: scheduling                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: waters of the United States fact development,
   2/3/2022 CCKA   Center       Jason Flanders   email to D. Hunt re: same                                                           0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of Defendant's revisions to joint stipulation to amend
   2/3/2022 CCKA   Center       Jason Flanders   scheduling order, email to client re: same                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of final stip and order for scheduling, email to all counsel re:
   2/4/2022 CCKA   Center       Jason Flanders   same                                                                                0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: waters of the United States research question
   2/7/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Telephone call with T. Trillo re: U.S. Army Corps of Engineers
   2/7/2022 CCKA   Center       Jason Flanders   subpoena.                                                                           0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Zoom with T. Brett and D. Hunt re: evidence collection and necessary
   2/7/2022 CCKA   Center       Jason Flanders   subpoenas for waters of the United States claim                                     1.1    $640.00           $704.00           $0.00               0
                   Murieta
                   Equestrian                    Review of fact chart and prior research in prep for call with D. Hunt re:
   2/7/2022 CCKA   Center       Jason Flanders   expert report                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call and emails with E. Maharg re: draft motion for leave to amend
   2/7/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of draft subpoena to USACOE, email to D. Hunt re: same
   2/7/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to motion for leave to amend
   2/8/2022 CCKA   Center       Jason Flanders                                                                                       0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Research into naming and service of subpoena upon Ward trust, call
   2/8/2022 CCKA   Center       Jason Flanders   with T. Brett re: same (.3)                                                         0.5    $640.00           $320.00           $0.00               0

                   Murieta                       Multiple correspondence with client and co-counsel re: fact
                   Equestrian                    development and subpoenas for discharges of pollutants to waters of
   2/8/2022 CCKA   Center     Jason Flanders     the United States                                                                   0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: waters of the United States discovery
   2/8/2022 CCKA   Center     Jason Flanders                                                                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to subpoena to ACOE, service instructions to T.
   2/8/2022 CCKA   Center     Jason Flanders     Trillo re: same                                                                     0.1    $640.00            $64.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Instructions to C. Hudak for updating U.S. Army Corps of Engineers
   2/8/2022 CCKA   Center       Jason Flanders   subpoena                                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: subpoena for service on carol Anderson.
   2/9/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: subpoenas, motion to amend, and witnesses for
   2/9/2022 CCKA   Center       Jason Flanders   waters of the United States                                                         1.1    $640.00           $704.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: waters of the United States discovery
   2/9/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to Regional Board subpoena, email to client re: same
   2/9/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to draft Flanders declaration in support of motion
   2/9/2022 CCKA   Center       Jason Flanders   for leave to amend                                                                  0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Trillo re: subpoena service on California Department of Fish
   2/9/2022 CCKA   Center       Jason Flanders   and Wildlife, draft cover email for same                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with C. Hudak re: 303(d) listing, email to client re: same
   2/9/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of California Department of Fish and Wildlife draft subpoena,
   2/9/2022 CCKA   Center       Jason Flanders   emails with T. Trillo re: finalizing and serving same                               0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to subpoena on Carol Anderson Ward for
  2/10/2022 CCKA   Center       Jason Flanders   inspection of premises.                                                             0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Calls and emails with D. Hunt and E. Maharg re: Kalua declaration (.4);
  2/10/2022 CCKA   Center       Jason Flanders   revisions to Flanders declaration                                                   0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: third party subpoenas
  2/10/2022 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to RFA, call with T. Brett re: same
  2/10/2022 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: motion for leave to amend and declaration of K.
  2/10/2022 CCKA   Center       Jason Flanders   Kalua in support of same                                                            0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt and E. Maharg re: final declarations and
  2/10/2022 CCKA   Center       Jason Flanders   brief for filing                                                                    0.3    $640.00           $192.00           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Further review and revisions to MPA in support of motion for leave to
  2/10/2022 CCKA   Center       Jason Flanders   amend                                                                              0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of Kalua dec and D. Hunt revisions to motion, emails with T.
  2/10/2022 CCKA   Center       Jason Flanders   Trillo and D. Hunt re: same                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to D. Hunt re: witness disclosure list
  2/10/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: pending discovery
  2/10/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email instructions to T. Brett re: serving multiple subpoenas, RFA,
  2/10/2022 CCKA   Center       Jason Flanders   requests for production                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: pending discovery
  2/10/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and analysis of email from Regional Board re: subpoena, call
  2/14/2022 CCKA   Center       Jason Flanders   with same, follow up email to same                                                 0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: subpoenas, review of emails re:
  2/14/2022 CCKA   Center       Jason Flanders   same                                                                               0.2    $640.00           $128.00           $0.00               0
                   Murieta                       call with D. Hunt re: Carol Anderson Ward subpoenas
                   Equestrian
  2/15/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: ongoing evidence collection, work with expert
  2/15/2022 CCKA   Center       Jason Flanders   report                                                                             0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: draft subpoenas to the County and Rancho
  2/15/2022 CCKA   Center       Jason Flanders   Murrieta                                                                           0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Emails with staff and D. Hunt re: service of Carol Anderson Ward
                   Equestrian                    subpoena, draft email to opposing counsel re: same, further call with D.
  2/15/2022 CCKA   Center       Jason Flanders   Hunt re: same, email to opposing counsel                                           0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: subpoena to County
  2/15/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: consultant evidence gathering, correspondence
  2/16/2022 CCKA   Center       Jason Flanders   with consultant re: same                                                           0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to County subpoena Attachment A, email
  2/16/2022 CCKA   Center       Jason Flanders   instructions to staff re: same                                                     0.4    $640.00           $256.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                    Call with I. Wren re: site investigations
  2/16/2022 CCKA   Center     Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: fact collection updates
  2/17/2022 CCKA   Center     Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Discussion with staff regarding standing declaration, waters of the
                   Equestrian                    United States and discharge expert report, and reply on motion for
  2/17/2022 CCKA   Center       Jason Flanders   leave to amend                                                                   0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren re: rain forecast
  2/22/2022 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Voicemails exchanged with K. Cullen at U.S. Army Corps of Engineers
  2/22/2022 CCKA   Center       Jason Flanders   re: subpoena, follow up call with same                                           0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Rule 34 inspection demand
  2/22/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: process for organizing and using subpoena
  2/22/2022 CCKA   Center       Jason Flanders   responses, needed legal research in advance of same                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: wet weather inspection demand
  2/22/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Call with T. Brett re: Second Amended Complaint County subpoena;
                   Equestrian                    facility inspection; and next steps for discussions with re: Ian Wren
  2/23/2022 CCKA   Center       Jason Flanders   waters of the United States memo                                                 0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: outstanding discovery issues and further
  2/23/2022 CCKA   Center       Jason Flanders   investigations                                                                   0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with State Water Resources Control Board re: subpoena
  2/23/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: standing.
  2/23/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Analysis of traceability needs for expert dec
  2/27/2022 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email from Rancho Murieta Community Services District re: subpoena,
  2/27/2022 CCKA   Center       Jason Flanders   email to D. Hunt and T. Brett re: same                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Initial review of subpoena request documents produced by California
  2/28/2022 CCKA   Center       Jason Flanders   Department of Fish and Wildlife                                                  0.1    $640.00             $0.00          $64.00               0.1



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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: I. Wren waters of the United States memo and in
  2/28/2022 CCKA   Center     Jason Flanders     prep for call tomorrow with D. Hunt.                                                0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review of I. Wren waters of the United States memo, T. Brett proof of
  2/28/2022 CCKA   Center     Jason Flanders     fact chart re: same                                                                 0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with A. Ramos re: Rancho Murieta Community Services District
  2/28/2022 CCKA   Center     Jason Flanders     subpoena response, voicemail from client re: same                                   0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Zoom with D. Hunt (and T. Brett for part) re: waters of the United States
                   Equestrian                    expert report, fact investigation, subpoena response from Rancho
   3/1/2022 CCKA   Center       Jason Flanders   Murieta Community Services District                                                 2.1    $640.00           $1,344.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert report
   3/1/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call from State Water Resources Control Board staff re: subpoena
   3/1/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Review of U.S. Army Corps of Engineers response letter, emails with
   3/1/2022 CCKA   Center       Jason Flanders   client and co-counsel re: same                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with Rancho Murieta Community Services District counsel re:
   3/2/2022 CCKA   Center       Jason Flanders   subpoena, brief prep for same                                                       1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to reply in support of motion to amend complaint
   3/2/2022 CCKA   Center       Jason Flanders                                                                                       0.9    $640.00            $576.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett and E. Maharg (for part) re: expert testimony related
   3/2/2022 CCKA   Center       Jason Flanders   to standing                                                                         0.6    $640.00            $320.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt re: Rancho Murieta Community Services District
   3/2/2022 CCKA   Center       Jason Flanders   subpoena, site investigations                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Final review and edits to reply re: motion to amend complaint,
   3/3/2022 CCKA   Center       Jason Flanders   instructions to T. Trillo to cite check and file                                    0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: waters of the United States expert report
   3/3/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Final review of reply re: motion to amend before filing
   3/3/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Discussion with staff re: upcoming deadlines and deliverables
   3/3/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: disco and tag tree for document review, ultimate
   3/4/2022 CCKA   Center       Jason Flanders   facts re: waters of the United States                                                 0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt and I. Wren re: site investigation
   3/4/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Calls with D. Hunt and E. Maharg re: court's order vacating hearing
   3/4/2022 CCKA   Center       Jason Flanders   before reply brief was filed                                                          0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center       Jason Flanders                                                                                         0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Zoom with I. Wren, D. Hunt, and T. Brett re: expert report
   3/7/2022 CCKA   Center       Jason Flanders                                                                                         1.3    $640.00            $576.00          $256.00               0.4
                   Murieta
                   Equestrian                    Call with T. Brett re: next research steps on standing
   3/8/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Review of subpoena response documents from the Regional Board
   3/8/2022 CCKA   Center       Jason Flanders                                                                                         2.1    $640.00           $1,344.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren re: expert report
   3/8/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: review of State Water Resources Control Board
   3/8/2022 CCKA   Center       Jason Flanders   documents                                                                             0.1    $640.00             $64.00            $0.00                0

                   Murieta                       VM to S. Fried re: settlement, call with S. Fried re: settlement, brief
                   Equestrian                    follow up with client re: same, draft email to S. Fried re: same for client
   3/9/2022 CCKA   Center       Jason Flanders   review                                                                                0.9    $640.00            $576.00            $0.00                0
                   Murieta
                   Equestrian                    Email to all counsel re: scheduling depositions; further emails with S.
   3/9/2022 CCKA   Center       Jason Flanders   Fried re: discovery responses and scheduling                                          0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Final review and transmission of subpoena response documents batch
   3/9/2022 CCKA   Center       Jason Flanders   1 to I. Wren, further review and emails with D. Hunt re: same                         0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: settlement and Bothwell deposition
   3/9/2022 CCKA   Center       Jason Flanders                                                                                         0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Call with S. Fried re: discovery deadlines and relating scheduling
   3/9/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Email from S. Fried re: scheduling depositions, draft response for D.
   3/9/2022 CCKA   Center       Jason Flanders   Hunt to review same                                                                   0.2    $640.00            $128.00            $0.00                0




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Date      Client   Matter       Staff            Description                                                                     Hours         Rate       Total             Billing         Billing
                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental disclosures and evidence for expert
   3/9/2022 CCKA   Center       Jason Flanders   report                                                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Calls with I. Wren (.2) and T. Brett re: expert report (.1)
  3/10/2022 CCKA   Center       Jason Flanders                                                                                           0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: expert witness file management
  3/10/2022 CCKA   Center       Jason Flanders                                                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Bustos re: Second Amended Complaint filing
  3/10/2022 CCKA   Center       Jason Flanders                                                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Zoom with I. Wren, D. Hunt, and T. Brett re: expert report
  3/11/2022 CCKA   Center       Jason Flanders                                                                                           1.3    $640.00           $320.00         $512.00               0.8
                   Murieta
                   Equestrian                    Call with T. Brett re: follow up needs from call with expert
  3/11/2022 CCKA   Center       Jason Flanders                                                                                           0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with expert and co-counsel re: expert report
  3/11/2022 CCKA   Center       Jason Flanders                                                                                           0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Call with T. Brett re: Second Amended Complaint filing and defendants'
                   Equestrian                    motion to dismiss
  3/14/2022 CCKA   Center     Jason Flanders                                                                                             0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: potential sampling points for site visit with I. Wren.
  3/14/2022 CCKA   Center     Jason Flanders                                                                                             0.1    $640.00             $0.00          $64.00               0.1

                   Murieta                       Call with I. Wren and D. Hunt re: site inspection (.4); follow up call with
                   Equestrian                    T. Brett re: same (.2)
  3/14/2022 CCKA   Center       Jason Flanders                                                                                           0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Review of legal background re: expert report, rules re: expert
  3/14/2022 CCKA   Center       Jason Flanders   disclosure                                                                              0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center       Jason Flanders                                                                                           0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Voicemail to I. Wren re: files for expert report
  3/16/2022 CCKA   Center       Jason Flanders                                                                                           0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Email to co-counsel re: pending deliverables and assignments
  3/16/2022 CCKA   Center       Jason Flanders                                                                                           0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt re: fact development, expert report, supplemental
  3/16/2022 CCKA   Center       Jason Flanders   disclosures, and related items                                                          1.2    $640.00           $768.00           $0.00                0



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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with I. Wren re: expert report
  3/16/2022 CCKA   Center     Jason Flanders                                                                                          0.3    $640.00           $192.00           $0.00                0

                                                 Review of Defendants' Requests for Production and prior response to
                   Murieta                       determine whether supplemental document production is needed,
                   Equestrian                    emails with staff re: same
  3/16/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Updated list of projects assignments and deadlines for staff and co-
  3/16/2022 CCKA   Center       Jason Flanders   counsel                                                                              0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: agency subpoena response documents
  3/17/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00             $0.00         $128.00               0.2
                   Murieta
                   Equestrian                    Call with T. Brett re: expert report
  3/17/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with I. Wren, T. Brett, and D. Hunt re: expert report (.5); follow up
  3/18/2022 CCKA   Center       Jason Flanders   information re: same (.3)                                                            0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Brief review of draft expert report, email to co-counsel re: same
  3/18/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: sources for expert
  3/18/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00             $0.00         $256.00               0.4
                   Murieta
                   Equestrian                    Call with I. Wren re: expert report
  3/20/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of files for prior BMP/facility documents sent to expert, email to
  3/20/2022 CCKA   Center       Jason Flanders   expert re: same                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Downloaded documents from opposing counsel (Paralegal rate)
  3/21/2022 CCKA   Center       Jason Flanders                                                                                        1.3    $640.00             $0.00         $832.00               1.3
                   Murieta
                   Equestrian                    Call with D. Hunt and I. Wren re: expert report
  3/21/2022 CCKA   Center       Jason Flanders                                                                                        0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: expert report
  3/21/2022 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren re: expert report
  3/21/2022 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00           $320.00           $0.00                0



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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Review of responses to Requests for Production 3
  3/21/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Coordination with I. Wren and staff on finalizing production of expert
  3/22/2022 CCKA   Center       Jason Flanders   report                                                                              0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Further viewing of videos provided by defendant in Requests for
  3/22/2022 CCKA   Center       Jason Flanders   Production response, email to I. Wren re: same                                      0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: rain data for expert report
  3/22/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of video in Requests for Production responses
  3/22/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta                       call with D. Hunt re: outstanding discovery and ongoing and further
                   Equestrian                    investigations
  3/23/2022 CCKA   Center       Jason Flanders                                                                                       0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt and T. Brett re: review of expert report, discovery
  3/24/2022 CCKA   Center       Jason Flanders   plan, motion to compel, stipulated facts                                            1.1    $640.00           $704.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edits to memo re: standing witness privileges, email to D.
  3/24/2022 CCKA   Center       Jason Flanders   Hunt re: same                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review and comment on Murieta Equestrian Center proposed
  3/25/2022 CCKA   Center       Jason Flanders   stipulated facts, email to T. Brett and D. Hunt re: same                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to T. Trillo re: supplemental production
  3/27/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren and D. Hunt re: expert report errata, deposition
  3/29/2022 CCKA   Center       Jason Flanders   schedule, further fact gathering needs                                              0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Outline of open items for weekly meeting with D. Hunt
  3/29/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Bustos and T. Trillo re: supplemental initial disclosures
  3/29/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to T. Trillo re: expert report errata
  3/29/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to T. Brett re: meet and confer letter on RFAs, requests for
  3/29/2022 CCKA   Center       Jason Flanders   productions, and wet weather inspection                                             0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                       Call with D. Hunt and T. Brett (for part) re: discovery needs and
                   Equestrian                    assignments (.9); prep for expert witness deposition (.1)
  3/30/2022 CCKA   Center       Jason Flanders                                                                                      1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: expert report errata
  3/30/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery response meet and confer letters
  3/30/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email instructions to E. Bustos re: supplemental disclosures
  3/30/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Discussion with staff re: project status and deadlines
  3/31/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Call with T. Brett re: CA Ward subpoena service and revisions to
                   Equestrian                    Attachment A
   4/1/2022 CCKA   Center     Jason Flanders                                                                                        0.2    $640.00            $64.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery meet and confer letters, subpoena to
   4/1/2022 CCKA   Center     Jason Flanders     C.A. Ward                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Telephone call with E. Bustos re: disclosure notice and POS
   4/1/2022 CCKA   Center     Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0

                                                 Draft letter to opposing counsel re: stipulation of facts and discharges
                   Murieta                       of pollutants from the facility; review and edits to meet and confer on
                   Equestrian                    requests for admission re: same; email with T. Brett and D. Hunt re:
   4/3/2022 CCKA   Center     Jason Flanders     same; instructions to T. Trillo re: same                                           0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: meet and confer letters and next steps of
   4/4/2022 CCKA   Center     Jason Flanders     addressing answer.                                                                 0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Email with consultant and co-counsel re: consent decree proposals and
                   Equestrian                    documentation
   4/4/2022 CCKA   Center     Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Call with D. Hunt re: I. Wren deposition, and defendant's failures to
                   Equestrian                    provide legitimate discovery responses, strategies for navigating same
   4/5/2022 CCKA   Center     Jason Flanders     including discussion of stipulated facts                                           1.4    $640.00           $896.00           $0.00                0
                   Murieta
                   Equestrian                    Preparation for I. Wren deposition
   4/5/2022 CCKA   Center     Jason Flanders                                                                                        0.6    $640.00           $384.00           $0.00                0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Review of prior I. Wren deposition testimony and motion in limine
   4/5/2022 CCKA   Center     Jason Flanders                                                                                         0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Email to all counsel re: stipulated facts
   4/5/2022 CCKA   Center     Jason Flanders                                                                                         0.3    $640.00            $192.00            $0.00                0

                   Murieta                       Deposition prep with I. Wren and D. Hunt, follow up call with D. Hunt re:
                   Equestrian                    same
   4/6/2022 CCKA   Center     Jason Flanders                                                                                         1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Rule 34 meet and confer letter, email to opposing counsel
   4/6/2022 CCKA   Center     Jason Flanders     re: wet weather inspection, and meet and confer re: same                            0.6    $640.00            $384.00            $0.00                0

                   Murieta                       Review and revisions to meet and confer letters on requests for
                   Equestrian                    production and Wet Weather Inspection, brief call with T. Brett re:
   4/6/2022 CCKA   Center       Jason Flanders   same (.1); call with I. Wren re: Wet Weather Inspection                             0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Calls and texts with D. Hunt re: wet weather inspection
   4/6/2022 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Review of I. Wren expert report and related materials
   4/6/2022 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: amended answer affirmative defenses
   4/6/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Voice mails to S. Fried and G. Friedman re: discovery meet and confer,
   4/7/2022 CCKA   Center       Jason Flanders   follow up email to all counsel re: same                                             0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Emails with all counsel re: meet and confer on discovery disputes
   4/7/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00              $0.00           $64.00               0.1

                   Murieta                       Call with D. Hunt re: discovery meet and confer (.5); review of local
                   Equestrian                    rules and D. Barnes standing order re: same, review of discovery
   4/7/2022 CCKA   Center     Jason Flanders     demands re: same (.2)                                                               0.7    $640.00            $448.00            $0.00                0

                   Murieta                       Deposition prep with I. Wren and D. Hunt; review of dispute resolution
                   Equestrian                    re: wet weather inspection during meeting; calls to consulting firms re:
   4/8/2022 CCKA   Center     Jason Flanders     same during deposition prep                                                         3.7    $640.00           $2,240.00         $128.00               0.2
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: wet weather inspection
   4/8/2022 CCKA   Center     Jason Flanders                                                                                         0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Review of S. Fried letter re: wet weather inspection, call with D. Hunt
   4/8/2022 CCKA   Center     Jason Flanders     re: same, prep for meet and confer call re: same                                    0.4    $640.00            $256.00            $0.00                0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction


                   Murieta                       Draft email for D. Hunt review to opposing counsel re: wet weather
                   Equestrian                    inspection meet and confer
   4/8/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt in follow up to meet and confer on wet weather
   4/8/2022 CCKA   Center       Jason Flanders   inspection                                                                          0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to follow up email to opposing counsel re: wet weather
   4/8/2022 CCKA   Center       Jason Flanders   inspection                                                                          0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft motion to compel wet weather inspection, correspondence with D.
  4/10/2022 CCKA   Center       Jason Flanders   Hunt re: same                                                                       2.0    $640.00           $1,280.00           $0.00                0
                   Murieta
                   Equestrian                    Draft joint stipulation to compel wet weather inspection, email to co-
  4/10/2022 CCKA   Center       Jason Flanders   counsel sending draft of same                                                       1.3    $640.00            $832.00            $0.00                0

                   Murieta                       Call with T. Brett re: objections to deposition subpoena notice and
                   Equestrian                    request for production of documents.
  4/11/2022 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: objections to deposition subpoena.
  4/11/2022 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: declaration in support of motion for informal
  4/11/2022 CCKA   Center     Jason Flanders     discovery                                                                           0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Final revisions to draft joint statement re: discovery, responses and
                   Equestrian                    revisions based on D. Hunt comments to same
  4/11/2022 CCKA   Center     Jason Flanders                                                                                         2.2    $640.00           $1,408.00           $0.00                0

                   Murieta                       Zoom with I. Wren, D. Hunt, and T. Brett for deposition prep and
                   Equestrian                    responses to document production requests
  4/11/2022 CCKA   Center     Jason Flanders                                                                                         1.7    $640.00           $1,024.00          $64.00               0.1

                   Murieta                       Further draft of motion for admin relief / order shortening time, further
                   Equestrian                    instructions to staff re: same, meet and confer with opposing counsel
  4/11/2022 CCKA   Center     Jason Flanders     re: same, email to court clerk re: same                                             1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian                    Draft motion for order referral to informal dispute resolution or
  4/11/2022 CCKA   Center     Jason Flanders     alternatively an order shortening time                                              1.2    $640.00            $768.00            $0.00                0

                   Murieta                       Review and edits to objections to I. Wren deposition notice requesting
                   Equestrian                    documents, email instructions to E. Bustos for finalizing and serving
  4/11/2022 CCKA   Center     Jason Flanders     same                                                                                0.6    $640.00            $384.00            $0.00                0




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                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: wet weather inspection
  4/11/2022 CCKA   Center       Jason Flanders   dispute resolution, confer with D. Hunt re: same                                      0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Email meet and confer with opposing counsel re: wet weather
  4/11/2022 CCKA   Center       Jason Flanders   inspection                                                                            0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Review of objections to deposition document notice, call with D. Hunt
  4/11/2022 CCKA   Center       Jason Flanders   re: same                                                                              0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: joint stipulation on Rule 34 site inspection
  4/11/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center       Jason Flanders   Telephone call with J. Flanders re: ex parte application filing.                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Expert deposition of I. Wren
  4/12/2022 CCKA   Center       Jason Flanders                                                                                         9.5    $640.00           $6,080.00           $0.00                0
                   Murieta
                   Equestrian                    Draft letter brief for Rule 34 informal discovery dispute resolution, email
  4/12/2022 CCKA   Center       Jason Flanders   to D. Hunt re: draft of same                                                          1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Review of I. Wren documents for privilege, correspondence with D.
  4/12/2022 CCKA   Center       Jason Flanders   Hunt re: same                                                                         0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Telephone call with E. Bustos re: email instructing service of notice of
  4/12/2022 CCKA   Center       Jason Flanders   objection of taking of deposition                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Final review and revisions to joint statement re: discovery dispute,
  4/13/2022 CCKA   Center       Jason Flanders   email to opposing counsel re: same                                                    0.8    $640.00            $512.00            $0.00                0

                   Murieta                       Misc. emails with staff re: service of third party subpoena, and with co-
                   Equestrian                    counsel and consultant re: wet weather inspection, letter brief and
  4/13/2022 CCKA   Center     Jason Flanders     hearing re: same                                                                      0.2    $640.00            $128.00            $0.00                0

                   Murieta                       Review of defendant's draft joint statement re: Rule 34 inspection,
                   Equestrian                    revisions to Plaintiff's statement re: same, emails with opposing
  4/14/2022 CCKA   Center       Jason Flanders   counsel re: same, filing instructions to T. Trillo re: same                           0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: discovery for documents related to realignment of
  4/15/2022 CCKA   Center       Jason Flanders   stream/ditch                                                                          0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Preparation for informal telephonic discovery hearing re: Rule 34
  4/17/2022 CCKA   Center       Jason Flanders   demand                                                                                0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: potential supplemental report and
  4/18/2022 CCKA   Center       Jason Flanders   scheduling order                                                                      0.1    $640.00              $0.00           $64.00               0.1



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                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: scope of expert supplemental disclosures
  4/18/2022 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Correspondence with E. Maharg re: I. Wren sampling
  4/18/2022 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Instructions to T. Brett re: service of subpoena to C. Anderson
  4/18/2022 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00             $0.00          $64.00               0.1
                   Murieta                       call with D. Hunt to prep for discovery meeting with Court
                   Equestrian
  4/18/2022 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Research re: wet weather inspection and expert disclosure
  4/18/2022 CCKA   Center       Jason Flanders   requirements, draft memo to D. Hunt re: same                                           1.1    $640.00           $704.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt and I. Wren after informal dispute resolution with
  4/18/2022 CCKA   Center       Jason Flanders   Judge Barnes                                                                           0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Informal telephonic dispute resolution with Judge Barnes
  4/18/2022 CCKA   Center       Jason Flanders                                                                                          0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Meet and confer call with opposing counsel re: wet weather inspection
  4/18/2022 CCKA   Center       Jason Flanders                                                                                          0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Review of materials from T. Brett and D. Hunt, respectively, re: whether
  4/18/2022 CCKA   Center       Jason Flanders   to supplement expert report                                                            0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Follow up call with D. Hunt following meet and confer with opposing
  4/18/2022 CCKA   Center       Jason Flanders   counsel                                                                                0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of joint statement and prior meet and confer letters for informal
  4/18/2022 CCKA   Center       Jason Flanders   discovery dispute hearing                                                              0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian
  4/18/2022 CCKA   Center       Jason Flanders   Emails with opposing counsel and Deputy Buzo re: wet weather inspecti                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email from opposing counsel with items for discussion in meet and
  4/18/2022 CCKA   Center       Jason Flanders   confer call re: Wet Weather Inspection, call with D. Hunt re: same                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: wet weather inspection meet and confer
  4/18/2022 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft email to J. Salazar re: site inspection limitations, review of I. Wren
  4/18/2022 CCKA   Center       Jason Flanders   figure re: same                                                                        0.1    $640.00            $64.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Revised and sent email to opposing counsel re: limitations on wet
  4/18/2022 CCKA   Center       Jason Flanders   weather inspection                                                                 0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Voicemails and emails to opposing counsel confirming wet weather
  4/19/2022 CCKA   Center       Jason Flanders   inspection notice                                                                  0.1    $640.00              $0.00           $64.00               0.1
                   Murieta                       call with D. Hunt re: defendant request to adjust case scheduling order
                   Equestrian
  4/19/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Communicate with T. Brett re: Requests for Production meet and
  4/19/2022 CCKA   Center       Jason Flanders   confer letter.                                                                     0.1    $640.00             $64.00            $0.00                0

                                                 Call with D. Hunt re: all outstanding items, including extensive
                   Murieta                       evaluation of defendant's request to amend the scheduling order for
                   Equestrian                    new expert report and deposition deadlines; and review of all other
  4/19/2022 CCKA   Center     Jason Flanders     needed discovery for the case                                                      1.7    $640.00           $1,088.00           $0.00                0

                   Murieta                       Draft email to opposing counsel addressing Defendant's requests
                   Equestrian                    related to amending the scheduling order for supplemental expert
  4/19/2022 CCKA   Center     Jason Flanders     disclosures                                                                        0.9    $640.00            $576.00            $0.00                0

                   Murieta                       Call with T. Brett re: outstanding requests for production and requests
                   Equestrian                    for admission meet and confer, service of Carol Anderson subpoena,
  4/19/2022 CCKA   Center     Jason Flanders     and additional needed discovery                                                    0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: Defendant's request to revise scheduling order
  4/19/2022 CCKA   Center     Jason Flanders     for supplemental expert disclosure                                                 0.7    $640.00            $448.00            $0.00                0

                   Murieta                       Revisions to meet and confer email to opposing counsel re: defendant's
                   Equestrian                    request to modify the scheduling order, call with D. Hunt re: same,
  4/19/2022 CCKA   Center     Jason Flanders     finalized and sent same                                                            0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Updated list of assignments for staff and co-counsel following call with
  4/19/2022 CCKA   Center     Jason Flanders     D. Hunt, email to all re: same                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Outline of open items for meeting with D. Hunt
  4/19/2022 CCKA   Center     Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0

                                                 Multiple correspondence with opposing counsel, co-counsel, and
                   Murieta                       consultant, regarding evidence to be collected at wet weather
                   Equestrian                    inspection, and procedure for supplementing expert disclosure
  4/20/2022 CCKA   Center     Jason Flanders     thereafter                                                                         0.8    $640.00            $512.00            $0.00                0

                   Murieta                       Email response to J. Salazar re: supplemental expert disclosures and
                   Equestrian                    schedule (.5); brief call and correspondence with D. Hunt re: same (.3)
  4/20/2022 CCKA   Center     Jason Flanders                                                                                        0.8    $640.00            $512.00            $0.00                0



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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Preparation for wet weather inspection
  4/20/2022 CCKA   Center     Jason Flanders                                                                                        0.5    $640.00           $320.00           $0.00                0

                   Murieta                       Further emails with J. Salazar re: defendant's arguments regarding
                   Equestrian                    Wren supplemental report and stipulated schedule; call with lab and
  4/20/2022 CCKA   Center       Jason Flanders   messages to consultant and co-counsel re: same                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Finalized stipulated facts, instructions to T. Brett re: same
  4/20/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: interrogatories and stipulation re: authenticity
  4/20/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $64.00          $64.00               0.1
                   Murieta
                   Equestrian                    Emails with T. Brett re: multiple outstanding discovery requests,
  4/20/2022 CCKA   Center       Jason Flanders   stipulation of facts, stipulation re: authenticity                                 0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Instructions to T. Trillo re: service of subpoena to C. Anderson
  4/20/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with co-counsel re: discovery to Waterboards
  4/20/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I,. Wren re: wet weather inspection
  4/20/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: sample locations from first wet weather
  4/20/2022 CCKA   Center       Jason Flanders   inspection                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email from J. Salazar re: expert file provided
  4/20/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email to co-counsel re: further discovery to SWRCB
  4/20/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel and consultant re: wet weather
  4/20/2022 CCKA   Center       Jason Flanders   inspection                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center       Jason Flanders   Travel to Murieta Equestrian Center for wet weather inspection                     2.0    $640.00           $640.00         $640.00                1
                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center       Jason Flanders   Travel from Murieta Equestrian Center for wet weather inspection                   2.0    $640.00           $640.00         $640.00                1
                   Murieta
                   Equestrian                    Call with M. Maclear re: expert report supplement
  4/21/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $0.00          $64.00               0.1




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: site inspection and rogs
  4/21/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Wet weather inspection at Murieta Equestrian Center
  4/21/2022 CCKA   Center       Jason Flanders                                                                                      4.0    $640.00           $2,560.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: lab sample result time and drop off
  4/21/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: drafting sprogs for service on defendant
  4/22/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: follow up after wet weather inspection, voice mail
  4/22/2022 CCKA   Center       Jason Flanders   re: same                                                                           0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: supplemental disclosure, deposition, and rebuttal
  4/22/2022 CCKA   Center       Jason Flanders   schedule                                                                           0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: ongoing meet and confer re: expert
  4/22/2022 CCKA   Center       Jason Flanders   discovery schedule                                                                 0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Draft revised stipulated schedule, email to co-counsel for review of
  4/22/2022 CCKA   Center       Jason Flanders   same                                                                               0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Email response to J. Salazar request for I. Wren file
  4/22/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with staff re: organizing project assignments
  4/22/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft deposition outline for Murieta Equestrian Center 30(b)(6)
  4/23/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Strategize with C. Hudak re: Def's discovery productions
  4/23/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Review edit and comment on draft interrogatory set two
  4/25/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00               0

                   Murieta                       Call with opposing counsel re: scheduling expert reports and
                   Equestrian                    depositions, follow up emails with opposing counsel and co-counsel re:
  4/25/2022 CCKA   Center     Jason Flanders     same                                                                               0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with J. Salazar re: expert schedule
  4/25/2022 CCKA   Center     Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00               0




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                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: deposition notice
  4/25/2022 CCKA   Center     Jason Flanders                                                                                          0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
  4/26/2022 CCKA   Center     Jason Flanders     Research into analogous cases brought by opposing counsel                            0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: Carol Anderson Ward subpoena and sprogs
  4/26/2022 CCKA   Center     Jason Flanders                                                                                          0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Weekly check in call with D. Hunt covering all open items for case,
                   Equestrian                    including ROGS, site inspections, depositions needed, litigation
  4/26/2022 CCKA   Center     Jason Flanders     strategies                                                                           1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian                    Review and revisions to draft ROGs
  4/26/2022 CCKA   Center     Jason Flanders                                                                                          0.5    $640.00            $320.00            $0.00                0

                                                 Voice mail from S. Fried re: scheduling, correspondence with D. Hunt
                   Murieta                       and I. Wren re: same, email response to opposing counsel re: same
                   Equestrian
  4/26/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review of open items list of projects in prep for call with client
  4/26/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Brief call with D. Hunt re: scheduling order and sample results
  4/26/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Further emails with J. Salazar re: expert discovery schedule
  4/26/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Initial review of Rule 34 wet weather sampling data
  4/26/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Review of C. Anderson subpoena service attempt documents, emails
  4/26/2022 CCKA   Center       Jason Flanders   with T. Brett and D. Hunt re: same                                                   0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to sprogs set two
  4/27/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Strategize with C. Hudak re: next steps
  4/27/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to interrogatories; and further discovery
  4/28/2022 CCKA   Center       Jason Flanders   on defendant                                                                         0.2    $640.00            $128.00            $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Confer with T. Trillo re: revisions to schedule and beginning draft of
  4/28/2022 CCKA   Center       Jason Flanders   RJN.                                                                                 0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt and T. Brett re: ROGs
  4/28/2022 CCKA   Center       Jason Flanders                                                                                        0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Additional draft interrogatories re: facility map and related instructions
  4/28/2022 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Calls with T. Brett re: ROGs, revisions to interrogatories re: same
  4/28/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Additional draft interrogatories re: process water and production area
  4/28/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to draft interrogatories set two
  4/28/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review and comment on draft Wren supplemental report, email to D.
  4/28/2022 CCKA   Center       Jason Flanders   Hunt re: same                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to T. Trillo re: compiling exhibits for and drafting RJN in
  4/28/2022 CCKA   Center       Jason Flanders   support of Motion for Summary Judgment                                               0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Discuss litigation next steps (Bothwell Declaration and supplemental
  4/28/2022 CCKA   Center       Jason Flanders   disco) with E. Maharg                                                                0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental expert report and ROGs
  4/29/2022 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Finalized interrogatories set two, instructions to T. Trillo for service
  4/29/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren and D. Hunt re: supplemental expert report
   5/2/2022 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Final review and edits to supplemental expert report, instructions to T.
   5/2/2022 CCKA   Center       Jason Flanders   Trillo re: finalizing and serving same                                               0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: supplemental expert report
   5/2/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental expert report
   5/2/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Teleconference with M. Maclear re: recent events and developments.
   5/3/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: further discovery needed, litigation planning, I.
   5/3/2022 CCKA   Center       Jason Flanders   Wren joined for part re: dry weather inspection tests                                1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Review and comment on draft 30(b)(6) deposition notice
   5/3/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: open items and defendant's expert
   5/3/2022 CCKA   Center       Jason Flanders   deposition                                                                           0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: drafting deposition topics for defendant's 30(b)(6)
   5/4/2022 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edits to letter re: service of subpoena to C. Ward,
   5/4/2022 CCKA   Center       Jason Flanders   instructions to T. Brett for finalizing same                                         0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: deposition of defendant's 30(b)(6)
   5/4/2022 CCKA   Center       Jason Flanders   and other open meet and confer items                                                 0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Edits to letter re: duty to supplement, instructions to T. Brett re:
   5/4/2022 CCKA   Center       Jason Flanders   finalizing and sending same                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with counsel re: Ward subpoena
   5/5/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Ward subpoena
   5/5/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett in prep for meet and confer
   5/6/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0

                                                 Call with D. Hunt and T. Brett re: next steps in follow up from meet and
                   Murieta                       confer with opposing counsel, including but not limited to dry weather
                   Equestrian                    inspection, 30(b)(6) deposition, subpoena for inspection of creek
   5/6/2022 CCKA   Center       Jason Flanders                                                                                        1.4    $640.00           $896.00           $0.00               0
                   Murieta
                   Equestrian                    Meet and confer call with all counsel re: numerous discovery devices
   5/6/2022 CCKA   Center       Jason Flanders   and deposition scheduling                                                            0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel on numerous outstanding
   5/6/2022 CCKA   Center       Jason Flanders   issues                                                                               0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Preparation for meet and confer with defendants on numerous
   5/6/2022 CCKA   Center       Jason Flanders   outstanding topics                                                                   0.5    $640.00           $320.00           $0.00               0



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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Draft agenda for meet and confer on multiple issues with opposing
   5/6/2022 CCKA   Center     Jason Flanders     counsel                                                                            0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review and edit to objection to I. Wren deposition notice, calls with T.
   5/9/2022 CCKA   Center     Jason Flanders     Brett re: same                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental
   5/9/2022 CCKA   Center     Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00               0

                   Murieta                       Review and analysis of scheduling proposal from S. Fried, email to D.
                   Equestrian                    Hunt and T. Brett with additions re: Dry Weather Inspection and
   5/9/2022 CCKA   Center       Jason Flanders   subpoena to inspect unnamed creek                                                  0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: supplemental report deposition
   5/9/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Ward Trust subpoena, email to opposing counsel
   5/9/2022 CCKA   Center       Jason Flanders   re: same                                                                           0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Review of T. Brett research re: defendant's failure to answer RFAs,
   5/9/2022 CCKA   Center       Jason Flanders   emails with counsel re: same                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Ian Wren supplemental deposition, brief prep for same in discussion
  5/10/2022 CCKA   Center       Jason Flanders   with I. Wren, brief follow up with I. Wren re: same                                1.8    $640.00           $1,152.00           $0.00               0
                   Murieta
                   Equestrian                    Weekly check in call with D. Hunt re: all scheduling issues and
  5/10/2022 CCKA   Center       Jason Flanders   discovery                                                                          1.2    $640.00            $768.00            $0.00               0
                   Murieta
                   Equestrian                    Conversation with S. Fried re: scheduling further discovery scheduling
  5/10/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with all counsel re: adjusting Phase I schedule and related
  5/10/2022 CCKA   Center       Jason Flanders   housekeeping items                                                                 0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Review of settlement letter edits and comments by K. Dragunchuk,
  5/10/2022 CCKA   Center       Jason Flanders   emails re: same                                                                    0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Supplemental document production for I. Wren supplemental report,
  5/11/2022 CCKA   Center       Jason Flanders   review of same                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett and D. Hunt (for part) re: motion for alternate
  5/11/2022 CCKA   Center       Jason Flanders   subpoena service and order shortening time                                         0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Email from opposing counsel re: several open items
  5/11/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: ex parte application for order to shorten time.
  5/12/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review comment and instruction on draft RJN in support of Motion for
  5/12/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                   0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Discussion with staff re: numerous upcoming discovery needs
  5/12/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Strategize with C. Hudak re: discovery responses
  5/12/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email from S. Fried re: subpoena service motion, call to same, call with
  5/13/2022 CCKA   Center       Jason Flanders   D. Hunt re: same, email to S. Fried re: same                                       0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Review and finalization of motion for alt service of subpoena, and
  5/13/2022 CCKA   Center       Jason Flanders   ancillary documents, for filing                                                    0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: motions re: service of Anderson Trust subpoena
  5/13/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Telephone call with E. Bustos re: motion filing logistics.
  5/13/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0

                                                 Email to opposing counsel re: motion for alternative service of
                   Murieta                       subpoena, motion for order shortening time of same, informal dispute
                   Equestrian                    resolution on Dry Weather inspection; review of schedule for same
  5/16/2022 CCKA   Center     Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: open discovery items and upcoming depositions
  5/17/2022 CCKA   Center     Jason Flanders                                                                                        0.9    $640.00           $576.00           $0.00                0

                   Murieta                       Email response to opposing counsel re: scheduling subpoena motion,
                   Equestrian                    dry weather inspection informal dispute resolution, supplemental
  5/17/2022 CCKA   Center       Jason Flanders   productions                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Emails from opposing counsel re: depositions, dry weather inspection,
  5/17/2022 CCKA   Center       Jason Flanders   and Anderson Ward Trust subpoena service motion                                    0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Meeting with D. Hunt and C. Hudak re: Requests for Production
  5/19/2022 CCKA   Center       Jason Flanders   responses and objections, brief prep for same                                      1.4    $640.00           $832.00          $64.00               0.1
                   Murieta
                   Equestrian                    Email to opposing counsel re: meet and confer on multiple pending
  5/19/2022 CCKA   Center       Jason Flanders   items                                                                              0.1    $640.00            $64.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Meeting with D. Hunt re: Requests for Production responses
  5/20/2022 CCKA   Center     Jason Flanders                                                                                           0.8    $640.00           $512.00           $0.00               0

                                                 Meet and confer call with opposing counsel scheduling multiple
                   Murieta                       discovery dispute resolution dates, follow up call with T. Brett to confirm
                   Equestrian                    same (.2); call with E. Bustos to draft joint stip re: same (.1), response
  5/20/2022 CCKA   Center       Jason Flanders   email to opposing counsel confirming same                                             0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to joint stipulation re: subpoena service motion hearing,
  5/20/2022 CCKA   Center       Jason Flanders   email to opposing counsel transmitting same                                           0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Draft responses to interrogatories
  5/23/2022 CCKA   Center       Jason Flanders                                                                                         0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Preliminary review of defendant's expert report
  5/23/2022 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Email and voice mail to S. Fried re: joint scheduling stipulation
  5/23/2022 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Finished first full draft of responses to ROGs, instructions to C. Hudak
  5/24/2022 CCKA   Center       Jason Flanders   re: finishing draft two of same                                                       0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: expert report and multiple related outstanding
  5/24/2022 CCKA   Center       Jason Flanders   discovery devices and disputes                                                        0.5    $640.00           $320.00           $0.00               0

                                                 Emails with opposing counsel re: multiple scheduling issues including
                                                 depositions, review of Federal Rule of Civil Procedure re: same, failure
                   Murieta                       to provide expert file, follow up voice mail to S. Fried re: same,
                   Equestrian                    instructions to T. Brett re: research and further work on same
  5/24/2022 CCKA   Center       Jason Flanders                                                                                         0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Preliminary review of defendants' expert reference documents
  5/24/2022 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Maharg re: defendant's expert report and deposition
  5/24/2022 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Draft interrogatory responses
  5/24/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: defendant's expert report
  5/24/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with C. Hudak for instructions on Requests for Production
  5/24/2022 CCKA   Center       Jason Flanders   responses                                                                             0.2    $640.00           $128.00           $0.00               0



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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Draft agenda for meet and confer with opposing counsel, review of
  5/24/2022 CCKA   Center       Jason Flanders   documents re: same                                                                  0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: deposition notices
  5/24/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Draft interrogatory responses
  5/24/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Begin prep of outline and questions for S. Paulsen deposition
  5/25/2022 CCKA   Center       Jason Flanders                                                                                       0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Review of prior requests for productions and documents produced in
  5/25/2022 CCKA   Center       Jason Flanders   preparation for meet and confer call with defendant re: same                        0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Meet and confer call with S. Fried and G. Friedman re: dry weather
  5/25/2022 CCKA   Center       Jason Flanders   inspection and supplemental document production                                     0.6    $640.00           $384.00           $0.00               0

                   Murieta                       Review, comment, and approval of draft deposition notices (.3); call
                   Equestrian                    with T. Brett re: same (.2)
  5/25/2022 CCKA   Center     Jason Flanders                                                                                         0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt following up from meet and confer with opposing
  5/25/2022 CCKA   Center     Jason Flanders     counsel re: dry weather inspection and document demands                             0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Final review of deposition notices and document request, call with T.
                   Equestrian                    Brett finalizing same (.1); instructions to E. Bustos re: service of same
  5/25/2022 CCKA   Center       Jason Flanders   (.1)                                                                                0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of defendant's response to motion re: alternate service of
  5/25/2022 CCKA   Center       Jason Flanders   subpoena, draft response to T. Brett and D. Hunt re: same                           0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Emails and call with T. Brett re: multiple document and deposition
  5/25/2022 CCKA   Center       Jason Flanders   subpoenas                                                                           0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: expert report and deposition prep
  5/26/2022 CCKA   Center       Jason Flanders                                                                                       1.4    $640.00           $896.00           $0.00               0
                   Murieta
                   Equestrian                    Review of Paulsen expert report for deposition prep
  5/26/2022 CCKA   Center       Jason Flanders                                                                                       0.8    $640.00           $512.00           $0.00               0

                   Murieta                       Call with T. Brett re: additional document requests and subpoenas
                   Equestrian                    needed, especially in light of non-disclosed documents referenced in
  5/26/2022 CCKA   Center     Jason Flanders     Paulsen report                                                                      0.3    $640.00           $192.00           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Emails with opposing counsel re: 30(b)(6) deposition
  5/26/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Thunder Mountain subpoena
  5/26/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren and D. Hunt re: rebuttal report
  5/27/2022 CCKA   Center       Jason Flanders                                                                                    1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to reply brief in support of leave to serve subpoena by mail
  5/27/2022 CCKA   Center       Jason Flanders                                                                                    0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Draft deposition questions for S. Paulsen
  5/31/2022 CCKA   Center       Jason Flanders                                                                                    1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian                    Draft deposition outline for S. Paulsen
  5/31/2022 CCKA   Center       Jason Flanders                                                                                    1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Preliminary review of Defendant's supplemental document production
  5/31/2022 CCKA   Center       Jason Flanders                                                                                    0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: separate statement of undisputed facts
  5/31/2022 CCKA   Center       Jason Flanders                                                                                    0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with C. Hudak re: interrogatory and Requests for Production
  5/31/2022 CCKA   Center       Jason Flanders   responses                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel and client re: discovery extensions
  5/31/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Conversation with T. Brett re: Clyde Ashley deposition subpoena,
   6/1/2022 CCKA   Center       Jason Flanders   30(b)(6) prep, and planned call with D. Hunt.                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call T. Brett re: Clyde Ashley deposition subpoena and 30(b)(6)
   6/1/2022 CCKA   Center       Jason Flanders   deposition prep                                                                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt and T. Brett re: discovery responses and deposition
   6/1/2022 CCKA   Center       Jason Flanders   prep                                                                             1.1    $640.00            $640.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with C. Hudak re: document production
   6/1/2022 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Zoom with I. Wren re: rebuttal report and Paulsen deposition prep
   6/2/2022 CCKA   Center       Jason Flanders                                                                                    1.4    $640.00            $896.00            $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Draft outline and questions for S. Paulsen deposition
   6/2/2022 CCKA   Center       Jason Flanders                                                                                      1.3    $640.00            $832.00            $0.00               0
                   Murieta
                   Equestrian                    Review and edits to draft interrogatory responses
   6/2/2022 CCKA   Center       Jason Flanders                                                                                      0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Response to E. Maharg email questions re: document production
   6/2/2022 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Revised interrogatory responses, sent to client and co-counsel for
   6/2/2022 CCKA   Center       Jason Flanders   review                                                                             0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: document production search and process, I. Wren
   6/2/2022 CCKA   Center       Jason Flanders   rebuttal report, 30(b)(6) deposition prep                                          0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: prep for 30(b)(6) depo
   6/2/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Draft deposition questions, review of Paulsen report and supporting
   6/3/2022 CCKA   Center       Jason Flanders   documents re: same                                                                 2.4    $640.00           $1,536.00           $0.00               0
                   Murieta
                   Equestrian                    Review of 303(d) listing and related policy documents in preparation for
   6/3/2022 CCKA   Center       Jason Flanders   Paulsen depo                                                                       1.1    $640.00            $704.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Paulsen deposition questions
   6/3/2022 CCKA   Center       Jason Flanders                                                                                      1.0    $640.00            $640.00            $0.00               0
                   Murieta
                   Equestrian                    Review and edits to responses to Requests for Production 2.
   6/3/2022 CCKA   Center       Jason Flanders                                                                                      0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Compilation of exhibits for Paulsen deposition
   6/3/2022 CCKA   Center       Jason Flanders                                                                                      0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: document production and depositions
   6/3/2022 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Finalized and sent responses to Requests for Production set two
   6/3/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Preliminary review of draft 30(b)(6) deposition outline
   6/3/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Additional correspondence with staff re: document production, retrieval
   6/3/2022 CCKA   Center       Jason Flanders   of emails re: same                                                                 0.1    $640.00             $64.00            $0.00               0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center       Jason Flanders   Preliminary review of Defendant's responses to Plaintiff's Roges                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for deposition prep and motion for
   6/6/2022 CCKA   Center       Jason Flanders   alternative service.                                                              0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: drafting deposition questions for Paulsen
   6/6/2022 CCKA   Center       Jason Flanders   deposition re: weather stations.                                                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Review and analysis of potential 30(b)(6) deposition exhibits
   6/6/2022 CCKA   Center       Jason Flanders                                                                                     1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian                    Review and revision to interrogatory responses in response to
   6/6/2022 CCKA   Center       Jason Flanders   comments from D. Hunt                                                             1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Preparation for Paulsen deposition
   6/6/2022 CCKA   Center       Jason Flanders                                                                                     0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett and D. Hunt re: Ward subpoena, Dry Weather
   6/6/2022 CCKA   Center       Jason Flanders   inspection, and deposition prep                                                   0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Further compilation of exhibits for Paulsen depo, additional review of
   6/6/2022 CCKA   Center       Jason Flanders   same for deposition questions                                                     0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Review of first draft outline in preparation for 30(b)(6) deposition
   6/6/2022 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: dry weather inspection dispute resolution
   6/6/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Calls with T. Brett and E. Bustos re: deposition exhibits
   6/7/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00              $0.00          $192.00               0.3
                   Murieta
                   Equestrian                    Call with T. Brett re: exhibits for expert and 30(b)(6) depositions.
   6/7/2022 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Call with T. Brett re: deposition prep and document printing.
   6/7/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: printing documents for depo
   6/7/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Retrieving and assembling deposition exhibits from copy company
   6/7/2022 CCKA   Center       Jason Flanders                                                                                     2.0    $640.00           $1,280.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Final updated question outline with exhibits for Paulsen deposition
   6/7/2022 CCKA   Center     Jason Flanders                                                                                          1.8    $640.00           $1,152.00           $0.00                0
                   Murieta
                   Equestrian                    Mock Paulsen and 30(b)(6) deposition with D. Hunt, brief prep for same
   6/7/2022 CCKA   Center     Jason Flanders                                                                                          1.5    $640.00            $960.00            $0.00                0

                   Murieta                       Review of batch of printed potential exhibits / photos for Paulsen
                   Equestrian                    deposition, organized and tabbed these and all exhibits for deposition
   6/7/2022 CCKA   Center     Jason Flanders     binder                                                                               1.2    $640.00            $768.00            $0.00                0

                   Murieta                       Assistance compiling and reviewing exhibits for Paulsen and 30(b)(6)
                   Equestrian                    depositions
   6/7/2022 CCKA   Center       Jason Flanders                                                                                        1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian                    Review of supplemental expert disclosure documents produced by
   6/7/2022 CCKA   Center       Jason Flanders   defendant the day before Paulsen deposition                                          0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with E. Bustos and T. Brett re: exhibit production
   6/7/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00              $0.00          $192.00               0.3
                   Murieta
                   Equestrian                    Calls with T. Brett and E. Bustos re: deposition exhibits, voicemail to J.
   6/7/2022 CCKA   Center       Jason Flanders   Salazar and S. Fried re: same                                                        0.3    $640.00              $0.00          $192.00               0.3
                   Murieta
                   Equestrian                    Instructions to E. Bustos and T. Brett re: deposition exhibits
   6/7/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
   6/8/2022 CCKA   Center       Jason Flanders   Travel to expert and 30(b)(6) depositions (OAK to Second Amended Com                 1.5    $640.00            $480.00          $480.00           0.75
                   Murieta
                   Equestrian                    Deposition of Susan Paulsen
   6/8/2022 CCKA   Center       Jason Flanders                                                                                        7.5    $640.00           $4,800.00           $0.00                0
                   Murieta
                   Equestrian                    Review of outline and exhibits in preparation for 30(b)(6) deposition
   6/8/2022 CCKA   Center       Jason Flanders                                                                                        3.8    $640.00           $2,432.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Paulsen deposition prep
   6/8/2022 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian
   6/9/2022 CCKA   Center       Jason Flanders   Return travel from expert and 30(b)(6) depositions (SAC to OAK)                      1.5    $640.00            $480.00          $480.00           0.75
                   Murieta
                   Equestrian                    Preparation for deposition of Defendant's 30(b)(6) witness re:
   6/9/2022 CCKA   Center       Jason Flanders   stormwater, Jeff Pearson                                                             1.5    $640.00            $960.00            $0.00                0
                   Murieta
                   Equestrian                    Meeting with D. Hunt re: case strategy and analysis immediately
   6/9/2022 CCKA   Center       Jason Flanders   following deposition of defendant 30(b)(6)                                           0.5    $640.00            $320.00            $0.00                0



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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Call with D. Hunt re: creek and facility dry weather inspections,
   6/9/2022 CCKA   Center       Jason Flanders   following depositions                                                              0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Deposition of Defendant's 30(b)(6) witness re: stormwater, Jeff
   6/9/2022 CCKA   Center       Jason Flanders   Pearson                                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Calls with S. Fried re: mediation and further expert discovery
  6/10/2022 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Call with client in follow up to call from opposing counsel re: expert
  6/10/2022 CCKA   Center       Jason Flanders   schedule and mediation                                                             0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: mediation and related issues following depositions
  6/10/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: creek and site dry weather inspections
  6/10/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Follow up email to all counsel re: expert discovery and mediation
  6/10/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Voice mail and email to opposing counsel re: creek and facility
                   Equestrian                    inspections, depositions, missing defendant expert documents, and
  6/10/2022 CCKA   Center     Jason Flanders     plaintiff's expert rebuttal                                                        0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Emails with staff and D. Hunt re: withdrawing inspection motion and
                   Equestrian                    demand
  6/10/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: last week's deposition and objections to
  6/13/2022 CCKA   Center       Jason Flanders   interrogatory responses                                                            0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: rebuttal report
  6/13/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to E. Bustos re: deposition transcripts
  6/13/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to case to-do / deadline tracking sheet
  6/14/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Call with D. Hunt re: opposing counsel request for multiple revisions to
                   Equestrian                    scheduling order, outstanding document needs from Defendant
  6/15/2022 CCKA   Center     Jason Flanders                                                                                        1.1    $640.00           $704.00           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                       Review and planning of existing case schedule and needs, review of
                   Equestrian                    email from S. Fried and notes from D. Hunt re: same, call with M.
  6/15/2022 CCKA   Center       Jason Flanders   Maclear re: same                                                                     0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Preliminary review of revised Paulsen expert report, emails with
  6/15/2022 CCKA   Center       Jason Flanders   opposing counsel re: same                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with E. Bustos re: deposition transcripts
  6/15/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel proposing scheduling revisions,
  6/16/2022 CCKA   Center       Jason Flanders   correspondence with I. Wren re: same                                                 0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to all counsel re: proposed expert and remaining Phase I
  6/20/2022 CCKA   Center       Jason Flanders   schedule                                                                             0.4    $640.00           $256.00           $0.00               0

                   Murieta                       Review of expert scheduling issues, review of Federal Rule of Civil
                   Equestrian                    Procedure 26 re: defendant's proposed sur rebuttal, email to D. Hunt
  6/20/2022 CCKA   Center     Jason Flanders     re: same                                                                             0.4    $640.00           $256.00           $0.00               0

                   Murieta                       Email from S. Fried re: scheduling expert rebuttals and depositions,
                   Equestrian                    Motion for Summary Judgment and mediation, email to D. Hunt re:
  6/20/2022 CCKA   Center     Jason Flanders     same                                                                                 0.2    $640.00           $128.00           $0.00               0

                                                 Research re: admissibility of defendant's proposed sur rebuttal expert
                                                 report and deposition, review of proposed revised schedule from
                   Murieta                       opposing counsel re: same, correspondence with client re: same, draft
                   Equestrian                    proposal for opposing counsel
  6/21/2022 CCKA   Center       Jason Flanders                                                                                        1.2    $640.00           $768.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: SUF, Rancho Murieta Community Services District
  6/21/2022 CCKA   Center       Jason Flanders   deposition,                                                                          1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Review edit and comment on draft SUF
  6/21/2022 CCKA   Center       Jason Flanders                                                                                        0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Review of comparison document showing changes from original
  6/21/2022 CCKA   Center       Jason Flanders   Paulsen report to revised Paulsen report                                             0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email from S. Fried re: revised scheduling order
  6/21/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Preliminary review of Paulsen deposition transcript, call with D. Hunt re:
  6/22/2022 CCKA   Center       Jason Flanders   same                                                                                 0.8    $640.00           $512.00           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with I. Wren re: expert rebuttal and deposition
  6/22/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: missing documents needed for
  6/22/2022 CCKA   Center       Jason Flanders   production                                                                           0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: modifications to scheduling order
  6/22/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of documents for I. Wren rebuttal, work with E. Bustos in
  6/27/2022 CCKA   Center       Jason Flanders   compiling same                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: revised scheduling order
  6/27/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: rebuttal report
  6/28/2022 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with opposing counsel and Deputy clerk re:
  6/28/2022 CCKA   Center       Jason Flanders   scheduling mediation for August                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review of attorneys' fees incurred in consideration of potential
  6/28/2022 CCKA   Center       Jason Flanders   settlement                                                                           0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: prior drafts of revised schedule for stipulation to
  6/28/2022 CCKA   Center       Jason Flanders   amend scheduling order                                                               0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: missing document production
  6/28/2022 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0

                                                 Call with D. Hunt (and for part A. Ramos) re: Rancho Murieta
                   Murieta                       Community Services District deposition, Rancho Murieta Community
                   Equestrian                    Services District documents, Wren rebuttal, related considerations
  6/29/2022 CCKA   Center       Jason Flanders                                                                                        0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Draft stipulation to revise scheduling order, email to all counsel re:
  6/29/2022 CCKA   Center       Jason Flanders   same                                                                                 0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Teams meeting with I. Wren and D. Hunt re: rebuttal report
  6/30/2022 CCKA   Center       Jason Flanders                                                                                        1.4    $640.00           $896.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: service of subpoena for Rancho Murieta
  6/30/2022 CCKA   Center       Jason Flanders   Community Services District                                                          0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Review edit and comment upon draft Wren rebuttal report
  6/30/2022 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0



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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                       Review of draft Rancho Murieta Community Services District deposition
                   Equestrian                    notice, emails with client re: same, call with M. Maclear re: same,
  6/30/2022 CCKA   Center     Jason Flanders     instructions to E. Bustos re: same                                                 0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
  3/19/2022 CCKA   Center     Jason Flanders                                                                                        2.4    $640.00           $1,536.00           $0.00               0
                   Murieta
                   Equestrian                    Review of photos from deposition transcript exhibits to provide to I,.
   7/4/2022 CCKA   Center     Jason Flanders     Wren for rebuttal report                                                           0.4    $640.00            $256.00            $0.00               0

                   Murieta                       Review of defendant Requests for Production responses, email
                   Equestrian                    instructions to T. Brett re: same
   7/4/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: meet and confer letter in response to defs'
   7/5/2022 CCKA   Center       Jason Flanders   objections to requests for production set 4 and 5                                  0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Rancho Murieta Community Services District
   7/5/2022 CCKA   Center       Jason Flanders   depo, Wren rebuttal                                                                0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Review of defendant revisions to scheduling stip and order, emails with
   7/5/2022 CCKA   Center       Jason Flanders   counsel re: same                                                                   0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: rebuttal report
   7/5/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt and I. Wren re: expert report files
   7/5/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with J. Salazar re: mediation
   7/5/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: rebuttal report
   7/5/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Email from clerk re: settlement conference, review of revisions to
                   Equestrian                    scheduling stip and order from opposing counsel, further revisions to
   7/6/2022 CCKA   Center     Jason Flanders     same, email to opposing counsel re: same                                           0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian
  3/20/2022 CCKA   Center     Jason Flanders                                                                                        1.4    $640.00            $896.00            $0.00               0
                   Murieta
                   Equestrian                    Call with client re: mediation
   7/6/2022 CCKA   Center     Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Calls and emails with opposing counsel and court clerk re: CMC
   7/6/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Correspondence with counsel re: Requests for Production meet and
  7/11/2022 CCKA   Center       Jason Flanders   confer                                                                             0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft Rancho Murieta Community Services District deposition outline,
  7/12/2022 CCKA   Center       Jason Flanders   email to D. Hunt re: same                                                          0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett Requests for Production meet and confer
  7/12/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Review and compilation of exhibits for Rancho Murieta Community
  7/13/2022 CCKA   Center       Jason Flanders   Services District deposition                                                       0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: requests for productions,
  7/13/2022 CCKA   Center       Jason Flanders   brief follow up with T. Brett re: same                                             0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Review of CIA ditch documents in prep for Rancho Murieta Community
  7/13/2022 CCKA   Center       Jason Flanders   Services District depo                                                             0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Further review and preparation of deposition exhibits, email to D. Hunt
  7/13/2022 CCKA   Center       Jason Flanders   and E. Bustos re: finalizing and serving same for Zoom depo                        0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Email to deputy clerk Buzo re: stip and order to modify scheduling order
  7/13/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Email to deputy Waldrop re: mediation in person
  7/13/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Rancho Murieta Community Services District
  7/14/2022 CCKA   Center       Jason Flanders   deposition prep                                                                    1.7    $640.00           $1,088.00           $0.00                0
                   Murieta
                   Equestrian                    Preparation of questions for Rancho Murieta Community Services
  7/14/2022 CCKA   Center       Jason Flanders   District deposition                                                                1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Wren depo
  7/14/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Review of supplemental documents produced by Rancho Murieta
  7/14/2022 CCKA   Center       Jason Flanders   Community Services District for depo                                               0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with E. Bustos re: finalizing deposition exhibits for reporter and
  7/14/2022 CCKA   Center       Jason Flanders   deponent in Zoom depo                                                              0.2    $640.00             $64.00           $64.00               0.1




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: Rancho Murieta Community Services
  7/14/2022 CCKA   Center       Jason Flanders   District depo                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Deposition of Rancho Murieta Community Services District, brief follow
  7/15/2022 CCKA   Center       Jason Flanders   up call with D. Hunt                                                               2.3    $640.00           $1,472.00           $0.00                0
                   Murieta
                   Equestrian                    Preparation for Rancho Murieta Community Services District deposition
  7/15/2022 CCKA   Center       Jason Flanders                                                                                      1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian                    Review of amended deposition notice of I. Wren, correspondence with
  7/15/2022 CCKA   Center       Jason Flanders   D. Hunt re: same                                                                   0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Emails from opposing counsel and with D. Hunt re: Defendant's
  7/15/2022 CCKA   Center       Jason Flanders   discovery follow up responses                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Teleconference with E. Bustos re: Wren deposition transcripts.
  7/15/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Review of I Wren emails for production, email to E. Bustos re: same
  7/17/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta                       Meeting with C Capps and D Hunt re: document review for mediation
                   Equestrian
  7/18/2022 CCKA   Center       Jason Flanders                                                                                      1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett in prep for call re: mediation statement.
  7/18/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Defense of deposition of I. Wren
  7/18/2022 CCKA   Center       Jason Flanders                                                                                      3.0    $640.00           $1,920.00           $0.00                0
                   Murieta
                   Equestrian                    Call with co-counsel re: plan for and delegation of responsibilities for
  7/18/2022 CCKA   Center       Jason Flanders   coding facts for SUF re: Motion for Summary Judgment                               0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Wren deposition and mediation scheduling
  7/18/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Discussion with opposing counsel re: court response to proposed
  7/18/2022 CCKA   Center       Jason Flanders   mediation                                                                          0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren following deposition
  7/18/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: schedule and mediation
  7/19/2022 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00            $128.00          $128.00               0.2




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Email to all counsel re: scheduling stipulation and mediation
  7/19/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Teleconference with E. Bustos re: meeting Murieta Equestrian Center
  7/19/2022 CCKA   Center       Jason Flanders   production on Everlaw.                                                             0.2    $640.00           $128.00           $0.00               0
                   Murieta                       call with D Hunt re: settlement strategy
                   Equestrian
  7/20/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta                       Call with D Hunt and C Capps re: document review for mediation
                   Equestrian
  7/20/2022 CCKA   Center       Jason Flanders                                                                                      1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Draft settlement position evaluation for client
  7/20/2022 CCKA   Center       Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00               0

                                                 Team meeting accounting for all evidence produced for preparation of
                   Murieta                       Motion for Summary Judgment, organization of evidence on shared
                   Equestrian                    servers with co-counsel
  7/20/2022 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Teams meeting with S. Bothwell and D. Hunt re: settlement
  7/21/2022 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Call with client re: settlement
  7/21/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Draft proposed Motion for Summary Judgment schedule for stipulation,
  7/25/2022 CCKA   Center       Jason Flanders   emails with all counsel re: same                                                   0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Cross-referenced exhibits used for deposition for court reporter to mark
  7/26/2022 CCKA   Center       Jason Flanders   for transcript                                                                     0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Revised stipulated scheduling order, emails with all counsel re: same
  7/26/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with C. Hudak re: organizing documents for Motion for Summary
  7/27/2022 CCKA   Center       Jason Flanders   Judgment                                                                           0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Email from counsel re: changes to scheduling stipulation, revisions to
  7/28/2022 CCKA   Center       Jason Flanders   same, emails with all counsel and court clerk re: same                             0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Bustos re: stipulation
  7/28/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0




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Date      Client   Matter     Staff            Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Call with D. Hunt re: marshalling and organizing evidence for Motion for
                   Equestrian                  Summary Judgment opening brief and settlement statement;
   8/2/2022 CCKA   Center     Jason Flanders   settlement evaluation                                                              0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Brett re: prep of SUF
  8/10/2022 CCKA   Center     Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                  Zoom with D. Hunt and C. Capps re: discovery document organization
  8/10/2022 CCKA   Center     Jason Flanders   and management for Motion for Summary Judgment                                     1.3    $640.00           $832.00           $0.00                0

                   Murieta                     Call with C. Hudak re: spreadsheet of documents in file to date in
                   Equestrian                  support of Motion for Summary Judgment; update same
  8/10/2022 CCKA   Center     Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                  Video conference with D. Hunt and C. Capps re: organizing and citing
  8/18/2022 CCKA   Center     Jason Flanders   to body of evidence for Motion for Summary Judgment                                1.1    $640.00           $640.00          $64.00               0.1

                   Murieta                     Call with C. Hudak re: document/discovery response/expert files on
                   Equestrian                  share and Everlaw to manage for Motion for Summary Judgment
  8/23/2022 CCKA   Center     Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                  MS Teams meeting with D. Hunt and C. Capps re: organizing discovery
  8/25/2022 CCKA   Center     Jason Flanders   evidence for Motion for Summary Judgment                                           1.3    $640.00           $832.00           $0.00                0
                   Murieta
                   Equestrian                  Video conference with D. Hunt and C. Capps re: coding of evidence for
  8/26/2022 CCKA   Center     Jason Flanders   Motion for Summary Judgment                                                        1.7    $640.00           $640.00         $448.00               0.7

                                               Review and revisions to tree of discovery document review tags
                   Murieta                     needed for mediation brief and Motion for Summary Judgment, email of
                   Equestrian                  proposed assignments and work plans to D. Hunt and C. Capps for
  8/29/2022 CCKA   Center     Jason Flanders   review                                                                             1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                  Multiple correspondence with co-counsel re: document review for
  8/30/2022 CCKA   Center     Jason Flanders   Motion for Summary Judgment                                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Brett re: document review in prep for SUF
  8/31/2022 CCKA   Center     Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0

                   Murieta                     Video conference with co-counsel for assignments and process to code
                   Equestrian                  evidence for mediation brief and Motion for Summary Judgment
  8/31/2022 CCKA   Center     Jason Flanders                                                                                      1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                  Correspondence with T. Trillo and California Coastkeeper Alliance
  8/31/2022 CCKA   Center     Jason Flanders   counsel re: Wren files for tagging                                                 0.2    $640.00           $128.00           $0.00                0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Telephone call with T. Trillo re: file locations of document productions
  8/31/2022 CCKA   Center       Jason Flanders   for all three Ian Wren reports.                                                     0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Telephone call with T. Trillo re: previous service of Ian Wren
  8/31/2022 CCKA   Center       Jason Flanders   supplemental production.                                                            0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: Murieta Equestrian Center SUF / mediation brief
   9/8/2022 CCKA   Center       Jason Flanders   prep                                                                                0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: document review for mediation brief
   9/8/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Begin coding of Paulsen expert files in Everlaw for mediation and
   9/8/2022 CCKA   Center       Jason Flanders   Motion for Summary Judgment                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: document review for mediation brief
   9/8/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review and coding of Paulsen exhibit
   9/9/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: SUF and settlement statement prep
  9/13/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Video conference with D. Hunt re: mediation statement and Motion for
  9/13/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                    1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Brief review of Wren rebuttal deposition transcript, emails with E.
  9/13/2022 CCKA   Center       Jason Flanders   Bustos re: review and edits to same                                                 0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft mediation statement
  9/16/2022 CCKA   Center       Jason Flanders                                                                                       1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian                    Draft mediation statement
  9/17/2022 CCKA   Center       Jason Flanders                                                                                       0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Review of Paulsen report for draft mediation statement, email to D.
  9/18/2022 CCKA   Center       Jason Flanders   Hunt re: same                                                                       1.8    $640.00           $1,152.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation brief revisions.
  9/19/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation brief
  9/19/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Edits to draft mediation brief
  9/19/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Video conference with D. Hunt re: mediation
  9/20/2022 CCKA   Center       Jason Flanders                                                                                      1.2    $640.00            $768.00            $0.00               0
                   Murieta
                   Equestrian                    Review of draft Consent Decree from D. Hunt
  9/20/2022 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Draft mediation brief
  9/21/2022 CCKA   Center       Jason Flanders                                                                                      0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: wren declaration.
  9/22/2022 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Draft mediation brief
  9/22/2022 CCKA   Center       Jason Flanders                                                                                      1.7    $640.00           $1,088.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: mediation brief
  9/22/2022 CCKA   Center       Jason Flanders                                                                                      0.6    $640.00            $384.00            $0.00               0
                   Murieta
                   Equestrian                    Review of timeslips and market rates for settlement conference
  9/22/2022 CCKA   Center       Jason Flanders   statement                                                                          0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Draft mediation brief
  9/22/2022 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Draft mediation brief
  9/23/2022 CCKA   Center       Jason Flanders                                                                                      2.8    $640.00           $1,792.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment prep
  9/27/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation / settlement conference.
  9/30/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Prep for mediation, attendance at same, follow up call with D. Hunt re:
  9/30/2022 CCKA   Center       Jason Flanders   same                                                                               4.3    $640.00           $2,752.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to proposed Motion for Summary Judgment schedule
  10/7/2022 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: stipulation to continue Motion for
  10/7/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                   0.1    $640.00             $64.00            $0.00               0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                       Email from opposing counsel re: settlement conference, draft email
                   Equestrian                    response re: same (.2); call with D. Hunt re: same, revised and sent
 10/17/2022 CCKA   Center       Jason Flanders   email response re: same (.2)                                                        0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Zoom with Mag. Barnes re: settlement (.3); follow up call with D. Hunt
 10/18/2022 CCKA   Center       Jason Flanders   re: same (.3)                                                                       0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: document backup.
 10/18/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: opposition to stay waters of the United States
 10/19/2022 CCKA   Center       Jason Flanders   briefing                                                                            0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: settlement
 10/19/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: opposition to motion to stay waters of the
 10/19/2022 CCKA   Center       Jason Flanders   United States claims                                                                0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft outline opposition to stay briefing related to waters of the United
 10/20/2022 CCKA   Center       Jason Flanders   States                                                                              0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: opp to stay motion
 10/20/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $64.00         $128.00               0.2
                   Murieta
                   Equestrian                    Call with T. Brett re: settlement status and time line for Motion for
 10/21/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                    0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Defendant's motion to stay waters of the United
 10/24/2022 CCKA   Center       Jason Flanders   States issues, emails with opposing counsel re: same                                0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Email from S. Fried, and email to D. Hunt, re: Defendant's proposed
 10/24/2022 CCKA   Center       Jason Flanders   motion to stay waters of the United States briefing                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions and comment on draft opposition to waters of the United
 10/25/2022 CCKA   Center       Jason Flanders   States stay                                                                         1.2    $640.00           $768.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment
 10/26/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Review of Baykeeper v. Sunnyvale ruling re: waters of the United
                   Equestrian                    States for opposition to Murieta Equestrian Center motion to stay
 10/26/2022 CCKA   Center     Jason Flanders     waters of the United States briefing, email to C. Capps re: same                    0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel and Mag. Newman re: settlement
 10/31/2022 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0



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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                    Call with D. Hunt re: Murieta Equestrian Center settlement process,
  11/1/2022 CCKA   Center     Jason Flanders     email to J. Newman and all counsel re: same                                     0.5    $640.00           $320.00           $0.00               0

                   Murieta                       Outline of all needed actions to complete Motion for Summary
                   Equestrian                    Judgment, with draft timeline and assignments for team, email to D.
  11/1/2022 CCKA   Center       Jason Flanders   Hunt re: same                                                                   0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edits to draft SUF re: Motion for Summary Judgment
  11/1/2022 CCKA   Center       Jason Flanders                                                                                   0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review of draft opposition to stay motion, email to C. Capps re: same
  11/1/2022 CCKA   Center       Jason Flanders                                                                                   0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of draft Bothwell declaration re: Motion for Summary Judgment
  11/1/2022 CCKA   Center       Jason Flanders                                                                                   0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Emails from clerk and to D. Hunt re: settlement
  11/1/2022 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                                                 Zoom with Mag. Newman and counsel
                   Equestrian
  11/2/2022 CCKA   Center       Jason Flanders                                                                                   0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Review and comment on draft Bothwell declaration
  11/2/2022 CCKA   Center       Jason Flanders                                                                                   0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt in preparation for mediation Zoom with Magistrate
  11/2/2022 CCKA   Center       Jason Flanders   Newman                                                                          0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Maharg re: status of standing declaration and Motion for
  11/2/2022 CCKA   Center       Jason Flanders   Summary Judgment briefing.                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    MSJ planning overview and review of evidence on Everlaw with D.
  11/3/2022 CCKA   Center       Jason Flanders   Hunt                                                                            1.3    $640.00           $832.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edit to draft statement of undisputed facts
  11/3/2022 CCKA   Center       Jason Flanders                                                                                   0.8    $640.00           $512.00           $0.00               0

                   Murieta                       Call with C. Hudak re: document management; call Everlaw re: same
                   Equestrian
  11/3/2022 CCKA   Center     Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: organizing evidence for Motion for Summary
  11/4/2022 CCKA   Center     Jason Flanders     Judgment                                                                        0.3    $640.00           $192.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Call from S. Fried re: Murieta Equestrian Center motion for stay on
  11/9/2022 CCKA   Center     Jason Flanders     waters of the United States, email to D. Hunt and T. Brett re: same                 0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email from opposing counsel re: Murieta Equestrian Center motion to
 11/10/2022 CCKA   Center     Jason Flanders     expedite briefing schedule, call with D. Hunt and T. Brett re: same (.1);           0.6    $640.00           $384.00           $0.00               0

                   Murieta                       Call with T. Brett re: opposition to Murieta Equestrian Center's motions
                   Equestrian                    to shorten time and stay waters of the United States briefing
 11/14/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edits to opposition to ex parte motion to shorten time
 11/15/2022 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to opposition to ex parte motion for order shortening time
 11/16/2022 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment outline of arguments
 11/16/2022 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: opposition to motion to defer
 11/16/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: opp to mtn to stay, and document review in prep
 11/18/2022 CCKA   Center       Jason Flanders   for SUF                                                                             0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to opposition to motion to stay waters of the United States
 11/18/2022 CCKA   Center       Jason Flanders   briefing                                                                            1.5    $640.00           $960.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to opposition to defer waters of the United States briefing,
 11/18/2022 CCKA   Center       Jason Flanders   call with T. Brett re: same                                                         0.4    $640.00           $256.00           $0.00               0

                   Murieta                       Review of Murieta Equestrian Center interrogatory set one responses,
                   Equestrian                    and Paulsen deposition transcript, for Motion for Summary Judgment
 11/20/2022 CCKA   Center       Jason Flanders   evidence                                                                            1.1    $640.00           $704.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to opp to motion to stay / defer.
 11/21/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: opp to mtn to stay / defer.
 11/21/2022 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: document review in prep for Motion for Summary
 11/21/2022 CCKA   Center       Jason Flanders   Judgment / SUF                                                                      0.1    $640.00            $64.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                                   Hours         Rate       Total               Billing         Billing
                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment outline
 11/21/2022 CCKA   Center       Jason Flanders                                                                                         3.1    $640.00           $1,984.00           $0.00                0
                   Murieta
                   Equestrian                    Highlighted Paulsen deposition transcript testimony for Motion for
 11/21/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                      0.9    $640.00            $576.00            $0.00                0
                   Murieta
                   Equestrian                    Tagging Paulsen deposition exhibits for Motion for Summary Judgment
 11/21/2022 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: waters of the United States strategy
 11/21/2022 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to and time line for completing opp to mtn
 11/22/2022 CCKA   Center       Jason Flanders   to stay.                                                                              0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: filing opp to mtn to stay.
 11/22/2022 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Review and edits to draft opposition to motion to stay or defer waters of
                   Equestrian                    the United States briefing
 11/23/2022 CCKA   Center       Jason Flanders                                                                                         1.7    $640.00           $1,088.00           $0.00                0
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Jason Flanders                                                                                         1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian                    Draft outline of legal framework of Motion for Summary Judgment, brief
 11/29/2022 CCKA   Center       Jason Flanders   research re: same                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Teams meeting with D. Hunt re: Motion for Summary Judgment
 11/30/2022 CCKA   Center       Jason Flanders   exhibits                                                                              1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Tagged Fritschi deposition exhibits for Motion for Summary Judgment
 11/30/2022 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review of draft Motion for Summary Judgment exhibits on Everlaw in
 11/30/2022 CCKA   Center       Jason Flanders   prep for Teams meeting with D. Hunt re: same                                          0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment outline re: standing and Motion for
 11/30/2022 CCKA   Center       Jason Flanders   Summary Judgment standards                                                            0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Edits to Motion for Summary Judgment legal authorities outline
 11/30/2022 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00             $64.00            $0.00                0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta                       meet with D Hunt re: SUF and factual support
                   Equestrian
  12/1/2022 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren dec and SUF in support of Motion for
  12/1/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren dec in support of Motion for Summary
  12/2/2022 CCKA   Center       Jason Flanders   Judgment                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Wren report reference materials for Motion for Summary
  12/5/2022 CCKA   Center       Jason Flanders   Judgment exhibits                                                                 1.2    $640.00           $768.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: SUF
  12/5/2022 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00           $320.00           $0.00                0

                   Murieta                       Instructions to C. Hudak re: authenticating drone footage and lab
                   Equestrian                    reports, excerpting depositions, and indexing exhibits for Motion for
  12/5/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Brief review of case law re: authentication requirements for Motion for
  12/5/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with T. Brett, C. Hudak, D. Hunt re: exhibits for Motion
  12/5/2022 CCKA   Center       Jason Flanders   for Summary Judgment                                                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Maharg re: waters of the United States on Motion for
  12/6/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.5    $640.00           $192.00         $128.00               0.2
                   Murieta
                   Equestrian                    Call with C. Hudak and T. Brett re: Motion for Summary Judgment
  12/6/2022 CCKA   Center       Jason Flanders   photo exhibits and rain data                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Review of SUF and evidence in support
  12/6/2022 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment re: number of horses confined at
  12/7/2022 CCKA   Center       Jason Flanders   the facility, and lack of crops or forage growth                                  0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Motion for Summary Judgment exhibits
  12/7/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Rough draft Motion for Summary Judgment re: discharge of pollutants
  12/7/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Wren supplemental and rebuttal reports for potential Motion
  12/7/2022 CCKA   Center       Jason Flanders   for Summary Judgment exhibits                                                     0.2    $640.00           $128.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Rough draft MPA in support of Motion for Summary Judgment
  12/7/2022 CCKA   Center     Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of draft Burchiel declaration, email to I. Wren re: same
  12/7/2022 CCKA   Center     Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Teams meeting with D. Hunt and T. Brett re: Wren declaration Motion
                   Equestrian                    for Summary Judgment exhibits (.9); follow up instructions to C. Hudak
  12/8/2022 CCKA   Center       Jason Flanders   re: same (.1)                                                                     1.0    $640.00            $640.00            $0.00               0
                   Murieta
                   Equestrian                    Rough draft Motion for Summary Judgment re: point source discharge
  12/8/2022 CCKA   Center       Jason Flanders   and functional equivalent                                                         0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Review of proposed order re: Def motion to defer waters of the United
  12/8/2022 CCKA   Center       Jason Flanders   States briefing, emails with D. Hunt re: same                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: SUF and Motion for Summary Judgment
  12/9/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: county of Maui decision LR and authentication of
  12/9/2022 CCKA   Center       Jason Flanders   exhibits to wren decl.                                                            0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment re: functional equivalent and
  12/9/2022 CCKA   Center       Jason Flanders   waters of the United States                                                       2.5    $640.00           $1,600.00           $0.00               0
                   Murieta
                   Equestrian                    Communications with C. Burchiel re: authenticating drone footage
  12/9/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment re: waters of the United States
 12/10/2022 CCKA   Center       Jason Flanders                                                                                     2.8    $640.00           $1,792.00           $0.00               0

                   Murieta                       Draft Motion for Summary Judgment re: waters of the United States
                   Equestrian
 12/11/2022 CCKA   Center       Jason Flanders                                                                                     1.6    $640.00           $1,024.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: SUF / Motion for Summary Judgment Revisions.
 12/12/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to Motion for Summary Judgment re: D. Hunt comments
 12/12/2022 CCKA   Center       Jason Flanders                                                                                     2.7    $640.00           $1,728.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment
 12/12/2022 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment re: waters of the United States
 12/12/2022 CCKA   Center       Jason Flanders                                                                                     0.4    $640.00            $256.00            $0.00               0



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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Emails with client, co-counsel, and opposing counsel re: Consent
 12/12/2022 CCKA   Center       Jason Flanders   Decree signatures                                                                 0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment re: waters of the United States
 12/13/2022 CCKA   Center       Jason Flanders                                                                                     1.5    $640.00            $960.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment exhibits
 12/13/2022 CCKA   Center       Jason Flanders                                                                                     0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: Motion for Summary Judgment declaration
 12/13/2022 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Call with E. Bustos re: Motion for Summary Judgment work
 12/13/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Email instructions to team for all Motion for Summary Judgment needs
 12/13/2022 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment work
 12/13/2022 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Review Frischi deposition transcript
 12/13/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of emails from and among team re: compiling Motion for
 12/13/2022 CCKA   Center       Jason Flanders   Summary Judgment exhibits                                                         0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Communication with C. Hudak re: Motion for Summary Judgment
 12/13/2022 CCKA   Center       Jason Flanders   exhibits                                                                          0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Revisions to Motion for Summary Judgment re: waters of the United
                   Equestrian                    States
 12/14/2022 CCKA   Center       Jason Flanders                                                                                     1.7    $640.00           $1,088.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: potential exhibits and evidence re: days of
 12/14/2022 CCKA   Center       Jason Flanders   violations                                                                        0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment facts, SUF
 12/14/2022 CCKA   Center       Jason Flanders                                                                                     0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment re: significant nexus, standing
 12/14/2022 CCKA   Center       Jason Flanders                                                                                     0.6    $640.00            $384.00            $0.00               0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                                                 Consecutive calls with C. Hudak (.1), D. Hunt (.1), E. Bustos (.3), and
                   Murieta                       follow up correspondence to all, re: working on Motion for Summary
                   Equestrian                    Judgment exhibits, and documenting rain in Unnamed Stream
 12/14/2022 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Email of next steps and project assignments to team
 12/14/2022 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren Dec in support of Motion for Summary
 12/14/2022 CCKA   Center       Jason Flanders   Judgment                                                                          0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Denoted authentication for draft exhibits
 12/14/2022 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Email to team re: exhibit numbering and processing
 12/14/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment
 12/15/2022 CCKA   Center       Jason Flanders                                                                                     7.3    $640.00           $4,672.00           $0.00               0

                   Murieta                       Review and edits to MPA and SUF in support of Motion for Summary
                   Equestrian                    Judgment, calls with team for instructions re: compiling evidence for
 12/15/2022 CCKA   Center       Jason Flanders   same                                                                              4.0    $640.00           $2,560.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to MPA in support of Motion for Summary Judgment
 12/15/2022 CCKA   Center       Jason Flanders                                                                                     1.5    $640.00            $960.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to SUF
 12/15/2022 CCKA   Center       Jason Flanders                                                                                     1.3    $640.00            $832.00            $0.00               0
                   Murieta
                   Equestrian                    Final revisions to MPA in support of Motion for Summary Judgment
 12/15/2022 CCKA   Center       Jason Flanders                                                                                     1.0    $640.00            $640.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to SUF
 12/15/2022 CCKA   Center       Jason Flanders                                                                                     0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Final review edits and approval to filing MPA and SUF
 12/15/2022 CCKA   Center       Jason Flanders                                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Review and edits to Flanders declaration in support of Motion for
 12/15/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: team assignments and next steps for Motion for
 12/15/2022 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.2    $640.00            $128.00            $0.00               0




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Date      Client   Matter       Staff            Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for completing SUF .
 12/16/2022 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
  3/22/2022 CCKA   Center       Jason Flanders                                                                                     3.3    $640.00           $2,112.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Trillo re: formatting and marking cites on Motion for
 12/16/2022 CCKA   Center       Jason Flanders   Summary Judgment brief.                                                           0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: drafting opp to Def's Motion for Summary
   1/9/2023 CCKA   Center       Jason Flanders   Judgment                                                                          0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review of Defendant's Motion for Summary Judgment, call with T. Brett
   1/9/2023 CCKA   Center       Jason Flanders   re: same                                                                          0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Call with Tom Brett re: Motion for Summary Judgment opp
  1/10/2023 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00             $64.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for drafting opp to Def's Motion for
  1/11/2023 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Review and comment on Defendant's Motion for Summary Judgment
  1/11/2023 CCKA   Center       Jason Flanders                                                                                     0.9    $640.00            $576.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: opp to Defendant's Motion for Summary Judgment
  1/11/2023 CCKA   Center       Jason Flanders                                                                                     0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Draft opposition to Murieta Equestrian Center Motion for Summary
  1/14/2023 CCKA   Center       Jason Flanders   Judgment                                                                          0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Draft opposition to Murieta Equestrian Center Motion for Summary
  1/16/2023 CCKA   Center       Jason Flanders   Judgment                                                                          2.1    $640.00           $1,344.00           $0.00                0
                   Murieta
                   Equestrian                    Review and proposed responses to Murieta Equestrian Center SUF in
  1/16/2023 CCKA   Center       Jason Flanders   support of Motion for Summary Judgment                                            0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Email to team for final tasks to complete opposition to Murieta
  1/16/2023 CCKA   Center       Jason Flanders   Equestrian Center Motion for Summary Judgment                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to opp to def's Motion for Summary
  1/17/2023 CCKA   Center       Jason Flanders   Judgment                                                                          0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment opposition and response to Def
  1/17/2023 CCKA   Center       Jason Flanders   Motion for Summary Judgment SUF                                                   3.7    $640.00           $2,368.00           $0.00                0




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                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                    Emails with co-counsel re: Motion for Summary Judgment opp
  1/17/2023 CCKA   Center     Jason Flanders                                                                                           0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment opp
  1/17/2023 CCKA   Center     Jason Flanders                                                                                           0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Call with T. Brett re: revisions to opp to def's Motion for Summary
                   Equestrian                    Judgment
  1/18/2023 CCKA   Center     Jason Flanders                                                                                           0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center     Jason Flanders                                                                                           0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Final review and edits to opposition to Def Motion for Summary
                   Equestrian                    Judgment, Bothwell dec re: same, SUF response for same,
  1/18/2023 CCKA   Center       Jason Flanders   coordination with D. Hunt T. Brett and E. Bustos re: same                             3.8    $640.00           $2,432.00           $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to SUF response
  1/18/2023 CCKA   Center       Jason Flanders                                                                                         0.6    $640.00            $384.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to Motion for Summary Judgment opp
  1/18/2023 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for drafting reply to def's opp to Motion
  1/20/2023 CCKA   Center       Jason Flanders   for Summary Judgment                                                                  0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of Defendant Motion for Summary Judgment opposition papers,
  1/20/2023 CCKA   Center       Jason Flanders   including SUF and Paulsen dec                                                         0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment reply
  1/20/2023 CCKA   Center       Jason Flanders                                                                                         0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Draft response to Def response to Pl SUF
  1/20/2023 CCKA   Center       Jason Flanders                                                                                         0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Review of Murieta Equestrian Center Motion for Summary Judgment
  1/20/2023 CCKA   Center       Jason Flanders   opp                                                                                   0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Draft responses to Def response to Pl SUF, instructions to E. Bustos
  1/22/2023 CCKA   Center       Jason Flanders   re: same                                                                              0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Review of Paulsen dec in support of Murieta Equestrian Center opp to
  1/22/2023 CCKA   Center       Jason Flanders   Motion for Summary Judgment                                                           0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: reply to Motion for Summary Judgment arguments
  1/24/2023 CCKA   Center       Jason Flanders   re: standing                                                                          0.3    $640.00            $192.00            $0.00               0



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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply re: scope of Phase I
  1/27/2023 CCKA   Center     Jason Flanders                                                                                       1.1    $640.00            $704.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: formatting and revisions to reply in support of
  1/30/2023 CCKA   Center     Jason Flanders     Motion for Summary Judgment                                                       0.1    $640.00             $64.00            $0.00               0

                                                 Preliminary review of Murieta Equestrian Center evidentiary objections
                   Murieta                       to Motion for Summary Judgment, brief research re: same
                   Equestrian
  1/30/2023 CCKA   Center     Jason Flanders                                                                                       0.5    $640.00            $320.00            $0.00               0

                   Murieta                       Draft Motion for Summary Judgment reply re: undisputed facts, outline
                   Equestrian                    for reply
  1/30/2023 CCKA   Center     Jason Flanders                                                                                       0.4    $640.00            $256.00            $0.00               0

                   Murieta                       Review Murieta Equestrian Center opposition for planning delegation of
                   Equestrian                    issues on reply, research re: Murieta Equestrian Center arguments in
  1/30/2023 CCKA   Center     Jason Flanders     same, including expert report evidence                                            0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Draft response to Def SUF responses
  1/30/2023 CCKA   Center     Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment reply
  1/30/2023 CCKA   Center     Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Draft outline of Motion for Summary Judgment reply with assignments
                   Equestrian                    for staff, calls with D. Hunt and E. Bustos re: same (.2)
  1/31/2023 CCKA   Center       Jason Flanders                                                                                     1.2    $640.00            $768.00            $0.00               0
                   Murieta
                   Equestrian                    Teams meeting with D. Hunt re: reply brief arguments and division of
  1/31/2023 CCKA   Center       Jason Flanders   labor among staff                                                                 0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: SUF reply, Motion for Summary Judgment reply
  1/31/2023 CCKA   Center       Jason Flanders   arguments                                                                         0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Def Motion for Summary Judgment waters of the
  1/31/2023 CCKA   Center       Jason Flanders   United States argument                                                            0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Draft reply summary of arguments and undisputed facts
   2/1/2023 CCKA   Center       Jason Flanders                                                                                     2.6    $640.00           $1,664.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: reply for SUF
   2/1/2023 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: strategy for drafting reply SUF
   2/2/2023 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0



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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: citations to evidence in reply SUF
   2/2/2023 CCKA   Center     Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Draft reply in support of Motion for Summary Judgment re: Wren
                   Equestrian                    testimony, research re: standards for same, email instructions to E.
   2/2/2023 CCKA   Center     Jason Flanders     Bustos re: same                                                                    1.8    $640.00           $1,152.00           $0.00                0

                   Murieta                       Further draft reply re: undisputed facts and summary of claims, email to
                   Equestrian                    D. Hunt re: same
   2/2/2023 CCKA   Center     Jason Flanders                                                                                        0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: reply suf revisions.
   2/3/2023 CCKA   Center     Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply re: waters of the United
   2/6/2023 CCKA   Center     Jason Flanders     States                                                                             2.0    $640.00           $1,280.00           $0.00                0

                   Murieta                       Correspondence with T. Brett and D. Hunt re: coordinating all sections
                   Equestrian                    needed to finalize Motion for Summary Judgment reply
   2/6/2023 CCKA   Center     Jason Flanders                                                                                        0.9    $640.00            $576.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to Motion for Summary Judgment reply re: waters of the
   2/6/2023 CCKA   Center     Jason Flanders     United States                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
   2/6/2023 CCKA   Center     Jason Flanders     Review of recent Clean Water Act case law re: unpermitted discharges               0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Teleconference with E. Bustos re: communicating with Lexis to request
                   Equestrian                    publication of two cases.
   2/6/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: reply SUF
   2/6/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Call with T. Brett re: plan for drafting reply SUF
   2/6/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren testimony at deposition re: Defendant's 1907
   2/7/2023 CCKA   Center       Jason Flanders   map                                                                                0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Integration of D. Hunt waters of the United States arguments into reply
   2/7/2023 CCKA   Center       Jason Flanders   Motion for Summary Judgment                                                        0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: SUF reply re: USGS map
   2/7/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Emails with co-counsel re: work on sections of draft Motion for
   2/7/2023 CCKA   Center       Jason Flanders   Summary Judgment reply                                                             0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Motion for Summary Judgment reply re: waters of the
   2/8/2023 CCKA   Center       Jason Flanders   United States and standing                                                         1.4    $640.00           $896.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Motion for Summary Judgment reply re: agricultural
   2/8/2023 CCKA   Center       Jason Flanders   stormwater exemption                                                               0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to reply SUF
   2/8/2023 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call from T. Brett re: reply to SUF responses
   2/8/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment reply
   2/9/2023 CCKA   Center       Jason Flanders                                                                                      0.6    $640.00           $384.00           $0.00                0

                   Murieta                       Draft reply brief re: Concentrated Animal Feeding Operation point
                   Equestrian                    source and functional equivalent
   2/9/2023 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with California Coastkeeper Alliance intern re: objections to
   2/9/2023 CCKA   Center       Jason Flanders   evidence, brief prep for same                                                      0.4    $640.00           $192.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment reply and
   2/9/2023 CCKA   Center       Jason Flanders   evidentiary objections                                                             0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call and text with T. Brett and C. Hudak re: authenticating Paulsen
   2/9/2023 CCKA   Center       Jason Flanders   photos                                                                             0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: reply SUF
   2/9/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to reply SUF
  2/10/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: authentication of evidence for Motion for Summary
  2/10/2023 CCKA   Center       Jason Flanders   Judgment, brief review of case law re: same                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: evidentiary objection responses
  2/10/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Revisions to Motion for Summary Judgment reply brief for length,
                   Equestrian                    responses to comments from D. Hunt, revisions to informational injury
  2/12/2023 CCKA   Center     Jason Flanders     arguments                                                                          0.8    $640.00           $512.00           $0.00                0



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                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction


                   Murieta                       Call with T. Brett re: next steps for drafting / revising reply SUF and
                   Equestrian                    reply in support of Motion for Summary Judgment
  2/13/2023 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to Reply in support of Motion for
  2/14/2023 CCKA   Center       Jason Flanders   Summary Judgment.                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: lack of discussion on Mr. Wren's sampling
  2/14/2023 CCKA   Center       Jason Flanders   techniques in opposition.                                                             0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to citations in Reply in support of Motion
  2/14/2023 CCKA   Center       Jason Flanders   for Summary Judgment                                                                  0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: citations to reply SUF in reply in support of Motion
  2/14/2023 CCKA   Center       Jason Flanders   for Summary Judgment                                                                  0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Edits to reply Motion for Summary Judgment re: Phase I and standing,
  2/14/2023 CCKA   Center       Jason Flanders   research re: same                                                                     1.8    $640.00           $1,152.00           $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply re: informational injury, edits
  2/14/2023 CCKA   Center       Jason Flanders   to brief for length (.6); call with D. Hunt re: same (.6)                             1.2    $640.00            $768.00            $0.00               0

                   Murieta                       Revisions to reply Motion for Summary Judgment summary of claims
                   Equestrian                    and undisputed facts, legal research for same, including for issues
  2/14/2023 CCKA   Center       Jason Flanders   waived in opposition                                                                  1.1    $640.00            $704.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to Motion for Summary Judgment reply re: waters of the
  2/14/2023 CCKA   Center       Jason Flanders   United States                                                                         0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Revised Motion for Summary Judgment reply re: agricultural exemption
  2/14/2023 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to reply Motion for Summary Judgment re: days of violation
  2/14/2023 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply introduction
  2/14/2023 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00               0

                   Murieta                       Revisions to Motion for Summary Judgment reply for length, brief legal
                   Equestrian                    research re: NPDES delegated authority (2.0); call with D. Hunt re:
  2/15/2023 CCKA   Center     Jason Flanders     same (.7)                                                                             2.7    $640.00           $1,728.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: cites to evidence in Motion for Summary Judgment
  2/15/2023 CCKA   Center     Jason Flanders     reply                                                                                 0.2    $640.00            $128.00            $0.00               0




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                                                                                                                                                                             Judgment Fee    Judgment
                                                                                                                                                                             Reduction       Time
                                                                                                                                                                                             Reduction
                   Murieta
                   Equestrian                    Review and edit Motion for Summary Judgment reply in response to D.
  2/16/2023 CCKA   Center       Jason Flanders   Hunt comments on same                                                                  0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: authenticating declaration exhibits
  2/16/2023 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to Reply SUF
  2/17/2023 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: defendant's reply brief and possible need to file sur
  2/27/2023 CCKA   Center       Jason Flanders   reply.                                                                                 0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Teleconference with M. Maclear re: legal strategy, settlement options,
   5/1/2023 CCKA   Center       Jason Flanders   and staff resources                                                                    0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: filing supplemental authority.
  5/25/2023 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Notice of Supplemental Authority
  5/25/2023 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of SCOTUS Sackett v U.S. Environmental Protection Agency
  5/25/2023 CCKA   Center       Jason Flanders   ruling for consideration re: Motion for Summary Judgment                               1.0    $640.00            $640.00            $0.00               0

                   Murieta                       Draft and revisions to notice of supplemental authority, brief calls and
                   Equestrian                    emails with D. Hunt re: same(.3); filing instructions to E. Bustos re:
  5/25/2023 CCKA   Center       Jason Flanders   same                                                                                   0.6    $640.00            $384.00            $0.00               0
                   Murieta
                   Equestrian                    Review of notice of supplemental authority and request for
  5/26/2023 CCKA   Center       Jason Flanders   supplemental briefing, email to co-counsel re: same                                    0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental Sackett v U.S. Environmental
  5/31/2023 CCKA   Center       Jason Flanders   Protection Agency briefing                                                             0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Draft introduction and outline for supplemental Sackett v U.S.
   6/1/2023 CCKA   Center       Jason Flanders   Environmental Protection Agency brief, email to D. Hunt re: same                       0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental brief re: Sackett v U.S. Environmental Protection
   6/5/2023 CCKA   Center       Jason Flanders   Agency                                                                                 0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental brief re: Sackett v U.S. Environmental Protection
   6/6/2023 CCKA   Center       Jason Flanders   Agency                                                                                 3.4    $640.00           $2,176.00           $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental brief re: Sackett v U.S. Environmental Protection
   6/9/2023 CCKA   Center       Jason Flanders   Agency regarding Cosumnes River                                                        1.9    $640.00           $1,216.00           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Draft supplemental brief re: Sackett v U.S. Environmental Protection
  6/12/2023 CCKA   Center       Jason Flanders   Agency and Unnamed Stream                                                        0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental brief re: Sackett v U.S. Environmental Protection
  6/12/2023 CCKA   Center       Jason Flanders   Agency                                                                           0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: supplemental brief
  6/12/2023 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental brief re: Sackett v U.S. Environmental Protection
  6/13/2023 CCKA   Center       Jason Flanders   Agency                                                                           0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental brief re: Sackett v U.S. Environmental Protection
  6/15/2023 CCKA   Center       Jason Flanders   Agency                                                                           1.0    $640.00            $640.00            $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental Sackett v U.S. Environmental Protection Agency
  6/15/2023 CCKA   Center       Jason Flanders   brief                                                                            0.6    $640.00            $384.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: prep of supplemental brief.
  6/16/2023 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental brief, emailed draft of same to D. Hunt
  6/16/2023 CCKA   Center       Jason Flanders                                                                                    1.9    $640.00           $1,216.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to Sackett v U.S. Environmental Protection Agency
  6/16/2023 CCKA   Center       Jason Flanders   supplemental brief                                                               0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental Sackett v U.S. Environmental
  6/16/2023 CCKA   Center       Jason Flanders   Protection Agency brief                                                          0.5    $640.00            $320.00            $0.00               0

                   Murieta                       Revisions to supplemental Sackett v U.S. Environmental Protection
                   Equestrian                    Agency brief per conversation with D. Hunt, sent to same for review
  6/17/2023 CCKA   Center     Jason Flanders     and edit                                                                         0.6    $640.00            $384.00            $0.00               0

                   Murieta                       Review and comment on D. Hunt edits and comments to supplemental
                   Equestrian                    Sackett v U.S. Environmental Protection Agency brief
  6/21/2023 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of email from D. Hunt re: Murieta Equestrian Center
  6/26/2023 CCKA   Center       Jason Flanders   supplemental brief                                                               0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental Sackett v U.S. Environmental
  6/27/2023 CCKA   Center       Jason Flanders   Protection Agency briefing                                                       0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Review of request for oral argument and LR re: same, analysis of
   7/6/2023 CCKA   Center       Jason Flanders   potential response, email to D. Hunt re: same                                    0.2    $640.00            $128.00            $0.00               0



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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Emails with D. Hunt re: potential response to Murieta Equestrian Center
  7/10/2023 CCKA   Center       Jason Flanders   request for oral argument                                                           0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: voicemail from Mag. Newman
  7/11/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Draft and revision to response to request for oral argument
  7/11/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with S. Fried re: potential mediation, email to D. Hunt summarizing
  7/14/2023 CCKA   Center       Jason Flanders   same                                                                                0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review of standing briefing following call with opposing counsel, further
  7/14/2023 CCKA   Center       Jason Flanders   emails with co-counsel re: same                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Phone messages with S. Fried re: settlement
  7/14/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Call with T. Brett re: order from court granting Motion for Summary
                   Equestrian                    Judgment
  8/16/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of order on summary judgment
  8/16/2023 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: summary judgment order
  8/16/2023 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: scheduling meet and confer
  8/16/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email outline of topics to D. Hunt for consideration and call
  8/17/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: phase II scheduling and strategy
  8/18/2023 CCKA   Center       Jason Flanders                                                                                       1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: settlement
  8/18/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to all counsel re: mediation, emails with D. Hunt re: same
  8/18/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Draft email to opposing counsel re: settlement and phase II schedule
  8/18/2023 CCKA   Center       Jason Flanders   for D. Hunt review                                                                  0.2    $640.00           $128.00           $0.00               0




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                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Email from S. Fried re: settlement, call with D. Hunt re: same, email
  8/21/2023 CCKA   Center       Jason Flanders   response to S. Fried re: same                                                       0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: settlement
  8/24/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of email from opposing counsel
  8/24/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Phase II schedule
  8/25/2023 CCKA   Center       Jason Flanders                                                                                       0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: Phase II schedule
  8/25/2023 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Phase II schedule
  8/25/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Emails from opposing counsel and co-counsel re: Phase II schedule
  8/25/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft status statement, (1.4); call with D. Hunt re: same (.8)
  8/28/2023 CCKA   Center       Jason Flanders                                                                                       2.2    $640.00           $1,408.00           $0.00               0
                   Murieta
                   Equestrian                    Review of upcoming events compared to historical turnout
  8/28/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with opposing counsel and D. Hunt re: Phase II scheduling
  8/28/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Review of event horse counts, email to D. Hunt re: same
  8/28/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Revised joint statement (.2); call with D. Hunt re: same(.6)
  8/29/2023 CCKA   Center       Jason Flanders                                                                                       0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Phase II schedule, revisions to draft stip re: same
  8/29/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Review of Murieta Equestrian Center draft stipulated schedule, email to
  8/29/2023 CCKA   Center       Jason Flanders   D. Hunt re: same                                                                    0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Review of defendant's draft status statement and schedule, revisions to
  8/30/2023 CCKA   Center       Jason Flanders   same, email to all counsel re: same                                                 0.6    $640.00            $384.00            $0.00               0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Review of draft Rule 34 dry weather inspection
  8/30/2023 CCKA   Center     Jason Flanders                                                                                         0.3    $640.00           $192.00           $0.00                0

                   Murieta                       Email from opposing counsel re: Phase II stip, further review and edit to
                   Equestrian                    same, email to same, instructions to E. Bustos re: filing same
  8/30/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of D. Hunt comments and revisions to Rule 34 inspection
  8/31/2023 CCKA   Center       Jason Flanders   demand, revisions to same, emails re: same                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II discovery planning
   9/7/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $128.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett and D. Hunt to plan Phase II discovery
  9/12/2023 CCKA   Center       Jason Flanders                                                                                       1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with C. Burchiel re: site inspection
  9/12/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Phase II budget for client
  9/13/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II discovery
  9/13/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II discovery
  9/19/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00             $0.00         $128.00               0.2
                   Murieta
                   Equestrian                    Call with D. Hunt and T. Brett re: Phase II discovery plan
  9/19/2023 CCKA   Center       Jason Flanders                                                                                       1.1    $640.00           $640.00          $64.00               0.1
                   Murieta
                   Equestrian                    Review and edits to Phase II discovery meet and confer letter, email
  9/20/2023 CCKA   Center       Jason Flanders   instructions to T. Brett re: same                                                   0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Email to D. Hunt and T. Brett re: numerous upcoming Phase II
  9/20/2023 CCKA   Center       Jason Flanders   discovery assignments and internal deadlines                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edit to meet and confer re: Phase II discovery demands
  9/21/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edits to dry weather inspection demand
  9/21/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery meet and confer letters
  9/22/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $64.00          $64.00               0.1




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Review and edit to informal discovery dispute resolution meet and
  9/22/2023 CCKA   Center       Jason Flanders   confer letter                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
  9/25/2023 CCKA   Center       Jason Flanders   Review of event organizers for 3rd party subpoenas, research re: events             1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Email instructions to H. Beck re: event organizers subpoenas
  9/25/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: dry weather inspections
  9/26/2023 CCKA   Center       Jason Flanders                                                                                       0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edits to draft requests for production
  9/26/2023 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Zoom with opposing counsel re: site inspection
  9/26/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Site inspection meet and confer call with opposing counsel
  9/28/2023 CCKA   Center       Jason Flanders                                                                                       0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Draft confirmatory email re: site inspections
  9/28/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt following site inspection meet and confer call
  9/28/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt in preparation for site inspection meet and confer call
  9/28/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to requests for production Set Six.
  9/29/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and approval of revised Requests for Production 4, emails with
  10/2/2023 CCKA   Center       Jason Flanders   co-counsel re: same                                                                 0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Draft meet and confer email to o/c re: 5th site inspection demand (.4);
  10/3/2023 CCKA   Center       Jason Flanders   call with D. Hunt re: same (.2)                                                     0.6    $640.00           $384.00           $0.00               0

                   Murieta                       Review of Murieta Equestrian Center dry weather inspection objections,
                   Equestrian                    review of discovery dispute resolution local rules re: same, email to co-
  10/3/2023 CCKA   Center     Jason Flanders     counsel re: same                                                                    0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review of correspondence among co-counsel re: site inspection
  10/3/2023 CCKA   Center     Jason Flanders     demand response from Murieta Equestrian Center                                      0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Meet and confer email to opposing counsel re: site inspection demands
  10/4/2023 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to E. Bustos and T. Brett re: subpoenas to event
  10/5/2023 CCKA   Center       Jason Flanders   organizers                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email from opposing counsel and with co-counsel re: discovery dispute
  10/5/2023 CCKA   Center       Jason Flanders   resolution                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Teams chat with E. Bustos re: subpoena preparation to identified
  10/5/2023 CCKA   Center       Jason Flanders   organizations                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: follow up with Def on meet and confer on Phase I
  10/6/2023 CCKA   Center       Jason Flanders   discovery                                                                         0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email instructions to T. Brett re: meet and confer on document
  10/6/2023 CCKA   Center       Jason Flanders   production, PMQ                                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Teams chat with E. Bustos re: substance of subpoenas
  10/6/2023 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: written discovery on third party event managers
 10/10/2023 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of SWMP for proposed site inspection locations, emails with D.
 10/10/2023 CCKA   Center       Jason Flanders   Hunt re: same                                                                     0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: Nov. 3 site inspection, brief
 10/11/2023 CCKA   Center       Jason Flanders   call with D. Hunt in prep for same                                                1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: site inspection meet and confer
 10/11/2023 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with co-counsel re: Judge Barnes retirement and
 10/11/2023 CCKA   Center       Jason Flanders   response strategy                                                                 0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with T. Brett and D. Hunt re: open discovery devices
 10/12/2023 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review and comment on draft 3rd party subpoenas
 10/12/2023 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Teleconference with E. Bustos re: document subpoenas for event
 10/12/2023 CCKA   Center       Jason Flanders   managers.                                                                         0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: meet and confer request to defendant
 10/13/2023 CCKA   Center       Jason Flanders   over Phase I discovery responses.                                                  0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Draft Phase II SUF
 10/13/2023 CCKA   Center       Jason Flanders                                                                                      0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Draft phase II SUF
 10/13/2023 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: outstanding discovery needs
 10/13/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: further discovery meet and confer
 10/13/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review of email from S. Fried re: site inspection meet and confer
 10/15/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Draft meet and confer response to S. Fried email re: site inspection
 10/16/2023 CCKA   Center       Jason Flanders                                                                                      1.5    $640.00           $960.00           $0.00               0
                   Murieta
                   Equestrian                    Further drafted, finalized, and sent response to o/c re: site inspection
 10/16/2023 CCKA   Center       Jason Flanders   meet and confer                                                                    0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with co-counsel re: Phase II Motion for Summary Judgment
 10/16/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: site inspection
 10/17/2023 CCKA   Center       Jason Flanders                                                                                      0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Beginning draft inspection itinerary
 10/17/2023 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Draft internal schedule for motion to amend scheduling order, Phase II
 10/17/2023 CCKA   Center       Jason Flanders   Motion for Summary Judgment                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Maharg re: Phase II Motion for Summary Judgment
 10/17/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Further correspondence with T. Brett and D. Hunt re: Phase II
 10/17/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: third party subpoenas
 10/17/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Correspondence with E. Bustos and T. Brett re: service of subpoenas
 10/17/2023 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: outstanding discovery requests
 10/17/2023 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of Murieta Equestrian Center "schedule" for Nov. 3, emails with
 10/17/2023 CCKA   Center       Jason Flanders   opposing counsel re: same                                                            0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of meet and confer from J. Patterson re: site inspection, draft
 10/18/2023 CCKA   Center       Jason Flanders   response re: same; brief call with D. Hunt re: same (.1)                             1.5    $640.00            $960.00            $0.00               0
                   Murieta
                   Equestrian                    Draft site inspection itinerary
 10/18/2023 CCKA   Center       Jason Flanders                                                                                        1.3    $640.00            $832.00            $0.00               0
                   Murieta
                   Equestrian                    Finalized and sent further meet and confer to o/c re: site inspection
 10/18/2023 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Calls and emails with E. Bustos and T. Brett re: event management
 10/19/2023 CCKA   Center       Jason Flanders   subpoenas                                                                            0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Emails from opposing counsel and with co-counsel re: site inspection
 10/19/2023 CCKA   Center       Jason Flanders   dispute resolution                                                                   0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: setting up informal DR
 10/20/2023 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: dispute resolution on site inspection
 10/20/2023 CCKA   Center       Jason Flanders                                                                                        0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: site inspection dispute resolution
 10/20/2023 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft informal dispute resolution statement for site inspection
 10/23/2023 CCKA   Center       Jason Flanders                                                                                        1.7    $640.00           $1,088.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: site inspection dispute resolution
 10/23/2023 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: informal dispute schedule
 10/23/2023 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of D. Hunt edits to informal dispute resolution letter re: site
 10/24/2023 CCKA   Center       Jason Flanders   inspection                                                                           0.1    $640.00             $64.00            $0.00               0




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II written discovery
 10/24/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft joint statement re: site inspection, email to all counsel re: same
 10/25/2023 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Further correspondence with court and parties re: telephonic dispute
 10/25/2023 CCKA   Center       Jason Flanders   resolution for site inspection                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to informal dispute resolution statement, email sending same
 10/26/2023 CCKA   Center       Jason Flanders   to all counsel                                                                     0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with all counsel re: joint statement for discovery dispute
 10/26/2023 CCKA   Center       Jason Flanders   resolution                                                                         0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Review of Murieta Equestrian Center draft joint statement re: site
                   Equestrian                    inspection, revisions to California Coastkeeper Alliance statement re:
 10/29/2023 CCKA   Center     Jason Flanders     same                                                                               0.8    $640.00            $512.00            $0.00               0

                                                 Review of Murieta Equestrian Center revisions to joint statement re:
                   Murieta                       site inspection, call with D. Hunt re: same, revisions to California
                   Equestrian                    Coastkeeper Alliance statement re: same, instructions to E. Bustos re:
 10/30/2023 CCKA   Center     Jason Flanders     filing same                                                                        0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Teleconference with E. Bustos re: filing of joint statement.
 10/30/2023 CCKA   Center     Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Review of court order re: informal dispute resolution, call with D. Hunt
                   Equestrian                    re: same, email from S. Fried re: same, draft proposed inspection
 10/31/2023 CCKA   Center       Jason Flanders   protocol re: same                                                                  1.8    $640.00           $1,152.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: site inspection
 10/31/2023 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: site inspection
 10/31/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Review of court's order vacating discovery dispute hearing, review of
 10/31/2023 CCKA   Center       Jason Flanders   emails from D. Hunt and S. Fried re: same                                          0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: site inspection
  11/1/2023 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Correspondence re: GCL additional insured and waiver
  11/1/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00               0




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                                                                                                                                                                           Judgment Fee     Judgment
                                                                                                                                                                           Reduction        Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                    Draft response to opposing counsel re: site inspection, emails with D.
  11/2/2023 CCKA   Center       Jason Flanders   Hunt re: same                                                                        0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for site inspection
  11/2/2023 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Zoom with videographer in preparation for site visit
  11/2/2023 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: responding to Defendant's email regarding Phase I
  11/2/2023 CCKA   Center       Jason Flanders   discovery dispute.                                                                   0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Travel to and from site inspection
  11/3/2023 CCKA   Center       Jason Flanders                                                                                        4.0    $640.00           $1,280.00        $1,280.00               2
                   Murieta                       call with D. Hunt during site inspection re: observations and efforts to
                   Equestrian                    make while there
  11/3/2023 CCKA   Center       Jason Flanders                                                                                        0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for discovery on defendant and motion
  11/3/2023 CCKA   Center       Jason Flanders   to amend scheduling order.                                                           0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Attendance at Murieta Equestrian Center site inspection
  11/3/2023 CCKA   Center       Jason Flanders                                                                                        6.3    $640.00           $4,032.00           $0.00                0
                   Murieta
                   Equestrian                    Prep for site inspection
  11/3/2023 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt following site visit re: Motion for Summary Judgment,
  11/6/2023 CCKA   Center       Jason Flanders   discovery, litigation strategy                                                       1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery
  11/7/2023 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Phase II discovery
  11/8/2023 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Email to all counsel re: 30(b)(6) deposition meet and confer
  11/8/2023 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: deposition notice, written discovery, and motion to
  11/8/2023 CCKA   Center       Jason Flanders   amend scheduling order                                                               0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Draft schedule of to-dos for T. Brett and D. Hunt
  11/8/2023 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $128.00            $0.00                0




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Further correspondence with T. Brett re: scheduling PMQ deposition
  11/8/2023 CCKA   Center       Jason Flanders   and motion to amend scheduling order                                               0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to interrogatory set three
  11/9/2023 CCKA   Center       Jason Flanders                                                                                      1.2    $640.00           $768.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: interrogatory set three (.8); further revisions to
  11/9/2023 CCKA   Center       Jason Flanders   same (.4)                                                                          1.2    $640.00           $768.00           $0.00                0
                   Murieta
                   Equestrian                    Draft meet and confer re: amending scheduling order, brief research re:
 11/10/2023 CCKA   Center       Jason Flanders   same                                                                               1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Finalized and sent interrogatory Set 3
 11/10/2023 CCKA   Center       Jason Flanders                                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Review comment and edit to draft 30(b)(6) deposition notice, email
 11/13/2023 CCKA   Center       Jason Flanders   instructions to T. Brett re: same                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review edit and comment on draft requests for productions,
 11/13/2023 CCKA   Center       Jason Flanders   instructions to T. Brett re: same                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with T. Brett re: discovery into finances.
 11/13/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email to all counsel re: scheduling order
 11/13/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email instructions to T. Brett re: multiple discovery and motion
 11/13/2023 CCKA   Center       Jason Flanders   deadlines and timelines                                                            0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: strategy for filing motion to amend scheduling
 11/14/2023 CCKA   Center       Jason Flanders   order                                                                              0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: draft comms to opposing counsel regarding
 11/14/2023 CCKA   Center       Jason Flanders   amending scheduling order                                                          0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Email from S. Fried re: scheduling meet and confer, emails with D.
 11/14/2023 CCKA   Center       Jason Flanders   Hunt and T. Brett re: same                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review edit and approval of requests for productions re: finances
 11/15/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: motion to amend scheduling order and PMQ
 11/16/2023 CCKA   Center       Jason Flanders   deposition notice                                                                  0.1    $640.00            $64.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Call with I. Wren re: Phase II report
 11/20/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II econ report
 11/20/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: economist report, motion to amend scheduling
 11/21/2023 CCKA   Center       Jason Flanders   order, 30(b)(6) depo                                                                0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Email to T. Brett and D. Hunt re: BMP remedies
 11/21/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Meet and confer with o/c re: scheduling order and PMQ depo
 11/27/2023 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt following meet and confer with o/c re: scheduling
 11/27/2023 CCKA   Center       Jason Flanders   order and PMQ depo                                                                  0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Region 2 WDR documents, email to colleagues re: same
 11/27/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: meet and confer and document production
 11/27/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review of third party subpoena, emails to co-counsel re: same
 11/27/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call to T. Brett re: needed information for o/c following meet and confer
 11/27/2023 CCKA   Center       Jason Flanders   on PMQ deposition and scheduling order                                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Federal Rule of Civil Procedure 30(B)(6) re: notification
 11/27/2023 CCKA   Center       Jason Flanders   requirements following meet and confer                                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails from opposing counsel and T. Brett re: meet and confer
 11/27/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for PMQ depo, requests for production
 11/28/2023 CCKA   Center       Jason Flanders   meet and confer, and leave to amend scheduling order                                0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of revised definitions for PMQ notice, email to opposing
 11/28/2023 CCKA   Center       Jason Flanders   counsel re: same                                                                    0.4    $640.00           $256.00           $0.00                0

                   Murieta                       Call with T. Brett re: motion to amend scheduling order, Murieta
                   Equestrian                    Equestrian Center Requests for Production responses, PMQ depo,
 11/28/2023 CCKA   Center     Jason Flanders     experts for BMP costs                                                               0.4    $640.00           $192.00          $64.00               0.1




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Calls with consultants re: BMP construction costs
 11/28/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Further written meet and confer with Murieta Equestrian Center re:
 11/28/2023 CCKA   Center       Jason Flanders   motion to amend the scheduling order                                                0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
 11/28/2023 CCKA   Center       Jason Flanders   Call with T. Brett re: economist expert report, and Defendant's incomplet           0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Updated motion to amend schedule, email to co-counsel re: same
 11/28/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and comment on draft 30(b)(6) deposition notice for finance,
 11/29/2023 CCKA   Center       Jason Flanders   emails with T. Brett re: same                                                       0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: priorities among 5 ongoing deliverables
 11/29/2023 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Draft motion to amend scheduling order
 11/29/2023 CCKA   Center       Jason Flanders                                                                                       1.3    $640.00           $832.00           $0.00                0
                   Murieta
                   Equestrian                    Draft motion to amend scheduling order
 11/29/2023 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Calls to consultants re: potential BMP report and construction cost
 11/29/2023 CCKA   Center       Jason Flanders   estimate                                                                            0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of meet and confer emails re: motion to amend scheduling
 11/29/2023 CCKA   Center       Jason Flanders   order, email instructions to E. Bustos re: drafting same                            0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center       Jason Flanders                                                                                       1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edits to motion to amend based on comments from D.
 11/30/2023 CCKA   Center       Jason Flanders   Hunt                                                                                1.2    $640.00           $768.00           $0.00                0
                   Murieta
                   Equestrian                    Draft motion to amend scheduling order, email to D. Hunt re: same
 11/30/2023 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: BMP remedies and costs, finance PMQ deposition
 11/30/2023 CCKA   Center       Jason Flanders   notice                                                                              0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to motion to amend scheduling order
 11/30/2023 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                    Review and approval of Requests for Production meet and confer letter
 11/30/2023 CCKA   Center       Jason Flanders                                                                                   0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call to consultant re: BMP design and costs
 11/30/2023 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with prospective cost consultants
 11/30/2023 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Finalized motion to amend scheduling order and all ancillary
  12/1/2023 CCKA   Center       Jason Flanders   documents                                                                       0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Call with potential Phase II BMP expert consultant
  12/1/2023 CCKA   Center       Jason Flanders                                                                                   0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Phase II remedy experts
  12/1/2023 CCKA   Center       Jason Flanders                                                                                   0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Phase II expert reports and trial budget
  12/1/2023 CCKA   Center       Jason Flanders                                                                                   0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of site inspection footage
  12/4/2023 CCKA   Center       Jason Flanders                                                                                   1.1    $640.00           $704.00           $0.00               0

                   Murieta                       Prep for Phase II Concentrated Animal Feeding Operation deposition
                   Equestrian                    including reviewing and revising draft Phase II Motion for Summary
  12/4/2023 CCKA   Center       Jason Flanders   Judgment SUF                                                                    0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Revision to Phase II Motion for Summary Judgment SUF, email to D.
  12/4/2023 CCKA   Center       Jason Flanders   Hunt re: same                                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt and T. Brett re: PMQ depos and expert reports
  12/4/2023 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: BMP installation costs
  12/5/2023 CCKA   Center       Jason Flanders                                                                                   0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: econ expert report, assist with Concentrated
  12/5/2023 CCKA   Center       Jason Flanders   Animal Feeding Operation PMQ depo                                               0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Bustos re: PMQ deposition
  12/5/2023 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email to D. Hunt re: cost consultant strategies
  12/5/2023 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Review of site inspection footage in prep for Phase II Concentrated
  12/6/2023 CCKA   Center       Jason Flanders   Animal Feeding Operation PMQ depo                                                  2.8    $640.00           $1,792.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert disclosures
  12/8/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for PMQ deposition including review of site inspection videos
 12/11/2023 CCKA   Center       Jason Flanders                                                                                      4.1    $640.00           $2,624.00           $0.00                0
                   Murieta
                   Equestrian                    Review of responses to interrogatory set 3
 12/11/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Teams meeting with D. Hunt re: deposition prep for Concentrated
 12/12/2023 CCKA   Center       Jason Flanders   Animal Feeding Operation PMQ                                                       1.6    $640.00           $1,024.00           $0.00                0
                   Murieta
                   Equestrian                    Call with R. Horner and T. Brett re: potential expert report
 12/12/2023 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Email to J. Patterson re: unverified interrogatory responses
 12/12/2023 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: PMQ deposition prep.
 12/13/2023 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00                0

                   Murieta                       Selecting and organizing exhibits for Concentrated Animal Feeding
                   Equestrian                    Operation PMQ depo, reviewing site inspection videos for same, draft
 12/13/2023 CCKA   Center     Jason Flanders     deposition questions re: same                                                      2.5    $640.00           $1,600.00           $0.00                0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: finance PMQ depo
 12/13/2023 CCKA   Center     Jason Flanders                                                                                        0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Teleconference with E. Bustos re: removing code designations from
 12/13/2023 CCKA   Center     Jason Flanders     documents in Everlaw exhibit binder.                                               0.1    $640.00             $64.00            $0.00                0

                                                 Telephone call and text messages with E. Bustos re: comms with
                   Murieta                       Planet deposition to replace incorrect interrogatories response exhibit.
                   Equestrian
 12/14/2023 CCKA   Center     Jason Flanders                                                                                        0.1    $640.00              $0.00           $64.00               0.1

                   Murieta                       Teleconference with E. Bustos re: Planet deposition link to deposition
                   Equestrian                    exhibits
 12/14/2023 CCKA   Center     Jason Flanders                                                                                        0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt and TB re: deposition prep
 12/14/2023 CCKA   Center     Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                    Conducting deposition of M. Subbotin
 12/14/2023 CCKA   Center       Jason Flanders                                                                                  7.3    $640.00           $4,672.00           $0.00                0
                   Murieta
                   Equestrian                    Preparation for Concentrated Animal Feeding Operation PMQ depo
 12/14/2023 CCKA   Center       Jason Flanders                                                                                  1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: debrief on PMQ depo
 12/14/2023 CCKA   Center       Jason Flanders                                                                                  0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: Murieta Equestrian Center requested
 12/15/2023 CCKA   Center       Jason Flanders   production extension                                                           0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft reply in support of motion to amend scheduling order
 12/18/2023 CCKA   Center       Jason Flanders                                                                                  0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Draft reply re: motion to amend scheduling order
 12/18/2023 CCKA   Center       Jason Flanders                                                                                  0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to reply in support of motion to amend scheduling order,
 12/19/2023 CCKA   Center       Jason Flanders   emails with D. Hunt and E. Bustos re: same                                     0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: scheduling finance PMQ deposition.
 12/29/2023 CCKA   Center       Jason Flanders                                                                                  0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Call with D. Hunt re: Phase II experts, Motion for Summary Judgment,
                   Equestrian                    and responses and objections to Defendant's pending discovery
   1/2/2024 CCKA   Center       Jason Flanders   requests                                                                       0.9    $640.00            $256.00          $320.00               0.5
                   Murieta
                   Equestrian                    Call with T. Simpson re: prospective expert report
   1/2/2024 CCKA   Center       Jason Flanders                                                                                  0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: finance PMQ deposition prep
   1/2/2024 CCKA   Center       Jason Flanders                                                                                  0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with D. Hunt and T. Brett re: financial PMQ depo
   1/2/2024 CCKA   Center       Jason Flanders                                                                                  0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: finance PMQ depo
   1/2/2024 CCKA   Center       Jason Flanders                                                                                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Email to T. Simpson re: prospective consultation
   1/2/2024 CCKA   Center       Jason Flanders                                                                                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Voice mail to prospective expert
   1/2/2024 CCKA   Center       Jason Flanders                                                                                  0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta                       call with D. Hunt re: Tim Simpson as expert
                   Equestrian
   1/3/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Draft email to opposing counsel re: excessive interrogatories served
   1/3/2024 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: Defendant's pending written discovery
   1/3/2024 CCKA   Center       Jason Flanders   and improper ROGs                                                                    0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Simpson re: costs of Murieta Equestrian Center compliance
   1/3/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Maharg re: Tim Simpson
   1/3/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: financial document production and review for depo
   1/3/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Teams chat with E. Bustos re: assisting T. Brett with search of recent
                   Equestrian                    production received from Defendants.
   1/3/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: deposition prep.
   1/4/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: deposition prep
   1/4/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edits to financial PMQ deposition outline (.4); brief call with
   1/4/2024 CCKA   Center       Jason Flanders   T. Brett and D. Hunt re: same (.1)                                                   0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Reviewed and submitted additional exhibits for financial PMQ depo
   1/4/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Email to T. Simpson re: expert report
   1/4/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: financial PMQ depo
   1/4/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: deposition and next steps.
   1/5/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: adding C. Anderson as party or piercing corporate
   1/5/2024 CCKA   Center       Jason Flanders   veil                                                                                 0.8    $640.00           $512.00           $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Research into piercing the corporate veil and owner liability
   1/5/2024 CCKA   Center       Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Call with H. Beck re: piercing corporate veil
   1/8/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of H. Beck memo re: piercing the corporate veil, email to D.
   1/8/2024 CCKA   Center       Jason Flanders   Hunt re: same                                                                      0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Simpson re: expert report
   1/9/2024 CCKA   Center       Jason Flanders                                                                                      0.7    $640.00           $448.00           $0.00               0

                   Murieta                       Emails with D. Hunt and H. Beck re: Carol Anderson Ward issues,
                   Equestrian                    review and instructions for additions to draft subpoena re: same
   1/9/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of recent Clean Water Act case finding individual CEO liability
   1/9/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of H. Beck memo re: piercing corporate veil, strategizing and
   1/9/2024 CCKA   Center       Jason Flanders   emails with D. Hunt re: same                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Instruction to E. Bustos re: serving Anderson subpoena
   1/9/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: open discovery items, expert reports, piercing
  1/10/2024 CCKA   Center       Jason Flanders   corporate veil, Motion for Summary Judgment                                        0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Review of skip tracing report for service on C. Anderson Ward
  1/10/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Message to T. Brett re: sanitary sewer discharge regulation
  1/10/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: responding to Murieta Equestrian Center discovery
  1/10/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to Carol Anderson Ward subpoena, instructions to E. Bustos
  1/11/2024 CCKA   Center       Jason Flanders   re: service of same                                                                0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Rancho Murieta Community Services District rates
  1/11/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Teleconference with E. Bustos re: deposition subpoena for Carol
  1/11/2024 CCKA   Center       Jason Flanders   Anderson Ward.                                                                     0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Teams meeting with Tim Simpson and engineers re: expert report, brief
  1/12/2024 CCKA   Center       Jason Flanders   follow-on meeting with D. Hunt and I. Wren re: same                               1.7    $640.00           $1,088.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Colorado River Regional Board Concentrated Animal
  1/12/2024 CCKA   Center       Jason Flanders   Feeding Operation General Permit                                                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Carol Anderson Ward subpoena, and expert
  1/12/2024 CCKA   Center       Jason Flanders   reports                                                                           0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Review of San Diego Region industrial permits for Concentrated Animal
  1/12/2024 CCKA   Center       Jason Flanders   Feeding Operations                                                                0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Further instructions to E. Bustos re: service of Carol Anderson Ward
  1/12/2024 CCKA   Center       Jason Flanders   subpoena                                                                          0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Review of Carol Anderson Ward subpoena before service
  1/12/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: project management
  1/13/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Simpson re: project budget
  1/13/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Call with T. Brett re: California Coastkeeper Alliance responses to
                   Equestrian                    Murieta Equestrian Center discovery, subpoena service on C.
  1/16/2024 CCKA   Center       Jason Flanders   Anderson Ward                                                                     0.3    $640.00            $128.00           $64.00               0.1
                   Murieta
                   Equestrian                    Emails with D. Hunt and T. Brett re: responding to Murieta Equestrian
  1/16/2024 CCKA   Center       Jason Flanders   Center's excessive ROGs                                                           0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Simpson re: expert report
  1/17/2024 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery responses and expert reports
  1/17/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Follow up call with T. Brett re: expert report / recurring costs of
                   Equestrian                    compliance.
  1/18/2024 CCKA   Center     Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Call with T. Brett and D. Hunt re: expert report needs, production
                   Equestrian                    response to Murieta Equestrian Center, litigation strategy re: remedies
  1/18/2024 CCKA   Center     Jason Flanders                                                                                       0.4    $640.00            $256.00            $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Call with D. Hunt re: expert reports
  1/18/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert reports
  1/19/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: requests for production responses
  1/19/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: confidential nature of balance sheets and P&Ls
  1/19/2024 CCKA   Center       Jason Flanders   reviewed by Johnathan Shefftz                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett and J. Shefftz re: expert report
  1/19/2024 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Began review of Shefftz report, call with T. Brett and D. Hunt re: same
  1/19/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Final review of Simpson report, service of expert disclosures on
  1/19/2024 CCKA   Center       Jason Flanders   opposing counsel                                                                   0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett and D. Hunt re: written responses to Murieta
  1/22/2024 CCKA   Center       Jason Flanders   Equestrian Center discovery requests                                               1.0    $640.00           $576.00          $64.00               0.1
                   Murieta
                   Equestrian                    Review of draft California Coastkeeper Alliance discovery responses
  1/22/2024 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Murieta Equestrian Center Phase II Concentrated Animal
  1/22/2024 CCKA   Center       Jason Flanders   Feeding Operation expert report                                                    0.3    $640.00           $192.00           $0.00                0


                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery responses.
  1/23/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edits to requests for admission responses
  1/23/2024 CCKA   Center       Jason Flanders                                                                                      0.7    $640.00           $448.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to responses to interrogatories and RPFs(.2); call with T.
  1/23/2024 CCKA   Center       Jason Flanders   Brett re: same (.2)                                                                0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery responses, mostly requests for
  1/23/2024 CCKA   Center       Jason Flanders   production                                                                         0.2    $640.00            $64.00          $64.00               0.1



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                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Review and edit to requests for production response
  1/23/2024 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert econ report and analysis, subpoena service
  1/24/2024 CCKA   Center       Jason Flanders   on C. Ward                                                                            0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert discovery, service of C. Ward subpoena
  1/24/2024 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: strategy for drafting MIL (to exclude Swickard
  1/25/2024 CCKA   Center       Jason Flanders   testimony)                                                                            0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: possible expert rebuttal / deposition / supplemental
  1/25/2024 CCKA   Center       Jason Flanders   report time line                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Murieta Equestrian Center Phase II expert report
  1/25/2024 CCKA   Center       Jason Flanders                                                                                         1.3    $640.00           $832.00           $0.00                0
                   Murieta
                   Equestrian                    Lexis research re: Murieta Equestrian Center expert Swickard
  1/25/2024 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert reports and depos
  1/26/2024 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with T. Brett re: Murieta Equestrian Center requests to depose
  1/26/2024 CCKA   Center       Jason Flanders   California Coastkeeper Alliance experts                                               0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert reports, motion to exclude Swickard
  1/29/2024 CCKA   Center       Jason Flanders                                                                                         0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian
   5/1/2022 CCKA   Center       Jason Flanders                                                                                         0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Carol Anderson Ward service and Swickard
  1/30/2024 CCKA   Center       Jason Flanders   deposition strategy.                                                                  0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Follow up call with T. Brett re: deposition schedules (Simpson and
                   Equestrian                    Shefftz)
   2/1/2024 CCKA   Center     Jason Flanders                                                                                           0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert depositions
   2/1/2024 CCKA   Center     Jason Flanders                                                                                           0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Email to I. Wren re: Swickard report
   2/2/2024 CCKA   Center     Jason Flanders                                                                                           0.1    $640.00             $0.00          $64.00               0.1




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                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with T. Brett and D. Hunt re: expert depositions
   2/2/2024 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with J. Sheffetz and T. Brett re: deposition (.2); brief prep with T.
   2/2/2024 CCKA   Center       Jason Flanders   Brett re: same (.1)                                                                  0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Shefftz deposition.
   2/5/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert deposition and Carol Anderson Ward
   2/5/2024 CCKA   Center       Jason Flanders   subpoena service issues                                                              0.2    $640.00            $64.00          $64.00               0.1
                   Murieta
                   Equestrian                    Email to D. Hunt re: Shefftz deposition defense
   2/5/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett and D. Hunt (for part) re: additional Phase 2 written
   2/6/2024 CCKA   Center       Jason Flanders   discovery                                                                            0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: subpoena service on C. Anderson
   2/6/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Oregon case re: Concentrated Animal Feeding Operation
   2/6/2024 CCKA   Center       Jason Flanders   violations                                                                           0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to service email to C. Ward
   2/6/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for discovery and motion for alternative
   2/7/2024 CCKA   Center       Jason Flanders   service on CAW                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Simpson re: deposition prep
   2/7/2024 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for discovery and service of CAW
   2/8/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: response to Defendant's request for prod (J
   2/9/2024 CCKA   Center       Jason Flanders   Shefftz deposition notice)                                                           0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Meet and confer with opposing counsel re: service of subpoena on C.
                   Equestrian                    Ward; brief follow up call with T. Brett (.1); and email to D. Hunt re:
   2/9/2024 CCKA   Center     Jason Flanders     same (.1)                                                                            0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert disclosures and further written discovery,
   2/9/2024 CCKA   Center     Jason Flanders     Carol Anderson Ward deposition service                                               0.2    $640.00           $128.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Review and edit to draft RFAs
   2/9/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert document disclosure
   2/9/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to H. Beck for drafting RFAs
   2/9/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with H. Beck re: requests for admission set 2
   2/9/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to RFAs
  2/12/2024 CCKA   Center       Jason Flanders                                                                                       1.4    $640.00           $896.00           $0.00               0
                   Murieta
                   Equestrian                    Teams meeting with T. Brett and D. Hunt re: Carol Anderson Ward
  2/12/2024 CCKA   Center       Jason Flanders   subpoena and deposition, further written discovery                                  1.3    $640.00           $832.00           $0.00               0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: 30(b)(1) deposition notice (CAW)
  2/13/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: requests for admission / requests for production /
  2/13/2024 CCKA   Center       Jason Flanders   interrogatory revisions.                                                            0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: revisions to RFA, Set Two
  2/13/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: analysis of Defendant's balance sheets (drafting
  2/13/2024 CCKA   Center       Jason Flanders   RFA, Set Two)                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center       Jason Flanders   Call with J. Sheffetz and T. Brett re: Murieta Equestrian Center QuickBoo           0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Final review and revisions to ROGs, RFAs, and requests for
  2/13/2024 CCKA   Center       Jason Flanders   productions                                                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: discovery deadline, dispute resolution timing,
  2/13/2024 CCKA   Center       Jason Flanders   outstanding RFAs, and deposition of CA Ward                                         0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review of deposition notice to C.A. Ward, review of rules and case law
  2/13/2024 CCKA   Center       Jason Flanders   re: same, emails with co-counsel re: same                                           0.2    $640.00           $128.00           $0.00               0

                   Murieta                       Teams comms with E. Bustos re: service of discovery requests to
                   Equestrian                    defendant
  2/13/2024 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: document production (T. Simpson depo)
  2/14/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: service of Carol Anderson Ward 30(b)(1)
  2/14/2024 CCKA   Center       Jason Flanders   subpoena                                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: Phase II rebuttal
  2/14/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to E. Bustos and T. Brett re: Phase II rebuttals and Carol
  2/14/2024 CCKA   Center       Jason Flanders   Anderson Ward deposition                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: expert disclosures
  2/14/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Call with T. Brett re: Wren rebuttal disclosure, interrogatory meet and
                   Equestrian                    confer, Anderson depo, Motion for Summary Judgment, review and
  2/15/2024 CCKA   Center       Jason Flanders   approval of drafts re: same                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: S. Fried arguments against deposing C. Ward
  2/15/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: Simpson deposition and report
  2/15/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email from opposing counsel re: meet and confer on Ward subpoena,
  2/20/2024 CCKA   Center       Jason Flanders   emails with co-counsel re: same                                                   0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett and D. Hunt re: meet and confer re: Carol Anderson
  2/21/2024 CCKA   Center       Jason Flanders   Ward deposition and related issues                                                0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel re: C. Ward depo, expert
  2/21/2024 CCKA   Center       Jason Flanders   reports and depositions                                                           0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: MIL re: Swickard
  2/22/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email from opposing counsel re: Ward depo, call with D. Hunt re:
  2/23/2024 CCKA   Center       Jason Flanders   same, draft email response to same                                                0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: Ward deposition meet and confer
  2/23/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email response to S. Fried re: deposition and pending written discovery
  2/26/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Call with D. Hunt re: Phase II Motion for Summary Judgment, expert
  2/27/2024 CCKA   Center     Jason Flanders     depos, piercing corporate veil                                                    0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: scheduling depositions
  2/27/2024 CCKA   Center     Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment
  2/28/2024 CCKA   Center     Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Call with T. Brett re: Schefftz deposition and strategy for motion for
                   Equestrian                    leave to amend / notice letter
  2/28/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of West Coast Equine Foundation financial disclosures, related
  2/29/2024 CCKA   Center       Jason Flanders   web information, emails with co-counsel re: same                                  0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment, motion to exclude
  2/29/2024 CCKA   Center       Jason Flanders   Swickard, and Shefftz deposition                                                  0.2    $640.00            $64.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren deposition notice and Swickard MIL
   3/1/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: notice of Wren deposition and objections
   3/1/2024 CCKA   Center       Jason Flanders                                                                                     0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment
   3/4/2024 CCKA   Center       Jason Flanders                                                                                     1.2    $640.00           $768.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental disclosures and expert discovery
   3/4/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: facility observations
   3/4/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment
   3/5/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment
   3/5/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Review and edit to Wren deposition objections, email instructions to T.
                   Equestrian                    Brett re: further meet and confer letter for same
   3/5/2024 CCKA   Center     Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental disclosures, Wren deposition
   3/5/2024 CCKA   Center     Jason Flanders     objections, and Swickard MIL                                                      0.4    $640.00           $256.00           $0.00                0



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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Call with I. Wren re: deposition notice, email to co-counsel re: same
   3/5/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review of meet and confer letter re: Wren depo, edits to same,
   3/6/2024 CCKA   Center       Jason Flanders   correspondence with D. Hunt and T. Brett re: same                                 0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren deposition meet and confer
  3/11/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren deposition meet and confer
  3/11/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II Motion for Summary Judgment and
  3/11/2024 CCKA   Center       Jason Flanders   Swickard MIL                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren re: depo
  3/11/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Email to co-counsel re: Wren depo
  3/11/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Zoom with opposing counsel re: objections to Wren depo, brief call with
  3/11/2024 CCKA   Center       Jason Flanders   D. Hunt following same                                                            0.8    $640.00            $448.00           $64.00               0.1
                   Murieta
                   Equestrian                    Draft email to opposing counsel re: Wren depo
  3/12/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Email to opposing counsel re: Wren deposition and discovery deadlines
  3/12/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with D. Hunt and I. Wren re: deposition
  3/12/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00                0

                                                 Draft Phase II Motion for Summary Judgment re: AFO, review of
                   Murieta                       supporting evidence for same; draft arguments re: discharge of
                   Equestrian                    pollutants to waters of the United States
  3/13/2024 CCKA   Center     Jason Flanders                                                                                       2.0    $640.00           $1,280.00           $0.00                0

                   Murieta                       Calls with I. Wren and D. Hunt re: Wren deposition, email to opposing
                   Equestrian                    counsel re: same
  3/13/2024 CCKA   Center     Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Review of evidence and compilation of documents for Wren deposition
  3/14/2024 CCKA   Center     Jason Flanders     prep                                                                              0.7    $640.00            $448.00            $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: motion to amend, deposition prep, and
  3/14/2024 CCKA   Center       Jason Flanders   supplemental disclosures                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with opposing counsel re: discovery production extension
  3/14/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Multiple correspondence with co-counsel, opposing counsel, and I.
  3/14/2024 CCKA   Center       Jason Flanders   Wren re: scheduling Wren deposition and prep                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: collateral estoppel LR and arguments re:
  3/14/2024 CCKA   Center       Jason Flanders   defendant's ability to pay                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: collateral estoppel LR, Plaintiff's supplemental
  3/14/2024 CCKA   Center       Jason Flanders   production, and Defendant's disc responses                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Wren document production and deposition prep
  3/15/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Wren Deposition
  3/18/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt re: Wren deposition
  3/18/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with I. Wren re: deposition
  3/18/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Review, strategy, and assignment for multiple upcoming motions and
                   Equestrian                    discovery needs, brief call with T. Brett re: same, email to co-counsel
  3/19/2024 CCKA   Center     Jason Flanders     re: same                                                                          0.4    $640.00           $192.00          $64.00               0.1
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment
  3/20/2024 CCKA   Center     Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Swickard MIL
  3/20/2024 CCKA   Center     Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Teams meeting with co-counsel re: Swickard MIL, expert discovery,
                   Equestrian                    Motion for Summary Judgment, 60 day notice, and motion to amend
  3/20/2024 CCKA   Center     Jason Flanders                                                                                       1.3    $640.00           $832.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment
  3/21/2024 CCKA   Center     Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                       Draft Phase II Motion for Summary Judgment re: Resource
                   Equestrian                    Conservation and Recovery Act and procedural history
  3/21/2024 CCKA   Center     Jason Flanders                                                                                       1.0    $640.00            $640.00            $0.00               0

                   Murieta                       Review of Carol Anderson Ward 60 day notice, email instructions to
                   Equestrian                    staff re: same
  3/21/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental discovery production
  3/21/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental production and Resource
  3/21/2024 CCKA   Center       Jason Flanders   Conservation and Recovery Act claim                                               0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with co-counsel re: Resource Conservation and Recovery Act
  3/21/2024 CCKA   Center       Jason Flanders   claims                                                                            0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment re: NPDES coverage
  3/22/2024 CCKA   Center       Jason Flanders                                                                                     0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment re: NPDES coverage
  3/22/2024 CCKA   Center       Jason Flanders   requirements                                                                      0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Review of Murieta Equestrian Center document production
  3/22/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Shefetz deposition and motion for leave to amend
  3/22/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with Tom Brett re: strategy for motion for leave to amend.
  3/22/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment re: discharges of
  3/24/2024 CCKA   Center       Jason Flanders   pollutants                                                                        0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment re: NPDES permitting
  3/24/2024 CCKA   Center       Jason Flanders                                                                                     0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Review and edit to whole of Phase II Motion for Summary Judgment
  3/25/2024 CCKA   Center       Jason Flanders                                                                                     1.7    $640.00           $1,088.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: strategies re: Motion for Summary Judgment,
  3/25/2024 CCKA   Center       Jason Flanders   Swickard MIL, motion to amend, follow up email to group re: same                  1.7    $640.00           $1,088.00           $0.00               0
                   Murieta
                   Equestrian
  3/25/2024 CCKA   Center       Jason Flanders   Emails to D. Hunt re: Motion for Summary Judgment, Swickard MIL, mo               0.2    $640.00            $128.00            $0.00               0



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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment re: days of violations and
  3/26/2024 CCKA   Center       Jason Flanders   discharges to waters of the United States                                          1.1    $640.00           $704.00           $0.00                0
                   Murieta
                   Equestrian                    Meet and confer to opposing counsel re: motion to amend complaint to
  3/26/2024 CCKA   Center       Jason Flanders   add C. Ward                                                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett following up on Shefftz deposition
  3/26/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft and revisions to motion for leave to amend complaint
  3/27/2024 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Draft motion to amend complaint
  3/27/2024 CCKA   Center       Jason Flanders                                                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment SUF, review and
  3/27/2024 CCKA   Center       Jason Flanders   compilation of evidence for same                                                   0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Pulled language for co-counsel to include in draft Third Amended
  3/27/2024 CCKA   Center       Jason Flanders   Complaint                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Phase II facts in motion to amend
  3/27/2024 CCKA   Center       Jason Flanders                                                                                      0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: factual background for motion to amend
  3/27/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: motion to amend
  3/27/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Email update to California Coastkeeper Alliance co-counsel re: motion
                   Equestrian                    to amend
  3/27/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with S. Fried re: motion to amend complaint, email to D. Hunt
  3/27/2024 CCKA   Center       Jason Flanders   and T. Brett re: same                                                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: revisions to factual background section
  3/27/2024 CCKA   Center       Jason Flanders   of motion for leave to amend.                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: motion to amend
  3/28/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00             $0.00         $128.00               0.2
                   Murieta
                   Equestrian                    Draft argument re: motion to amend complaint
  3/28/2024 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00                0




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                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                    Draft introduction to motion to amend complaint
  3/28/2024 CCKA   Center       Jason Flanders                                                                                          0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Updates to Phase II Motion for Summary Judgment SUF, compilation
  3/28/2024 CCKA   Center       Jason Flanders   of evidence re: same                                                                   0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with E. Maharg re: motion to amend
  3/28/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Teams meeting with co-counsel re: motion to amend
  3/29/2024 CCKA   Center       Jason Flanders                                                                                          0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: piercing corporate veil for motion to amend
  3/29/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt following meet and confer with opposing counsel re:
  3/29/2024 CCKA   Center       Jason Flanders   motion to amend complaint                                                              0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt in prep for motion to amend meet and confer
  3/29/2024 CCKA   Center       Jason Flanders                                                                                          1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: extension of rebuttal expert deadline
  3/29/2024 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: meet and confer on motion to amend
  3/29/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Follow up emails with co-counsel re: issues raised by Murieta
  3/29/2024 CCKA   Center       Jason Flanders   Equestrian Center in meet and confer on motion to amend                                0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Meet and confer with opposing counsel on motion to amend complaint
  3/29/2024 CCKA   Center       Jason Flanders                                                                                          0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edit to introduction to motion to amend
   4/1/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions in response to E. Maharg comments to motion to amend
   4/1/2024 CCKA   Center       Jason Flanders   complaint                                                                              0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to motion to amend complaint re: D. Hunt comments
   4/1/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edit to notice letter to C. Ward trust, instructions to staff for
   4/1/2024 CCKA   Center       Jason Flanders   service of same                                                                        0.2    $640.00           $128.00           $0.00               0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Call with T. Brett, and D. Hunt (part) re: motion to amend
   4/1/2024 CCKA   Center       Jason Flanders                                                                                        0.6    $640.00           $320.00          $64.00               0.1
                   Murieta
                   Equestrian                    Emails with co-counsel re: motion to amend, and potential joinder
   4/1/2024 CCKA   Center       Jason Flanders   issues                                                                               0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Further correspondence with L. Marshall re: motion to amend and
   4/1/2024 CCKA   Center       Jason Flanders   joinder of parties                                                                   0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: motion to amend
   4/2/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00            $64.00          $64.00               0.1
                   Murieta
                   Equestrian                    Revisions to motion to amend complaint
   4/2/2024 CCKA   Center       Jason Flanders                                                                                        0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Research re: issue preclusion and waiver for Motion for Summary
   4/2/2024 CCKA   Center       Jason Flanders   Judgment                                                                             0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to motion for leave to amend
   4/2/2024 CCKA   Center       Jason Flanders                                                                                        1.2    $640.00           $768.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: motion to amend, sealing documents, Motion for
   4/2/2024 CCKA   Center       Jason Flanders   Summary Judgment                                                                     0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: properly naming trust in complaint and next steps
   4/2/2024 CCKA   Center       Jason Flanders   for revising motion for summary judgment.                                            0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Teleconference with E. Bustos to for further instructions re: MPA
                   Equestrian                    pleading assignment.
   4/3/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center       Jason Flanders   Review of final clean copy with tables of motion for leave to amend revis            0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Review of motion to seal exhibits to motion for leave to amend
   4/3/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett and T. Trillo re: filing motion under seal
   4/3/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment SUF
   4/3/2024 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00           $128.00          $64.00               0.1
                   Murieta
                   Equestrian                    Email instructions to E. Bustos and T. Trillo re: filing motion under seal
   4/3/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Instructions to staff to complete and file motion to amend
   4/3/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Murieta Equestrian Center financial expert
   4/3/2024 CCKA   Center       Jason Flanders   deposition, email to team re: same                                                  0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Conference with D. Hunt re: motion for leave to amend
   4/3/2024 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Conference with D. Hunt re: Phase II Motion for Summary Judgment
   4/3/2024 CCKA   Center       Jason Flanders   comments and strategies                                                             1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with California Coastkeeper Alliance co-counsel re:
   4/3/2024 CCKA   Center       Jason Flanders   title deed search for Carol Anderson Ward Trust                                     0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with Sheffetz
   4/3/2024 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00           $256.00           $0.00               0
                   Murieta                       discuss Motion for Summary Judgment brief and strategy with D. Hunt
                   Equestrian
   4/3/2024 CCKA   Center       Jason Flanders                                                                                       0.9    $640.00           $576.00           $0.00               0
                   Murieta
                   Equestrian                    Initial prep for McCurley deposition
   4/4/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Draft Phase II Motion for Summary Judgment (1.1); call with T. Brett re:
   4/4/2024 CCKA   Center       Jason Flanders   NPDES section of same (.4)                                                          1.5    $640.00           $960.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to draft Phase II Motion for Summary Judgment
   4/4/2024 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Review of Phase I rain data and rain data needs for Phase II Motion for
   4/4/2024 CCKA   Center       Jason Flanders   Summary Judgment, instructions to staff re: same                                    0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II SUF
   4/4/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Trillo re: motion to seal
   4/4/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email instructions to E. Bustos re: McCurley deposition notice
   4/4/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email instructions to L. Marshall re: assistance with Phase II Motion for
   4/4/2024 CCKA   Center       Jason Flanders   Summary Judgment                                                                    0.2    $640.00           $128.00           $0.00               0




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Date      Client   Matter       Staff            Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Edits to draft phase II Motion for Summary Judgment
   4/5/2024 CCKA   Center     Jason Flanders                                                                                        0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Review responded to and accepted comments and redlines on Motion
   4/5/2024 CCKA   Center     Jason Flanders     for Summary Judgment                                                               0.4    $640.00           $256.00           $0.00                0

                                                 Final review of motion for leave to amend, request to seal documents,
                   Murieta                       all ancillary documents in support thereof, email instructions to E.
                   Equestrian                    Bustos for filing and serving same
   4/5/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edit to McCurley deposition notice and request for
   4/5/2024 CCKA   Center       Jason Flanders   documents                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: additional revisions to draft third amended
   4/5/2024 CCKA   Center       Jason Flanders   complaint                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II Motion for Summary Judgment SUF
   4/5/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Call with T. Brett re: rain data, motion to amend, Motion for Summary
                   Equestrian                    Judgment arguments re: Concentrated Animal Feeding Operation
   4/5/2024 CCKA   Center     Jason Flanders     permittees                                                                         0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Call with T. Brett and D. Hunt (for part) re: additional allegations in
                   Equestrian                    motion to amend, Motion for Summary Judgment waters of the United
   4/5/2024 CCKA   Center     Jason Flanders     States arguments, rain data for days of violation                                  0.8    $640.00           $512.00           $0.00                0

                   Murieta                       Emails with California Coastkeeper Alliance co-counsel re: Motion for
                   Equestrian                    Summary Judgment arguments for direct and indirect discharges to
   4/5/2024 CCKA   Center       Jason Flanders   waters                                                                             0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with California Coastkeeper Alliance staff re: set up for
   4/8/2024 CCKA   Center       Jason Flanders   McCurley depo                                                                      0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Further edits to Phase II SUF (.2); call with T. Brett re: using Phase I
   4/8/2024 CCKA   Center       Jason Flanders   evidence for same (.1)                                                             0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review and comment on draft Phase II SUF
   4/8/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and revision to Phase II SUF (.2); call with T. Brett re: same
   4/8/2024 CCKA   Center       Jason Flanders   (.2)                                                                               0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Motion for Summary Judgment in response to comments
   4/8/2024 CCKA   Center       Jason Flanders   from D. Hunt                                                                       0.3    $640.00           $192.00           $0.00                0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Revisions to Phase II Motion for Summary Judgment re: NPDES
   4/8/2024 CCKA   Center       Jason Flanders   permitting, email update to D. Hunt re: same                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Phase II SUF re: discharges to waters of the United States
   4/8/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of draft Phase II Motion for Summary Judgment evidentiary
   4/8/2024 CCKA   Center       Jason Flanders   exhibits                                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Phase II dry weather inspection video for Motion for
   4/8/2024 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Phase II SUF, instructions to L. Marshall for updating
   4/8/2024 CCKA   Center       Jason Flanders   same with quotations to evidence                                                  0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: evidence for Phase II SUF
   4/8/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: evidence supporting Phase II Motion for Summary
   4/8/2024 CCKA   Center       Jason Flanders   Judgment SUF                                                                      0.3    $640.00           $128.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt re: scope of Phase I and Phase II evidence for Motion
   4/8/2024 CCKA   Center       Jason Flanders   for Summary Judgment                                                              0.4    $640.00           $256.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with co-counsel re: help on SUF
   4/8/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: evidence for Motion for Summary Judgment
   4/9/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Review of evidence for Phase II Motion for Summary Judgment
   4/9/2024 CCKA   Center       Jason Flanders                                                                                     0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with E. Bustos re: organizing and bates stamping exhibits for
   4/9/2024 CCKA   Center       Jason Flanders   Motion for Summary Judgment declaration                                           0.2    $640.00            $64.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with H. Beck re: citations to evidence for Phase II Motion for
   4/9/2024 CCKA   Center       Jason Flanders   Summary Judgment SUF                                                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: citation to evidence for Phase II Motion for
   4/9/2024 CCKA   Center       Jason Flanders   Summary Judgment                                                                  0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental productions and Motion for Summary
   4/9/2024 CCKA   Center       Jason Flanders   Judgment evidence                                                                 0.3    $640.00           $192.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                    Instructions to T. Brett re: curating Phase II Motion for Summary
   4/9/2024 CCKA   Center       Jason Flanders   Judgment evidence                                                                0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with California Coastkeeper Alliance staff re: McCurley depo
   4/9/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with H. Beck re: amending citations
  4/10/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Review and edits to Phase II Motion for Summary Judgment and SUF
  4/10/2024 CCKA   Center       Jason Flanders                                                                                    1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to Phase II Motion for Summary Judgment
  4/10/2024 CCKA   Center       Jason Flanders                                                                                    1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: finalizing SUF and exhibit evidence
  4/10/2024 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: horse wash video for Motion for Summary
  4/10/2024 CCKA   Center       Jason Flanders   Judgment SUF                                                                     0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Phase II Motion for Summary Judgment SUF
  4/10/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Teams with Bustos re: status of MPA for tables.
  4/11/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Draft questions for McCurley depo
  4/11/2024 CCKA   Center       Jason Flanders                                                                                    0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Further prep for McCurley depo
  4/11/2024 CCKA   Center       Jason Flanders                                                                                    0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Preparation for McCurley deposition
  4/11/2024 CCKA   Center       Jason Flanders                                                                                    1.0    $640.00           $640.00           $0.00               0
                   Murieta
                   Equestrian                    Review of documents and report in preparation for McCurley deposition
  4/11/2024 CCKA   Center       Jason Flanders                                                                                    0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Draft conclusion to Motion for Summary Judgment
  4/11/2024 CCKA   Center       Jason Flanders                                                                                    0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Edits to Motion for Summary Judgment length to improve pagination
  4/11/2024 CCKA   Center       Jason Flanders   and page breaks                                                                  0.3    $640.00           $192.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Final review and edit to entire Motion for Summary Judgment MPA
  4/11/2024 CCKA   Center     Jason Flanders                                                                                       0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edits to Flanders Dec. in support of Motion for Summary
  4/11/2024 CCKA   Center     Jason Flanders     Judgment                                                                          0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Review and revisions to Motion for Summary Judgment based on D.
                   Equestrian                    Hunt comments to Motion for Summary Judgment including updating
  4/11/2024 CCKA   Center       Jason Flanders   case law to violations section                                                    0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Review of supplemental document production for McCurley depo
  4/11/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: evidence in SUF
  4/11/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence and instructions to T. Brett to finalize rain data and
  4/11/2024 CCKA   Center       Jason Flanders   address comments in Phase II Motion for Summary Judgment                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Instructions to T. Brett re: rain tables
  4/11/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email to California Coastkeeper Alliance co-counsel re: revisions to
  4/11/2024 CCKA   Center       Jason Flanders   Swickard MIL                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with J. Shefftz re: McCurley depo
  4/11/2024 CCKA   Center       Jason Flanders                                                                                     1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: revisions to SUF and addition of
  4/11/2024 CCKA   Center       Jason Flanders   evidence to the same.                                                             0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  4/12/2024 CCKA   Center       Jason Flanders   Travel to/from McCurly depo                                                       3.0    $640.00           $960.00         $960.00               1.5

                   Murieta                       Teleconference with E. Bustos re: extracting lease document between
                   Equestrian                    Murieta Equestrian Center and Carol Anderson Ward.
  4/12/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Prep for McCurley depo
  4/12/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Preparation of fee settlement offer requested by opposing counsel,
  4/12/2024 CCKA   Center       Jason Flanders   review of timeslips re: same, email to D. Hunt re: same                           0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: evidence supporting SUF
  4/12/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0



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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Taking of McCurley deposition
  4/12/2024 CCKA   Center       Jason Flanders                                                                                       3.0    $640.00           $1,920.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: compressing Ex. A for filing and issues with image
  4/12/2024 CCKA   Center       Jason Flanders   resolution                                                                          0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Instructions to T. Brett re: settlement demand
  4/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: McCurley depo, settlement offer, upcoming motion
  4/15/2024 CCKA   Center       Jason Flanders   schedule                                                                            0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Draft follow up email to D. Hunt re: fee number / settlement offer to
  4/15/2024 CCKA   Center       Jason Flanders   opposing counsel.                                                                   0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental document production
  4/16/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: scope of supplemental document production
  4/17/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: settlement
  4/18/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to Swickard MIL
  4/18/2024 CCKA   Center       Jason Flanders                                                                                       1.1    $640.00            $704.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: fee and settlement negotiations
  4/18/2024 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: settlement, review of prior offers re:
  4/18/2024 CCKA   Center       Jason Flanders   same                                                                                0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: finalizing MIL to exclude Swickard Testimony
  4/18/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: reply to motion to amend
  4/22/2024 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Correspondence with T. Brett re: reply to motion to amend complaint
  4/22/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of rules and procedures re: motion to seal, correspondence
  4/23/2024 CCKA   Center       Jason Flanders   with T. Brett re: same                                                              0.1    $640.00             $64.00            $0.00               0




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                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                    Email to J. Patterson re: Motion for Summary Judgment briefing
  4/23/2024 CCKA   Center       Jason Flanders   schedule                                                                              0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Emails from and to opposing counsel re: requested Motion for
  4/23/2024 CCKA   Center       Jason Flanders   Summary Judgment briefing extensions                                                  0.4    $640.00            $256.00            $0.00               0
                   Murieta                       calls with D. Hunt regarding Defendant's requested Motion for
                   Equestrian                    Summary Judgment briefing extensions
  4/23/2024 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Review of draft reply in support of motion to amend
  4/24/2024 CCKA   Center       Jason Flanders                                                                                         0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Review and approval of stipulating re: Motion for Summary Judgment
  4/25/2024 CCKA   Center       Jason Flanders   briefing schedule                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: reply to motion to amend
  4/25/2024 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Draft reply re: motion to amend
  4/27/2024 CCKA   Center       Jason Flanders                                                                                         1.6    $640.00           $1,024.00           $0.00               0

                   Murieta                       Draft introduction to reply in support of motion to amend, edits to factual
                   Equestrian                    and discovery background section(.6); brief call with T. Brett re: same
  4/29/2024 CCKA   Center     Jason Flanders     (.1)                                                                                  0.7    $640.00            $448.00            $0.00               0

                   Murieta                       Emails from and to opposing counsel re: Murieta Equestrian Center's
                   Equestrian                    requested extension, correspondence with co-counsel re: same
  4/30/2024 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Draft request for remote appearance, instructions to E. Bustos re:
   5/1/2024 CCKA   Center       Jason Flanders   same                                                                                  0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Further correspondence with all counsel re: defendant's requested
   5/1/2024 CCKA   Center       Jason Flanders   extension for MIL opp                                                                 0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Correspondence with T. Brett, D. Hunt, and opposing counsel re:
   5/1/2024 CCKA   Center       Jason Flanders   opposing counsel extension request                                                    0.3    $640.00            $192.00            $0.00               0

                   Murieta                       Call with T. Brett re: prep for hearing on motion for leave to amend and
                   Equestrian                    negotiations with opposing counsel re: extending time for them to file
   5/1/2024 CCKA   Center     Jason Flanders     opposition to Plaintiff's Motion in Limine.                                           0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of court's order re: motion to seal and continuing motion to
   5/6/2024 CCKA   Center     Jason Flanders     amend, email to co-counsel re: same                                                   0.2    $640.00            $128.00            $0.00               0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                    Call with T. Brett re: prep for hearing on motion to amend
   5/6/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $128.00          $64.00               0.1
                   Murieta
                   Equestrian                    Emails with court clerk re: scheduling, call with D. Hunt re: same
   5/7/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Scheduling emails with the court, defendant, and in firm
   5/7/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with T. Brett re: settlement and bankruptcy research
   5/8/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: potential settlement and stay
   5/8/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: settlement
   5/8/2024 CCKA   Center       Jason Flanders                                                                                      0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with S. Fried re: potential settlement and stay
   5/8/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with S. Fried re: settlement
   5/8/2024 CCKA   Center       Jason Flanders                                                                                      0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: mediation costs
   5/9/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Serial calls with S. Fried, D. Hunt, S. Bothwell, and T. Simpson re:
   5/9/2024 CCKA   Center       Jason Flanders   mediation                                                                          0.7    $640.00             $0.00         $448.00               0.7
                   Murieta
                   Equestrian                    Review and edit to defendant draft stip re: hearing briefing and
   5/9/2024 CCKA   Center       Jason Flanders   mediation                                                                          0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email to all counsel re: mediation and stipulation to continue deadlines
   5/9/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: settlement
   5/9/2024 CCKA   Center       Jason Flanders                                                                                      0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: settlement status and applicable market rates
   5/9/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with J. Carusone re: bankruptcy
  5/10/2024 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00           $256.00           $0.00                0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Emails with S. Fried re: settlement
  5/10/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: bankruptcy counsel
  5/10/2024 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with co-counsel re: mediation, review of mediation information
  5/10/2024 CCKA   Center       Jason Flanders   re: same                                                                            0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft fee demand letter
  5/13/2024 CCKA   Center       Jason Flanders                                                                                       3.2    $640.00           $2,048.00           $0.00                0
                   Murieta
                   Equestrian                    Draft questions for bankruptcy attorney, correspondence with D. Hunt
  5/13/2024 CCKA   Center       Jason Flanders   re: same, email to bankruptcy attorney re: same                                     0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation
  5/13/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Instructions to T. Brett re: fee settlement
  5/13/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Multiple correspondence with T. Brett, D. Hunt, and mediator's office re:
  5/13/2024 CCKA   Center       Jason Flanders   mediation                                                                           0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with S. Fried re: settlement
  5/13/2024 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with J. Carusone and D. Hunt re: bankruptcy
  5/13/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with S. Fried re: mediation
  5/13/2024 CCKA   Center       Jason Flanders                                                                                       0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: assistance with bankruptcy issues and locating
  5/13/2024 CCKA   Center       Jason Flanders   consulting outside counsel.                                                         0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Research re: recent ED Cal market rates for mediation
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00              $0.00          $320.00               0.5
                   Murieta
                   Equestrian                    Call with D. Hunt re: mediation
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt re: mediation
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00              $0.00           $64.00               0.1




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Revisions to fee demand letter
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: fee demand letter
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with all counsel re: mediation
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: mediation
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with J. Patterson and S. Fried re: mediation
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with S. Fried re: mediation
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email to all counsel re: fee demand letter
  5/14/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: market rates
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: mediation brief
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $0.00          $64.00               0.1

                   Murieta                       Teams comms with E. Bustos confirming 5/17/24 mediation still on
                   Equestrian                    calendar as planned.
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft letter to S. Fried re: bankruptcy
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian                    Draft materials for Judge Newman for mediation
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Draft mediation statement and prep for call with mediator
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Summary of notes from BK attorney call for D. Hunt
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review and approval of retainer for J. Carosune
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00                0




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Date      Client   Matter       Staff            Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Instructions to T. Brett for support in fee negotiations
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with S. Fried and J. Patterson re: mediation
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Call with S. Fried re: mediation
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with J. Carosune re: bankruptcy
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt in prep for call with mediator
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: mediation
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Call with Judge Newman re: mediation
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.4    $640.00           $256.00           $0.00               0
                   Murieta
                   Equestrian                    Call with Judson Cursone re: Murieta Equestrian Center's sham
  5/15/2024 CCKA   Center       Jason Flanders   bankruptcy position                                                                 0.7    $640.00           $448.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with mediator's office re: mediation
  5/15/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Draft bankruptcy letter to o/c
  5/16/2024 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00           $320.00           $0.00               0
                   Murieta
                   Equestrian                    Draft letter to Murieta Equestrian Center re: bankruptcy
  5/16/2024 CCKA   Center       Jason Flanders                                                                                       1.5    $640.00           $960.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: cost and fee calculations
  5/17/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Consent Decree
  5/20/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Email to opposing counsel re: 2024 market rates
  5/20/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with J. Carusone re: Consent Decree
  5/21/2024 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00           $192.00           $0.00               0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Call with T. Brett consent decree
  5/22/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Emails with co-counsel re: Consent Decree and bankruptcy
  5/22/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to Consent Decree
  5/23/2024 CCKA   Center       Jason Flanders                                                                                       0.9    $640.00            $576.00            $0.00               0
                   Murieta
                   Equestrian                    Further emails with colleagues and client re: potential SEP recipients
  5/23/2024 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Work on settlement agreement including emails with M. Eaton; call with
  5/23/2024 CCKA   Center       Jason Flanders   D. Hunt (.3); and revisions to Consent Decree                                       0.8    $640.00            $512.00            $0.00               0
                   Murieta
                   Equestrian                    Draft Consent Decree revisions, sent to opposing counsel and mediator
  5/24/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with Judge Newman re: mediation
  5/24/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Calls and emails with E. DeLacy re: conservation easement, email to
  5/24/2024 CCKA   Center       Jason Flanders   D. Hunt re: same                                                                    0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Brief call (.2) and emails with D. Hunt re: drafting email to all counsel
  5/28/2024 CCKA   Center       Jason Flanders   and J. Newman re: mediation (.3)                                                    0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian
  5/29/2024 CCKA   Center       Jason Flanders   Edits to stipulation to modify briefing schedule (.2); call and emails with D       0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian
  6/27/2022 CCKA   Center       Jason Flanders                                                                                       0.7    $640.00            $448.00            $0.00               0
                   Murieta
                   Equestrian                    Review and analysis of Great America mediation statement
   6/3/2024 CCKA   Center       Jason Flanders                                                                                       0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Preparation for mediation
   6/4/2024 CCKA   Center       Jason Flanders                                                                                       0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Attendance at mediation
   6/4/2024 CCKA   Center       Jason Flanders                                                                                       3.2    $640.00           $2,048.00           $0.00               0

                   Murieta                       Call with T. Brett re: strategy for drafting complaint against Carol
                   Equestrian                    Anderson Ward and Trust.
   6/4/2024 CCKA   Center     Jason Flanders                                                                                         0.1    $640.00             $64.00            $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                    Emails with mediator and opposing counsel re: settlement
   6/5/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
   6/5/2024 CCKA   Center       Jason Flanders   Further correspondence with opposing and co-counsel re: mediation                0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re planning for MSJ and MIL
   6/6/2024 CCKA   Center       Jason Flanders                                                                                    0.6    $640.00             $0.00         $384.00               0.6
                   Murieta
                   Equestrian                    Planning for staffing for Motion for Summary Judgment and MIL replies
   6/6/2024 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Evaluation of def request to continue briefing for further settlement
   6/6/2024 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Further emails with all counsel re: mediation and briefing schedule
   6/6/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply outline with proposed
  6/10/2024 CCKA   Center       Jason Flanders   assignments for team                                                             0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply re: discharges of pollutants
  6/10/2024 CCKA   Center       Jason Flanders   to waters of the United States                                                   0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Draft response to ex parte application re: MIL
  6/10/2024 CCKA   Center       Jason Flanders                                                                                    0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Review of ex parte application for additional time to oppose MIL
  6/10/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Review of Murieta Equestrian Center Motion for Summary Judgment
                   Equestrian                    opp, response to statement of undisputed facts re: same, further
  6/10/2024 CCKA   Center       Jason Flanders   statement of facts re: same                                                      0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to response to ex parte application re: MIL, and declaration
  6/11/2024 CCKA   Center       Jason Flanders   in support                                                                       0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Def Motion for Summary Judgment SUF
  6/11/2024 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with L. Marshall re: Murieta Equestrian Center
  6/11/2024 CCKA   Center       Jason Flanders   arguments re: Rancho Murieta Community Services District permit                  0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with court clerk re: ex parte app on MIL schedule
  6/11/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00            $64.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Follow up email to all co-counsel re: assignments for Motion for
  6/11/2024 CCKA   Center     Jason Flanders     Summary Judgment reply                                                          0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Team meeting with California Coastkeeper Alliance co-counsel to
                   Equestrian                    discuss arguments and division of labor for Motion for Summary
  6/11/2024 CCKA   Center       Jason Flanders   Judgment reply                                                                  1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian                    Review of trial binder for hearing on Motion for Summary Judgment and
  6/12/2024 CCKA   Center       Jason Flanders   MTA, email to E. Bustos re: same                                                0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft reply to Motion for Summary Judgment re: discharges of
  6/12/2024 CCKA   Center       Jason Flanders   pollutants to waters of the United States                                       2.6    $640.00           $1,664.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: SUF
  6/12/2024 CCKA   Center       Jason Flanders                                                                                   0.3    $640.00            $128.00           $64.00               0.1
                   Murieta
                   Equestrian                    Emails with D. Hunt re: prep for 6/28 hearing
  6/12/2024 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with K. Newman re: case status
  6/12/2024 CCKA   Center       Jason Flanders                                                                                   0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply
  6/13/2024 CCKA   Center       Jason Flanders                                                                                   0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to Motion for Summary Judgment reply brief
  6/13/2024 CCKA   Center       Jason Flanders                                                                                   0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Correspondence with L. Marshall re: new 9th Cir precedent, follow up
  6/13/2024 CCKA   Center       Jason Flanders   research re: same                                                               0.5    $640.00            $320.00            $0.00                0

                   Murieta                       Correspondence with co-counsel re: Motion for Summary Judgment
                   Equestrian                    reply third party beneficiary argument, brief research re: same
  6/13/2024 CCKA   Center       Jason Flanders                                                                                   0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Draft Motion for Summary Judgment reply
  6/14/2024 CCKA   Center       Jason Flanders                                                                                   2.1    $640.00           $1,344.00           $0.00                0
                   Murieta
                   Equestrian                    Edited and commented on draft response to Murieta Equestrian Center
  6/14/2024 CCKA   Center       Jason Flanders   SUF                                                                             0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Edits to Motion for Summary Judgment reply
  6/14/2024 CCKA   Center       Jason Flanders                                                                                   0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Review and edit to Motion for Summary Judgment reply re: Rancho
  6/14/2024 CCKA   Center       Jason Flanders   Murieta Community Services District permit                                      0.3    $640.00            $192.00            $0.00                0



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                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction


                   Murieta                       Revisions to Motion for Summary Judgment reply re: standing and
                   Equestrian                    discharges of pollutants
  6/14/2024 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion for Summary Judgment SUF objections
  6/14/2024 CCKA   Center       Jason Flanders   and responses                                                                        0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment reply
  6/14/2024 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to reply in support of motion for summary
  6/14/2024 CCKA   Center       Jason Flanders   judgment.                                                                            0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Finalized response to def SUF
  6/17/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0

                   Murieta                       Revisions to all of Phase II Motion for Summary Judgment reply (2.4);
                   Equestrian                    short call with T. Brett re: same (.1)
  6/17/2024 CCKA   Center       Jason Flanders                                                                                        2.5    $640.00           $1,600.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to citations in Motion for Summary Judgment reply
  6/17/2024 CCKA   Center       Jason Flanders                                                                                        0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Review and revisions to documents for oral argument binder
  6/17/2024 CCKA   Center       Jason Flanders                                                                                        0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Review of citations and edits to same for TOA
  6/17/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: response to Def SUF in support of Motion for
  6/17/2024 CCKA   Center       Jason Flanders   Summary Judgment                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian                    Email to T Trillo for Motion for Summary Judgment Motion to Amend
  6/17/2024 CCKA   Center       Jason Flanders   trial binder                                                                         0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Review of timeslips and Patterson dec re: potential fee offer, email to
  6/19/2024 CCKA   Center       Jason Flanders   D. Hunt re: same                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Email to E. Bustos re: 6/28 hearing
  6/19/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with S. Fried re: settlement
  6/19/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Email to D. Hunt re: settlement
  6/19/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00             $64.00            $0.00               0



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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Correspondence with T. Brett re: MIL opp
  6/20/2024 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Oral argument outline for motion to amend complaint
  6/21/2024 CCKA   Center       Jason Flanders                                                                                         0.9    $640.00           $576.00           $0.00                0
                   Murieta
                   Equestrian                    Prep for oral argument on Motion to Amend
  6/21/2024 CCKA   Center       Jason Flanders                                                                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Further correspondence with T. Brett re: arguments for Swickard MIL
  6/21/2024 CCKA   Center       Jason Flanders   reply                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with T. Brett and co-counsel re: finalizing MIL
  6/24/2024 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: next steps for completing reply in support of motion
  6/25/2024 CCKA   Center       Jason Flanders   in limine to exclude Swickard testimony.                                              0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review edit comment and further instructions to T. Brett re: reply on
  6/26/2024 CCKA   Center       Jason Flanders   MIL re: Swickard                                                                      0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with K. Newman re: possible settlement pathways, email to client
  6/26/2024 CCKA   Center       Jason Flanders   and co-counsel re: same                                                               0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with E. Bustos and D. Hunt re: rescheduling hearings
  6/26/2024 CCKA   Center       Jason Flanders   for August                                                                            0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Teams meeting with D. Hunt L. Marshall S. Bothwell re: next steps
  6/26/2024 CCKA   Center       Jason Flanders   following reassignment and potential filing complaint against CAW                     0.6    $640.00           $384.00           $0.00                0
                   Murieta                       call with D. Hunt re: rescheduled hearings and avenues to resolution
                   Equestrian                    moving forward
  6/26/2024 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and edits to reply in support of MIL re: Swickard
  6/27/2024 CCKA   Center       Jason Flanders                                                                                         0.1    $640.00            $64.00           $0.00                0

                   Murieta                       Call with S. Fried re: complaint v. Carol Anderson Ward and potential
                   Equestrian                    settlement, email update to client and co-counsel re: same
  6/27/2024 CCKA   Center     Jason Flanders                                                                                           0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Email to D. Hunt re: case status
  7/16/2024 CCKA   Center     Jason Flanders                                                                                           0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt re: case status and potential next steps
  7/19/2024 CCKA   Center     Jason Flanders                                                                                           0.5    $640.00           $320.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                    Revisions to notice for rescheduling hearings, emails with E. Bustos
   8/7/2024 CCKA   Center       Jason Flanders   and co-counsel re: same                                                          0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of order of reassignment, review of Mag. Riordan bio and
   8/7/2024 CCKA   Center       Jason Flanders   calendar, internal emails re: rescheduling pending motions                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Preliminary review and organization of documents and hearing binder
  8/22/2024 CCKA   Center       Jason Flanders   for Motion for Summary Judgment Motion to Amend MIL                              0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Brief legal research re: Murieta Equestrian Center's request for
  8/22/2024 CCKA   Center       Jason Flanders   supplemental briefing                                                            0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Murieta Equestrian Center request for
  8/22/2024 CCKA   Center       Jason Flanders   supplemental briefing                                                            0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with S. Fried re: supplemental briefing
  8/22/2024 CCKA   Center       Jason Flanders                                                                                    0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett and E. Bustos re: following up with court regarding
  8/22/2024 CCKA   Center       Jason Flanders   provision of documents requested to be filed under seal.                         0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Murieta Equestrian Center request for
  8/23/2024 CCKA   Center       Jason Flanders   supplemental briefing                                                            0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Review of Murieta Equestrian Center request for supplemental briefing
  8/23/2024 CCKA   Center       Jason Flanders   and to continue Motion for Summary Judgment hearing                              0.1    $640.00            $64.00           $0.00                0
                   Murieta                       call with D. Hunt re: supplemental briefing request from Murieta
                   Equestrian                    Equestrian Center
  8/23/2024 CCKA   Center       Jason Flanders                                                                                    0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Murieta Equestrian Center request for
  8/24/2024 CCKA   Center       Jason Flanders   supplemental briefing                                                            0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Email to co-counsel and staff re: response to Murieta Equestrian
  8/24/2024 CCKA   Center       Jason Flanders   Center's request for supplemental briefing                                       0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with co-counsel re: Murieta Equestrian Center supplemental
  8/26/2024 CCKA   Center       Jason Flanders   briefing request                                                                 0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Call with D. Hunt re: supplemental briefing
  8/26/2024 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Teams chat with E. Bustos re: creating pleadings for request
                   Equestrian                    supplemental brief; review email with outline re: same.
  8/27/2024 CCKA   Center     Jason Flanders                                                                                      0.1    $640.00            $64.00           $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Review of legal analysis of Loper Bright and Corner Pose supreme
  8/27/2024 CCKA   Center     Jason Flanders     court decisions, review of Loper Bright re: application to APA                       0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Murieta Equestrian Center request for
  8/27/2024 CCKA   Center     Jason Flanders     supplemental briefing                                                                0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Emails with S. Fried re: supplemental briefing and sealed documents
  8/27/2024 CCKA   Center     Jason Flanders                                                                                          0.2    $640.00           $128.00           $0.00                0

                   Murieta                       Multiple scheduling emails with opposing counsel and co-counsel re:
                   Equestrian                    Motion for Summary Judgment hearing (.1); call with D. Hunt re: court
  8/27/2024 CCKA   Center       Jason Flanders   order re: same (.1)                                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: strategies, research questions, and delegation of
  8/28/2024 CCKA   Center       Jason Flanders   work for supplemental brief re: Loper Bright                                         0.9    $640.00           $576.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: supplemental brief on Loper Bright
  8/28/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Email outline of issues to research and for assignments re:
  8/28/2024 CCKA   Center       Jason Flanders   supplemental brief re: Loper Bright to D. Hunt                                       0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review and summary of Loper Bright for supplemental briefing, email
  8/29/2024 CCKA   Center       Jason Flanders   to D. Hunt re: same                                                                  0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Review of Loper Bright for supplemental brief
  8/29/2024 CCKA   Center       Jason Flanders                                                                                        1.4    $640.00           $896.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: strategy for supplemental briefing on loper bright.
  8/29/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Correspondence with opposing counsel re: Motion for Summary
  8/30/2024 CCKA   Center       Jason Flanders   Judgment hearing                                                                     0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Preparation for hearing on motion to amend
  8/30/2024 CCKA   Center       Jason Flanders                                                                                        0.4    $640.00           $256.00           $0.00                0

                                                 Further legal research re: statute of limitations to challenge
                                                 Concentrated Animal Feeding Operation regulation, regulatory history
                                                 including federal register notices for Concentrated Animal Feeding
                                                 Operation regulation, and review of Waterkeeper Alliance v. U.S.
                   Murieta                       Environmental Protection Agency re: challenges to the Concentrated
                   Equestrian                    Animal Feeding Operation rule
  8/30/2024 CCKA   Center     Jason Flanders                                                                                          1.3    $640.00           $832.00           $0.00                0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                    Review of statute of limitations for challenging U.S. Environmental
  8/30/2024 CCKA   Center     Jason Flanders     Protection Agency regs and exceptions thereto                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Correspondence with all counsel re: Motion for Summary Judgment
  8/30/2024 CCKA   Center     Jason Flanders     hearing                                                                             0.1    $640.00             $64.00            $0.00                0

                                                 Draft summary of U.S. Environmental Protection Agency Concentrated
                                                 Animal Feeding Operation regulations and U.S. Environmental
                   Murieta                       Protection Agency Rapanos Guidance, summary of facts and
                   Equestrian                    procedural history in case re: same, instructions to T. Brett for further
   9/3/2024 CCKA   Center     Jason Flanders     research and writing re: same                                                       0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian                    Draft summary of Loper Bright, intro, and outline of remaining
   9/3/2024 CCKA   Center     Jason Flanders     discussion re: supplemental brief                                                   1.1    $640.00            $704.00            $0.00                0

                                                 Draft supplemental brief re: Loper on Clean Water Act regulatory
                   Murieta                       history, revised introduction, and outline of relevant factual and
                   Equestrian                    procedural history
   9/3/2024 CCKA   Center       Jason Flanders                                                                                       1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian                    Emails with Judge Newman re: settlement (.2); and brief call with D.
   9/3/2024 CCKA   Center       Jason Flanders   Hunt re: same (.1)                                                                  0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental Loper Bright case
   9/4/2024 CCKA   Center       Jason Flanders                                                                                       0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Call with T. Brett re: supplemental Loper Bright brief and U.S.
   9/4/2024 CCKA   Center       Jason Flanders   Environmental Protection Agency Rapanos Guidance                                    0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Edits to Murieta Equestrian Center factual background in supplemental
   9/5/2024 CCKA   Center       Jason Flanders   Loper Bright brief                                                                  0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: revisions to Loper Bright Brief.
   9/6/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Review of T. Brett edits to supplemental Loper Bright brief
   9/9/2024 CCKA   Center       Jason Flanders                                                                                       0.1    $640.00              $0.00           $64.00               0.1

                                                 Draft Loper Bright supplemental brief re: Murieta Equestrian
                   Murieta                       Centerhanisms for judicial review, Waterkeeper Alliance and Nat'l Pork
                   Equestrian                    Producers background, analysis of same, edits to factual background
   9/9/2024 CCKA   Center     Jason Flanders                                                                                         1.9    $640.00           $1,216.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Loper Bright supplemental brief
  9/10/2024 CCKA   Center     Jason Flanders                                                                                         0.7    $640.00            $448.00            $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                    Email to Waterkeeper Alliance counsel re: supplemental Loper Bright
  9/10/2024 CCKA   Center       Jason Flanders   brief                                                                             0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: settlement inquiry from K. Newman
  9/11/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian                    Edits to whole of Loper Bright supplemental brief
  9/11/2024 CCKA   Center       Jason Flanders                                                                                     0.8    $640.00           $512.00           $0.00                0
                   Murieta
                   Equestrian                    Review of claim for fees and costs in response to request from
  9/11/2024 CCKA   Center       Jason Flanders   mediator K. Newman, email to D. Hunt re: same                                     0.3    $640.00           $192.00           $0.00                0

                   Murieta                       Instructions to T. Brett re: argument Concentrated Animal Feeding
                   Equestrian                    Operation rule is consistent with U.S. Environmental Protection Agency
  9/11/2024 CCKA   Center       Jason Flanders   authority and statute                                                             0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian
  9/11/2024 CCKA   Center       Jason Flanders   Call with D. Hunt re: call from K. Newman                                         0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with Judge Newman re: settlement
  9/11/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Call with K. Newman re: settlement
  9/11/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Draft arguments re: statutory authority for Concentrated Animal
  9/12/2024 CCKA   Center       Jason Flanders   Feeding Operation regs for supplemental brief                                     0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian                    Revisions to Loper Bright brief re: validity of Concentrated Animal
  9/12/2024 CCKA   Center       Jason Flanders   Feeding Operation regulations                                                     1.0    $640.00           $640.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Loper Bright brief and ag stormwater exemption
  9/12/2024 CCKA   Center       Jason Flanders                                                                                     0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Loper Bright brief re: validity of Concentrated
  9/12/2024 CCKA   Center       Jason Flanders   Animal Feeding Operation regulations                                              0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Loper Bright supplemental brief
  9/12/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian                    Review of regulatory history of Concentrated Animal Feeding Operation
  9/12/2024 CCKA   Center       Jason Flanders   regs for Loper Bright                                                             0.2    $640.00           $128.00           $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Loper Bright supplemental brief
  9/12/2024 CCKA   Center       Jason Flanders                                                                                     0.7    $640.00           $448.00           $0.00                0




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                                                                                                                                                                             Judgment Fee    Judgment
                                                                                                                                                                             Reduction       Time
                                                                                                                                                                                             Reduction
                   Murieta
                   Equestrian                    Emails with Waterkeeper Alliance and T. Brett re: Loper Bright briefing
  9/12/2024 CCKA   Center     Jason Flanders     on Concentrated Animal Feeding Operation regs                                          0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Follow up call with T. Brett re: revisions to loper bright supplemental
                   Equestrian                    brief.
  9/13/2024 CCKA   Center       Jason Flanders                                                                                          0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Call with T. Brett re: strategy for revisions to loper bright brief.
  9/13/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Draft Loper Bright supplemental brief re: Concentrated Animal Feeding
  9/13/2024 CCKA   Center       Jason Flanders   Operation regs                                                                         0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Follow up call with T. Brett re: research into applicability of judicial bar
  9/13/2024 CCKA   Center       Jason Flanders   at 1369(b) to Concentrated Animal Feeding Operation regs.                              0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with T. Brett re: Loper Bright brief
  9/16/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Final review and revisions to Loper Bright supplemental brief
  9/16/2024 CCKA   Center       Jason Flanders                                                                                          1.7    $640.00           $1,088.00           $0.00                0
                   Murieta
                   Equestrian                    Revision to all of Loper Bright supplemental brief
  9/16/2024 CCKA   Center       Jason Flanders                                                                                          0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Loper Bright brief
  9/16/2024 CCKA   Center       Jason Flanders                                                                                          1.6    $640.00            $960.00           $64.00               0.1
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: Murieta Equestrian Center's Loper
  9/16/2024 CCKA   Center       Jason Flanders   Bright brief                                                                           0.2    $640.00            $128.00            $0.00                0

                   Murieta                       Call with T. Brett re: subsequent research into whether U.S.
                   Equestrian                    Environmental Protection Agency is indispensable party to citizen
  9/16/2024 CCKA   Center     Jason Flanders     enforcement actions.                                                                   0.1    $640.00             $64.00            $0.00                0

                                                 Follow up call with T. Brett re: research into cases holding that U.S.
                                                 Environmental Protection Agency is not necessary and indispensable
                   Murieta                       party to Clean Water Act citizen suit to incorporate into supplemental
                   Equestrian                    loper bright brief.
  9/16/2024 CCKA   Center     Jason Flanders                                                                                            0.1    $640.00             $64.00            $0.00                0

                   Murieta                       Follow up call with T. Brett re: revisions to loper bright supplemental
                   Equestrian                    brief; argument re: U.S. Environmental Protection Agency not being
  9/16/2024 CCKA   Center     Jason Flanders     necessary and indispensable party.                                                     0.1    $640.00             $64.00            $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                    Additional evidentiary objections re: admin record evidence
  9/17/2024 CCKA   Center       Jason Flanders                                                                                     0.5    $640.00            $320.00            $0.00               0
                   Murieta
                   Equestrian                    Draft objections to Murieta Equestrian Center supplemental brief facts
  9/17/2024 CCKA   Center       Jason Flanders   and evidence                                                                      1.9    $640.00           $1,216.00           $0.00               0
                   Murieta
                   Equestrian                    Review of Murieta Equestrian Center supplemental Loper Bright brief
  9/17/2024 CCKA   Center       Jason Flanders   and attached material                                                             0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: prep for hearing on motion to amend
  9/17/2024 CCKA   Center       Jason Flanders                                                                                     0.2    $640.00            $128.00            $0.00               0
                   Murieta
                   Equestrian
  9/17/2024 CCKA   Center       Jason Flanders   Call with D. Hunt re: Murieta Equestrian Center's Loper Bright suppleme           0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with Judge Newman re: potential settlement
  9/17/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: evidentiary objections
  9/17/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Email to K. Foster re: supplemental Loper Bright brief
  9/17/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Email to mediator K. Newman re: supplemental briefing
  9/17/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Revisions to objections regarding administrative record rules
  9/18/2024 CCKA   Center       Jason Flanders                                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Review of recent Clean Water Act case law
  9/18/2024 CCKA   Center       Jason Flanders                                                                                     0.3    $640.00            $192.00            $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: case strategy and settlement
  9/18/2024 CCKA   Center       Jason Flanders                                                                                     0.4    $640.00            $256.00            $0.00               0
                   Murieta
                   Equestrian                    Review of second amended complaint
  9/19/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Call with T. Brett re: Motion to Amend hearing
  9/19/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: oral argument on three motions
  9/23/2024 CCKA   Center       Jason Flanders                                                                                     0.1    $640.00             $64.00            $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                    Review of case summaries in preparation for hearing on motion to
  9/24/2024 CCKA   Center       Jason Flanders   amend complaint                                                                0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    MSJ oral argument prep
  9/27/2024 CCKA   Center       Jason Flanders                                                                                  1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian                    Oral argument prep for Phase II Motion for Summary Judgment
  9/30/2024 CCKA   Center       Jason Flanders                                                                                  0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for oral argument on motion to amend complaint
  9/30/2024 CCKA   Center       Jason Flanders                                                                                  0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Call from K. Newman re: potential settlement, email summary to D.
  9/30/2024 CCKA   Center       Jason Flanders   Hunt re: same                                                                  0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for oral argument on motion to amend
  10/1/2024 CCKA   Center       Jason Flanders                                                                                  0.8    $640.00            $512.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for oral argument re: Phase II Motion for Summary Judgment
  10/1/2024 CCKA   Center       Jason Flanders                                                                                  0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for oral argument on motion to amend complaint
  10/2/2024 CCKA   Center       Jason Flanders                                                                                  0.5    $640.00            $320.00            $0.00                0

                                                 Teams comms with E. Bustos re: contact Judge Riordan's courtroom
                   Murieta                       deputy to inquire on protocol for PowerPoint/demonstrative exhibits.
                   Equestrian
  10/3/2024 CCKA   Center     Jason Flanders                                                                                    0.1    $640.00              $0.00           $64.00               0.1

                   Murieta                       Teams comms with E. Bustos re: equipment needed to use laptop in
                   Equestrian                    Eastern District of California courtroom for motion hearing
  10/3/2024 CCKA   Center       Jason Flanders                                                                                  0.2    $640.00              $0.00          $128.00               0.2
                   Murieta
                   Equestrian                    Prep for hearing on Motion for Summary Judgment
  10/3/2024 CCKA   Center       Jason Flanders                                                                                  1.3    $640.00            $832.00            $0.00                0
                   Murieta
                   Equestrian                    Preparation of oral argument for Phase II Motion for Summary
  10/3/2024 CCKA   Center       Jason Flanders   Judgment                                                                       0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    A108 Communicate (other external)
  10/3/2024 CCKA   Center       Jason Flanders   Video conference with D. Hunt to prepare for October 8 oral argument           2.6    $640.00           $1,600.00          $64.00               0.1
                   Murieta
                   Equestrian                    Draft power point for Motion for Summary Judgment oral argument re:
  10/6/2024 CCKA   Center       Jason Flanders   discharges of pollutants to waters of the United States                        2.2    $640.00           $1,408.00           $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Draft power point slides for Motion for Summary Judgment hearing re:
  10/6/2024 CCKA   Center       Jason Flanders   failure to obtain permit coverage                                                  1.1    $640.00            $704.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for hearing on motion to amend complaint
  10/7/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Prep for hearing on MTA
  10/7/2024 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00            $256.00            $0.00                0
                   Murieta
                   Equestrian                    Preparation for hearing on motion to amend
  10/7/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00                0

                   Murieta                       Review of oral argument outline re: motion to amend, review of Brett
                   Equestrian                    declaration and exhibits re: same (.3); call with T. Brett re: same (.2)
  10/7/2024 CCKA   Center       Jason Flanders                                                                                      0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian                    Updates to outlines, demonstratives, and other materials for hearing on
  10/7/2024 CCKA   Center       Jason Flanders   Motion for Summary Judgment and MTA                                                0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian                    Final review and polishing of PowerPoint for Motion for Summary
  10/7/2024 CCKA   Center       Jason Flanders   Judgment                                                                           0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Revisions to power point on Motion for Summary Judgment
  10/7/2024 CCKA   Center       Jason Flanders                                                                                      0.4    $640.00            $256.00            $0.00                0

                   Murieta                       Review of Murieta Equestrian Center responses to California
                   Equestrian                    Coastkeeper Alliance's evidentiary objections re: supplemental briefing
  10/7/2024 CCKA   Center       Jason Flanders                                                                                      0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian                    Call with D. Hunt re: Motion for Summary Judgment and injunctive relief
  10/7/2024 CCKA   Center       Jason Flanders                                                                                      0.3    $640.00            $192.00            $0.00                0
                   Murieta
                   Equestrian                    Meeting with D. Hunt in prep for hearing on Motion for Summary
  10/7/2024 CCKA   Center       Jason Flanders   Judgment, MTA, and MIL                                                             1.0    $640.00            $640.00            $0.00                0
                   Murieta
                   Equestrian
  10/8/2024 CCKA   Center       Jason Flanders   Travel to and from oral argument on Motion for Summary Judgment, MT                3.0    $640.00            $960.00          $960.00               1.5
                   Murieta
                   Equestrian                    Call with T. Brett re: hearing on motion for leave to amend, motion for
  10/8/2024 CCKA   Center       Jason Flanders   summary judgment, and motion in limine.                                            0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian                    Prep for hearing on Motion for Summary Judgment and MTA
  10/8/2024 CCKA   Center       Jason Flanders                                                                                      0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian                    Oral argument on Motion for Summary Judgment, MTA, MIL
  10/8/2024 CCKA   Center       Jason Flanders                                                                                      2.0    $640.00           $1,280.00           $0.00                0



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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                    Draft injunctive relief for California Coastkeeper Alliance co-counsel
 11/22/2024 CCKA   Center       Jason Flanders   review                                                                               0.8    $640.00           $512.00           $0.00               0
                   Murieta
                   Equestrian                    Call with D. Hunt re: injunctive relief
 11/22/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Call with I. Wren re: draft injunctive relief
 11/22/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Revisions to draft injunctive relief for email review to I. Wren
 11/24/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with co-counsel re: injunctive relief
 11/25/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with D. Hunt re: upcoming filing obligations
 11/25/2024 CCKA   Center       Jason Flanders                                                                                        0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Emails with I. Wren re: injunctive relief
 11/25/2024 CCKA   Center       Jason Flanders                                                                                        0.1    $640.00            $64.00           $0.00               0
                   Murieta                       call with D. Hunt re: case strategy, settlement prospects, and next
                   Equestrian                    steps following meet and confer with opposing counsel re: injunctive
 11/26/2024 CCKA   Center       Jason Flanders   relief                                                                               0.6    $640.00           $384.00           $0.00               0
                   Murieta
                   Equestrian
  12/3/2024 CCKA   Center       Jason Flanders   Multiple correspondence with opposing counsel re: injunctive relief                  0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Instructions to E. Bustos re: creating and filing joint statement on
  12/5/2024 CCKA   Center       Jason Flanders   injunctive relief                                                                    0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with co-counsel and opposing counsel re: joint
  12/5/2024 CCKA   Center       Jason Flanders   statement on injunctive relief                                                       0.2    $640.00           $128.00           $0.00               0
                   Murieta
                   Equestrian                    Correspondence with opposing counsel re: joint statement on injunctive
  12/5/2024 CCKA   Center       Jason Flanders   relief                                                                               0.1    $640.00            $64.00           $0.00               0

                   Murieta                       Telephone call with E. Bustos re: lodging of erroneous proposed order
                   Equestrian                    at ECF docket 165.
  12/9/2024 CCKA   Center     Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00               0
                   Murieta
                   Equestrian                    Draft supplemental statement re: order on injunctive relief,
  12/9/2024 CCKA   Center     Jason Flanders     correspondence with co-counsel and staff re: same                                    0.3    $640.00           $192.00           $0.00               0
                   Murieta
                   Equestrian                    Review and comment on draft supplemental statement
 12/10/2024 CCKA   Center     Jason Flanders                                                                                          0.1    $640.00            $64.00           $0.00               0




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                                                                                                                                                                  Judgment Fee    Judgment
                                                                                                                                                                  Reduction       Time
                                                                                                                                                                                  Reduction
                   Murieta
                   Equestrian                    Correspondence with D. Hunt re: multiple pleadings
 12/10/2024 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
   7/1/2022 CCKA   Center       Jason Flanders                                                                                 0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian
   7/6/2022 CCKA   Center       Jason Flanders                                                                                 0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00             $0.00          $64.00               0.1
                   Murieta
                   Equestrian
  10/6/2022 CCKA   Center       Jason Flanders                                                                                 0.5    $640.00           $320.00           $0.00                0
                   Murieta
                   Equestrian
  11/3/2022 CCKA   Center       Jason Flanders                                                                                 0.9    $640.00           $576.00           $0.00                0

                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center       Jason Flanders                                                                                 0.3    $640.00           $192.00           $0.00                0
                   Murieta
                   Equestrian
 11/29/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center       Jason Flanders                                                                                 0.6    $640.00           $384.00           $0.00                0
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00            $64.00           $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Jason Flanders                                                                                 0.1    $640.00             $0.00          $64.00               0.1




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00             $64.00            $0.00                0
                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       Jason Flanders                                                                                    0.7    $640.00            $448.00            $0.00                0
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       Jason Flanders                                                                                    0.5    $640.00            $320.00            $0.00                0
                   Murieta
                   Equestrian
  1/23/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center       Jason Flanders                                                                                    1.4    $640.00              $0.00          $896.00               1.4
                   Murieta
                   Equestrian
   5/9/2024 CCKA   Center       Jason Flanders                                                                                    0.1    $640.00              $0.00           $64.00               0.1
                   Murieta
                   Equestrian
  5/10/2024 CCKA   Center       Jason Flanders                                                                                    0.6    $640.00            $384.00            $0.00                0
                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center       Jason Flanders                                                                                    0.2    $640.00            $128.00            $0.00                0
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       Jason Flanders                                                                                    1.2    $640.00            $768.00            $0.00                0
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       Jason Flanders                                                                                    1.5    $640.00            $960.00            $0.00                0
                   Murieta
                   Equestrian                     Begin researching plaintiff voluntarily dismisses claim under Federal
  11/3/2021 CCKA   Center       Kenya Rothstein   Rule of Civil Procedure 41(a)(10) and refiles.                                  1.0    $218.00            $218.00            $0.00                0
                   Murieta
                   Equestrian                     Continue research on Federal Rule of Civil Procedure 41(a)(1) claims.
  11/4/2021 CCKA   Center       Kenya Rothstein                                                                                   5.0    $218.00           $1,090.00           $0.00                0
                   Murieta
                   Equestrian                     Research on which waters of the United States rule is effective.
 11/11/2021 CCKA   Center       Kenya Rothstein                                                                                   1.3    $218.00            $283.40            $0.00                0
                   Murieta
                   Equestrian                     Distinguished Johnson and Sprague cases cited by defense counsel
  1/28/2022 CCKA   Center       Kenya Rothstein   and compared them to the facts of case.                                         1.4    $345.00            $483.00            $0.00                0




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                                                                                                                                                                            Judgment Fee    Judgment
                                                                                                                                                                            Reduction       Time
                                                                                                                                                                                            Reduction


                                                  Continued analyzing and distinguishing cases and started researching
                   Murieta                        for Magistrate Barnes orders (ED Cal) re: leave to amend.
                   Equestrian
  1/31/2022 CCKA   Center     Kenya Rothstein                                                                                          3.1    $345.00           $1,069.50           $0.00                0

                   Murieta                        Continued researching Magistrate Barnes orders (ED Cal) re: leave to
                   Equestrian                     amend.
  1/31/2022 CCKA   Center     Kenya Rothstein                                                                                          1.7    $345.00            $586.50            $0.00                0

                   Murieta                        Determined next steps - distinguishing cases cited by defense counsel
                   Equestrian
  1/31/2022 CCKA   Center     Kenya Rothstein                                                                                          0.1    $345.00             $34.50            $0.00                0

                   Murieta                        Finalized memo re: leave to amend and added orders by Magistrate
                   Equestrian                     Barnes re: leave to amend.
   2/1/2022 CCKA   Center     Kenya Rothstein                                                                                          0.2    $345.00             $69.00            $0.00                0
                   Murieta
                   Equestrian
  4/13/2022 CCKA   Center     Kenya Rothstein     Start research on service options after 3 failed attempts at personal serv           0.7    $345.00            $241.50            $0.00                0

                   Murieta                        Continue research on service options after 3 failed attempts at personal
                   Equestrian                     service on a third party trustee.
  4/15/2022 CCKA   Center     Kenya Rothstein                                                                                          0.8    $345.00            $276.00            $0.00                0
                   Murieta
                   Equestrian                     Create new matter.
  11/6/2018 CCKA   Center     L. Wood                                                                                                  0.1    $218.00              $0.00           $21.80               0.1
                                                                                                                    Attend
                   Murieta                        virtual meet and confer with Attorneys J. Flanders, T. Brett, D. Hunt, S.
                   Equestrian                     Fried, and J. Patterson in connection with ongoing discovery dispute
  3/11/2024 CCKA   Center     Lauren Marshall     concerning the Phase II deposition of Ian Wren.                                      0.7    $520.00              $0.00          $364.00               0.7
                   Murieta                        Review and revise Motion in Limine to exclude Defendant's expert T.
                   Equestrian                     Swickard.
  3/12/2024 CCKA   Center     Lauren Marshall                                                                                          1.0    $520.00            $520.00            $0.00                0
                                                  Review and revise Motion in Limine to exclude expert testimony of Mr.
                   Murieta                        Swickard (2.7); review Mr. Swickard's Expert Report in connection with
                   Equestrian                     the same (0.7); review expert report of Plaintiff's expert Ian Wren in
  3/13/2024 CCKA   Center       Lauren Marshall   connection with the same (0.5).                                                      3.9    $520.00           $2,028.00           $0.00                0
                   Murieta                        Review and revise MIL to exclude testimony of defense expert T.
                   Equestrian                     Swickard (1.3); email with attorneys J. Flanders, T. Brett, and D. Hunt
  3/15/2024 CCKA   Center       Lauren Marshall   regarding the same (0.2).                                                            1.5    $520.00            $780.00            $0.00                0
                   Murieta                        Meeting with Attorneys T. Brett, J. Flanders, and D. Hunt to discuss
                   Equestrian                     outstanding discovery needs, [redacted], and forthcoming motions.
  3/20/2024 CCKA   Center       Lauren Marshall                                                                                        1.3    $520.00              $0.00          $676.00               1.3
                   Murieta                        Review draft Motion for Summary Judgment - Phase II.
                   Equestrian
  3/20/2024 CCKA   Center       Lauren Marshall                                                                                        1.0    $520.00            $520.00            $0.00                0



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                                                                                                                                                                         Judgment Fee     Judgment
                                                                                                                                                                         Reduction        Time
                                                                                                                                                                                          Reduction
                                                  Attend and meet and confer with Attorneys T. Brett, J. Flanders, D.
                                                  Hunt, S. Friend, and J. Patterson regarding Plaintiff's forthcoming
                   Murieta                        motion for leave to file Third Amended Complaint, potential settlement
                   Equestrian                     discussions, and requested extension of rebuttal expert deadline.
  3/29/2024 CCKA   Center     Lauren Marshall                                                                                         0.9    $520.00             $0.00         $468.00                0.9
                                                  Email with Attorneys D. Hunt and J. Flanders regarding addition of
                   Murieta                        Trustee/Trust as Defendant and how to do so; review Federal Rule of
                   Equestrian                     Civil Procedure and prior filings in connection with confirmation of
  3/29/2024 CCKA   Center       Lauren Marshall   proper procedures for the same.                                                     0.4    $520.00           $208.00           $0.00                 0
                   Murieta                        Discussion with Attorneys D. Hunt, T. Brett, and J. Flanders regarding
                   Equestrian                     outstanding tasks and research needs for forthcoming Motion Seeking
  3/29/2024 CCKA   Center       Lauren Marshall   Leave to File Third Amended Complaint.                                              0.5    $520.00           $260.00           $0.00                 0
                   Murieta                        Draft Proposed Third Amended Complaint.
                   Equestrian
  3/29/2024 CCKA   Center       Lauren Marshall                                                                                       1.2    $520.00             $0.00         $624.00                1.2
                   Murieta                        Draft, review, and revise proposed Third Amended Complaint; review
                   Equestrian                     research and notes on RCO doctrine, alter ego theory, and trust liability
  3/31/2024 CCKA   Center       Lauren Marshall   in connection with the same.                                                        1.1    $520.00             $0.00         $572.00                1.1
                   Murieta                        Correspond with Attorneys D. Hunt, J. Flanders, and T. Brett regarding
                   Equestrian                     bankruptcy concerns.
   4/1/2024 CCKA   Center       Lauren Marshall                                                                                       0.2    $520.00             $0.00         $104.00                0.2
                                                  Research Federal Rule of Civil Procedure governing joinder and
                   Murieta                        discuss via email potential inclusion of the same in forthcoming motion
                   Equestrian                     seeking leave to amend complaint with Attorneys D. Hunt, J. Flanders,
   4/1/2024 CCKA   Center     Lauren Marshall     and T. Brett.                                                                       0.8    $520.00           $416.00           $0.00                 0
                   Murieta                        Research compulsory versus permissive joinder in connection with
                   Equestrian                     forthcoming Motion Seeking Leave to File Third Amended Complaint to
   4/1/2024 CCKA   Center     Lauren Marshall     name additional defendants.                                                         0.4    $520.00           $208.00           $0.00                 0
                                                  Review emails with Attorneys D. Hunt, T. Brett, and J. Flanders
                                                  regarding Defendant's rebuttal expert report, applicability of the same
                   Murieta                        as related to forthcoming motion seeking leave to amend complaint,
                   Equestrian                     and documents identified in report but not disclosed as part of ongoing
   4/2/2024 CCKA   Center     Lauren Marshall     discovery.                                                                          0.1    $520.00            $52.00           $0.00                 0
                                                  Review emails with Attorneys D. Hunt, T. Brett, and J. Flanders
                   Murieta                        regarding potential inclusion of joinder argument in forthcoming Motion;
                   Equestrian                     email regarding availability for potential additional research needs in
   4/3/2024 CCKA   Center     Lauren Marshall     connection with the same.                                                           0.1    $520.00            $52.00           $0.00                 0
                                                  Review cases cited in Rapanos regarding indirect discharge rationale
                                                  and/or point source rationale; summarize the same; correspond with
                   Murieta                        Attorneys J. Flanders, D. Hunt, and T. Brett regarding the same all in
                   Equestrian                     connection with forthcoming Motion for Summary Judgment, Phase II.
   4/4/2024 CCKA   Center     Lauren Marshall                                                                                         7.3    $520.00             $0.00        $3,796.00               7.3
                   Murieta                        Correspond with Attorney D. Hunt regarding [REDACTED] in
                   Equestrian                     connection with Phase II Motion for Summary Judgment.
   4/5/2024 CCKA   Center     Lauren Marshall                                                                                         0.3    $520.00           $156.00           $0.00                 0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta                        Review and revise SUF in connection with forthcoming Phase II Motion
                   Equestrian                     for Summary Judgment.
   4/9/2024 CCKA   Center       Lauren Marshall                                                                                        0.9    $520.00             $0.00         $468.00               0.9
                   Murieta                        Review and revise MIL to exclude Swickard testimony.
                   Equestrian
  4/13/2024 CCKA   Center       Lauren Marshall                                                                                        1.0    $520.00           $520.00           $0.00                0
                   Murieta                        Review and revise MIL regarding Swickard testimony.
                   Equestrian
  4/15/2024 CCKA   Center       Lauren Marshall                                                                                        1.3    $520.00           $676.00           $0.00                0
                   Murieta                                           Pull recording numbers for documents
                   Equestrian                     [199912090851, 200005230850, 200509212319].
  4/19/2024 CCKA   Center       Lauren Marshall                                                                                        0.1    $218.00             $0.00          $21.80               0.1
                   Murieta                        Phone call with Attorney T. Brett regarding final revisions to Motion in
                   Equestrian                     Limine to exclude T. Swickard expert testimony.
  4/19/2024 CCKA   Center       Lauren Marshall                                                                                        0.1    $520.00            $52.00           $0.00                0
                   Murieta                        Phone call with Sacramento recorder's office to order Grant Deed
                   Equestrian                     copies.
  4/23/2024 CCKA   Center       Lauren Marshall                                                                                        0.3    $218.00            $65.40           $0.00                0
                   Murieta                        Sacramento County Recorder: copies of recorded Grant Deed for real
                   Equestrian                     property underlying facility in connection with ongoing investigation into
  4/24/2024 CCKA   Center       Lauren Marshall   Trust.                                                                               1.0    $218.00           $218.00           $0.00                0
                   Murieta                        Review correspondence regarding Motion for Summary Judgment
                   Equestrian                     opposition and hearing schedule.
  4/24/2024 CCKA   Center       Lauren Marshall                                                                                        0.1    $520.00            $52.00           $0.00                0
                   Murieta                        Correspond with co-counsel regarding opp extension request for MIL.
                   Equestrian
  4/30/2024 CCKA   Center       Lauren Marshall                                                                                        0.1    $520.00            $52.00           $0.00                0
                   Murieta                                                           Coordinate with legal intern Abby
                   Equestrian                     Dodd regarding drafting Notice of Appearance and local procedures for
   5/2/2024 CCKA   Center       Lauren Marshall   the same.                                                                            0.4    $520.00             $0.00         $208.00               0.4
                   Murieta                                                           Finalize and file Notice of
                   Equestrian                     Appearance.
  5/13/2024 CCKA   Center       Lauren Marshall                                                                                        0.5    $520.00             $0.00         $260.00               0.5
                   Murieta                        Review Defendant's opposition to Phase II Motion for Summary
                   Equestrian                     Judgment.
  6/10/2024 CCKA   Center       Lauren Marshall                                                                                        0.3    $520.00           $156.00           $0.00                0
                                                  Review opposition to Phase II Motion for Summary Judgment (0.3);
                   Murieta                        virtual meeting with Attorneys D. Hunt, T. Brett, and J. Flanders to
                   Equestrian                     strategize and allocate tasks for reply in response to the same (1.1).
  6/11/2024 CCKA   Center     Lauren Marshall                                                                                          1.4    $520.00           $728.00           $0.00                0
                   Murieta                        Draft Phase II Motion for Summary Judgment regarding NPDES permit
                   Equestrian                     coverage and MS4 permitting theory.
  6/12/2024 CCKA   Center     Lauren Marshall                                                                                          1.7    $520.00           $884.00           $0.00                0
                   Murieta                        Draft reply to Phase II Motion for Summary Judgment.
                   Equestrian
  6/13/2024 CCKA   Center     Lauren Marshall                                                                                          1.5    $520.00           $780.00           $0.00                0




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                                                                                                                                                                            Judgment Fee     Judgment
                                                                                                                                                                            Reduction        Time
                                                                                                                                                                                             Reduction
                                                  Draft reply to Murieta Equestrian Center's opposition to Phase II Motion
                                                  for Summary Judgment; review Rancho Murieta Community Services
                   Murieta                        District SWMP in connection with the same; correspond with attorneys
                   Equestrian                     J. Flanders, D. Hunt, and T. Brett regarding the same.
  6/14/2024 CCKA   Center       Lauren Marshall                                                                                        6.0    $520.00              $0.00         $3,120.00                6
                   Murieta                        Review edits to Phase II Motion for Summary Judgment reply section
                   Equestrian                     regarding Small MS4 permit and fill in citations to the same.
  6/17/2024 CCKA   Center       Lauren Marshall                                                                                        0.5    $520.00            $260.00            $0.00                 0
                   Murieta                        Email with Attorneys D. Hunt, J. Flanders, and T. Brett regarding Phase
                   Equestrian                     II MS4 permit SWMP requirements.
  6/17/2024 CCKA   Center       Lauren Marshall                                                                                        0.2    $520.00            $104.00            $0.00                 0
                   Murieta                        Review Defendant's opposition to Motion in Limine.
                   Equestrian
  6/17/2024 CCKA   Center       Lauren Marshall                                                                                        0.2    $520.00            $104.00            $0.00                 0

                   Murieta                        Conference call with Attorneys D. Hunt, S. Bothwell, and J. Flanders
                   Equestrian                     regarding next steps in light of recent hearing rescheduling and
  6/26/2024 CCKA   Center       Lauren Marshall   forthcoming judicial reassignment.                                                   1.0    $520.00              $0.00          $520.00                 1
                   Murieta                        Review correspondence and court notification regarding judicial
                   Equestrian                     reassignment.
   8/6/2024 CCKA   Center       Lauren Marshall                                                                                        0.1    $520.00             $52.00            $0.00                 0
                   Murieta                        Review minute order and correspondence regarding hearing
                   Equestrian                     scheduling and supplemental briefing.
  8/27/2024 CCKA   Center       Lauren Marshall                                                                                        0.1    $520.00             $52.00            $0.00                 0
                   Murieta                        Review proposed injunctive relief requests and submit proposed
                   Equestrian                     revisions to the same (via email with Attorneys J. Flanders, D. Hunt).
 11/22/2024 CCKA   Center       Lauren Marshall                                                                                        0.3    $520.00            $156.00            $0.00                 0
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       Lauren Marshall                                                                                        4.3    $520.00           $2,236.00           $0.00                 0
                   Murieta
                   Equestrian
   6/4/2024 CCKA   Center       Lauren Marshall                                                                                        0.2    $520.00            $104.00            $0.00                 0
                   Murieta
                   Equestrian
  11/1/2021 CCKA   Center       M. Maclear                                                                                             0.3 $670.00                 $0.00          $201.00                0.3
                   Murieta
                   Equestrian                     Teleconference with J. Flanders re: expert discovery vis-a-vis fact
  1/26/2021 CCKA   Center       M. Maclear        discovery closing dates for scheduling order.                                        0.2 $670.00                 $0.00          $134.00                0.2
                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center       M. Maclear        Respond to correspondence from J. Flanders regarding memo concerni                   0.2 $670.00                 $0.00          $134.00                0.2
                   Murieta
                   Equestrian                     Call with T. Brett re: service on trust
   2/8/2022 CCKA   Center       M. Maclear                                                                                             0.2 $670.00                 $0.00          $134.00                0.2




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                       Call with J. Flanders re: expert report supplement
  4/21/2022 CCKA   Center       M. Maclear                                                                                            0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian                       Teleconference with J. Flanders re: recent events and developments.
   5/3/2022 CCKA   Center       M. Maclear                                                                                            0.3 $670.00                $0.00         $201.00               0.3
                   Murieta
                   Equestrian                       Analyze and manage file migration amongst email and telephone call
   5/4/2022 CCKA   Center       M. Maclear          with staff.                                                                       0.2 $670.00                $0.00         $134.00               0.2
                   Murieta
                   Equestrian                       Call with J. Flanders re: planning of existing case schedule and needs
  6/15/2022 CCKA   Center       M. Maclear                                                                                            0.4 $670.00                $0.00         $268.00               0.4
                   Murieta
                   Equestrian                       Call with J. Flanders re: draft Rancho Murieta Community Services
  6/30/2022 CCKA   Center       M. Maclear          District deposition notice                                                        0.2 $670.00                $0.00         $134.00               0.2
                   Murieta
                   Equestrian
   7/7/2022 CCKA   Center       M. Maclear          Staff meeting and assignments.                                                    0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian                       Call with T. Brett re: I. Wren declaration in support of Motion for
  9/21/2022 CCKA   Center       M. Maclear          Summary Judgment                                                                  0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian                       Call with T. Brett re: opp to defs Motion for Summary Judgment
   1/4/2023 CCKA   Center       M. Maclear                                                                                            0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian                       Teleconference with J. Flanders re: legal strategy, settlement options,
   5/1/2023 CCKA   Center       M. Maclear          and staff resources                                                               0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian                       Call T. Brett re: econ expert out reach
 11/17/2023 CCKA   Center       M. Maclear                                                                                            0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian                       Call with M. Maclear re: deposition prep
   1/4/2024 CCKA   Center       M. Maclear                                                                                            0.2 $670.00                $0.00         $134.00               0.2
                   Murieta
                   Equestrian                       Call with T. Brett re: deposition defense prep
  3/16/2024 CCKA   Center       M. Maclear                                                                                            0.4 $670.00                $0.00         $268.00               0.4
                   Murieta
                   Equestrian                       Call with T. Brett re: status of Phase II MS J
  4/10/2024 CCKA   Center       M. Maclear                                                                                            0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center       M. Maclear                                                                                            0.1 $670.00                $0.00          $67.00               0.1
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Theresa Trillo                                                                                        3.1    $218.00           $675.80           $0.00                0




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                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center       Theresa Trillo                                                                                        0.7    $218.00           $152.60           $0.00                0
                   Murieta
                   Equestrian
  3/29/2022 CCKA   Center       Theresa Trillo                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Draft notice of appearance for D. Hunt and research Local Rules.
  8/16/2021 CCKA   Center       Theresa Trillo                                                                                        0.8    $218.00           $174.40           $0.00                0
                   Murieta
                   Equestrian                       Review Local Rule 182 and example notice of association of counsel;
  8/20/2021 CCKA   Center       Theresa Trillo      send info to J. Flanders.                                                         0.5    $218.00           $109.00           $0.00                0
                   Murieta
                   Equestrian                       Draft notice of association and send to J. Flanders for review.
   9/2/2021 CCKA   Center       Theresa Trillo                                                                                        1.5    $218.00           $327.00           $0.00                0
                   Murieta
                   Equestrian                       Create spreadsheet with dates from scheduling order and add to
 10/15/2021 CCKA   Center       Theresa Trillo      calendar.                                                                         0.7    $218.00           $152.60           $0.00                0
                   Murieta
                   Equestrian                       Finalize and file notice of appearance for D. Hunt.
 10/27/2021 CCKA   Center       Theresa Trillo                                                                                        0.4    $218.00            $87.20           $0.00                0
                   Murieta
                   Equestrian                       Work on draft of settlement conference statement.
  11/3/2021 CCKA   Center       Theresa Trillo                                                                                        0.4    $218.00            $87.20           $0.00                0
                   Murieta
                   Equestrian                       Continue draft of settlement conference statement.
  11/5/2021 CCKA   Center       Theresa Trillo                                                                                        0.8    $218.00             $0.00         $174.40               0.8
                   Murieta
                   Equestrian                       Finish draft of Murieta Equestrian Center settlement conference
  11/8/2021 CCKA   Center       Theresa Trillo      statement.                                                                        1.9    $218.00           $414.20           $0.00                0
                   Murieta
                   Equestrian                       Convert jpeg to pdf, bates stamp, and create caption for first
 11/15/2021 CCKA   Center       Theresa Trillo      supplemental document production.                                                 1.1    $218.00           $239.80           $0.00                0
                   Murieta
                   Equestrian                       Update rainfall excel chart.
 11/23/2021 CCKA   Center       Theresa Trillo                                                                                        0.8    $218.00           $174.40           $0.00                0
                   Murieta
                   Equestrian                       Call to Atkinson-Baker re: status of 11/15 deposition transcript.
 11/30/2021 CCKA   Center       Theresa Trillo                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Left message with Brandon at Atkinson-Baker re: status of 11/15
  12/2/2021 CCKA   Center       Theresa Trillo      deposition transcript.                                                            0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
  1/12/2022 CCKA   Center       Theresa Trillo      Download and share new S. Bothwell files from Veritext with J. Flanders           0.1    $218.00            $21.80           $0.00                0




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Date      Client   Matter       Staff               Description                                                                     Hours         Rate       Total             Billing         Billing
                                                                                                                                                                               Judgment Fee    Judgment
                                                                                                                                                                               Reduction       Time
                                                                                                                                                                                               Reduction
                   Murieta
                   Equestrian
  1/12/2022 CCKA   Center     Theresa Trillo        Telephone call with Veritext to get new file links for S. Bothwell transcript           0.1    $218.00            $21.80           $0.00                0

                                                    Review Magistrate Barnes' scheduling order for case, look for standing
                   Murieta                          orders, and review local rules for requirements on modifying scheduling
                   Equestrian                       order. Revise draft stipulation re: scheduling order.
  1/14/2022 CCKA   Center       Theresa Trillo                                                                                              1.2    $218.00           $261.60           $0.00                0
                   Murieta
                   Equestrian                       Edits to draft stip & proposed order.
   2/4/2022 CCKA   Center       Theresa Trillo                                                                                              0.6    $218.00           $130.80           $0.00                0
                   Murieta
                   Equestrian                       File stipulation re: scheduling and proposed order and send native word
   2/4/2022 CCKA   Center       Theresa Trillo      version to judge.                                                                       0.5    $218.00           $109.00           $0.00                0
                   Murieta
                   Equestrian                       Review local rules and judge's "standard information" for info on filing
   2/4/2022 CCKA   Center       Theresa Trillo      stipulations and proposed orders.                                                       0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center       Theresa Trillo      Edit caption pages for USACOE subpoena. Look for service address an                     0.6    $218.00           $130.80           $0.00                0
                   Murieta
                   Equestrian                       Telephone call with J. Flanders re: U.S. Army Corps of Engineers
   2/7/2022 CCKA   Center       Theresa Trillo      subpoena.                                                                               0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                       Finalize and submit subpoenas for California Department of Fish and
   2/8/2022 CCKA   Center       Theresa Trillo      Wildlife and Regional Board.                                                            2.0    $218.00           $436.00           $0.00                0

                                                    Finalize U.S. Army Corps of Engineers subpoena documents and Proof
                   Murieta                          of Service. Submit subpoena order to ACE and email to opposing
                   Equestrian                       counsel.
   2/8/2022 CCKA   Center     Theresa Trillo                                                                                                1.3    $218.00           $283.40           $0.00                0

                   Murieta                          Locate service address for Regional Water Board and DFW. Send
                   Equestrian                       email to J. Flanders re: same. Finalize Proof of Service for each
   2/8/2022 CCKA   Center     Theresa Trillo        subpoena.                                                                               0.8    $218.00           $174.40           $0.00                0

                   Murieta                          Confirm no trial date is set for case and email C. Hudak re: same.
                   Equestrian                       Listen to voicemail from U.S. Army Corps of Engineers and email them
   2/8/2022 CCKA   Center     Theresa Trillo        re: address for personal service of subpoena.                                           0.5    $218.00           $109.00           $0.00                0
                   Murieta
                   Equestrian                       Telephone call with ACE re: service of process turn around time for
   2/8/2022 CCKA   Center     Theresa Trillo        delivery attempt. Email to J. Flanders re: same.                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Call with J. Flanders re: subpoena service on California Department of
   2/9/2022 CCKA   Center     Theresa Trillo        Fish and Wildlife                                                                       0.1    $218.00             $0.00          $21.80               0.1




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Date      Client   Matter     Staff               Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                        Create tables for motion for leave to file Second Amended Complaint
                   Equestrian                     and edit declaration cites. Assist with finalizing exhibits.
  2/10/2022 CCKA   Center     Theresa Trillo                                                                                        3.0    $218.00           $654.00           $0.00                0
                   Murieta
                   Equestrian                     Telephone call with E. Bustos re: ECF filing of Second Amended
  2/10/2022 CCKA   Center     Theresa Trillo      Complaint.                                                                        0.2    $218.00             $0.00          $43.60               0.2

                   Murieta                        Calls with T. Brett re: Touhy letter to U.S. Army Corps of Engineers
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00            $43.60           $0.00                0

                   Murieta                        call with T. Brett re: service of requests for admission and requests
                   Equestrian                     for production
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                     Call with T. Brett re: service of additional discovery on defendant and
  2/11/2022 CCKA   Center     Theresa Trillo      third party.                                                                      0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                     Call with T. Brett re: subpoena to water resources control board.
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00            $21.80           $0.00                0

                   Murieta                        Telephone call with T. Brett re: Murieta Equestrian Center discovery
                   Equestrian                     checklist.
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian
  2/11/2022 CCKA   Center     Theresa Trillo      Finalize and submit Touhy request and subpoenas to state water board,             3.3    $218.00           $719.40           $0.00                0

                   Murieta                        Finalize Proof of Service for requests for admission and requests for
                   Equestrian                     production. Email to opposing counsel.
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.5    $218.00           $109.00           $0.00                0
                   Murieta
                   Equestrian                     Calendar motion hearing and rename filed motion documents.
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.3    $218.00            $65.40           $0.00                0

                   Murieta                        Finalize and email letter to opposing counsel re: duty to supplement
                   Equestrian                     discovery responses.
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00            $43.60           $0.00                0

                   Murieta                        Telephone call with T. Brett re: Murieta Equestrian Center discovery
                   Equestrian                     checklist.
  2/11/2022 CCKA   Center     Theresa Trillo                                                                                        0.1    $218.00            $21.80           $0.00                0

                   Murieta                        Find service of subpoenas in practice guide and send pictures of
                   Equestrian                     findings to T. Brett.
  2/15/2022 CCKA   Center     Theresa Trillo                                                                                        0.7    $218.00           $152.60           $0.00                0



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Date      Client   Matter       Staff               Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                       Call to Sacramento County Clerk Recorder re: subpoena of documents.
  2/15/2022 CCKA   Center     Theresa Trillo                                                                                           0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                       Calls with T. Brett re: call to Sacramento County Clerk Recorder for
  2/15/2022 CCKA   Center     Theresa Trillo        subpoena information.                                                              0.1    $218.00            $21.80           $0.00                0

                                                    Create excel spreadsheet of discovery and subpoenas with response
                   Murieta                          deadlines. Follow up with ACE re: Carol Anderson and U.S. Army
                   Equestrian                       Corps of Engineers subpoenas.
  2/16/2022 CCKA   Center       Theresa Trillo                                                                                         1.1    $218.00           $239.80           $0.00                0
                   Murieta
                   Equestrian                       Call with T. Brett re: subpoena on county and withdrawal of U.S. Army
  2/16/2022 CCKA   Center       Theresa Trillo      Corps of Engineers subpoena.                                                       0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Call with T. Brett re: Sacramento County public works subpoena.
  2/17/2022 CCKA   Center       Theresa Trillo                                                                                         0.1    $218.00             $0.00          $21.80               0.1
                   Murieta
                   Equestrian                       Call with T. Brett re: subpoenas and notice of appearance.
  2/17/2022 CCKA   Center       Theresa Trillo                                                                                         0.1    $218.00             $0.00          $21.80               0.1
                   Murieta
                   Equestrian                       Finalize subpoenas to Sacramento County department of water
  2/17/2022 CCKA   Center       Theresa Trillo      resources and planning & environmental review.                                     1.0    $218.00           $218.00           $0.00                0
                   Murieta
                   Equestrian                       Email opposing counsel dept of water resources and office of planning
  2/17/2022 CCKA   Center       Theresa Trillo      & env review subpoenas. Attempt to place online order with service                 0.7    $218.00           $152.60           $0.00                0
                   Murieta
                   Equestrian                       Draft notice of association for T. Brett. Email draft with local rule.
  2/17/2022 CCKA   Center       Theresa Trillo                                                                                         0.3    $218.00            $65.40           $0.00                0

                                                    Calls to county office of planning and environmental review and Second
                   Murieta                          Amended Complaint county department of water resources re: service
                   Equestrian                       addresses for subpoenas.
  2/17/2022 CCKA   Center     Theresa Trillo                                                                                           0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Update dates and deadlines in master spreadsheet and calendar.
  2/18/2022 CCKA   Center     Theresa Trillo                                                                                           0.8    $218.00           $174.40           $0.00                0
                   Murieta
                   Equestrian                       Telephone call and emails with ACE re: Sacramento County
  2/18/2022 CCKA   Center     Theresa Trillo        subpoenas.                                                                         0.2    $218.00            $43.60           $0.00                0

                   Murieta                          Update discovery spreadsheet with Sacramento County subpoenas.
                   Equestrian
  2/18/2022 CCKA   Center     Theresa Trillo                                                                                           0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Call with T. Brett re: notice of association draft.
  2/22/2022 CCKA   Center     Theresa Trillo                                                                                           0.1    $218.00            $21.80           $0.00                0



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Date      Client   Matter       Staff               Description                                                                   Hours         Rate       Total               Billing         Billing
                                                                                                                                                                               Judgment Fee    Judgment
                                                                                                                                                                               Reduction       Time
                                                                                                                                                                                               Reduction


                   Murieta                          Added delivery dates for Sacramento County subpoenas to
                   Equestrian                       spreadsheet and forward confirmation to T. Brett and J. Flanders.
  2/23/2022 CCKA   Center     Theresa Trillo                                                                                              0.1    $218.00             $21.80            $0.00               0

                   Murieta                          Draft Proof of Service for second site inspection request and serve on
                   Equestrian                       opposing counsel.
  2/24/2022 CCKA   Center     Theresa Trillo                                                                                              0.3    $218.00             $65.40            $0.00               0
                   Murieta
                   Equestrian                       Call with T. Brett re: e-service of Rule 34 site inspection request
  2/24/2022 CCKA   Center     Theresa Trillo                                                                                              0.1    $218.00             $21.80            $0.00               0

                   Murieta                          Download and save California Department of Fish and Wildlife
                   Equestrian                       subpoena responses and record response date in discovery
   3/1/2022 CCKA   Center     Theresa Trillo        spreadsheet.                                                                          0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                       Download and save Touhy response files to share drive. Email to J.
   3/2/2022 CCKA   Center     Theresa Trillo        Flanders and T. Brett re: same.                                                       0.8    $218.00            $174.40            $0.00               0

                                                    Locate ED Cal local rules re: brief tables. Check formatting and cites of
                   Murieta                          reply in support of mtn for leave to file Second Amended Complaint.
                   Equestrian                       Send new version to J. Flanders and E. Maharg.
   3/3/2022 CCKA   Center       Theresa Trillo                                                                                            1.2    $218.00            $261.60            $0.00               0
                   Murieta
                   Equestrian                       PDF and file reply in support of mtn for leave to file Second Amended
   3/4/2022 CCKA   Center       Theresa Trillo      Complaint.                                                                            0.3    $218.00             $65.40            $0.00               0
                   Murieta
                   Equestrian                       Begin uploading State Water Resources Control Board subpoena
   3/7/2022 CCKA   Center       Theresa Trillo      documents to share.                                                                   2.1    $218.00            $457.80            $0.00               0
                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center       Theresa Trillo      Finish uploading State Water Resources Control Board subpoena and in                  3.6    $218.00            $784.80            $0.00               0
                   Murieta
                   Equestrian                       Telephone calls with E. Bustos re: downloading and saving DoD files.
   3/8/2022 CCKA   Center       Theresa Trillo                                                                                            0.2    $218.00             $43.60            $0.00               0

                   Murieta                          Save tranche 01 production documents from Rancho Murieta
                   Equestrian                       Community Services District to file.
  3/14/2022 CCKA   Center     Theresa Trillo                                                                                              0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian
  3/22/2022 CCKA   Center     Theresa Trillo        Assist in finalizing I. Wren expert report and expert disclosures. Formatti           8.1    $218.00           $1,765.80           $0.00               0
                   Murieta
                   Equestrian                       Download and save Rancho Murieta Community Services District
  3/28/2022 CCKA   Center     Theresa Trillo        second document production.                                                           0.2    $218.00             $43.60            $0.00               0




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                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction
                   Murieta
                   Equestrian                       Telephone calls with E. Bustos and J. Flanders re: production of
  3/29/2022 CCKA   Center       Theresa Trillo      subpoena response documents.                                                        0.3    $218.00            $43.60          $21.80               0.1
                   Murieta
                   Equestrian                       Download defendant's documents responsive to requests for
   4/1/2022 CCKA   Center       Theresa Trillo      production Set Three.                                                               3.3    $218.00           $719.40           $0.00                0
                   Murieta
                   Equestrian                       Finalize, serve, and submit to vendor Carol Anderson subpoena.
   4/1/2022 CCKA   Center       Theresa Trillo                                                                                          0.9    $218.00           $196.20           $0.00                0
                   Murieta
                   Equestrian                       Telephone call with T. Brett re: Carol Anderson subpoena.
   4/1/2022 CCKA   Center       Theresa Trillo                                                                                          0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Telephone call with ACE legal services re: cutoff time to submit
   4/1/2022 CCKA   Center       Theresa Trillo      subpoena for personal service in Rancho Murieta, CA.                                0.1    $218.00            $21.80           $0.00                0

                   Murieta                          Finalize meet and confer letter. Email to J. Flanders re: same. Email to
                   Equestrian                       opposing counsel.
   4/4/2022 CCKA   Center       Theresa Trillo                                                                                          0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                       Upload defendant's documents responsive to requests for production
   4/5/2022 CCKA   Center       Theresa Trillo      Set Three to case file.                                                             2.0    $218.00           $436.00           $0.00                0
                   Murieta
                   Equestrian                       Call with T. Brett re: notice of appearance
   4/5/2022 CCKA   Center       Theresa Trillo                                                                                          0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                       Edit/finalize requests for production meet and confer letter. Email to J.
   4/7/2022 CCKA   Center       Theresa Trillo      Flanders re: same.                                                                  0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian
  4/14/2022 CCKA   Center       Theresa Trillo      Submit joint statement to Judge Barnes and copy opposing counsel. Als               0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                       File joint statement via ECF system.
  4/15/2022 CCKA   Center       Theresa Trillo                                                                                          0.3    $218.00            $65.40           $0.00                0
                   Murieta
                   Equestrian                       Save minutes for proceedings held 4/18/22 (docket 54) to file.
  4/18/2022 CCKA   Center       Theresa Trillo                                                                                          0.1    $218.00            $21.80           $0.00                0

                   Murieta                          Prepare Carol Anderson R45 subpoena for mailing and take to USPS
                   Equestrian                       for certified mail/restricted delivery.
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                            1.5    $218.00           $327.00           $0.00                0

                   Murieta                          Email to J. Flanders and T. Brett clarifying USPS signature option for
                   Equestrian                       Carol Anderson subpoena. Draft Proof of Service.
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                            0.4    $218.00            $87.20           $0.00                0




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Date      Client   Matter     Staff               Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                        Review and respond to email regarding serving Carol Anderson R45
                   Equestrian                     subpoena.
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                         0.2    $218.00            $43.60           $0.00               0

                   Murieta                        Review R45 and LR for service and filing requirements for subpoenas.
                   Equestrian                     Email J. Flanders and T. Brett with follow up questions re: Carol
  4/20/2022 CCKA   Center     Theresa Trillo      Anderson subpoena.                                                                 0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                     Telephone call with E. Bustos re: filing non-party subpoenas
  4/20/2022 CCKA   Center     Theresa Trillo                                                                                         0.1    $218.00            $21.80           $0.00               0

                   Murieta                        Telephone call with Jolene at ACE re: unsuccessful attempts serving
                   Equestrian                     Carol Anderson subpoena.
  4/21/2022 CCKA   Center     Theresa Trillo                                                                                         0.2    $218.00            $43.60           $0.00               0

                   Murieta                        Add expenses from USPS and travel to Chaos. Track certified mail
                   Equestrian                     packages for Carol Anderson subpoena and sign up for email
  4/21/2022 CCKA   Center     Theresa Trillo      notifications.                                                                     0.2    $218.00            $43.60           $0.00               0

                   Murieta                        Email to J. Flanders and T. Brett forwarding USPS delivery
                   Equestrian                     confirmation for Anderson subpoena (Rancho Murieta location).
  4/22/2022 CCKA   Center     Theresa Trillo                                                                                         0.2    $218.00            $43.60           $0.00               0

                   Murieta                        Review J. Flanders email re: creating project planning spreadsheet and
                   Equestrian                     attempt to access sample. Email. J. Flanders asking for attachment.
  4/22/2022 CCKA   Center     Theresa Trillo                                                                                         0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                     Create excel spreadsheet with project outline. Email to J. Flanders.
  4/26/2022 CCKA   Center     Theresa Trillo                                                                                         0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian                     Locate USPS delivery emails for the Carol Anderson Ward subpoena.
  4/26/2022 CCKA   Center     Theresa Trillo      Forward to T. Brett and J. Flanders.                                               0.2    $218.00            $43.60           $0.00               0

                   Murieta                        Telephone call with T. Brett re: Carol Anderson Ward subpoena USPS
                   Equestrian                     delivery status and summarizing attempts to serve for meet and confer
  4/26/2022 CCKA   Center     Theresa Trillo      letter.                                                                            0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                     Revise and add calendar dates based on agreed extensions (04/27
  4/28/2022 CCKA   Center     Theresa Trillo      email). Update master spreadsheet to reflect changes.                              0.4    $218.00            $87.20           $0.00               0
                   Murieta
                   Equestrian                     Conferred with J. Flanders re: revisions to schedule and beginning draft
  4/28/2022 CCKA   Center     Theresa Trillo      of RJN.                                                                            0.1    $218.00            $21.80           $0.00               0




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Date      Client   Matter       Staff               Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction


                                                    Create new file folders for Motion for Summary Judgment and RJN.
                                                    Start saving documents to RJN draft exhibits folder. List additional
                   Murieta                          documents to draft RJN. Email J. Flanders re: review of initial
                   Equestrian                       documents.
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                           0.9    $218.00           $196.20           $0.00               0

                   Murieta                          Draft template RJN and begin to add exhibits to list. Email to J.
                   Equestrian                       Flanders re: same.
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                           0.7    $218.00           $152.60           $0.00               0
                   Murieta
                   Equestrian                       Finalize and serve set two ROGs.
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                           0.5    $218.00           $109.00           $0.00               0

                   Murieta                          Review and respond to J. Flanders email re: documents to add to RJN
                   Equestrian                       list.
  4/29/2022 CCKA   Center     Theresa Trillo                                                                                           0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo        Save copy of 3/22 I. Wren expert Dropbox file to SharePoint.                       1.2    $218.00           $261.60           $0.00               0

                   Murieta                          Migrate supplemental expert files from box to new Dropbox folder.
                   Equestrian                       Email to J. Flanders re: same.
   5/2/2022 CCKA   Center     Theresa Trillo                                                                                           0.8    $218.00           $174.40           $0.00               0
                   Murieta
                   Equestrian
   5/2/2022 CCKA   Center     Theresa Trillo        Finalize and serve supplemental expert report, disclosures, Proof of Ser           0.5    $218.00           $109.00           $0.00               0

                   Murieta                          Review and respond to J. Flanders email re: game plan for service of
                   Equestrian                       supplemental expert report.
   5/2/2022 CCKA   Center       Theresa Trillo                                                                                         0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                       Draft Proof of Service for supplemental expert report.
   5/2/2022 CCKA   Center       Theresa Trillo                                                                                         0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                       Revise expert witness disclosures and send to J. Flanders for
   5/2/2022 CCKA   Center       Theresa Trillo      review/edits.                                                                      0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                       Add additional files to supplemental expert Dropbox folder. Email to J.
   5/2/2022 CCKA   Center       Theresa Trillo      Flanders re: same.                                                                 0.1    $218.00            $21.80           $0.00               0

                                                    Gather information on Carol Anderson Ward service attempts. Begin to
                   Murieta                          draft template of meet and confer letter re: Carol Anderson Ward
                   Equestrian                       subpoena.
   5/3/2022 CCKA   Center     Theresa Trillo                                                                                           1.3    $218.00           $283.40           $0.00               0




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Date      Client   Matter     Staff               Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian
   5/3/2022 CCKA   Center     Theresa Trillo      Download and save supplemental expert file from Dropbox to SharePoin               0.5    $218.00           $109.00           $0.00               0

                   Murieta                        Revisions to meet and confer letter re: Carol Anderson Ward
                   Equestrian                     subpoena. Email to T. Brett with draft.
   5/4/2022 CCKA   Center     Theresa Trillo                                                                                         0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                     Telephone call with T. Brett re: draft meet and confer letter.
   5/4/2022 CCKA   Center     Theresa Trillo                                                                                         0.1    $218.00            $21.80           $0.00               0

                                                  Review J. Flander's email re: saving and calendaring Defendant's
                   Murieta                        interrogatories and requests for productions. Save to file, calendar
                   Equestrian                     response deadline, and update master spreadsheet. Email J. Flanders
   5/5/2022 CCKA   Center     Theresa Trillo      re: same.                                                                          0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                     Scan and save Carol Anderson Ward subpoena USPS return receipts.
   5/5/2022 CCKA   Center     Theresa Trillo      Email to J. Flanders and T. Brett.                                                 0.3    $218.00            $65.40           $0.00               0

                   Murieta                        Draft Proof of Service for objections to Defendant's notice of continued
                   Equestrian                     deposition of IW. Finalize objections and serve on opposing counsel.
   5/9/2022 CCKA   Center     Theresa Trillo                                                                                         0.5    $218.00           $109.00           $0.00               0
                   Murieta
                   Equestrian                     Telephone call with ACE attorney services re: attempts of service for
   5/9/2022 CCKA   Center     Theresa Trillo      02/11 Carol Anderson Ward subpoena.                                                0.3    $218.00            $65.40           $0.00               0
                   Murieta
                   Equestrian                     Telephone calls with T. Brett re: Carol Anderson Ward subpoena
   5/9/2022 CCKA   Center     Theresa Trillo      attempts on 02/14.                                                                 0.2    $218.00            $43.60           $0.00               0

                   Murieta                        Draft Proof of Service for third rule 34 inspection request. Finalize
                   Equestrian                     request and Proof of Service. Electronically serve on opposing counsel.
  5/10/2022 CCKA   Center     Theresa Trillo                                                                                         0.3    $218.00            $65.40           $0.00               0

                   Murieta                        Convert emails from ACE Attorney Services re: Carol Anderson Ward
                   Equestrian                     subpoenas to pdf. Save to share and email folder to J. Flanders and T.
  5/11/2022 CCKA   Center     Theresa Trillo      Brett.                                                                             0.3    $218.00            $65.40           $0.00               0

                   Murieta                        Review opposing counsel email re: Dropbox link to 3/22 I. Wren Expert
                   Equestrian                     file. Create new link and respond to opposing counsel email.
  5/11/2022 CCKA   Center     Theresa Trillo                                                                                         0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                     Call with T. Brett re: filing motion for alternative service of Carol
  5/12/2022 CCKA   Center     Theresa Trillo      Anderson Ward subpoena and ex parte app for OST                                    0.1    $218.00            $21.80           $0.00               0
                   Murieta
                   Equestrian                     Locate emails serving Ian Wren supplemental production. Forward
  8/31/2022 CCKA   Center     Theresa Trillo      emails to J. Flanders                                                              0.3    $218.00            $65.40           $0.00               0




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Date      Client   Matter       Staff               Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                              Judgment Fee    Judgment
                                                                                                                                                                              Reduction       Time
                                                                                                                                                                                              Reduction
                   Murieta
                   Equestrian                       Telephone call with J. Flanders re: file locations of document
  8/31/2022 CCKA   Center       Theresa Trillo      productions for all three Ian Wren reports.                                          0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                       Telephone call with J. Flanders re: previous service of Ian Wren
  8/31/2022 CCKA   Center       Theresa Trillo      supplemental production.                                                             0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Download and save docket 66 to file.
  10/3/2022 CCKA   Center       Theresa Trillo                                                                                           0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Update master case spreadsheet with upcoming 10/18 informal
  10/4/2022 CCKA   Center       Theresa Trillo      conference.                                                                          0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Update dates and deadlines on master case spreadsheet.
 10/21/2022 CCKA   Center       Theresa Trillo                                                                                           0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Download and save ECF dkt 70 to case file.
 10/25/2022 CCKA   Center       Theresa Trillo                                                                                           0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Download and save ECF dkts 72 and 73. Calendar motion hearing.
 11/16/2022 CCKA   Center       Theresa Trillo                                                                                           0.2    $218.00             $43.60            $0.00               0

                                                    Edit citations in Motion for Summary Judgment MPA and mark for table
                   Murieta                          of authorities. Finalize table of authorities. Communicate with E. Bustos
                   Equestrian                       re: finalizing and filing.
 12/16/2022 CCKA   Center       Theresa Trillo                                                                                           6.6    $218.00           $1,438.80           $0.00               0
                   Murieta
                   Equestrian                       Call with J. Flanders re: formatting and marking cites on Motion for
 12/16/2022 CCKA   Center       Theresa Trillo      Summary Judgment brief.                                                              0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Call with E. Bustos to coordinate 6/23 filing of supplemental brief re:
  6/21/2023 CCKA   Center       Theresa Trillo      Sackett v U.S. Environmental Protection Agency ruling.                               0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Update case status on master case spreadsheet.
  6/28/2023 CCKA   Center       Theresa Trillo                                                                                           0.1    $218.00             $21.80            $0.00               0
                   Murieta
                   Equestrian                       Begin drafting response to defendants' request for oral argument (dkt.
  7/10/2023 CCKA   Center       Theresa Trillo      97). Email to J. Flanders re: same.                                                  0.6    $218.00            $130.80            $0.00               0

                                                    Download docket report for docket cites in response to request to oral
                   Murieta                          argument. Review number of pages in supplemental briefing. Revise
                   Equestrian                       response, add to pleading paper, and email draft to J. Flanders.
  7/11/2023 CCKA   Center     Theresa Trillo                                                                                             0.7    $218.00            $152.60            $0.00               0
                   Murieta
                   Equestrian
  7/11/2023 CCKA   Center     Theresa Trillo        Accept redlines in draft response to request for oral argument. Finalize a           0.4    $218.00             $87.20            $0.00               0




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Date      Client   Matter       Staff               Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                              Judgment Fee    Judgment
                                                                                                                                                                              Reduction       Time
                                                                                                                                                                                              Reduction
                   Murieta
                   Equestrian                       Review and respond to J. Flanders email re: research regarding
  3/27/2024 CCKA   Center       Theresa Trillo      defendant's website and rules of evidence.                                           0.1    $345.00             $34.50            $0.00                0
                   Murieta
                   Equestrian                       Case research and analysis re: websites and hearsay rules.
  3/28/2024 CCKA   Center       Theresa Trillo                                                                                           1.2    $345.00            $414.00            $0.00                0
                   Murieta
                   Equestrian                       Draft research summary regarding rules of evidence, hearsay, and a
  3/28/2024 CCKA   Center       Theresa Trillo      party's website.                                                                     3.0    $345.00           $1,035.00           $0.00                0
                   Murieta
                   Equestrian                       Confer with J. Flanders re: hearsay research.
  3/28/2024 CCKA   Center       Theresa Trillo                                                                                           0.1    $345.00             $34.50            $0.00                0
                   Murieta
                   Equestrian                       Send email to J. Flanders, E. Bustos, and T. Brett re: status of tables in
   4/2/2024 CCKA   Center       Theresa Trillo      motion for leave to file TAC.                                                        0.1    $345.00              $0.00           $34.50               0.1

                                                    Teams communications with J. Flanders re: assisting with table of
                   Murieta                          authorities and filing for Motion for Leave to File Third Amended
                   Equestrian                       Complaint.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                             0.1    $345.00              $0.00           $34.50               0.1
                   Murieta
                   Equestrian                       Communications with T. Brett re: filing documents under seal for
   4/2/2024 CCKA   Center     Theresa Trillo        Motion for Leave to File Third Amended Complaint.                                    0.1    $345.00              $0.00           $34.50               0.1

                   Murieta                          Send draft Notice of Request to Seal and Request to Seal to J.
                   Equestrian                       Flanders for review.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                             0.1    $345.00              $0.00           $34.50               0.1

                   Murieta                          Call with T. Brett re: request to file documents under seal in connection
                   Equestrian                       with Motion for Leave to File Third Amended Complaint.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                             0.1    $345.00              $0.00           $34.50               0.1

                   Murieta                          Comms with J. Flanders re: drafting motion to file documents under
                   Equestrian                       seal in support of Motion for Leave to Amend TAC.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                             0.1    $345.00             $34.50            $0.00                0

                   Murieta                          Draft Notice of Request to Seal Documents in connection with Motion
                   Equestrian                       for Leave to File Third Amended Complaint.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                             0.7    $345.00            $241.50            $0.00                0

                   Murieta                          Draft Request to Seal Documents in connection with Motion for Leave
                   Equestrian                       to File Third Amended Complaint.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                             0.8    $345.00            $276.00            $0.00                0




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                                                                                                                                                                           Judgment Fee    Judgment
                                                                                                                                                                           Reduction       Time
                                                                                                                                                                                           Reduction


                                                  Follow up communications with J. Flanders re: plan and strategy for
                   Murieta                        request to file Motion for Leave to File Third Amended Complaint
                   Equestrian                     documents under seal.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                            0.1    $345.00            $34.50           $0.00                0
                   Murieta
                   Equestrian                     Locate, download, and analyze exemplar motion to seal documents.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                            0.5    $218.00           $109.00           $0.00                0

                   Murieta                        Review and analyze protective order and local rules with respect to
                   Equestrian                     filing documents under seal.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                            0.4    $345.00           $138.00           $0.00                0

                   Murieta                        Draft table of contents and table of authorities (while checking citations)
                   Equestrian                     for Motion for Leave to File Third Amended Complaint.
   4/2/2024 CCKA   Center     Theresa Trillo                                                                                            2.4    $218.00           $523.20           $0.00                0

                                                  Communications with E. Bustos and T. Brett re: calculating 60-day
                   Murieta                        notice date with respect to the proposed order granting Motion for
                   Equestrian                     Leave to file Third Amended Complaint.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                            0.2    $345.00             $0.00          $69.00               0.2
                   Murieta
                   Equestrian                     Call with T. Brett re: revisions to Request to Seal Documents.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                            0.1    $345.00             $0.00          $34.50               0.1

                                                  Teams comms with E. Bustos re: 3/26/24 and 4/1/24 service of notice
                   Murieta                        of intent to Carol Ward Anderson and Carol Ward Anderson Trust.
                   Equestrian
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                            0.1    $345.00            $34.50           $0.00                0

                                                  Call with E. Bustos re: revisions to Notice of Motion for Leave to File
                   Murieta                        Third Amended Complaint and plan for filing the Notice along with the
                   Equestrian                     Request to Seal Documents.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                            0.2    $218.00            $43.60           $0.00                0

                                                  Call with J. Flanders and T. Brett re: plan and procedure for filing
                   Murieta                        Motion for Leave to File Third Amended Complaint and Request to Seal
                   Equestrian                     Documents.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                            0.4    $218.00            $43.60          $43.60               0.2

                   Murieta                        Draft email to J. Flanders and E. Bustos re: 60-day notice deadline
                   Equestrian                     referenced in proposed order granting Motion for Leave to File Third
   4/3/2024 CCKA   Center     Theresa Trillo      Amended Complaint.                                                                    0.1    $345.00            $34.50           $0.00                0
                   Murieta
                   Equestrian                     Review and analyze 60-day notice deadline referenced in proposed
   4/3/2024 CCKA   Center     Theresa Trillo      order granting Motion for Leave to File Third Amended Complaint.                      0.2    $345.00            $69.00           $0.00                0




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Date      Client   Matter     Staff               Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction


                                                  Draft email to T. Brett, E. Bustos, and J. Flanders re: pending tasks to
                   Murieta                        finalize Motion for Leave to File Third Amended Complaint and related
                   Equestrian                     Request to Seal Documents.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00            $34.50           $0.00                0

                   Murieta                        Draft Proposed Order Granting Motion for Leave to File Third Amended
                   Equestrian                     Complaint and Add Parties.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                           0.4    $345.00           $138.00           $0.00                0
                   Murieta
                   Equestrian                     Draft Proposed Order Granting Request to Seal Documents.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                           0.2    $345.00            $69.00           $0.00                0

                                                  Make additional revisions to Notice of Request to Seal Documents,
                   Murieta                        Request to Seal Documents, Brett Declaration, and Proposed Order,
                   Equestrian                     following call with J. Flanders and T. Brett re: same.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                           1.1    $345.00           $379.50           $0.00                0

                   Murieta                        Review and revise Notice of Request to Seal Documents, Request to
                   Equestrian                     Seal Documents, Brett Declaration, and Proposed Order.
   4/3/2024 CCKA   Center     Theresa Trillo                                                                                           0.9    $345.00           $310.50           $0.00                0
                   Murieta
                   Equestrian                     Call with J. Flanders re: revisions and review of Request to Seal.
   4/4/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00             $0.00          $34.50               0.1

                                                  Email revised drafts of Notice of Request to Seal Documents, Request
                   Murieta                        to Seal Documents, Brett Declaration, and Proposed Order to J.
                   Equestrian                     Flanders for review.
   4/4/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00             $0.00          $34.50               0.1

                   Murieta                        Respond to T. Brett's communications re: exhibits listed in Request to
                   Equestrian                     Seal Documents.
   4/4/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00             $0.00          $34.50               0.1

                   Murieta                        Make final revisions to and begin to finalize Notice of Request to Seal
                   Equestrian                     Documents, Request to Seal Documents, Brett Declaration, and
   4/4/2024 CCKA   Center     Theresa Trillo      Proposed Order.                                                                      1.0    $345.00             $0.00         $345.00                1

                                                  Call with E. Bustos re: e-filing the Notice of Request to Seal Documents
                   Murieta                        and Notice of Motion for Leave to File Third Amended Complaint.
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                           0.2    $345.00             $0.00          $69.00               0.2

                   Murieta                        Call with T. Brett re: preparation of exhibits to Motion for Leave to File
                   Equestrian                     Third Amended Complaint.
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00             $0.00          $34.50               0.1




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Date      Client   Matter       Staff               Description                                                                Hours         Rate       Total            Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                   Murieta                          Follow up Teams communications with E. Bustos re: filing and
                   Equestrian                       submitting motion for leave and request to seal.
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                           0.4    $345.00            $0.00         $138.00               0.4

                   Murieta                          Review and analyze E. Bustos' draft service email to opposing counsel.
                   Equestrian
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00            $0.00          $34.50               0.1

                   Murieta                          Review and respond to J. Flanders' email re: order and process for
                   Equestrian                       filing motion for leave and request to seal.
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00            $0.00          $34.50               0.1

                   Murieta                          Review E. Bustos' folder of documents to be submitted to the court in
                   Equestrian                       support of motion for leave and request to seal filing.
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00            $0.00          $34.50               0.1

                                                    Teams communications with E. Bustos re: documents related to
                   Murieta                          Plaintiff's Motion for Leave and Request to Seal that shall be submitted
                   Equestrian                       to the Court via email.
   4/5/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $345.00            $0.00          $34.50               0.1

                                                    Teams communications with E. Bustos re: draft service email to
                   Murieta                          opposing counsel for service of Motion for Leave to File Third Amended
                   Equestrian                       Complaint and supporting documents.
   4/5/2024 CCKA   Center       Theresa Trillo                                                                                         0.3    $345.00            $0.00         $103.50               0.3
                   Murieta
                   Equestrian                       Analyze and respond to J. Flander's email re: preparation of binder for
  6/18/2024 CCKA   Center       Theresa Trillo      June 28 hearing.                                                                   0.1    $218.00           $21.80           $0.00                0
                   Murieta
                   Equestrian                       Telephone call with E. Bustos re: preparation of hearing binder.
  6/18/2024 CCKA   Center       Theresa Trillo                                                                                         0.1    $218.00           $21.80           $0.00                0
                   Murieta
                   Equestrian                       Review local rules for information re: procedure for court reporters at
  6/19/2024 CCKA   Center       Theresa Trillo      hearings and respond to E. Bustos email regarding same.                            0.2    $218.00           $43.60           $0.00                0

                   Murieta                          Review the Court's website, Judge's page and procedures, and local
                   Equestrian                       rules re: hearing procedures to determine if we need to request a court
  6/20/2024 CCKA   Center     Theresa Trillo        reporter.                                                                          0.1    $218.00           $21.80           $0.00                0

                                                    Telephone call with the Clerk's Office to confirm there will be a court
                   Murieta                          reporter present at the June 28 hearing. Draft email to J. Flanders re:
                   Equestrian                       same.
  6/20/2024 CCKA   Center     Theresa Trillo                                                                                           0.1    $218.00           $21.80           $0.00                0
                   Murieta
                   Equestrian                       Review and draft response to J. Flanders re: availability to assist with
  9/12/2024 CCKA   Center     Theresa Trillo        filing supplemental brief.                                                         0.1    $218.00           $21.80           $0.00                0



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Date      Client   Matter       Staff             Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                     Finalize and file supplemental brief re: Loper Bright.
  9/16/2024 CCKA   Center     Theresa Trillo                                                                                        0.4    $218.00             $87.20            $0.00               0

                   Murieta                        Review and draft communications with J. Flanders re: citations and
                   Equestrian                     finalizing Loper Bright supplemental Brief.
  9/16/2024 CCKA   Center     Theresa Trillo                                                                                        0.2    $218.00             $43.60            $0.00               0
                   Murieta
                   Equestrian                     Review and revise citations in Loper Bright supplemental brief to
  9/16/2024 CCKA   Center     Theresa Trillo      finalize for filing.                                                              2.0    $218.00            $436.00            $0.00               0
                   Murieta
                   Equestrian                     Teleconference with J. Flanders re: filing Loper Bright Supplemental
  9/16/2024 CCKA   Center     Theresa Trillo      Brief.                                                                            0.1    $218.00             $21.80            $0.00               0

                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center     Tom Brett                                                                                             0.9    $550.00            $495.00            $0.00               0

                   Murieta
                   Equestrian
 11/13/2021 CCKA   Center     Tom Brett                                                                                             0.8    $550.00            $440.00            $0.00               0

                   Murieta
                   Equestrian
 11/14/2021 CCKA   Center       Tom Brett                                                                                           1.2    $550.00            $660.00            $0.00               0
                   Murieta
                   Equestrian
 11/14/2021 CCKA   Center       Tom Brett                                                                                           0.2    $550.00            $110.00            $0.00               0
                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center       Tom Brett                                                                                           2.1    $550.00           $1,155.00           $0.00               0
                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center       Tom Brett                                                                                           1.0    $550.00            $550.00            $0.00               0
                   Murieta
                   Equestrian
 11/15/2021 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00               0


                   Murieta
                   Equestrian
 11/16/2021 CCKA   Center     Tom Brett                                                                                             0.4    $550.00            $220.00            $0.00               0

                   Murieta
                   Equestrian
 11/17/2021 CCKA   Center     Tom Brett                                                                                             0.5    $550.00            $275.00            $0.00               0




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                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                         Reduction       Time
                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian
  12/1/2021 CCKA   Center     Tom Brett                                                                             0.3    $550.00              $0.00          $165.00               0.3


                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                             0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
  12/2/2021 CCKA   Center     Tom Brett                                                                             0.6    $550.00            $330.00            $0.00                0

                   Murieta
                   Equestrian
  12/9/2021 CCKA   Center     Tom Brett                                                                             2.1    $550.00           $1,155.00           $0.00                0


                   Murieta
                   Equestrian
 12/13/2021 CCKA   Center     Tom Brett                                                                             0.1    $550.00             $55.00            $0.00                0

                   Murieta
                   Equestrian
 12/15/2021 CCKA   Center       Tom Brett                                                                           0.8    $550.00            $440.00            $0.00                0
                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center       Tom Brett                                                                           1.1    $550.00            $605.00            $0.00                0
                   Murieta
                   Equestrian
   3/2/2022 CCKA   Center       Tom Brett                                                                           1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center       Tom Brett                                                                           2.1    $550.00           $1,155.00           $0.00                0
                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center       Tom Brett                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
   3/7/2022 CCKA   Center       Tom Brett                                                                           0.1    $550.00             $55.00            $0.00                0

                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                             1.3    $550.00            $715.00            $0.00                0
                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                             1.2    $550.00            $660.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                       Reduction       Time
                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian
   3/8/2022 CCKA   Center     Tom Brett                                                                             0.1    $550.00            $55.00           $0.00                0

                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center       Tom Brett                                                                           0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian
   3/9/2022 CCKA   Center       Tom Brett                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/10/2022 CCKA   Center       Tom Brett                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center       Tom Brett                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center       Tom Brett                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center       Tom Brett                                                                           0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center       Tom Brett                                                                           0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center       Tom Brett                                                                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  3/17/2022 CCKA   Center       Tom Brett                                                                           0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center       Tom Brett                                                                           0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center       Tom Brett                                                                           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center       Tom Brett                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/20/2022 CCKA   Center       Tom Brett                                                                           0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Tom Brett                                                                           0.4    $550.00           $220.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Tom Brett                                                                                        0.2    $550.00            $110.00            $0.00               0
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
  5/29/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center       Tom Brett                                                                                        1.1    $550.00            $605.00            $0.00               0
                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center       Tom Brett                                                                                        1.1    $550.00            $605.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: research on sufficiency of service on
  11/4/2020 CCKA   Center       Tom Brett      defendant.                                                                        0.2    $550.00            $110.00            $0.00               0
                   Murieta
                   Equestrian                  Review cases discussing what it means to be a general or managing
  11/5/2020 CCKA   Center       Tom Brett      agent pursuant to Federal Rule of Civil Procedure 4(h).                           1.3    $550.00            $715.00            $0.00               0
                   Murieta
                   Equestrian                  Continue research in to question of effect of service on Defendants'
  11/6/2020 CCKA   Center       Tom Brett      office coordinator; summarize and send to J. Flanders for review.                  2     $550.00           $1,100.00           $0.00               0
                   Murieta
                   Equestrian                  Draft Rule 34 site inspection request.
   1/7/2021 CCKA   Center       Tom Brett                                                                                        0.7    $550.00            $385.00            $0.00               0

                                               Review legal memo for claim against Murieta Equestrian Center;
                   Murieta                     compare with cite map and storm water industrial routine facility
                   Equestrian                  inspection report in preparation for call with J. Flanders and Ian Wren
  2/26/2021 CCKA   Center     Tom Brett        re: site inspection.                                                              0.8    $550.00            $440.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J Flanders and Ian Wren re: site visit and sampling plan for
  2/26/2021 CCKA   Center     Tom Brett        Murieta Equestrian Center.                                                        0.5    $550.00            $275.00            $0.00               0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                     Review and annotate First Amended Complaint and Defendants'
                   Equestrian                  answer thereto in prep for call with J. Flanders and Ian Wren re: site
  2/26/2021 CCKA   Center     Tom Brett        inspection.                                                                           0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: Murieta Equestrian Center site
  2/26/2021 CCKA   Center     Tom Brett        inspection.                                                                           0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Review defendants objections to rule 34 inspection request; send email
                   Equestrian                  to j Flanders re: availability to work on meet and confer letter
   3/1/2021 CCKA   Center       Tom Brett      responding to the objections.                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Summarize local rules in eastern district of Cal. re: motions to compel
   3/2/2021 CCKA   Center       Tom Brett      discovery; email J. Flanders for review.                                              0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for meet and confer letter regarding
   3/2/2021 CCKA   Center       Tom Brett      rule 34 request.                                                                      0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
   3/2/2021 CCKA   Center       Tom Brett      Draft section in meet and confer letter addressing Defendant's "Respons               1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Draft intro and legal background section to meet and confer letter re:
   3/2/2021 CCKA   Center       Tom Brett      Rule 34 site inspection.                                                              1.0    $550.00           $550.00           $0.00                0

                   Murieta                     Draft meet and confer letter responding to Defendant's response to
                   Equestrian                  Rule 34 inspection request (draft section responding to defendants
   3/2/2021 CCKA   Center     Tom Brett        specific objections).                                                                 1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                  Make final revisions to meet and confer letter for Rule 34 inspection
   3/2/2021 CCKA   Center     Tom Brett        request and send to J. Flanders for review.                                           0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Annotate and review practice guide and Eastern District of California
   3/2/2021 CCKA   Center     Tom Brett        local rules re: rule 34 inspection requests.                                          0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Review and annotate prior meet and confer letters / motions to compel
                   Equestrian                  re: site inspections in preparation for drafting meet and confer letter for
   3/2/2021 CCKA   Center     Tom Brett        site inspection at Murieta Equestrian Center.                                         0.5    $550.00           $275.00           $0.00                0

                                               Draft emails to M. Maclear and Ian Wren asking if they have a
                   Murieta                     Certificate of Insurance Services Office Commercial General Liability
                   Equestrian                  Coverage (Occurrence Form CG 0001) to provide to defendant per
   3/2/2021 CCKA   Center     Tom Brett        defendant's objections to Rule 34 request.                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft letter to Defendant Counsel requesting informal telephonic
   3/3/2021 CCKA   Center     Tom Brett        conference with court to resolve Rule 34 inspection dispute.                          0.5    $550.00           $275.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Call with E. Maharg re: site inspection at Murieta Equestrian Center.
   3/3/2021 CCKA   Center       Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Revise letter proposing informal telephonic discovery conference; send
   3/3/2021 CCKA   Center       Tom Brett      to opposing counsel.                                                                0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Review and summarize Judge Barnes' standing orders re: discovery
   3/3/2021 CCKA   Center       Tom Brett      disputes; send to J. Flanders for review.                                           0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Find all weather pen and clipboard for March 9 site inspection,
   3/4/2021 CCKA   Center       Tom Brett      purchase.                                                                           0.2    $218.00            $43.60           $0.00                0
                   Murieta
                   Equestrian                  Meet and confer with opposing counsel Re: Rule 34 site inspection.
   3/4/2021 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Communicate with A. Barnes re: insurance certificate requested by
                   Equestrian                  defendants for site inspection.
   3/4/2021 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders post-meet and confer with opposing
   3/4/2021 CCKA   Center     Tom Brett        counsel re: site inspection.                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Discuss with J. timing / location / logistics of site visit to Murieta
   3/4/2021 CCKA   Center     Tom Brett        Equestrian Center.                                                                  0.1    $550.00            $55.00           $0.00                0

                                               Review and annotate summary of meet and confer re: inspection
                   Murieta                     request sent from opposing counsel; compile materials necessary for
                   Equestrian                  site inspection (site maps, waiver, insurance certificate etc.); review
   3/7/2021 CCKA   Center     Tom Brett        site map and storm water inspection report.                                         0.5    $550.00           $275.00           $0.00                0

                   Murieta                     Draft email to I. Wren and J. Flanders re: 3/9/2021 site visit to Murieta
                   Equestrian                  Equestrian Center; follow up with A. Barnes re: insurance certificate for
   3/8/2021 CCKA   Center     Tom Brett        site visit.                                                                         0.3    $550.00             $0.00         $165.00               0.3

                   Murieta                     Call with J. Flanders re: cancellation of site inspection; communicate
                   Equestrian                  with I. Wren re: the same.
   3/8/2021 CCKA   Center       Tom Brett                                                                                          0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Call with M. Wilcox re: cancellation of site visit.
   3/8/2021 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and I. Wren re: potential site inspection at
  3/15/2021 CCKA   Center       Tom Brett      Murieta Equestrian Center on 3/18/2020.                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review certificates of insurance adding defendant as additional
  3/16/2021 CCKA   Center       Tom Brett      insured; send to opposing counsel ahead of site inspection.                         0.2    $550.00           $110.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                              Hours         Rate       Total               Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                                               Review site inspection plan prepared by I. Wren for 3.18.2021
                   Murieta                     inspection at Murieta Equestrian Center; edit plan to mark additional
                   Equestrian                  area of interest and send to J. Flanders and I. Wren for review.
  3/17/2021 CCKA   Center       Tom Brett                                                                                       0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian                  Commute to Murieta Equestrian Center from Berkeley for wet weather
  3/18/2021 CCKA   Center       Tom Brett      inspection.                                                                      1.7    $550.00            $467.50          $467.50           0.85
                   Murieta
                   Equestrian                  Conduct wet weather inspection at Murieta Equestrian Center with I.
  3/18/2021 CCKA   Center       Tom Brett      Wren.                                                                            3.1    $550.00           $1,705.00           $0.00               0
                   Murieta
                   Equestrian                  Commute from Murieta Equestrian Center to Berkeley after wet
  3/19/2021 CCKA   Center       Tom Brett      weather inspection.                                                              1.9    $550.00            $522.50          $522.50           0.95

                                               Compile notes from 3.18 site inspection at Murieta Equestrian Center;
                   Murieta                     create annotated map showing drop inlets, sample points, and other
                   Equestrian                  observations; summarize observations in word document; send to J.
  3/19/2021 CCKA   Center     Tom Brett        Flanders and E. Maharg for review.                                               1.8    $550.00            $990.00            $0.00               0
                   Murieta
                   Equestrian                  Download and begin reviewing photos and video taken by I. Wren
  3/19/2021 CCKA   Center     Tom Brett        during Murieta Equestrian Center site inspection.                                0.4    $550.00            $220.00            $0.00               0

                   Murieta                     Send email to J. Flanders and I. Wren re: sending opposing counsel
                   Equestrian                  photos and video from site visit; download photos to shared server.
  3/19/2021 CCKA   Center     Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00               0
                   Murieta
                   Equestrian                  Discuss with I. Wren and J. Flanders re: follow-up on site inspection.
  3/22/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
  3/23/2021 CCKA   Center     Tom Brett        Review annotated photos from I. Wren from site inspection at Murieta E           0.2    $550.00            $110.00            $0.00               0

                   Murieta                     Create shared box folder with photos and videos from 3.18 site
                   Equestrian                  inspection; send photos, videos, and sample results to opposing
  3/25/2021 CCKA   Center     Tom Brett        counsel; request the same from opposing counsel.                                 0.5    $218.00            $109.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: providing photos and video from site
  3/25/2021 CCKA   Center     Tom Brett        inspection to opposing counsel.                                                  0.3    $218.00             $65.40            $0.00               0
                   Murieta
                   Equestrian                  Review sample results from 3.18 site visit; email J. Flanders re: the
  3/25/2021 CCKA   Center     Tom Brett        same.                                                                            0.2    $550.00            $110.00            $0.00               0

                                               Draft table comparing results of samples taken during site inspection
                   Murieta                     with Numeric Action Level and Water Quality objectives for fecal
                   Equestrian                  coliform; research Water Quality objective for fecal coliform for
  3/26/2021 CCKA   Center     Tom Brett        Cosumnes River.                                                                  0.7    $550.00            $385.00            $0.00               0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Annotate and review opposing counsel meet and confer letter re:
                   Equestrian                  Plaintiff's response to Defendant's request for production of documents.
  3/29/2021 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00               0

                   Murieta                     Call with J. Flanders to discuss issue of opposing counsel's refusal to
                   Equestrian                  produce photos and video of site inspection in preparation for meet and
   4/6/2021 CCKA   Center     Tom Brett        confer with opposing counsel.                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: waters of the United States research.
  5/10/2021 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Investigate Army Corps of Engineers GIS permit data base to identify
                   Equestrian                  any permits issues or jurisdictional determinations near to the facility.
  5/11/2021 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00               0

                                               Utilize Sacramento County liner hydrology GIS map to identify creek
                   Murieta                     into which Murieta Equestrian Center discharges; cross reference with
                   Equestrian                  litigation memo and notes from site inspection to confirm path of water
  5/19/2021 CCKA   Center     Tom Brett        flow.                                                                               1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Review and annotate U.S. Environmental Protection Agency
  5/19/2021 CCKA   Center     Tom Brett        documents re: Trump waters of the United States rule.                               0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Summarize findings re: discharges of Facility into creek and pathway of
  5/19/2021 CCKA   Center     Tom Brett        water from the Facility to Cosumnes River.                                          0.3    $550.00           $165.00           $0.00               0

                   Murieta                     Review documents produced by Rancho Murieta Community Services
                   Equestrian                  District pursuant to California Coastkeeper Alliance Public Records Act
  5/19/2021 CCKA   Center       Tom Brett      request.                                                                            0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Review and annotate 85 Fed. Reg. 22250 re: navigable waters rule;
  5/20/2021 CCKA   Center       Tom Brett      summarize for waters of the United States memo.                                     0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: progress on waters of the United States
  5/20/2021 CCKA   Center       Tom Brett      and receiving water research.                                                       0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Review and annotate 85 Fed. Reg. 22250 re: navigable waters rule as
  5/21/2021 CCKA   Center       Tom Brett      part of waters of the United States research.                                       0.8    $550.00           $440.00           $0.00               0

                                               Summarize and annotate regulatory text of navigable waters rule at 33
                   Murieta                     C.F.R. 328.3 et seq; draft legal background section for memo analyzing
                   Equestrian                  waters of the United States question for unnamed creek adjacent to
  5/21/2021 CCKA   Center     Tom Brett        facility.                                                                           0.6    $550.00           $330.00           $0.00               0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction


                   Murieta                   Complete outline of legal background section of memo re: navigable
                   Equestrian                water rule (33 C.F.R. 328.3) to analyze which receiving waters
  5/22/2021 CCKA   Center     Tom Brett      constitutes waters of the United States under that rule.                           0.2    $550.00           $110.00           $0.00               0

                   Murieta                   Review and summarize caselaw discussing whether Navigable Waters
                   Equestrian                Protection Rule applies retroactively to pre-promulgation conduct.
  5/22/2021 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00               0

                   Murieta                   Draft legal background section for memo analyzing application of
                   Equestrian                navigable waters protection rule (33 C.F.R. 328.3 et seq) to the present
  5/23/2021 CCKA   Center     Tom Brett      action.                                                                            1.0    $550.00           $550.00           $0.00               0

                                             Draft memo analyzing whether unnamed creek adjacent to Facility is
                   Murieta                   waters of the United States per the navigable waters protection rule;
                   Equestrian                draft section re: US Supreme Court Decision in County of Maui.
  5/24/2021 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00           $0.00               0

                   Murieta                   Review document production from defendants; identify / index
                   Equestrian                documents relevant to defendant's discharges to creek along south
  5/24/2021 CCKA   Center     Tom Brett      boundary of the property.                                                          0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                Revise section in memo on navigable waters protection rule re:
  5/24/2021 CCKA   Center     Tom Brett      retroactive effect of the new rule.                                                0.2    $550.00           $110.00           $0.00               0

                   Murieta                   Discuss with J. Flanders re: memo applying navigable waters
                   Equestrian                protection rule to Murieta Equestrian Center Facility and remaining
  5/24/2021 CCKA   Center     Tom Brett      questions.                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                Complete review and index of Defendant's most recent document
  5/25/2021 CCKA   Center     Tom Brett      production; send to J. Flanders for review.                                        1.1    $218.00           $239.80           $0.00               0

                   Murieta                   Draft facility and receiving water background sections in memo re:
                   Equestrian                status of receiving waters as waters of the United States per the
  5/25/2021 CCKA   Center     Tom Brett      navigable waters protection rule.                                                  1.4    $550.00           $770.00           $0.00               0

                                             Draft application section of memo re: navigable waters protection rule
                                             and application to Murieta Equestrian Center action; review Cosumnes
                   Murieta                   Irrigation Association Ditch operation manual to confirm whether creek
                   Equestrian                into which the facility discharges is waters of the United States.
  5/25/2021 CCKA   Center     Tom Brett                                                                                         1.4    $550.00           $770.00           $0.00               0

                   Murieta                   Annotate and summarize flow of creeks and diversions per Cosumnes
                   Equestrian                Irrigation Association ditch operations and maintenance manual.
  5/25/2021 CCKA   Center     Tom Brett                                                                                         0.6    $550.00           $330.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Begin outlining additional section to memo applying navigable waters
                   Equestrian                  rule to creek behind Murieta Equestrian Center re: status of waters
  5/26/2021 CCKA   Center     Tom Brett        assuming they originate from Laguna Joaquin.                                        0.4    $550.00           $220.00           $0.00               0

                                               Revise description of receiving waters / unnamed creek system to the
                   Murieta                     south of the facility in memo analyzing applicability of navigable waters
                   Equestrian                  protection rule to Murieta Equestrian Center receiving waters.
  5/26/2021 CCKA   Center     Tom Brett                                                                                            0.4    $550.00           $220.00           $0.00               0

                   Murieta                     Outline additional sections analyzing whether unnamed creek behind
                   Equestrian                  facility is a water of the United States per the Navigable Water
  5/27/2021 CCKA   Center       Tom Brett      Protection Rule.                                                                    0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Locate analytical sample results for March 18 site visit and upload to
  7/16/2021 CCKA   Center       Tom Brett      shared folder.                                                                      0.2    $218.00            $43.60           $0.00               0
                   Murieta
                   Equestrian                  Revise memo re: receiving waters behind facility; send to J. Flanders
   9/5/2021 CCKA   Center       Tom Brett      for review.                                                                         0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Draft settlement statement: factual background and claims section.
  11/9/2021 CCKA   Center       Tom Brett                                                                                          1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Redline and revise draft settlement statement.
  11/9/2021 CCKA   Center       Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting mediation brief.
  11/9/2021 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Review and revise current draft settlement statement.
  11/9/2021 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Review Magistrate Judge's standing order re: settlement conference
  11/9/2021 CCKA   Center       Tom Brett      and statement.                                                                      0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting consent decree.
  11/9/2021 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Draft settlement statement section outlining claims against defendant.
 11/10/2021 CCKA   Center       Tom Brett                                                                                          1.5    $550.00           $825.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to revise settlement statement draft; locate case law and prior
 11/10/2021 CCKA   Center       Tom Brett      briefing re: waters of the United States and standing.                              1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Review and annotate case law re: status of tributaries as waters of the
 11/10/2021 CCKA   Center       Tom Brett      United States.                                                                      0.6    $550.00           $330.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: settlement statement.
 11/10/2021 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
 11/11/2021 CCKA   Center     Tom Brett        Draft section in settlement statement analyzing status of unnamed creek            1.9    $550.00           $1,045.00           $0.00               0
                   Murieta
                   Equestrian                  Revise sections re: discovery to date, factual background, and standing
 11/11/2021 CCKA   Center     Tom Brett        sections in settlement statement.                                                  1.2    $550.00            $660.00            $0.00               0

                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     Tom Brett                                                                                           0.5    $550.00            $275.00            $0.00               0
                   Murieta
                   Equestrian                  Draft section in settlement statement discussing effect of repeal of
 11/11/2021 CCKA   Center     Tom Brett        navigable waters protection rule.                                                  0.4    $550.00            $220.00            $0.00               0
                   Murieta
                   Equestrian                  Summarize case law re: validity of indemnification agreements for
 11/12/2021 CCKA   Center     Tom Brett        violations of law and duty to defend in actions for civil penalties.               0.5    $550.00            $275.00            $0.00               0

                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00               0

                   Murieta                     Review and summarize case law re: validity of indemnification
                   Equestrian                  agreements for violations of law and duty to defend in actions for civil
 11/13/2021 CCKA   Center       Tom Brett      penalties.                                                                         0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center       Tom Brett                                                                                         1.3    $550.00            $715.00            $0.00               0
                   Murieta
                   Equestrian                  Revise standing section in settlement statement.
 11/15/2021 CCKA   Center       Tom Brett                                                                                         0.4    $550.00            $220.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: settlement statement.
 11/15/2021 CCKA   Center       Tom Brett                                                                                         0.4    $550.00            $220.00            $0.00               0
                   Murieta
                   Equestrian                  Review and revise draft settlement statement section on factual and
 11/15/2021 CCKA   Center       Tom Brett      legal background.                                                                  0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center       Tom Brett                                                                                         0.5    $550.00            $275.00            $0.00               0

                   Murieta                     Research and summarize case law re: injury in fact resulting from
                   Equestrian                  failure of defendant to comply with Clean Water Act reporting and
 11/16/2021 CCKA   Center     Tom Brett        monitoring requirements.                                                           1.8    $550.00            $990.00            $0.00               0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft and revise settlement statement section re: standing and
 11/16/2021 CCKA   Center       Tom Brett      causation.                                                                          1.7    $550.00           $935.00           $0.00                0
                   Murieta
                   Equestrian                  Review and annotate decision discussing informational injury in Clean
 11/16/2021 CCKA   Center       Tom Brett      Water Act action.                                                                   0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Review and annotate waters of the United States memo prepared by I.
 11/16/2021 CCKA   Center       Tom Brett      Wren.                                                                               0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Draft and revise settlement statement section re: standing.
 11/16/2021 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: settlement statement draft.
 11/16/2021 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise and redline settlement statement.
 11/17/2021 CCKA   Center       Tom Brett                                                                                          0.9    $550.00             $0.00         $495.00               0.9

                   Murieta                     Revise comments and annotations in draft settlement statement and
                   Equestrian                  waters of the United States memo prepared by I. Wren; send annotated
 11/17/2021 CCKA   Center       Tom Brett      waters of the United States memo to J. Flanders.                                    0.6    $550.00             $0.00         $330.00               0.6
                   Murieta
                   Equestrian                  Revise section in settlement statement re: waters of the united states
 11/17/2021 CCKA   Center       Tom Brett      analysis based on I. Wren memo.                                                     1.5    $550.00           $825.00           $0.00                0
                   Murieta
                   Equestrian                  Draft standing section re: informational injury to plaintiffs.
 11/17/2021 CCKA   Center       Tom Brett                                                                                          1.2    $550.00           $660.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: settlement statement.
 11/17/2021 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Complete review and annotation of I. Wren waters of the United States
 11/17/2021 CCKA   Center       Tom Brett      memo.                                                                               0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise section re: traceability of plaintiff's harm to defendants conduct
 11/17/2021 CCKA   Center       Tom Brett      in settlement statement.                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: mediation brief.
 11/17/2021 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Complete revisions to draft settlement statement.
 11/18/2021 CCKA   Center       Tom Brett                                                                                          0.9    $550.00             $0.00         $495.00               0.9
                   Murieta
                   Equestrian                  Incorporate redlines and revisions into settlement statement draft; send
 11/18/2021 CCKA   Center       Tom Brett      to J. Flanders for review.                                                          0.8    $550.00             $0.00         $440.00               0.8




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Date      Client   Matter       Staff          Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: settlement conference prep.
 11/29/2021 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders, S. Bothwell, D. Hunt et al. re: preparation for
 11/30/2021 CCKA   Center     Tom Brett        settlement conference.                                                           0.5    $550.00             $0.00         $275.00               0.5

                   Murieta
                   Equestrian                  Review settlement statement in preparation for call with client re:
 11/30/2021 CCKA   Center       Tom Brett      settlement conference and in preparation for settlement conference.              0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review Sacramento County assessor's data base / map service to
 11/30/2021 CCKA   Center       Tom Brett      attempt to determine ownership of parcel south of facility.                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Mid-morning (second and third) breakout sessions with judge during
  12/1/2021 CCKA   Center       Tom Brett      settlement statement.                                                            1.2    $550.00             $0.00         $660.00               1.2
                   Murieta
                   Equestrian                  Follow up meeting with clients (S. Bothwell and D. Hunt) following
  12/1/2021 CCKA   Center       Tom Brett      settlement conference and discussing next steps.                                 1.2    $550.00             $0.00         $660.00               1.2

                                               Attend settlement conference; shepardize Concentrated Animal
                                               Feeding Operation regulations for cases interpreting County of Maui
                                               decision, and shepardize county of Maui decision to decisions dealing
                   Murieta                     with Concentrated Animal Feeding Operation Clean Water Act actions;
                   Equestrian                  review and annotate Defendant's settlement statement.
  12/1/2021 CCKA   Center     Tom Brett                                                                                         1.0    $550.00             $0.00         $550.00                1

                                               Attend morning breakout session with magistrate judge for settlement
                   Murieta                     conference; short de-brief with clients post break out session.
                   Equestrian
  12/1/2021 CCKA   Center       Tom Brett                                                                                       0.8    $550.00             $0.00         $440.00               0.8
                   Murieta
                   Equestrian                  Research ownership of parcels adjacent to Murieta Equestrian Center
  12/1/2021 CCKA   Center       Tom Brett      facility, send to J. Flanders for review.                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Access SMARTS to locate Rancho Murieta CSD annual reports.
  12/1/2021 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and summarize case law re: attorney work product and claw
  12/2/2021 CCKA   Center       Tom Brett      back motions.                                                                    1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Defendant's claw back motion
  12/2/2021 CCKA   Center       Tom Brett                                                                                       0.7    $550.00           $385.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian
 11/28/2022 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and annotate case law re: waiver of privilege in context of claw
                   Equestrian                  back motion
  12/2/2021 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Review and annotate Rancho Murieta CSD reports for Jan and April
  12/2/2021 CCKA   Center     Tom Brett        2021 for the Facility.                                                            0.4    $550.00           $220.00           $0.00                0

                                               Review emails from D. Hunt re: updated Rancho Murieta CSD
                                               inspection reports and CSD vicinity maps; upload the same, as well as
                   Murieta                     draft Bothwell standing declaration and defendant's settlement
                   Equestrian                  statement, to shared.
  12/2/2021 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders. D. Hunt, and I. Wren re: waters of the United
  12/3/2021 CCKA   Center       Tom Brett      States analysis                                                                   1.0    $550.00             $0.00         $550.00                1
                   Murieta
                   Equestrian                  Review and summarize case law discussion application of attorney
  12/3/2021 CCKA   Center       Tom Brett      work product privilege to compilations of non-privileged documents.               0.5    $550.00             $0.00         $275.00               0.5
                   Murieta
                   Equestrian                  Continue to summarize case law discussing waiver of privilege; apply
  12/3/2021 CCKA   Center       Tom Brett      to facts of case.                                                                 1.1    $550.00           $605.00           $0.00                0

                   Murieta                     Summarize case law discussing waiver of claims privilege; apply to
                   Equestrian                  facts of case.
  12/3/2021 CCKA   Center     Tom Brett                                                                                          0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Review I. Wren waters of the United States analysis memo in prep for
  12/3/2021 CCKA   Center     Tom Brett        call.                                                                             0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and annotate prior meet and confer letters, requests for
                   Equestrian                  production of document, and case summaries in prep for outlining
  12/5/2021 CCKA   Center     Tom Brett        memo on defendant's waiver of privilege.                                          0.6    $550.00             $0.00         $330.00               0.6

                                               Begin to outline memo re: defendants claims of privilege and claw back
                   Murieta                     request for DOC-00001.
                   Equestrian
  12/6/2021 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: opposing counsel's clawback request and
  12/6/2021 CCKA   Center     Tom Brett        claims of privilege                                                               0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Review and annotate case law discussing scope of work product
                   Equestrian                  doctrine
  12/7/2021 CCKA   Center       Tom Brett                                                                                         0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to draft clawback letter; legal background and application
  12/8/2021 CCKA   Center       Tom Brett      sections.                                                                          1.1    $550.00           $605.00           $0.00               0
                   Murieta
                   Equestrian                  Outline letter to opposing counsel re: clawback request.
  12/8/2021 CCKA   Center       Tom Brett                                                                                         1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Draft procedural background and first portion of legal background in
  12/8/2021 CCKA   Center       Tom Brett      letter to opposing counsel re: clawback request.                                   0.9    $550.00           $495.00           $0.00               0

                   Murieta                     Draft argument / application section of letter re: clawback request;
                   Equestrian                  conduct additional research into burden of proof vis-a-vis waiver of
  12/9/2021 CCKA   Center     Tom Brett        privilege claims and incorporate into letter.                                      1.4    $550.00           $770.00           $0.00               0
                   Murieta
                   Equestrian                  Review and revise letter to opposing counsel re: clawback of
  12/9/2021 CCKA   Center     Tom Brett        DOC000001                                                                          0.4    $550.00           $220.00           $0.00               0

                   Murieta                     Compile maps of parcels adjacent to the unnamed stream and
                   Equestrian                  Cosumnes River from Murieta Equestrian Center facility to Dillard Rd.
 12/10/2021 CCKA   Center     Tom Brett        Bridge; identify owner information for each parcel.                                1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Revise letter to opposing counsel re: clawback request.
 12/10/2021 CCKA   Center     Tom Brett                                                                                           0.7    $550.00           $385.00           $0.00               0

                   Murieta                     Review and annotate Defendant's responses to interrogatories; add to
                   Equestrian                  draft list of stipulated facts prepared by J. Flanders to provide to
 12/10/2021 CCKA   Center     Tom Brett        opposing counsel on Monday.                                                        0.6    $550.00           $330.00           $0.00               0

                                               Review assessor parcel view and draft inquiry to assessor's office re:
                                               ownership information for parcels from the facility to the confluence of
                   Murieta                     the river, to the Dillard Rd. Bridge; send inquiry to assessor's office.
                   Equestrian
 12/10/2021 CCKA   Center     Tom Brett                                                                                           0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for drafting fact chart and list of
 12/10/2021 CCKA   Center     Tom Brett        stipulated facts.                                                                  0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Revise draft stipulated facts and send to J. Flanders for review.
 12/10/2021 CCKA   Center     Tom Brett                                                                                           0.3    $550.00           $165.00           $0.00               0

                   Murieta                     Send email to J. Flanders and D. Hunt re: findings with regard to
                   Equestrian                  ownership of parcels adjacent to unnamed stream and river until Dillard
 12/10/2021 CCKA   Center     Tom Brett        Rd. Bridge.                                                                        0.2    $550.00           $110.00           $0.00               0



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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Review and annotate Defendant's responses to requests for
                   Equestrian                  productions in prep for revising list of stipulated facts to propose to
 12/10/2021 CCKA   Center       Tom Brett      opposing counsel.                                                                  0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise letter to opposing counsel re: clawback; email J.
 12/10/2021 CCKA   Center       Tom Brett      Flanders re: the same.                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  With reference to settlement statement, draft fact chart.
 12/13/2021 CCKA   Center       Tom Brett                                                                                         1.8    $550.00           $990.00           $0.00                0
                   Murieta
                   Equestrian                  Revise fact chart; send draft to J. Flanders for review.
 12/13/2021 CCKA   Center       Tom Brett                                                                                         1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Draft legal argument section of opposition to defendants' cert petition.
 12/13/2021 CCKA   Center       Tom Brett                                                                                         0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian
 11/29/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Email D. Hunt re: ownership of parcels along unnamed creek and
 12/13/2021 CCKA   Center       Tom Brett      Cosumnes river.                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/20/2021 CCKA   Center       Tom Brett      Review requests for production responses from opposing counsel, and d              0.7    $550.00           $385.00           $0.00                0

                                               Draft email to opposing counsel attaching meet and confer letter re:
                   Murieta                     defendant's claw back request; convert letter to pdf; make final
                   Equestrian                  revisions to letter.
 12/20/2021 CCKA   Center       Tom Brett                                                                                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Revise meet and confer letter to opposing counsel re: defendant's claw
 12/20/2021 CCKA   Center       Tom Brett      back request.                                                                      0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps and plan for briefing standing
   1/5/2022 CCKA   Center       Tom Brett      arguments.                                                                         0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Review and annotate case law discussing informational standing.
   1/6/2022 CCKA   Center       Tom Brett                                                                                         0.9    $550.00           $495.00           $0.00                0

                   Murieta                     Review and annotate case law re: info standing and relation to
                   Equestrian                  organizational standing
   1/7/2022 CCKA   Center     Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Research case law discussing requirements for informational standing.
                   Equestrian
   1/7/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Continue to review and annotate case law discussing informational
                   Equestrian                  standing requirement
  1/11/2022 CCKA   Center     Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders re: timeline for completing Murieta Equestrian Center
  1/12/2022 CCKA   Center     Tom Brett        informational standing research / memo.                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Call with J. Flanders re: research on information standing
                   Equestrian                  requirements, send J. Flanders case law re: the same.
  1/18/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Summarize research into informational standing / injury in the context
                   Equestrian                  of associational standing.
  1/20/2022 CCKA   Center       Tom Brett                                                                                         0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders, D. Hunt, and J. Flanders re: informational
  1/20/2022 CCKA   Center       Tom Brett      standing.                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
  1/20/2022 CCKA   Center       Tom Brett      Research case law on organizational standing based on informational in             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: informational injury research next steps.
  1/20/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Call with J. Flanders re: research into organizational standing based on
                   Equestrian                  informational injury.
  1/20/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise notes from call with D. Hunt and J. Flanders re: informational
  1/24/2022 CCKA   Center       Tom Brett      standing and send to J. Flanders.                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Calls with J. Flanders re: waters of the United States research.
   2/3/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and annotate I. Wren waters of the United States memo;
   2/7/2022 CCKA   Center       Tom Brett      outline questions for call with client, J. Flanders, and I Wren.                   0.5    $550.00             $0.00         $275.00               0.5
                   Murieta
                   Equestrian                  Begin outlining and drafting subpoena to Carol Anderson Ward Trust
   2/7/2022 CCKA   Center       Tom Brett      for inspection of property.                                                        0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: waters of the United States
   2/7/2022 CCKA   Center       Tom Brett      research                                                                           1.2    $550.00           $605.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review Murieta Equestrian Center fact chart, and compare with
   2/7/2022 CCKA   Center       Tom Brett      Rapanos opinion by Scalia                                                          1.1    $550.00           $605.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center       Tom Brett      Draft Subpoena to Carol A. Ward Trust for the inspection of premises; se             1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                  Draft notice of subpoena to Carol Anderson Ward Trust; research
   2/7/2022 CCKA   Center       Tom Brett      additional identifying information re: the trust.                                    0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: waters of the United States research question /
   2/7/2022 CCKA   Center       Tom Brett      fact-chart in prep for 3:00 call.                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   2/7/2022 CCKA   Center       Tom Brett      Draft email to J. Flanders and D. Hunt re: tasks assigned for further fact           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft requests for admission set two; send to J. Flanders for review.
   2/8/2022 CCKA   Center       Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Call with J. Flanders re: next steps for service of additional third-party
                   Equestrian                  subpoenas, requests for production and requests for admission.
   2/8/2022 CCKA   Center     Tom Brett                                                                                             0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with M. Maclear re: service on trust
   2/8/2022 CCKA   Center     Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Outline next steps for serving subpoena on Anderson Ward Trust,
                   Equestrian                  drafting requests for production and letter to opposing counsel re: duty
   2/8/2022 CCKA   Center       Tom Brett      to supplement.                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review practice guide re: requirements for service of subpoena and
   2/8/2022 CCKA   Center       Tom Brett      communicate with J. Flanders re: the same.                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review requests for production served to date; research duty on
   2/8/2022 CCKA   Center       Tom Brett      defendant to supplement production.                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review requests for production propounded on defendants to date
   2/9/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft requests for production set three.
   2/9/2022 CCKA   Center       Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center       Tom Brett      Contact assessor's office to obtain parcel ownership information; resear             0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Draft letter to opposing counsel re: defendant's duty to supplement
   2/9/2022 CCKA   Center       Tom Brett      discovery production; send to J. Flanders for review.                                0.5    $550.00           $275.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                                               Call with J. Flanders re: next steps for completing subpoena on
                   Murieta                     Anderson Ward trust; requests for production; and letter to opposing
                   Equestrian                  counsel re: duty to supplement
   2/9/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise requests for admission set two
   2/9/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Call with Second Amended Complaint County Recorder's office re:
                   Equestrian                  certified copy of grant deed for parcels adjacent to and/or nearby
   2/9/2022 CCKA   Center       Tom Brett      facility.                                                                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center       Tom Brett      Review J. Flanders correspondence with U.S. Army Corps of Engineers                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: subpoena for service on carol Anderson.
   2/9/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center       Tom Brett      Revise subpoena for inspection of premises for service on carol Anderso             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders drafts of requests for production (set three) and
   2/9/2022 CCKA   Center       Tom Brett      requests for admission (set two) for review.                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Resolve comments by D. Hunt in draft subpoena for service on Carol
  2/10/2022 CCKA   Center       Tom Brett      Anderson Ward Trust for site inspection.                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center       Tom Brett      Begin drafting Touhy letter to army corps of engineers as part of subpoe            0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Attempt to find personal address of Carol Anderson Ward for service of
  2/10/2022 CCKA   Center       Tom Brett      subpoena                                                                            0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next round of discovery to serve on defendant.
  2/10/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/10/2022 CCKA   Center       Tom Brett      Call with J. Flanders re: revisions to subpoena on Carol Anderson Ward              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     call with T. Trillo re: service of requests for admission and requests
                   Equestrian                  for production
  2/11/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Calls with T. Trillo re: revisions to and service of discovery devices on
  2/11/2022 CCKA   Center     Tom Brett        third parties and defendants                                                        0.2    $550.00             $0.00         $110.00               0.2




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Call with T. Trillo re: service of additional discovery on defendant and
  2/11/2022 CCKA   Center       Tom Brett      third party.                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with T. Trillo re: subpoena to water resources control board.
  2/11/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Make final revisions to Touhy request and send to J. Flanders for
  2/11/2022 CCKA   Center       Tom Brett      review.                                                                             0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Revise requests for production set three and requests for admission
  2/11/2022 CCKA   Center       Tom Brett      set one                                                                             0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Complete revisions to requests for production and requests for
                   Equestrian                  admission.
  2/11/2022 CCKA   Center     Tom Brett                                                                                            0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Trillo re: service of discovery devices today.
  2/11/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian                  Make final revisions to Carol Anderson Ward Trust Subpoena
  2/11/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Calls with T. Trillo re: Touhy letter to U.S. Army Corps of Engineers
                   Equestrian
  2/11/2022 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Make final revisions to subpoenas to Rancho Murieta Community
  2/11/2022 CCKA   Center       Tom Brett      Services District and SWRCB                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and organize in firm communication re: discovery into
  2/11/2022 CCKA   Center       Tom Brett      correspondence file                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise letter to opposing counsel re: duty to supplement
  2/11/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and organize in-firm and client communications into
                   Equestrian                  correspondence file re: third party discovery (subpoenas), opposing
  2/12/2022 CCKA   Center     Tom Brett        party discovery, fact development (wotus question)                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/14/2022 CCKA   Center     Tom Brett        Draft email to J. Flanders re: third party subpoena for service on Second           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center     Tom Brett        Review and analyze Rancho Murieta planning documents and Sacrame                    1.1    $550.00           $605.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Begin drafting subpoena to Sacramento County
  2/15/2022 CCKA   Center       Tom Brett                                                                                       0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: service of subpoena on Sacramento County
  2/15/2022 CCKA   Center       Tom Brett      and Rancho Murieta                                                               0.3    $550.00            $55.00         $110.00               0.2
                   Murieta
                   Equestrian
  2/15/2022 CCKA   Center       Tom Brett      Review email notice from process server re: service of subpoena on car           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Calls with J. Flanders and M. Maclear re: subpoena for service on
  2/15/2022 CCKA   Center       Tom Brett      Second Amended Complaint county                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Calls with T. Trillo re: subpoena for service on county.
  2/15/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center       Tom Brett      Complete revisions to attachment A to subpoena to Second Amended C               0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center       Tom Brett      Make final revisions to Sacramento County Subpoena and supporting do             0.7    $550.00           $385.00           $0.00                0

                                               Review and annotate Rancho Murieta Community Services District
                   Murieta                     memo on Laguna Joaquin operation and water rights decision for
                   Equestrian                  laguna and unnamed stream
  2/16/2022 CCKA   Center       Tom Brett                                                                                       0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian
  2/16/2022 CCKA   Center       Tom Brett      Call with J. Flanders re: subpoena on Sacramento coutny.                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/17/2022 CCKA   Center       Tom Brett      Continue to draft subpoenas for Sacramento department of water resour            0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Review prior CEQA documents from Rancho Murieta to identify proper
  2/17/2022 CCKA   Center       Tom Brett      recipient of subpoenas; call with T. Trillo re: the same (.1)                    0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review subpoenas for Sacramento County; call with T. trillo re: the
  2/17/2022 CCKA   Center       Tom Brett      same (.1)                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Communicate with J. Flanders and E. Maharg re: division of work for
  2/17/2022 CCKA   Center       Tom Brett      standing / waters of the United States / discharge research                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Trillo re: service of subpoena's on Sacramento County
  2/17/2022 CCKA   Center       Tom Brett      departments.                                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft Rule 34 inspection request and research case law re:
  2/22/2022 CCKA   Center       Tom Brett      appropriateness of multiple inspections.                                         0.6    $550.00           $330.00           $0.00                0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Review and annotate case law re: waters of the United States status of
                   Equestrian                  man made waterway
  2/22/2022 CCKA   Center       Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Research case law re: status of artificial / man-made waterways as
  2/22/2022 CCKA   Center       Tom Brett      waters of the United States                                                         0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting statement of undisputed facts and next
  2/22/2022 CCKA   Center       Tom Brett      steps for waters of the United States and discharge research.                       0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian                  Email U.S. Army Corps of Engineers re: pending Touhy request.
  2/22/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. re: draft of Rule 34 inspection request
  2/22/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/22/2022 CCKA   Center       Tom Brett      Create account with Sacramento public records office to access docume               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Trillo re: notice of association draft.
  2/22/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Summarize case law holding man-made conveyances are waters of the
  2/23/2022 CCKA   Center       Tom Brett      United States                                                                       1.0    $550.00           $550.00           $0.00                0

                   Murieta                     Review and annotate case law re: intermittent streams as waters of the
                   Equestrian                  United States
  2/23/2022 CCKA   Center     Tom Brett                                                                                            0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Call with J. Flanders re: Second Amended Complaint County
                   Equestrian                  S\subpoena; facility inspection; and next steps for discussions with re:
  2/23/2022 CCKA   Center       Tom Brett      Ian Wren waters of the United States memo                                           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Email Sacramento County re: subpoenas for documents.
  2/23/2022 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian
  2/23/2022 CCKA   Center       Tom Brett      Review and organize communications with Sacramento county re: subp                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Rule 34 site inspection request; call with T. Trillo re: the same.
  2/24/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and annotate I. Wren waters of the United States memo; email
  2/28/2022 CCKA   Center       Tom Brett      J. Flanders and D. Hunt the same plus updated fact chart.                           0.7    $550.00           $385.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Revise fact chart.
                   Equestrian
  2/28/2022 CCKA   Center       Tom Brett                                                                                       0.6    $550.00            $330.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to revise and add to fact chart (add arguments / facts and
  2/28/2022 CCKA   Center       Tom Brett      evidence going to Rapanos plurality opinion),                                    0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: I. Wren waters of the United States memo and
  2/28/2022 CCKA   Center       Tom Brett      in prep for call tomorrow with D. Hunt.                                          0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Meeting with J. Flanders and D. Hunt re: next steps for I. Wren expert
   3/1/2022 CCKA   Center       Tom Brett      memo                                                                             1.3    $550.00              $0.00          $715.00               1.3
                   Murieta
                   Equestrian                  Review I. Wren waters of the United States memo; call with J. Flanders
   3/1/2022 CCKA   Center       Tom Brett      re: the same.                                                                    0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian
   3/1/2022 CCKA   Center       Tom Brett      Organize communications with army corps of engineers re: Touhy reque             0.1    $218.00             $21.80            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: expert report
   3/1/2022 CCKA   Center       Tom Brett                                                                                       0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center       Tom Brett                                                                                       1.9    $550.00           $1,045.00           $0.00                0
                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center       Tom Brett                                                                                       0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Draft point heading outline for motion for summary judgment on the
   3/2/2022 CCKA   Center       Tom Brett      issue of waters of the United States.                                            0.8    $550.00            $440.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Maharg and J. Flanders re: traceability arguments
   3/2/2022 CCKA   Center       Tom Brett                                                                                       0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Review and annotate 2008 U.S. Environmental Protection Agency
   3/2/2022 CCKA   Center       Tom Brett      guidance on waters of the United States.                                         0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Draft section in Motion for Summary Judgment outline re: U.S.
   3/2/2022 CCKA   Center       Tom Brett      Environmental Protection Agency guidance.                                        0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze memo re: required disclosures and discoverable
   3/3/2022 CCKA   Center       Tom Brett      materials from retained experts.                                                 0.3    $550.00              $0.00          $165.00               0.3
                   Murieta
                   Equestrian
  12/2/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Begin drafting tag tree for document review
   3/3/2022 CCKA   Center       Tom Brett                                                                                         0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center       Tom Brett      Call with JRR re: Ian Wren expert report revisions.                                0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Access and upload regional water board responses to subpoena.
   3/3/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
   3/3/2022 CCKA   Center       Tom Brett      Communicate with firm re: service of subpoena on Carol Anderson Ward               0.1    $218.00             $21.80            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft tag tree.
   3/4/2022 CCKA   Center       Tom Brett                                                                                         0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: possible sampling at Cosumnes River and
   3/4/2022 CCKA   Center       Tom Brett      Unnamed Stream, and tag tree draft.                                                0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Review drone footage of unnamed stream; communicate with J.
   3/4/2022 CCKA   Center       Tom Brett      Flanders re: the same.                                                             0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze proposed list of stipulated facts.
   3/4/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian
   3/6/2022 CCKA   Center       Tom Brett      Locate case law discussing county of Maui "functional equivalent" test o           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Consultation with J. Flanders, D. Hunt, and I Wren re: expert report.
   3/7/2022 CCKA   Center       Tom Brett                                                                                         0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comments / questions for meeting with I Wren re: expert report.
   3/7/2022 CCKA   Center       Tom Brett                                                                                         0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center       Tom Brett                                                                                         1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian                  Research case law re: requirement to produce documents received in
   3/8/2022 CCKA   Center       Tom Brett      response to third party subpoenas                                                  0.4    $550.00              $0.00          $220.00               0.4
                   Murieta
                   Equestrian
  12/7/2022 CCKA   Center       Tom Brett                                                                                         3.0    $550.00           $1,650.00           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian
  12/7/2022 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next research steps on standing
   3/8/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Review and summarize case law re: duty to supplement discovery with
                   Equestrian                  documents received from third-parties in response to subpoenas.
   3/9/2022 CCKA   Center     Tom Brett                                                                                          0.7    $550.00           $385.00           $0.00                0

                   Murieta                     Call with J. Flanders re: supplementing discovery; next steps w/r/t I.
                   Equestrian                  Wren report; and potential waters of the United States arguments
   3/9/2022 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: supplemental disclosures / discovery
   3/9/2022 CCKA   Center     Tom Brett        responses.                                                                        0.2    $550.00           $110.00           $0.00                0

                                               Review, analyze and reply to in firm / clients comms re: regulatory
                   Murieta                     context for expert report; organize the same into correspondence
                   Equestrian                  folder.
  3/10/2022 CCKA   Center       Tom Brett                                                                                        0.1    $218.00            $21.80           $0.00                0
                   Murieta
                   Equestrian                  Draft summary / regulatory context for waters of the United States
  3/10/2022 CCKA   Center       Tom Brett      definition; send to J. Flanders for review.                                       1.7    $550.00           $935.00           $0.00                0
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Retrieve and upload subpoena responses from Sacramento County
  3/10/2022 CCKA   Center       Tom Brett      Office of Env. Planning.                                                          0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze to in firm / client comms re: regulatory context for
                   Murieta                     expert report, and third party comms re: subpoena responses organize
                   Equestrian                  the same into correspondence folder.
  3/10/2022 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with I. Wren, J. Flanders, and D. Hunt re: expert report.
  3/11/2022 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0

                   Murieta                     Review and analyze case law discussing functional equivalent test
                   Equestrian                  elucidated by SCOTUS
  3/11/2022 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: sampling at Facility and future rain events
  3/11/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Review 2021 site inspection photos; research property boundaries at
  3/14/2022 CCKA   Center       Tom Brett      facility; email D. Hunt re: sample plan.                                             0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Revise maps of parcel ownership info from Dillard Road bridge to
  3/14/2022 CCKA   Center       Tom Brett      facility; send to D. Hunt for review.                                                0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Check ECF and confirm that Second Amended Complaint has been
  3/14/2022 CCKA   Center       Tom Brett      filed; calendar LD for D to file MTD                                                 0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Contact Sacramento County assessor's office re: facility ownership
  3/14/2022 CCKA   Center       Tom Brett      information                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  3/14/2022 CCKA   Center       Tom Brett      Check task list and revise calendared dates / future deadlines                       0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Call with J. Flanders re: Second Amended Complaint filing and
                   Equestrian                  defendants' motion to dismiss
  3/14/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: potential sampling points for site visit with I.
  3/14/2022 CCKA   Center       Tom Brett      Wren.                                                                                0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise sample map, and send follow up email with D. Hunt re: the
  3/14/2022 CCKA   Center       Tom Brett      same.                                                                                0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze order granting leave to amend complaint.
  3/14/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and annotate case law construing functional equivalent test on
  3/15/2022 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                          0.2    $550.00           $110.00           $0.00               0

                   Murieta                     Review and analyze in firm / client communications re: expert report
                   Equestrian                  and potential site visit to defendant facility; organize into
  3/15/2022 CCKA   Center     Tom Brett        correspondence folder.                                                               0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and annotate case law applying county of Maui factors on cross
                   Equestrian                  Motion for Summary Judgment motions
  3/16/2022 CCKA   Center     Tom Brett                                                                                             0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center     Tom Brett        Research case law discussing county of Maui decision on summary judg                 0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Review drone footage from 3.15.22 site visit
  3/16/2022 CCKA   Center     Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00               0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center       Tom Brett                                                                                          2.8    $550.00           $1,540.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze communications with I. Wren we: sources for
  3/16/2022 CCKA   Center       Tom Brett      expert memo                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders re: draft Ian Wren expert report.
  3/16/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  3/16/2022 CCKA   Center       Tom Brett      Review video and photos uploaded from 3.15.22 site visit.                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center       Tom Brett                                                                                          0.9    $550.00            $495.00            $0.00                0

                   Murieta                     Review plaintiffs initial disclosures and requests for production
                   Equestrian                  responses to identify documents that should potentially be produced to
  3/17/2022 CCKA   Center     Tom Brett        expert.                                                                             0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian
  12/8/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze in firm and client communications re: revisions to
                   Equestrian                  complaint; Organize into correspondence folder
  3/17/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with I. Wren, J. Flanders, and D. Hunt re: next steps for completing
  3/18/2022 CCKA   Center       Tom Brett      expert report.                                                                      0.6    $550.00            $275.00           $55.00               0.1
                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center       Tom Brett      Revise and upload to shared summary of pollutant impacts for incorpora              0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
  3/18/2022 CCKA   Center       Tom Brett      Search correspondence file with expert to locate past documents sent to             0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: need to add additional documents to I. Wren
  3/18/2022 CCKA   Center       Tom Brett      sources for expert report.                                                          0.1    $550.00             $55.00            $0.00                0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction


                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze in-firm communications re: expert report; organize
  3/18/2022 CCKA   Center       Tom Brett      into correspondence file.                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze analytic sample results for 3.15.22 site visit.
  3/18/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze storm Water Management Program for Rancho
                   Equestrian                  Murieta Community Services District to determine whether there is
  3/20/2022 CCKA   Center       Tom Brett      need to send to Ian wren for expert report                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Search shared server for documents used by I Wren in BMP memo
  3/20/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft expert witness disclosure per Federal Rule of Civil Procedure
  3/21/2022 CCKA   Center       Tom Brett      26(a)(2); send to J. Flanders for review.                                        0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett                                                                                       0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center       Tom Brett                                                                                       0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders re: supplemental production.
  3/21/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review discovery responses from defendants ( requests for production
                   Equestrian                  and RFAs)
  3/21/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/21/2022 CCKA   Center     Tom Brett        Upload current draft of expert report to SharePoint, send to I. Wren, D. H       0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                Review and analyze in firm and external comms re: document
  3/22/2022 CCKA   Center     Tom Brett      production in response to requests for production sets one and two                    0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Review and analyze in firm and client communications re: expert report
                   Equestrian                and opposing counsel request for extension to respond to Second
  3/22/2022 CCKA   Center     Tom Brett      Amended Complaint                                                                     0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Call with J. Flanders and D. Hunt re: next steps for Murieta Equestrian
                   Equestrian                Center
  3/24/2022 CCKA   Center     Tom Brett                                                                                            1.1    $550.00             $0.00         $605.00               1.1
                   Murieta
                   Equestrian                scan reference materials in prep for drafting meet and confer letter
  3/24/2022 CCKA   Center     Tom Brett                                                                                            0.4    $550.00           $220.00           $0.00                0

                   Murieta                   Review federal practice guide for sections re: requests for production
                   Equestrian                and requests for admission in prep for meet and confer to defendants.
  3/24/2022 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                Draft task list for next week
  3/25/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                   Review and analyze initial disclosures to identify documents potentially
                   Equestrian                probative of claims of informational injury in Second Amended
  3/28/2022 CCKA   Center     Tom Brett      Complaint.                                                                            0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                Review and annotate practice guide re: requests for admission and
  3/28/2022 CCKA   Center     Tom Brett      requests for production in prep for meet and confer.                                  0.2    $550.00           $110.00           $0.00                0

                                             Email J. Flanders and D. Hunt re: review of initial disclosures to identify
                                             documents potentially probative of claims of informational injury in
                   Murieta                   Second Amended Complaint.
                   Equestrian
  3/28/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                Review and analyze in-firm and opposing counsel correspondence re:
  3/28/2022 CCKA   Center     Tom Brett      stipulated facts; organize into correspondence file.                                  0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Call with MCM re: meet and confer letter in response to defendant's
                   Equestrian                requests for production and requests for admission responses.
  3/28/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Review Second Amended Complaint county assessor's GIS system to
                   Equestrian                determine if APN listed in stipulated facts proposed by opposing
  3/28/2022 CCKA   Center     Tom Brett      counsel is correct.                                                                   0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Draft meet and confer letter in response to Defendants' objections to
                   Equestrian                  RFA, set one; draft section responding to objections to Request Nos. 1-
  3/30/2022 CCKA   Center     Tom Brett        4.                                                                                 1.1    $550.00           $605.00           $0.00               0
                   Murieta
                   Equestrian                  Standing meeting with D. Hunt and J. Flanders re: next steps and
  3/30/2022 CCKA   Center     Tom Brett        tasks.                                                                             0.8    $550.00           $440.00           $0.00               0

                   Murieta                     Review exemplar meet and confer letters to RFAs; draft intro and legal
                   Equestrian                  background sections to meet and confer.
  3/30/2022 CCKA   Center       Tom Brett                                                                                         0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze practice guide re: requests for admission
  3/30/2022 CCKA   Center       Tom Brett      responses.                                                                         0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                  Draft responses to Defendant's General objections to RFA, set one
  3/30/2022 CCKA   Center       Tom Brett                                                                                         0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Draft meet and confer in response to Defendant's objections to RFAs
  3/30/2022 CCKA   Center       Tom Brett                                                                                         0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to draft Meet and confer in response to defendants' objections
  3/30/2022 CCKA   Center       Tom Brett      to RFAs, set one.                                                                  0.2    $550.00           $110.00           $0.00               0

                   Murieta                     Review production from Second Amended Complaint county
                   Equestrian                  department of water resources; communicate with E. Bustos, TT, and
  3/30/2022 CCKA   Center       Tom Brett      J. Flanders re: the same.                                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: meet and confer letters.
  3/30/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft meet and confer in response to Defendant's objections to RFAs,
  3/31/2022 CCKA   Center       Tom Brett      Set One.                                                                           0.8    $550.00           $440.00           $0.00               0
                   Murieta
                   Equestrian                  Review and annotate practice guide re: requests for production
  3/31/2022 CCKA   Center       Tom Brett      responses and objections.                                                          0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Draft meet and confer in response to Defendant's requests for
  3/31/2022 CCKA   Center       Tom Brett      production objections.                                                             0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze Defendant's objections to RFP, set three; outline
  3/31/2022 CCKA   Center       Tom Brett      responses thereto for meet and confer letter.                                      0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian
  3/31/2022 CCKA   Center       Tom Brett      Make additional revisions to requests for admission meet and confer lett           0.4    $550.00           $220.00           $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Further revise meet and confer letter in response to defendants
  3/31/2022 CCKA   Center     Tom Brett        objections to RFA, set one.                                                       0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Communicate in staff meeting with firm re: status of subpoena
                   Equestrian                  responses from Second Amended Complaint County department of
  3/31/2022 CCKA   Center     Tom Brett        water resources.                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft meet and confer in response to Defendant's requests for
   4/1/2022 CCKA   Center     Tom Brett        production objections and responses.                                              0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian
   4/1/2022 CCKA   Center     Tom Brett        Review and analyze case law re: timing of service on opposing parties p           0.7    $550.00           $385.00           $0.00                0

                   Murieta                     Call with J. Flanders re: next steps for requests for production /
                   Equestrian                  requests for admission meet and confer, and subpoena to Carol
   4/1/2022 CCKA   Center     Tom Brett        Anderson Ward Trust.                                                              0.3    $550.00           $110.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise subpoena for service on Carol Anderson Ward trust.
   4/1/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: service of subpoena on Carol Anderson Ward
   4/1/2022 CCKA   Center     Tom Brett        trust.                                                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Complete drafts of subpoena on Carol Anderson Ward trust for
                   Equestrian                  inspection or premises.
   4/1/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Begin revisions to requests for production meet and confer
   4/1/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Trillo re: service of subpoena on Carol Anderson Ward
   4/1/2022 CCKA   Center       Tom Brett      trust.                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review external communications re: service of subpoena on Carol
   4/1/2022 CCKA   Center       Tom Brett      Anderson Ward trust; organize into correspondence file                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Attachment A to subpoena on Carol Anderson Ward trust.
   4/1/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Create task list for next week
   4/1/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Conduct final review of subpoena documents for Carol Anderson Ward
   4/1/2022 CCKA   Center       Tom Brett      trust prior to service.                                                           0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Review and annotate defendant's answer to second amended
                   Equestrian                  complaint.
   4/3/2022 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Complete draft requests for production meet and confer letter; email
   4/4/2022 CCKA   Center     Tom Brett        the same to J. Flanders and D. Hunt.                                              1.5    $550.00           $825.00           $0.00                0
                   Murieta
                   Equestrian                  Draft meet and confer letter responding to Defendant's objections to
   4/4/2022 CCKA   Center     Tom Brett        Plaintiff's Rule 34 Inspection Request.                                           1.4    $550.00           $770.00           $0.00                0

                   Murieta                     Complete meet and confer in response to defendants objections to
                   Equestrian                  second rule 34 inspection request
   4/4/2022 CCKA   Center     Tom Brett                                                                                          0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Revise notice of association; retrieve ECF login information
   4/4/2022 CCKA   Center     Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Review and annotate defendant's response / objections to rule 34
                   Equestrian                  inspection request.
   4/4/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: meet and confer letters and next steps of
   4/4/2022 CCKA   Center       Tom Brett      addressing answer.                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   4/4/2022 CCKA   Center       Tom Brett      Email J. Flanders and D. Hunt re: defendant's requests for production .           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze communications with firm and client re: requests
   4/4/2022 CCKA   Center       Tom Brett      for production / Rule 34 meet and confer letters.                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with TT re: notice of appearance
   4/5/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise task list
   4/5/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1

                                               Research and analyze case law re: deposition subpoenas requesting
                                               document production in prep for drafting objections to Murieta
                   Murieta                     Equestrian Center deposition subpoena
                   Equestrian
   4/5/2022 CCKA   Center     Tom Brett                                                                                          1.0    $550.00           $550.00           $0.00                0

                   Murieta                     Research case law re: propriety of deposition subpoena requesting
                   Equestrian                  production of documents.
   4/5/2022 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: objections to defendant's deposition notice.
   4/5/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft initial outline for objections to defendant's deposition subpoena.
   4/5/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze in firm comms re: discovery on defendant, meet
                   Equestrian                  and confer letters re: the same, and objections to defendant's
   4/5/2022 CCKA   Center       Tom Brett      deposition notice; organize into correspondence folder.                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and annotate case law re: objections to depo notices
   4/6/2022 CCKA   Center       Tom Brett      compelling production of documents.                                                0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Outline objections to deposition notice and RFP; summarize case law
   4/6/2022 CCKA   Center       Tom Brett      re: the same.                                                                      0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Draft portion of objections to deposition notice and document request
   4/6/2022 CCKA   Center       Tom Brett      re: failure to serve subpoena and insufficient notice.                             0.4    $550.00           $220.00           $0.00               0

                   Murieta                     Compare affirmative defenses from defendant's answer to Second
                   Equestrian                  Amended Complaint, with first answer and first amended answer.
   4/6/2022 CCKA   Center     Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: potential motion to strike ADs set out in
   4/6/2022 CCKA   Center     Tom Brett        defendant's answer to Second Amended Complaint                                     0.3    $550.00           $165.00           $0.00               0

                                               Research case law re: requirement that subpoena or Rule 34 request
                                               be served concurrently with Rule 30 deposition notice requesting
                   Murieta                     production of documents, as well as case law re: objections to Rule 30
                   Equestrian                  deposition notice requesting production of documents
   4/6/2022 CCKA   Center     Tom Brett                                                                                           0.3    $550.00           $165.00           $0.00               0

                   Murieta                     Draft email to J. Flanders re: comparison between affirmative defenses
                   Equestrian                  set out in answer to Second Amended Complaint and prior answers.
   4/6/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: weather forecast at Murieta Equestrian Center
   4/6/2022 CCKA   Center       Tom Brett      Facility.                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Research case law re: objections to deposition subpoena requesting
   4/8/2022 CCKA   Center       Tom Brett      production of documents.                                                           0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian
   4/8/2022 CCKA   Center       Tom Brett      Review and analyze correspondence with opposing counsel re: propose                0.2    $550.00           $110.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Review and analyze communications with opposing counsel re:
   4/8/2022 CCKA   Center       Tom Brett      requested R 34 site inspection and proposed stipulations.                           0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft objections to defendant's notice of deposition and request for
  4/11/2022 CCKA   Center       Tom Brett      production (I. Wren).                                                               2.1    $550.00           $1,155.00           $0.00               0
                   Murieta
                   Equestrian                  Revise objections to defendant's deposition notice.
  4/11/2022 CCKA   Center       Tom Brett                                                                                          0.9    $550.00            $495.00            $0.00               0
                   Murieta
                   Equestrian                  Zoom meeting with I. Wren, J. Flanders, and D. Hunt
  4/11/2022 CCKA   Center       Tom Brett                                                                                          0.8    $550.00            $440.00            $0.00               0

                   Murieta                     Upload objections to Ian Wren deposition notice; revise the same
                   Equestrian
  4/11/2022 CCKA   Center       Tom Brett                                                                                          0.7    $550.00            $385.00            $0.00               0
                   Murieta
                   Equestrian                  Draft J. Flanders decl. in support of motion for informal discovery
  4/11/2022 CCKA   Center       Tom Brett      dispute resolution.                                                                 0.4    $550.00            $220.00            $0.00               0
                   Murieta
                   Equestrian                  Draft proof of service and continue to revise objections to defendant's
  4/11/2022 CCKA   Center       Tom Brett      deposition notice.                                                                  0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center       Tom Brett      Revise objections to defendant's notice of deposition of Ian Wren.                  0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center       Tom Brett      Call with J. Flanders re: objections to deposition subpoena notice and re           0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
  4/11/2022 CCKA   Center       Tom Brett      Communicate with D. Hunt and J. Flanders re: objections to defendant's              0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: objections to deposition subpoena.
  4/11/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: declaration in support of motion for informal
  4/11/2022 CCKA   Center       Tom Brett      discovery                                                                           0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: service of objections to deposition notice of I.
  4/12/2022 CCKA   Center       Tom Brett      Wren.                                                                               0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Telephone calls with E. Bustos re: Proof of Service file name.
  4/12/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Review and analyze joint statement re: rule 34 inspection dispute.
  4/15/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00               0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Research and analyze case law re: alternate service of Federal Rule of
  4/18/2022 CCKA   Center     Tom Brett        Civil Procedure 45 subpoenas                                                       0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze prior research re: scope of expert reports, and
  4/18/2022 CCKA   Center     Tom Brett        requirements for supplemental and/or rebuttal reports.                             0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: supplemental expert report requirements.
  4/18/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00            $55.00          $55.00               0.1

                                               Summarize expert report research from prior action and apply to
                   Murieta                     question in present suit of whether plaintiff must supplement expert
                   Equestrian                  report following second R. 34 inspection; send to J. Flanders for
  4/18/2022 CCKA   Center       Tom Brett      review.                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with MCM re: service on Carol Anderson Ward trust
  4/18/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Discuss with J. Flanders strategy for serving Carol Anderson Ward
  4/18/2022 CCKA   Center       Tom Brett      Trust with subpoena for inspection of adjacent unnamed stream                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for discovery on defendant and
  4/19/2022 CCKA   Center       Tom Brett      service of subpoena on Carol Anderson ward trust.                                  0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Revise requests for production meet and confer letter for service on
  4/19/2022 CCKA   Center       Tom Brett      defendant.                                                                         0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review research and case law discussing alternate means of service
  4/19/2022 CCKA   Center       Tom Brett      of subpoenas.                                                                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  4/19/2022 CCKA   Center       Tom Brett      Review research on alternative service of Federal Rule of Civil Procedur           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders summarizing case law re: alternate service
  4/19/2022 CCKA   Center       Tom Brett      methods for carol Anderson Ward.                                                   0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Communicate with J. Flanders re: Requests for Production meet and
  4/19/2022 CCKA   Center       Tom Brett      confer letter.                                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list
  4/19/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm / client / opposing counsel communications
                   Murieta                     re: Rule 34 inspection request and dispute / subpoena on Carol
                   Equestrian                  Anderson Ward trust / expert report / defendant's answer; organize into
  4/19/2022 CCKA   Center     Tom Brett        correspondence file.                                                               0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Review and analyze exemplar stipulation re: document authenticity
  4/19/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Begin drafting Interrogatories, set two
  4/20/2022 CCKA   Center       Tom Brett                                                                                          1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Draft stipulation regarding authenticity of documents.
  4/20/2022 CCKA   Center       Tom Brett                                                                                          0.7    $550.00           $385.00           $0.00               0
                   Murieta
                   Equestrian                  Revise stipulation re: authenticity of documents
  4/20/2022 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Make final revisions to stipulation re: authenticity; send to J. Flanders
  4/20/2022 CCKA   Center       Tom Brett      for review.                                                                         0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: contention interrogatories /stipulation re:
  4/20/2022 CCKA   Center       Tom Brett      authenticity                                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Email opposing counsel proposing stipulation re: authenticity of
  4/20/2022 CCKA   Center       Tom Brett      documents.                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review questions from T. Trillo re: method of service on Carol
  4/20/2022 CCKA   Center       Tom Brett      Anderson Ward trust; draft email in response.                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze in firm correspondence re: firm priority list for
  4/20/2022 CCKA   Center       Tom Brett      matter and service of subpoena on Carol Anderson Ward trust.                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review, analyze, and annotate case law re: permissible scope of
  4/21/2022 CCKA   Center       Tom Brett      contention rogs.                                                                    0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Revise contention interrogatories; email J. Flanders / EAM / D. Hunt re:
  4/21/2022 CCKA   Center       Tom Brett      the same.                                                                           0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Revise interrogatories; email J. Flanders re: the same.
  4/21/2022 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: site inspection and rogs
  4/21/2022 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00               0

                                               Review and analyze in firm communications re: discovery on third
                   Murieta                     parties and defendant and proposed stipulation re: authenticity of
                   Equestrian                  documents; organize into correspondence file
  4/21/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review joint stipulation of facts and send to opposing counsel for
  4/21/2022 CCKA   Center     Tom Brett        execution.                                                                          0.1    $550.00            $55.00           $0.00               0



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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Research case law re: proper scope of contention interrogatories.
  4/21/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law re: permissible scope of Interrogatories.
  4/22/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting sprogs for service on defendant
  4/22/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft PMK deposition notice.
  4/25/2022 CCKA   Center       Tom Brett                                                                                          0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian                  Revise contention interrogatories to Defendants.
  4/25/2022 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft 30(b)(6) deposition notice and attachment, send to J. Flanders for
  4/25/2022 CCKA   Center       Tom Brett      review.                                                                             0.6    $550.00           $330.00           $0.00                0

                                               Draft follow up correspondence with opposing counsel re: requests for
                   Murieta                     production and requests for admission meet and confer, as well as the
                   Equestrian                  proposed stipulation re: authenticity of documents, and joint stipulation
  4/25/2022 CCKA   Center     Tom Brett        of facts.                                                                           0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: 30(b)(6) deposition notice for service on
  4/25/2022 CCKA   Center     Tom Brett        Murieta Equestrian Center                                                           0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian                  Email D. Hunt re: contention interrogatories.
  4/26/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1

                                               Review and analyze in firm and client correspondence re: interrogatory,
                   Murieta                     3rd party discovery on Carol Anderson Ward trust and Rancho Murieta
                   Equestrian                  Community Services District, and re: sample results of site inspection;
  4/26/2022 CCKA   Center       Tom Brett      organize into correspondence folder                                                 0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft and revise task list
  4/26/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Email J. Flanders re: sample results from April inspection and re:
  4/26/2022 CCKA   Center       Tom Brett      discovery on defendant                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Trillo re: service of subpoena on Carol Anderson Ward trust
  4/26/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Carol Anderson Ward subpoena and sprogs
  4/26/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Revise rogs, set two; send to D. Hunt for review.
  4/27/2022 CCKA   Center       Tom Brett                                                                                        0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to sprogs set two
  4/27/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Email correspondence with J. Flanders and D. Hunt re: rogs
  4/28/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise rogs.
  4/28/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: rogs.
  4/28/2022 CCKA   Center       Tom Brett                                                                                        0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Revise interrogatories and send to D. Hunt and J. Flanders for review.
  4/28/2022 CCKA   Center       Tom Brett                                                                                        0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to ROGs
  4/28/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to interrogatories; and further
  4/28/2022 CCKA   Center       Tom Brett      discovery on defendant                                                            0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Review prior meet and confer correspondence with opposing counsel
                   Equestrian                  re: discovery requests; email follow up meet and confer letter with
   5/3/2022 CCKA   Center       Tom Brett      opposing counsel re: the same.                                                    0.5    $550.00             $0.00         $275.00               0.5
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: rule 34 inspection request,
   5/3/2022 CCKA   Center       Tom Brett      and deposition notice (PMK)                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft third request for inspection of property
   5/3/2022 CCKA   Center       Tom Brett                                                                                        0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Revise letter to opposing counsel re: duty to supplement discovery
   5/4/2022 CCKA   Center       Tom Brett      responses                                                                         0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center       Tom Brett      Revise letter to opposing counsel re: service of subpoena on carol Ande           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Email J. Flanders re: meet and confer letter to Carol Anderson Ward
   5/4/2022 CCKA   Center       Tom Brett      Trust.                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise task list
   5/4/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Review and analyze external and inform correspondence re: meet and
                   Equestrian                  confer with Defendant, Def's discovery requests, and additional
   5/4/2022 CCKA   Center     Tom Brett        discovery on defendant; organize into correspondence folder                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list
   5/4/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Make final revisions to letter re: def's duty to supplement discovery
   5/4/2022 CCKA   Center     Tom Brett        responses; send to opposing counsel                                                 0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Revise deposition notice to Defendant's person most qualified.
                   Equestrian
   5/4/2022 CCKA   Center       Tom Brett                                                                                          1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                  Draft and revise meet and confer letter to defense counsel re: service
   5/4/2022 CCKA   Center       Tom Brett      of subpoena on Carol Anderson Ward Trust.                                           0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Draft letter re: defendant's duty to supplement discovery responses.
   5/4/2022 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center       Tom Brett      Call with J. Flanders re: outstanding discovery on defendant, including d           0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center       Tom Brett      Revise deposition notice and Federal Rule of Civil Procedure 34 request             0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: FRCP 30(b)(6) deposition notice to
   5/4/2022 CCKA   Center       Tom Brett      defendants.                                                                         0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze correspondence with opposing counsel re: meet
                   Equestrian                  and confer schedule for outstanding discovery; organize into
   5/4/2022 CCKA   Center     Tom Brett        correspondence folder                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Telephone call with T. Trillo re: draft meet and confer letter.
   5/4/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Email D. Hunt and J. Flanders re: R 34 inspection request, FRCP
                   Equestrian                  30(b)(6) deposition notice, and Carol Anderson Ward Trust Subpoena.
   5/5/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: Ward subpoena
   5/5/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Revise meet and confer letter to opposing counsel re: service of
                   Equestrian                  Federal Rule of Civil Procedure 45 subpoena on CAW
   5/5/2022 CCKA   Center     Tom Brett                                                                                            0.4    $550.00           $220.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders in prep for meet and confer
   5/6/2022 CCKA   Center       Tom Brett                                                                                           0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: prior requests for production in prep
   5/6/2022 CCKA   Center       Tom Brett      for meet and confer                                                                  0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Follow up call with J. Flanders and D. Hunt re: meet and confer with
   5/6/2022 CCKA   Center       Tom Brett      opposing counsel.                                                                    1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian
   5/6/2022 CCKA   Center       Tom Brett      5.6.22 meet and confer with opposing counsel minus J. Flanders call                  0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Draft requests for production set four
   5/6/2022 CCKA   Center       Tom Brett                                                                                           0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D Hunt re: agenda for meet and confer
   5/6/2022 CCKA   Center       Tom Brett      with defendant                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: draft requests for production set four
   5/6/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     review and annotate practice guide and prior research re: motion to
                   Equestrian                  compel requests for admission responses; summarize findings for J.
   5/8/2022 CCKA   Center     Tom Brett        Flanders and D. Hunt.                                                                1.8    $550.00           $990.00           $0.00                0
                   Murieta
                   Equestrian                  Outline next steps for drafting objections to defendant's notice of taking
   5/8/2022 CCKA   Center     Tom Brett        continued deposition of I. Wren.                                                     0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft factual background section and argument section of MPA in
                   Equestrian                  support of motion for leave to serve subpoena by alternative means.
   5/9/2022 CCKA   Center       Tom Brett                                                                                           0.7    $550.00             $0.00         $385.00               0.7
                   Murieta
                   Equestrian                  Draft introduction to MPA in support of
   5/9/2022 CCKA   Center       Tom Brett                                                                                           0.5    $550.00             $0.00         $275.00               0.5
                   Murieta
                   Equestrian                  Draft motion and notice of motion for leave to serve subpoena by
   5/9/2022 CCKA   Center       Tom Brett      alternative means; create pleading paper for the same and MPA                        0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian                  Call with J. Flanders re: motion for leave to serve subpoena by
   5/9/2022 CCKA   Center       Tom Brett      alternative means                                                                    0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Revise notice of motion and motion for leave to serve subpoena by
   5/9/2022 CCKA   Center       Tom Brett      alternative means                                                                    0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Call with TT re: service history of subpoena on Carol Anderson Ward
   5/9/2022 CCKA   Center       Tom Brett      trust                                                                                0.1    $550.00             $0.00          $55.00               0.1



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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: I Wren continued deposition
   5/9/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  call and email with TT re: service of objection to notice of continued
   5/9/2022 CCKA   Center       Tom Brett      deposition of Ian wren                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise / draft objections to notice of continued deposition of I Wren.
   5/9/2022 CCKA   Center       Tom Brett                                                                                        0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Draft factual background section of MPA in support of motion for leave
   5/9/2022 CCKA   Center       Tom Brett      to file subpoena by alternative means.                                            0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Revise objections to notice of continued deposition of I. Wren
   5/9/2022 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: objections to I. Wren continued
   5/9/2022 CCKA   Center       Tom Brett      deposition notice.                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email TT re: service of third rule 34 inspection request
  5/10/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: third rule 34 inspection request to
  5/10/2022 CCKA   Center       Tom Brett      defendant.                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center       Tom Brett      Email Jason Flanders re: distance from sample points to discharge poin            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center       Tom Brett      Email Drev Hunt and Jason Flanders re: cctv inspection at dry weather i           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center       Tom Brett      Research and call plumbing companies in Sacramento area re: cctv insp             0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Review and reply to emails from J. Flanders and D. Hunt emails re:
  5/10/2022 CCKA   Center       Tom Brett      proposed discovery schedule.                                                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise dry weather inspection request.
  5/10/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  5/10/2022 CCKA   Center       Tom Brett      Email Jason Flanders re: dry weather inspection and cctv monitoring.              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revie and revise third rule 34 inspection request.
  5/10/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                    Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction


                                               Review and analyze client and inform comms re: I wren deposition
                   Murieta                     notice and service of subpoena on Carol Anderson Ward trust;
                   Equestrian                  organize into correspondence folder.
  5/10/2022 CCKA   Center     Tom Brett                                                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: dry weather inspection notice
  5/10/2022 CCKA   Center     Tom Brett                                                                                               0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Call with J. Flanders and D. Hunt re: motion for leave to serve Federal
                   Equestrian                  Rule of Civil Procedure 45 by alternative means
  5/11/2022 CCKA   Center       Tom Brett                                                                                             0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center       Tom Brett      Draft proposed order granting motion for leave to serve subpoena by alt                0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Revise MPA in support of motion for leave to serve subpoena by
  5/11/2022 CCKA   Center       Tom Brett      alternative means.                                                                     0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: motion for leave to serve subpoena
  5/11/2022 CCKA   Center       Tom Brett      by alternative means.                                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Compile exhibits for T. Brett declaration in support of motion for leave
  5/11/2022 CCKA   Center       Tom Brett      to serve subpoena by alternative means.                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Compile exhibits; draft declaration in support of motion for leave to
  5/11/2022 CCKA   Center       Tom Brett      serve subpoena by alternative means; conform MPA to declaration.                       1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian
  5/11/2022 CCKA   Center       Tom Brett      Revise MPA in support of motion for leave to serve FRCP subpoena by a                  0.8    $550.00           $440.00           $0.00                0

                   Murieta                     Revise factual background section in MPA in support of motion for
                   Equestrian                  leave to file Federal Rule of Civil Procedure 45 subpoenas by
  5/11/2022 CCKA   Center       Tom Brett      alternative means                                                                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: ex parte application for order to shorten time.
  5/12/2022 CCKA   Center       Tom Brett                                                                                             0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center       Tom Brett      Call with TT re: filing motion for alternative service of Carol Anderson Wa            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center       Tom Brett      Communicate in firm at staff meeting re: dry weather inspection.                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center       Tom Brett      Call with E. Bustos re: filing motion for alternative service of Carol Ander           0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Draft Ex Parte Application for order shortening time to hear Carol
  5/12/2022 CCKA   Center       Tom Brett      Anderson Ward subpoena motion; email J. Flanders re: the same.                        1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian
  5/13/2022 CCKA   Center       Tom Brett      Draft email to J. Flanders and E. Bustos re: next steps for filing Carol An           0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Create and label exhibits for motion for alternative service and
  5/13/2022 CCKA   Center       Tom Brett      application for OST.                                                                  0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Call with J. Flanders re: hearing and briefing schedule for motion for
  5/20/2022 CCKA   Center       Tom Brett      alternative service.                                                                  0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Review and analyze in firm communications re: Defendant's
  5/20/2022 CCKA   Center       Tom Brett      production; organize into correspondence folder.                                      0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review email from opposing counsel re: meet and confer w/r/t to
  5/20/2022 CCKA   Center       Tom Brett      motion schedule; email J. Flanders re: the same                                       0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze case law re: motions for alternative service of
                   Equestrian                  Federal Rule of Civil Procedure 45 subpoena and docket filings in
  5/23/2022 CCKA   Center       Tom Brett      those matters on ECF                                                                  0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian                  Draft expert deposition notice.
  5/24/2022 CCKA   Center       Tom Brett                                                                                            0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Complete draft of Dr. Paulsen (def's expert) deposition notice.
  5/24/2022 CCKA   Center       Tom Brett                                                                                            0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft deposition notice of defendant's expert witness.
  5/24/2022 CCKA   Center       Tom Brett                                                                                            0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Research location requirements for Federal Rule of Civil Procedure 45
  5/24/2022 CCKA   Center       Tom Brett      depositions; email J. Flanders re: the same.                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: expert witness deposition notice and RFP, set
  5/24/2022 CCKA   Center       Tom Brett      four.                                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: whether to add additional requests to
  5/24/2022 CCKA   Center       Tom Brett      requests for production set four                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders re: 30(b)(6) deposition notice.
  5/24/2022 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders re: place of 30(b)(6) deposition and expert
  5/24/2022 CCKA   Center       Tom Brett      deposition.                                                                           0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Email CH re: defendant's failure to provide a privilege log.
  5/24/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise draft 30(b)(6) deposition notice.
  5/24/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt and J. Flanders re: RFP, Set Fourt.
  5/24/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with CH re: defendant's prior production and records on shared
  5/24/2022 CCKA   Center       Tom Brett      folder.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise draft RFP, Set Four
  5/24/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: deposition notice to defs expert witness.
  5/24/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: service of discovery devices on defendant to
  5/25/2022 CCKA   Center       Tom Brett      day.                                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft R34 request for production of documents at deposition.
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to 30 (b)(6) notice.
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise expert deposition subpoena and notice; email E. Bustos and J.
  5/25/2022 CCKA   Center       Tom Brett      Flanders re: the same.                                                              0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Federal Rule of Civil Procedure 45 expert deposition notice.
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt and J. Flanders re: revisions to RFP, Set Four.
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: Rule 34 subpoena
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: Rule 34 subpoena for production of
  5/25/2022 CCKA   Center       Tom Brett      documents, and 30(b)(6) notice.                                                     0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Review 30(b)(6) deposition notice
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt and J. Flanders re: revisions to 30(b)(6) deposition
  5/25/2022 CCKA   Center       Tom Brett      notice.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: service of requests for production and deposition
  5/25/2022 CCKA   Center       Tom Brett      notices                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review RFP, Set Four; email E. Bustos re: service of the same.
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review 30(b)(6) notice and R 34 subpoena; email E. Bustos re: the
  5/25/2022 CCKA   Center       Tom Brett      same.                                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting RFP, Set Five and service of 30(b)(6)
  5/25/2022 CCKA   Center       Tom Brett      deposition notice.                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: rule 30(b)(6) subpoena and accompanying rule
  5/25/2022 CCKA   Center       Tom Brett      34 subpoena                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise 30(b)(6) notice
  5/25/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft attachment A to thunder mountain subpoena (.7); call with J.
  5/26/2022 CCKA   Center       Tom Brett      Flanders re: the same (.1)                                                          0.8    $550.00             $0.00         $440.00               0.8
                   Murieta
                   Equestrian                  Revise task list
  5/26/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft requests for production set five; email J. Flanders re: the same
  5/26/2022 CCKA   Center       Tom Brett                                                                                          0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Draft reply brief in support of motion for alternative service.
  5/26/2022 CCKA   Center       Tom Brett                                                                                          0.8    $550.00           $440.00           $0.00                0

                   Murieta                     Review and analyze practice guide re: service of Federal Rule of Civil
                   Equestrian                  Procedure 45 subpoena on corporate entity.
  5/26/2022 CCKA   Center     Tom Brett                                                                                            0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft J Brett declaration in support of reply brief; revise reply
  5/26/2022 CCKA   Center     Tom Brett                                                                                            0.5    $550.00           $275.00           $0.00                0

                   Murieta                     Call with J. Flanders re: Federal Rule of Civil Procedure 45 subpoena
                   Equestrian                  on Thunder Mountain Enterprises Inc., and next steps for Motion for
  5/26/2022 CCKA   Center     Tom Brett        Summary Judgment drafting                                                           0.3    $550.00           $165.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Pull Thunder Mountain corporate documents from SOS website; revise
  5/26/2022 CCKA   Center       Tom Brett      subpoena; email J. Flanders and D. Hunt re: the same.                                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze defendant's response to motion for alternative
  5/26/2022 CCKA   Center       Tom Brett      service.                                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise reply brief in support of motion for alternative service.
  5/26/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft notice of Federal Rule of Civil Procedure Subpoena to Thunder
  5/26/2022 CCKA   Center       Tom Brett      Mountain Ent. Inc.                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise declaration in support of reply motion for leave to
  5/26/2022 CCKA   Center       Tom Brett      serve by alt. means; email J. Flanders and D. Hunt re: the same.                     0.1    $550.00            $55.00           $0.00                0
                   Equestrian
  5/26/2022 CCKA   Center       Tom Brett      Review defendant's production to locate storm water routine industrial               0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm, client, and opposing counsel
                   Murieta                     communications re: 30(b)(6) depo, deposition of defs expert, RFP, sets
                   Equestrian                  four and five, and motion for alt. service; organize into correspondence
  5/26/2022 CCKA   Center       Tom Brett      file                                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review Judge Barnes minute order and email J. Flanders re: hearing
  5/26/2022 CCKA   Center       Tom Brett      dates.                                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Compile exhibits for subpoena on thunder mountain requesting
  5/26/2022 CCKA   Center       Tom Brett      documents.                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  File reply brief in support of motion for alternative service
  5/27/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: need for SUF as part of Motion for
  5/27/2022 CCKA   Center       Tom Brett      Summary Judgment.                                                                    0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze local rules and judge standing orders re: need for
                   Equestrian                  statement of undisputed facts for Motion for Summary Judgment
  5/27/2022 CCKA   Center     Tom Brett        motions.                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Locate address of agent for service of process for thunder mountain
  5/27/2022 CCKA   Center     Tom Brett        ent. inc.                                                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review reply brief in support of motion for service by alt. means prior to
                   Equestrian                  filing
  5/27/2022 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Communicate with E. Bustos re: service of requests for production set
  5/27/2022 CCKA   Center       Tom Brett      five.                                                                              0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: service of subpoena on thunder mountain.
  5/27/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Communicate with E. Bustos re: thunder mountain subpoena
  5/27/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Email J. Flanders re: service of third party subpoena on thunder
  5/27/2022 CCKA   Center       Tom Brett      mountain and filing reply brief in support of motion for alt. service.             0.1    $550.00             $55.00            $0.00               0

                   Murieta                     Review T. Brett Decl. in support of reply brief in support of motion for
                   Equestrian                  service by alt. means prior to filing
  5/27/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Format SUF' convert existing fact chart to draft SUF; review and
  5/29/2022 CCKA   Center       Tom Brett      annotate practice guide re: SUF                                                    0.7    $550.00            $385.00            $0.00               0
                   Murieta
                   Equestrian                  Review and annotate Defendant's expert report.
  5/29/2022 CCKA   Center       Tom Brett                                                                                         0.5    $550.00            $275.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to review and annotate defendant's expert report.
  5/30/2022 CCKA   Center       Tom Brett                                                                                         0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to draft SUF
  5/30/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to draft SUF.
  5/31/2022 CCKA   Center       Tom Brett                                                                                         1.9    $550.00           $1,045.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to draft SUF
  5/31/2022 CCKA   Center       Tom Brett                                                                                         1.4    $550.00            $770.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: SUF and defendant's supplemental production.
  5/31/2022 CCKA   Center       Tom Brett                                                                                         0.3    $550.00            $165.00            $0.00               0

                                               Review and analyze in-firm and opposing counsel comms re: Motion for
                                               Summary Judgment separate statement, requests for production set
                   Murieta                     five, third party subpoena's for def's expert and thunder mountain, and
                   Equestrian                  defendant's supplemental production; organize into correspondence
  5/31/2022 CCKA   Center     Tom Brett        folder.                                                                            0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Upload defendant's supplemental production to shared server
  5/31/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00               0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: next steps for remaining discovery
   6/1/2022 CCKA   Center       Tom Brett                                                                                            1.1    $550.00           $550.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft attachment A to Clyde Ashley deposition subpoena
   6/1/2022 CCKA   Center       Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise SUF; email J. Flanders and D Hunt re: the same.
   6/1/2022 CCKA   Center       Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Conversation with J. Flanders re: Clyde Ashley deposition subpoena,
   6/1/2022 CCKA   Center       Tom Brett      30(b)(6) prep, and planned call with D. Hunt.                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center       Tom Brett      Draft FRCP 45 deposition subpoena for service on Clyde Ashley of roto                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email J. Flanders and D. Hunt re: defendant's supplemental production.
   6/1/2022 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list
   6/1/2022 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call J. Flanders re: Clyde Ashley deposition subpoena and 30(b)(6)
   6/1/2022 CCKA   Center       Tom Brett      deposition prep                                                                       0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze defendant production re: work performed by roto
                   Equestrian                  rooter to clean drain system at Facility; outline questions for J. Flanders
   6/1/2022 CCKA   Center     Tom Brett        re: the same                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt and J. Flanders re: defendant's supplemental document
   6/1/2022 CCKA   Center     Tom Brett        production.                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze practice guide re: combined deposition and
                   Equestrian                  document subpoenas pursuant to Federal Rule of Civil Procedure 45
   6/1/2022 CCKA   Center     Tom Brett                                                                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze client correspondence re: responses to def's
                   Equestrian                  request for production; organize into correspondence folder
   6/1/2022 CCKA   Center     Tom Brett                                                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     Tom Brett        Draft notice of Clyde Ashely subpoena; revise subpoena.                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: document review in prep for 30(b)(6)
   6/2/2022 CCKA   Center     Tom Brett        deposition                                                                            0.2    $550.00             $0.00         $110.00               0.2




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                                               Review defendant's production, and identify / tag documents for us in
                   Murieta                     30(b)(6) deposition.
                   Equestrian
   6/2/2022 CCKA   Center     Tom Brett                                                                                          2.2    $550.00           $1,210.00           $0.00                0

                   Murieta                     Continue to review defendant's production, and identify / tag documents
                   Equestrian                  for us in 30(b)(6) deposition.
   6/2/2022 CCKA   Center       Tom Brett                                                                                        0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian                  Combine files tagged / reviewed from defendant's supplemental
   6/2/2022 CCKA   Center       Tom Brett      production into single file; upload to shared.                                    0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian                  Create tag tree; email J. Flanders and D. Hunt re: the same.
   6/2/2022 CCKA   Center       Tom Brett                                                                                        0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze practice guide re: objections to requests for
   6/2/2022 CCKA   Center       Tom Brett      production based on undue burden.                                                 0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center       Tom Brett      Call with J. Flanders re: document review in prep for 30(b)(6) depo               0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt and J. Flanders re: duplicate defendant production.
   6/2/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: document review in prep for
   6/2/2022 CCKA   Center       Tom Brett      30(b)(6) deposition.                                                              0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt re: 30(b)(6) deposition prep.
   6/2/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze comms with California Coastkeeper Alliance re:
                   Equestrian                  document review in prep for 30(b)(6) depo; email client re: the same.
   6/3/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with clients re: document review in prep for 30(b)(6) deposition.
   6/3/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Email D. Hunt re: document review in prep for 30(b)(6) deposition.
   6/3/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center       Tom Brett      Review documents in defendant's production in prep for 30(b)(6) deposi            2.2    $550.00           $1,210.00           $0.00                0
                   Murieta
                   Equestrian                  Meeting with California Coastkeeper Alliance re: document review in
   6/3/2022 CCKA   Center       Tom Brett      prep of 30(b)(6) deposition.                                                      1.1    $550.00            $605.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Continue document review in prep for 30(b)(6) depo
   6/3/2022 CCKA   Center     Tom Brett                                                                                          0.7    $550.00            $385.00            $0.00                0

                   Murieta                     Compile correspondence with state and fed agencies re: subpoenas
                   Equestrian                  and Public Records Act requests; email firm re: the same.
   6/3/2022 CCKA   Center     Tom Brett                                                                                          0.7    $550.00            $385.00            $0.00                0

                   Murieta                     Review and analyze practice guide re: whether opposing party must
                   Equestrian                  identify, in advance, 30(b)(6) designee; email J. Flanders and D. Hunt
   6/3/2022 CCKA   Center       Tom Brett      re: the same.                                                                     0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center       Tom Brett      Review current document production in Murieta Equestrian Center Everl             0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Email C. Capps at California Coastkeeper Alliance re: document review
   6/3/2022 CCKA   Center       Tom Brett      in prep for 30(b)(6) deposition.                                                  0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: deposition prep
   6/6/2022 CCKA   Center       Tom Brett                                                                                        0.7    $550.00              $0.00          $385.00               0.7
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting deposition questions for Paulsen
   6/6/2022 CCKA   Center       Tom Brett      deposition re: weather stations.                                                  0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Review photos of storm drains and discharges pipes to stream
   6/6/2022 CCKA   Center       Tom Brett                                                                                        2.1    $550.00           $1,155.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: document review and deposition prep.
   6/6/2022 CCKA   Center       Tom Brett                                                                                        0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Draft deposition questions for Paulsen deposition.
   6/6/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian
   6/6/2022 CCKA   Center       Tom Brett      Call with J. Flanders Re: Paulsen deposition prep.                                0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for deposition prep and motion for
   6/6/2022 CCKA   Center       Tom Brett      alternative service.                                                              0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Calls with E. Bustos and J. Flanders re: exhibit compilation (.3); and
   6/7/2022 CCKA   Center       Tom Brett      printing for Paulsen depo                                                         0.8    $550.00              $0.00          $440.00               0.8
                   Murieta
                   Equestrian                  Extract pages from deposition exhibits that are not referenced in J.
   6/7/2022 CCKA   Center       Tom Brett      Flanders deposition outline.                                                      0.6    $550.00              $0.00          $330.00               0.6
                   Murieta
                   Equestrian                  Call with E. Bustos re: arranging for printing documents.
   6/7/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00              $0.00          $165.00               0.3



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Call with E. Bustos re: document printing
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
   6/7/2022 CCKA   Center       Tom Brett      Review Everlaw production to identify photos for use in 30(b)(6) and Pau           1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Complete review of document production to identify documents to use
   6/7/2022 CCKA   Center       Tom Brett      in deposition.                                                                     0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Locate additional documents for D. Hunt in prep for 30(b)(6) deposition.
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review defendant's production to locate photos showing sampling by
   6/7/2022 CCKA   Center       Tom Brett      Ian Wren.                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: document printing and production for depositions
   6/7/2022 CCKA   Center       Tom Brett      (Paulsen and 30(b)(6))                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: exhibits for expert and 30(b)(6) depositions.
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt re: exhibit list for 30(b)(6) deposition.
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Excerpt documents for production for use in Paulsen depo
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email E. Bustos re: production of electronic exhibits to opposing
   6/7/2022 CCKA   Center       Tom Brett      counsel and court reporter.                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: deposition prep and document printing.
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Email D. Hunt re: need for final exhibit list for 30(b)(6) deposition.
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: printing documents for depo
   6/7/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review complaint to determine whether IGP needs to be included as
   6/7/2022 CCKA   Center       Tom Brett      exhibit for Paulsen depo                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   6/9/2022 CCKA   Center       Tom Brett      Review and analyze in firm, and client comms re: deposition of defendan            0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction


                   Murieta                     Review and analyze correspondence with opposing counsel re:
                   Equestrian                  defendant's discovery responses; organize into correspondence folder.
   6/9/2022 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft and file withdrawal of motion for leave to serve subpoena by
  6/10/2022 CCKA   Center     Tom Brett        alternative means.                                                               0.4    $550.00             $0.00         $220.00               0.4

                   Murieta                     Review and analyze in firm and opposing counsel comms re: discovery
                   Equestrian                  requests and responses, scheduling of settlement dates; plaintiff
  6/10/2022 CCKA   Center       Tom Brett      document production; organize into correspondence folder.                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: last week's deposition and objections to
  6/13/2022 CCKA   Center       Tom Brett      interrogatory responses                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise task list
  6/14/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list
  6/14/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to case to-do / deadline tracking
  6/14/2022 CCKA   Center       Tom Brett      sheet                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and annotate Defs interrogatory set two responses; incorporate
  6/14/2022 CCKA   Center       Tom Brett      into draft SUF                                                                   0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Murieta Equestrian Center Project Outline on shared
  6/16/2022 CCKA   Center       Tom Brett                                                                                       0.8    $550.00             $0.00         $440.00               0.8
                   Murieta
                   Equestrian                  Review service history of third-party subpoena on thunder mountain.
  6/16/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise Murieta Equestrian Center project outline
  6/17/2022 CCKA   Center       Tom Brett                                                                                       0.7    $550.00             $0.00         $385.00               0.7
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: project outline.
  6/17/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  6/17/2022 CCKA   Center       Tom Brett      Review and analyze practice guide re: timing of motion to compel                 0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Incorporate tags from document review into draft SUF to assist with
                   Equestrian                  designating reviewed documents to specific facts / topics in SUf
  6/21/2022 CCKA   Center     Tom Brett                                                                                         0.3    $550.00           $165.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Review and analyze J. Flanders email re: SUF draft; call J. Flanders re:
  6/21/2022 CCKA   Center       Tom Brett      the same                                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: modified scheduling order
  6/28/2022 CCKA   Center       Tom Brett                                                                                           0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Search prior filings / drafts for summary of stipulated schedule; email J.
  6/28/2022 CCKA   Center       Tom Brett      Flanders re: the same.                                                               0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  zoom meeting re: work load and upcoming deadlines
  6/29/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center       Tom Brett      Call with E. Bustos re: final versions of Rancho Murieta Community Serv              0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review deposition notice, subpoena, and exhibits for Rancho Murieta
  6/30/2022 CCKA   Center       Tom Brett      Community Services District deposition.                                              0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Call with E. Bustos re: service of subpoena and notice for Rancho
                   Equestrian                  Murieta Community Services District subpoena; email J. Flanders and
  6/30/2022 CCKA   Center     Tom Brett        D. Hunt re: the same.                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review prior service history of deposition notices to third parties; email
  6/30/2022 CCKA   Center     Tom Brett        D. Hunt and J. Flanders re: the same.                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  6/30/2022 CCKA   Center     Tom Brett        Review and analyze in firm and client comms re: deposition of Rancho M               0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze practice guide re: requirement to file deposition
                   Equestrian                  materials (notice etc.) with court, email J. Flanders and D. Hunt re: the
  6/30/2022 CCKA   Center     Tom Brett        same.                                                                                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft meet and confer in response to Defendant's objections to
   7/5/2022 CCKA   Center     Tom Brett        requests for production set four.                                                    0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Revise 7/5/2022 meet and confer letter
   7/5/2022 CCKA   Center     Tom Brett                                                                                             0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Draft meet and confer in response to Defendant's objections to
                   Equestrian                  requests for production set five
   7/5/2022 CCKA   Center     Tom Brett                                                                                             0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Review, annotate, and analyze defendant's responses to Plfs requests
   7/5/2022 CCKA   Center     Tom Brett        for production set four                                                              0.3    $550.00           $165.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Make final revisions to 7.5.22 meet and confer letter; send to opposing
   7/5/2022 CCKA   Center     Tom Brett        counsel                                                                             0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Draft introduction to meet and confer letter re: defendant's responses to
   7/5/2022 CCKA   Center     Tom Brett        requests for production set four and five.                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Outline meet and confer letter section re: defendant's responses to
   7/5/2022 CCKA   Center     Tom Brett        RFP, set four.                                                                      0.2    $550.00           $110.00           $0.00               0

                                               Review and analyze in firm, opposing counsel, and client comms re:
                   Murieta                     Defendant's requests for production responses and Rancho Murieta
                   Equestrian                  Community Services District deposition notice.
   7/5/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: meet and confer letter in response to defs'
   7/5/2022 CCKA   Center       Tom Brett      objections to requests for production set 4 and 5                                   0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Teleconference with E. Bustos re: subpoena and subsequent service of
   7/6/2022 CCKA   Center       Tom Brett      same.                                                                               0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer scheduling.
   7/7/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: scheduling meet and confer on
   7/7/2022 CCKA   Center       Tom Brett      requests for production sets 4 and 5.                                               0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review second supplemental expert disclosure; email E. Bustos re: the
   7/7/2022 CCKA   Center       Tom Brett      same.                                                                               0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: I Wren second supplemental expert disclosure.
   7/7/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: meet and confer with defendant
  7/11/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review calendared events for today; send invite to J. Flanders and D.
                   Equestrian                  Hunt re: meet and confer with defendants'
  7/11/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: rescheduling meet and confer on
  7/11/2022 CCKA   Center     Tom Brett        requests for production, sets four and five.                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze defendant's most recent production (DEF-049949
  7/11/2022 CCKA   Center     Tom Brett        to 049965).                                                                         0.1    $550.00            $55.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: meet and confer on requests for production
  7/12/2022 CCKA   Center     Tom Brett        Sets 4 and 5.                                                                      0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: meet and confer scheduled for 7.13.22
  7/12/2022 CCKA   Center     Tom Brett                                                                                           0.2    $550.00            $110.00            $0.00                0

                   Murieta                     Draft email to opposing counsel circulating call in number for meet and
                   Equestrian                  confer.
  7/12/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Prep for and call with opposing counsel re: requests for production 4
  7/13/2022 CCKA   Center     Tom Brett        and 5                                                                              0.6    $550.00            $330.00            $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to opposing counsel re: meet and confer.
  7/13/2022 CCKA   Center     Tom Brett                                                                                           0.3    $550.00            $165.00            $0.00                0

                   Murieta                     Locate and send J. Flanders CIA operations manual and memo from
                   Equestrian                  Rancho Murieta Community Services District re: use of Laguana
  7/13/2022 CCKA   Center       Tom Brett      Joaquin water.                                                                     0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list
  7/18/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders in prep for call re: mediation statement.
  7/18/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft meet and confer to defendant's re: ROG, set two responses. plus
  7/18/2022 CCKA   Center       Tom Brett      30                                                                                 2.1    $550.00           $1,155.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders, D. Hunt, EAM, and co-counsel re: preparation of
  7/18/2022 CCKA   Center       Tom Brett      mediation brief and SUF                                                            0.8    $550.00            $440.00            $0.00                0
                   Murieta
                   Equestrian
  7/18/2022 CCKA   Center       Tom Brett      Review and annotate defendant's responses to Roges.                                0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Revise meet and confer re: Ds interrogatory responses; send to
  7/18/2022 CCKA   Center       Tom Brett      opposing counsel.                                                                  0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: prep of SUF
  8/10/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: document review in prep for SUF
  8/31/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders, CH, D. Hunt re: tagging next steps for Motion for
  8/31/2022 CCKA   Center       Tom Brett      Summary Judgment / SUF                                                             1.0    $550.00            $550.00            $0.00                0



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: document review.
   9/8/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Murieta Equestrian Center SUF / mediation
   9/8/2022 CCKA   Center       Tom Brett      brief prep                                                                         0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list
  9/12/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Continue to revise SUF
  9/13/2022 CCKA   Center       Tom Brett                                                                                         1.3    $550.00            $715.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: SUF and settlement statement prep
  9/13/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00                0

                   Murieta                     Continue to revise settlement brief (adding portions re: County of Maui
                   Equestrian                  factors, and add info re: relative permanence of unnamed stream)
  9/19/2022 CCKA   Center       Tom Brett                                                                                         1.9    $550.00           $1,045.00           $0.00                0
                   Murieta
                   Equestrian                  Draft section in mediation brief applying Maui factors.
  9/19/2022 CCKA   Center       Tom Brett                                                                                         0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian
  9/19/2022 CCKA   Center       Tom Brett      Draft section of mediation brief re: unnamed stream as point source.               0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: mediation brief
  9/19/2022 CCKA   Center       Tom Brett                                                                                         0.3    $550.00            $110.00           $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze email from D. Hunt re: Maui factors; organize into
  9/19/2022 CCKA   Center       Tom Brett      correspondence folder.                                                             0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze I. Wren expert report in prep for revising mediation
  9/19/2022 CCKA   Center       Tom Brett      brief.                                                                             0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: mediation brief revisions.
  9/19/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list
  9/20/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       Tom Brett                                                                                         1.2    $550.00            $660.00            $0.00                0
                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center       Tom Brett      Revise mediation brief sections on county of Maui and unnamed stream               0.1    $550.00             $55.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Call with MCM re: I. Wren declaration in support of Motion for Summary
  9/21/2022 CCKA   Center       Tom Brett      Judgment                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       Tom Brett                                                                                       0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise mediation brief
  9/22/2022 CCKA   Center       Tom Brett                                                                                       0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center       Tom Brett      Add language re: transit time and decay rates of pollutants to the Cosum         0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: wren declaration.
  9/22/2022 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise mediation brief.
  9/23/2022 CCKA   Center       Tom Brett                                                                                       0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Calendar internal and court deadlines for completing Motion for
  9/27/2022 CCKA   Center       Tom Brett      Summary Judgment.                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to C. Hudak re: document review to populate SUF; calendar
  9/27/2022 CCKA   Center       Tom Brett      call.                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: Motion for Summary Judgment prep
  9/27/2022 CCKA   Center       Tom Brett                                                                                       0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review LR and standing orders re: SUFs in eastern district of CA.
  9/27/2022 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list
  9/28/2022 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  9/30/2022 CCKA   Center       Tom Brett      Call with J. Flanders re: mediation / settlement conference.                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft I. Wren declaration in support of Motion for Summary
  10/3/2022 CCKA   Center       Tom Brett      Judgment                                                                         0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to CH re: document tagging project for Motion for Summary
  10/4/2022 CCKA   Center       Tom Brett      Judgment SUF.                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 10/12/2022 CCKA   Center       Tom Brett      Review and analyze filed order granting stipulation to extend briefing sch         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: settlement status and time line for Motion for
 10/21/2022 CCKA   Center       Tom Brett      Summary Judgment                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Motion for Summary Judgment prep.
  11/2/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: document review / tagging in prep for drafting
  11/4/2022 CCKA   Center       Tom Brett      SUF                                                                                0.4    $550.00           $165.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list re: document review and tagging in prep for completing
  11/6/2022 CCKA   Center       Tom Brett      SUF / Motion for Summary Judgment                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review calendar and schedule call with D. Hunt re: document review in
  11/7/2022 CCKA   Center       Tom Brett      prep for SUF.                                                                      0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with D. Hunt re: document review in prep for drafting SUF
  11/7/2022 CCKA   Center       Tom Brett                                                                                         0.8    $550.00           $385.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue document review of Murieta Equestrian Center production to
  11/7/2022 CCKA   Center       Tom Brett      create exhibit list for SUF and Motion for Summary Judgment                        0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Continue document review of Murieta Equestrian Center production in
                   Equestrian                  prep for exhibit list and Motion for Summary Judgment / SUF (rows
  11/8/2022 CCKA   Center     Tom Brett        4278-5230)                                                                         1.1    $550.00           $605.00           $0.00                0

                                               Complete document review of Murieta Equestrian Center production in
                   Murieta                     prep for exhibit list and Motion for Summary Judgment / SUF (rows
                   Equestrian                  5231-6988)
  11/8/2022 CCKA   Center     Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Calendar and draft task list re: opp to defendants' motion to stay and
                   Equestrian                  motion to shorten time
 11/10/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Search for draft opposition to mtn to stay on shared; email J. Flanders
                   Equestrian                  re: the same.
 11/10/2022 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze draft opp to motion to stay
 11/10/2022 CCKA   Center     Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                           1.5    $550.00           $825.00           $0.00                0
                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center       Tom Brett      Review and analyze defendants' motion to stay                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
 11/10/2022 CCKA   Center       Tom Brett      Draft email to J. Flanders re: potential forthcoming motion for OST from             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: opposition to Defs' motion to stay.
 11/10/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft legal background and argument sections to opp. to Defs ex parte
 11/14/2022 CCKA   Center       Tom Brett      app for OST.                                                                         1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Draft procedural background section to opposition to Defendants' ex
 11/14/2022 CCKA   Center       Tom Brett      parte application for OST.                                                           0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Defendant's application for OST to hear motion to
 11/14/2022 CCKA   Center       Tom Brett      stay; review and analyze case law re: the same                                       0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: opposition to Defs' app for OST on hearing
 11/14/2022 CCKA   Center       Tom Brett      motion for stay.                                                                     0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze caselaw cited in defendant's motion to defer / stay
 11/15/2022 CCKA   Center       Tom Brett                                                                                           0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise draft opposition to ex parte application for OST to
 11/15/2022 CCKA   Center       Tom Brett      hear motion to defer.                                                                0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and annotate case law cited by Defendants in mtn
 11/15/2022 CCKA   Center       Tom Brett      to stay / defer                                                                      0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to outline opp to defs mtn to stay / defer
 11/15/2022 CCKA   Center       Tom Brett                                                                                           0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Make final revisions to opposition to ex parte application for OST
 11/16/2022 CCKA   Center       Tom Brett                                                                                           0.9    $550.00             $0.00         $495.00               0.9
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for drafting opposition to stay / defer
 11/16/2022 CCKA   Center       Tom Brett      motion                                                                               0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Continue to outline opposition to Defendant's motion to stay / defer
 11/16/2022 CCKA   Center       Tom Brett                                                                                           0.2    $550.00             $0.00         $110.00               0.2




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Draft to do list re: opp to def's motion to stay, and outlining next steps
 11/16/2022 CCKA   Center       Tom Brett      for Motion for Summary Judgment to do list.                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft legal argument section to opposition to motion to stay / defer
 11/16/2022 CCKA   Center       Tom Brett                                                                                           1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian                  Draft procedural back ground to opp to motion to stay.
 11/16/2022 CCKA   Center       Tom Brett                                                                                           0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian                  Revise ex parte application for OST to hear Defs Motion to Stay.
 11/16/2022 CCKA   Center       Tom Brett                                                                                           0.6    $550.00            $330.00            $0.00                0
                   Murieta
                   Equestrian                  Draft legal background to opp to stay / defer
 11/16/2022 CCKA   Center       Tom Brett                                                                                           0.5    $550.00            $275.00            $0.00                0

                                               Review Judge Barnes order denying ex parte app.; call with D. Hunt re:
                   Murieta                     the same and opp to motion to stay and schedule for next steps.
                   Equestrian
 11/16/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to revise draft opp to mtn to stay /defer
 11/17/2022 CCKA   Center       Tom Brett                                                                                           1.9    $550.00           $1,045.00           $0.00                0
                   Murieta
                   Equestrian                  Research case law re: retroactive effect of supreme court precedent in
 11/17/2022 CCKA   Center       Tom Brett      civil cases.                                                                         0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft legal argument section to opp to mtn to stay / defer
 11/17/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders attaching draft opp to mtn to stay
 11/17/2022 CCKA   Center       Tom Brett      / defer.                                                                             0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: document review in prep for
 11/17/2022 CCKA   Center       Tom Brett      Motion for Summary Judgment briefing.                                                0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Calculate LDTF opp to mtn to stay / defer.
 11/17/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
 11/17/2022 CCKA   Center       Tom Brett      Review and analyze scouts case law re: retroactive effect of Scotus dec              0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Calendar call re: document review with D. Hunt.
 11/18/2022 CCKA   Center       Tom Brett                                                                                           0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Revise opp to motion to stay / defer
 11/18/2022 CCKA   Center       Tom Brett                                                                                           0.9    $550.00            $495.00            $0.00                0



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Conduct additional legal research re: estoppel of party to modify
                   Equestrian                  scheduling order where it previously agreed to deadlines / scope of
 11/18/2022 CCKA   Center       Tom Brett      discovery; incorporate into opp to motion to stay.                                 0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Revise legal background section re: waters of the United States in opp
 11/18/2022 CCKA   Center       Tom Brett      to motion to defer / stay.                                                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review documents relied on by I. Wren in preparing expert report
 11/18/2022 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: opp to mtn to stay, and document review in
 11/18/2022 CCKA   Center       Tom Brett      prep for SUF                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in firm and client comms re: opposition to stay
 11/18/2022 CCKA   Center       Tom Brett      motion; organize into correspondence folder.                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: document review.
 11/18/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing of Opp to Mtn to stay / defer.
 11/21/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                         1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Send email to J. Flanders ad D. Hunt attaching opp to stay, declaration,
 11/21/2022 CCKA   Center       Tom Brett      and RJN                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list re: review of I. Wren documents for Motion for Summary
 11/21/2022 CCKA   Center       Tom Brett      Judgment briefing and completion of Opp to mtn to stay.                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to revise opp to mtn to stay / defer.
 11/21/2022 CCKA   Center       Tom Brett                                                                                         0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Draft decl. in support of opp to Def's mtn to stay / defer
 11/21/2022 CCKA   Center       Tom Brett                                                                                         0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: I Wren document review.
 11/21/2022 CCKA   Center       Tom Brett                                                                                         0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Draft RJN for 2008 U.S. Environmental Protection Agency guidance.
 11/21/2022 CCKA   Center       Tom Brett                                                                                         0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: SUF and Motion for Summary Judgment prep
 11/21/2022 CCKA   Center       Tom Brett      next steps; and revisions to opp to mtn to stay / defer.                           0.3    $550.00           $165.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to opp to motion to stay / defer.
 11/21/2022 CCKA   Center       Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
 11/21/2022 CCKA   Center       Tom Brett      Research case law re: harm from additional briefing if stay is not granted            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: opp to mtn to stay / defer.
 11/21/2022 CCKA   Center       Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise declaration in support of RJN and opp to mtn to defer / stay;
 11/21/2022 CCKA   Center       Tom Brett      Revise RJN                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: document review in prep for Motion for
 11/21/2022 CCKA   Center       Tom Brett      Summary Judgment / SUF                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue review of I. Wren documents in prep for Motion for Summary
 11/21/2022 CCKA   Center       Tom Brett      Judgment and SUF                                                                      0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to J. Flanders re: most recent draft of waters of the United
                   Equestrian                  States memo in prep for Motion for Summary Judgment briefing.
 11/21/2022 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow-up email to D. Hunt re: revisions to opp to mtn to stay /
 11/22/2022 CCKA   Center       Tom Brett      defer.                                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: revisions to opp to mtn to
 11/22/2022 CCKA   Center       Tom Brett      stay.                                                                                 0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing opp to mtn to stay / defer.
 11/22/2022 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: revisions to opp to mtn to
 11/22/2022 CCKA   Center       Tom Brett      stay.                                                                                 0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Incorporate D. Hunt revisions to opp to mtn to stay / defer
 11/22/2022 CCKA   Center       Tom Brett                                                                                            1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian
 11/22/2022 CCKA   Center       Tom Brett      Continue to revise opp to Def's motion to defer / stay.                               0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to make additional revisions to opp to mtn to stay / defer
 11/22/2022 CCKA   Center       Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to and time line for completing opp to
 11/22/2022 CCKA   Center       Tom Brett      mtn to stay.                                                                          0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total            Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Revise RJN to file concurrently with opp to mtn to stay / defer.
 11/22/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: opp to mtn to stay.
 11/22/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Declaration of T. Brett in support of opp to mtn to stay / defer
 11/22/2022 CCKA   Center       Tom Brett      and RJN.                                                                           0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: filing opp to mtn to stay.
 11/22/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to opp to mtn to stay / defer
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing of opp to defs mtn to stay / defer.
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: revisions to opp to mtn to stay.
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing opp to mtn to stay and revisions to TOC /
 11/23/2022 CCKA   Center       Tom Brett      TOA                                                                                0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: final revisions to opp to mtn to stay
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: missing Fed Reg cite in opp to mtn to stay
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Confirm D. Hunt comments have been incorporated into opp.
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: final revisions to opp to mtn to stay
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise exhibits to declaration in support of opp to motion to stay.
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: next steps for filing opp to mtn to stay
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Send email to D. Hunt and J. Flanders re: opp to mtn to stay.
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Review I wren documents for inclusion in Motion for Summary
 11/23/2022 CCKA   Center     Tom Brett        Judgment / SUF                                                                     1.8    $550.00            $990.00            $0.00               0

                   Murieta                     Incorporate D. Hunt revisions to opp to mtn to stay; revise format of
                   Equestrian                  opp.
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.6    $550.00            $330.00            $0.00               0
                   Murieta
                   Equestrian                  Continue review of I Wren documents in prep for Motion for Summary
 11/23/2022 CCKA   Center       Tom Brett      Judgment / SUF                                                                     0.4    $550.00            $220.00            $0.00               0
                   Murieta
                   Equestrian                  Conduct final review of filing versions of opp to mtn to stay; conduct
 11/23/2022 CCKA   Center       Tom Brett      revisions                                                                          0.4    $550.00            $220.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to review I Wren documents in prep for SUF / Motion for
 11/23/2022 CCKA   Center       Tom Brett      Summary Judgment                                                                   0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian
 11/23/2022 CCKA   Center       Tom Brett      Assist E. Bustos in locating missing Fed Reg site in opp to mtn to stay            0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt in response to email re: incorporating edits /
 11/23/2022 CCKA   Center       Tom Brett      comments                                                                           0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: citation question in opp to mtn to stay
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call J. Flanders re: revisions to opp to mtn to stay.
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: citation issue in opp to mtn to stay
 11/23/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to review I. Wren expert file documents for inclusion in Motion
 11/27/2022 CCKA   Center       Tom Brett      for Summary Judgment / SUF                                                         1.3    $550.00            $715.00            $0.00               0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                         0.9    $550.00            $495.00            $0.00               0
                   Murieta
                   Equestrian                  Complete initial document review of wren production in prep for SUF /
 11/28/2022 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                        2.0    $550.00           $1,100.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to review I Wren documents in prep for SUF / Motion for
 11/28/2022 CCKA   Center       Tom Brett      Summary Judgment                                                                   0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                         0.6    $550.00            $330.00            $0.00               0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: Motion for Summary
 11/30/2022 CCKA   Center     Tom Brett        Judgment and SUF prep.                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: SUF / Motion for Summary Judgment Prep
  12/1/2022 CCKA   Center     Tom Brett                                                                                            1.0    $550.00           $550.00           $0.00                0

                   Murieta                     Compile rain data and Laguna Joaquin discharge data into
                   Equestrian                  spreadsheet.
  12/1/2022 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Motion for Summary Judgment / SUF prep
  12/1/2022 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: discharge to waters of the
  12/1/2022 CCKA   Center       Tom Brett      United States violations analysis spreadsheet.                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt and J. Flanders re: days of discharge to
  12/1/2022 CCKA   Center       Tom Brett      waters of the United States analysis spreadsheet.                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Prep for call with D. Hunt; review SUF / Motion for Summary Judgment
  12/1/2022 CCKA   Center       Tom Brett      task list                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: location of drone footage of unnamed
  12/2/2022 CCKA   Center       Tom Brett      stream on shared server.                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze client and in firm comms re: Motion for Summary
  12/2/2022 CCKA   Center       Tom Brett      Judgment prep; organize into correspondence folder.                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with CH and J. Flanders re: Motion for Summary Judgment exhibit
  12/6/2022 CCKA   Center       Tom Brett      prep                                                                                0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze client and in firm comms re: Motion for Summary
  12/6/2022 CCKA   Center       Tom Brett      Judgment prep; organize into correspondence folder.                                 0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Follow up call with CH re: Motion for Summary Judgment / SUF prep
                   Equestrian                  and review of documents used by Wren in prep of expert opinion.
  12/6/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with CH re: Motion for Summary Judgment / SUF prep
  12/6/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law applying Maui factors in prep for Motion
  12/6/2022 CCKA   Center       Tom Brett      for Summary Judgment                                                              0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Motion for Summary Judgment / SUF prep
  12/6/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Research case law applying Maui factors.
  12/6/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: sig nexus briefing in Motion
  12/6/2022 CCKA   Center       Tom Brett      for Summary Judgment                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list w/r/t SUF and Motion for Summary Judgment prep
  12/7/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: SUF / Motion for Summary Judgment
  12/7/2022 CCKA   Center       Tom Brett      prep and I. Wren declaration.                                                     0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review document / exhibit pool for Motion for Summary Judgment;
  12/7/2022 CCKA   Center       Tom Brett      review SUF.                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total               Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Zoom meeting with D. Hunt and J. Flanders re: SUF and Motion for
  12/8/2022 CCKA   Center       Tom Brett      Summary Judgment prep.                                                              0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian                  Research / locate case law applying Maui factors.
  12/8/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with CH re: adding sample data to SUF
  12/9/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                          2.3    $550.00           $1,265.00           $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett      Draft email to J. Flanders summarizing case law applying functional equ             0.3    $550.00            $165.00            $0.00                0

                   Murieta                     Draft email to CH and J. Flanders re: drafting portions of SUF
                   Equestrian                  summarizing sample results.
  12/9/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: Motion for Summary
                   Equestrian                  Judgment and SUF drafting; organize into correspondence folder.
  12/9/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with CH re: revisions to SUF
  12/9/2022 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze comms from D. Hunt re: next steps for SUF /
                   Equestrian                  Motion for Summary Judgment drafting; organize into correspondence
  12/9/2022 CCKA   Center       Tom Brett      folder.                                                                             0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: SUF and Motion for Summary Judgment
  12/9/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                          1.7    $550.00            $935.00            $0.00                0
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center       Tom Brett      Call with J. Flanders re: county of Maui decision LR and authentication o           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with CH re: SUF revisions.
  12/9/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Revise SUF to add additional facts re: re-alignment of Unnamed
 12/12/2022 CCKA   Center       Tom Brett      Stream                                                                                1.2    $550.00           $660.00           $0.00                0
                   Murieta
                   Equestrian                  Add supporting evidence to facts in SUF re: sampling.
 12/12/2022 CCKA   Center       Tom Brett                                                                                            0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: SUF / Motion for Summary Judgment
 12/12/2022 CCKA   Center       Tom Brett      Revisions.                                                                            0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review waters of the United States section of draft Motion for Summary
 12/12/2022 CCKA   Center       Tom Brett      Judgment in prep for drafting / revising SUF                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Court's ruling denying Defs' motion to stay.
 12/12/2022 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt re: compiling exhibits for Motion for
 12/13/2022 CCKA   Center       Tom Brett      Summary Judgment / SUF                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with D. Hunt re: numbering exhibits to Motion for Summary
 12/13/2022 CCKA   Center       Tom Brett      Judgment / SUF                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Locate and email J. Flanders map with sample locations and results
 12/13/2022 CCKA   Center       Tom Brett      from March 2021 inspection.                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: compiling exhibits for citation
 12/13/2022 CCKA   Center       Tom Brett      in Motion for Summary Judgment / SUF                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with D. Hunt re: revisions to citations in SUF / Motion for Summary
 12/13/2022 CCKA   Center       Tom Brett      Judgment                                                                              0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call D. Hunt re: next steps for completing SUF / compiling final exhibit
 12/13/2022 CCKA   Center       Tom Brett      pool                                                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: compilation of exhibits for
 12/13/2022 CCKA   Center       Tom Brett      use in Motion for Summary Judgment / SUF                                              0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms with D. Hunt re: questions regarding compilation and
 12/13/2022 CCKA   Center       Tom Brett      naming of exhibits for use in Motion for Summary Judgment / SUF                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: next steps for compiling exhibits for Motion for
 12/13/2022 CCKA   Center       Tom Brett      Summary Judgment / SUF                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center       Tom Brett      Call with CH re: SUF / Motion for Summary Judgment revisions and ID'in                0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing          Billing
                                                                                                                                                                    Judgment Fee     Judgment
                                                                                                                                                                    Reduction        Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: revised I. Wren declaration.
 12/13/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00                0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: strategy for revising SUF
 12/13/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00                0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: next steps for compiling
 12/13/2022 CCKA   Center       Tom Brett      exhibits to Motion for Summary Judgment / SUF                                     0.1    $550.00             $0.00          $55.00                0.1
                   Murieta
                   Equestrian                  Call with D. Hunt to continue to compile exhibits for SUF / Motion for
 12/13/2022 CCKA   Center       Tom Brett      Summary Judgment                                                                  3.2    $550.00           $660.00        $1,100.00                2
                   Murieta
                   Equestrian                  Compile exhibits to Motion for Summary Judgment / SUF
 12/13/2022 CCKA   Center       Tom Brett                                                                                        1.7    $550.00           $935.00           $0.00                 0
                   Murieta
                   Equestrian                  Continue to revise SUF (break large facts into smaller indisputable
 12/13/2022 CCKA   Center       Tom Brett      facts, and add citations to evidence in support).                                 1.0    $550.00           $550.00           $0.00                 0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                 0
                   Murieta
                   Equestrian                  Call with D. Hunt re: compiling exhibit pool for SUF
 12/13/2022 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                 0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for revising SUF
 12/13/2022 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                 0
                   Murieta
                   Equestrian                  Draft comms with D. Hunt re: compilation of exhibits for SUF / Motion
 12/13/2022 CCKA   Center       Tom Brett      for Summary Judgment                                                              0.1    $550.00            $55.00           $0.00                 0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                 0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                 0
                   Murieta
                   Equestrian                  Revise SUF; add exhibits and supporting evidence plus
 12/14/2022 CCKA   Center       Tom Brett                                                                                        0.4    $550.00           $220.00           $0.00                 0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                 0
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                 0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Draft email to D. Hunt and CH re: waters of the United States
                   Equestrian                  discharges spreadsheet
 12/14/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to I Wren re: access to exhibits cited in Wren declaration.
 12/14/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: discharge to waters of the United States
 12/14/2022 CCKA   Center       Tom Brett      spreadsheet.                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in firm and client comms re: SUF and Motion for
 12/14/2022 CCKA   Center       Tom Brett      Summary Judgment prep; organize into correspondence folder.                       0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze external and in firm comms re: supplemental
                   Equestrian                  document production and privilege log production; organize into
 12/14/2022 CCKA   Center       Tom Brett      correspondence folder.                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list to complete SUF / Motion for Summary Judgment
 12/15/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian
  2/17/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0

                   Murieta
                   Equestrian
  9/29/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: drafting Motion for
                   Equestrian                  Summary Judgment and supporting documents; organize into
 12/15/2022 CCKA   Center     Tom Brett        correspondence folder.                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction



                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center       Tom Brett                                                                                         1.7    $550.00            $935.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: clean copy of declaration.
 12/15/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center       Tom Brett                                                                                         0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: completing / revising exhibit
 12/15/2022 CCKA   Center       Tom Brett      pool for citation in SUF                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Review MPA in support of Motion for Summary Judgment for formatting
 12/16/2022 CCKA   Center       Tom Brett      issues; call E. Bustos re: the same.                                               0.4    $550.00              $0.00          $220.00               0.4
                   Murieta
                   Equestrian                  Populate SUF with evidence; revise formatting
 12/16/2022 CCKA   Center       Tom Brett                                                                                         3.0    $550.00           $1,650.00           $0.00                0
                   Murieta
                   Equestrian
 11/30/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center       Tom Brett                                                                                         0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to populate SUF with evidence.
 12/16/2022 CCKA   Center       Tom Brett                                                                                         1.2    $550.00            $660.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for completing SUF .
 12/16/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with CH re: next steps for revisions to SUF.
 12/16/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms with J. Flanders re: next steps to complete SUF.
 12/16/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center       Tom Brett                                                                                         0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: citations to exhibit Q
 12/16/2022 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0



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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders, CH, E. Bustos, and D. Hunt re: next steps for
 12/16/2022 CCKA   Center       Tom Brett      populating SUF.                                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  1/12/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $220.00         $110.00               0.2
                   Murieta
                   Equestrian                  Upload Defs Motion for Summary Judgment from ECF and email to
 12/19/2022 CCKA   Center       Tom Brett      self.                                                                               0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze Defendant's Motion for Summary Judgment
 12/30/2022 CCKA   Center       Tom Brett                                                                                          0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Review and annotate Ds SUF
 12/30/2022 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in firm and client comms re: Motion for Summary
   1/3/2023 CCKA   Center       Tom Brett      Judgment briefing; organize into correspondence folder.                             0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review, analyze, and distinguish Simon v. E Ky... 426 US 26 cited by
                   Equestrian                  Def's in Motion for Summary Judgment
   1/3/2023 CCKA   Center     Tom Brett                                                                                            0.7    $550.00           $385.00           $0.00                0

                   Murieta                     Review, analyze, and distinguish Summers c. Earth Island 555 U.S.
                   Equestrian                  488 cited by Def's in Motion for Summary Judgment
   1/3/2023 CCKA   Center     Tom Brett                                                                                            0.7    $550.00           $385.00           $0.00                0

                   Murieta                     Review, analyze, and distinguish LA v. Lyons (461 US 95) cited by
                   Equestrian                  Def's in Motion for Summary Judgment
   1/3/2023 CCKA   Center     Tom Brett                                                                                            0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law cited by Defs in Motion for Summary
   1/3/2023 CCKA   Center     Tom Brett        Judgment.                                                                           0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Review, analyze, and distinguish Hunt v. Wash States 432 US 333
                   Equestrian                  cited by Def's in Motion for Summary Judgment
   1/3/2023 CCKA   Center     Tom Brett                                                                                            0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Review, analyze, and distinguish Sierra Club v. Andrus 610 F.2d 581
                   Equestrian                  cited by Def's in Motion for Summary Judgment
   1/3/2023 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review allegations re: organizational standing in Second Amended
   1/3/2023 CCKA   Center     Tom Brett        Complaint                                                                           0.1    $550.00            $55.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: work on opp to Defs' Motion
   1/3/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review, analyze and distinguish case law cited by Def in
   1/3/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment.                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with MCM re: opp to defs Motion for Summary Judgment
   1/4/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Summarize and distinguish case law cited by Def in Motion for
   1/4/2023 CCKA   Center       Tom Brett      Summary Judgment.                                                                  0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with EAM re: drafting opp to Motion for Summary Judgment
   1/4/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list (for opp to Def's Motion for Summary Judgment)
   1/4/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: time line for drafting opp to Defs Motion for
   1/4/2023 CCKA   Center       Tom Brett      Summary Judgment.                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: next steps for drafting opposition to defs
   1/4/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment.                                                       0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze SF Baykeeper v. Sunny Vale (other matter) Motion
                   Murieta                     for Summary Judgment briefing to identify cases and argument to pull
                   Equestrian                  into opposition to Def's Motion for Summary Judgment.
   1/5/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Review and outline arguments of Ds Motion for Summary Judgment
   1/5/2023 CCKA   Center       Tom Brett      and brief outline of responses.                                                    0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Begin outline of Opp to Def's Motion for Summary Judgment
   1/5/2023 CCKA   Center       Tom Brett                                                                                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Draft legal background section on standing.
   1/5/2023 CCKA   Center       Tom Brett                                                                                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Begin drafting opp to Motion for Summary Judgment; format pleading
   1/5/2023 CCKA   Center       Tom Brett      and draft legal background section.                                                0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft summary judgment legal standard section in Opp to def's Motion
   1/5/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                               0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze cases cited by Def in Motion for Summary
   1/5/2023 CCKA   Center       Tom Brett      Judgment                                                                           0.2    $550.00           $110.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Review and annotate settlement statement in prep for drafting opp to
                   Equestrian                  Motion for Summary Judgment.
   1/5/2023 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt in response to email re: Opp to Def's Motion for
   1/5/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review email from D. Hunt re: informational standing and respond to
   1/5/2023 CCKA   Center       Tom Brett      the same.                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: opp to Def's Motion for Summary Judgment
   1/5/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to EAM re: drafting opp to Def's Motion for Summary
   1/5/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review Defendant's Motion for Summary Judgment to
   1/5/2023 CCKA   Center       Tom Brett      identify cases to summarize and distinguish.                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise task list re: completing opp to Motion for Summary Judgment
   1/6/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft legal background section re: standing in opp to Def's Motion for
   1/6/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                  0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft Opp to def's Motion for Summary Judgment; revise
   1/6/2023 CCKA   Center       Tom Brett      legal background section and draft argument section.                              0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Review, analyze and summarize corona clay decision.
   1/6/2023 CCKA   Center       Tom Brett                                                                                        0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Continue outlining opp to def's Motion for Summary Judgment.
   1/6/2023 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with EAM re: strategy for responding to def's opp to Motion for
   1/6/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise outline for opp to Def's Motion for Summary Judgment
   1/8/2023 CCKA   Center       Tom Brett                                                                                        0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing opp to Def's Motion for Summary
   1/9/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                                               Continue to draft opp to Def's Motion for Summary Judgment (injury in
                   Murieta                     fact section to California Coastkeeper Alliance member's; plus
                   Equestrian                  revisions to legal backgrounds section and being drafting traceability
   1/9/2023 CCKA   Center       Tom Brett      section)                                                                          3.1    $550.00           $1,705.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law re: traceability requirements for standing;
   1/9/2023 CCKA   Center       Tom Brett      revise legal background section on standing.                                      0.8    $550.00            $440.00            $0.00                0
                   Murieta
                   Equestrian                  continue to outline and draft opp to Def's Motion for Summary
   1/9/2023 CCKA   Center       Tom Brett      Judgment.                                                                         0.8    $550.00            $440.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting opp to Def's Motion for Summary
   1/9/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian
   1/9/2023 CCKA   Center       Tom Brett      Research case law re: traceability element of standing.                           0.2    $550.00            $110.00            $0.00                0

                                               Review and analyze in firm and client comms re: opposition to Motion
                   Murieta                     for Summary Judgment; organize into correspondence folder
                   Equestrian
   1/9/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing opp to Def's Motion for Summary
  1/10/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft section in opp to Motion for Summary Judgment re: traceability.
  1/10/2023 CCKA   Center       Tom Brett                                                                                        2.0    $550.00           $1,100.00           $0.00                0
                   Murieta
                   Equestrian                  Review SUF an outline traceability section of opp to Motion for
  1/10/2023 CCKA   Center       Tom Brett      Summary Judgment.                                                                 1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law re: redress; outline redress argument for
  1/10/2023 CCKA   Center       Tom Brett      opp to Defendant's Motion for Summary Judgment                                    0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Research case law re: redressability.
  1/10/2023 CCKA   Center       Tom Brett                                                                                        0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Revise legal background section re: redressability.
  1/10/2023 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to research case law re: redressability
  1/10/2023 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Revise outline to opp to Def's Motion for Summary Judgment
  1/10/2023 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for completing opp to Def's Motion
  1/10/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: plans for filing opp to Def's Motion for
  1/10/2023 CCKA   Center       Tom Brett      Summary Judgment.                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft informational injury section in opp to defs Motion for Summary
  1/11/2023 CCKA   Center       Tom Brett      Judgment                                                                            0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Draft redress section.
  1/11/2023 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Call with J. Flanders re: revisions to opp to def's Motion for Summary
                   Equestrian                  Judgment
  1/11/2023 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Revise outline to informational injury argument
  1/11/2023 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise opp to def's Motion for Summary Judgment
  1/11/2023 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise opp to def's Motion for Summary Judgment
  1/11/2023 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing draft opp to def's Motion for Summary
  1/11/2023 CCKA   Center       Tom Brett      Judgment                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for drafting opp to Def's Motion for
  1/11/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to EAM re: drafting Opp to Def's Motion for Summary
  1/12/2023 CCKA   Center       Tom Brett      Judgment.                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list for revisions to opp to def's Motion for Summary
  1/12/2023 CCKA   Center       Tom Brett      Judgment                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos w/r/t uploading Defs Motion for Summary Judgment
  1/12/2023 CCKA   Center       Tom Brett      to shared (plus supporting exhibits)                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Outline revisions to opp to def's Motion for Summary Judgment
  1/12/2023 CCKA   Center       Tom Brett                                                                                          0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Call with EAM re: plans / next steps for revisions to opp to def's Motion
  1/12/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                                0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft follow up email with EAM re: location of Def's Motion for Summary
  1/12/2023 CCKA   Center       Tom Brett      Judgment on shared.                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise oppn to Def's Motion for Summary Judgment
  1/12/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise opp to Motion for Summary Judgment.
  1/13/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to revise Opp to Def's Motion for Summary Judgment.
  1/13/2023 CCKA   Center       Tom Brett                                                                                        1.3    $550.00           $715.00           $0.00                0
                   Murieta
                   Equestrian                  Incorporate J. Flanders suggested revisions to opp to Def's Motion for
  1/13/2023 CCKA   Center       Tom Brett      Summary Judgment.                                                                 1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian
  1/13/2023 CCKA   Center       Tom Brett      Review and summarize case law relied on by Defendant in Motion for Su             0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: opp to def's Motion for Summary
  1/13/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise task list re: revisions to opp to def's Motion for Summary
  1/13/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and organize in firm comms re: next steps for drafting opp to
                   Equestrian                  Def's Motion for Summary Judgment; organize into correspondence
  1/13/2023 CCKA   Center       Tom Brett      folder                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and EAM re: revisions to opp to def's Motion
  1/13/2023 CCKA   Center       Tom Brett      for Summary Judgment.                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft factual background; and revise injury in fact section.
  1/17/2023 CCKA   Center       Tom Brett                                                                                        1.8    $550.00           $990.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise opp to def's Motion for Summary Judgment
  1/17/2023 CCKA   Center       Tom Brett                                                                                        1.7    $550.00           $935.00           $0.00                0
                   Murieta
                   Equestrian                  Distinguish / expound on Murieta Equestrian Center cites to Bothwell
  1/17/2023 CCKA   Center       Tom Brett      deposition                                                                        1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian                  Review Def's Motion for Summary Judgment cites to Bothwell
  1/17/2023 CCKA   Center       Tom Brett      deposition and cross reference with deposition transcript.                        0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to opp to def's Motion for Summary
  1/17/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.2    $550.00           $110.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Draft comms with J. Flanders re: revisions to opp to def's Motion for
                   Equestrian                  Summary Judgment.
  1/17/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: next steps for completing opp to def's
  1/17/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment.                                                      0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions to opp to def's Motion for
  1/17/2023 CCKA   Center       Tom Brett      Summary Judgment.                                                                 0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list for completing opp to Def's Motion for Summary
  1/17/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: revisions to opp to
                   Equestrian                  def's Motion for Summary Judgment; organize into correspondence
  1/17/2023 CCKA   Center       Tom Brett      folder.                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to opp to def's Motion for Summary
  1/17/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing opp to def's Motion for Summary Judgment
  1/18/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: second Bothwell declaration.
  1/18/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center       Tom Brett      Draft follow up comms with E. Bustos re: second Bothwell declaration.             0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center       Tom Brett      Draft email to E. Bustos re: second Bothwell declaration.                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center       Tom Brett      Draft email to D. Hunt re: second Bothwell declaration.                           0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center       Tom Brett      Draft follow up email to D. Hunt re: second Bothwell declaration.                 0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Continue revisions to opp to Def's Motion for Summary Judgment;
  1/18/2023 CCKA   Center       Tom Brett      respond to comment / incorporate changes; check cites to record.                  2.9    $550.00           $1,595.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise opp to def's Motion for Summary Judgment
  1/18/2023 CCKA   Center       Tom Brett                                                                                        0.6    $550.00            $330.00            $0.00                0



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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett        Draft second declaration for Sean Bothwell.                                       0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian
  1/18/2023 CCKA   Center     Tom Brett        Draft email to client re: S. Bothwell declaration.                                0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Call with J. Flanders re: revisions to opp to def's Motion for Summary
                   Equestrian                  Judgment
  1/18/2023 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to Motion for Summary Judgment
  1/18/2023 CCKA   Center     Tom Brett        opp.                                                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: strategy call to respond to
                   Equestrian                  Def's opp to California Coastkeeper Alliance Motion for Summary
  1/19/2023 CCKA   Center       Tom Brett      Judgment.                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze Defs opp to Motion for Summary Judgment.
  1/20/2023 CCKA   Center       Tom Brett                                                                                        0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for drafting reply to def's opp to
  1/20/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review case law cited by Defendant in opp to Motion for Summary
  1/20/2023 CCKA   Center       Tom Brett      Judgment                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze ECF notifications and in firm / client comms re:
                   Equestrian                  Motion for Summary Judgment and Opp to Def's Motion for Summary
  1/20/2023 CCKA   Center     Tom Brett        Judgment; organize into correspondence folder.                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list w/r/t drafting reply in support of Motion for Summary
  1/23/2023 CCKA   Center     Tom Brett        Judgment                                                                          0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Continue to review and summarize case law cited by Defendant in opp
                   Equestrian                  to Motion for Summary Judgment.
  1/23/2023 CCKA   Center     Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Review and summarize case law cited by Defendant in opp to Motion
                   Equestrian                  for Summary Judgment.
  1/23/2023 CCKA   Center     Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze informational requirements as part of permitting
  1/23/2023 CCKA   Center     Tom Brett        process for all Concentrated Animal Feeding Operations                            0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Outline informational injury section to reply in support of Motion for
  1/23/2023 CCKA   Center     Tom Brett        Summary Judgment                                                                  0.3    $550.00           $165.00           $0.00                0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Call with J. Flanders re: Motion for Summary Judgment reply strategy.
                   Equestrian
  1/24/2023 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to outline reply in support of Motion for Summary Judgment
  1/25/2023 CCKA   Center       Tom Brett                                                                                        0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to outline reply in support of Motion for Summary Judgment
  1/25/2023 CCKA   Center       Tom Brett                                                                                        0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: formatting pleading paper.
  1/25/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: drafting reply in support of Motion for Summary
  1/26/2023 CCKA   Center       Tom Brett      Judgment.                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft info injury section to reply in support of Motion for Summary
  1/26/2023 CCKA   Center       Tom Brett      Judgment.                                                                         2.4    $550.00           $1,320.00           $0.00                0

                   Murieta                     Continue to review reply in support of Motion for Summary Judgment
                   Equestrian
  1/26/2023 CCKA   Center       Tom Brett                                                                                        0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft reply in support of Motion for Summary Judgment
  1/26/2023 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to revise reply in support of Motion for Summary Judgment
  1/27/2023 CCKA   Center       Tom Brett                                                                                        0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft informational injury section in reply in support of
  1/27/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                       0.3    $550.00            $165.00            $0.00                0

                   Murieta                     Draft task list re: drafting reply in support of Motion for Summary
                   Equestrian                  Judgment and SUF responses
  1/30/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Revise injury-in-fact section in reply in support of Motion for Summary
  1/30/2023 CCKA   Center       Tom Brett      Judgment                                                                          1.3    $550.00            $715.00            $0.00                0
                   Murieta
                   Equestrian                  Continue drafting reply in support of Motion for Summary Judgment.
  1/30/2023 CCKA   Center       Tom Brett                                                                                        1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft Reply in support of Motion for Summary Judgment
  1/30/2023 CCKA   Center       Tom Brett                                                                                        0.6    $550.00            $330.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Revise / redline reply in support of Motion for Summary Judgment
  1/30/2023 CCKA   Center     Tom Brett                                                                                             0.4    $550.00           $220.00           $0.00               0

                   Murieta                     Draft causation section in reply in support of Motion for Summary
                   Equestrian                  Judgment
  1/30/2023 CCKA   Center     Tom Brett                                                                                             0.3    $550.00           $165.00           $0.00               0

                   Murieta                     Fill in missing citations to case law and prior opp in reply in support of
                   Equestrian                  Motion for Summary Judgment
  1/30/2023 CCKA   Center       Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Outline section in reply in support of Motion for Summary Judgment
  1/30/2023 CCKA   Center       Tom Brett      responding to defendant's argument re: sham affidavit.                               0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  draft comms to J. Flanders re: revisions to reply in support of Motion for
  1/30/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                     0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: formatting and revisions to reply in support of
  1/30/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze case law cited by defendant in opp to Motion for
  1/30/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                     0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: reply in support of Motion for Summary
  1/30/2023 CCKA   Center       Tom Brett      Judgment                                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to revise reply in support of Motion for Summary Judgment
  1/31/2023 CCKA   Center       Tom Brett                                                                                           0.9    $550.00           $495.00           $0.00               0

                                               Draft section in reply in support of Motion for Summary Judgment
                   Murieta                     responding to Def's argument re: new waters of the United States rule
                   Equestrian
  1/31/2023 CCKA   Center       Tom Brett                                                                                           0.7    $550.00           $385.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze case law re: use of expert opinion to est.
  1/31/2023 CCKA   Center       Tom Brett      undisputed facts in Motion for Summary Judgment                                      0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: reply SUF
  1/31/2023 CCKA   Center       Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Research case law re: retroactive effect of regs and expert opinion to
  1/31/2023 CCKA   Center       Tom Brett      establish facts in Motion for Summary Judgment                                       0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze case law re: retroactive effect of change in Clean
  1/31/2023 CCKA   Center       Tom Brett      Water Act regulations                                                                0.3    $550.00           $165.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Outline reply in support of Motion for Summary Judgment section re:
  1/31/2023 CCKA   Center       Tom Brett      newly promulgated waters of the United States regulation.                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for drafting reply in support of Motion
  1/31/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                                 0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  1/31/2023 CCKA   Center       Tom Brett      Review and analyze in firm email re: drafting reply SUF; organize into co            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: drafting / revising reply in support of Motion for
  1/31/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze client and in firm comms re: Def's ag. exemption
  1/31/2023 CCKA   Center       Tom Brett      argument; organize into correspondence folder.                                       0.1    $550.00            $55.00           $0.00                0

                                               Draft section in reply in support of Motion for Summary Judgment re:
                   Murieta                     use of expert opinion to establish facts on motion for summary
                   Equestrian                  judgment.
   2/1/2023 CCKA   Center     Tom Brett                                                                                             1.1    $550.00           $605.00           $0.00                0

                   Murieta                     Draft section in reply in support of Motion for Summary Judgment re:
                   Equestrian                  retroactive effect of new waters of the United States regulations.
   2/1/2023 CCKA   Center       Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law re: use of expert testimony to establish
   2/1/2023 CCKA   Center       Tom Brett      conclusions of law                                                                   0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for revisions to reply SUF
   2/1/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for drafting reply SUF
   2/2/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: citations to evidence in reply SUF
   2/2/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise reply SUF
   2/2/2023 CCKA   Center       Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise reply SUF
   2/2/2023 CCKA   Center       Tom Brett                                                                                           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Revise citation in reply in support of Motion for Summary Judgment.
   2/3/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: reply suf revisions.
   2/3/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft reply SUF.
   2/3/2023 CCKA   Center       Tom Brett                                                                                         2.8    $550.00           $1,540.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft reply SUF
   2/6/2023 CCKA   Center       Tom Brett                                                                                         3.2    $550.00           $1,760.00           $0.00                0
                   Murieta
                   Equestrian                  Draft Reply SUF
   2/6/2023 CCKA   Center       Tom Brett                                                                                         0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: reply SUF
   2/6/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Briefly review newly filed docket entries from Def for Motion for
   2/6/2023 CCKA   Center       Tom Brett      Summary Judgment Opp                                                               0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze in firm comms re: next steps / plan for completing
                   Equestrian                  reply Motion for Summary Judgment and SUF; organize into
   2/6/2023 CCKA   Center       Tom Brett      correspondence folder.                                                             0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: draft reply in support of Motion for Summary
   2/6/2023 CCKA   Center       Tom Brett      Judgment                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: plan for drafting reply SUF
   2/6/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft reply SUF
   2/7/2023 CCKA   Center       Tom Brett                                                                                         2.2    $550.00           $1,210.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft reply SUF
   2/7/2023 CCKA   Center       Tom Brett                                                                                         1.1    $550.00            $605.00            $0.00                0

                   Murieta                     Review and analyze I. Wren deposition transcript re: 1907 map
                   Equestrian                  presented by Defendant; revise reply brief in support of Motion for
   2/7/2023 CCKA   Center       Tom Brett      Summary Judgment to incorporate those facts / citations.                           0.6    $550.00            $330.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: locating I. Wren deposition testimony re: 1907
   2/7/2023 CCKA   Center       Tom Brett      USGS Map presented by Defendant                                                    0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center       Tom Brett      Call with J. Flanders re: Wren testimony at deposition re: Defendant's 19          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft reply SUF
   2/8/2023 CCKA   Center       Tom Brett                                                                                         3.8    $550.00           $2,090.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Continue to draft SUF Reply
   2/8/2023 CCKA   Center       Tom Brett                                                                                          1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to SUF reply
   2/8/2023 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Locate prior replies to evidentiary objections in prior matter
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Revise Reply in support of Motion for Summary Judgment
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze client and in-firm comms re: Reply in support of
   2/9/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list re: next steps for reply in support of Motion for Summary
   2/9/2023 CCKA   Center       Tom Brett      Judgment / SUF                                                                      0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Send California Coastkeeper Alliance intern AK operative reply SUF
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Draft email to J. Flanders and D. Hunt, and California Coastkeeper
                   Equestrian                  Alliance intern re: responding to def's evidentiary objections to SUF.
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft reply SUF.
   2/9/2023 CCKA   Center       Tom Brett                                                                                          1.8    $550.00           $990.00           $0.00                0
                   Murieta
                   Equestrian                  Revise and redline reply in support of Motion for Summary Judgment
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Revise record cites in Reply in support of Motion for Summary
   2/9/2023 CCKA   Center       Tom Brett      Judgment.                                                                           0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to reply SUF
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for drafting reply SUF
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: next steps for revising reply SUF.
   2/9/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: authenticating Paulsen and
   2/9/2023 CCKA   Center       Tom Brett      Pearson photos.                                                                     0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Call and text with J. Flanders and C. Hudak re: authenticating Paulsen
   2/9/2023 CCKA   Center       Tom Brett      photos                                                                                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to AK (CCKA Intern) re: responding to def evidence
  2/10/2023 CCKA   Center       Tom Brett      objections to SUF                                                                     0.5    $550.00             $0.00         $275.00               0.5
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to reply SUF
  2/10/2023 CCKA   Center       Tom Brett                                                                                            0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Call with CH re: authentication of photos
  2/10/2023 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list re: remaining / additional declarations to draft in support
  2/10/2023 CCKA   Center       Tom Brett      of reply Motion for Summary Judgment                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to AK (intern) at California Coastkeeper Alliance re:
  2/10/2023 CCKA   Center       Tom Brett      assistance with Reply SUF.                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft responses to Defendant's evidentiary objections to SUF.
  2/10/2023 CCKA   Center       Tom Brett                                                                                            1.7    $550.00           $935.00           $0.00                0
                   Murieta
                   Equestrian                  Draft responses to evidentiary objections in SUF
  2/10/2023 CCKA   Center       Tom Brett                                                                                            0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Incorporate redlines and revisions to Reply in support of Motion for
  2/10/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for reply SUF
  2/10/2023 CCKA   Center       Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with CH re: authenticating certain photos cited in SUF
  2/10/2023 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: defendant's objections to evidence in
  2/10/2023 CCKA   Center       Tom Brett      SUF                                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: evidentiary objection
  2/10/2023 CCKA   Center       Tom Brett      responses in Reply SUF                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: evidentiary objections by Defendant in
  2/10/2023 CCKA   Center       Tom Brett      SUF                                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to AK (CCKA intern) re: responding to Def's objections.
  2/13/2023 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Draft task list re: reply SUF
  2/13/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00              $0.00           $55.00               0.1

                   Murieta                     Draft follow up email to AK (CCKA intern) re: responding to Def's
                   Equestrian                  objections.
  2/13/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with AK (CCKA intern) re: revisions to objection responses.
  2/13/2023 CCKA   Center       Tom Brett                                                                                           0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for drafting / revising reply SUF and
  2/13/2023 CCKA   Center       Tom Brett      reply in support of Motion for Summary Judgment                                      0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  2/13/2023 CCKA   Center       Tom Brett      Review and analyze in firm and client comms re: drafting reply SUF and               0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms with J. Flanders re: next steps for revising reply in support
  2/13/2023 CCKA   Center       Tom Brett      of Motion for Summary Judgment and Reply SUF                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to citations in Reply in support of
  2/14/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: citations to reply SUF in reply in support of
  2/14/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with AK (CCKA intern) re: revisions to SUF reply
  2/14/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00              $0.00           $55.00               0.1

                   Murieta                     Review and analyze in firm and client comms re: drafting reply SUF
                   Equestrian                  and reply in support of Motion for Summary Judgment; organize into
  2/14/2023 CCKA   Center     Tom Brett        correspondence folder.                                                               0.1    $550.00              $0.00           $55.00               0.1

                   Murieta                     Continue to revise Reply in support of Motion for Summary Judgment
                   Equestrian
  2/14/2023 CCKA   Center     Tom Brett                                                                                             2.2    $550.00           $1,210.00           $0.00                0

                   Murieta                     Continue to revise and locate citations in reply in support of Motion for
                   Equestrian                  Summary Judgment
  2/14/2023 CCKA   Center     Tom Brett                                                                                             0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian                  Revise objection responses to Reply Motion for Summary Judgment
  2/14/2023 CCKA   Center     Tom Brett                                                                                             0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to Reply in support of Motion for
  2/14/2023 CCKA   Center     Tom Brett        Summary Judgment.                                                                    0.1    $550.00             $55.00            $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center       Tom Brett      Draft email to CH re: compilation of additional photos that need to be au           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to AK (CCKA intern) re: revisions to Reply SUF
  2/14/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: lack of discussion on Mr. Wren's sampling
  2/14/2023 CCKA   Center       Tom Brett      techniques in opposition.                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with AK (CCKA intern) re: revisions to reply SUF
  2/14/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing Reply SUF and revisions to reply in
  2/14/2023 CCKA   Center       Tom Brett      support of Motion for Summary Judgment                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call E. Bustos re: help compiling exhibits for J Brett declaration.
  2/14/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: assistance compiling declaration exhibits
  2/14/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center       Tom Brett      Review and reply to email from E. Bustos re: compilation of declaration e           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to CH re: next steps for compiling and authenticating photos
  2/15/2023 CCKA   Center       Tom Brett      cited in SUF.                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft T. Brett declaration in support of Reply in support of Motion for
  2/15/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                    1.3    $550.00           $715.00           $0.00                0
                   Murieta
                   Equestrian                  Revise / locate record cites for Reply in support of Motion for Summary
  2/15/2023 CCKA   Center       Tom Brett      Judgment.                                                                           0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: revisions to Reply SUF
  2/15/2023 CCKA   Center       Tom Brett                                                                                          0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center       Tom Brett      Review Everlaw file to locate date and time meta data for photos cited in           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revision to Reply in support of Motion for
  2/15/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                    0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise reply SUF
  2/15/2023 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Call with CH re: locating meta data for photos cited in SUF and
  2/15/2023 CCKA   Center       Tom Brett      authenticated in T. Brett Dec.                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions to reply suf
  2/15/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to CH re: missing information / metadata for documents
  2/15/2023 CCKA   Center       Tom Brett      cited in SUF.                                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing Reply SUF and Reply in support of Motion
  2/15/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: authenticating photos cited in SUF.
  2/16/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to CH re: identification of meta data for
  2/16/2023 CCKA   Center       Tom Brett      authentication of documents in Reply SUF.                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: next steps / remaining tasks
  2/16/2023 CCKA   Center       Tom Brett      to complete before filing.                                                        0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review record evidence, compile additional evidence to authenticate
                   Equestrian                  documents in Reply SUF, draft T. Brett declaration adding missing
  2/16/2023 CCKA   Center       Tom Brett      exhibits.                                                                         1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Complete revisions to T. Brett Dec in support of Reply Motion for
  2/16/2023 CCKA   Center       Tom Brett      Summary Judgment; incorporate cites into Reply SUF.                               1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to daft T. Brett Declaration in support of Reply Motion for
  2/16/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                  0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center       Tom Brett      Shepardize case law re: exhibit authentication.                                   0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: declaration in support of
  2/16/2023 CCKA   Center       Tom Brett      Reply Motion for Summary Judgment.                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: revisions to SUF.
  2/16/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders and D. Hunt re: revisions to Reply
  2/16/2023 CCKA   Center       Tom Brett      SUF                                                                               0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total               Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Draft task list re: next steps for completing reply suf and reply Motion
  2/16/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                                 0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: creating unsecured version of Fritschi
  2/16/2023 CCKA   Center       Tom Brett      deposition.                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with CH re: locating meta data to authenticate certain exhibits cited
  2/16/2023 CCKA   Center       Tom Brett      in SUF                                                                               0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to T. Brett declaration in support of
  2/16/2023 CCKA   Center       Tom Brett      Reply Motion for Summary Judgment                                                    0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: visions to Reply SUF
  2/16/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: filing next plan for tomorrow (reply Motion
  2/16/2023 CCKA   Center       Tom Brett      for Summary Judgment)                                                                0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze client and in firm comms re: revisions to reply suf
                   Equestrian                  and reply Motion for Summary Judgment; organize into
  2/16/2023 CCKA   Center       Tom Brett      correspondence folder.                                                               0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center       Tom Brett      Review and analyze D. Hunt revisions to S Bothwell dec. in support of re             0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: caselaw discussing
  2/16/2023 CCKA   Center       Tom Brett      authentication requirements on Motion for Summary Judgment                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: responses to objections
  2/16/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: revisions to Reply SUF and
  2/16/2023 CCKA   Center       Tom Brett      T. Brett dec in support of reply Motion for Summary Judgment                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to S. Bothwell and D. Hunt re: declaration of S. Bothwell in
  2/16/2023 CCKA   Center       Tom Brett      support of Reply Motion for Summary Judgment                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: drafting TOA / TOC for Reply in support of
  2/17/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment                                                          0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Review and revise Reply in support of Motion for Summary Judgment
  2/17/2023 CCKA   Center       Tom Brett      TOC / TOA                                                                            0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Complete revisions to Reply SUF and Reply in support of Motion for
  2/17/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                     3.5    $550.00           $1,925.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Complete compilation of exhibits and finalize T. Brett declaration in
  2/17/2023 CCKA   Center       Tom Brett      support of reply Motion for Summary Judgment.                                         0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Call with D. Hunt re: revisions to SUF and reply in support of Motion for
  2/17/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                      0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: further revisions to reply Motion for Summary
  2/17/2023 CCKA   Center       Tom Brett      Judgment and reply suf                                                                0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with D. Hunt re: revisions to reply SUF
  2/17/2023 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: drafting TOC / TOA for reply in support of Motion
  2/17/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                                  0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call w/ D. Hunt re: revisions to reply in support of Motion for Summary
  2/17/2023 CCKA   Center       Tom Brett      Judgment                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to T. Brett declaration in support of
  2/17/2023 CCKA   Center       Tom Brett      reply Motion for Summary Judgment                                                     0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Resolve comments from D. Hunt to T. Brett declaration in support of
  2/17/2023 CCKA   Center       Tom Brett      reply Motion for Summary Judgment                                                     0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for filing reply in support of Motion
  2/17/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                                  0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing reply SUF and reply in support of Motion for
  2/17/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                      0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: next steps for filing Motion for Summary
  2/17/2023 CCKA   Center       Tom Brett      Judgment reply documents.                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: drafting TOC / TOA for reply in support
  2/17/2023 CCKA   Center       Tom Brett      of Motion for Summary Judgment                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: cite check issue
  2/17/2023 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: filing reply Motion for Summary
  2/17/2023 CCKA   Center       Tom Brett      Judgment documents                                                                    0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to reply in support of Motion for
  2/17/2023 CCKA   Center       Tom Brett      Summary Judgment                                                                      0.1    $550.00            $55.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to Reply SUF
  2/17/2023 CCKA   Center     Tom Brett                                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to reply in support of Motion for
  2/17/2023 CCKA   Center     Tom Brett        Summary Judgment                                                                      0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: revision to reply in support of Motion for
  2/17/2023 CCKA   Center     Tom Brett        Summary Judgment                                                                      0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze in firm and client comms re: Motion for Summary
                   Equestrian                  Judgment reply and reply SUF; organize into correspondence folder.
  2/17/2023 CCKA   Center     Tom Brett                                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Upload Defendant's reply to shared
  2/27/2023 CCKA   Center     Tom Brett                                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review minute order taking def's Motion for Summary Judgment into
  2/27/2023 CCKA   Center     Tom Brett        consideration without oral argument.                                                  0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: Defendant's reply in support
                   Equestrian                  of Motion for Summary Judgment and possible need for sur reply.
  2/27/2023 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: defendant's reply brief and possible need to file
  2/27/2023 CCKA   Center       Tom Brett      sur reply.                                                                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review docket to determine whether we requested hearing / set
  2/27/2023 CCKA   Center       Tom Brett      hearing date; and whether defendant requested a hearing.                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: Court's minute order taking
  2/27/2023 CCKA   Center       Tom Brett      def's motion under consideration w/out hearing.                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center       Tom Brett      Draft task list re: review and analysis of defendant's reply SUF and reply            0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze Defendant's reply brief in support of Motion for
                   Equestrian                  Summary Judgment
  2/27/2023 CCKA   Center     Tom Brett                                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  2/27/2023 CCKA   Center     Tom Brett        Draft J. Flanders and D. Hunt re: Defendant's reply brief in support of Mo            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze Defendant's reply SUF
  2/28/2023 CCKA   Center     Tom Brett                                                                                              0.3    $550.00           $165.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Review and analyze in firm and client comms re: State Water
                   Equestrian                  Resources Control Board NOV to facility; organize into correspondence
  5/11/2023 CCKA   Center       Tom Brett      folder.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Notice of Supplemental Authority
  5/25/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze Sackett v U.S. Environmental Protection Agency
  5/25/2023 CCKA   Center       Tom Brett      decision                                                                            0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft notice of supplemental authority
  5/25/2023 CCKA   Center       Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Send email to J. Flanders re: notice of supplemental authority.
  5/25/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: filing supplemental authority.
  5/25/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze defendant's supplemental notice of authority
  5/25/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze client and in firm comms re: strategy for
  5/26/2023 CCKA   Center       Tom Brett      responding to defendant's notice of supplemental authority.                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and analyze Sackett v U.S. Environmental
  5/29/2023 CCKA   Center       Tom Brett      Protection Agency SCOTUS decision                                                   0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze minute order permitting supplemental briefing;
  5/31/2023 CCKA   Center       Tom Brett      organize ECF notice into correspondence folder.                                     0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: prep of supplemental brief.
  6/16/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise supplemental Sackett v U.S. Environmental
  6/21/2023 CCKA   Center       Tom Brett      Protection Agency Briefing.                                                         0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt re: revisions to supplemental briefing on Sackett
                   Equestrian                  v U.S. Environmental Protection Agency .
  6/21/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and TT re: filing supplemental brief on Sackett v
  6/21/2023 CCKA   Center     Tom Brett        U.S. Environmental Protection Agency decision.                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise supplemental brief re: Sackett v U.S. Environmental
  6/22/2023 CCKA   Center     Tom Brett        Protection Agency                                                                   1.5    $550.00           $825.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Revise citations in supplemental brief re: Sackett v U.S. Environmental
  6/22/2023 CCKA   Center       Tom Brett      Protection Agency                                                                 0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: supplemental brief on Sackett v U.S.
  6/22/2023 CCKA   Center       Tom Brett      Environmental Protection Agency                                                   0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  6/22/2023 CCKA   Center       Tom Brett      Continue to revise supplemental brief re: Sackett v U.S. Environmental P          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to supp. brief on Sackett v U.S.
  6/22/2023 CCKA   Center       Tom Brett      Environmental Protection Agency                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email or opposing counsel re: access to admin record.
  6/23/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center       Tom Brett      Call with D. Hunt re: revisions to supplemental brief                             0.5    $550.00           $275.00           $0.00                0

                   Murieta                     Draft email to D. Hunt re: revisions to supplemental brief on Sackett v
                   Equestrian                  U.S. Environmental Protection Agency
  6/23/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  6/23/2023 CCKA   Center     Tom Brett        Review local rules in ED Cal re: TOC and TOA requirements.                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing supplemental brief
  6/23/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Text E. Bustos re: Sackett v U.S. Environmental Protection Agency
                   Equestrian                  citation format; teleconference with E. Bustos re: further brief edits.
  6/23/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Teleconference with E. Bustos re: formatting of docket cites.
  6/23/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Call with J. Flanders re: order from court granting Motion for Summary
                   Equestrian                  Judgment
  8/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze client and external comms re: court order granting
                   Equestrian                  Motion for Summary Judgment; organize into correspondence folder.
  8/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze order granting Motion for Summary Judgment
  8/16/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Review and analyze opposing counsel comms re: meet and confer post-
                   Equestrian                  MSJ order in California Coastkeeper Alliance's favor; organize into
  8/21/2023 CCKA   Center     Tom Brett        correspondence folder.                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for mediation / settlement.
  8/24/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze opposing counsel comms re: proposed scheduling
                   Equestrian                  order; organize into correspondence folder.
  8/25/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze opposing counsel comms re: Phase II scheduling;
                   Equestrian                  organize into correspondence folder.
  8/28/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: dry weather inspection request
  8/29/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft dry weather inspection (R. 34 request)
  8/29/2023 CCKA   Center       Tom Brett                                                                                         0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: R 34 dry weather inspection request.
  8/29/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze client comms re: site inspection request; organize
  8/30/2023 CCKA   Center       Tom Brett      into correspondence folder                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze client and opposing counsel comms re: R 34 site
  8/31/2023 CCKA   Center       Tom Brett      inspection request; organize into correspondence folder.                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze court Phase II scheduling order and external / in
   9/5/2023 CCKA   Center       Tom Brett      firm comms re: the same; organize into correspondence folder.                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: creating discovery plan for Phase II
   9/7/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Phase II discovery plan.
  9/11/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Continue drafting / outlining discovery plan for Phase II
                   Equestrian
  9/11/2023 CCKA   Center     Tom Brett                                                                                           1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Begin drafting / outlining discovery plan for Phase II
  9/11/2023 CCKA   Center     Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: meeting to discuss scheduling
  9/12/2023 CCKA   Center     Tom Brett        order and next steps                                                              1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: meeting to discuss
  9/12/2023 CCKA   Center     Tom Brett        scheduling order and next steps.                                                  0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Begin prepping meet and confer re: outstanding Concentrated Animal
  9/13/2023 CCKA   Center     Tom Brett        Feeding Operation and finance discovery                                           0.3    $550.00            $165.00            $0.00                0

                   Murieta                     Call with J. Flanders re: meet and confer with defendant regarding
                   Equestrian                  outstanding Concentrated Animal Feeding Operation-related and
  9/13/2023 CCKA   Center       Tom Brett      finance related discovery requests.                                               0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Create phase II discovery time line.
  9/15/2023 CCKA   Center       Tom Brett                                                                                        0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: meet and confer re: phase I discovery responses.
  9/15/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Outline meet and confer letter (review prior discovery and responses)
  9/16/2023 CCKA   Center       Tom Brett      re: Phase I discovery                                                             0.8    $550.00            $440.00            $0.00                0
                   Murieta
                   Equestrian                  Outline, draft, and revise meet and confer letter re: defendant's
  9/19/2023 CCKA   Center       Tom Brett      production and responses to Phase I discovery requests.                           2.0    $550.00           $1,100.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: next steps for discovery plan
  9/19/2023 CCKA   Center       Tom Brett                                                                                        1.1    $550.00            $550.00           $55.00               0.1
                   Murieta
                   Equestrian                  Continue to revise meet and confer re: Phase I discovery
  9/19/2023 CCKA   Center       Tom Brett                                                                                        0.6    $550.00            $330.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: meet and confer on Phase I
  9/19/2023 CCKA   Center       Tom Brett      discovery responses.                                                              0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: next steps for Phase II discovery
  9/19/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: discovery time line and meet and confer re:
  9/19/2023 CCKA   Center       Tom Brett      prior discovery.                                                                  0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze J. Barnes informal dispute resolution procedures.
  9/20/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Revise meet and confer letter re: Phase I discovery responses from
  9/20/2023 CCKA   Center       Tom Brett      defendant                                                                         0.2    $550.00            $110.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft fifth R.34 request for inspection of land and things.
  9/20/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  9/20/2023 CCKA   Center       Tom Brett      Review and analyze client and in firm comms re: discovery schedule, bu             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze J. Barnes informal dispute resolution procedures.
  9/20/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: 5th R 34 request and M&C re: Phase I discovery
  9/20/2023 CCKA   Center       Tom Brett      responses                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: meet and confer on Def's Phase I
  9/20/2023 CCKA   Center       Tom Brett      discovery responses.                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: 5th R. 34 inspection request.
  9/20/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise M&C letter re: Def's Phase I discovery responses.
  9/21/2023 CCKA   Center       Tom Brett                                                                                         0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: fifth R. 34 inspection request.
  9/21/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review, analyze, and incorporate J. Flanders's revisions to R 34 site
  9/21/2023 CCKA   Center       Tom Brett      inspection (no 5)                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: revisions to R. 34 inspection request.
  9/21/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Phase I discovery M&C Letter and Letter
  9/21/2023 CCKA   Center       Tom Brett      re: informal dispute resolution.                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  9/21/2023 CCKA   Center       Tom Brett      Review and analyze in firm and external comms re: 5th Rule 34 inspecti             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of 5th R. 34 Inspection request.
  9/21/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: drafting Phase II written discovery (RFP, Set Six)
  9/22/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: M&C letter on fourth R. 34 request.
  9/22/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                             Hours         Rate       Total             Billing         Billing
                                                                                                                                                                  Judgment Fee    Judgment
                                                                                                                                                                  Reduction       Time
                                                                                                                                                                                  Reduction
                   Murieta
                   Equestrian                  Draft comms with J. Flanders re: service of meet and confer letters.
  9/22/2023 CCKA   Center       Tom Brett                                                                                      0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft meet and confer re: informal dispute resolution on 4th R. 34
  9/22/2023 CCKA   Center       Tom Brett      request.                                                                        0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Finalize M&C letters re: Def's Phase I discovery responses and
  9/22/2023 CCKA   Center       Tom Brett      informal dispute resolution.                                                    0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to M&C re: Phase I discovery
  9/22/2023 CCKA   Center       Tom Brett      responses.                                                                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise M&C Re: Def's Phase I discovery responses.
  9/22/2023 CCKA   Center       Tom Brett                                                                                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise M&C re: Phase I discovery
  9/22/2023 CCKA   Center       Tom Brett                                                                                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Make final revisions to M&C re: Defendant's Phase I discovery
  9/22/2023 CCKA   Center       Tom Brett      responses.                                                                      0.1    $550.00            $55.00           $0.00                0

                                               Draft email to J. Flanders and D. Hunt re: M&C re: Def's Phase I
                   Murieta                     discovery responses.
                   Equestrian
  9/22/2023 CCKA   Center       Tom Brett                                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: M&C letters to Defendant
  9/22/2023 CCKA   Center       Tom Brett                                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft RFP, set six
  9/25/2023 CCKA   Center       Tom Brett                                                                                      1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: RFP, Set Six.
  9/25/2023 CCKA   Center       Tom Brett                                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with opposing counsel re: R. 34 site inspection
  9/26/2023 CCKA   Center       Tom Brett                                                                                      0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Review and analyze in firm comms re: requests for production Set Six,
                   Equestrian                  meet and confer with opposing counsel regarding site inspection;
  9/26/2023 CCKA   Center     Tom Brett        organize into correspondence folder.                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with opposing counsel re: meet and confer on site inspection.
  9/26/2023 CCKA   Center     Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Draft email to J. Flanders re: failure of opposing counsel to respond to
                   Equestrian                  discovery M&C letters and next steps for drafting requests for
  9/26/2023 CCKA   Center       Tom Brett      production.                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: meet and confer with opposing counsel
  9/26/2023 CCKA   Center       Tom Brett      regarding site inspection.                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Meet and confer with opposing counsel re: site inspection (4th and 5th
  9/28/2023 CCKA   Center       Tom Brett      R. 34 requests).                                                                     0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Revise requests for production Set Six
  9/29/2023 CCKA   Center       Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to requests for production Set Six.
  9/29/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise / continue to draft RFP, Set Six
  10/2/2023 CCKA   Center       Tom Brett                                                                                           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: revisions to RFP, Set Six.
  10/2/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: defendant's time to respond to R34
  10/2/2023 CCKA   Center       Tom Brett      inspection request no. 4                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to MCM and client re: organizing call to discuss notice letter
  10/2/2023 CCKA   Center       Tom Brett      revisions.                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review prior discovery / docket to confirm existence of stipulation re:
                   Equestrian                  electronic service.
  10/3/2023 CCKA   Center     Tom Brett                                                                                             0.2    $550.00             $0.00         $110.00               0.2

                                               Review and analyze in firm comms re: response to defendant's
                   Murieta                     objections to 4th and 5th R. 34 inspection request and re: RFP, Set 6;
                   Equestrian                  organize into correspondence folder.
  10/3/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt re: time for Defendant to respond to 4th
  10/3/2023 CCKA   Center       Tom Brett      R. 34 inspection request.                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Confirm LD for Defendant to respond to 4th R 34 inspection request.
  10/3/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to revise RFP, Set Six.
  10/3/2023 CCKA   Center       Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Make final revisions to RFP, Set Six.
  10/3/2023 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze Def's response to 4th and 5th R. 34 inspection
  10/3/2023 CCKA   Center       Tom Brett      request.                                                                            0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to RFP, Set Six
  10/3/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise RFP, Set Six
  10/3/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft email to D. Hunt re: whether parties have stipulation to consent to
                   Equestrian                  electronic service.
  10/3/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: timing for Defendant's
  10/3/2023 CCKA   Center       Tom Brett      response to R 34 inspection request.                                                0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of RFP, Set Six.
  10/3/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Begin research and analysis of waiver or objections by failure to
  10/3/2023 CCKA   Center       Tom Brett      respond to R 34 inspection request.                                                 0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to RFP, Set Six
  10/3/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze in firm and opposing counsel comms re: site
                   Equestrian                  inspection meet and confer and RFP, Set Six; organize into
  10/4/2023 CCKA   Center     Tom Brett        correspondence folder.                                                              0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft email to J. Flanders attaching RFP, Set Six to inform document
                   Equestrian                  requests to event organizers at Murieta Equestrian Center
  10/5/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: prep of third party subpoenas on event
  10/6/2023 CCKA   Center       Tom Brett      managers                                                                            0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer on Phase I
  10/6/2023 CCKA   Center       Tom Brett      discovery.                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: follow up with Def on meet and confer on
  10/6/2023 CCKA   Center       Tom Brett      Phase I discovery                                                                   0.1    $550.00            $55.00           $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Review and analyze in firm and external comms re: meet and confer on
                   Equestrian                  phase I discovery and site inspection; organize into correspondence
  10/6/2023 CCKA   Center     Tom Brett        folder.                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Telephone call with E. Bustos re: Murieta Equestrian Center subpoenas
                   Equestrian
  10/6/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: written discovery on third party event
 10/10/2023 CCKA   Center     Tom Brett        managers                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: meet and confer with
                   Equestrian                  opposing counsel on site inspection; organize into correspondence
 10/10/2023 CCKA   Center       Tom Brett      folder.                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to E. Bustos re: third party subpoenas (to event
 10/11/2023 CCKA   Center       Tom Brett      managers)                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt in response to question about meet and confer
 10/11/2023 CCKA   Center       Tom Brett      letter on phase I discovery.                                                      0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft attachment A to Federal Rule of Civil Procedure 45 subpoenas to
 10/11/2023 CCKA   Center       Tom Brett      event managers                                                                    0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Research and analyze case law / rules re: time for production of
                   Equestrian                  documents pursuant to Federal Rule of Civil Procedure 45
 10/11/2023 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
 10/11/2023 CCKA   Center       Tom Brett      Meet and confer with opposing counsel re: dispute over upcoming site in           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: status of Attachment A to event manager
 10/11/2023 CCKA   Center       Tom Brett      Federal Rule of Civil Procedure 45 subpoenas.                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer to discuss Def's
 10/11/2023 CCKA   Center       Tom Brett      Phase I discovery.                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: event manager Federal Rule of Civil
 10/11/2023 CCKA   Center       Tom Brett      Procedure 45 subpoena.                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to client and J. Flanders re: strategy for filing Phase II
 10/11/2023 CCKA   Center       Tom Brett      Motion for Summary Judgment.                                                      0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to E. Bustos re: time and location for production of
                   Equestrian                  documents to include in Federal Rule of Civil Procedure 45 subpoena
 10/11/2023 CCKA   Center     Tom Brett        and re: required notice of subpoena to defendant.                                 0.1    $550.00            $55.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: meet and confer with opposing counsel on
 10/11/2023 CCKA   Center     Tom Brett        dry weather site inspection.                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
 10/12/2023 CCKA   Center     Tom Brett        Call with J. Flanders re: videography of site inspection and next steps fo           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: videography for site inspection (Nov. 2023
 10/12/2023 CCKA   Center     Tom Brett        inspection).                                                                         0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Call with E. Bustos re: locating and ID'ing agent for service of process
                   Equestrian                  for event managers as well as principal place of business (for Federal
 10/12/2023 CCKA   Center     Tom Brett        Rule of Civil Procedure 45 discovery)                                                0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze in firm and opposing counsel comms re: discovery
                   Equestrian                  meet and confer process (site inspection, Phase I discovery production;
 10/12/2023 CCKA   Center     Tom Brett        organize into correspondence folder.                                                 0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze draft third party subpoena and notice on shared
 10/12/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer / dispute resolution
 10/13/2023 CCKA   Center     Tom Brett        on site inspection.                                                                  0.3    $550.00           $165.00           $0.00               0

                   Murieta                     Research and identify additional event managers to serve Federal Rule
                   Equestrian                  of Civil Procedure 45 subpoenas on
 10/13/2023 CCKA   Center       Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: following up with opposing counsel w/r/t site
 10/13/2023 CCKA   Center       Tom Brett      inspection and Phase I discovery disputes.                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer on defendant's
 10/13/2023 CCKA   Center       Tom Brett      phase I discovery responses (CAFO and financial discovery)                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: meet and confer request to
 10/13/2023 CCKA   Center       Tom Brett      defendant over Phase I discovery responses.                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
 10/16/2023 CCKA   Center       Tom Brett      Review and analyze case law discussing permissible scope of site inspe               1.4    $550.00           $770.00           $0.00               0

                   Murieta                     Continue to identify event participants to serve Federal Rule of Civil
                   Equestrian                  Procedure 45 subpoena
 10/16/2023 CCKA   Center     Tom Brett                                                                                             0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Draft ROGs, set three and revise RFP, set seven.
 10/16/2023 CCKA   Center     Tom Brett                                                                                             0.4    $550.00           $220.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft RFP, Set Seven
 10/16/2023 CCKA   Center     Tom Brett                                                                                            0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Review and analyze in firm and opposing counsel comms re: site
                   Equestrian                  inspection meet and confer and strategy w/r/t timing for filing of Motion
 10/16/2023 CCKA   Center       Tom Brett      for Summary Judgment                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: location business information and agent for
 10/16/2023 CCKA   Center       Tom Brett      service of process info (for event managers) on Lexis.                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: strategy for interrogatory set three
 10/16/2023 CCKA   Center       Tom Brett      (questions re: mortality)                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: interrogatory set three and
 10/16/2023 CCKA   Center       Tom Brett      requests for production set seven.                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 10/17/2023 CCKA   Center       Tom Brett      Review and analyze in firm, opposing counsel, and client comms re: site             0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Call with J. Flanders re: assistance pulling map of Murieta Equestrian
                   Equestrian                  Center facility in prep for meet and confer on scope of site inspection.
 10/17/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: extracted Murieta Equestrian Center
 10/17/2023 CCKA   Center       Tom Brett      facility map                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: subpoenas to event managers.
 10/17/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for service of subpoenas on event
 10/17/2023 CCKA   Center       Tom Brett      managers and status of meet and confer over site inspection                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Extract Murieta Equestrian Center Facility map as part of meet and
 10/17/2023 CCKA   Center       Tom Brett      confer over scope of site inspection.                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review Proof of Service for Requests for Production 6 and calculate
 10/17/2023 CCKA   Center       Tom Brett      Def's last day to respond.                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: completing subpoenas to event managers
 10/17/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos and J. Flanders re: locating address for event
 10/17/2023 CCKA   Center       Tom Brett      managers to serve subpoenas on.                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Def's LDT respond to RFP, Set Six
 10/17/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total            Billing         Billing
                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: Federal Rule of Civil Procedure 45
 10/17/2023 CCKA   Center     Tom Brett        subpoenas on event managers.                                                      0.1    $550.00           $55.00           $0.00                0

                   Murieta                     Review and analyze further correspondence with opposing counsel re:
                   Equestrian                  meet and confer over site inspection; organize into correspondence
 10/18/2023 CCKA   Center       Tom Brett      folder.                                                                           0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze opposing counsel comms in response to meet and
 10/18/2023 CCKA   Center       Tom Brett      confer request on 5th site inspection.                                            0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review opposing counsel and in firm comms re: meet and confer over
 10/19/2023 CCKA   Center       Tom Brett      site inspection and next steps for informal DR                                    0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: service of subpoenas on event mangers.
 10/19/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to Attachment A to Federal Rule of
 10/19/2023 CCKA   Center       Tom Brett      Civil Procedure 45 subpoena to event managers.                                    0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian
 10/19/2023 CCKA   Center       Tom Brett      Draft email to J. Flanders re: service of Federal Rule of Civil Procedure 4       0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: questions about service of Federal Rule
 10/19/2023 CCKA   Center       Tom Brett      of Civil Procedure 45 subpoenas to event managers.                                0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of requests for production Set
 10/19/2023 CCKA   Center       Tom Brett      Seven                                                                             0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of RFP, Set Seven
 10/19/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $0.00          $55.00               0.1

                   Murieta                     Review and revise attachment A to Federal Rule of Civil Procedure 45
                   Equestrian                  subpoenas to event managers.
 10/19/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: revisions to requests for production set
 10/19/2023 CCKA   Center     Tom Brett        seven and interrogatory set three                                                 0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review, analyze, and revise draft requests for production Set Seven
 10/19/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00           $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and opposing counsel comms re: 3rd party
                   Equestrian                  subpoena, meet and confer on site inspection, informal DR, and RFP,
 10/19/2023 CCKA   Center     Tom Brett        set seven                                                                         0.1    $550.00           $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Review current service list to make sure up to date.
 10/19/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Call with J. Flanders re: revisions to Attachment A of Federal Rule of
                   Equestrian                  Civil Procedure 45 subpoena to event managers and strategy for next
 10/19/2023 CCKA   Center       Tom Brett      batch of subpoenas.                                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: revisions / status of Attachment A
 10/19/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: scheduling informal DR to resolve
 10/20/2023 CCKA   Center       Tom Brett      disagreements regarding November site inspection.                                  0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Leave voicemail with Steward Fried re: informal dispute resolution for
 10/20/2023 CCKA   Center       Tom Brett      upcoming site inspection.                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: contacting J. Barnes to set up informal DR
 10/20/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Leave voicemail with opposing counsel (cell) re: setting time for J.
 10/20/2023 CCKA   Center       Tom Brett      Barnes informal DR                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call wit J. Flanders re: setting up informal DR
 10/20/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze RFP, Set Seven; respond to email from E. Bustos
 10/20/2023 CCKA   Center       Tom Brett      re: the same.                                                                      0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm comms re: discovery on defendants and
                   Murieta                     meet and confer / DR to resolve site inspection issues; organize into
                   Equestrian                  correspondence folder
 10/20/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: booking videographer for site inspection.
 10/23/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Phase I discovery dispute
 10/23/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: scheduling informal DR with
 10/23/2023 CCKA   Center       Tom Brett      J Barnes to resolve dispute over site inspection.                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with Real Time Legal Video re: site inspection.
 10/23/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: Phase I written discovery
 10/23/2023 CCKA   Center     Tom Brett        meet and confer.                                                                   0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and opposing counsel comms re: site
                   Equestrian                  inspection meet and confer and Federal Rule of Civil Procedure 45
 10/23/2023 CCKA   Center       Tom Brett      subpoenas; organize into correspondence folder                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for Phase I discovery meet and
 10/24/2023 CCKA   Center       Tom Brett      confer                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer over defendant's
 10/24/2023 CCKA   Center       Tom Brett      Phase I discovery responses                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to court depute re: setting up informal dispute resolution
 10/24/2023 CCKA   Center       Tom Brett      (Nov. 3 site inspection)                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to court deputy and opposing counsel re: informal
 10/24/2023 CCKA   Center       Tom Brett      telephonic dispute resolution.                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: informal DR over site inspection.
 10/24/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call court deputy re: setting time for informal dispute resolution
 10/24/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: booking real time legal video
 10/25/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Follow up call with real time legal video re: site inspection
 10/25/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: availability for informal DR
 10/25/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders and D. Hunt re: scheduling informal
 10/25/2023 CCKA   Center       Tom Brett      DR (re: site inspection)                                                           0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm, external, and opposing counsel comms re:
                   Equestrian                  informal dispute resolution regarding the Nov. 3 site inspection;
 10/25/2023 CCKA   Center     Tom Brett        organize into correspondence folder.                                               0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze opposing counsel, client and in firm comms re:
                   Equestrian                  informal DR to resolve dispute over site inspection
 10/26/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to real time legal video re: setting up videography for site
 10/26/2023 CCKA   Center     Tom Brett        inspection.                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: meeting with videographer to discuss site
 10/26/2023 CCKA   Center     Tom Brett        inspection.                                                                        0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Draft email to opposing counsel re: follow up on proposal to resolve
                   Equestrian                  Phase I discovery dispute.
 10/27/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: proposed agreement to resolve
  11/2/2023 CCKA   Center     Tom Brett        Phase I discovery dispute                                                          0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Review and analyze in firm and opposing counsel comms re: site
                   Equestrian                  inspection meet and confer and Phase I discovery dispute resolution;
  11/2/2023 CCKA   Center     Tom Brett        organize into correspondence folder.                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: responding to Defendant's email regarding
  11/2/2023 CCKA   Center     Tom Brett        Phase I discovery dispute.                                                         0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm and opposing counsel comms re: defendant
                   Murieta                     request for extension to respond to discovery and service dates on
                   Equestrian                  third part event managers: organize into correspondence folder
  11/2/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: next steps for further discovery and amending
  11/3/2023 CCKA   Center     Tom Brett        scheduling order.                                                                  0.1    $550.00             $0.00          $55.00               0.1

                                               Review and analyze in firm and opposing counsel comms re: request
                   Murieta                     for extension to respond to discovery requests, site inspection, and
                   Equestrian                  third party subpoenas; organize into correspondence folder.
  11/3/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for discovery on defendant and
  11/3/2023 CCKA   Center       Tom Brett      motion to amend scheduling order.                                                  0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to opposing counsel re: Phase I discovery dispute
  11/3/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: drafting PMQ deposition notice and further discovery
  11/6/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm and opposing counsel comms re: Federal
                   Equestrian                  Rule of Civil Procedure 45 3rd party subpoenas and Phase I discovery
  11/6/2023 CCKA   Center     Tom Brett        dispute; organize into correspondence folder.                                      0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft follow up email to opposing counsel re: Phase I discovery dispute.
  11/6/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Call with J. Flanders re: strategy / next steps for re-propounding
                   Equestrian                  discovery and noticing PMQ deposition notice.
  11/7/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Draft email to E. Bustos re: service of Federal Rule of Civil Procedure
                   Equestrian                  45 subpoenas on event organizers and tracking the same.
  11/8/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft Interrogatories, Set 3
  11/8/2023 CCKA   Center     Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Outline key dates for completing discovery and collecting info
                   Equestrian                  necessary for Motion for Summary Judgment
  11/8/2023 CCKA   Center       Tom Brett                                                                                         0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian
  11/8/2023 CCKA   Center       Tom Brett      Draft RFP, Set eight                                                               0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for next discovery steps and for
  11/8/2023 CCKA   Center       Tom Brett      motion to amend scheduling order.                                                  0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: written discovery drafts.
  11/8/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders Re: PMQ deposition notice and
  11/8/2023 CCKA   Center       Tom Brett      comms with opposing counsel re: the same.                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders re: notice period in ED Cal for
  11/8/2023 CCKA   Center       Tom Brett      motion for leave to amend                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up comms with J. Flanders re: next steps for meet and
  11/8/2023 CCKA   Center       Tom Brett      confer on motion for leave to amend scheduling order                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: PMQ deposition notice and comms to
  11/8/2023 CCKA   Center       Tom Brett      opposing counsel re: the same.                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: Federal Rule of Civil Procedure 45
  11/8/2023 CCKA   Center       Tom Brett      subpoenas on third party event organizers                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to J. Flanders re: comms with opposing counsel about
                   Equestrian                  service status of Federal Rule of Civil Procedure 45 subpoenas (event
  11/8/2023 CCKA   Center     Tom Brett        managers)                                                                          0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                    Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: current key discovery and
  11/8/2023 CCKA   Center       Tom Brett      motion dates                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: motion for leave to amend and PMQ deposition notice
  11/8/2023 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: ROGs, Set Three.
  11/8/2023 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Send updated calendar invite re: Def's LD to serve requests for
  11/9/2023 CCKA   Center       Tom Brett      production set six responses.                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze in firm comms re: plan for next discovery and
  11/9/2023 CCKA   Center       Tom Brett      motion practice; organize into correspondence folder                                   0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft PMQ deposition notice
  11/9/2023 CCKA   Center       Tom Brett                                                                                             1.3    $550.00           $715.00           $0.00                0
                   Murieta
                   Equestrian                  Begin review of U.S. Environmental Protection Agency guidance on
  11/9/2023 CCKA   Center       Tom Brett      relatively permanent definition                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: Draft PMQ deposition notice.
  11/9/2023 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center       Tom Brett      Draft email to J. Flanders re: service of RFP, set eight and start for track           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to outline key dates / next steps in master case list.
 11/13/2023 CCKA   Center       Tom Brett                                                                                             0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise RFP, Set Eight
 11/13/2023 CCKA   Center       Tom Brett                                                                                             0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Compile, review, and analyze expert reports re: econ benefit from prior
 11/13/2023 CCKA   Center       Tom Brett      actions.                                                                               0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Outline motion for leave to amend scheduling order
 11/13/2023 CCKA   Center       Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review PMQ deposition notice.
 11/13/2023 CCKA   Center       Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: strategy for requesting financial
 11/13/2023 CCKA   Center       Tom Brett      information in requests for production                                                 0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Incorporate J. Flanders revisions to definitions in 30(b)(6) deposition
 11/13/2023 CCKA   Center       Tom Brett      notice.                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to PMQ deposition notice and next
 11/13/2023 CCKA   Center       Tom Brett      steps for serving.                                                                   0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
 11/13/2023 CCKA   Center       Tom Brett      Draft email to J. Flanders re: deadlines for defendant to respond to certa           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft task list re: next steps for completing RFP, Set Eight, contacting
 11/13/2023 CCKA   Center       Tom Brett      expert, and moving to amend scheduling order.                                        0.1    $550.00            $55.00           $0.00               0

                                               Review and analyze in firm and opposing counsel comms re: amending
                   Murieta                     scheduling order, requests for production / interrogatory revisions / key
                   Equestrian                  dates and remaining tasks in case; organize into correspondence
 11/13/2023 CCKA   Center       Tom Brett      folder.                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: finance requests for production, and
 11/13/2023 CCKA   Center       Tom Brett      contacting econ experts.                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to revise RFP, Set Eight.
 11/13/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise RFP, Set Eight
 11/13/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders re: requesting financial information
 11/13/2023 CCKA   Center       Tom Brett      in RFP, set eight                                                                    0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email re: agreement for electronic service with opposing counsel
 11/13/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: next steps for service of PMQ deposition /
 11/13/2023 CCKA   Center       Tom Brett      date for deposition                                                                  0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: inclusion of definition of forage in ROG,
 11/13/2023 CCKA   Center       Tom Brett      Set Three.                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: setting up call to discuss strategy / time
 11/13/2023 CCKA   Center       Tom Brett      line for next discovery and deliverables                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       Tom Brett                                                                                           0.4    $550.00           $220.00           $0.00               0



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: proposal to opposing counsel
 11/14/2023 CCKA   Center       Tom Brett      regarding amendments to scheduling order.                                          0.7    $550.00           $385.00           $0.00               0
                   Murieta
                   Equestrian                  Call with D. Hunt re: strategy for amending scheduling order / seeking
 11/14/2023 CCKA   Center       Tom Brett      stipulation with opposing counsel re: the same.                                    0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for filing motion to amend scheduling
 11/14/2023 CCKA   Center       Tom Brett      order                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: draft comms to opposing counsel regarding
 11/14/2023 CCKA   Center       Tom Brett      amending scheduling order                                                          0.1    $550.00            $55.00           $0.00               0

                                               Review and analyze opposing counsel and in firm comms re:
                   Murieta                     scheduling PMQ deposition and meet and confer over motion for leave
                   Equestrian                  to amend scheduling order; organize into correspondence folder.
 11/14/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: motion to amend scheduling
 11/14/2023 CCKA   Center       Tom Brett      order                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: amending scheduling order
 11/15/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Make final revisions to RFP, Set Eight.
 11/15/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0

                                               Review and analyze in firm, opposing counsel, and client comms re:
                   Murieta                     RFP, set 8, 3rd party subpoenas, and offer to amend scheduling order;
                   Equestrian                  organize into correspondence folder
 11/15/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: completing and serving RFP, Set Eight
 11/15/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: proposal to amend
 11/15/2023 CCKA   Center       Tom Brett      scheduling order                                                                   0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise RFP, Set Eight
 11/15/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft follow up comms to J. Flanders re: offer to amend schedule to
 11/15/2023 CCKA   Center       Tom Brett      opposing counsel                                                                   0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: comms with opposing counsel regarding
 11/15/2023 CCKA   Center       Tom Brett      amending scheduling order.                                                         0.1    $550.00            $55.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Send D. Hunt link to current scheduling order.
 11/15/2023 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft task list re: next discovery steps (PMQ, additional Federal Rule of
                   Equestrian                  Civil Procedure 45 subpoenas on third parties) and motion to amend
 11/15/2023 CCKA   Center       Tom Brett      scheduling order.                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos and J. Flanders re: service of Federal Rule of
 11/15/2023 CCKA   Center       Tom Brett      Civil Procedure 45 subpoena on Fox Farms                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt in response to comms regarding scheduling
 11/15/2023 CCKA   Center       Tom Brett      order.                                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of RFP, Set Eight
 11/15/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt re: proposal to opposing counsel w/r/t
 11/15/2023 CCKA   Center       Tom Brett      amending the scheduling order.                                                      0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and opposing counsel comms re: notice of
                   Equestrian                  PMQ depo; organize into correspondence folder
 11/16/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: where to make location of second PMQ
 11/16/2023 CCKA   Center       Tom Brett      depo                                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: motion to amend scheduling order and PMQ
 11/16/2023 CCKA   Center       Tom Brett      deposition notice                                                                   0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise 2nd PMQ notice and draft Proof of Service for the same
 11/16/2023 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel serving PMQ deposition notice and
 11/16/2023 CCKA   Center       Tom Brett      requesting meet and confer re: the same.                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: setting date for PMQ
 11/16/2023 CCKA   Center       Tom Brett      deposition                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: scheduling PMQ deposition
 11/16/2023 CCKA   Center       Tom Brett      notice.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: scheduling meet and confer with
 11/16/2023 CCKA   Center       Tom Brett      opposing counsel over PMQ deposition notice.                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: contacting expert witness.
 11/16/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Review opposing counsel comms re: availability for PMQ deposition.
 11/16/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Begin compiling documents for Shefftz (Econ expert, Phase II)
 11/17/2023 CCKA   Center       Tom Brett                                                                                         0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Prepare for call with J Schefftz re: consulting
 11/17/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call MCM re: econ expert out reach
 11/17/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: compiling documents for expert review.
 11/17/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J Shefftz re: compilation of documents for review in prep
 11/17/2023 CCKA   Center       Tom Brett      for drafting expert report.                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: next steps for econ expert
 11/17/2023 CCKA   Center       Tom Brett      report                                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Schefftz re: prep of expert report
 11/17/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with J. Shefftz re: consulting work
 11/17/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze in firm, client, and expert comms re: expert
 11/17/2023 CCKA   Center       Tom Brett      economic report; organize into correspondence folder                               0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: retaining expert witness.
 11/17/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze D prior production to identify materials to provide
 11/20/2023 CCKA   Center       Tom Brett      to expert                                                                          1.1    $550.00           $605.00           $0.00               0
                   Murieta
                   Equestrian                  Begin review and analysis of schefftz expert report in CSI
 11/20/2023 CCKA   Center       Tom Brett                                                                                         0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze Federal Rule of Civil Procedure 30 meet and
 11/20/2023 CCKA   Center       Tom Brett      confer requirements.                                                               0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer over PMQ
 11/20/2023 CCKA   Center       Tom Brett      deposition and amendment to scheduling order.                                      0.1    $550.00            $55.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: Phase II econ report
 11/20/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Upload def's requests for production set 6 and 7 responses and
 11/21/2023 CCKA   Center       Tom Brett      production.                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meeting and conferring over PMQ
 11/21/2023 CCKA   Center       Tom Brett      deposition notice and proposal to amend the schedule                               0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and analyze Shefftz expert report
 11/21/2023 CCKA   Center       Tom Brett                                                                                         0.5    $550.00           $275.00           $0.00                0

                                               Call with J. Flanders re: next steps for compiling information /
                   Murieta                     documents to provide to expert; and response to opposing counsel's
                   Equestrian                  email regarding meeting and conferring over proposed amendment to
 11/21/2023 CCKA   Center     Tom Brett        schedule and PMQ deposition.                                                       0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Review and analyze opposing counsel comms re: defendant's
                   Equestrian                  responses to RFP, Sets 6 and 7; organize into correspondence folder.
 11/21/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Finalize and send email to opposing counsel re: meet and confer w/r/t
 11/21/2023 CCKA   Center     Tom Brett        PMQ notice and amendments to scheduling order.                                     0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: follow up meet and confer
                   Equestrian                  with opposing counsel regarding PMQ deposition and M&C w/r/t
 11/21/2023 CCKA   Center     Tom Brett        proposed amendment to schedule.                                                    0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Create calendar invite for meet and confer over PMQ and scheduling
                   Equestrian                  order; send to opposing counsel, J. Flanders, and D. Hunt
 11/22/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1

                                               Review and analyze Paulsen expert report re: drainage area / runoff
                   Murieta                     volume from facility; annotate and compile to folder to provide to Ian
                   Equestrian                  Wren.
 11/22/2023 CCKA   Center     Tom Brett                                                                                           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze prior production to identify documents evidencing
 11/22/2023 CCKA   Center     Tom Brett        cost of Best Management Practices                                                  0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Draft task list re: next steps for responding to defendant objections to
                   Equestrian                  PMQ deposition notice and requests for production, and preparing
 11/27/2023 CCKA   Center     Tom Brett        documents for expert witness.                                                      0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Review and organize documents to provide to econ consultant and I.
                   Equestrian                  Wren (BMP report); upload to shared.
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze defendant document production in response to
 11/27/2023 CCKA   Center       Tom Brett      requests for production Set 6                                                       0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Draft Phase II task list / work plan
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review prior production from Defendant to provide to
 11/27/2023 CCKA   Center       Tom Brett      Shefftz as part of expert report.                                                   0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze defendant responses to RFP, Sets 6 and 7
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Investigate and identify potential storm water contractors / construction
                   Equestrian                  companies to cost out BMP implementation at Facility.
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Begin drafting meet and confer regarding defendant's objections to
 11/27/2023 CCKA   Center       Tom Brett      RFP, Sets 6 & 7                                                                     0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze West Coast Equestrian Foundation Federal Rule
 11/27/2023 CCKA   Center       Tom Brett      of Civil Procedure 45 subpoena responses and production                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: M&C with opposing counsel to discuss
 11/27/2023 CCKA   Center       Tom Brett      amending schedule and PMQ deposition notice                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
 11/27/2023 CCKA   Center       Tom Brett      Draft email to opposing counsel re: responses to RPF, Set Six.                      0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: work plan / project outline spreadsheet.
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to compile documents to provide to J. Shefftz
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: meet and confer with opposing counsel
 11/27/2023 CCKA   Center       Tom Brett      regarding amending schedule and PMQ depo                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: review of document file to send to J. Shefftz.
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Draft task list re: revisions to PMQ notice, meet and confer letter on
                   Equestrian                  requests for production sets six and seven, next steps for providing info
 11/27/2023 CCKA   Center     Tom Brett        to Econ Expert                                                                      0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: third party production (W.
                   Equestrian                  Coast Equestrian Foundation) pursuant to Federal Rule of Civil
 11/27/2023 CCKA   Center     Tom Brett        Procedure 45 subpoena.                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders re: meet and confer with opposing
 11/27/2023 CCKA   Center     Tom Brett        counsel regarding amending schedule                                                 0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Listen and summarize voicemail from J. Flanders re: revisions to PMQ
                   Equestrian                  deposition notice and schedule for motion for leave to amend;
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: meet and confer and document production
 11/27/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: scheduled PMQ deposition.
 11/28/2023 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft meet and confer re: Def's responses to requests for production
 11/28/2023 CCKA   Center       Tom Brett      set six and seven                                                                   1.3    $550.00           $715.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to locate and identify contractors for BMP construction at
 11/28/2023 CCKA   Center       Tom Brett      facility and to provide cost estimate for BMP installation.                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for PMQ depo, requests for
 11/28/2023 CCKA   Center       Tom Brett      production meet and confer, and leave to amend scheduling order                     0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Call with J. Flanders re: next steps for comms with expert witness
                   Equestrian                  (econ), meet and confer letter in response to defendant's requests for
 11/28/2023 CCKA   Center       Tom Brett      production responses etc.                                                           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Complete revisions to PMQ definitions for "animal confinement" "raw
 11/28/2023 CCKA   Center       Tom Brett      materials storage areas" and "manure storage areas"                                 0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J Shefftz re: preparation of expert report (provide
 11/28/2023 CCKA   Center       Tom Brett      compilation of materials, and tee up next steps)                                    0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review prior discovery definitions of confinement; revise 2nd PMQ
 11/28/2023 CCKA   Center       Tom Brett      deposition definitions                                                              0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: potential firms / consultants to provide
 11/28/2023 CCKA   Center       Tom Brett      estimates for stormwater BMP construction at the Facility.                          0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: revised PMQ definitions.
 11/28/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Let's Show production in response to Federal Rule
 11/28/2023 CCKA   Center       Tom Brett      of Civil Procedure 45 subpoena.                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call E. Bustos re: setting up remote PMQ depo
 11/28/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: time line / schedule for completion of expert
 11/28/2023 CCKA   Center       Tom Brett      report.                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Let's Show production in response to
 11/28/2023 CCKA   Center       Tom Brett      Federal Rule of Civil Procedure 45 subpoena.                                      0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm and co-counsel comms re: expert report
                                               prep, Federal Rule of Civil Procedure 45 subpoena responses, and
                   Murieta                     meet and confer re: RFP, Sets six and seven; organize into
                   Equestrian                  correspondence folder.
 11/28/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: materials provided to econ expert, and def's
 11/28/2023 CCKA   Center       Tom Brett      document production in response to RFP, Set Six                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: compiled materials for review and prep of
 11/28/2023 CCKA   Center       Tom Brett      econ report.                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Calculate Defendant's LD to Respond to requests for production Set
 11/28/2023 CCKA   Center       Tom Brett      Eight and calendar date                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise / update project outline
 11/29/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: locating firms to cost out BMP
 11/29/2023 CCKA   Center       Tom Brett      implementation at Facility.                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft meet and confer over requests for production sets 6 and 7
 11/29/2023 CCKA   Center       Tom Brett                                                                                        1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Meet and Confer re: requests for production Sets 6 and 7
 11/29/2023 CCKA   Center       Tom Brett                                                                                        0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to identify contractors to provide cost estimates for BMP
 11/29/2023 CCKA   Center       Tom Brett      construction                                                                      0.3    $550.00           $165.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft finance 30(b)(6) PMQ deposition notice.
 11/29/2023 CCKA   Center     Tom Brett                                                                                           0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze CFR requirements for Concentrated Animal
 11/29/2023 CCKA   Center     Tom Brett        Feeding Operations governed by NPDES permit.                                       0.2    $550.00           $110.00           $0.00               0

                   Murieta                     Continue to identify and assess construction / stormwater consultants
                   Equestrian                  to cost out / provide cost estimates for BMP implementation at the
 11/29/2023 CCKA   Center       Tom Brett      Facility.                                                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: finance PMQ deposition notice.
 11/29/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: locating contractor to cost out BMP
 11/29/2023 CCKA   Center       Tom Brett      implementation.                                                                    0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: revisions to PMQ deposition notice
 11/29/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: drafting J. Flanders declaration in support
 11/29/2023 CCKA   Center       Tom Brett      of motion for leave to amend schedule                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise task list re: completing PMQ (finance) notice and RFP, set 6
 11/29/2023 CCKA   Center       Tom Brett      and 7 meet and confer, and outlining CFR and WDR remedies                          0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Call with J. Flanders re: next steps for meet and confer on RPF sets 6
                   Equestrian                  and 7, finance PMQ depo, and analysis of remedies (CFR and WDR
 11/29/2023 CCKA   Center     Tom Brett        requirements).                                                                     0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft task list re: next steps for completing M&C re: requests for
                   Equestrian                  production sets 6 and 7, motion for leave to amend schedule, and de-
 11/29/2023 CCKA   Center       Tom Brett      designating confidential documents.                                                0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: meet and confer draft re: requests for
 11/29/2023 CCKA   Center       Tom Brett      production sets 6 & 7                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: finance deposition notice.
 11/29/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: time for defendant to respond to ROG, Set
 11/29/2023 CCKA   Center       Tom Brett      Three                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Review and revise declaration in support of motion for leave to amend
 11/30/2023 CCKA   Center     Tom Brett        scheduling order.                                                                    0.4    $550.00           $220.00           $0.00               0


                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze facility and surrounding parcel ownership
 11/30/2023 CCKA   Center     Tom Brett        information; compile / copy to CAFP PMQ deposition exhibits.                         0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Revise M&C letter re: RFP, Sets 6 and 7
 11/30/2023 CCKA   Center     Tom Brett                                                                                             0.3    $550.00           $165.00           $0.00               0

                                               Call with J. Flanders re: strategy for Concentrated Animal Feeding
                   Murieta                     Operation PMQ depo, CFR / WDR Concentrated Animal Feeding
                   Equestrian                  Operation requirements, locating consultant to estimate BMP
 11/30/2023 CCKA   Center       Tom Brett      implementation costs.                                                                0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise Finance PMQ deposition notice
 11/30/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders re: RFP, Sets 6 and 7 meet and
 11/30/2023 CCKA   Center       Tom Brett      confer.                                                                              0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze in firm comms re: ID'ing contractors to cost out
                   Equestrian                  BMP implementation, PMQ deposition notice, motion for leave to
 11/30/2023 CCKA   Center     Tom Brett        amend scheduling order; organize into correspondence folder.                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer over RFP, Sets 6
 11/30/2023 CCKA   Center     Tom Brett        &7                                                                                   0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: finance PMQ deposition notice.
 11/30/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00               0

                                               Draft task list re: review of WDR requirements for Concentrated Animal
                   Murieta                     Feeding Operations and comparison to CFR requirements; review of
                   Equestrian                  process for de-designating confidential documents per protective order;
 11/30/2023 CCKA   Center     Tom Brett        and completing finance PMQ deposition notice.                                        0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft follow up email to E. Bustos re: scheduling call to discuss drafting
                   Equestrian                  J. Flanders declaration in support of motion for leave to amend
 11/30/2023 CCKA   Center     Tom Brett        schedule.                                                                            0.1    $550.00            $55.00           $0.00               0



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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Call with E. Bustos re: J. Flanders Decl in support of motion for leave to
 11/30/2023 CCKA   Center     Tom Brett        amend scheduling order.                                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to J. Flanders re: WDR Region 2 Concentrated Animal
                   Equestrian                  Feeding Operation requirements and Sonoma Horse Park nutrient
 11/30/2023 CCKA   Center     Tom Brett        management plan                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: additional potential contractors to provide
 11/30/2023 CCKA   Center     Tom Brett        BMP cost estimates.                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Update project outline
  12/1/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Continue to review and analyze Concentrated Animal Feeding
                   Equestrian                  Operation WDR requirements; compare with CFR requirements;
  12/1/2023 CCKA   Center     Tom Brett        summarize in spreadsheet                                                             1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Murieta Equestrian Center production to pull
  12/1/2023 CCKA   Center     Tom Brett        expenditures on Best Management Practices to provide to expert                       1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze protective order and procedures for de-designating
  12/1/2023 CCKA   Center     Tom Brett        as confidential.                                                                     0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Draft email to D. Hunt re: revisions to finance PMQ deposition notice.
                   Equestrian
  12/1/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to J. Flanders re: summary of and comparison of
                   Equestrian                  Concentrated Animal Feeding Operation CFR and WDR requirements.
  12/1/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0

                                               Continue to review and analyze prior Murieta Equestrian Center
                   Murieta                     production to pull documents to provide to expert witness (econ)
                   Equestrian
  12/4/2023 CCKA   Center       Tom Brett                                                                                           1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and analyze prior Murieta Equestrian Center
  12/4/2023 CCKA   Center       Tom Brett      production to pull documents to provide to expert witness (econ)                     0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Revise 3rd PMQ deposition notice; draft POS
  12/4/2023 CCKA   Center       Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: 3rd PMQ notice
  12/4/2023 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Draft follow up email to D. Hunt re: review and revisions to PMQ
                   Equestrian                  deposition notice(finance)
  12/4/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: review and revisions to PMQ deposition
  12/4/2023 CCKA   Center     Tom Brett        notice (finance)                                                                     0.1    $550.00            $55.00           $0.00                0

                                               Draft task list re: completing review of prior production (compiling
                   Murieta                     expert file), continue to locate / identify contractor to provide BMP cost
                   Equestrian                  estimate, and next steps for following up on discovery (RFP 6 and 7,
  12/4/2023 CCKA   Center       Tom Brett      and Federal Rule of Civil Procedure 45 subpoenas)                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise task list re: further comms with econ expert / prepping expert
  12/5/2023 CCKA   Center       Tom Brett      file                                                                                 0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to review, analyze, and compile documents for econ expert
  12/5/2023 CCKA   Center       Tom Brett                                                                                           1.3    $550.00           $715.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze prior production to pull documents to provide to
  12/5/2023 CCKA   Center       Tom Brett      econ expert.                                                                         0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Call with J. Flanders re: next steps for completing review of documents
                   Equestrian                  to provide to expert, locating BMP contractor to provide cost estimates
  12/5/2023 CCKA   Center     Tom Brett        etc.                                                                                 0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer over PMQ
  12/5/2023 CCKA   Center     Tom Brett        deposition notice                                                                    0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Create calendar invite to opposing counsel for meet and confer re:
                   Equestrian                  PMQ deposition notice.
  12/6/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze Federal Rule of Civil Procedure 45 third party
  12/6/2023 CCKA   Center     Tom Brett        (west palms) production re: horse count                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: third party (west palms)
                   Equestrian                  production re: horse count
  12/6/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm and opposing counsel comms re: 3rd PMQ
                   Murieta                     deposition notice meet and confer, 2nd PMQ deposition prep / dates;
                   Equestrian                  organize into correspondence folder.
  12/6/2023 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  12/7/2023 CCKA   Center     Tom Brett        Review and analyze financial documents located / pulled from Everlaw t               0.2    $550.00           $110.00           $0.00                0



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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction


                   Murieta                     Review and analyze client, in firm, and external comms re: preparation
                   Equestrian                  of expert report (econ); organize into correspondence folder.
  12/8/2023 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1

                                               Continue to review and analyze Federal Rule of Civil Procedure
                                               requirements of expert witness to file expert report and opportunity to
                   Murieta                     supplement report; summarize findings in email to J. Flanders and D.
                   Equestrian                  Hunt.
  12/8/2023 CCKA   Center     Tom Brett                                                                                           1.0    $550.00           $550.00           $0.00                0

                   Murieta                     Review and analyze Federal Rule of Civil Procedure requirements of
                   Equestrian                  expert witness to file expert report and opportunity to supplement
  12/8/2023 CCKA   Center       Tom Brett      report.                                                                            0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for preparing expert report.
  12/8/2023 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft summary of call with J Shefftz
  12/8/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt re: Shefftz expert report.
  12/8/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Prep for call with J. Shefftz re: expert report.
  12/8/2023 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: prep of expert report and strategy to calculate
  12/8/2023 CCKA   Center       Tom Brett      economic benefit                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer on RFP, Sets 6
  12/8/2023 CCKA   Center       Tom Brett      and 7                                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Compile materials and report from prior Concentrated Animal Feeding
  12/8/2023 CCKA   Center       Tom Brett      Operation matter provided by Shefftz; upload to shared.                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and opposing counsel comms re:
                   Equestrian                  defendant's responses to discovery responses; organize into
 12/11/2023 CCKA   Center     Tom Brett        correspondence folder                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: call with Water Quality expert to discuss
 12/11/2023 CCKA   Center     Tom Brett        BMP implementation                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian
 12/12/2023 CCKA   Center     Tom Brett        Review, analyze and annotate Defendant's responses and objections to                 0.2    $550.00            $110.00            $0.00                0

                                               Review and analyze in opposing counsel, firm and external comms re:
                   Murieta                     Concentrated Animal Feeding Operation PMQ deposition and
                   Equestrian                  Defendant's responses to ROG, set 3; organize into correspondence
 12/12/2023 CCKA   Center       Tom Brett      folder.                                                                              0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders Re: finance PMQ meet and confer with
 12/12/2023 CCKA   Center       Tom Brett      Murieta Equestrian Center                                                            0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: PMQ deposition meet and confer prep, and next steps
 12/12/2023 CCKA   Center       Tom Brett      for RFP, sets 6 & 7, and ROG, set 3 meet and confer.                                 0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Meet and confer with opposing counsel on PMQ deposition notice and
 12/13/2023 CCKA   Center       Tom Brett      RFP, Sets 6 and 7                                                                    0.7    $550.00            $385.00            $0.00                0

                   Murieta                     Prep for meet and confer with opposing counsel re: finance PMQ
                   Equestrian                  deposition notice
 12/13/2023 CCKA   Center     Tom Brett                                                                                             0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: PMQ deposition prep.
 12/13/2023 CCKA   Center     Tom Brett                                                                                             0.2    $550.00            $110.00            $0.00                0

                                               Review and analyze opposing counsel and in form comms re: meet
                   Murieta                     and confer of requests for production and third PMQ notice, and
                   Equestrian                  interrogatory set three verification; organize into correspondence folder;
 12/13/2023 CCKA   Center     Tom Brett        organize into correspondence folder                                                  0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Upload documents to planet deposition for use at PMQ deposition
 12/14/2023 CCKA   Center     Tom Brett        (video of site inspection)                                                           0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: review of video from site inspection to
 12/14/2023 CCKA   Center     Tom Brett        locate video of horses eating for use in deposition.                                 0.1    $550.00              $0.00           $55.00               0.1

                   Murieta                     Review and analyze supplemental production provided by opposing
                   Equestrian                  counsel
 12/14/2023 CCKA   Center     Tom Brett                                                                                             1.9    $550.00           $1,045.00           $0.00                0
                   Murieta
                   Equestrian                  Attend Concentrated Animal Feeding Operation PMQ deposition
 12/14/2023 CCKA   Center     Tom Brett                                                                                             1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze video from November site inspection to identify
 12/14/2023 CCKA   Center     Tom Brett        video showing horses feeding.                                                        0.6    $550.00            $330.00            $0.00                0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Call with D. Hunt re: strategy for review of supplemental production
 12/14/2023 CCKA   Center       Tom Brett      provided by opposing counsel                                                     0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: deposition prep
 12/14/2023 CCKA   Center       Tom Brett                                                                                       0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: strategy for review of
 12/14/2023 CCKA   Center       Tom Brett      supplemental document production.                                                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Upload supplemental production from Defendant's in response to RFP,
 12/15/2023 CCKA   Center       Tom Brett      sets 6 to shared server                                                          0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm and opposing counsel comms re:
                   Equestrian                  Defendant document production and PMQ deposition (CAFO 30(b)(6));
 12/15/2023 CCKA   Center     Tom Brett        organize into correspondence folder                                              0.1    $550.00            $55.00           $0.00                0

                                               Draft task list re: next steps for meeting and conferring w/r/t def's
                   Murieta                     discovery responses (ROG, set three and RFP, set eight), and review
                   Equestrian                  of shefftz materials on prior Concentrated Animal Feeding Operation
 12/15/2023 CCKA   Center     Tom Brett        matter.                                                                          0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze opposing counsel comms re: request for extension
                   Murieta                     to respond to RFP, set 8 and Defendant's discovery requests; organize
                   Equestrian                  into correspondence folder
 12/18/2023 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos and J. Flanders re: Def's interrogatories set
 12/20/2023 CCKA   Center     Tom Brett        two and requests for admission set one                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze opposing counsel comms re: RFP, set 8
 12/20/2023 CCKA   Center     Tom Brett        responses and production; organize into correspondence folder.                   0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft comms to J. Flanders re: communications with opposing counsel
                   Equestrian                  w/r/t RFP, set 8 production and finance PMQ deposition timing.
 12/27/2023 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: date for 30(b)(6) deposition
 12/27/2023 CCKA   Center       Tom Brett      (finance)                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: document production in response to
 12/27/2023 CCKA   Center       Tom Brett      RFP, Set 8                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: scheduling finance PMQ deposition.
 12/29/2023 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: 30(b)(6) deposition schedule
 12/29/2023 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze order granting motion for leave to amend
 12/29/2023 CCKA   Center     Tom Brett        scheduling order.                                                                 0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm and opposing counsel comms re: motion for
                                               leave to amend scheduling order, PMQ for finance deposition schedule,
                   Murieta                     RPF, Set 8 production; organize into correspondence folder.
                   Equestrian
 12/29/2023 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft deposition outline and review documents produced by
   1/2/2024 CCKA   Center       Tom Brett      defendant                                                                         1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Review Murieta Equestrian Center financial production in prep for
   1/2/2024 CCKA   Center       Tom Brett      30(b)(6) deposition.                                                              1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review documents produced by defendant in prep for depo
   1/2/2024 CCKA   Center       Tom Brett                                                                                        0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Finance 30(b)(6) deposition prep
   1/2/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: deposition prep and outline.
   1/2/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: finance deposition duration.
   1/2/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in firm comms re: finance 30(b)(6) deposition prep
   1/2/2024 CCKA   Center       Tom Brett      and scheduling                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: scheduling deposition reporter.
   1/2/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list to completing deposition prep.
   1/3/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: assistance with document review for deposition
   1/3/2024 CCKA   Center       Tom Brett      prep.                                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: deposition prep and document review.
   1/3/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian
   1/3/2024 CCKA   Center     Tom Brett        Continue to review and analyze defendant document production in prep               0.1    $550.00             $55.00            $0.00                0

                                               Review and analyze in firm and opposing counsel comms re: 30(b)(6)
                   Murieta                     deposition prep; Defendant's discovery responses (RFP, set 8), and
                   Equestrian                  Plaintiff's response to Def's discovery requests; organize into
   1/3/2024 CCKA   Center       Tom Brett      correspondence folder.                                                             0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with MCM re: deposition prep
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00              $0.00          $110.00               0.2
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: deposition logistics and scheduling.
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft deposition outline and prep for deposition
   1/4/2024 CCKA   Center       Tom Brett                                                                                         3.3    $550.00           $1,815.00           $0.00                0
                   Murieta
                   Equestrian                  Continue deposition prep.
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition prep and documents to ask questions
   1/4/2024 CCKA   Center       Tom Brett      regarding.                                                                         0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Shefttz re: questions to ask at deposition.
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders and D. Hunt re: deposition prep
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: deposition prep.
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: deposition time line and stipulation
   1/4/2024 CCKA   Center       Tom Brett      as to authenticity of documents.                                                   0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: deposition prep
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: uploading exhibits for deposition tomorrow.
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: deposition prep and convo with econ expert.
   1/4/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center       Tom Brett      Attend deposition (Velez - Finance 30(b)(6))                                       3.0    $550.00           $1,650.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Prep for depo
   1/5/2024 CCKA   Center       Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center       Tom Brett      Draft email to opposing counsel re: meet and confer over requests for pr             0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Prep for deposition.
   1/5/2024 CCKA   Center       Tom Brett                                                                                           0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: finance documents produced by Defendant
   1/5/2024 CCKA   Center       Tom Brett      in response to RFP, Set 8                                                            0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: deposition and next steps.
   1/5/2024 CCKA   Center       Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with D. Hunt re: deposition
   1/5/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm, opposing counsel and external comms re:
                   Equestrian                  Velez deposition strategy and scheduling; organize into
   1/5/2024 CCKA   Center       Tom Brett      correspondence folder.                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   1/5/2024 CCKA   Center       Tom Brett      Draft email to D. Hunt and J. Flanders re: comms with opposing counse                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to planet deposition re: transcript copy and exhibits.
   1/5/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and E. Bustos re: service of subpoena on
  1/10/2024 CCKA   Center       Tom Brett      CAW                                                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders attaching topographic map prepared by
  1/10/2024 CCKA   Center       Tom Brett      thunder mountain for use by T. Simpson                                               0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: locating documents for expert (T.
  1/10/2024 CCKA   Center       Tom Brett      Simpson)                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list re: next steps for assisting with / coordinating expert
  1/10/2024 CCKA   Center       Tom Brett      reports.                                                                             0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Call with J. Flanders re: next steps for expert report prep, and time line
                   Equestrian                  for future discovery, motion for leave to amend, and Motion for
  1/10/2024 CCKA   Center     Tom Brett        Summary Judgment                                                                     0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: production of additional documents
  1/10/2024 CCKA   Center     Tom Brett        showing expenditures on BMPs.                                                        0.2    $550.00           $110.00           $0.00                0



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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Attempt to locate in Def's production info on rates paid to Rancho
  1/10/2024 CCKA   Center     Tom Brett        Murieta Community Services District for sanitary sewer.                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: extension of time to respond to
  1/10/2024 CCKA   Center     Tom Brett        discovery requests.                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: expert report preparation.
  1/10/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt re: following up with opposing counsel w/r/t
                   Equestrian                  requesting additional summary / documents showing BMP
  1/10/2024 CCKA   Center       Tom Brett      expenditures.                                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze comms with expert re: financial production from
  1/10/2024 CCKA   Center       Tom Brett      defendant; organize into correspondence folder.                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: responses to Def's discovery responses.
  1/10/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Compile drone footage of Murieta Equestrian Center to provide to T.
  1/11/2024 CCKA   Center       Tom Brett      Simpson; email T. Simpson re: the same                                            0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Draft task list re: next steps for assisting with expert reports
  1/11/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to T. Simpson re: document access / materials for
  1/11/2024 CCKA   Center       Tom Brett      expert report.                                                                    0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  1/11/2024 CCKA   Center       Tom Brett      Review Def document production and Rancho Murieta Community Serv                  0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Draft expert disclosures
  1/11/2024 CCKA   Center       Tom Brett                                                                                        0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for completion of expert reports.
  1/11/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Schefftz re: info needed from T. Simpson to complete
  1/11/2024 CCKA   Center       Tom Brett      expert report.                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: non-residential sanitary sewer rates.
  1/11/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction


                   Murieta                     Review and analyze in firm, opposing counsel, expert, and client
                   Equestrian                  comms re: defendant's discovery requests, prep of expert report,
  1/11/2024 CCKA   Center       Tom Brett      remedies briefing; organize into correspondence folder.                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Simpson re: prep of expert report.
  1/12/2024 CCKA   Center       Tom Brett                                                                                       1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Federal Rule of Civil Procedure 45 and 30 notice
  1/12/2024 CCKA   Center       Tom Brett      requirements for notice of deposition on other parties.                          0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze corona clay remedies order
  1/12/2024 CCKA   Center       Tom Brett                                                                                       0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review permitted Concentrated Animal Feeding Operation facilities in
  1/12/2024 CCKA   Center       Tom Brett      prep for call with T. Simpson                                                    0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Call with J. Flanders re: prep for call with T. Simpson and service of
                   Equestrian                  subpoena on CAW
  1/12/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian
  1/24/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Schefftz re: expert report prep
  1/12/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to J. Flanders and E. Bustos re: Federal Rule of Civil
                   Equestrian                  Procedure 45 provisions governing notice to opposing counsel / notice
  1/12/2024 CCKA   Center       Tom Brett      requirements.                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Research and analyze case law discussing need to respond to
  1/16/2024 CCKA   Center       Tom Brett      interrogatories exceeding numeric limit.                                         0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft / revise RFAs
  1/16/2024 CCKA   Center       Tom Brett                                                                                       0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Revise requests for admission responses
  1/16/2024 CCKA   Center       Tom Brett                                                                                       0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for discovery responses
  1/16/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: requests for admission draft.
  1/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft task list re: next steps for coordinating with econ expert and
  1/16/2024 CCKA   Center       Tom Brett      responding to defendant discovery.                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt re: responses to RFA, Set One.
  1/16/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: responses to Def's RFA, Set One.
  1/16/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to RFAs, Set One
  1/16/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders and D. Hunt re: response to ROGs,
  1/16/2024 CCKA   Center       Tom Brett      set three                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: response to ROGs, set three.
  1/16/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in form and external comms re: responses to Def
                   Equestrian                  discovery, prep of expert reports, and service of subpoena on CAW;
  1/17/2024 CCKA   Center       Tom Brett      organize into correspondence folder.                                              0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: expert reports and discovery responses
  1/17/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: cost of compliance estimates from T.
  1/17/2024 CCKA   Center       Tom Brett      Simpson and providing those to J. Shefftz.                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call J. Schefftz re: econ benefit calculations
  1/17/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Leave voicemail with Tim Simpson to discuss expert report.
  1/18/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft responses to ROGs, Set Two
  1/18/2024 CCKA   Center       Tom Brett                                                                                        1.5    $550.00           $825.00           $0.00                0
                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft responses to RFP, Set one
  1/18/2024 CCKA   Center       Tom Brett                                                                                        0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. schefftz re: prep of expert report.
  1/18/2024 CCKA   Center       Tom Brett                                                                                        0.5    $550.00           $275.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                    Hours         Rate       Total             Billing         Billing
                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Compare table prepared by J. Shefftz re: econ benefit with T. Simpson
  1/18/2024 CCKA   Center     Tom Brett        table re: construction costs to ensure that figures align                              0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: interrogatory responses.
  1/18/2024 CCKA   Center     Tom Brett                                                                                               0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm, client, and external comms re: completion
                   Equestrian                  of expert reports, and responses to Defendant's discovery requests;
  1/18/2024 CCKA   Center     Tom Brett        organize into correspondence folder.                                                   0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Follow up call with J. Flanders re: expert report / recurring costs of
                   Equestrian                  compliance.
  1/18/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Simpson re: estimates of O&M / ongoing costs.
  1/18/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: follow up comms with J. Schefftz on
  1/18/2024 CCKA   Center       Tom Brett      expert report draft.                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  1/31/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  1/18/2024 CCKA   Center       Tom Brett      Follow up call with J. Shefftz re: expert report / econ benefit calculation.           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to L. Chase re: non-dairy Concentrated Animal Feeding
  1/18/2024 CCKA   Center       Tom Brett      Operation consent decrees.                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Def's requests for production
  1/18/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Schefftz re: expert report / recurring costs of
  1/18/2024 CCKA   Center       Tom Brett      compliance.                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call J. Shefftz re: prep of expert report
  1/18/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of expert reports
  1/19/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: expert disclosures.
  1/19/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email with J. Flanders re: completing and serving expert
  1/19/2024 CCKA   Center       Tom Brett      reports and disclosures.                                                               0.1    $550.00             $0.00          $55.00               0.1



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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: status of Simpson expert
  1/19/2024 CCKA   Center     Tom Brett        report                                                                            0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Draft email to E. Bustos re: service of subpoena on CAW; organize into
                   Equestrian                  correspondence folder and deposition notice to opposing counsel
  1/19/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and organize in firm and client comms re: prep of econ expert
                   Equestrian                  report and service of subpoena on CAW; organize into correspondence
  1/19/2024 CCKA   Center       Tom Brett      folder.                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze PO to determine if JS needs to sign agreement to
  1/19/2024 CCKA   Center       Tom Brett      be bound in Exhibit A                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to E. Bustos and J. Flanders are: service of subpoena on
  1/19/2024 CCKA   Center       Tom Brett      CAW; organize into correspondence folder                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Compile documents for requests for production responses.
  1/19/2024 CCKA   Center       Tom Brett                                                                                        1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Schefftz and J. Flanders re: prep of expert report.
  1/19/2024 CCKA   Center       Tom Brett                                                                                        0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center       Tom Brett                                                                                        0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center       Tom Brett                                                                                        0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Schefftz re: prep of expert report.
  1/19/2024 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Compile documents for production in response to Def's RFP, Set Three
  1/19/2024 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Finalize expert disclosure and combine Attachment Page with Shefftz
  1/19/2024 CCKA   Center       Tom Brett      report and save to shared.                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review draft expert witness disclosures.
  1/19/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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                                                                            Exhibit 1
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Date      Client   Matter       Staff          Description                                                                  Hours         Rate       Total             Billing         Billing
                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                                               Review J. Flanders revisions to additional / revised language for use in
                   Murieta                     expert report summarizing Phase I Motion for Summary Judgment
                   Equestrian                  Order, incorporate revisions, add missing citations to Order.
  1/19/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  1/19/2024 CCKA   Center     Tom Brett        Call J Shefftz to schedule time schedule call to discuss report.                     0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: revisions to expert report.
  1/19/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00               0

                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                             1.3    $550.00           $715.00           $0.00               0
                   Murieta
                   Equestrian
  2/16/2024 CCKA   Center     Tom Brett                                                                                             0.5    $550.00           $275.00           $0.00               0

                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
   4/2/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Compare cost figures used in Simpson and Schefftz report to ensure
  1/19/2024 CCKA   Center       Tom Brett      that they are consistent                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of expert disclosures
  1/19/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to and call J. Schefftz re: agreement to be bound by
  1/19/2024 CCKA   Center       Tom Brett      protective order.                                                                    0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: bates stamping RFP, Set Two document
  1/19/2024 CCKA   Center       Tom Brett      production and serving expert disclosures.                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: requests for production responses
  1/19/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: confidential nature of balance sheets and P&Ls
  1/19/2024 CCKA   Center       Tom Brett      reviewed by Johnathan Shefftz                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Schefftz re: additional materials to review (MSJ Order)
  1/19/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: draft expert report.
  1/19/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: providing references / materials cite in
  1/22/2024 CCKA   Center     Tom Brett        expert report.                                                                   0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Continue to draft interrogatory and requests for production responses
                   Equestrian
  1/22/2024 CCKA   Center     Tom Brett                                                                                         1.2    $550.00           $660.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft / revise responses to requests for production and
  1/22/2024 CCKA   Center     Tom Brett        ROGs                                                                             1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt and J. Flanders re: revisions to discovery responses
  1/22/2024 CCKA   Center     Tom Brett                                                                                         0.9    $550.00           $495.00           $0.00                0

                   Murieta                     Review and analyze Def's Concentrated Animal Feeding Operation
                   Equestrian                  expert report
  1/22/2024 CCKA   Center       Tom Brett                                                                                       0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise interrogatory responses.
  1/22/2024 CCKA   Center       Tom Brett                                                                                       0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise requests for admission responses
  1/22/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise responses to Def's RFA, Set One
  1/22/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: service of subpoena on CAW
  1/22/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft comms to J. Flanders and D. Hunt re: strategy for responding to
                   Equestrian                  defendant requests for admission / interrogatories / requests for
  1/22/2024 CCKA   Center     Tom Brett        production                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: interrogatory and requests for production
  1/22/2024 CCKA   Center     Tom Brett        responses.                                                                       0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: discovery responses
                   Equestrian                  and service of subpoena on CAW; organize into correspondence
  1/22/2024 CCKA   Center     Tom Brett        folder.                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm, client and opposing counsel comms re:
                   Equestrian                  expert disclosures and discovery responses; organize into
  1/23/2024 CCKA   Center     Tom Brett        correspondence folder.                                                           0.1    $550.00             $0.00          $55.00               0.1



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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Continue revisions to discovery requests for production and RFAs
  1/23/2024 CCKA   Center     Tom Brett                                                                                            1.9    $550.00           $1,045.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise requests for admission responses.
  1/23/2024 CCKA   Center     Tom Brett                                                                                            1.2    $550.00            $660.00            $0.00                0

                   Murieta                     Review and analyze case law and practice guide re: Federal Rule of
                   Equestrian                  Civil Procedure 45 subpoena service requirements.
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to discovery responses.
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: discovery responses.
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: service of discovery responses.
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: revisions to interrogatory
  1/23/2024 CCKA   Center       Tom Brett      responses.                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Review and revise ROGs
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call EAM re: discovery responses
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to requests for production responses.
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: revisions to and service of discovery
  1/23/2024 CCKA   Center       Tom Brett      responses.                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: revisions to interrogatory
  1/23/2024 CCKA   Center       Tom Brett      responses.                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: next steps for service on Carol Anderson Ward and
  1/23/2024 CCKA   Center       Tom Brett      further LR re: the same.                                                            0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to interrogatory responses.
  1/23/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call HB re: piercing corporate veil
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00              $0.00           $55.00               0.1




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: process server cost for Carol Anderson
  1/24/2024 CCKA   Center       Tom Brett      Ward subpoena service.                                                              0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze in firm and external comms re: service of
  1/24/2024 CCKA   Center       Tom Brett      subpoena on CAW; organize into correspondence folder.                               0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: process server costs.
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze case law re: alterative service of Federal Rule of
  1/24/2024 CCKA   Center       Tom Brett      Civil Procedure 45 subpoenas                                                        0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Revise project outline
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze responsible corporate officer doctrine in Clean
  1/24/2024 CCKA   Center       Tom Brett      Water Act cases                                                                     0.7    $550.00           $385.00           $0.00                0

                   Murieta                     Continue to review and analyze case law discussing Federal Rule of
                   Equestrian                  Civil Procedure 45 service requirements and geographic limitation.
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: expert report and service of subpoena on CAW
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze prior draft pleadings on alternative service of
  1/24/2024 CCKA   Center       Tom Brett      Federal Rule of Civil Procedure 45 subpoena                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: project outline; Swickard deposition notice and
  1/24/2024 CCKA   Center       Tom Brett      corporate veil LR                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Begin LR into RCOD in Clean Water Act cases in federal court.
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: further LR in RCOD and corporate veil LR
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to E. Bustos J. Flanders, and D. Hunt re: service
  1/24/2024 CCKA   Center       Tom Brett      of Carol Anderson Ward subpoena.                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Return J. Shefftz phone call.
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: project outline revisions.
  1/24/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Review and analyze notice requirements from Federal Rule of Civil
  1/24/2024 CCKA   Center     Tom Brett        Procedure 45                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: service of subpoena on
  1/24/2024 CCKA   Center     Tom Brett        CAW.                                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and E. Bustos re: service of Carol Anderson
  1/24/2024 CCKA   Center     Tom Brett        Ward subpoena.                                                                       0.1    $550.00            $55.00           $0.00                0


                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to J. Flanders and D. Hunt re: service of Carol
  1/24/2024 CCKA   Center     Tom Brett        Anderson Ward subpoena.                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Schefftz re: possible dates for deposition and next steps for
  1/25/2024 CCKA   Center     Tom Brett        drafting supplemental expert report (if possible)                                    0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Follow up call with J. Schefftz re: possible dates for deposition and next
                   Equestrian                  steps for drafting supplemental expert report (if possible)
  1/25/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to Carol Anderson Ward subpoena.
  1/25/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to review and analyze case law re: responsible corporate
  1/25/2024 CCKA   Center       Tom Brett      officer doctrine in Clean Water Act cases.                                           1.2    $550.00           $660.00           $0.00                0
                   Murieta
                   Equestrian                  Review, analyze, and annotate Finance 30(b)(6) transcript
  1/25/2024 CCKA   Center       Tom Brett                                                                                           1.2    $550.00           $660.00           $0.00                0
                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center       Tom Brett      Review and analyze Swickard expert report (ID legal conclusions and op               0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review Swickard report (ID opinions and conclusions of
  1/25/2024 CCKA   Center       Tom Brett      law); review case law re: inability of expert to provide legal opinions              0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for drafting MIL (to exclude Swickard
  1/25/2024 CCKA   Center       Tom Brett      testimony)                                                                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  1/25/2024 CCKA   Center       Tom Brett      Draft email to J. Flanders re: review and analysis of Swickard report.               0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: revisions to Carol Anderson Ward
  1/25/2024 CCKA   Center       Tom Brett      subpoena                                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: possible expert rebuttal / deposition /
  1/25/2024 CCKA   Center       Tom Brett      supplemental report time line                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Carol Anderson Ward subpoena revisions
  1/25/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up comms to J. Flanders re: revisions to Carol Anderson
  1/25/2024 CCKA   Center       Tom Brett      Ward subpoena                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions to Carol Anderson Ward
  1/25/2024 CCKA   Center       Tom Brett      subpoena.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to subpoena to include California
  1/25/2024 CCKA   Center       Tom Brett      Coastkeeper Alliance offices as location for depo                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt and J. Flanders re: deposition schedule
  1/26/2024 CCKA   Center       Tom Brett      for J Shefftz.                                                                        0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm, opposing counsel, and client comms re:
                   Equestrian                  expert depos, Carol Anderson Ward subpoena service, and MIL
  1/26/2024 CCKA   Center       Tom Brett      (Swickard); organize into correspondence folder                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition schedule
  1/26/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: scheduling Schefftz
  1/26/2024 CCKA   Center       Tom Brett      deposition.                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: availability for deposition.
  1/26/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to review and analyze T. Swickard expert report.
  1/26/2024 CCKA   Center       Tom Brett                                                                                            1.2    $550.00           $660.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law re: exclusion of expert opinion beyond
  1/26/2024 CCKA   Center       Tom Brett      the scope of phased discovery.                                                        0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze case law re: location of expert deposition.
  1/26/2024 CCKA   Center       Tom Brett                                                                                            0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: motion in limine strategy and deposition
  1/26/2024 CCKA   Center       Tom Brett      schedule for J. Shefftz.                                                              0.2    $550.00           $110.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft spreadsheet outlining Swickard "expert" opinions, basis therefore,
  1/26/2024 CCKA   Center       Tom Brett      and analysis.                                                                       0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt, J. Flanders, and EAM re: next steps for motion
  1/26/2024 CCKA   Center       Tom Brett      to strike Swickard expert opinion.                                                  0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Leave voicemail with J. Shefftz re: deposition schedule.
  1/26/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: scheduling deposition for J. Shefftz.
  1/26/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: Swickard expert report.
  1/26/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  1/26/2024 CCKA   Center       Tom Brett      Draft email to D. Hunt and J. Flanders re: location of expert deposition.           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Begin outline of MIL to exclude Swickard opinion
  1/26/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft task list re: next steps for drafting MIL to exclude Swickard
  1/26/2024 CCKA   Center       Tom Brett      opinion                                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
  1/29/2024 CCKA   Center       Tom Brett      Review and analyze Daubert standard for admitting expert opinions; app              1.1    $550.00           $605.00           $0.00               0
                   Murieta
                   Equestrian                  Research and analyze case law discussing motions to strike were
  1/29/2024 CCKA   Center       Tom Brett      moving party failed to depose expert witness.                                       0.7    $550.00           $385.00           $0.00               0

                   Murieta                     Review and analyze case law re: effect of failure to depose expert
                   Equestrian                  witness on motion to strike / exclude testimony
  1/29/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Defendant's expert report and service of
  1/29/2024 CCKA   Center       Tom Brett      subpoena on CAW.                                                                    0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: Shefftz deposition
  1/29/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Revise email to D. Hunt, J. Flanders, and EAM re: analysis of Swickard
  1/29/2024 CCKA   Center       Tom Brett      opinion; send.                                                                      0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with D. Hunt re: defense of shefftz deposition.
  1/29/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: T. Simpson deposition
  1/29/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00           $55.00           $0.00                0

                                               Draft task list re: service of Carol Anderson Ward subpoena, LR on
                   Murieta                     motion to strike / exclude expert testimony, and scheduling expert
                   Equestrian                  depos.
  1/29/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J Shefftz re: deposition schedule.
  1/29/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00           $55.00           $0.00                0


                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition scheduling.
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to opposing counsel re: Tim Simpson deposition
  1/30/2024 CCKA   Center       Tom Brett      schedule                                                                             0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: Shefftz deposition schedule.
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: scheduling deposition.
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm comms re: Def's expert report and
                   Equestrian                  scheduling Plaintiff's expert depo; organize into correspondence folder.
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: scheduling T. Simpson deposition.
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: scheduling expert deposition.
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: Shefftz invoice
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: invoicing
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt re: Shefftz invoice.
  1/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $0.00          $55.00               0.1



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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian
  1/30/2024 CCKA   Center     Tom Brett        Review and analyze opposing counsel and in firm comms re: strategy fo             0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to T. Simpson re: deposition dates.
  1/30/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $0.00          $55.00               0.1

                   Murieta                     Continue to review and analyze case law re: effect of failure to depose
                   Equestrian                  expert on motion to strike / motion to exclude expert testimony.
  1/30/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Carol Anderson Ward service and Swickard
  1/30/2024 CCKA   Center       Tom Brett      deposition strategy.                                                              0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: engaging process server to serve Carol
  1/31/2024 CCKA   Center       Tom Brett      Anderson Ward                                                                     0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze in firm and external comms re: service of
  1/31/2024 CCKA   Center       Tom Brett      subpoena on CAW; organize into correspondence folder.                             0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to opposing counsel re: deposition scheduling
  1/31/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: deposition schedule.
   2/1/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze upcoming calendar to schedule Simpson and
   2/1/2024 CCKA   Center       Tom Brett      Shefftz depo                                                                      0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Shefftz and Simpson deposition
   2/1/2024 CCKA   Center       Tom Brett      scheduling.                                                                       0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: stipulation to extend discovery
   2/1/2024 CCKA   Center       Tom Brett      deadlines.                                                                        0.1    $550.00            $0.00          $55.00               0.1

                                               Review and analyze in firm and external comms re: service of Federal
                   Murieta                     Rule of Civil Procedure 45 subpoena on Carol Anderson Ward and
                   Equestrian                  Shefftz and Simpson deposition schedules; organize into
   2/1/2024 CCKA   Center     Tom Brett        correspondence folder.                                                            0.1    $550.00            $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: Simpson and Hunt deposition
   2/1/2024 CCKA   Center     Tom Brett        schedules.                                                                        0.1    $550.00            $0.00          $55.00               0.1




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: dates for site inspection.
   2/1/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition schedule
   2/1/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: scheduling Shefftz deposition and T. Simpson
   2/1/2024 CCKA   Center     Tom Brett        Depo                                                                             0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Follow up call with J. Flanders re: deposition schedules (Simpson and
                   Equestrian                  Shefftz)
   2/1/2024 CCKA   Center     Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Draft task list re: scheduling deposition schedule and comms with
                   Equestrian                  opposing counsel re: the same; and service of Carol Anderson Ward
   2/1/2024 CCKA   Center     Tom Brett        subpoena                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: stipulation to extend discovery
   2/1/2024 CCKA   Center     Tom Brett        deadlines.                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: locating and scheduling deposition space in
   2/2/2024 CCKA   Center     Tom Brett        Hartford                                                                         0.1    $550.00             $0.00          $55.00               0.1

                                               Review and analyze in firm and opposing counsel comms re:
                                               deposition schedules (Shefftz and Simpson); organize into
                   Murieta                     correspondence folder
                   Equestrian
   2/2/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to opposing counsel re: Simpson deposition
   2/2/2024 CCKA   Center       Tom Brett      location.                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition schedule
   2/2/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: deposition date.
   2/2/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to T. Simpson re: location of deposition.
   2/2/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to T. Simpson re: deposition schedule.
   2/2/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: Simpson and Shefftz depos.
   2/2/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1



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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: deposition location.
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: Shefftz deposition
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt and J. Flanders re: deposition schedule
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders and D. Hunt re: strategy for Shefftz and Simpson
   2/2/2024 CCKA   Center       Tom Brett      depos                                                                              0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: deposition of Mr. Shefftz.
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: Shefftz deposition schedule
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with S. Fried re: deposition schedules.
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to Stewart re: deposition locations
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: deposition scheduling
   2/2/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review flight options to Hartford for depo
   2/5/2024 CCKA   Center       Tom Brett                                                                                         0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Book flight and reservation (Hartford Shefftz depo)
   2/5/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Call hotel to set up conference room
   2/5/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: reserving deposition space.
   2/5/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: flight and hotel.
   2/5/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Teleconference with E. Bustos re: reserving conference room, flight
                   Equestrian                  and lodging for 2/13/24 deposition
   2/5/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for Carol Anderson Ward service /
   2/5/2024 CCKA   Center       Tom Brett      motion for alt service and shefftz depo                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: Shefftz deposition
   2/5/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Shefftz deposition.
   2/5/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with opposing counsel re: scheduling T. Simpson
   2/5/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: Shefftz deposition and Carol Anderson Ward
   2/5/2024 CCKA   Center       Tom Brett      subpoena service.                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: status of service on Carol Anderson
   2/5/2024 CCKA   Center       Tom Brett      Ward and next steps.                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up comms to E. Bustos re: service of Carol Anderson Ward
   2/5/2024 CCKA   Center       Tom Brett      in Texas.                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: deposition schedule.
   2/5/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: Shefftz deposition.
   2/5/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition schedule
   2/5/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm, external, and opposing counsel comms re:
                   Murieta                     service of Carol Anderson Ward subpoena, deposition of Plaintiff's
                   Equestrian                  expert witnesses; organize into correspondence folder.
   2/6/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft task list re: discovery and expert deposition prep
   2/6/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders and D. Hunt re: strategy for additional discovery
   2/6/2024 CCKA   Center     Tom Brett                                                                                          0.9    $550.00           $440.00          $55.00               0.1

                   Murieta                     Draft email to opposing counsel re: Carol Anderson Ward subpoena
                   Equestrian                  service, and draft deposition notice / Proof of Service for CAW
   2/6/2024 CCKA   Center     Tom Brett                                                                                          0.8    $550.00           $440.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: service of Carol Anderson Ward
   2/6/2024 CCKA   Center       Tom Brett      subpoena.                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
   2/6/2024 CCKA   Center       Tom Brett      Review and annotate prior declaration in support of motion for alternativ            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: drafting declaration in support of motion for
   2/6/2024 CCKA   Center       Tom Brett      leave to serve by alternative means.                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to T Simpson re: deposition prep.
   2/6/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for service on Carol Anderson Ward
   2/6/2024 CCKA   Center       Tom Brett      and prep for J. Shefftz depo                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to Texas process server re: Carol Anderson Ward
   2/6/2024 CCKA   Center       Tom Brett      subpoena service.                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: drafting deposition notice for Carol Anderson
   2/6/2024 CCKA   Center       Tom Brett      Ward subpoena                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: Carol Anderson Ward subpoena
   2/6/2024 CCKA   Center       Tom Brett      service.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: deposition prep.
   2/6/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: drafting declaration in support of motion for
   2/6/2024 CCKA   Center       Tom Brett      alternative service.                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: deposition notice / prep
   2/6/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and edit T. Brett Decl in support of motion for leave to serve by
   2/7/2024 CCKA   Center       Tom Brett      Alt means.                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Revise task list re: discovery and expert deposition prep
   2/7/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Leave voicemail with J. Shefftz re: deposition prep.
   2/7/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze in firm and external comms re: service of Carol
   2/7/2024 CCKA   Center       Tom Brett      Anderson Ward subpoena and expert deposition preparation.                            0.1    $550.00             $0.00          $55.00               0.1




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Date      Client   Matter       Staff          Description                                                                 Hours         Rate       Total             Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft follow up email to E. Bustos re: service of subpoena on CAW
   2/7/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft motion for leave to serve by alternative means.
   2/7/2024 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders and T. Simpson re: deposition prep.
   2/7/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $165.00          $55.00               0.1
                   Murieta
                   Equestrian                  Create folder for T. Simpson to upload documents; email T. Simpson
   2/7/2024 CCKA   Center       Tom Brett      re: the same.                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to process server re: service of subpoena on CAW
   2/7/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos and J. Flanders re: service of subpoena on
   2/7/2024 CCKA   Center       Tom Brett      CAW                                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and E. Bustos re: service of subpoena on
   2/7/2024 CCKA   Center       Tom Brett      CAW                                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition prep.
   2/7/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for discovery and motion for
   2/7/2024 CCKA   Center       Tom Brett      alternative service on CAW                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: drafting dec in support of motion for leave to
   2/7/2024 CCKA   Center       Tom Brett      serve by alterative means                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: travel to Hartford for
   2/7/2024 CCKA   Center       Tom Brett      deposition.                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: revisions to decl in support of motion for
   2/8/2024 CCKA   Center       Tom Brett      leave to serve by alternative means.                                                0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm comms re: Carol Anderson Ward subpoena
                   Equestrian                  and motion for alternative service; organize into correspondence folder.
   2/8/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call re: revisions to reply to resp. supplemental brief.
   2/8/2024 CCKA   Center     Tom Brett                                                                                            0.6    $550.00             $0.00         $330.00               0.6
                   Murieta
                   Equestrian                  Draft follow up email to E. Bustos re: service of Carol Anderson Ward
   2/8/2024 CCKA   Center     Tom Brett        subpoena                                                                            0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: service of Carol Anderson Ward
   2/8/2024 CCKA   Center       Tom Brett      subpoena                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for discovery and service of CAW
   2/8/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft objections to Shefftz deposition notice
   2/9/2024 CCKA   Center       Tom Brett                                                                                       1.7    $550.00           $935.00           $0.00               0
                   Murieta
                   Equestrian                  Draft final sets of requests for admission / requests for production /
   2/9/2024 CCKA   Center       Tom Brett      ROGS                                                                             1.0    $550.00           $550.00           $0.00               0

                                               Review and compile all comms between J. Shefftz and ATA re: report
                                               and litigation; compile draft reports; compile documents relied on by
                   Murieta                     Shefftz (in response to opposing counsel deposition notice)
                   Equestrian
   2/9/2024 CCKA   Center       Tom Brett                                                                                       0.9    $550.00           $495.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to compile documents in response to Defendant's request for
   2/9/2024 CCKA   Center       Tom Brett      prod as part of J. Shefftz deposition notice                                     0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center       Tom Brett      Review and serve documents responsive to Ds deposition notice (Shefft            0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with opposing counsel re: service of subpoena on CAW
   2/9/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: completing final discovery
   2/9/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Prep for Shefftz depo
   2/9/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze practice guide sections re: discoverable materials
   2/9/2024 CCKA   Center       Tom Brett      and comms in expert discovery.                                                   0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer on service of
   2/9/2024 CCKA   Center       Tom Brett      subpoena on CAW                                                                  0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: response to Defendant's request for prod (J
   2/9/2024 CCKA   Center       Tom Brett      Shefftz deposition notice)                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for discovery and completing J.
   2/9/2024 CCKA   Center       Tom Brett      Shefftz document production.                                                     0.1    $550.00            $55.00           $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center       Tom Brett      Draft email to HB and J. Flanders re: Velez transcript                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   2/9/2024 CCKA   Center       Tom Brett      Follow up call with J Shefftz re: invoice / timekeeping records.                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: service of Carol Anderson Ward subpoena and
   2/9/2024 CCKA   Center       Tom Brett      call with opposing counsel re: the same                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze practice guide sections re: deposition procedures
  2/10/2024 CCKA   Center       Tom Brett      and permitted objections.                                                         0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Draft email to opposing counsel re: rescheduling Shefftz deposition.
                   Equestrian
  2/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: rescheduling deposition.
  2/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: rescheduling Shefftz deposition.
  2/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft follow up email to opposing counsel re: rescheduling Shefftz
                   Equestrian                  deposition.
  2/11/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in firm and client comms re: reply to Resp's
  2/12/2024 CCKA   Center     Tom Brett        supplemental brief; organize into correspondence folder.                          0.1    $550.00             $0.00          $55.00               0.1

                                               Review and analyze in firm, client and opposing counsel comms re:
                   Murieta                     Carol Anderson Ward service, Shefftz deposition and document
                   Equestrian                  production, and final set of discovery; organize into correspondence
  2/12/2024 CCKA   Center       Tom Brett      folder.                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Begin drafting motion for leave to serve by alternative means
  2/12/2024 CCKA   Center       Tom Brett                                                                                        1.7    $550.00           $935.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders and D. Hunt re: service of Carol Anderson Ward
  2/12/2024 CCKA   Center       Tom Brett      subpoena and next steps for final discovery.                                      1.4    $550.00           $715.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft requests for admission / requests for production /
  2/12/2024 CCKA   Center       Tom Brett      ROGs                                                                              0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: Simpson depo
  2/12/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: Carol Anderson Ward service.
  2/12/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: accessing T. Simpson documents
  2/12/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to requests for admission set two
  2/12/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: service history of Carol Anderson Ward
  2/12/2024 CCKA   Center       Tom Brett      subpoena.                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: Shefftz deposition.
  2/12/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: service history (CAW subpoena)
  2/12/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to opposing counsel re: rescheduling Shefftz depo
  2/12/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Leave voicemail with J. Shefftz
  2/13/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft meet and confer letter on ROG, Set 3
  2/13/2024 CCKA   Center       Tom Brett                                                                                         1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Revise RFA, Set Two and RFP, Set Three
  2/13/2024 CCKA   Center       Tom Brett                                                                                         1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center       Tom Brett      Review document production from T. Simpson                                         0.9    $550.00           $495.00           $0.00                0

                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center       Tom Brett                                                                                         0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Draft 30(b)(1) deposition notice for CAW
  2/13/2024 CCKA   Center       Tom Brett                                                                                         0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Carol Anderson Ward deposition
  2/13/2024 CCKA   Center       Tom Brett                                                                                         0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: 30(b)(1) deposition notice to
  2/13/2024 CCKA   Center       Tom Brett      CAW                                                                                0.2    $550.00           $110.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: service of last set of discovery
  2/13/2024 CCKA   Center     Tom Brett                                                                                              0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: parcel ownership map
  2/13/2024 CCKA   Center     Tom Brett                                                                                              0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center     Tom Brett        Review and analyze in firm, client, and opposing counsel comms re: Car                0.1    $550.00           $55.00           $0.00               0

                   Murieta                     Draft task list re: next steps for discovery (expert rebuttal designation,
                   Equestrian                  timing of 30(b)(1) depo, stipulation to extend scheduling order etc.)
  2/13/2024 CCKA   Center     Tom Brett                                                                                              0.1    $550.00           $55.00           $0.00               0

                   Murieta                     Draft follow up comms to J. Flanders re: revisions to requests for
                   Equestrian                  admission set two
  2/13/2024 CCKA   Center     Tom Brett                                                                                              0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: document review for T.
  2/13/2024 CCKA   Center     Tom Brett        Simpson.                                                                              0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders and D. Hunt re: document production and
  2/13/2024 CCKA   Center     Tom Brett        objections to T. Simpson deposition notice.                                           0.1    $550.00           $55.00           $0.00               0

                   Murieta                     Draft comms to J. Flanders re: revisions to requests for admission set
                   Equestrian                  two
  2/13/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of Carol Anderson Ward subpoena.
  2/13/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: 30(b)(1) deposition notice (CAW)
  2/13/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: requests for admission / requests for
  2/13/2024 CCKA   Center       Tom Brett      production / interrogatory revisions.                                                 0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions to requests for production and
  2/13/2024 CCKA   Center       Tom Brett      RFAs                                                                                  0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: revisions to RFA, Set Two
  2/13/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00           $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J Shefftz re: setting up call with J. Flanders to discuss Murieta
  2/13/2024 CCKA   Center       Tom Brett      Equestrian Center balance sheets.                                                     0.1    $550.00           $55.00           $0.00               0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  2/13/2024 CCKA   Center       Tom Brett      Call with J. Flanders re: analysis of Defendant's balance sheets (draftin           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to D. Hunt re: revisions to requests for admission
  2/13/2024 CCKA   Center       Tom Brett      set two                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: service of last set of discovery
  2/13/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Leave voicemail with D. Hunt re: document production (T. Simpson
  2/14/2024 CCKA   Center       Tom Brett      depo)                                                                               0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue review of document production in response to Defendant's
  2/14/2024 CCKA   Center       Tom Brett      deposition notice (T. Simpson)                                                      1.2    $550.00           $660.00           $0.00                0
                   Murieta
                   Equestrian                  Continue priv review for T. Simpson documents
  2/14/2024 CCKA   Center       Tom Brett                                                                                          1.1    $550.00           $605.00           $0.00                0
                   Murieta
                   Equestrian                  Complete revisions to objections to deposition notice and Proof of
  2/14/2024 CCKA   Center       Tom Brett      Service                                                                             0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Draft objections to D document request and deposition notice for T.
  2/14/2024 CCKA   Center       Tom Brett      Simpson                                                                             0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise 30(b)(1) deposition notice (CAW); draft email to
  2/14/2024 CCKA   Center       Tom Brett      opposing counsel re: the same                                                       0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Rog, set three meet and confer letter
  2/14/2024 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Complete final review of T. Simpson document production
  2/14/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
  2/14/2024 CCKA   Center       Tom Brett      Call with D. Hunt re: Simpson document production.                                  0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise 30(b)(1) deposition notice (CAW)
  2/14/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: T. Simpson document review and 30(b)(1)
  2/14/2024 CCKA   Center       Tom Brett      subpoena                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: document production to opposing
  2/14/2024 CCKA   Center       Tom Brett      counsel (T. Simpson depo)                                                           0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                 Judgment Fee    Judgment
                                                                                                                                                                 Reduction       Time
                                                                                                                                                                                 Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: document production (T. Simpson depo)
  2/14/2024 CCKA   Center     Tom Brett                                                                                        0.1    $550.00           $55.00           $0.00                0

                   Murieta                     Review and analyze firm and client comms re: Carol Anderson Ward
                   Equestrian                  subpoena and T. Simpson document production; organize into
  2/14/2024 CCKA   Center       Tom Brett      correspondence folder.                                                          0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: service of 30(b)(1) subpoena (CAW)
  2/14/2024 CCKA   Center       Tom Brett                                                                                      0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to opposing counsel re: T. Simpson document production
  2/14/2024 CCKA   Center       Tom Brett      and objections (T. Simpson)                                                     0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Simpson re: documents received by GSI staff (doc
  2/14/2024 CCKA   Center       Tom Brett      production)                                                                     0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise email to opposing counsel re: T. Simpson document
  2/14/2024 CCKA   Center       Tom Brett      production; organize into correspondence folder.                                0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: T. Simpson document production.
  2/14/2024 CCKA   Center       Tom Brett                                                                                      0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: T. Simpson document production.
  2/14/2024 CCKA   Center       Tom Brett                                                                                      0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft 30(b)(1) deposition notice (CAW) proof of service.
  2/14/2024 CCKA   Center       Tom Brett                                                                                      0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: service of Carol Anderson Ward 30(b)(1)
  2/14/2024 CCKA   Center       Tom Brett      subpoena                                                                        0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: service of 30(b)(1) deposition notice.
  2/14/2024 CCKA   Center       Tom Brett                                                                                      0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: objections to T. Simpson deposition notice
  2/14/2024 CCKA   Center       Tom Brett      and document request.                                                           0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: review of T. Simpson
  2/14/2024 CCKA   Center       Tom Brett      production in advance of depo                                                   0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: document production / priv review for T.
  2/14/2024 CCKA   Center       Tom Brett      Simpson depo                                                                    0.1    $550.00           $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise Murieta Equestrian Center project outline
  2/15/2024 CCKA   Center       Tom Brett                                                                                      0.2    $550.00            $0.00         $110.00               0.2




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  2/15/2024 CCKA   Center       Tom Brett      Draft email to D. Hunt and J. Flanders making sure GSI has space avail              0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to T. Simpson re: deposition space at GSI; review T.
  2/15/2024 CCKA   Center       Tom Brett      Simpson deposition notice.                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Begin outline of MIL to exclude Swickard testimony.
  2/15/2024 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft rebuttal witness disclosure.
  2/15/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00                0

                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: relative priority of tasks for California
  2/15/2024 CCKA   Center     Tom Brett        Coastkeeper Alliance                                                                0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Review and analyze T. Simpson unit calculations in Ex. E and runoff
                   Equestrian                  volume calculations, and RS means spreadsheet.
  2/15/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: ROG, set three responses
  2/15/2024 CCKA   Center     Tom Brett        meet and confer letter                                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: rebuttal expert disclosure.
                   Equestrian
  2/15/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email D. Hunt re: rebuttal disclosures.
  2/15/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze client and in firm comms re: T. Simpson deposition
  2/15/2024 CCKA   Center       Tom Brett      prep; organize into correspondence folder.                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   5/9/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1

                   Murieta
                   Equestrian
   5/9/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with D. Hunt re: T. Simpson deposition prep
  2/16/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Draft comms to D. Hunt re: deposition prep (T. Simpson)
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Revise and serve expert rebuttal disclosure
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: revisions to rebuttal disclosure.
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Review and analyze case law discussion "appex deposition doctrine"
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: apex deposition doctrine
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: 30(b)(6) deposition
  2/16/2024 CCKA   Center       Tom Brett      summaries (extracting references to CAW)                                         0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel serving I. Wren expert rebuttal
  2/16/2024 CCKA   Center       Tom Brett      disclosure.                                                                      0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with D. Hunt re: revisions to expert rebuttal disclosure
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Review and analyze in firm comms re: deposition of CAW; organize
  2/16/2024 CCKA   Center       Tom Brett      into correspondence folder.                                                      0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to draft / outline MIL
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Email E. Bustos re: rebuttal expert disclosure
  2/16/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to draft MIL (Swickard)
  2/20/2024 CCKA   Center       Tom Brett                                                                                       2.0    $550.00           $1,100.00           $0.00               0

                   Murieta                     Create spreadsheet extracting legal conclusions from Swickard report
                   Equestrian                  and incorporate case law re: impermissible legal conclusions from
  2/20/2024 CCKA   Center     Tom Brett        expert.                                                                          0.7    $550.00            $385.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer regarding Carol
  2/20/2024 CCKA   Center     Tom Brett        Anderson Ward subpoena                                                           0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: opposing counsel meet and
  2/20/2024 CCKA   Center     Tom Brett        confer request regarding Carol Anderson Ward subpoena                            0.1    $550.00             $55.00            $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer request regarding
  2/20/2024 CCKA   Center       Tom Brett      Carol Anderson Ward subpoena                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders and D. Hunt re: meet and confer over Carol
  2/21/2024 CCKA   Center       Tom Brett      Anderson Ward 30(b)(1) deposition notice.                                         0.8    $550.00           $385.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft MIL to exclude Swickard testimony.
  2/21/2024 CCKA   Center       Tom Brett                                                                                        0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Prep and attend meet and confer re: Carol Anderson Ward 30(b)(6)
  2/21/2024 CCKA   Center       Tom Brett      depo                                                                              0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Prep for meet and confer with opposing counsel re: Carol Anderson
  2/21/2024 CCKA   Center       Tom Brett      Ward 30(b)(1) depo                                                                0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: Swickard MIL, Wren Phase II
  2/21/2024 CCKA   Center       Tom Brett      depo, and Shefftz availability.                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: meet and confer and drafting
  2/21/2024 CCKA   Center       Tom Brett      MIL (Swickard)                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: Shefftz availability for depo
  2/21/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise / update project outline
  2/22/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft Swickard MIL
  2/22/2024 CCKA   Center       Tom Brett                                                                                        0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Revise ROG, Set 3 meet and confer
  2/22/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Review and analyze in firm, client, and opposing counsel comms re:
                   Equestrian                  deposition schedules, meet and confer re: 30(b)(1) deposition notice
  2/22/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: Shefftz deposition schedule.
  2/22/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: ROG, Set 3 meet and confer
  2/22/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Swickard MIL
  2/22/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                                               Review and analyze firm and opposing counsel comms re: meet and
                   Murieta                     confer over Carol Anderson Ward subpoena and wren deposition;
                   Equestrian                  organize into correspondence folder
  2/23/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze SFBK v Sunnyvale order on expert opinions /
  2/23/2024 CCKA   Center       Tom Brett      applying Daubert                                                                  0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft Swickard MIL
  2/23/2024 CCKA   Center       Tom Brett                                                                                        2.0    $550.00           $1,100.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J Shefftz re: deposition schedule
  2/26/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: Shefftz deposition schedule
  2/26/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0

                                               Review and analyze client, firm, and opposing counsel comms re: Carol
                   Murieta                     Anderson Ward subpoena, deposition schedules, and outstanding
                   Equestrian                  discovery; organize into correspondence folder.
  2/26/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft MIL to exclude Swickard testimony
  2/26/2024 CCKA   Center       Tom Brett                                                                                        0.7    $550.00            $385.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: opposing counsel request for
  2/26/2024 CCKA   Center       Tom Brett      discovery extension.                                                              0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center       Tom Brett      Draft email to Shefftz re: deposition schedule                                    0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft follow up email to J. Shefftz re: deposition schedule and prep
  2/27/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Review flight options to Hartford
  2/27/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: Shefftz depo
  2/27/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: deposition schedule and prep
  2/27/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Draft email to opposing counsel re: Shefftz deposition and discovery
                   Equestrian                  extension; review prior stipulation for discovery extensions
  2/27/2024 CCKA   Center     Tom Brett                                                                                          0.3    $550.00            $165.00            $0.00                0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Draft follow up email to opposing counsel re: Shefftz deposition and
                   Equestrian                  discovery extension; review prior stipulation for discovery extensions
  2/27/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to opposing counsel re: Shefftz deposition timing
  2/27/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/27/2024 CCKA   Center       Tom Brett      Review and analyze expert and opposing counsel comms re: shefftz dep                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Research and purchase ticket to Hartford for Shefftz deposition.
  2/28/2024 CCKA   Center       Tom Brett                                                                                          0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Review and analyze in firm and expert comms re: deposition schedule
  2/28/2024 CCKA   Center       Tom Brett      and prep call; organize into correspondence folder.                                 0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Call with J. Flanders re: Schefftz deposition and strategy for motion for
                   Equestrian                  leave to amend / notice letter
  2/28/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: deposition prep
  2/28/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up email to J. Shefftz re: deposition prep
  2/28/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Calendar invite and call for deposition prep with Shefftz.
  2/29/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Call with J. Flanders re: MIL, discovery, and Motion for Summary
                   Equestrian                  Judgment strategy
  2/29/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $110.00         $110.00               0.2
                   Murieta
                   Equestrian                  Continue to draft MIL (Swickard)
  2/29/2024 CCKA   Center       Tom Brett                                                                                          0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders and D. Hunt re: defs need to supplemental
  2/29/2024 CCKA   Center       Tom Brett      discovery                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  2/29/2024 CCKA   Center       Tom Brett      Draft task list re: completing MIL (Swickard), drafting Carol Anderson Wa           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: WCEF 990 forms, def
                   Equestrian                  supplemental discovery production, and def deposition notices.
  2/29/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Review, analyze, and summarize 40 CFR s 135.12 Clean Water Act
  2/29/2024 CCKA   Center       Tom Brett      notice letter requirements                                                          0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy on challenging Wren deposition notice
   3/1/2024 CCKA   Center       Tom Brett      and Swickard MIL                                                                    0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to draft MIL to exclude Swickard testimony
   3/1/2024 CCKA   Center       Tom Brett                                                                                          1.7    $550.00            $935.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: Swickard MIL draft.
   3/1/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Swickard MIL draft.
   3/1/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Continue to review and analyze case law re: effect of failure to depose
   3/4/2024 CCKA   Center       Tom Brett      expert witness on motion to exclude testimony                                       0.7    $550.00            $385.00            $0.00               0

                   Murieta                     Review SWPPP and site maps from permitted non-dairy Concentrated
                   Equestrian                  Animal Feeding Operations in region 9; compile information into
   3/4/2024 CCKA   Center     Tom Brett        spreadsheet.                                                                        2.0    $550.00           $1,100.00           $0.00               0

                   Murieta                     Call with J. Flanders re: research into permitted Concentrated Animal
                   Equestrian                  Feeding Operations and regulation under MS4 permits, and strategy
   3/4/2024 CCKA   Center       Tom Brett      w/r/t Wren deposition.                                                              0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian                  Draft priorities for week re: Carol Anderson Ward notice letter, Region 9
   3/4/2024 CCKA   Center       Tom Brett      permitee information, SUF evidentiary work                                          0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: protective order (Wren) and supplemental
   3/5/2024 CCKA   Center       Tom Brett      production to defendant.                                                            0.4    $550.00            $220.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. Hunt re: obj to wren deposition notice
   3/5/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00               0

                   Murieta                     Draft email to J. Flanders re: objections to I. Wren deposition notice
                   Equestrian                  and comms with opposing counsel re: protective order
   3/5/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00               0

                   Murieta                     Draft follow up email to D. Hunt and J. Flanders re: objections to Wren
                   Equestrian                  deposition notice
   3/5/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft objections to Wren deposition notice.
   3/5/2024 CCKA   Center     Tom Brett                                                                                            1.7    $550.00            $935.00            $0.00               0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Manage Simpson and Shefftz production links
   3/5/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze case law re: expert witness document production
                   Equestrian                  requirements
   3/5/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze case law re: protective order
   3/5/2024 CCKA   Center       Tom Brett                                                                                       1.1    $550.00           $605.00           $0.00               0
                   Murieta
                   Equestrian                  Call with I. Wren re: deposition prep / document production.
   3/6/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: objections to wren deposition and meet
   3/6/2024 CCKA   Center       Tom Brett      and confer on motion for PO                                                      0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: meet and confer comms to
                   Equestrian                  opposing counsel re: motion for protective order (Wren Depo)
   3/6/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to I. Wren re: Def deposition notice and document request.
   3/6/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft follow up comms with J. Flanders re: meet and confer to opposing
                   Equestrian                  counsel re: motion for PO and Wren deposition notice objections.
   3/6/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft meet and confer comms to opposing counsel re: motion for
   3/6/2024 CCKA   Center     Tom Brett        protective order (Wren Depo)                                                     0.5    $550.00           $275.00           $0.00               0

                   Murieta                     Draft task list re: completing supplemental document prod to D, notice
                   Equestrian                  letter (CAW), and populating SUF w/ supporting evidence.
   3/6/2024 CCKA   Center     Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with I. Wren re: deposition objections and document
   3/6/2024 CCKA   Center     Tom Brett        production                                                                       0.1    $550.00            $55.00           $0.00               0

                                               Review and analyze in firm and D. Hunt comms re: objections to wren
                   Murieta                     deposition notice and meet and confer with opposing counsel re:
                   Equestrian                  motion for protective order (wren depo); organize into correspondence
   3/6/2024 CCKA   Center     Tom Brett        folder                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and revise meet and cover comms to opposing counsel re:
   3/6/2024 CCKA   Center     Tom Brett        motion for protective order.                                                     0.1    $550.00            $55.00           $0.00               0




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                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Send meet and confer re: motion for protective order of opposing
   3/6/2024 CCKA   Center       Tom Brett      counsel and serve objections to wren deposition notice.                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise objections to Def's deposition notice (I. Wren)
   3/6/2024 CCKA   Center       Tom Brett                                                                                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: deposition prep and Defendant's ability to pay.
   3/7/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: call with shefftz regarding deposition
   3/7/2024 CCKA   Center       Tom Brett      prep.                                                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to D. Hunt and J. Flanders re: rescheduling meet and
                   Equestrian                  confer with opposing counsel regarding Wren protective order /
   3/8/2024 CCKA   Center       Tom Brett      deposition notice                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Calendar / circulate meeting invite re: Wren protective order; draft
  3/11/2024 CCKA   Center       Tom Brett      email to opposing counsel re: the same                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: meet and confer over I. Wren
  3/11/2024 CCKA   Center       Tom Brett      protective order                                                                   0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Follow up call wit J. Flanders re: scheduling meet and confer with
  3/11/2024 CCKA   Center       Tom Brett      opposing counsel to discuss Wren protective order.                                 0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Leave voicemail with and draft follow up comms to I. Wren re: prep of
  3/11/2024 CCKA   Center       Tom Brett      documents for deposition / responsive to document request.                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: Phase II Motion for Summary Judgment and
  3/11/2024 CCKA   Center       Tom Brett      Swickard MIL                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Begin review of Murieta Equestrian Center prior production to
  3/11/2024 CCKA   Center       Tom Brett      determine need for supplemental production.                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt re: meet and confer with opposing counsel on Wren
  3/11/2024 CCKA   Center       Tom Brett      protective order.                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: meet and confer on Wren protective order and
  3/11/2024 CCKA   Center       Tom Brett      drafting / populating SUF                                                          0.1    $550.00            $55.00           $0.00                0

                                               Draft email to D. Hunt and J. Flanders re: supplemental document
                   Murieta                     production and possible production of Region 9 SWPPPs from non-
                   Equestrian                  dairy Concentrated Animal Feeding Operations located w/in localities
  3/11/2024 CCKA   Center     Tom Brett        subject to MS4 permits.                                                            0.4    $550.00           $220.00           $0.00                0




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Draft follow up comms to D. Hunt and J. Flanders re: meet and confer
  3/11/2024 CCKA   Center     Tom Brett        with opposing counsel regarding Wren protective order.                                 0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft follow up emails to opposing counsel re: meet and confer of Wren
                   Equestrian                  protective order.
  3/11/2024 CCKA   Center     Tom Brett                                                                                               0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Meet and confer with opposing counsel re: wren deposition and
  3/11/2024 CCKA   Center     Tom Brett        protective order                                                                       0.7    $550.00           $385.00           $0.00               0

                                               Review and analyze opposing counsel comms re: stipulation as to
                   Murieta                     scope and duration of Wren deposition; organize into correspondence
                   Equestrian                  folder
  3/12/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta                     call with D. Hunt re: compiling documents to produce to D in response
                   Equestrian                  to Wren Phase II deposition notice and document request.
  3/13/2024 CCKA   Center       Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Review, analyze, and summarize case law re: collateral estoppel
  3/14/2024 CCKA   Center       Tom Brett                                                                                             0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Review, analyze, and summarize case law re: responsible corp officer
  3/14/2024 CCKA   Center       Tom Brett      doctrine                                                                               0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian
  3/14/2024 CCKA   Center       Tom Brett      Call with J. Flanders re: collateral estoppel LR and arguments re: defend              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: collateral estoppel LR, Plaintiff's supplemental
  3/14/2024 CCKA   Center       Tom Brett      production, and Defendant's disc responses                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: research into collateral estoppel for inclusion in
  3/14/2024 CCKA   Center       Tom Brett      motion for leave to amend                                                              0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft email to J. Flanders re: conducting legal research into responsible
                   Equestrian                  corporate officer doctrine for use in motion for leave to amend
  3/14/2024 CCKA   Center     Tom Brett        complaint                                                                              0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Research and analyze case law interpreting "privity" requirement for
  3/14/2024 CCKA   Center     Tom Brett        collateral estoppel as part of prep for motion for leave to amend.                     0.4    $550.00           $220.00           $0.00               0

                                               Review and analyze in firm, client, and opposing counsel comms re:
                                               draft Motion for Summary Judgment status, Defendant discovery
                   Murieta                     responses and request for extension of time to respond, and stipulation
                   Equestrian                  re: scope and duration of wren dep; organize into correspondence
  3/14/2024 CCKA   Center     Tom Brett        folder.                                                                                0.1    $550.00            $55.00           $0.00               0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft comms to J. Flanders and D. Hunt re: finalizing document
  3/15/2024 CCKA   Center     Tom Brett        production in response to Wren deposition notice                                  0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Draft email to J. Flanders and D. Hunt and L Marshall re: defendant
                   Equestrian                  production of stall charts and requests for admission response re:
  3/15/2024 CCKA   Center     Tom Brett        horse count                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft Proof of Service and cover email to opposing counsel re: serving
  3/15/2024 CCKA   Center     Tom Brett        documents responsive to wren deposition notice; serve.                            0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Call with D. Hunt re: compiling documents to produce to D in response
                   Equestrian                  to Wren Phase II deposition notice and document request.
  3/15/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with Ian re: response to Defendant's Wren Phase II deposition
  3/15/2024 CCKA   Center     Tom Brett        notice and document request.                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Wren document production and deposition
  3/15/2024 CCKA   Center     Tom Brett        prep                                                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Compile, review, and redact documents produced in response to def's
                   Equestrian                  deposition notice and document request for I Wren Phase II depo
  3/15/2024 CCKA   Center     Tom Brett                                                                                          1.2    $550.00           $660.00           $0.00                0

                   Murieta                     Follow up call with D. Hunt re: compiling documents to produce to D in
                   Equestrian                  response to Wren Phase II deposition notice and document request.
  3/15/2024 CCKA   Center     Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Call with M. Maclear re: deposition defense prep
  3/16/2024 CCKA   Center     Tom Brett                                                                                          0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian                  Review and summarize federal case law and Clean Water Act case law
  3/16/2024 CCKA   Center     Tom Brett        applying responsible corporate officer doctrine.                                  0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Draft email to D. Hunt re: agreement with opposing counsel on scope
                   Equestrian                  of Wren depo
  3/16/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/18/2024 CCKA   Center       Tom Brett      Review and analyze in firm and opposing counsel comms re: stipulation             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/19/2024 CCKA   Center       Tom Brett      Book hotel accommodations; and reserve parking at MSP (Shefftz depo               0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Call with E. Bustos re: ATA billing info for hotel reservation (shefftz
  3/19/2024 CCKA   Center       Tom Brett      depo)                                                                             0.1    $550.00             $0.00          $55.00               0.1



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: expected length of Shefftz
  3/19/2024 CCKA   Center       Tom Brett      deposition.                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: whether to send meet and confer to opposing
  3/19/2024 CCKA   Center       Tom Brett      counsel on ROG, Set Three; and strategy for 60 day NOI                              0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and analyze of Shefftz report again in prep for
  3/19/2024 CCKA   Center       Tom Brett      deposition                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and summarize RCOD liability case law
  3/19/2024 CCKA   Center       Tom Brett                                                                                          0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze cases re: definition of privity in collateral estoppel
  3/19/2024 CCKA   Center       Tom Brett      cases                                                                               1.4    $550.00           $770.00           $0.00                0

                   Murieta                     Call with J. Flanders re: collateral estoppel LR and next steps for carol
                   Equestrian                  Anderson ward notice letter, motion for leave to amend, Swickard MIL
  3/19/2024 CCKA   Center       Tom Brett      etc.                                                                                0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: responsible corporate officer doctrine
  3/19/2024 CCKA   Center       Tom Brett      research                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze prior meet and confer correspondence with
  3/19/2024 CCKA   Center       Tom Brett      opposing counsel                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: Defendant responses to RFA, Set Two
  3/20/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with L. Marshall, D. Hunt, and J. Flanders re: MIL, further
  3/20/2024 CCKA   Center       Tom Brett      discovery, and motion for leave to amend strategy                                   1.3    $550.00           $715.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze defendant responses to RFA, Set Two
  3/20/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Review and revise case summaries regarding responsible corporate
                   Equestrian                  officer doctrine and the meaning of privity of collateral estoppel
  3/20/2024 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Upload Defendant's interrogatory / requests for admission /RFPD
  3/20/2024 CCKA   Center     Tom Brett        responses to shared server                                                          0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Call with J. Shefftz re: deposition prep, analyzing cash on hand for
                   Equestrian                  Defendant, and analyzing defendant responses to requests for
  3/20/2024 CCKA   Center     Tom Brett        admission / ROGs                                                                    0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: T. Simpson review of transcript.
  3/20/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: and attaching deposition notice.
  3/20/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft objections to defendant's second amended deposition notice
  3/20/2024 CCKA   Center       Tom Brett                                                                                        0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Shefftz re: response to defendant's deposition notice
  3/20/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze Defendant's responses to ROGs, Set Four
  3/20/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00               0

                                               Review and analyze in firm and client comms re: shefftz deposition
                   Murieta                     strategy, defendant disc responses and document production, and
                   Equestrian                  strategy wrt Resource Conservation and Recovery Act claims; organize
  3/20/2024 CCKA   Center     Tom Brett        into correspondence folder                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email serving document production and Plf's objections in
  3/20/2024 CCKA   Center     Tom Brett        response to deposition notice;                                                    0.2    $550.00           $110.00           $0.00               0

                   Murieta                     Review and compile documents responsive to Defendant's notice of
                   Equestrian                  taking deposition (2nd amended, Shefftz)
  3/20/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00               0

                   Murieta                     Review and finalize objections to defendant's 2nd amended deposition
                   Equestrian                  notice (Shefftz)
  3/20/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for supplemental document production
  3/21/2024 CCKA   Center     Tom Brett        to defendant                                                                      0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Draft email to D. Hunt re: strategy for supplemental document
                   Equestrian                  production in response to D discovery requests.
  3/21/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Complete review and redaction of document production responsive to
  3/21/2024 CCKA   Center       Tom Brett      2nd amended deposition notice of sheffts; serve                                   0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to review and analyze Shefftz expert report in prep for depo
  3/21/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for motion for leave to amend
  3/22/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00           $110.00           $0.00               0



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                                                                                                                                                                        Judgment Fee     Judgment
                                                                                                                                                                        Reduction        Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian
  3/22/2024 CCKA   Center     Tom Brett        Call with J Shefftz re: deposition prep and D's responses to RFAs                   0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft email to M. Maclear and J. Flanders re: Shefftz deposition history
  3/22/2024 CCKA   Center     Tom Brett        and location of deposition transcript.                                              0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Review and analyze Defendant's responses to RFA, Set Two in prep
  3/22/2024 CCKA   Center     Tom Brett        for Shefftz deposition                                                              0.1    $550.00             $55.00            $0.00                 0

                   Murieta                     Review correspondence with opposing counsel re: stipulated
                   Equestrian                  modifications to discovery deadlines; draft email to E. Bustos re: the
  3/22/2024 CCKA   Center       Tom Brett      same.                                                                               0.2    $550.00            $110.00            $0.00                 0
                   Murieta
                   Equestrian                  Review, analyze, and annotate prior deposition in prep for Shefftz
  3/22/2024 CCKA   Center       Tom Brett      deposition                                                                          1.5    $550.00            $825.00            $0.00                 0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for motion for leave to amend
  3/22/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft notice of motion and motion for leave to file third amended
  3/22/2024 CCKA   Center       Tom Brett      complaint and legal background section                                              1.2    $550.00            $660.00            $0.00                 0
                   Murieta
                   Equestrian                  Outline additional procedural background sections of motion for leave
  3/22/2024 CCKA   Center       Tom Brett      to amend.                                                                           0.3    $550.00            $165.00            $0.00                 0
                   Murieta
                   Equestrian                  Continue to review and annotate J. Shefftz expert report
  3/25/2024 CCKA   Center       Tom Brett                                                                                          0.5    $550.00            $275.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft email to B. Lee re: Shefftz deposition transcript.
  3/25/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Depo prep call with J. Shefftz
  3/25/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00            $220.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft teams comms to J. Flanders re: supplemental document
  3/25/2024 CCKA   Center       Tom Brett      production in advance of Shefftz deposition.                                        0.1    $550.00             $55.00            $0.00                 0

                   Murieta                     Review and analyze expert comms evaluating opposing counsels
                   Equestrian                  proposal for iterative BMP deployment as part of Consent Decree;
  3/25/2024 CCKA   Center     Tom Brett        organize into correspondence folder.                                                0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Continue to prep for Shefftz deposition (review prior deposition
  3/25/2024 CCKA   Center     Tom Brett        transcripts; outline objection list / bases)                                        0.7    $550.00            $385.00            $0.00                 0
                   Murieta
                   Equestrian                  Travel to Hartford CN for Shefftz deposition.
  3/25/2024 CCKA   Center     Tom Brett                                                                                            5.0    $550.00           $1,375.00        $1,375.00               2.5



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                                                                                                                                                                           Judgment Fee     Judgment
                                                                                                                                                                           Reduction        Time
                                                                                                                                                                                            Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders following up on Shefftz deposition
  3/26/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Outline main line of questioning by opposing counsel in Shefftz
  3/26/2024 CCKA   Center       Tom Brett      deposition.                                                                            0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Attend / defend J. Shefftz deposition
  3/26/2024 CCKA   Center       Tom Brett                                                                                             3.1    $550.00           $1,705.00           $0.00                 0
                   Murieta
                   Equestrian                  Prep for Shefftz deposition (review report and objection outline / list)
  3/26/2024 CCKA   Center       Tom Brett                                                                                             0.5    $550.00            $275.00            $0.00                 0
                   Murieta
                   Equestrian                  Travel home from Shefftz deposition
  3/26/2024 CCKA   Center       Tom Brett                                                                                             5.5    $550.00           $1,512.50        $1,512.50           2.75
                   Murieta
                   Equestrian                  Continue to draft motion for leave to amend complaint (TAC)
  3/26/2024 CCKA   Center       Tom Brett                                                                                             0.7    $550.00            $385.00            $0.00                 0

                                               Review and analyze in firm, external, and client comms re: Wren
                   Murieta                     deposition transcript, drafting motion for leave to amend complaint
                   Equestrian                  (TAC), drafting Carol Anderson Ward NOI; organize into
  3/27/2024 CCKA   Center     Tom Brett        correspondence folder, Shefftz deposition transcript rough draft                       0.1    $550.00              $0.00           $55.00                0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions / strategy for drafting to motion for
  3/27/2024 CCKA   Center     Tom Brett        leave to amend.                                                                        0.4    $550.00            $110.00          $110.00                0.2
                   Murieta
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett        Draft task list re: drafting motion for leave to amend and J. Brett declarat           0.1    $550.00             $55.00            $0.00                 0

                   Murieta                     Review and analyze case law re: motion for leave to amend and impact
                   Equestrian                  of adding new causes of action
  3/27/2024 CCKA   Center       Tom Brett                                                                                             0.2    $550.00            $110.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: rough draft of Shefftz
  3/27/2024 CCKA   Center       Tom Brett      deposition transcript.                                                                 0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft email to L. Marshall and D. Hunt re: law and fact summary for use
  3/27/2024 CCKA   Center       Tom Brett      in third amended complaint.                                                            0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Review and analyze Shefftz draft deposition transcript.
  3/27/2024 CCKA   Center       Tom Brett                                                                                             0.2    $550.00            $110.00            $0.00                 0
                   Murieta
                   Equestrian                  Begin drafting declaration in support of motion for leave to amend;
  3/27/2024 CCKA   Center       Tom Brett      compile exhibits for the same.                                                         0.3    $550.00            $165.00            $0.00                 0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Continue to revise motion for leave to amend complaint (TAC),
                   Equestrian                  specifically factual background / facts necessitating amending
  3/27/2024 CCKA   Center     Tom Brett        complaint.                                                                           1.1    $550.00           $605.00           $0.00                0

                   Murieta                     Draft factual background section to motion for leave to file third
                   Equestrian                  amended complaint (re: C. Anderson Ward's financial contributions and
  3/27/2024 CCKA   Center     Tom Brett        corporate control)                                                                   1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: revisions to factual background
  3/27/2024 CCKA   Center     Tom Brett        section of motion for leave to amend.                                                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: revisions to factual background
  3/27/2024 CCKA   Center     Tom Brett        section of motion for leave to file TAC                                              0.2    $550.00           $110.00           $0.00                0

                                               Revise legal background section of motion for leave to file third
                                               amended complaint (add section on owner / corp officer liability under
                                               Clean Water Act and re: Motion for Summary Judgment order
                   Murieta                     constituting final judgment on merits for purpose of collateral estoppel).
                   Equestrian
  3/27/2024 CCKA   Center     Tom Brett                                                                                             0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Strategy call with firm re: filing deadlines and strategy for motion for
  3/28/2024 CCKA   Center     Tom Brett        leave to amend and motion for summary judgment                                       0.1    $550.00             $0.00          $55.00               0.1

                                               Continue to draft motion for leave to amend complaint (TAC),
                   Murieta                     specifically section re: facts necessitating leave to amend; and revise /
                   Equestrian                  draft J. Brett declaration in support of motion for leave to amend.
  3/28/2024 CCKA   Center       Tom Brett                                                                                           0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft motion for leave to file third amended complaint
  3/28/2024 CCKA   Center       Tom Brett                                                                                           0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders and D. hunt re: scheduling meet and confer
  3/28/2024 CCKA   Center       Tom Brett      with opposing counsel on motion for leave to amend                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list for completing factual background / facts necessitating
  3/28/2024 CCKA   Center       Tom Brett      motion for leave, and declaration in support of motion                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  3/28/2024 CCKA   Center       Tom Brett      Review and analyze in firm and opposing counsel comms re: strategy fo                0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to motion for leave to amend
  3/28/2024 CCKA   Center       Tom Brett      complaint (TAC)                                                                      0.3    $550.00           $110.00          $55.00               0.1




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Continue to draft J. Brett declaration in support of motion for leave to
                   Equestrian                  amend; authenticate exhibits, add paragraphs establishing facts set
  3/28/2024 CCKA   Center       Tom Brett      forth in brief, compile exhibits                                                     0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to draft motion for leave to amend complaint (TAC)
  3/28/2024 CCKA   Center       Tom Brett                                                                                           0.6    $550.00           $330.00           $0.00               0
                   Murieta
                   Equestrian                  Call w. client and J. Flanders re: revisions and next steps for motion for
  3/29/2024 CCKA   Center       Tom Brett      leave to amend (TAC)                                                                 0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                  Attend meet and confer with opposing counsel regarding motion for
  3/29/2024 CCKA   Center       Tom Brett      leave to file third amended complaint                                                0.8    $550.00           $440.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to corporate veil section of brief
  3/29/2024 CCKA   Center       Tom Brett      (motion for leave to amend)                                                          0.2    $550.00           $110.00           $0.00               0

                   Murieta                     Continue to draft motion for leave to amend; locate testimony from
                   Equestrian                  Subbotin supporting factual assertions in section re: facts necessitating
  3/29/2024 CCKA   Center       Tom Brett      leave to amend                                                                       0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and L. Chase and J. Flanders re: adding Carol
  3/29/2024 CCKA   Center       Tom Brett      Anderson Ward trust as defendant.                                                    0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Highlight deposition excerpts for use in J. Brett Declaration in support
  3/29/2024 CCKA   Center       Tom Brett      of motion for leave to amend complaint (TAC)                                         1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Compile all exhibits for declaration of T. Brett in support of motion for
  3/29/2024 CCKA   Center       Tom Brett      leave to amend and mark with Exhibit label                                           0.3    $550.00           $165.00           $0.00               0

                                               Compile balance sheets as exhibits to T. Brett declaration in support of
                   Murieta                     motion for leave to amend; find authenticating documentation from
                   Equestrian                  Velez testimony; highlight balance sheets to for use as exhibits
  3/29/2024 CCKA   Center     Tom Brett                                                                                             0.9    $550.00           $495.00           $0.00               0
                   Murieta
                   Equestrian                  Draft section in motion for leave to file TAC re: past attempts to
  3/29/2024 CCKA   Center     Tom Brett        discover D’s financial information and D’s objections to the same                    0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze case law re: inequitable prong of alter ego liability
  3/29/2024 CCKA   Center     Tom Brett        and application of alter ego liability to trust.                                     0.4    $550.00           $220.00           $0.00               0

                                               Review and analyze in firm and client comms re: meet and confer on
                   Murieta                     motion for leave to amend and strategy re: the same; organize into
                   Equestrian                  correspondence folder
  3/29/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00               0




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                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction
                   Murieta
                   Equestrian                  Review Subbotin transcript to locate cites to discussion regarding hay
  3/29/2024 CCKA   Center     Tom Brett        barn and manure disposal; incorporate into brief                                        0.7    $550.00           $385.00           $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: strategy for motion for
                   Equestrian                  leave to amend and next steps for drafting; organize into
   4/1/2024 CCKA   Center       Tom Brett      correspondence folder.                                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to revise motion for leave to file Third Amended Complaint
   4/1/2024 CCKA   Center       Tom Brett                                                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J Flanders re: protective order requirements for filing
   4/1/2024 CCKA   Center       Tom Brett      confidential documents                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing motion for leave to file Third Amended
   4/1/2024 CCKA   Center       Tom Brett      Complaint                                                                               0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze case law re: Federal Rule of Civil Procedure 20
                   Equestrian                  and 21 for permissive joinder; draft legal background section in brief re:
   4/1/2024 CCKA   Center     Tom Brett        the same.                                                                               0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze protective order requirements for filing confidential
   4/1/2024 CCKA   Center     Tom Brett        documents                                                                               0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and annotate ED CAL local rules 141 re: request to file under
                   Equestrian                  seal
   4/1/2024 CCKA   Center       Tom Brett                                                                                              0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders and D. Hunt re: strategy w/r/t parcel south of the
   4/1/2024 CCKA   Center       Tom Brett      7200 lone pine drive property and liability of trust.                                   0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Patterson re: missing Exhibit A to lease between Carol
   4/1/2024 CCKA   Center       Tom Brett      Anderson Ward Trust and Murieta Equestrian Center.                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Add PIN cites to exhibits in J. Brett declaration in support of motion for
   4/1/2024 CCKA   Center       Tom Brett      leave to amend in motion                                                                0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Continue to review and analyze case law re: inequitable results
                   Equestrian                  requirement of alter ego liability, incorporate into motion for leave to file
   4/1/2024 CCKA   Center     Tom Brett        third amended complaint.                                                                0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Draft argument section on permissive joinder under Federal Rule of
   4/1/2024 CCKA   Center     Tom Brett        Civil Procedure 20                                                                      0.5    $550.00           $275.00           $0.00                0

                   Murieta                     Draft section in motion for leave to amend re: Plaintiff's requests for
                   Equestrian                  production Set one re: financial information and Defendant's
   4/1/2024 CCKA   Center     Tom Brett        responses.                                                                              0.4    $550.00           $220.00           $0.00                0



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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Resolve to / incorporate client and firm comments in motion for leave to
   4/1/2024 CCKA   Center       Tom Brett      file TAC                                                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with TT re: strategy for request to file under seal
   4/2/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: further revisions to motion for leave
   4/2/2024 CCKA   Center       Tom Brett      to amend.                                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze defendant's rebuttal expert opinion regarding
   4/2/2024 CCKA   Center       Tom Brett      defendant's ability to pay                                                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for further revisions to motion for leave
   4/2/2024 CCKA   Center       Tom Brett      to amend and motion to seal confidential documents                                     0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to revise motion for leave to amend (TAC)
   4/2/2024 CCKA   Center       Tom Brett                                                                                             0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: further revisions to motion to for leave to
   4/2/2024 CCKA   Center       Tom Brett      amend complaint (TAC)                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: documents relied on / referenced by D
   4/2/2024 CCKA   Center       Tom Brett      rebuttal econ expert that we do not have in our possession.                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: review of and corrections to deposition
   4/2/2024 CCKA   Center       Tom Brett      transcript.                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to L Marshall, D Hunt, and J. Flanders re: how to obtain
   4/2/2024 CCKA   Center       Tom Brett      records from recorders office (Sac county)                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center       Tom Brett                                                                                             0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Draft meet and confer email to opposing counsel re: filing documents
                   Equestrian                  under seal and whether D will stipulate to waiving that requirement.
   4/2/2024 CCKA   Center     Tom Brett                                                                                               0.4    $550.00           $220.00           $0.00                0

                   Murieta                     Review and analyze sources relied on by Murieta Equestrian Center
                   Equestrian                  econ rebuttal expert to determine if the expert uses any sources not
   4/2/2024 CCKA   Center     Tom Brett        already in our possession.                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Save proposed TAC to shared, and draft email to client re: revisions to
   4/2/2024 CCKA   Center     Tom Brett        the same.                                                                              0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Revise motion for leave to amend and declaration in support thereof;
                   Equestrian                  add exhibits to declaration and conform cites in motion to the same.
   4/2/2024 CCKA   Center       Tom Brett                                                                                          0.7    $550.00           $385.00           $0.00               0
                   Murieta
                   Equestrian                  Revise motion for leave to amend complaint (TAC); resolve /
   4/2/2024 CCKA   Center       Tom Brett      incorporate comments                                                                0.7    $550.00           $385.00           $0.00               0
                   Murieta
                   Equestrian                  Revise motion for leave to amend per J. Flanders comments /
   4/2/2024 CCKA   Center       Tom Brett      suggested revisions.                                                                0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to client and J. Flanders re: strategy for deposing econ
   4/3/2024 CCKA   Center       Tom Brett      rebuttal expert.                                                                    0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting Phase II SUF next steps
   4/3/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: whether to depose econ rebuttal expert.
   4/3/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Call with T. Trillo re: further revisions to request to seal.
   4/3/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to draft Phase II SUF
   4/3/2024 CCKA   Center       Tom Brett                                                                                          1.0    $550.00           $550.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to client and J. Flanders re: opposing counsel request re:
   4/3/2024 CCKA   Center       Tom Brett      timing of potential depositions of Defendant's expert witnesses.                    0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: research into standard for granting
   4/3/2024 CCKA   Center       Tom Brett      request for joinder.                                                                0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center       Tom Brett      Draft email to J. Flanders re: request to seal documents.                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Patterson re: missing Exhibit A to leas produced by D
   4/3/2024 CCKA   Center       Tom Brett      in response to requests for production, Set Nine.                                   0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: review of def's expert rebuttal report.
   4/3/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel re: deposition time line for Defendant's
   4/3/2024 CCKA   Center       Tom Brett      expert witnesses.                                                                   0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Make final revisions to T. Brett Declaration in support of motion for
   4/3/2024 CCKA   Center       Tom Brett      leave to amend.                                                                     0.1    $550.00            $55.00           $0.00               0




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                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction


                   Murieta                     Review and analyze motion for leave to amend and T. Brett declaration
                   Equestrian                  exhibits to confirm what is w/in ambit of protective order.
   4/3/2024 CCKA   Center       Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze stipulated protective order requirements.
   4/3/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise motion for leave to amend complaint (TAC) and
   4/3/2024 CCKA   Center       Tom Brett      check citations to J. Brett declaration in support thereof                           0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise Notice of Request to Seal documents.
   4/3/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise request to seal exhibits O and J to T. Brett Dec in
   4/3/2024 CCKA   Center       Tom Brett      support of motion for leave to amend.                                                0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Review, analyze, and summarize case law re: joinder under Federal
                   Equestrian                  Rule of Civil Procedure 21 and amendment under Federal Rule of Civil
   4/3/2024 CCKA   Center       Tom Brett      Procedure 15                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to S. Fried re: deposition of econ rebuttal expert.
   4/3/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with T. Trillo and J. Flanders re: strategy for filing under seal
   4/3/2024 CCKA   Center       Tom Brett                                                                                           0.4    $550.00           $110.00         $110.00               0.2
                   Murieta
                   Equestrian                  Calls with J. Shefftz and J Flanders re: analysis of D rebuttal report and
   4/3/2024 CCKA   Center       Tom Brett      schedule for deposition.                                                             0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and revise request to seal
   4/3/2024 CCKA   Center       Tom Brett                                                                                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Revise exhibits to T. Brett declaration in support of motion for leave to
   4/3/2024 CCKA   Center       Tom Brett      amend                                                                                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian
   4/3/2024 CCKA   Center       Tom Brett      Revise propose order and draft comms to TT re: the same.                             0.3    $550.00           $165.00           $0.00                0

                                               Review and analyze in firm and client comms re: Def rebuttal expert
                   Murieta                     schedule and notice; strategy for Phase II Motion for Summary
                   Equestrian                  Judgment and SUF; notice of intent to sue on CAW; motion for leave to
   4/4/2024 CCKA   Center     Tom Brett        amend ; organize into correspondence folder                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: flight expenses (Shefftz depo)
   4/4/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions to request to seal, and next
   4/4/2024 CCKA   Center     Tom Brett        steps for completing motion for leave to amend.                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to T. Trillo re: revisions to Request to Seal documents
   4/4/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Draft email to E. Bustos re: scope of document request in deposition
                   Equestrian                  notice to Murieta Equestrian Center rebuttal econ expert.
   4/4/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Small MS4 permit to determine application
   4/4/2024 CCKA   Center       Tom Brett      requirements.                                                                        0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise notice of motion and motion for leave to file TAC
   4/4/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and revise request to seal documents.
   4/4/2024 CCKA   Center       Tom Brett                                                                                           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and J. Flanders re: Defendant's expert rebuttal
   4/4/2024 CCKA   Center       Tom Brett      witness deposition notice.                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze draft deposition notice of Defendant's econ
                   Equestrian                  rebuttal expert.
   4/4/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center       Tom Brett      Draft email to D. Hunt re: review of Defendant's expert rebuttal report to           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center       Tom Brett      Draft email to E. Bustos and J. Flanders re: revisions to D econ rebuttal            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center       Tom Brett      Draft email to opposing counsel re: request for D econ rebuttal expert's f           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   4/4/2024 CCKA   Center       Tom Brett      Review and analyze J. McCurley expert report (econ rebuttal) to confirm              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for revising Motion for Summary
   4/4/2024 CCKA   Center       Tom Brett      Judgment and Phase II SUF                                                            0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to motion for summary judgment /
   4/4/2024 CCKA   Center       Tom Brett      Phase II SUF                                                                         0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft Phase II SUF
   4/4/2024 CCKA   Center       Tom Brett                                                                                           0.7    $550.00           $385.00           $0.00                0



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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                Continue to revise / draft Phase II SUF and Motion for Summary
   4/4/2024 CCKA   Center     Tom Brett      Judgment                                                                               1.1    $550.00           $605.00           $0.00                0

                   Murieta                   Continue to revise Phase II MS4 and Motion for Summary Judgment
                   Equestrian
   4/4/2024 CCKA   Center     Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00                0

                   Murieta                   Discuss with J. Flanders adding facts re: small MS4 permitting process
                   Equestrian                and Region 9 Concentrated Animal Feeding Operation NOIs to Phase
   4/4/2024 CCKA   Center     Tom Brett      II Motion for Summary Judgment                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                Review and revise notice of request to seal documents.
   4/4/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Call with J. Flanders re: rain data, motion to amend, Motion for
                   Equestrian                Summary Judgment arguments re: Concentrated Animal Feeding
   4/5/2024 CCKA   Center     Tom Brett      Operation permittees                                                                   0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Call with T. Trillo re: preparation of exhibits to Motion for Leave to File
                   Equestrian                Third Amended Complaint.
   4/5/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                Follow up call with E. Bustos re: filing motion for leave to amend
   4/5/2024 CCKA   Center     Tom Brett      complaint                                                                              0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Calls with J. Flanders and D. Hunt re: strategy for revisions to Phase II
                   Equestrian                Motion for Summary Judgment and next steps for completing motion
   4/5/2024 CCKA   Center     Tom Brett      for leave to amend                                                                     0.9    $550.00           $440.00          $55.00               0.1
                   Murieta
                   Equestrian                Call with E. Bustos re: filing notice of motion and motion for leave to file
   4/5/2024 CCKA   Center     Tom Brett      TAC                                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                Call with E. Bustos re: locating rain data cited / referenced in Phase I
   4/5/2024 CCKA   Center     Tom Brett      Motion for Summary Judgment                                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Call with I. Wren re: use of multiple gauges for rain data in Phase I
                   Equestrian                Motion for Summary Judgment
   4/5/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                Follow up call with E. Bustos re: revisions to notice of motion and
   4/5/2024 CCKA   Center     Tom Brett      motion for leave to amend                                                              0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
   4/5/2024 CCKA   Center       Tom Brett      Review and analyze in firm, opposing counsel, and client comms re: mo               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to notice of motion and motion for
   4/5/2024 CCKA   Center       Tom Brett      leave to amend.                                                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for organizing Phase II SUF
   4/5/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to populate /revise Phase II SUF
   4/5/2024 CCKA   Center       Tom Brett                                                                                          0.5    $550.00           $275.00           $0.00                0

                   Murieta                     Continue to revise Phase II Motion for Summary Judgment (draft
                   Equestrian                  sections re: small MS4 permit enrollment) and populate Phase II SUF
   4/5/2024 CCKA   Center       Tom Brett                                                                                          0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Make additional revisions to Phase II Motion for Summary Judgment
   4/5/2024 CCKA   Center       Tom Brett      (add to section describing MS4 permit requirements)                                 0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Wren reports re: rain station data and analyze rain
   4/5/2024 CCKA   Center       Tom Brett      data used in Phase I Motion for Summary Judgment                                    0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: addition of exhibits to phase II Statement
   4/8/2024 CCKA   Center       Tom Brett      of Undisputed Facts                                                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze Defendant's interrogatories, set three to evaluate
   4/8/2024 CCKA   Center       Tom Brett      need to supplement responses                                                        0.3    $550.00           $165.00           $0.00                0

                                               Review and analyze in firm and client comms re: next steps for
                                               completing SUF, supplemental responses to Murieta Equestrian Center
                   Murieta                     Request for production of documents, deposition of Defendant rebuttal
                   Equestrian                  witness, ED Cal filing deficiency notice; organize into correspondence
   4/8/2024 CCKA   Center       Tom Brett      folder.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: compiling Phase I evidence for Phase II SUF.
   4/8/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for revisions to Phase II SUF and
   4/8/2024 CCKA   Center       Tom Brett      Motion for Summary Judgment brief                                                   0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to and reorganization of Phase II SUF
   4/8/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
   4/8/2024 CCKA   Center     Tom Brett        Continue to draft Phase II SUF and renumber cites to the same in Motio            2.2    $550.00           $1,210.00           $0.00                0

                   Murieta                     Follow up call with E. Bustos re: compiling Phase I evidence for Phase
                   Equestrian                  II SUF.
   4/8/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: reorganization of Phase II SUF
   4/8/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Populate Phase II SUF with missing evidence
   4/8/2024 CCKA   Center     Tom Brett                                                                                          0.2    $550.00            $110.00            $0.00                0

                   Murieta                     Revise Phase II Motion for Summary Judgment brief and compile
                   Equestrian                  additional evidence re: defendant's lack of permit and small ms4 permit
   4/8/2024 CCKA   Center       Tom Brett      requirements etc.                                                                 1.0    $550.00            $550.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: bates stamping Ex. A to J. Flanders declaration
   4/9/2024 CCKA   Center       Tom Brett      in support of Phase II Motion for Summary Judgment                                0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Continue to revise Phase I SUF and incorporate citations into Motion
   4/9/2024 CCKA   Center       Tom Brett      for Summary Judgment brief                                                        0.4    $550.00              $0.00          $220.00               0.4
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Revise citations to drone footage in Phase II SUF to cite to notice of
   4/9/2024 CCKA   Center       Tom Brett      lodging)                                                                          0.2    $550.00              $0.00          $110.00               0.2
                   Murieta
                   Equestrian                  Draft task list re: next steps for completing Phase II Motion for
   4/9/2024 CCKA   Center       Tom Brett      Summary Judgment and supporting documents (SUF and Dec).                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Review and pair down Phase I exhibits / evidence used in Phase II
   4/9/2024 CCKA   Center       Tom Brett      SUF                                                                               0.2    $550.00            $110.00            $0.00                0

                   Murieta                     Continue to review and analyze Defendant's prior discovery responses
                   Equestrian                  to determine scope of potential supplemental document production
   4/9/2024 CCKA   Center     Tom Brett        and/or interrogatory responses.                                                   0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Revise J. Flanders declaration in support of Phase II motion for
   4/9/2024 CCKA   Center     Tom Brett        summary judgment                                                                  0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian
   4/9/2024 CCKA   Center     Tom Brett        Add Phase II SUF fact to R. 7 Concentrated Animal Feeding Operation p             0.2    $550.00            $110.00            $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Call with E. Bustos re: drafting J. Flanders declaration in support of
   4/9/2024 CCKA   Center     Tom Brett        motion for summary judgment (Phase II)                                              0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: further revisions to Phase II SUF and review of
   4/9/2024 CCKA   Center     Tom Brett        exhibits / evidence in support thereof.                                             0.2    $550.00            $55.00          $55.00               0.1

                   Murieta                     Call with J. Flanders re: next steps for supplemental document
                   Equestrian                  production / further revisions to Phase II SUF and Motion for Summary
   4/9/2024 CCKA   Center     Tom Brett        Judgment brief                                                                      0.3    $550.00           $165.00           $0.00                0

                                               Compare compiled exhibits folder with evidence cited in Phase II SUF
                   Murieta                     to ensure that we have complete exhibit set to include in declaration.
                   Equestrian
   4/9/2024 CCKA   Center       Tom Brett                                                                                          0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms with J. Flanders re: organization of Phase I exhibits in
   4/9/2024 CCKA   Center       Tom Brett      SUF and citing to the same in support of Phase II issues.                           0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up comms to E. Bustos re: drafting J. Flanders declaration
   4/9/2024 CCKA   Center       Tom Brett      in support of motion for summary judgment.                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: next steps for revising Phase II SUF
   4/9/2024 CCKA   Center       Tom Brett      and compiling supporting evidence                                                   0.2    $550.00            $55.00          $55.00               0.1
                   Murieta
                   Equestrian                  Reorganize and revise J. Flanders declaration in support of Phase II
   4/9/2024 CCKA   Center       Tom Brett      motion for summary judgment.                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze dry weather inspection video to locate video of
   4/9/2024 CCKA   Center       Tom Brett      discharges from wash stations to drop inlet                                         0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian
  5/13/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and revise Phase II SUF; continue to address placeholder
   4/9/2024 CCKA   Center       Tom Brett      comments / highlights                                                               0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to H. Beck re: revisions to Phase II SUF
  4/10/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with M. Maclear re: status of Phase II MS J
  4/10/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: revisions to Phase II SUF
  4/10/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: making further revisions to Phase II SUF
  4/10/2024 CCKA   Center       Tom Brett                                                                                          0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Review dry weather inspection video to locate footage showing wash
  4/10/2024 CCKA   Center       Tom Brett      rack drainage.                                                                      0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Revise proof of service for supplemental document production (D's
  4/10/2024 CCKA   Center       Tom Brett      requests for production, Set Three                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: compiling exhibits for Flanders Dec in support of
  4/10/2024 CCKA   Center       Tom Brett      motion for summary judgment (Phase II)                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: continuing work on exhibit compilation for J.
  4/10/2024 CCKA   Center       Tom Brett      Flanders Decl. in support of motion for summary judgment.                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: further revisions to Phase II SUF
  4/10/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Continue to revise Phase II Motion for Summary Judgment; further
                   Equestrian                  substantiate facts with additional evidence; revise evidence citations.
  4/10/2024 CCKA   Center       Tom Brett                                                                                          1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email in response to email from H. Beck re: further revisions to
  4/10/2024 CCKA   Center       Tom Brett      Phase II SUF                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  4/10/2024 CCKA   Center       Tom Brett      Extract video from dry weather inspection videos and create exhibits to J           0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: compiling exhibits and lodging video of
  4/10/2024 CCKA   Center       Tom Brett      dry weather inspection                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Revise J. Flanders declaration in support of motion for summary
  4/10/2024 CCKA   Center       Tom Brett      judgment                                                                            0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Compile exhibits for McCurly depo; send to J Flanders
  4/11/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Assist E. Bustos with cite checking brief
  4/11/2024 CCKA   Center       Tom Brett                                                                                          0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Continue to revise citations in and add citations to Phase II SUF
  4/11/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review exhibits to Flanders decl. to locate rainfall data; draft comms to
  4/11/2024 CCKA   Center       Tom Brett      J. Flanders re: the same                                                            0.1    $550.00             $0.00          $55.00               0.1




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                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                                               Create exhibit with rain data from 12/17/22 through present and revise
                   Murieta                     Flanders Decl in support of Phase II Motion for Summary Judgment to
                   Equestrian                  include paragraph attaching and authenticating the rain data.
  4/11/2024 CCKA   Center       Tom Brett                                                                                        0.5    $550.00           $275.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions Statement of Undisputed
  4/11/2024 CCKA   Center       Tom Brett      Facts (Phase II)                                                                  0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: finance documents provided to Shefftz
  4/11/2024 CCKA   Center       Tom Brett      in prep for D econ rebuttal expert deposition                                     0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Address and incorporate D Hunt comments to Phase II Motion for
  4/11/2024 CCKA   Center       Tom Brett      Summary Judgment brief                                                            0.8    $550.00           $440.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: status of revisions to Motion for Summary
  4/11/2024 CCKA   Center       Tom Brett      Judgment brief and next steps                                                     0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Continue to revise Phase II Motion for Summary Judgment brief (add
                   Equestrian                  missing citations to Flanders Decl exhibits)
  4/11/2024 CCKA   Center       Tom Brett                                                                                        0.3    $550.00           $165.00           $0.00               0
                   Murieta
                   Equestrian                  Continue to revise Phase II SUF and Motion for Summary Judgment
  4/11/2024 CCKA   Center       Tom Brett      brief (revise and conform citations in both)                                      0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: further revisions to Phase II Motion for
  4/11/2024 CCKA   Center       Tom Brett      Summary Judgment and SUF                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft teams comms to E. Bustos re: removing hyperlinks from Ex R
  4/11/2024 CCKA   Center       Tom Brett      and Q placeholder exhibits.                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Excerpt and cite check Flanders Decl Ex. N (Subbotin testimony)
  4/11/2024 CCKA   Center       Tom Brett                                                                                        0.7    $550.00           $385.00           $0.00               0
                   Murieta
                   Equestrian                  Follow up call with J. Flanders re: revisions to SUF and addition of
  4/11/2024 CCKA   Center       Tom Brett      evidence to the same.                                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Pull rain data from NOAA for Dec. 2022 through present
  4/11/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00               0

                   Murieta                     Review and analyze in firm and client comms re: completing and filing
                   Equestrian                  Phase II Motion for Summary Judgment; organize into correspondence
  4/11/2024 CCKA   Center     Tom Brett        folder.                                                                           0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review evidence cited in Phase II SUF to ensure it supports stated fact
  4/11/2024 CCKA   Center     Tom Brett        and add cites to Flanders Decl Ex. A as needed.                                   1.0    $550.00           $550.00           $0.00               0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                   Murieta                     Review evidence cited in Phase II SUF to ensure it supports stated fact
                   Equestrian                  and add cites to Flanders Decl Ex. A as needed.
  4/11/2024 CCKA   Center     Tom Brett                                                                                            0.9    $550.00            $495.00            $0.00                0

                                               Call with E. Bustos re: compressing Ex. A for filing and issues with
                   Murieta                     image resolution; attempt to compress file size and reduce image
                   Equestrian                  resolution
  4/12/2024 CCKA   Center     Tom Brett                                                                                            0.6    $550.00              $0.00          $330.00               0.6
                   Murieta
                   Equestrian                  Call with J. Flanders re: compressing Ex. A for filing and issues with
  4/12/2024 CCKA   Center     Tom Brett        image resolution                                                                    0.1    $550.00              $0.00           $55.00               0.1

                   Murieta                     Continue to attempt to compress J. Dec Ex A (Phase II Motion for
                   Equestrian                  Summary Judgment)
  4/12/2024 CCKA   Center       Tom Brett                                                                                          0.3    $550.00              $0.00          $165.00               0.3
                   Murieta
                   Equestrian                  Draft teams comms to J. Flanders re: T. Simpson compliance cost
  4/12/2024 CCKA   Center       Tom Brett      estimates and J. Shefftz econ benefit calculations.                                 0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing Phase II motion for summary judgment
  4/12/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: solutions to Ex. A file size and
  4/12/2024 CCKA   Center       Tom Brett      compressing Ex A                                                                    0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze in firm and client comms re: deposition of J.
                   Equestrian                  McCurly and revisions to and strategy for Phase II Motion for Summary
  4/12/2024 CCKA   Center       Tom Brett      Judgment; organize into correspondence folder                                       0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: next steps for filing Phase II Motion for Summary
  4/12/2024 CCKA   Center       Tom Brett      Judgment and SUF                                                                    0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to Phase II SUF
  4/12/2024 CCKA   Center       Tom Brett                                                                                          0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to Exhibit S to Flanders Decl. in
  4/12/2024 CCKA   Center       Tom Brett      support of Phase II motion for summary judgment.                                    0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to SUF and Motion for Summary
  4/12/2024 CCKA   Center       Tom Brett      Judgment motion / brief                                                             0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Check and revise evidentiary cites in Phase II SUF
  4/12/2024 CCKA   Center       Tom Brett                                                                                          1.9    $550.00           $1,045.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: further revisions to notice of motion and
  4/12/2024 CCKA   Center       Tom Brett      motion (revising caption and adding authorities to TOA)                             0.1    $550.00             $55.00            $0.00                0



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Date      Client   Matter       Staff          Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction
                   Murieta
                   Equestrian                  Follow up call with E. Bustos re: further revisions to Phase II SUF
  4/12/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and revise notice of lodging
  4/12/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise notice of motion and motion for Phase II summary judgment.
  4/12/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: supplemental document production next
  4/15/2024 CCKA   Center       Tom Brett      steps and completing MIL                                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review billing records, revise hourly rates to conform to ED Cal,
  4/15/2024 CCKA   Center       Tom Brett      calculate total fee amount to date.                                              1.1    $550.00           $605.00           $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: dates for D to oppose motion to leave to amend
  4/15/2024 CCKA   Center       Tom Brett      and Phase II Motion for Summary Judgment                                         0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: calculating fees to send to opposing
  4/15/2024 CCKA   Center       Tom Brett      counsel                                                                          0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: fees billed to date.
  4/15/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: Shefftz errata sheet from depo
  4/15/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze in firm and client comms re: calculating settlement
  4/15/2024 CCKA   Center       Tom Brett      demand; organize into correspondence folder                                      0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Review docket to determine when responsive pleading is due for
  4/15/2024 CCKA   Center       Tom Brett      motion for leave to amend.                                                       0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Revise billing calculations as part of settlement offer to opposing
  4/15/2024 CCKA   Center       Tom Brett      counsel                                                                          0.4    $550.00           $220.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze LR re: opp and reply deadlines for mtn for leave to
  4/16/2024 CCKA   Center       Tom Brett      amend; calendar the same.                                                        0.2    $550.00           $110.00           $0.00               0
                   Murieta
                   Equestrian                  Call with J. Flanders re: supplemental document production and reply
  4/16/2024 CCKA   Center       Tom Brett      to opp to motion for leave to amend.                                             0.1    $550.00            $55.00           $0.00               0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: obtaining trust documents (CAW Trust) /
  4/16/2024 CCKA   Center       Tom Brett      grant deed to Murieta Equestrian Center property                                 0.1    $550.00            $55.00           $0.00               0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: scope of supplemental document production
  4/17/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze case law on "possession, custody, and control"
                   Equestrian                  requirements of Federal Rule of Civil Procedure 34 in prep for
  4/17/2024 CCKA   Center       Tom Brett      supplemental production.                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: finalizing MIL to exclude Swickard Testimony
  4/18/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to review and revise Swickard MIL
  4/18/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: filing Swickard MIL
  4/18/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze ED Cal local rules and scheduling orders to
                   Equestrian                  determine MIL page limits
  4/18/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Compile Brett Declaration Exhibits; revise Brett Dec caption and footer.
  4/19/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to MIL Swickard
  4/19/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Maharg re: citations to prior photos in Swickard MIL
  4/19/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Calls with E. Maharg re: revisions to Swickard MIL
  4/19/2024 CCKA   Center       Tom Brett                                                                                         0.3    $550.00           $165.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D Hunt and L Marhsall re: draft proposed order
  4/19/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and E. Maharg re: response to opposing counsel
  4/19/2024 CCKA   Center       Tom Brett      request for word version of SUF                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: motion in limine
  4/19/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up comms with E. Bustos re: citation revisions to Motion in
  4/19/2024 CCKA   Center       Tom Brett      Limine (Swickard)                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in firm comms re: completing motion in limine;
  4/19/2024 CCKA   Center       Tom Brett      organize into correspondence folder.                                               0.1    $550.00            $55.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total               Billing         Billing
                                                                                                                                                                          Judgment Fee    Judgment
                                                                                                                                                                          Reduction       Time
                                                                                                                                                                                          Reduction


                   Murieta                     Call with D. Hunt re: addition to MIL re: Federal Rule of Civil Procedure
                   Equestrian                  26 deficiencies in Swickard report.
  4/19/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian
  4/19/2024 CCKA   Center       Tom Brett      Call with E. Bustos re: cite checking motion in limine (Swickard)                     0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: revisions to Swickard MIL
  4/19/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Call with L. Marshall re: comment to draft MIL re: Federal Rule of Civil
  4/19/2024 CCKA   Center       Tom Brett      Procedure 26 deficiencies                                                             0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft and revise Motion in Limine to exclude expert testimony of Tim
  4/19/2024 CCKA   Center       Tom Brett      Swickard                                                                              2.9    $550.00           $1,595.00           $0.00               0
                   Murieta
                   Equestrian                  Draft follow up comms to D. Hunt re: revisions to motion in limine
  4/19/2024 CCKA   Center       Tom Brett      (Swickard) and strategy for proposed order                                            0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft follow up comms to E. Bustos re: citation revisions to Swickard
  4/19/2024 CCKA   Center       Tom Brett      MIL                                                                                   0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft follow up comms to E. Bustos re: revisions to motion in limine
  4/19/2024 CCKA   Center       Tom Brett      (Swickard)                                                                            0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft proposed order granting Swickard MIL
  4/19/2024 CCKA   Center       Tom Brett                                                                                            0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian                  Call with E. Bustos re: supplemental production to Defendant's
  4/22/2024 CCKA   Center       Tom Brett      Requests for Production set 3                                                         0.1    $550.00             $55.00            $0.00               0

                   Murieta                     Call with J. Flanders re: outlining reply in support of motion for leave to
                   Equestrian                  amend (TAC), supplemental production, and providing opposing
  4/22/2024 CCKA   Center       Tom Brett      counsel with native version of SUF                                                    0.3    $550.00            $165.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to opposing counsel and reporter re: Shefftz signed errata
  4/22/2024 CCKA   Center       Tom Brett      sheet                                                                                 0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Outline Reply in support of motion for leave to amend
  4/22/2024 CCKA   Center       Tom Brett                                                                                            1.9    $550.00           $1,045.00           $0.00               0
                   Murieta
                   Equestrian                  Review and analyze court comms re: need to file notice to reschedule
  4/22/2024 CCKA   Center       Tom Brett      hearing; draft comms with E. Bustos re: the same.                                     0.1    $550.00             $55.00            $0.00               0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: service of supplemental document prod in
  4/22/2024 CCKA   Center       Tom Brett      response to Def's Requests for Production Sets 2 and 3                                0.1    $550.00             $55.00            $0.00               0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Draft follow up communications with E. Bustos re: California
                   Equestrian                  Coastkeeper Alliance supplemental production to Defendants requests
  4/22/2024 CCKA   Center       Tom Brett      for production, Set Two                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review finalized supplemental document prod in response to
  4/22/2024 CCKA   Center       Tom Brett      Defendant's Requests for Production Set 2 and Set 3                                 0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up comms to J. Flanders re: outline for reply in support of
  4/22/2024 CCKA   Center       Tom Brett      motion for leave to amend.                                                          0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review, analyze and annotate Defendant's opp to motion for leave to
  4/22/2024 CCKA   Center       Tom Brett      amend.                                                                              0.7    $550.00           $385.00           $0.00                0

                   Murieta                     Draft comms to J. Flanders re: local rule and protective order
                   Equestrian                  requirements for Murieta Equestrian Center with regard to California
  4/23/2024 CCKA   Center     Tom Brett        Coastkeeper Alliance's pending motion to seal                                       0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Follow up call with E. Bustos re: service of supplemental document
                   Equestrian                  production in response to Request for Production Set 2 and 3
  4/23/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with E. Bustos re: serving supplemental production in response to
  4/23/2024 CCKA   Center     Tom Brett        Request for Production sets 2 and 3.                                                0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm, client, and external comms re: reply in
                   Murieta                     support of motion for leave to amend, supplemental document
                   Equestrian                  production, settlement negotiations; organize into correspondence
  4/23/2024 CCKA   Center     Tom Brett        folder                                                                              0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  4/23/2024 CCKA   Center     Tom Brett        Review and analyze Protective Order and E. Dist. Cal. local rules to dete           0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze draft comms by J. Flanders to opposing counsel
                   Equestrian                  re: defendant's request for an extension to oppose Motion for Summary
  4/23/2024 CCKA   Center     Tom Brett        Judgment.                                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Complete draft outline for reply in support of motion for leave to amend.
  4/23/2024 CCKA   Center     Tom Brett                                                                                            0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: drafting reply in support of motion for
  4/24/2024 CCKA   Center     Tom Brett        leave to amend.                                                                     0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Continue to review, analyze, and distinguish caselaw cited by Murieta
                   Equestrian                  Equestrian Center in Opposition to Motion for Leave to Amend;
  4/24/2024 CCKA   Center     Tom Brett        incorporate into Reply outline                                                      1.6    $550.00           $880.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction


                                               Review, analyze, and distinguish cases cited by Defendant in section of
                   Murieta                     Opposition to Motion for Leave to Amended challenging the sufficiency
                   Equestrian                  of Responsible Corporate Officer Doctrine Allegations in TAC;
  4/24/2024 CCKA   Center       Tom Brett      incorporate into outline                                                            0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Draft factual background section of Reply in Support of Motion for
  4/24/2024 CCKA   Center       Tom Brett      Leave to Amend                                                                      0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to Reply in support of motion for
  4/25/2024 CCKA   Center       Tom Brett      leave to amend.                                                                     0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Continue to draft Reply in Support of Motion for Leave to Amend.
  4/25/2024 CCKA   Center       Tom Brett                                                                                          1.7    $550.00            $935.00            $0.00                0
                   Murieta
                   Equestrian                  Draft section in Reply in Support of Motion for Leave to Amend re:
  4/25/2024 CCKA   Center       Tom Brett      California Coastkeeper Alliance's diligence in moving to amend.                     0.9    $550.00            $495.00            $0.00                0
                   Murieta
                   Equestrian                  Draft section in Reply in Support of Motion for Leave to Amend re:
  4/25/2024 CCKA   Center       Tom Brett      sufficiency of responsible corporate officer doctrine allegations.                  1.3    $550.00            $715.00            $0.00                0

                   Murieta                     Review and analyze in firm, opposing counsel, and client comms re:
                   Equestrian                  drafting Reply in Support of Motion for Leave to Amend; organize into
  4/26/2024 CCKA   Center     Tom Brett        correspondence folder                                                               0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft and revise Reply in Support of Motion for Leave to
  4/26/2024 CCKA   Center     Tom Brett        Amend (cut the brief down to get it within page limitations.)                       0.5    $550.00            $275.00            $0.00                0

                   Murieta                     Continue to draft Reply in Support of Motion for Leave to Amend (draft
                   Equestrian                  sections re: futility of amendments, prejudice of delay, joinder; and
  4/26/2024 CCKA   Center       Tom Brett      review / revise to cut length)                                                      2.3    $550.00           $1,265.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to Reply in Support of Motion for
  4/29/2024 CCKA   Center       Tom Brett      Leave to Amend.                                                                     0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: status of draft Reply in Support of Motion for
  4/29/2024 CCKA   Center       Tom Brett      Leave to Amend.                                                                     0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  File Reply in Support of Motion for Leave to Amend Complaint
  4/29/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00              $0.00          $110.00               0.2

                                               Continue to draft Reply in Support of Motion for Leave to Amend;
                   Murieta                     review, revise, incorporate J. Flanders revisions.
                   Equestrian
  4/29/2024 CCKA   Center     Tom Brett                                                                                            0.8    $550.00            $440.00            $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian                  Continue to draft Reply in Support of Motion for Leave to Amend; final
  4/29/2024 CCKA   Center     Tom Brett        proof-read and revisions                                                          0.6    $550.00            $330.00            $0.00                0

                   Murieta                     Review and analyze in firm, client, and opposing counsel comms re:
                   Equestrian                  stipulation to extend deadline to oppose motion in limine (Swickard);
  4/30/2024 CCKA   Center     Tom Brett        organize into correspondence folder.                                              0.1    $550.00              $0.00           $55.00               0.1

                   Murieta                     Call with J. Flanders re: prep for hearing on motion for leave to amend
                   Equestrian                  and negotiations with opposing counsel re: extending time for them to
   5/1/2024 CCKA   Center     Tom Brett        file opposition to Plaintiff's Motion in Limine.                                  0.1    $550.00              $0.00           $55.00               0.1

                   Murieta                     Review and analyze opposing counsel and expert comms re: extension
                   Equestrian                  of time for def to oppose motion in limine and re: expert invoices;
   5/2/2024 CCKA   Center       Tom Brett      organize into correspondence folder.                                              0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Summarize cases in prep for J. Flanders hearing on Motion for Leave
   5/5/2024 CCKA   Center       Tom Brett      to File Third Amended Complaint                                                   0.8    $550.00            $440.00            $0.00                0
                   Murieta
                   Equestrian                  Summarize key case law in prep for hearing on motion for leave to
   5/6/2024 CCKA   Center       Tom Brett      amend complaint.                                                                  2.0    $550.00           $1,100.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: preparation on Motion for Leave to Amend
   5/6/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze order granting motion to seal and continuing
   5/6/2024 CCKA   Center       Tom Brett      hearing on motion to file third amended complaint.                                0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: defendant ownership of Murieta Inn and
   5/8/2024 CCKA   Center       Tom Brett      Spa                                                                               0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Research Murieta Equestrian Center ownership of Murieta spa and/or
   5/8/2024 CCKA   Center       Tom Brett      other companies.                                                                  0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00              $0.00          $110.00               0.2
                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: settlement status and applicable market rates
   5/9/2024 CCKA   Center       Tom Brett                                                                                        0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Compile fees by timekeeper per quarter as part of settlement.
   5/9/2024 CCKA   Center       Tom Brett                                                                                        2.7    $550.00           $1,485.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total               Billing          Billing
                                                                                                                                                                       Judgment Fee     Judgment
                                                                                                                                                                       Reduction        Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Review and analyze exemplar fee demand in Second Amended
  5/13/2024 CCKA   Center     Tom Brett        Complaint County (P. Soluri)                                                       0.3    $550.00              $0.00          $165.00                0.3

                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                           1.1    $550.00              $0.00          $605.00                1.1
                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00              $0.00           $55.00                0.1


                   Murieta
                   Equestrian
  5/17/2024 CCKA   Center       Tom Brett                                                                                         2.7    $550.00              $0.00         $1,485.00               2.7
                   Murieta
                   Equestrian                  Review and execute J. Newman mediation services agreement.
  5/13/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00              $0.00           $55.00                0.1
                   Murieta
                   Equestrian                  Complete quarterly fee calculation
  5/13/2024 CCKA   Center       Tom Brett                                                                                         3.3    $550.00           $1,815.00           $0.00                 0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: ATA quarterly fee calculations
  5/13/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft task list re: next steps for completing / further revising consent
  5/13/2024 CCKA   Center       Tom Brett      decree                                                                             0.1    $550.00             $55.00            $0.00                 0

                   Murieta                     Review and analyze in firm, opposing counsel, client, and external
                   Equestrian                  comms re: proposed mediation and deadline extensions, and fee
  5/13/2024 CCKA   Center     Tom Brett        calculation / demand letter.                                                       0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Draft email to D. Hunt re: completing attorney fee demand letter.
  5/14/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00              $0.00           $55.00                0.1
                   Murieta
                   Equestrian                  Draft follow up comms with J. Flanders re: market rate research for fee
  5/14/2024 CCKA   Center     Tom Brett        demand letter.                                                                     0.1    $550.00              $0.00           $55.00                0.1

                   Murieta                     Continue to research and analyze case law regarding reasonableness
                   Equestrian                  of attorney's fee awards; incorporated into fee demand letter.
  5/14/2024 CCKA   Center     Tom Brett                                                                                           1.8    $550.00            $990.00            $0.00                 0
                   Murieta
                   Equestrian
  5/14/2024 CCKA   Center     Tom Brett        Draft email to J. Flanders re: fee research.                                       0.1    $550.00             $55.00            $0.00                 0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to fee demand letter
  5/14/2024 CCKA   Center     Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                 0



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Date      Client   Matter       Staff          Description                                                                   Hours         Rate       Total             Billing         Billing
                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Continue to draft / revise fee demand letter
  5/14/2024 CCKA   Center       Tom Brett                                                                                            1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Draft / revise sections of fee demand letter re: costs incurred and total
  5/14/2024 CCKA   Center       Tom Brett      fees incurred to date.                                                                0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing draft consent decree
  5/14/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to invoice for mediation services (Judicate West ADR)
  5/15/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  5/15/2024 CCKA   Center       Tom Brett      Draft follow up email to J. Flanders re: further research into market rates           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft mediation brief.
  5/15/2024 CCKA   Center       Tom Brett                                                                                            1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting mediation brief
  5/15/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: providing briefing materials to Newman
  5/15/2024 CCKA   Center       Tom Brett      prior to May 17 mediation.                                                            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm comms re: strategy for potential Murieta
                   Equestrian                  Equestrian Center bankruptcy and mediation prep; organize into
  5/15/2024 CCKA   Center     Tom Brett        correspondence folder.                                                                0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze confidential settlement comms to opposing
                   Equestrian                  counsel re: impact of possible bankruptcy proceedings on settlement
  5/16/2024 CCKA   Center       Tom Brett      and litigation.                                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: cost and fee calculations
  5/17/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze memorandum of agreement
  5/17/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: locating Wren invoices and
  5/17/2024 CCKA   Center       Tom Brett      incorporating into cost estimates.                                                    0.1    $550.00             $0.00          $55.00               0.1



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Date      Client   Matter       Staff          Description                                                                Hours         Rate       Total             Billing         Billing
                                                                                                                                                                     Judgment Fee    Judgment
                                                                                                                                                                     Reduction       Time
                                                                                                                                                                                     Reduction
                   Murieta
                   Equestrian                  Locate and review Wren invoices for incorporation into cost records for
  5/17/2024 CCKA   Center       Tom Brett      settlement.                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Begin drafting consent decree
  5/17/2024 CCKA   Center       Tom Brett                                                                                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: drafting consent decree.
  5/17/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: drafting consent decree
  5/20/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to I. Wren re: invoice history
  5/21/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Leave voicemail with I. Wren re: invoice history
  5/21/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze comms between I. Wren and D. Hunt re: invoice
                   Equestrian                  history and compare with invoices on file to determine if we are missing
  5/21/2024 CCKA   Center       Tom Brett      any.                                                                               0.3    $550.00             $0.00         $165.00               0.3
                   Murieta
                   Equestrian                  Continue to draft consent decree
  5/21/2024 CCKA   Center       Tom Brett                                                                                         0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian
  5/21/2024 CCKA   Center       Tom Brett      Draft comms to J. Flanders re: drafting consent decree whereas clauses             1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing draft consent decree
  5/21/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Complete draft of consent decree
  5/22/2024 CCKA   Center       Tom Brett                                                                                         1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: draft consent decree and next steps.
  5/22/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to draft consent decree
  5/22/2024 CCKA   Center       Tom Brett                                                                                         0.3    $550.00            $55.00         $110.00               0.2
                   Murieta
                   Equestrian                  Draft email to client re: draft consent decree.
  5/22/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: invoice from May 17 mediation
  5/22/2024 CCKA   Center       Tom Brett                                                                                         0.1    $550.00            $55.00           $0.00                0




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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total             Billing         Billing
                                                                                                                                                                    Judgment Fee    Judgment
                                                                                                                                                                    Reduction       Time
                                                                                                                                                                                    Reduction


                   Murieta                     Review and analyze client and in firm comms re: revisions to and
                   Equestrian                  strategy for terms of draft consent decree; organize into
  5/22/2024 CCKA   Center       Tom Brett      correspondence folder                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to E. Bustos re: payment of J. Shefftz Jan 22, 2024 invoice
  5/23/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in client comms re: revisions to draft consent
  5/23/2024 CCKA   Center       Tom Brett      decree; organize into correspondence folder.                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: outstanding Shefftz invoices.
  5/24/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Shefftz re: outstanding invoice.
  5/24/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm, client, and expert comms re: expert invoice
                   Equestrian                  payment and draft consent decree; organize into correspondence
  5/24/2024 CCKA   Center       Tom Brett      folder.                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze draft consent decree sent to mediator and
  5/24/2024 CCKA   Center       Tom Brett      opposing counsel                                                                  0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Compile and review mediation invoices; send to J. Flanders and E.
  5/31/2024 CCKA   Center       Tom Brett      Bustos.                                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders and E. Bustos re: payment of invoice to
  5/31/2024 CCKA   Center       Tom Brett      mediator.                                                                         0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm and opposing counsel comms re: mediation
                   Equestrian                  / settlement discussions and stipulation to extend filing deadlines;
  5/31/2024 CCKA   Center       Tom Brett      organize into correspondence folder                                               0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
   6/3/2024 CCKA   Center       Tom Brett      Locate on Everlaw all Murieta Equestrian Center insurance policies                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: mediation preparation for tomorrow's
   6/3/2024 CCKA   Center       Tom Brett      mediation session re: fees.                                                       0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
   6/4/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00            $55.00           $0.00                0


                   Murieta
                   Equestrian
   6/4/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00            $55.00           $0.00                0



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Date      Client   Matter       Staff          Description                                                               Hours         Rate       Total               Billing         Billing
                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                                               Review and analyze client comms re: strategy and planning for replies
                   Murieta                     in support of Motion for Summary Judgment and MIL; organize into
                   Equestrian                  correspondence folder and draft email to client re: the same.
   6/6/2024 CCKA   Center     Tom Brett                                                                                          0.1    $550.00              $0.00           $55.00               0.1

                                               Review and analyze in firm and client comms re: strategy for drafting
                   Murieta                     reply in support of motion for summary judgment; organize into
                   Equestrian                  correspondence folder.
  6/10/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: drafting responses and objections to defendants'
  6/11/2024 CCKA   Center       Tom Brett      statement of undisputed facts.                                                    0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for responding to defendant's
  6/11/2024 CCKA   Center       Tom Brett      statement of undisputed facts.                                                    0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Call with D. Hunt, L. Marshall, and D. Hunt re: strategy for Reply in
  6/11/2024 CCKA   Center       Tom Brett      support of Motion for Summary Judgment                                            1.1    $550.00            $605.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze defendant's statement of undisputed facts.
  6/11/2024 CCKA   Center       Tom Brett                                                                                        0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Review and analyze J. Flanders outline and proposed division of labor
  6/11/2024 CCKA   Center       Tom Brett      for drafting reply in support of statement of undisputed facts.                   0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze defendant's opposition to Phase II motion for
                   Equestrian                  summary judgment.
  6/11/2024 CCKA   Center       Tom Brett                                                                                        0.4    $550.00            $220.00            $0.00                0
                   Murieta
                   Equestrian                  Draft responses and objections to defendants' statement of undisputed
  6/11/2024 CCKA   Center       Tom Brett      facts                                                                             0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Begin drafting response and objections to Phase II SUF
  6/11/2024 CCKA   Center       Tom Brett                                                                                        0.3    $550.00            $165.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: minute order vacating MIL hearing date
  6/12/2024 CCKA   Center       Tom Brett      and deadlines and the effect thereof.                                             0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Begin drafting response and objection to Def's Opposition
  6/12/2024 CCKA   Center       Tom Brett                                                                                        2.1    $550.00           $1,155.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for drafting response to defendant's
  6/12/2024 CCKA   Center       Tom Brett      opposition SUF.                                                                   0.2    $550.00            $110.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: completing objections and responses to statement of
  6/12/2024 CCKA   Center       Tom Brett      undisputed facts.                                                                 0.1    $550.00             $55.00            $0.00                0



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Date      Client   Matter     Staff          Description                                                              Hours         Rate       Total             Billing         Billing
                                                                                                                                                                 Judgment Fee    Judgment
                                                                                                                                                                 Reduction       Time
                                                                                                                                                                                 Reduction


                   Murieta                   Review and analyze in firm and client comms re: drafting reply in
                   Equestrian                support of Motion for Summary Judgment; organize into
  6/13/2024 CCKA   Center     Tom Brett      correspondence folder.                                                           0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                Review and analyze local rules and scheduling order re: page limit on
  6/13/2024 CCKA   Center     Tom Brett      reply.                                                                           0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                   Draft email to J. Flanders re: locating Rancho Murieta Community
                   Equestrian                Services District notice of intent to comply with MS4 permit, and re:
  6/13/2024 CCKA   Center     Tom Brett      daily violation calculations.                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                Draft email to J. Flanders re: Rancho Murieta Community Services
  6/13/2024 CCKA   Center     Tom Brett      District notice letter to comply with small MS4 permit                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                Draft section in Reply in support of motion for summary judgment re:
  6/13/2024 CCKA   Center     Tom Brett      daily violations.                                                                1.0    $550.00           $550.00           $0.00                0

                   Murieta                   Review and analyze Rancho Murieta Community Services District
                   Equestrian                document production and SMARTS submissions to attempt to find
  6/13/2024 CCKA   Center     Tom Brett      notice of intent to comply with Small MS4 Permit.                                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                Complete draft response and objections to defendant's opposition
  6/13/2024 CCKA   Center     Tom Brett      statement of undisputed facts.                                                   1.0    $550.00           $550.00           $0.00                0
                   Murieta
                   Equestrian                Draft email to client re: responses and objections to Defendant's
  6/13/2024 CCKA   Center     Tom Brett      opposition statement of undisputed facts.                                        0.1    $550.00            $55.00           $0.00                0

                   Murieta                   Draft comms to J. Flanders re: client comments on responses and
                   Equestrian                objections to Defendant's Phase II Motion for Summary Judgment Opp
  6/14/2024 CCKA   Center     Tom Brett      SUF.                                                                             0.1    $550.00             $0.00          $55.00               0.1

                                             Review and analyze in firm and client communications re: revisions to
                   Murieta                   reply in support of motion for Phase II summary judgment and
                   Equestrian                response and objections to Defendant's SUF; organize into
  6/14/2024 CCKA   Center     Tom Brett      correspondence folder.                                                           0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                Call with J. Flanders re: revisions to reply in support of motion for
  6/14/2024 CCKA   Center     Tom Brett      summary judgment.                                                                0.3    $550.00           $165.00           $0.00                0

                   Murieta                   Call with J. Flanders re: revisions to response and objections to
                   Equestrian                defendant's SUF (Phase II Motion for Summary Judgment Opp SUF)
  6/14/2024 CCKA   Center     Tom Brett                                                                                       0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                Review and incorporate D. Hunt and J. Flanders suggestions into
  6/14/2024 CCKA   Center     Tom Brett                                                                                       0.9    $550.00           $495.00           $0.00                0




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                                                                                                                                                                       Judgment Fee    Judgment
                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                  Revise reply in support of phase II motion for summary judgment.
  6/14/2024 CCKA   Center       Tom Brett                                                                                           0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next step for completing responses and
  6/17/2024 CCKA   Center       Tom Brett      objections to defendant's statement of undisputed facts.                             0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to reply to defendant's statement of
  6/17/2024 CCKA   Center       Tom Brett      undisputed facts.                                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian
  6/17/2024 CCKA   Center       Tom Brett      Complete review of defendant's evidence in support of opposition statem              1.1    $550.00           $605.00           $0.00                0

                   Murieta                     Outline motion in limine to exclude expert testimony of Swickard and
                   Equestrian                  draft section responding to defendant's argument that the motion is
  6/18/2024 CCKA   Center       Tom Brett      premature.                                                                           0.8    $550.00             $0.00         $440.00               0.8
                   Murieta
                   Equestrian                  Review and analyze defendant's opposition to motion in limine to
  6/18/2024 CCKA   Center       Tom Brett      exclude Swickard testimony.                                                          0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center       Tom Brett      Draft comms to J. Flanders re: strategy and next steps for drafting reply            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to L. Marshall re: strategy and timeline for motion to exclude
  6/18/2024 CCKA   Center       Tom Brett      Swickard testimony.                                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center       Tom Brett      Review minute order re: hearing and briefing deadlines for motion in limi            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to outline and draft reply in support of motion in limine to
  6/18/2024 CCKA   Center       Tom Brett      exclude Swickard testimony.                                                          0.4    $550.00             $0.00         $220.00               0.4
                   Murieta
                   Equestrian
  6/18/2024 CCKA   Center       Tom Brett      Review and analyze motion in limine to exclude Swickard testimony in p               0.4    $550.00           $220.00           $0.00                0
                   Murieta
                   Equestrian                  Continue to draft motion in limine to exclude Swickard testimony.
  6/18/2024 CCKA   Center       Tom Brett                                                                                           0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian
  6/19/2024 CCKA   Center       Tom Brett      Continue to draft reply in support of motion in limine to exclude Swickard           0.7    $550.00           $385.00           $0.00                0

                                               Review, analyze and annotate Khumo tires decisions (cited by
                   Murieta                     defendant) as part of prep for drafting reply in support of motion in
                   Equestrian                  limine to exclude Swickard testimony.
  6/19/2024 CCKA   Center     Tom Brett                                                                                             0.5    $550.00           $275.00           $0.00                0




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                                                                                                                                                                        Judgment Fee    Judgment
                                                                                                                                                                        Reduction       Time
                                                                                                                                                                                        Reduction
                   Murieta
                   Equestrian                  Continue to draft reply in support of motion in limine.
  6/20/2024 CCKA   Center     Tom Brett                                                                                              0.5    $550.00             $0.00         $275.00               0.5
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: strategy for reply in support of motion for
  6/20/2024 CCKA   Center     Tom Brett        summary judgment.                                                                     0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Continue to draft reply in support of motion in limine to exclude
                   Equestrian                  Swickard testimony
  6/20/2024 CCKA   Center       Tom Brett                                                                                            1.6    $550.00           $880.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D. Hunt and L. Marshall re: reply in support of motion in
  6/21/2024 CCKA   Center       Tom Brett      limine to exclude Swickard testimony.                                                 0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to L. Marshall re: reply in support of motion in limine.
  6/21/2024 CCKA   Center       Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  6/21/2024 CCKA   Center       Tom Brett      Complete draft of reply in support of motion in limine to exclude Swickar             1.3    $550.00           $715.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to D Hunt re: revisions to reply in support of motion in limine
  6/24/2024 CCKA   Center       Tom Brett      to exclude Swickard testimony.                                                        0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: revisions to reply in support of motion in
  6/24/2024 CCKA   Center       Tom Brett      limine.                                                                               0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                     Review and analyze in firm and client comms re: revisions to reply in
                   Equestrian                  support of motion in limine to exclude Swickard testimony; organize into
  6/24/2024 CCKA   Center     Tom Brett        correspondence folder.                                                                0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  6/24/2024 CCKA   Center     Tom Brett        Review and analyze stipulation / ex parte app history, and court orders r             0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Revise Reply in Support of Motion in Limine to exclude Swickard
                   Equestrian                  testimony; incorporate client comments and draft section regarding
  6/24/2024 CCKA   Center     Tom Brett        effect of not deposing witness on motion.                                             0.9    $550.00           $495.00           $0.00                0
                   Murieta
                   Equestrian
  6/25/2024 CCKA   Center     Tom Brett        Call with J. Flanders re: next steps for completing reply in support of mo            0.1    $550.00            $55.00           $0.00                0

                   Murieta                     Review and analyze in firm comms re: status of J. Barnes cases and
                   Equestrian                  transfer to new judge and strategy for settlement talks with opposing
  6/26/2024 CCKA   Center     Tom Brett        counsel; organize into correspondence folder.                                         0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to draft Reply in Support of Motion in Limine.
  6/26/2024 CCKA   Center     Tom Brett                                                                                              0.5    $550.00           $275.00           $0.00                0




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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction
                   Murieta
                   Equestrian
  6/26/2024 CCKA   Center       Tom Brett      Continue to revise reply in support of motion in limine to exclude Swicka           0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: drafting Reply in Support of Motion in
  6/26/2024 CCKA   Center       Tom Brett      Limine.                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions to reply in support of motion in
  6/26/2024 CCKA   Center       Tom Brett      limine to exclude Swickard testimony.                                               0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft follow up comms to J. Flanders re: revisions to reply in support of
  6/26/2024 CCKA   Center       Tom Brett      motion in limine to exclude Swickard testimony.                                     0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze J. Flanders revisions to reply in support of motion
  6/27/2024 CCKA   Center       Tom Brett      in limine to exclude Swickard testimony.                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft comms to E. Bustos re: filing Reply in support of Motion in Limine
  6/27/2024 CCKA   Center       Tom Brett      to Exclude Swickard Testimony.                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: revisions to and review of Reply in
  6/27/2024 CCKA   Center       Tom Brett      Support of Motion in Limine to Exclude Swickard Testimony.                          0.1    $550.00            $55.00           $0.00                0

                                               Review and analyze in firm and client comms re: reply in support of
                   Murieta                     motion in limine (Swickard), reassignment of case, and settlement
                   Equestrian                  comms with opposing counsel; organize into correspondence folder.
  6/27/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0

                                               Complete revisions to Reply in Support of Motion in Limine to Exclude
                   Murieta                     Swickard Testimony; draft intro and conclusion to the same.
                   Equestrian
  6/27/2024 CCKA   Center     Tom Brett                                                                                            1.0    $550.00           $550.00           $0.00                0

                   Murieta                     Review and analyze in firms comms and court order re: reassigning
                   Equestrian                  matter to new judge; organize into correspondence folder.
   8/6/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1

                                               Review and analyze in firm comms re: motion to reschedule hearings
                   Murieta                     on motion in limine, motion for leave to amend, and motion for
                   Equestrian                  summary judgment; organize into correspondence folder.
   8/7/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with E. Bustos re: filing / lodging documents to be sealed.
  8/22/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders and E. Bustos re: following up with court regarding
  8/22/2024 CCKA   Center     Tom Brett        provision of documents requested to be filed under seal.                            0.1    $550.00             $0.00          $55.00               0.1




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Call with J. Flanders re: defendants intent to request supplemental
  8/23/2024 CCKA   Center     Tom Brett        briefing on loper bright.                                                            0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze in firm and comms with court re: provision of
                   Equestrian                  documents for filing under seal; organize into correspondence folder.
  8/23/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze client and in firm comms re: response to opposing
                   Equestrian                  counsel request for supplemental briefing on loper bright decision;
  8/26/2024 CCKA   Center     Tom Brett        organize into correspondence folder.                                                 0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze in firm, client and opposing counsel comms re:
                   Equestrian                  court order granting motion for supplemental briefing and changes to
  8/27/2024 CCKA   Center       Tom Brett      briefing deadlines; organize into correspondence folder.                             0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for supplemental briefing on loper
  8/29/2024 CCKA   Center       Tom Brett      bright.                                                                              0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft comms with J. Flanders re: assistance with oral argument on
  8/30/2024 CCKA   Center       Tom Brett      motion for leave to amend                                                            0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: assisting w/ J. Flanders in prep for oral argument on
  8/30/2024 CCKA   Center       Tom Brett      motion to leave to amend.                                                            0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  ID cases to review, summarize, and analyze as part of oral argument
  8/30/2024 CCKA   Center       Tom Brett      prep support for J. Flanders.                                                        0.1    $550.00             $55.00            $0.00                0

                   Murieta                     Review and analyze opposing counsel comms re: Motion for Summary
                   Equestrian                  Judgment hearing date; organize into correspondence folder.
  8/30/2024 CCKA   Center       Tom Brett                                                                                           0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Convert final Motion in Limine to Exclude Swickard testimony into word
   9/3/2024 CCKA   Center       Tom Brett      version; send to client.                                                             0.1    $550.00              $0.00           $55.00               0.1
                   Murieta
                   Equestrian                  Review, analyze, and summarize case law cited in Motion for Leave to
   9/3/2024 CCKA   Center       Tom Brett      Amend in prep for oral argument hearing.                                             0.5    $550.00            $275.00            $0.00                0
                   Murieta
                   Equestrian                  Draft priorities list re: hearing prep assistance for J. Flanders; send to
   9/3/2024 CCKA   Center       Tom Brett      partners.                                                                            0.1    $550.00             $55.00            $0.00                0
                   Murieta
                   Equestrian                  Review and summarize case law cited in motion for leave to amend
   9/3/2024 CCKA   Center       Tom Brett      complaint in prep for hearing.                                                       2.8    $550.00           $1,540.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for loper bright supplemental brief.
   9/4/2024 CCKA   Center       Tom Brett                                                                                           0.2    $550.00              $0.00          $110.00               0.2




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                                                                                                                                                                         Judgment Fee    Judgment
                                                                                                                                                                         Reduction       Time
                                                                                                                                                                                         Reduction
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: supplemental briefing on loper bright
   9/4/2024 CCKA   Center       Tom Brett      and implications for the Rapanos Guidance.                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy and next steps for supplemental Loper
   9/4/2024 CCKA   Center       Tom Brett      Bright briefing.                                                                       0.3    $550.00           $110.00          $55.00               0.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: question of judicial review of post-
   9/4/2024 CCKA   Center       Tom Brett      Rapanos guidance.                                                                      0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft section in Loper Bright supplemental brief re: status of Facility as
   9/4/2024 CCKA   Center       Tom Brett      a Concentrated Animal Feeding Operation.                                               0.6    $550.00           $330.00           $0.00                0
                   Murieta
                   Equestrian
   9/4/2024 CCKA   Center       Tom Brett      Draft section in supplemental loper bright briefing re: scope of judicial re           0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Research and analyze case law describing authority for legal review of
   9/4/2024 CCKA   Center       Tom Brett      40 CFR s 122.23.                                                                       0.2    $550.00           $110.00           $0.00                0

                   Murieta                     Review and analyze case law re: applicability of 33 USC s 1369 judicial
                   Equestrian                  review and statute of limitations to Concentrated Animal Feeding
   9/4/2024 CCKA   Center     Tom Brett        Operation regulations.                                                                 0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Review and analyze case law re: deference provided to U.S.
                   Equestrian                  Environmental Protection Agency Rapanos guidance to incorporate into
   9/4/2024 CCKA   Center     Tom Brett        supplemental briefing on Loper Bright.                                                 1.4    $550.00           $770.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze draft brief on lopper bright.
   9/4/2024 CCKA   Center     Tom Brett                                                                                               0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze in firm comms re: supplemental briefing on Loper
   9/4/2024 CCKA   Center     Tom Brett        Bright; organize into correspondence folder.                                           0.1    $550.00            $55.00           $0.00                0

                                               Continue to research and analyze the applicability of 33 USC s 1369 to
                   Murieta                     Concentrated Animal Feeding Operation regs at 40 CFR part 122
                   Equestrian
   9/5/2024 CCKA   Center     Tom Brett                                                                                               0.3    $550.00           $165.00           $0.00                0

                   Murieta                     Draft comms to J. Flanders re: locating federal register entry for
                   Equestrian                  Concentrated Animal Feeding Operation regulations at 40 CFR part
   9/5/2024 CCKA   Center     Tom Brett        122.                                                                                   0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: applicability of 33 USC s 1369 to
   9/5/2024 CCKA   Center     Tom Brett        Concentrated Animal Feeding Operation regs at 40 CFR part 122.                         0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: revisions to Loper Bright Brief.
   9/6/2024 CCKA   Center     Tom Brett                                                                                               0.1    $550.00            $55.00           $0.00                0



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                                                                                                                                                                      Judgment Fee    Judgment
                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                     Continue to draft Loper Bright supplemental brief; section re:
                   Equestrian                  applicability of 33 USC section 1369(b) to challenges to Concentrated
   9/6/2024 CCKA   Center       Tom Brett      Animal Feeding Operation regs at 40 CFR s 122.23.                                   0.8    $550.00           $440.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: next steps for drafting Skidmore analysis in
  9/11/2024 CCKA   Center       Tom Brett      loper bright supplemental brief.                                                    0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Draft task list re: next steps for drafting Skidmore deference section of
  9/11/2024 CCKA   Center       Tom Brett      Loper Bright supplemental brief.                                                    0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Review and analyze current draft of loper bright brief.
  9/11/2024 CCKA   Center       Tom Brett                                                                                          0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: section in Loper Bright supplemental brief on
  9/12/2024 CCKA   Center       Tom Brett      Skidmore deference.                                                                 0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Continue to draft portions of Loper Bright supplemental brief.
  9/12/2024 CCKA   Center       Tom Brett                                                                                          0.3    $550.00             $0.00         $165.00               0.3

                   Murieta                     Review and analyze in firm and outside counsel comms re: strategy for
                   Equestrian                  supplemental briefing on Loper Bright; organize into correspondence
  9/12/2024 CCKA   Center     Tom Brett        folder.                                                                             0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Call with J. Flanders re: Loper Bright supplemental brief
  9/12/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: strategy for loper bright supplemental brief.
  9/12/2024 CCKA   Center     Tom Brett                                                                                            0.7    $550.00           $330.00          $55.00               0.1

                   Murieta                     Outline additional portions of Skidmore deference argument regarding
                   Equestrian                  EPA's rational in federal register notice promulgating new Concentrated
  9/12/2024 CCKA   Center     Tom Brett        Animal Feeding Operation regulations in 2003.                                       0.6    $550.00           $330.00           $0.00                0

                   Murieta                     Review and analyze federal register notice for 2003 Concentrated
                   Equestrian                  Animal Feeding Operation rule in prep for drafting supplemental loper
  9/12/2024 CCKA   Center     Tom Brett        bright brief.                                                                       0.5    $550.00           $275.00           $0.00                0



                   Murieta
                   Equestrian
  9/12/2024 CCKA   Center     Tom Brett                                                                                            0.5    $550.00           $275.00           $0.00                0
                   Murieta
                   Equestrian                  Research and analyze case law interpreting bar on judicial review
  9/12/2024 CCKA   Center     Tom Brett        provided by 1369(b)(2).                                                             0.2    $550.00           $110.00           $0.00                0




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                                                                                                                                                                      Reduction       Time
                                                                                                                                                                                      Reduction


                   Murieta                   Follow up call with J. Flanders re: research into applicability of judicial
                   Equestrian                bar at 1369(b) to Concentrated Animal Feeding Operation regs.
  9/13/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                   Follow up call with J. Flanders re: revisions to loper bright supplemental
                   Equestrian                brief.
  9/13/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                Call with J. Flanders re: strategy for revisions to loper bright brief.
  9/13/2024 CCKA   Center     Tom Brett                                                                                            0.2    $550.00           $110.00           $0.00                0

                                             Draft section re: Skidmore deference and analyzing federal register
                   Murieta                   notice for Concentrated Animal Feeding Operation regs in Loper Bright
                   Equestrian                Brief.
  9/13/2024 CCKA   Center     Tom Brett                                                                                            1.0    $550.00           $550.00           $0.00                0

                                             Incorporate language from 4th circuit decision applying Skidmore
                   Murieta                   deference to judicial review of Rapanos Guidance and research case
                   Equestrian                law interpreting 33 USC s 1396(b)(2).
  9/13/2024 CCKA   Center     Tom Brett                                                                                            0.4    $550.00           $220.00           $0.00                0

                   Murieta                   Review and analyze case law re: applicability of section 1369(b)(1) to
                   Equestrian                Concentrated Animal Feeding Operation regulations and incorporate
  9/13/2024 CCKA   Center     Tom Brett      into loper bright supplemental brief.                                                 0.8    $550.00           $440.00           $0.00                0


                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                            0.2    $550.00             $0.00         $110.00               0.2

                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1

                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                            0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett      Follow up call with J. Flanders re: research into cases holding that U.S.             0.1    $550.00             $0.00          $55.00               0.1



                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                            0.3    $550.00           $165.00           $0.00                0



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                                                                                                                                                                       Reduction       Time
                                                                                                                                                                                       Reduction
                   Murieta
                   Equestrian                Call with J. Flanders re: revisions to and strategy for supplemental
  9/16/2024 CCKA   Center     Tom Brett      loper bright brief.                                                                    0.4    $550.00           $110.00         $110.00               0.2
                   Murieta
                   Equestrian                Continue to review and revise supplemental brief in loper bright.
  9/16/2024 CCKA   Center     Tom Brett                                                                                             0.9    $550.00           $495.00           $0.00                0

                   Murieta
                   Equestrian
  9/16/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00            $55.00           $0.00                0
                   Murieta
                   Equestrian                Draft task list re: next steps for review and outlining case law in prep for
  9/17/2024 CCKA   Center     Tom Brett      hearing on motion for leave to amend.                                                  0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                Draft weekly priorities re: preparation on hearing for motion to compel;
  9/17/2024 CCKA   Center     Tom Brett      send to partners.                                                                      0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                   Call with J. Flanders re: prep for hearing on motion for summary
                   Equestrian                judgment, motion for leave to amend, and motion in limine.
  9/17/2024 CCKA   Center     Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00                0

                                             Continue to outline and summarize useful cases re: collateral estoppel
                   Murieta                   in prep for hearing on motion for leave to amend complaint.
                   Equestrian
  9/17/2024 CCKA   Center     Tom Brett                                                                                             0.3    $550.00           $165.00           $0.00                0

                   Murieta                   Review and analyze cases re: alter ego doctrine in prep for hearing on
                   Equestrian                motion for leave to amend complaint.
  9/17/2024 CCKA   Center     Tom Brett                                                                                             0.7    $550.00           $385.00           $0.00                0
                   Murieta
                   Equestrian                Review and analyze Defendant's Supplemental Brief on Loper Bright.
  9/17/2024 CCKA   Center     Tom Brett                                                                                             0.3    $550.00           $165.00           $0.00                0

                                             Continue to outline and summarize cases re: landowner liability in clean
                   Murieta                   water act cases in prep for hearing on motion for leave to amend
                   Equestrian                complaint.
  9/17/2024 CCKA   Center     Tom Brett                                                                                             0.2    $550.00           $110.00           $0.00                0

                   Murieta                   Draft task list re: next steps for review and outlining case law in prep for
                   Equestrian                hearing on motion for leave to amend.
  9/18/2024 CCKA   Center     Tom Brett                                                                                             0.1    $550.00             $0.00          $55.00               0.1

                   Murieta                   Continue to review, analyze, and summarize case law re: good cause
                   Equestrian                to amend scheduling order and complaint in preparation for hearing on
  9/18/2024 CCKA   Center     Tom Brett      motion for leave to amend.                                                             0.8    $550.00           $440.00           $0.00                0




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                                                                                                                                                                   Judgment Fee    Judgment
                                                                                                                                                                   Reduction       Time
                                                                                                                                                                                   Reduction


                                               Review, analyze, and summarize case law re: alter ego allegations, and
                   Murieta                     amending scheduling order and complaint in preparation for hearing.
                   Equestrian
  9/18/2024 CCKA   Center       Tom Brett                                                                                       1.5    $550.00           $825.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flanders re: Motion to Amend hearing
  9/19/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Continue to summarize and outline cases in preparation for hearing on
  9/19/2024 CCKA   Center       Tom Brett      motion for leave to amend.                                                       1.1    $550.00             $0.00         $605.00               1.1
                   Murieta
                   Equestrian                  Draft email to J. Flanders re: case summaries for hearing prep.
  9/19/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1

                                               Continue to review, analyze, and outline cases re: good cause under
                   Murieta                     Federal Rule of Civil Procedure 16 and standards for leave to amend in
                   Equestrian                  prep for hearing on motion for leave to amend. summaries.
  9/19/2024 CCKA   Center       Tom Brett                                                                                       1.7    $550.00           $935.00           $0.00                0
                   Murieta
                   Equestrian                  Call J. Flanders re: hearing prep.
  10/7/2024 CCKA   Center       Tom Brett                                                                                       0.2    $550.00             $0.00         $110.00               0.2
                   Murieta
                   Equestrian                  Draft comms to J. Flanders re: timing of McCurly deposition.
  10/7/2024 CCKA   Center       Tom Brett                                                                                       0.1    $550.00             $0.00          $55.00               0.1
                   Murieta
                   Equestrian                  Review and analyze Defendant's economic expert opinion re: ability of
  10/7/2024 CCKA   Center       Tom Brett      Defendant to pay.                                                                0.2    $550.00           $110.00           $0.00                0
                   Murieta
                   Equestrian                  Call with J. Flander re: hearing on motion for leave to amend, motion
  10/8/2024 CCKA   Center       Tom Brett      for summary judgment, and motion in limine.                                      0.1    $550.00            $55.00          $0.00             0
                                                                                                                                                                           FEE           TIME
                                                                                                                         HOURS                            FEES       REDUCTION      REDUCTION
                                               GRAND TOTAL                                                                3645.2                  $1,932,065.60
                                               ADJUSTED TOTALS                                                           3151.25                  $1,713,697.60 $     218,368.00         493.95
                                               PERCENTAGE REDUCTIONS                                                                                                      11.30%        13.55%




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